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               Exhibit A
             (Part 1, Pgs. 1 - 674)
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                Bureau of Alcohol, Tobacco, Firearms, and Explosives

___________________________________
                                          )
                                          )               Docket No. ATF 2017R-22
Bump-Stock-Type Devices                   )
                                          )               RIN 1140-AA52
                                          )



          Firearms Policy Coalition and Firearms Policy Foundation’s
           Comments in Opposition to Proposed Rule ATF 2017R-22




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June 19, 2018




                                                                                    Exhibit A, Pg. 1
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               Bureau of Alcohol, Tobacco, Firearms, and Explosives


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                                               )
                                               )               Docket No. ATF 2017R-22
Bump-Stock-Type Devices                        )
                                               )               RIN 1140-AA52
                                               )


           Firearms Policy Coalition and Firearms Policy Foundation’s
            Comments in Opposition to Proposed Rule ATF 2017R-22

       On March 29, 2018, the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”

or the “Agency”) published a Notice of Proposed Rulemaking (“NPR”) in the Federal Register at

Volume 83, pages 13442 through 13457, to institute this rulemaking proceeding with respect to

firearms regulated under the National Firearms Act (“NFA”), 26 U.S.C. §§ 5801-5872. ATF’s

current regulations under the NFA are codified at 27 C.F.R. Part 479.

       Firearms Policy Coalition (FPC) is a grassroots, non-partisan, 501(c)(4) public benefit

organization. It is interested in this rulemaking because FPC’s mission is to protect and defend

the Constitution of the United States and the People’s rights, privileges and immunities deeply

rooted in this Nation’s history and tradition, especially the inalienable, fundamental, and

individual right to keep and bear arms; to protect, defend, and advance the means and methods

by which the People of the United States may exercise those rights, including, but not limited to,

the acquisition, collection, transportation, exhibition, carry, care, use, and disposition of arms for

all lawful purposes, including, but not limited to, self-defense, hunting, and service in the

appropriate militia for the common defense of the Republic and the individual liberty of its

citizens; to foster and promote the shooting sports and all lawful uses of arms; and to foster and

promote awareness of, and public engagement in, all of the above and defend the Constitution of

                                                   1

                                                                                                Exhibit A, Pg. 4
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the United States, especially the fundamental, individual Second Amendment right to keep and

bear arms. In response to the NPR, FPC offers this public comment for consideration with

respect to the proposed rule.

       Firearms Policy Foundation (FPF) is a grassroots, non-partisan, 501(c)(3) public benefit

organization. It is interested in this rulemaking because FPF’s mission is to protect and defend

the Constitution of the United States and the People’s rights, privileges and immunities deeply

rooted in this Nation’s history and tradition, especially the inalienable, fundamental, and

individual right to keep and bear arms; to protect, defend, and advance the means and methods

by which the People of the United States may exercise those rights, including, but not limited to,

the acquisition, collection, transportation, exhibition, carry, care, use, and disposition of arms for

all lawful purposes, including, but not limited to, self-defense, hunting, and service in the

appropriate militia for the common defense of the Republic and the individual liberty of its

citizens; to foster and promote the shooting sports and all lawful uses of arms; and to foster and

promote awareness of, and public engagement in, all of the above and defend the Constitution of

the United States, especially the fundamental, individual Second Amendment right to keep and

bear arms. In response to the NPR, FPF offers this public comment for consideration with

respect to the proposed rule.

       FPC and FPF oppose the proposed rulemaking for the reasons set forth below and in the

Exhibits to this Comment incorporated herein by reference. For ease of reference and given that

FPC’s and FPF’s interests are aligned, the use of “FPC” throughout this Comment incorporates

or otherwise constitutes both FPC and FPF.




                                                  2

                                                                                                Exhibit A, Pg. 5
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   I.      PROCEDURAL IRREGULARITIES HAVE DENIED INTERESTED
           PERSONS A MEANINGFUL OPPORTUNITY TO COMMENT ON THE
           PROPOSED RULEMAKING


        ATF has repeatedly violated the basic obligations designed to permit meaningful public

participation in this rulemaking proceeding. Despite efforts by FPC and other interested persons

to encourage compliance with the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 501-559,

other statutory provisions governing rulemaking, and fundamental due process, ATF has

persisted on a course that ensures a waste of time and resources by all involved. It should be

clear that ATF cannot proceed to promulgate a final rule without publishing a proper NPR and

providing the necessary opportunity for meaningful public comment.




           A.      ATF Failed to Make Available the Underlying Determinations, Evidence
                   and Other Information Upon Which It Purportedly Relied in Formulating
                   its Proposed Rule


        On March 30, 2018, the day after ATF published NPR in this matter, Firearms Industry

Consulting Group (“FICG”), on behalf of FPC, submitted an expedited FOIA Request “for all

ATF determinations relative to devices referred to as ‘bump stocks’ and ‘bump-fire stocks’ by

ATF in its proposed rulemaking (ATF 2017R-22, RIN 1140-AA52, Fed. Register No. 2018-

06292 - https://www.regulations.gov/document?D=ATF-2018-0002-0001), as well as, all ATF

Form 9310.3A ‘Correspondence Approval and Clearance’ forms relative to each determination,

and any versions or drafts of the determinations, which were different than the final




                                                 3

                                                                                             Exhibit A, Pg. 6
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determination” since ATF failed to include these, or any other “supporting documents,” in the

docket folder. 1 See Exhibit 1.




As of the filing of this Comment, not only has ATF declined to make public any of the requested

and necessary supporting documents – especially its own determinations that bump stocks and

bump-fire stocks do not constitute firearms, let alone machineguns 2 – but has additionally failed

to respond to FICG’s expedited FOIA or even assign a number to it. 3 Moreover, while

acknowledging that it has received “correspondence[s] from members of the United States

1
  As reflected in the FOIA Request, “[t]he use of the word ‘determinations’ shall be understood
to mean any correspondence, whether in electronic or paper form, by ATF to any person, which
shall include any individual, Member of Congress, corporation, limited liability company, and
partnership, regarding the lawfulness or unlawfulness of any bump stock or bump-fire stock
device, whether a sample device was submitted or not to ATF.”
2
  ATF admits that there are at least “ten letter rulings between 2008 and 2017” (83 Fed. Reg. at
13445); none of which have been made available by ATF. 83 Fed. Reg. at 13445.
3
  FICG submitted its request on March 30, 2018. As is common practice for ATF, it has failed to
comply with 5 U.S.C. § 552(a)(6)(A)(i).

                                                4

                                                                                            Exhibit A, Pg. 7
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Senate and the United States House of Representatives, as well as nongovernmental

organizations, requesting that ATF examine its past classifications and determine whether bump-

stock-type devices currently on the market constitute machineguns under the statutory

definition” (83 Fed. Reg. at 13446), ATF has failed to also provide these in the docket.

        As a result, ATF still has not provided any of the documents underlying the NPR either

in the docket or in response to the FOIA request.

       It has long been understood that “[t]he process of notice and comment rule-making is not

to be an empty charade. It is to be a process of reasoned decision-making. One particularly

important component of the reasoning process is the opportunity for interested parties to

participate in a meaningful way in the discussion and final formulation of rules.” Connecticut

Light & Power Co. v. NRC, 673 F.2d 525, 528 (D.C. Cir. 1982). “If the [NPR] fails to provide an

accurate picture of the reasoning that has led the agency to the proposed rule, interested parties

will not be able to comment meaningfully upon the agency’s proposals.” Id. at 530. Providing

access to materials like FPC requested – in addition to those that ATF has acknowledged in the

NPR as the basis for the rulemaking – has long been recognized as essential to a meaningful

opportunity to participate in the rulemaking process.

       The APA “‘requires the agency to make available to the public, in a form that allows for

meaningful comment, the data the agency used to develop the proposed rule.’” American

Medical Ass’n, v. Reno, 57 F.3d 1129, 1132-33 (D.C. Cir. 1995) (quoting Engine Mfrs. Ass’n v.

EPA, 20 F.3d 1177, 1181 (D.C. Cir. 1994)). In order to ensure that rules are not promulgated on

the basis of data that to a “critical degree, is known only to the agency,” the agency must make

available the “methodology” of tests and surveys relied upon in the NPR. Portland Cement Ass’n

v. Ruckelshaus, 486 F.3d 375, 392-93 (D.C. Cir. 1973).



                                                 5

                                                                                              Exhibit A, Pg. 8
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An agency commits serious procedural error when it fails to reveal the basis for a proposed rule

in time to allow for meaningful commentary. Connecticut Power & Light, 673 F.2d at 530-31.

The notice and comment requirements

               are designed (1) to ensure that agency regulations are tested via
               exposure to diverse public comment, (2) to ensure fairness to
               affected parties, and (3) to give affected parties an opportunity to
               develop evidence in the record to support their objections to the
               rule and thereby enhance the quality of judicial review.

International Union, United Mine Workers of America v. Mine Safety & Health Admin., 407 F.3d

1250, 1259 (D.C. Cir. 2005).

       In this rulemaking proceeding, ATF not only refused to make available its own prior

determinations that “bump stocks”, “bump-fire stocks”, and “bump-stock-devices” were not

firearms, let alone, machineguns, and communications received from Congress and other

organizations, but more importantly, as discussed in Sections I., B., and IV., D., infra, ATF has

failed to provide any evidence that a “bump stock”, “bump-fire stock”, or a “bump-stock-device”

was ever utilized in a single crime. As the putative use of a bump stock in the Las Vegas

shooting is the purported underlying basis for this rulemaking (83 Fed. Reg. at 13443, 13444,

13446, 13447, 13452, 13454) the lack of evidentiary support is mind-boggling – especially in

light of legitimate national concerns involving the media and governmental agencies misleading

the public on a variety of issues – and constitutes a serious procedural error, as the absence of

such evidence supports that there are no verified instances of a bump stock being utilized

criminally and neither ATF nor FBI have confirmed the use of a bump-stock-device in any

crime. 4


4
  An expedited Freedom of Information Act request was submitted to both ATF and FBI
requesting “Any and all records documenting the use of a bump-fire type stock being used by
anyone on or about October 1, 2017 at the Mandalay Bay shooting incident in Las Vegas,
                                                                                      (footnote continued)

                                                 6

                                                                                                  Exhibit A, Pg. 9
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       The lack of access to these materials has seriously hindered the ability of interested

persons to address everything that underlies the apparent unsupported assertions in the NPR.

Bringing forth any such material in support of a final rule will do nothing to remedy the fact that

those materials were not available to inform the interested persons preparing public comments. If

ATF intends to take any further action relative to this rulemaking, it needs first to lay the

foundation for a proposal and then expose that foundation to meaningful critique.




           B.      ATF Failed to Describe a Single Situation Illustrating the Problem it
                   Purports to Address; The Entire Rulemaking Seems to Rest on Multiple
                   False Premises

       In the docket, ATF failed to provide evidence of a single instance where a “bump stock”

or “bump-fire stock” was confirmed to be utilized in the commission of a crime. 5 Even more

disconcerting, in order to argue a putative benefit of this rulemaking, ATF relies on public

comments from an ANPR, stating:

       “As reported by public comments, this proposed rule would affect the criminal
       use of bump-stock-type devices in mass shootings, such as the Las Vegas
       shooting incident… Banning bump-stock-type devices could reduce casualties in
       an incident involving a weapon fitted with a bump-stock-type device, as well as
       assist first responders when responding to incidents, because it prevents shooters
       from using a device that allows them to shoot a semiautomatic firearm
       automatically.”




                                                                                    (footnote continued)
Nevada; and Any and all records documenting the use of a bump-fire type stock used during the
commission of any crime to date.” To date, neither ATF nor FBI has confirmed the use of a
bumpfire stock in the commission of any crime. See “Analysis and Commentary Regarding:
Docket Number: ATF 2017R-22 & Bump-Stock-Type-Devices”, ID: ATF-2018-0002-31210,
Tracking Number: 1k2-93f3-s09b at 4 and 62 – 63, available electronically at –
https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email 013 (Historic
Arms) rec 5-29-18 – Part4” as pdf pages 1 – 2.
5
  Id.

                                                  7

                                                                                                Exhibit A, Pg. 10
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83 Fed. Reg. 13454 (emphasis added). These purported benefits are equally illusory and

misleading. First, ATF presents no evidence that bump-stock-type devices have actually

ever been used in any mass shooting incidents. 6 As further discussed infra in Section IV.,

D., even in relation to the Las Vegas incident upon which the NPR relies (83 Fed. Reg. at

13443, 13444, 13446, 13447, 13452, 13454), the Las Vegas Metropolitan Police

Department Preliminary Investigative Report only indicates that some weapons were

outfitted with bump-stock-type devices but provides no indication that any bump-stock-

device was utilized. See, Exhibit 2. 7 Second, ATF contends that casualties could be

reduced in such an incident without demonstrating that there have been any casualties

attributable to the devices. 8 ATF has also failed to address the fact, as discussed in

Sections IV., B. and C., that not only is a bump-stock unnecessary to bump-fire a firearm

but that practiced shooters can match, if not exceed, the speed of a bump fire device, with

far superior accuracy, unassisted by such a device. See, Exhibits 3 and 4. 9 Moreover, as

stated by former ATF Acting Chief of FTB Rick Vasquez, “[a] factory semi-automatic


6
  Interestingly, ATF relies solely on prior “public comments” to suggest that a bump stock device
was utilized in Las Vegas (83 Fed. Reg. 13454), while thereafter declaring that bump stock
devices “could be used for criminal purposes.” (83 Fed. Reg. 13455)(emphasis added). The use
of the word “could” reflects that such use is a possible future, not past, occurrence. Thus, ATF is
acknowledging that but for public conjecture, it has no evidence that a bump stock device has
been utilized in a crime and only hypothesizes that a bump stock device “could be used for
criminal purposes.” See also Fn. 4, supra.
7
  A copy of the report is also available online at – https://www.lvmpd.com/en-
us/Documents/1_October_FIT_Report_01-18-2018_Footnoted.pdf.
8
  Relying on nothing more than a “conclusory statement would violate principles of reasoned
decisionmaking.” Foundation on Economic Trends v. Heckler, 756 F.2d 143, 154 (D.C. Cir.
1985); see also Pearson v. Shalala, 164 F.3d 650, 659 (D.C. Cir. 1999).
9
  Copies of the videos are also available online – Iraqveteran8888, Worlds Fastest Shooter vs
Bump Fire! – Guns Reviews, YouTube (Oct. 13, 2014),
https://www.youtube.com/watch?v=JTb6hsSkV1w and Miculek.com, AR-15 5 shots in 1 second
with fastest shooter ever, Jerry Miculek (Shoot Fast!), YouTube (June 20, 2013)
https://www.youtube.com/watch?v=v3gf_5MR4tE&t.

                                                  8

                                                                                              Exhibit A, Pg. 11
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and fully-automatic (i.e. machinegun) firearm, manufactured by the same manufacturer,

will have identical cyclic rates, 10 unless the machinegun version has some form of rate

reducing mechanism; whereby, the machinegun version may have a slower cyclic rate

than the semi-automatic version.” See Exhibit 32. 11 Thus, not only can an individual

exceed the rate of fire of a bump-stock-device with greater accuracy, but an individual

can equal, and sometime exceed, the rate of fire of an actual machinegun.

       Third, as also addressed by the Savage Comment 12 and the Expert Declaration of

Vasquez (see Exhibit 32), the technique of bump firing merely utilizes the recoil impulse

that all semi-automatic firearms generate, every time the firearm discharges. More

importantly, as discussed by the Expert Declaration of Vasquez and the Savage

Comment, and reflected infra in Sections IV., A. and E., including as depicted in video

exhibits related thereto, contrary to ATF’s interpretive jiggery-pokery in the NPR that


10
   As expert Vasquez explains, “[t]he cyclic rate of a firearm is neither increased nor decreased
by the use of a bump-stock-device, as the cyclic rate of a particular firearm is the mechanical rate
of fire, which can be explained in laymen’s terms as how fast the firearm cycles (i.e. loads, locks,
fires, unlocks, ejects), which is an objective, not subjective, mechanical standard.” See Exhibit
32.
11
   This was also addressed by Firearm Engineer Len Savage on page 2 of his Comment,
where he declares that all semi-automatic firearms:

       “can fire as fast as a machinegun version. Their cyclic rates are identical to the
       machinegun version. Their essential operating mechanisms are identical, same ammo,
       same mag[azines], same reciprocating mass. The only small physical difference is the
       machineguns described have a mechanical level that ‘automatically’ starts the new cycle
       as soon as the previously cycle ends. Some semiautomatic firearms can even fire faster
       than the full auto version because the machinegun versions having some form of rate
       reducing mechanism.”

See Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b, available
electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email
013 (Historic Arms) rec 5-29-18”.
12
   Id.

                                                 9

                                                                                            Exhibit A, Pg. 12
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bump-stock devices “convert an otherwise semiautomatic firearm into a machinegun by

functioning as a self-acting or self-regulating mechanism” (83 Fed. Reg. 13443), in

reality, a bump-stock-device is neither self-acting nor self-regulating and requires the

trigger to be fully released, reset and fully pulled, before a subsequent round can be fired.
13
     To the extent ATF contends otherwise, then all semi-automatic firearms are “self-

acting” or “self-regulating,” since, as discussed infra in Section IV., B., the technique of

bump firing can be easily achieved solely with one’s finger while operating a factory

semi-automatic firearm.

          Thus, to the extent ATF contends that bump-stock-devices are self-acting, self-

regulating or otherwise harness the recoil energy of the firearm, then all semi-automatic

firearms are self-acting, self-regulating or otherwise harness the recoil energy of the

firearm. Under the logic and contentions employed in the NPR, ATF would seemingly be

entitled and empowered to regulate all semi-automatic firearms in the same manner as

they seek to do for bump-stock devices, whereby all semi-automatic firearms could be re-

classified by fiat, transmuted into unlawfully-possessed and proscribed contraband items,

and, accordingly, force forfeiture (and provide for seizure) and destruction of these items,
13
     As also addressed in the Expert Declaration of Vasquez:

          The bump-stock-device does not permit automatic fire by harnessing the recoil energy of
          the firearm. Harnessing the energy would require the addition of a device such as a spring
          or hydraulics that could automatically absorb the recoil and use this energy to activate
          itself. If it did harness the recoil energy, the bump-stock equipped firearm in the video
          would have continued to fire, while the shooter’s finger remained on the trigger, after
          pulling it rearwards without requiring the shooter to release and reset the trigger and then
          pull the trigger completely reward for a subsequent round to be fired.
          …
          A firearm in a bumpstock/slidefire stock cannot be a machinegun because it requires an
          individual to activate the forward motion of the stock when the firearm is fired.
          Additionally, it requires a thought process of the individual to continually pull the trigger
          when the stock is pulled forward bringing the trigger into contact with the finger.

                                                   10

                                                                                                Exhibit A, Pg. 13
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without any just compensation being paid—never-mind the statutes, let alone the

Constitution. 14

       In fact, Eric Larson clairvoyantly published an article in March of 1998 in the

Gun Journal, entitled How Firearm Registration Abuse & the “Essential Operational

Mechanism” of Guns May Adversely Affect Gun Collectors, in which he raised concern

over ATF banning all semi-automatic firearms through these types of “interpretations” of

law. See Exhibit 24.

       Fourth, ATF suggests that this rule will assist first responders by preventing

shooters from using the devices; however, ATF does not elaborate on how exactly a

firearm outfitted with a bump-stock-type device impedes first responders in any way that

a differently configured firearm does not.

       Finally, ATF laughably suggests that it is addressing a negative externality of the

commercial sale of bump-stock-type devices. This negative externality is “that they could

be used for criminal purposes.” 83 Fed. Reg. at 13449. This suggestion is not supported

by any evidence aside from the unproven allegation of their use in the Las Vegas


14
   If “the eight-year assault on . . . Second Amendment freedoms [came] to a crashing end” with
President Trump’s election and inauguration, then a new assault on individual liberties and
lawfully acquired and possessed private property apparently came to a crushing beginning in this
NPR. See, Trump at NRA convention: 'Eight-year assault' on gun rights is over, Fox News, April
28, 2018, online at http://www.foxnews.com/politics/2017/04/28/trump-at-nra-convention-eight-
year-assault-on-gun-rights-is-over.html. But the “President then directed the Department of
Justice . . . to dedicate all available resources to complete the review of the comments received
[in response to the ANPRM], and, as expeditiously as possible, to propose for notice and
comment a rule banning all” bump-stock devices. Federal Register / Vol. 83, No. 61 at 13446
(NPR Section III). Indeed, it is difficult to reconcile President Trump’s statement that “[he] will
never, ever infringe on the rights of the people to keep and bear arms,” Trump at NRA
convention, supra, with the NPR. As the NPR admits, it a direct result of his personal directive
to lawlessly seek an unlawful total, confiscatory ban on bump-stock devices (and criminalize the
law-abiding people who possess them) in spite of the Executive Branch’s lack of legal and
constitutional authority to do so.

                                                11

                                                                                             Exhibit A, Pg. 14
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incident. Further, any suggestion that a device responsible for substantial, and lawful,

market activity should be banned because it has a potential to be used for criminal

purposes is a mind-blowing and preposterous proposition that supports the banning of

virtually all consumer products, such as vehicles (given the number of individuals who

utilize them while unlawfully under the influence of drugs or alcohol and cause

significant numbers of injuries and deaths 15, and those who use them to carry out

terrorist attacks). 16

        If the sole example ATF has to offer is the conjectured use of a bump-stock-equipped

firearm during the Law Vegas shooting, there is simply no evidence of any problem that existing

criminal law does not address, let alone a statistically-significant one. Murder is already

unlawful, right? And if serious criminal laws have no meaningful deterrent effect, what then is

the objective of this NPR, if not to subject law-abiding people who did not commit any crime to

pain of criminal penalty and loss of their property?



            C.       ATF Failed to Permit a Ninety-Day Comment Period and Procedural
                     Irregularities Have Denied Interested Persons a Meaningful Opportunity to
                     Comment on the Proposed Rulemaking


        18 U.S.C. § 926(b) requires that ATF provide “not less than ninety days public notice,




15
   “Every day, 29 people in the United States die in motor vehicle crashes that involve an
alcohol-impaired driver. This is one death every 50 minutes. The annual cost of alcohol-related
crashes totals more than $44 billion.” See, e.g., “Impaired Driving: Get the Facts” (citing
sources, internal footnotes omitted), Centers for Disease Control and Prevention, online at
https://www.cdc.gov/motorvehiclesafety/impaired_driving/impaired-drv_factsheet.html.
16
   See, https://www.usatoday.com/story/news/2016/07/14/dozens-dead-nice-france-after-truck-
plows-into-crowd-mayor-says/87101850. See also, http://abcnews.go.com/International/truck-
hits-pedestrians-busy-barcelona-street/story?id=49272618.

                                                 12

                                                                                              Exhibit A, Pg. 15
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and shall afford interested parties opportunity for hearing, before prescribing such rules and

regulations.”

       First and foremost, FPC demands, pursuant to Section 926(b) and ATF’s offer in the

NPR (83 Fed. Reg. 13456), 17 that they be provided an opportunity to be heard at a hearing

before ATF prescribes any rule or regulation in relation to this NPR. 18

       In this rulemaking proceeding, numerous procedural irregularities and issues have arisen

that have precluded the public a meaningful opportunity to respond and have caused some to

believe that the comment period was closed, since the very start of the comment period; thus,

depriving the public of the ninety day comment period that is required by law.

       Immediately, upon the publication of the NPR on March 29, 2018, numerous individuals

were advised on FederalRegister.gov 19 “COMMENT PERIOD CLOSED – The comment period

on this document is closed and comments are no longer being accepted on Regulations.gov. We

apologize for any inconvenience.”




17
   Contrary to ATF’s assertion in the NPR that the Director of ATF has discretion in whether to
grant a public hearing, Section 926(b) requires ATF to hold a public hearing when such is
requested, as the statutory language provides that the Attorney General “shall afford interested
parties opportunity for hearing, before prescribing such rules and regulations.” (Emphasis
added). If it were discretionary, the Congress would have utilized a permissive word like “may”
instead of the command “shall”.
18
   Although requesting a hearing in a comment is sufficient, based on the request in the NPR, a
separate letter was sent to Acting Director Brandon on behalf of FPC requesting an opportunity
to be heard at a hearing. See Exhibit 34.
19
   The specific link is https://www.federalregister.gov/documents/2018/03/29/2018-06292/bump-
stock-type-devices

                                                13

                                                                                            Exhibit A, Pg. 16
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As is reflected in the above image, taken from the subject Web site, the notice that the comment

period was closed was in relation to this proposed rulemaking regarding Bump-Stock-Type

devices of “03/29/2018” and also reflects that the comment period was not supposed to end until

“06/27/2018”; however, individuals were denied the opportunity to comment.

       Even when individuals reached out online to the Federal Register regarding their inability

to submit comments, the Federal Register responded by saying that it isn’t its problem 20:




20
   It would seem that, at a minimum, the Federal Register’s Web site and social media accounts
are managed by the same parties responsible for the www.healthcare.gov debacle that precluded
individuals from being able to register for Obamacare, which led the Inspector General of the
Department of Health and Human Services to issue a scathing report over the incompetence of
those responsible. See http://www.mcall.com/news/local/watchdog/mc-obamacare-website-
failure-watchdog-20160224-column.html.

                                               14

                                                                                             Exhibit A, Pg. 17
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       But the procedural irregularities and issues didn’t end there. On April 2, 2018, Carl

Bussjaeger published an article, which was later updated, [Update] Bumbling Machinations on

Bump Stocks? See, Exhibit 5. 21 In his article, he details the trials and tribulations of trying to

find the appropriate docket, based on the NPR in this matter, and the differing number of

comments putatively submitted and available for review between three separate dockets. When

he submitted an inquiry to ATF regarding these issues, without explaining why there are three

separate related dockets, ATF Senior Industry Operations Investigator Katrina Moore responded

that he should use https://www.regulations.gov/document?D=ATF-2018-0002-0001; yet, ATF




21
  A copy of the article is also available online at – http://zelmanpartisans.com/?p=5071. See
also, http://zelmanpartisans.com/?p=5055.

                                                  15

                                                                                               Exhibit A, Pg. 18
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failed to relay that information to the public at large or place notices on the other two related

dockets informing interested individuals of the location where they can submit their comments.

       When other federal administrative agencies have failed to provide a statutorily mandated

comment period or issues arose during the comment period, whereby the comment period was

thwarted by technological or other delays, those agencies have extended the applicable comment

periods. See, e.g., Department of the Interior -- Fish & Wildlife Service, Endangered and

Threatened Wildlife and Plants; Extending the Public Comment Periods and Rescheduling

Public Hearings Pertaining to the Gray Wolf (Canis lupus) and the Mexican Wolf (Canis lupus

baileyi), 78 Fed. Reg. 64192 (Oct. 28, 2013); Environmental Protection Agency, Extension of

Review Periods Under the Toxic Substances Control Act; Certain Chemicals and

Microorganisms; Premanufacture, Significant New Use, and Exemption Notices, Delay in

Processing Due to Lack of Authorized Funding, 78 Fed. Reg. 64210 (Oct. 28, 2013); Department

of the Interior -- Fish & Wildlife Service, New Deadlines for Public Comment on Draft

Environmental Documents, 78 Fed. Reg. 64970 (Oct. 30, 2013); Department of Labor --

Occupational Safety and Health Administration, Occupational Exposure to Crystalline Silica;

Extension of Comment Period; Extension of Period to Submit Notices of Intention to Appear at

Public Hearings; Scheduling of Public Hearings, 78 Fed. Reg. 35242 (Oct. 31, 2013);

Department of Agriculture -- Food and Nutrition Service, Supplemental Nutrition Assistance

Program: Trafficking Controls and Fraud Investigations; Extension of Comment Period, 78 Fed.

Reg. 65515 (Nov. 1, 2013); Federal Communications Commission, Revised Filing Deadlines

Following Resumption of Normal Commission Operations, 78 Fed. Reg. 65601 (Nov. 1, 2013);

Federal Trade Commission, Ganley Ford West, Inc.; Timonium Chrysler, Inc.; TRENDnet, Inc.;

Pinnacle Entertainment, Inc.; Honeywell International, Inc.; Nielsen Holdings, Inc., et al.;



                                                 16

                                                                                              Exhibit A, Pg. 19
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Polypore International, Inc.; Mylan, Inc., et al.; Actavis, Inc., et al.; Agency Information

Collection Activities (Consumer Product Warranty Rule, Regulation O, Affiliate Marketing

Rule), 78 Fed. Reg. 65649 (Nov. 1, 2013); Federal Communications Commission, Revised Filing

Deadlines Following Resumption of Normal Commission Operations,78 Fed. Reg. 66002 (Nov.

4, 2013). In this rulemaking proceeding, by refusing to extend the comment period and failing to

notify interested parties of the correct docket for filing comments, ATF failed to mitigate the

harm caused by these procedural irregularities and issues that were resultant from ATF’s own

conduct and actions. Thus, ATF has failed to provide the statutorily-mandated public comment

period and caused public confusion as to whether or not the comment period was open or closed

and the appropriate docket for the filing of comments. More disconcerting is that this is not the

first time that ATF has acted in this manner during the rulemaking process. 22




           D.      ATF’s Prior Lack of Candor Demonstrates a Heightened Need for
                   Procedural Regularity


       The litany of procedural irregularities in this proceeding would undermine the efforts of

an agency with a sterling reputation for fairness and candor. ATF has a well-documented record

of “spinning” facts and engaging in outright deception of the courts, Congress, and the public.

Many of the examples of such conduct arise precisely in the area of regulation of NFA firearms


22
  See, Firearms Industry Consulting Group’s comment in response to ATF-41P, RIN: 1140-
AA43, available at https://www.regulations.gov/document?D=ATF-2013-0001-8364, wherein it
documents in Section I the numerous procedural irregularities and issues that denied interested
persons a meaningful opportunity to comment on the proposed rulemaking. For brevity, FPC
incorporates into this Comment all exhibits attached to the Comment of Firearms Industry
Consulting Group in the response to ATF-41P. All of Firearms Industry Consulting Group’s
exhibits in response to ATF-41P are available at
https://www.regulations.gov/document?D=ATF-2013-0001-8364.

                                                 17

                                                                                               Exhibit A, Pg. 20
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as detailed in the Motion in Limine filed in United States v. Friesen, CR-08-041-L (W.D. Okla.

Mar. 19, 2009). See Exhibit 6. In light of that record, there is an even greater need for ATF to

provide the underlying documents that would permit scrutiny of whether it has fairly

characterized issues in the NPR, engaged in a fair consideration of alternatives, only

inadvertently provided misleading information about its proposed rule in relation to the Las

Vegas incident and operation of bump-stock-devices, omitted pertinent documents – especially

its own determinations that bumpstocks were not even firearms, let alone, machineguns – from

the docket only through an oversight, and only accidentally failed to provide a 90-day comment

period.


                 1.      ATF’s “Institutional Perjury” Before the Courts

          ATF’s NFA Branch Chief, Thomas Busey, advised ATF employees in the course of a

training program that the National Firearms Registration and Transfer Record (“NFRTR”)

database had an error rate “between 49 and 50 percent” in 1994. Exhibit 6, p. 14. Yet, despite

acknowledging such a high error rate, he observed that “when we testify in court, we testify that

the database is 100 percent accurate. That's what we testify to, and we will always testify to

that.” Id. Judges have overturned their own imposition of criminal convictions upon learning of

this information, see, e.g., id., pp. 16-17, information that should have routinely been provided to

defense counsel in advance of trial as Brady material. 23 See also id., p. 6. It is difficult to

imagine a more powerful admission that an agency had knowingly, repeatedly misled courts.

          This blatant “institutional perjury” took place not only in the context of criminal

prosecutions but also in support of numerous probable cause showings for search warrants.

23
   In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court required that government
investigators and prosecutors provide criminal defendants with potentially exculpatory
information.

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                                                                                                   Exhibit A, Pg. 21
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Indeed, NFA Branch Chief Busey expressly addressed that situation. Despite acknowledging an

NFRTR error rate of 49 to 50 percent, he told his ATF audience “we know you're basing your

warrants on it, you’re basing your entries on it, and you certainly don’t want a Form 4 waved in

your face when you go in there to show that the guy does have a legally-registered [NFA

firearm]. I’ve heard that happen.” Id., p. 15.

       Using data obtained from ATF in response to FOIA requests, Eric M. Larson

demonstrated that ATF apparently had added registrations to the NFRTR years after the fact,

reflecting the correction of errors apparently never counted as errors. Id., pp. 21-28. While

reassuring courts as to the accuracy of the NFRTR, at the same time ATF seemed to be adding

missing information to the database when confronted with approved forms that had not been

recorded in the database. Id., pp. 26-28. As a result of the questions raised by Mr. Larson, both

ATF and the Treasury Department Inspector General conducted investigations. Id., pp. 29-31.

       In the course of the resulting investigations, ATF’s Gary Schaible recanted sworn

testimony he had given years earlier in a criminal prosecution. Id., pp. 30-33. The Inspector

General’s October 1998 report rejected Mr. Schaible's effort to explain away his prior sworn

testimony, concluding: “National Firearms Act (NFA) documents had been destroyed about 10

years ago by contract employees. We could not obtain an accurate estimate as to the types and

number of records destroyed.” Id., pp. 32-33. It is difficult to understand how ATF could

routinely provide Certificates of Nonexistence of a Record (“CNRs”) to courts without

disclosing that an unknown number of records were destroyed rather than processed for the

NFRTR. 24



24
   In Friesen itself, the prosecution introduced duplicate ATF records of the approved transfer of
a NFA firearm (bearing the identical serial number), but differing in the date of approval.
                                                                                  (footnote continued)

                                                 19

                                                                                             Exhibit A, Pg. 22
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               2.      ATF’s Deception in Congressional Oversight

       In response to a Congressional inquiry, a DOJ Inspector General advised that a request

for documents that reflected errors in the NFRTR had been “fully processed” when, in fact, the

documents had merely been sent to another component – ATF itself – so as to delay disclosure.

See Exhibit 6, pp. 12-14. Moreover, ATF changed the meaning of terms like “significant” errors

thereby frustrating any attempt to ascertain the true error rate. See id., p. 19. So too, when a

congressionally-mandated audit found a “critical error” rate in the NFRTR of 18.4%, the

Treasury Department Inspector General seemingly manipulated audit procedures at the

instigation of the NFA Branch so as to produce a more acceptable figure. Id., pp. 35-39.

       Congress remained sufficiently concerned about inaccuracies in the NFRTR to

appropriate $1 million (in Fiscal Years 2002 and 2003) for ATF to address remaining issues. Id.,

p. 39. In 2007, however, Dr. Fritz Scheuren advised Congress that “serious material errors”

continued to plague the NFRTR that ATF “has yet to acknowledge”. Id., p. 41.

       As recently as June 2012, failure to answer questions about ATF's botched “Fast and

Furious” gun-walking operation prompted the House of Representatives to find Attorney General

Holder in both civil and criminal contempt. See Exhibit 7.




               3.      ATF’s Misleading of the Public

       When, after a prolonged period of evasion, ATF finally produced a transcript of NFA

Branch Chief Busey’s remarks in the training session in response to FOIA requests, the transcript

had been “corrected” by ATF’s Gary Schaible to minimize damage to ATF. See Exhibit 6, p. 17.

                                                                                    (footnote continued)
Exhibit 6, pp. 48-49. ATF could not explain the situation. Id., p. 49. Nor could ATF find the
original documents underlying the computerized entries. Id., p. 52.

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                                                                                               Exhibit A, Pg. 23
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Among those corrections, Mr. Schaible asserted that he was unaware that any ATF employee had

ever testified that the NFRTR was 100% accurate.

         In order to frustrate public inquiries into the Waco Raid, ATF participated in a game of

“shifting the paperwork and related responsibilities” among DOJ components and other law

enforcement agencies. Id., pp. 13-14.

         Former Acting Chief of the NFA Branch, Mr. Schaible, testified that ATF repeatedly – in

2000, 2001, 2002, 2003, 2005, 2008 – approved NFA transfer forms without following

procedures to update the information in the NFRTR. See Exhibit 8, pp. 398-414. The

consequence of those failures was that members of the public received contraband machineguns

accompanied by genuine ATF-approved forms indicating that the purchaser had acquired a

legally-registered firearm, only to have ATF subsequently seize the machineguns from innocent

purchasers.

                                          *      *       *

         ATF’s long record of shading the truth to mislead courts, Congress, and the public,

underscores the serious nature of the procedural irregularities in this rulemaking. In order to

permit meaningful public participation, ATF must provide access to the materials it has placed in

issue.




   II.      ATF’S PROPOSED RULE RAISES IMPORTANT CONSTITUTIONAL
            ISSUES

         Because judicial review of any final rule promulgated by ATF may consider not only

compliance with the APA but also all alleged violations of the U.S. Constitution, see, e.g., Porter

v. Califano, 592 F.2d 770, 780 (5th Cir. 1979), it is incumbent upon ATF to take such


                                                 21

                                                                                            Exhibit A, Pg. 24
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considerations into account in this rulemaking proceeding. 25 Where, as here, agency rulemaking

would inherently impact constitutional rights, that impact is among the matters the APA requires

the agency to consider in evaluating regulatory alternatives and to address in a reasoned

explanation for its decision. See R.J. Reynolds Tobacco Co. v. FDA, 696 F.2d 1205 (D.C. Cir.

2012); Pearson v. Shalala, 164 F.3d 650 (D.C. Cir. 1999).




           A.      The Second Amendment

       Nowhere in the NPR did ATF demonstrate the slightest awareness that it is proposing to

regulate in an area involving fundamental constitutional rights. Congress has not amended the

NFA since the U.S. Supreme Court confirmed that “the Second Amendment conferred an

individual right to keep and bear arms.” District of Columbia v. Heller, 554 U.S. 570, 595

(2008). Consequently, it would seem exceptionally important for ATF to consider the

background constitutional issues in formulating policy, particularly as ATF’s proposed rule

would outright ban bump-stock devices, thereby burdening the exercise of this constitutional

right held by law-abiding citizens. Where fundamental, individual constitutional rights are at

issue, an agency engaged in rulemaking cannot rely on a conclusory assertion in order to

“supplant its burden to demonstrate that the harms it recites are real and that its restriction will in

fact alleviate them to a material degree.” Ibanez v. Florida Dep't of Business & Professional

Regulation, 512 U.S. 136, 146 (1994). Yet, in direct defiance of this Supreme Court dictate, as

discussed supra and infra in Sections I., B. and IV., D., ATF has failed to provide any evidence



25
   Agency determinations with respect to constitutional issues, however, are not entitled to any
deference on judicial review. See J.J. Cassone Bakery, Inc. v. NLRB, 554 F.3d 1041, 1044 (D.C.
Cir. 2009) (quoting Lead Indus. Ass'n Inc. v. EPA, 647 F.2d 1130, 1173-74 (D.C. Cir. 1980)).

                                                  22

                                                                                               Exhibit A, Pg. 25
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that (1) bump-stock devices have actually ever been used in the facilitation of a crime, 26 (2) that

casualties could be reduced in an incident involving a bump stock, since there is no evidence

demonstrating that there have been any causalities attributable to bump-stock devices, (3) that

this rule will assist first responders, and (4) that “they could be used for criminal purposes” any

differently than any other item that is currently available throughout the United States. Rather,

ATF relies solely on the conclusory assertions of public comments to an Advanced Notice of

Proposed Rulemaking to determine the benefits of the very rulemaking it is considering. In

soliciting potential benefits from the public and suggesting them without evidence, ATF has run

afoul of the words of wisdom contained in another decision issued by the Supreme Court stating

that “[w]e are in danger of forgetting that a strong public desire to improve the public condition

is not enough to warrant achieving the desire by a shorter cut than the constitutional way of

paying for the change.” Pennsylvania Coal Co. v. Mahon, 260 U.S. 393, 416 (1922).

While ATF claims that this rule is necessary to carry out the will of Congress, as discussed infra

in Section III., ATF lacks the authority to alter the definition of a machinegun as it was enacted

by the Congress. Even Senator (and ranking member of the Senate Judiciary Committee) Diane

Feinstein, the lead sponsor of the now-expired federal ban on so-called “assault weapons” and

author or sponsor of voluminous other proposed gun control legislation, declared that “ATF

lacks authority under the law to ban bump-fire stocks. Period.” See, Exhibit 9.




26
     See Fns. 4, 6, supra.

                                                 23

                                                                                             Exhibit A, Pg. 26
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Even a broken clock is right twice a day, and, similarly, Senator Feinstein is correct in her

assessment of the ATF’s lack of authority for its bump-stock NPR.

        Furthermore, as discussed supra in Section I., A., ATF only states that it received

correspondence from an undisclosed number of members and failed to place that/those

correspondence(s) into the docket. The will of Congress cannot simply be derived from the

writings of a small number of Senators or Representatives – especially writings outside of the

legislative record – nor has it been in the past. 27

        While it is impossible to know for certain, given the NPR’s dearth of analysis and

discussion of the Second Amendment, it may well be that the ATF, without stating so, believes

that the NPR does not violate the fundamental, individual right to keep and bear arms by

considering bump-stock devices to be both “dangerous and unusual weapons” and “not

commonly possessed by law-abiding citizens for lawful purposes today.” Caetano v.

Massachusetts, 136 S. Ct. 1027, 1031-1032 (2016). But as the Court recently reminded in

27
   See Exhibit 10, pp. 4 – 5, also available at
https://perlmutter.house.gov/uploadedfiles/atf_response_04.16.13.pdf


                                                   24

                                                                                              Exhibit A, Pg. 27
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Caetano, the controlling rule set forth in Heller “is a conjunctive test: A weapon may not be

banned unless it is both dangerous and unusual.” Id., at 1031 (emphasis in original). However,

ATF does not discuss these factors, and instead walks right past the necessary analysis (and the

Court’s clear direction). The NPR fails to show that a bump-stock device is both “dangerous and

unusual,” or even that it would materially affect the dangerousness of any firearm so equipped,

which are already dangerous per se. The ATF’s proposed total ban self-evidently lacks necessary

tailoring – indeed, its lack of tailoring underscores its overwhelming breadth – and amounts to

the total destruction of the right of law-abiding people to keep and bear the affected items for

self-defense and other lawful purposes.




       B.      The Fifth Amendment


       ATF’s proposed rule violates the Due Process and Takings clauses of the Fifth

Amendment to the U.S. Constitution by failing to provide notice to affected parties of a

compelled forfeiture or destruction, entrapping otherwise law-abiding citizens, and failing to

provide just compensation for the property in question.


               1.        The Proposed Rulemaking Violates Due Process


                    i.      ATF has Failed to Provide Notice and Opportunity to Response to All
                            Interested Parties

       Although, as discussed supra in Section I., A., ATF has failed to place into the docket

any of its prior ten determinations between 2008 and 2017 that bump-stock-devices do not even




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                                                                                            Exhibit A, Pg. 28
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constitute firearms, let alone, machineguns (83 Fed. Reg. at 13445), 28 it is admitted by ATF that

it publicly approved of the bump-stock-type devices, which, per ATF (83 Fed. Reg. at 13451), is

believed to have resulted in over half a million bump-stock-devices being produced and sold.

Furthermore, to the extent the NPR applies to slamfire shotguns and firearms, Gatling guns, and

triggers, there are tens of millions of such firearms and devices in private ownership. Yet, ATF

has failed to provide individual notice to all those known to own or possess a bump-stock-device,

let alone those owning or possessing slamfire shotguns and firearms, as well as, Gatling guns,

and triggers; thereby, potentially depriving those individuals of an opportunity to respond, in

direct violation of due process. As there can be no dispute, as discussed infra Section II., B., 1.,

i., that those owning and possessing bump-stock-devices and other firearms and devices covered

by the NPR, have a vested property interest in their firearms and devices, ATF was required, at a

minimum, to take all possible steps to identify those known to own or possess these firearms and

devices and provide them, each, with notice of this rulemaking proceeding, since it directly

affects their property interests.



                    ii.     The Rulemaking Proposal Constitutes Entrapment Given ATF’s Prior
                            Approvals and Public’s Reliance Thereon

        Although ATF publicly approved bump-stock-devices on at least ten occasions between

2008 and 2017 (83 Fed. Reg. at 13445; see also Exhibit 10) and issued ATF Ruling 2004-5 29

and Revenue Ruling 55-528, 1955-2 C.B. 482, in relation to Gatling guns, it now seeks to

severely criminalize the possession of those very same bump-stock-devices – and potentially

28
   FPC believes that they have found three of the ten determinations that were issued between
2008 and 2017, which are attached as Exhibit 10. See also, https://www.cbsnews.com/news/can-
the-atf-regulate-bump-stocks-the-device-used-by-the-las-vegas-shooter/;
https://perlmutter.house.gov/uploadedfiles/atf_response_04.16.13.pdf.
29
   Available at https://www.atf.gov/file/83561/download

                                                 26

                                                                                              Exhibit A, Pg. 29
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“slamfire” shotguns and firearms, Gatling guns, and triggers – at the expense of law-abiding

individuals who have relied on those determinations, followed appropriate procedures and

complied with the law. This sudden change in position after eight years of reliance by the public

on determinations to the contrary, clearly constitutes entrapment since the agency invited

reliance on its consistent decisions and now seeks to unfairly impose criminal penalties for the

public’s reliance, with potential punishment of 10 years imprisonment, pursuant to 18 U.S.C. §

924(a)(2). As declared by the U.S. Supreme Court, “[e]ntrapment occurs only when criminal

conduct was the ‘product of the creative activity of law-enforcement officials.’…. a line must be

drawn between the trap for the unwary innocent and the trap for the unwary criminal.” Sherman

v. United States, 356 U.S. 369, 372 (1958) (internal citation omitted). The Court continued that it

is unconstitutional for the Government to beguile an individual “into committing crimes which

he otherwise would not have attempted.” Id. at 376. In this matter, by changing the definition of

a machinegun, ATF seeks to entrap citizens who have simply purchased a federally-approved

firearm accessory. Thus, ATF has set a trap with, by their own estimate, the potential to ensnare

520,000 law-abiding citizens; 30 whereby, those law-abiding citizens can be imprisoned for up to

10 years, without even receiving individual notice of ATF’s reversal of position. 83 Fed. Reg.

13451.


                2.        The Proposal Constitutes a Taking Without Just Compensation


                     i.      The Fifth Amendment Precludes a Regulatory Taking


         ATF’s proposed rule will force law-abiding citizens to forfeit or destroy their lawfully

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   The actual number may be significantly larger – possibly triple or quadruple the stated number
– depending on all the firearms and devices to which the NPR applies, as discussed supra and
infra.

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                                                                                             Exhibit A, Pg. 30
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purchased, owned, and possessed property, in violation of the Fifth Amendment. The Takings

Clause of the Fifth Amendment to the U.S. Constitution provides that when private property, real

or personal, is taken or destroyed by the government, the government must pay just

compensation to the person(s) whom the property was taken from. Horne v. Dep’t of Agric., 135

S. Ct. 2419, 2425-28 (2015) (applying Takings Clause to personal property); Pumpelly v. Green

Bay & Mississippi Canal Co., 80 U.S. 166, 177 (1871) (applying Takings Clause to destroyed

property not used for public purpose). The general rule states that a regulatory action constitutes

a taking under the Fifth Amendment when the action goes too far in regulating private property.

Mahon, 260 U.S. at 415. Moreover, the Supreme Court has declared that “[a] ‘taking’ may be

more readily found when the interference with property can be characterized as a physical

invasion by government, than when interference arises from some public program adjusting the

benefits and burdens of economic life.” Penn Cent. Transp. Co. v. City of New York, 438 U.S.

104, 124 (1978). As this regulation is clearly not meant to adjust the benefits or burdens of

economic life, the compelled forfeiture or destruction of bump-stock-devices and other firearms

and devices covered by the NPR constitutes a physical invasion and taking by government; and

therefore, ATF must address and provide for the payment of just compensation to each

individual who would be deprived of their property under the NPR.

       As reflected in the Verified Declaration of Damien Guedes, he purchased a Bump Fire

Systems’ bump-stock-device, only after ensuring the legality of the device and relying on ATF’s

determination to Bump Fire System that the device was lawful and did not constitute a

machinegun. See Exhibit 15. Matthew Thompson, likewise, issued a Verified Declaration stating

that he purchased a Slide Fire bump-stock-device, only after ensuring the legality of the device

and relying on ATF’s determination to Slide Fire that the device was lawful and neither



                                                28

                                                                                            Exhibit A, Pg. 31
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constituted a firearm nor a machinegun. See Exhibit 16. Thus, both Mr. Guedes and Mr.

Thompson, in reliance on ATF’s prior determinations, purchased bump-stock-devices, which

ATF now seeks to reclassify 31 as a machinegun – in violation of the ex post facto clause of the

U.S. Constitution, discussed infra – and seeks to force their surrender or destruction of the bump-

stock-devices, in the absence of just compensation, 32 all in violation of the takings clause of the

U.S. Constitution.

       Since ATF failed to address the takings aspects of this proposed rule, including, as

discussed supra and infra, its potential application to shotguns and firearms that are capable of

“slamfiring”, as well as, Gatling guns, and triggers, interested parties have been denied

meaningful review of ATF’s position in this regard; however, to the extent ATF contends that an

individual would lack a possessory interest in a bump-stock-device and other firearms and

devices covered by the NPR as a result of the proposed rule being enacted, the U.S. Supreme

Court has already held that while an individual may lose his/her possessory interest in a firearm

or other tangible or intangible object, the individual does not lose his/her property or ownership

interest in the object. Henderson v. United States, 135 S.Ct. 1780, 1785 (2015) (holding that

even where an individual is prohibited from purchasing and possessing firearms, he/she still

retains a property interest in firearms previously acquired.). Furthermore, as the proposed rule

constitutes a per se taking, the Government must provide just compensation. Nixon v. United

States, 978 F.2d 1269, 1284 (D.C. Cir. 1992). Thus, even if ATF enacted the proposed rule, it

would still be responsible for paying just compensation to each person deprived of his/her

property.


31
  See 83 Fed. Reg. 13348, where ATF acknowledges that the proposal is a reclassification.
32
  As reflected in the declarations, Mr. Guedes paid a total of $105.99 for his bump-stock-device
and Mr. Thompson paid a total of $134.00 for his bump-stock-device.

                                                 29

                                                                                             Exhibit A, Pg. 32
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                   ii.    Cost-Impact Statement Fails to Address Just Compensation for the
                          Taking

       Once again, ATF has denied interested individuals meaningful review and opportunity to

comment by failing to address the economic impact when factoring in the just compensation that

it is constitutionally-obligated to pay law-abiding citizens, who own bump-stock-devices and

other firearms and devices covered by the NPR, if it proceeds with the proposed rule. While ATF

provides detailed tables concerning the anticipated economic loss to producers, retailers, and

consumers, the proposed rule fails to provide information on how the Government will fulfill its

obligation to compensate affected individuals for the taking. As reflected in the proposal, ATF

assumes “an average sale price for bump-stock-devices from 2012-2017 [of[ $200.00,” while

acknowledging that the prices ranged from $179.95 to $425.95. 83 Fed. Reg. 13451. The

proposal then declares the primary estimated cost to be $96,242,750.00 based on ATF’s primary

estimate of 520,000 bump-stock-devices having been produced. Id. However, multiplying ATF’s

stated average price of $200.00 by the primary estimate yields a value of $104,000,000.00, not

$96,242,750.00 as stated in Table 3. Moreover, by averaging the acknowledged prices for bump-

stock-devices, a proper average sale price should be $302.95, which would result in a primary

estimated cost of $157,534,000.00 in just compensation being due. Additionally, both estimated

costs may be grossly under-estimated given ATF’s proposed changes to 27 C.F.R. § 447.11 and

27 C.F.R. 478.11, since they would seemingly include any device – inclusive of rubber bands

and belt loops. More disconcerting, as mentioned on page 6 of the Savage Comment, 33 the

proposed rule would seemingly apply to hundreds of thousands, if not millions, of shotguns and


33
   See “Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices”, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b at 4 and 62 – 63,
available electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210,
in “Email 013 (Historic Arms) rec 5-29-18 ” as pdf pages 1 – 2.

                                                30

                                                                                           Exhibit A, Pg. 33
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other firearms, which are capable of “slamfiring” 34 which would constitute “firing without

additional physical manipulations of the trigger by the shooter.” It would also seemingly overrule

– without any notice and opportunity to comment – ATF Ruling 2004-5 35 and Revenue Ruling

55-528, 1955-2 C.B. 482, in relation to Gatling guns and result in reclassification of their status –

i.e. turning the millions of owners into felons overnight and without just compensation being

provided. Given that the price, per Gatling gun, can be as high as $124,000.00, if not more, the

reclassification of Gatling guns would result in a substantial upward calculation of the cost

estimate in this matter.




34
   See Colton Bailey, Slam Fire Shotgun? This One Shoots Multiple Rounds Without Releasing
The Trigger, Wide Open Spaces, (Feb. 13, 2017), available at
http://www.wideopenspaces.com/slam-fire-shotgun-shoots-multiple-rounds-without-releasing-
the-trigger.
35
   Available at https://www.atf.gov/file/83561/download.

                                                 31

                                                                                             Exhibit A, Pg. 34
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Even more disconcerting, as discussed infra in Section V., given ATF’s argle-bargle and

interpretive jiggery-pokery, the NPR can be construed as applying also to triggers and fingers, 36

which again, would result in a skyrocketing upward calculation of the cost estimate in this

matter.

          Regardless of the estimate considered, ATF has failed to address any appropriations

available to it or, more generally, the Department of Justice to fund these takings and any such

fund, if limited solely to bump-stock-devices, must have a high estimate of $221,494,000.00

($425.95 x 520,000) available to ensure that all individuals are justly compensated. If, on the

other hand, the proposal will apply to shotguns and other firearms capable of “slamfiring”, as

well as Gatling guns, triggers and fingers, 37 there must be an allocation of no less than

$50,000,000,000,000.00.

          Thus, before ATF can proceed in this matter, it must provide logistical information as a

part of its cost-impact statement detailing how it plans to pay compensation including, but not

limited to, the compensation rate, timeline for completing payment, source of the funding, and

sequestration of an appropriate amount in an account restricted to paying just compensation in

this matter. Thereafter, it must provide interested parties with a meaningful opportunity to

respond, which, per 18 U.S.C. § 926(b), cannot be shorter than ninety days.




36
   The average value under state and federal workers compensation acts across the U.S. for the
loss of an index finger is $24,474.00, with the federal value being $86,788.00. Accordingly, as a
federal rate is set, at a minimum, ATF would be required to utilize this value. See Exhibit 31,
also available at - https://projects.propublica.org/graphics/workers-compensation-benefits-by-
limb.
37
   With there being between 270,000,000 and 310,000,000 gun owners in the U.S. (see
http://www.pewresearch.org/fact-tank/2013/06/04/a-minority-of-americans-own-guns-but-just-
how-many-is-unclear), the takings alone in relation to fingers, utilizing the low 270 million gun
owner estimate, would be $23,432,760,000,000.00 or 270,000,000 x $86,788.00.

                                                  32

                                                                                             Exhibit A, Pg. 35
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       C.      The Ex Post Facto Clause

       Pursuant to Article 1, Section 9, Clause 3 of the U.S Constitution, “No Bill of Attainder

or ex post facto Law shall be passed.” The U.S. Supreme Court in Calder v. Bull, 3 U.S. 386

(1798) held that an ex post facto law includes, inter alia, “[e]very law that makes an action done

before the passing of the law, and which was innocent when done, criminal; and punishes such

action.” The Court later recognized that the provision reached far enough to prohibit any law

which, “in relation to the offence or its consequences, alters the situation of a party to his

disadvantage.” Collins v. Youngblood, 497 U.S. 37, 47 (1990).




               1.      ATF’s Proposal Acknowledges that Bump-stocks are not Covered by the
                       Definition of a Machinegun and Retroactively Criminalizes Lawful
                       Conduct

       On at least two occasions in the proposed rulemaking, ATF acknowledges that the current

definition of a machinegun does not cover bump-stock-type devices 38 that it now seeks to

regulate. 83 Fed. Reg. 13444, 13448. ATF then explicitly declares that if the final rule is

consistent with the proposal, there will be no mechanism for current holders of bump-stock-type

devices – or any other firearm or device covered by the NPR – to register them and will therefore

be compelled to dispose of them. 83 Fed. Reg. 13448. There is no dispute, and ATF readily

admits, that its proposed rule would change the definition of a machinegun; thereby, affecting

numerous sections of federal law and immediately turning, at a minimum, half a million law-

abiding citizens into criminals overnight. ATF’s proposal neither includes a grandfather

provision nor a safe harbor, even for a limited period of time. More disconcerting – as if such


38
  It likewise does not cover rubber bands, belt loops, slamfire shotguns and firearms, Gatling
guns, triggers, or fingers.

                                                  33

                                                                                                 Exhibit A, Pg. 36
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were fathomable in anything but an Orwellian nightmare – is the fact that those possessing

bump-stock-devices will have no knowledge of whether any final rule will be implemented, the

text of that rule, and the date, as the final rule would become effective immediately upon the

signature of Attorney General Sessions, without prior publication to the public. But that’s no big

deal, right? It’s only 10 years in jail and $250,000.00, per violation. Thank God that Article 1,

Section 9, Clause 3 precludes such. 39

            Just as there can be no dispute that the current definition of machinegun does not cover

bump-stock-devices, rubber bands, belt loops, “slamfire” shotguns and firearms, Gatling guns,

triggers, and fingers, as evidenced by the proposed rule seeking to modify the regulatory

definition of machinegun, there can be no dispute that the proposed rule violates the ex post facto

Clause, even though it is a regulatory action because the “sanction or disability it imposes is ‘so

punitive in fact’ that the law ‘may not legitimately be viewed as civil in nature.” United States v.

O'Neal, 180 F.3d 115, 122 (4th Cir. 1999) (quoting U.S. v. Ursery, 518 U.S. 267, 288 (1996)).




     III.      ATF’S PROPOSAL EXCEEDS ITS STATUTORY AUTHORITY

            From the outset, it is clear that the NFA was designed to provide a basis for prosecution

of “gangsters” with untaxed, unregistered firearms and not as a regulation of law-abiding citizens

who complied with the law. ATF has turned the statutory scheme on its head, imposing ever

more draconian burdens on law-abiding citizens who seek to make and acquire NFA firearms


39
   FPC make this statement pursuant to their First Amendment rights under the U.S. Constitution
to the extent that ATF has not seemingly sought to abrogate that inalienable right in the NPR,
although ATF has declared its intent, in violation of the First Amendment, not to consider
comments containing what it deems to be “inappropriate language” for which FPC will
vigorously challenge in court.

                                                    34

                                                                                               Exhibit A, Pg. 37
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while diverting resources to do so from investigating and prosecuting criminals who use illegal

means to obtain NFA firearms.

       ATF describes the NFA in terms that go beyond the statutory text. According to ATF's

Website, the NFA’s “underlying purpose was to curtail, if not prohibit, transactions in NFA

firearms.” http://www.atf.gov/content/firearms/firearms-industry/national-firearms-act (emphasis

added). It describes the $200 tax imposed by the NFA as having been designed “to discourage or

eliminate transactions in these firearms.” Id. (emphasis added). But Congress has never

“prohibited” NFA firearms or “eliminated” the ability to transfer them provided the tax is paid

and registration procedures are followed.




       A.      Congress Prohibited “Undue or Unnecessary” Restrictions

       Congress has, in fact, legislated to limit the authority of ATF to impose more burdens on

law-abiding citizens. Congress was aware of ATF's over-zealous interpretation of the NFA when

it enacted the Firearms Owners' Protection Act ("FOPA"), Pub. L. 99-308, 110 Stat. 449 (1986).

It would be an understatement to say that Congress thought ATF had reached the maximum

boundary of its rulemaking and enforcement authority. Well aware of ATF’s history, as

discussed supra in Section I., D., made clear in FOPA that ATF’s regulation and enforcement

activities of legal owners of firearms – like those who seek to register firearms under the NFA –

had already gone too far. Congress found that not only were statutory changes needed to protect

lawful owners of firearms, but that “enforcement policies” needed to be changed as well. FOPA

§ 1(b). In doing so, Congress reaffirmed that “it is not the purpose of this title to place any undue

or unnecessary Federal restrictions or burdens on law-abiding citizens with respect to the

acquisition, possession, or use of firearms,” id. (emphasis added), signaling in the strongest


                                                 35

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possible language that ATF should not impose yet additional burdens on law-abiding citizens,

especially in light of the existing criminal laws prohibiting, inter alia, murder, manslaughter,

aggravated assault, etc. Yet, that is precisely what ATF’s proposed rule would do.




       B.      Independent of FOPA, ATF Lacks Statutory Authority As the Congress Defined
               What Constitutes a Machinegun

       Even without consideration of FOPA, there are ample reasons to doubt that Congress

authorized ATF to formulate the proposed regulation, as Congress, itself, defined what

constitutes a machinegun when enacting the NFA in 1934 and the GCA in 1968 and numerous

members of Congress have stated that ATF lacks the authority to redefine what constitutes a

machinegun. As an administrative agency cannot override a congressional enactment, ATF lacks

authority and jurisdiction to amend or otherwise modify the definition of a machinegun as

enacted by the Congress.

       In the original NFA as enacted in 1934, and reaffirmed in enacting the GCA in 1968, the

Congress expressly defined what constitutes a machinegun. 18 U.S.C. § 921(a)(23) states “[t]he

term ‘machinegun’ has the meaning given such term in section 5845(b) of the National Firearms

Act (26 U.S.C. 5845(b)).” 26 U.S.C. § 5845(b) declares:

               The term “machinegun” means any weapon which shoots, is designed to shoot, or
               can be readily restored to shoot, automatically more than one shot, without
               manual reloading, by a single function of the trigger. The term shall also include
               the frame or receiver of any such weapon, any part designed and intended solely
               and exclusively, or combination of parts designed and intended, for use in
               converting a weapon into a machinegun, and any combination of parts from
               which a machinegun can be assembled if such parts are in the possession or under
               the control of a person.

(Emphasis added).




                                                 36

                                                                                            Exhibit A, Pg. 39
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       ATF proposes to expand the definition of what a “machinegun” means by adding the

following two sentences to the end of the current definition found in 27 C.F.R. §§ 478.11 and

479.11. 40

               For purposes of this definition, the term “automatically” as it modifies “shoots, is
               designed to shoot, or can be readily restored to shoot,” means functioning as the
               result of a self-acting or self-regulating mechanism that allows the firing of
               multiple rounds through a single function of the trigger; and “single function of
               the trigger” means a single pull of the trigger. The term “machine gun” includes
               bump-stock-type devices, i.e., devices that allow a semiautomatic firearm to shoot
               more than one shot with a single pull of the trigger by harnessing the recoil
               energy of the semiautomatic firearm to which it is affixed so that the trigger resets
               and continues firing without additional physical manipulation of the trigger by the
               shooter.

83 Fed. Reg. 13457.

       And, lest there be no dispute, even Senator Diane Feinstein declared that “ATF lacks

authority under the law to ban bump-fire stocks. Period.” See Exhibit 9. And ATF previously

admitted to Congress that it “does not have authority to restrict [bump-stock devices’] lawful

possession, use or transfer.” See Exhibit 10, p. 5. More importantly, as confirmed by J. Thomas

Manger, President of the Major Cities Chiefs Association and Chief of Police of Montgomery

County, in his testimony before the Senate Judiciary Committee, ATF Acting Director Thomas

Brandon admitted that “ATF does not now have the authority under Federal law to bar [bump-

stock-devices] and new legislation is required to do so.” See Exhibit 30, p. 3 (emphasis added).

       And the courts have agreed that such an alteration is beyond the power of ATF. “As a

rule, [a] definition which declares what a term ‘means’ ... excludes any meaning that is not

stated.” Colautti v. Franklin, 439 U.S. 379, 392–393, n. 10, 99 S.Ct. 675, 58 L.Ed.2d 596 (1979).

Congress clearly defined the meaning of the term “machinegun” as evidenced by its use of the


40
  The definition of “machinegun” contained in 27 C.F.R. §§ 478.11 and 479.11 mirrors the
definition Congress gave the term in 26 U.S.C. § 5845(b).

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                                                                                            Exhibit A, Pg. 40
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phrase “[t]he term ‘machinegun’ means.” 41 Even if ATF could define the terms “automatically”

and “single function of the trigger”, which is disputed, ATF lacks the authority to unilaterally

declare an item to be a machine gun when it falls outside the statutory parameters, particularly by

incorporating it into the definition itself. 42

        “If the intent of Congress is clear, that is the end of the matter; for the court, as well as

the agency, must give effect to the unambiguously expressed intent of Congress.” Chevron,

U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 842-843 (1984).

“Congress knows to speak in plain terms when it wishes to circumscribe, and in capacious terms

when it wishes to enlarge, agency discretion.” City of Arlington, Tex. V. F.C.C., 569 U.S. 290,

296 (2013).

        Here, there can be no question that the intent of Congress was clear. Congress sought to

regulate firearms that: 1) shoot, 2) were designed to shoot, or 3) can be readily restored to shoot,

4) automatically more than one shot, without manual reloading, 5) by a single function of the

trigger. This can be gleaned from an analysis of the debate surrounding the passage of the

legislation. “Mr. Frederick.[] The distinguishing feature of a machine gun is that by a single pull

of the trigger the gun continues to fire as long as there is any ammunition in the belt or in the

magazine. Other guns require a separate pull of the trigger for every shot fired, and such guns

are not properly designated as machineguns. A gun…which is capable of firing more than one

shot by single pull of the trigger, a single function of the trigger, is properly regarded, in my


41
   Even Dictionary.com defines the term “Machine Gun” to mean “a small arm operated by a
mechanism, able to deliver rapid and continuous fire as long as the trigger is pressed.” Available
at: http://www.dictionary.com/browse/machine-gun. ATF taking such a nuanced approach to
parsing specific terms to shoehorn a particular group of accessories into the definition flies in the
face of the statutory text’s plain meaning.
42
   See 18 U.S.C. 926(a) “The Attorney General may prescribe only such rules and regulations as
are necessary to carry out provisions of this chapter…” (Emphasis added).

                                                   38

                                                                                                Exhibit A, Pg. 41
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opinion, as a machine gun.” Exhibit 29, National Firearms Act: Hearings Before the Committee

on Ways and Means, H.R. Rep. No. 9066, 73rd Cong. 2nd Sess. at 40 (1934) (emphasis added).

       For the purposes of this analysis, a machinegun can be distilled down to: a firearm which

shoots automatically more than one shot, without manual reloading, by a single function of the

trigger. Congress also sought to regulate the frames or receivers of such weapons, along with any

parts that could be used to make or convert a firearm into a machinegun. Such an interpretation is

in line with prior court and agency decisions. See Staples v. United States, 511 U.S. 600 (1994)

(“The National Firearms Act criminalizes possession of an unregistered ‘firearm,’ 26 U.S.C. §

5861(d), including a ‘machinegun,’ § 5845(a)(6), which is defined as a weapon that

automatically fires more than one shot with a single pull of the trigger, § 5845(b).”); see also Id.

at n1 (“As used here, the terms ‘automatic’ and ‘fully automatic’ refer to a weapon that fires

repeatedly with a single pull of the trigger. That is, once its trigger is depressed, the weapon will

automatically continue to fire until its trigger is released or the ammunition is exhausted. Such

weapons are ‘machineguns’ within the meaning of the Act.”). 43

       Moreover, the Government has previously argued to a Federal Court that a bump-stock-

device was not a machinegun. “While the shooter receives an assist from the natural recoil of the

weapon to accelerate subsequent discharge, the rapid fire sequence in bump firing is contingent




43
  See also ATF Rul. 2004-5 quoting George C. Nonte, Jr., Firearms Encyclopedia 13 (Harper &
Rowe 1973) (the term “automatic” is defined to include “any firearm in which a single pull and
continuous pressure upon the trigger (or other firing device) will produce rapid discharge of
successive shots so long as ammunition remains in the magazine or feed device – in other words,
a machine gun”); Webster’s II New Riverside-University Dictionary (1988) (defining
automatically as "acting or operating in a manner essentially independent of external influence or
control"); John Quick, Ph.D., Dictionary of Weapons and Military Terms 40 (McGraw-Hill
1973) (defining automatic fire as "continuous fire from an automatic gun, lasting until pressure
on the trigger is released").

                                                 39

                                                                                              Exhibit A, Pg. 42
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on shooter input in pushing the weapon forward, rather than mechanical input, and is thus not an

automatic function of the weapon.” See Exhibit 25, page 22.

       The statutory language is explicitly clear as to what constitutes a machinegun and is

inclusive of parts that can be used to assemble a functioning firearm. ATF acknowledges that

bump-stock-devices are not currently able to be regulated as machineguns because it seeks to

amend the definition to specifically include them and other firearms and devices covered by the

NPR, discussed supra and infra. Notably absent from the statutory text is language, specifically

or implicitly, naming parts that can be used in conjunction with a firearm, which is not a

machinegun, to simulate automatic fire.




       C.      ATF is Statutorily Prohibited From Retroactively Applying the NPR


       ATF has acknowledged that it is precluded from taking any action with regard to the

reclassification of bump-stock-devices manufactured prior to at least March 29, 2018. As noted

in ATF Rul. 82-8, the reclassification of SM10 and SM11A1 pistols and SAC carbines as

machineguns, under the National Firearms Act, was not applicable to those firearms

manufactured before or assembled before June 21, 1982 pursuant to 26 U.S.C. § 7805(b). 26

U.S.C. § 7805(b) states:

               Retroactivity of regulations.--
               (1) In general.--Except as otherwise provided in this subsection, no temporary,
               proposed, or final regulation relating to the internal revenue laws shall apply to
               any taxable period ending before the earliest of the following dates:
               (A) The date on which such regulation is filed with the Federal Register.
               (B) In the case of any final regulation, the date on which any proposed or
               temporary regulation to which such final regulation relates was filed with the
               Federal Register.
               (C) The date on which any notice substantially describing the expected contents
               of any temporary, proposed, or final regulation is issued to the public.


                                                40

                                                                                             Exhibit A, Pg. 43
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            More recently, in enacting ATF-41F (81 Fed. Reg. 2658 through 2723), ATF seemingly

invoked Section 7805(b) in declining to retroactively apply the final rule and instead permitting a

six month delay in implementation of the final rule and acknowledging that all applications

submitted prior to the effective date would be adjudged by the law as it existed prior to the final

rule, regardless of whether the application was approved before the effective date of the final

rule.

            Thus, any final regulation that is promulgated has no effect on bump-stock-devices and

other firearms and devices covered by the NPR, which were manufactured, at a minimum, prior

to the date of publication of this NPR in the Federal Register.




      IV.      ATF’S PROPOSAL IS ARBITRARY AND CAPRICIOUS


            Contrary to the contention in the proposed rulemaking, bump-firing is neither the result

of any particular firearm accessory, device or part nor the modification thereof. Rather, it is a

technique that can be utilized with the intrinsic capabilities of most factory semi-automatic

firearms, including the rifles, such as the AR-15, and pistols, such as the 1911. As reflected infra

and admitted by ATF (83 Fed. Reg. 13454), bump-firing can be done with a belt loop, a rubber

band, or just one’s finger. More importantly, no device – whether bump stock, belt loop, rubber

band or finger – changes the intrinsic capability of the firearm to be bump-fired. This is made

explicitly evident by Jerry Miculek, who can not only shoot faster than an individual employing

bump-fire but can shoot far more accurately. 44



44
     See Exhibits 3 and 4.

                                                    41

                                                                                              Exhibit A, Pg. 44
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       Thus, the proposed rule in this matter is so completely arbitrary and capricious that it will

not withstand scrutiny. See, Motor Vehicle Manufacturers Association v. State Farm Auto

Mutual Insurance Co., 463 U.S. 29, 42-44 (1983).




       A.      ATF’s Interpretative Jiggery-Pokery is Pure Applesauce

       As reflected in the expert report of former ATF Acting Chief of the Firearms Technology

Branch Rick Vasquez, bump-stock-devices do not constitute a machinegun, as they are not

designed to shoot more than one shot by a single function of the trigger. See Exhibit 32.

Specifically, he declares that a “Slide Fire [stock] does not fire automatically with a single

pull/function of the trigger” and as a result, “ATF could not classify the slide fire as a

machinegun or a machinegun conversion device, as it did not fit the definition of a machinegun

as stated in the GCA and NFA.” Id. More importantly, although ATF has failed to disclose it in

the NPR or docket, the Slide Fire determination “was sent to Chief Counsel and higher authority

for review. After much study on how the device operates, the opinion, based on definitions in the

GCA and NFA, was that the Slide Fire was not a machinegun nor a firearm, and, therefore, did

not require any regulatory control.” Id.

       Thus, regardless of the interpretative jiggery-pokery employed by ATF in the NPR, at the

end of the day, it is pure applesauce.




       B.      Belt Loops, Rubber Bands and Fingers, OH MY!

       Reflecting the absolutely arbitrary and capricious nature of this rulemaking, ATF admits

– albeit at the end of the proposal in the “Alternatives” section – that an individual does not

require a bump-stock-device in order to bump-fire a factory semi-automatic firearm. 83 Fed.

                                                  42

                                                                                             Exhibit A, Pg. 45
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Reg. 13454. In fact, ATF readily acknowledges that bump-firing can be lawfully achieved

through the “use [of] rubber bands, belt loops, or [to] otherwise train their trigger finger to fire

more rapidly,” in a clear statement of its intent to unequally apply the law. Id.

       Numerous videos and articles are available reflecting individuals bump-firing with

everything from their finger to belt loops and rubber bands. For example, P.M.M.G. TV posted a

video in 2006 of a rubber band being utilized to bump fire a factory semi-automatic firearm. See

Exhibit 11. 45 In 2011, StiThis1, posted a video of him utilizing his belt loop to bump-fire his

AK-47. See Exhibit 12. 46

       More importantly, reflecting that no device is necessary to bump-fire a factory semi-

automatic firearm, ThatGunGuy45 posted a video of him bump-firing an AK-47 style rifle with

his finger. See Exhibit 13. 47 Similarly, M45 posted a video of him bump-firing both an AK-47

and AR-15 solely with his finger. See Exhibit 14. 48 In no better example, former former ATF

Acting Chief of the Firearms Technology Branch Rick Vasquez, who previously reviewed

bump-stock-devices – specifically the Slide Fire bump-stock – while with ATF, after declaring

that a bump-stock-device is not statutorily or regulatorily a machinegun, 49 demonstrates the


45
   A copy of the video is also available online – Shooting Videos, Rapid manual trigger
manipulation (Rubber Band Assisted), YouTube (Dec. 14, 2006),
https://www.youtube.com/watch?v=PVfwFP_RwTQ&t.
46
   A copy of the video is also available online – StiThis1, AK-47 75 round drum Bumpfire!!!,
YouTube (Sept. 5, 2011), https://www.youtube.com/watch?v=-03y3R9o6hA.
47
   A copy of the video is also available online – ThatGunGuy45, ‘Bump Fire’ without a bump-
fire stock, courtesy of ThatGunGuy45, YouTube (Oct. 13, 2017),
https://www.youtube.com/watch?v=-9fD_BX-afo&t.
48
   A copy of the video is also available online – M45, How to bumpfire without bumpfire stock,
YouTube (Oct. 8, 2017), https://www.youtube.com/watch?v=7RdAhTxyP64&t. See also,
wrbuford13, How To: Bump fire a semi-automatic rifle from the waist, YouTube (May 25,
2011), https://www.youtube.com/watch?v=wZCO-06qRgY.
49
   During his interview, he declares “[i]f Congress wants to change the law and come up with a
new interpretation, then ATF will follow that new interpretation. But until they do that, they have
to go by the [law] they have today.”

                                                  43

                                                                                               Exhibit A, Pg. 46
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ability of a factory semi-automatic AR-15 and AK-47 to bump-fire solely with his finger. See

Exhibit 17. 50 Expert Vasquez then goes on to declare, in response to a question of what if

Congress bans bump-fire devices, “[w]hat are they going to ban? If they come out today and say

the Slide Fire Stock or the binary trigger by name is made illegal, they’re going to have to make

illegal the operating principle.” Id.

        Beyond showing that the proposed rulemaking in this matter is completely arbitrary and

capricious, as no device is even necessary to bump-fire a factory semi-automatic firearm, these

videos and others that are available on YouTube and other social media platforms, reflect that

law-abiding citizens have been bump-firing long before Al Gore invented the internet; 51 and yet,

ATF cannot produce a single shred of evidence of a bump-stock-device ever having been utilized

in a crime.




        C.      The Jerry Miculek Example – He’s One Bad Mother… Shut Your Mouth (And:
                Oh No! They Banned Jerry!)

        As mentioned supra, Jerry Miculek not only can shoot faster than an individual

employing a bump-stock-device but can shoot far more accurately. See Exhibit 3 and 4. 52 Even

more evident of the completely arbitrary and capricious nature of this proceeding is the video

compendium of Mr. Miculek’s abilities and achievements, which depicts that “he did it. He did 8


50
   A copy of the video is also available online – Vice News, Meet One Of The Analysts Who
Determined That Bump Stocks Were Legal, YouTube (Oct. 11, 2017),
https://www.youtube.com/watch?v=kryIJIrD5eQ&t.
51
   It has to be true – he said it on live TV… https://www.youtube.com/watch?v=BnFJ8cHAlco.
52
   Copies of the videos are also available online – Iraqveteran8888, Worlds Fastest Shooter vs
Bump Fire! – Guns Reviews, YouTube (Oct. 13, 2014),
https://www.youtube.com/watch?v=JTb6hsSkV1w and Miculek.com, AR-15 5 shots in 1 second
with fastest shooter ever, Jerry Miculek (Shoot Fast!), YouTube (June 20, 2013)
https://www.youtube.com/watch?v=v3gf_5MR4tE&t.

                                                44

                                                                                          Exhibit A, Pg. 47
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rounds in one second, on one target. He did 8 rounds on four targets in 1.06 [seconds]. Six shots

and reload and six shots in 2.99 seconds.” See Exhibit 18. 53 Thus, as individuals can achieve,

with greater accuracy, faster cyclic rates than those utilizing bump-stock-devices, the underlying

premise of this proceeding is completely arbitrary and capricious.

       More disconcerting is that to the extent ATF contends in the NPR that it is carrying out

some unverified and unsupported contention of Congress to ban anything mimicking the rate of

fire of a machinegun 54 (83 Fed. Reg. 13447) – a rate of which varies greatly 55 and neither has a

commonly accepted average rate nor a proposed rate by ATF – Mr. Miculek would seemingly be

banned by any final promulgated rule, in violation of his Constitutional Rights and reflecting the

sheer absurdity of this NPR.




       D.      Whoops, We Did it Again! ATF Misleads the Public Regarding the Use of
               Bumpstock Devices in the Las Vegas Shooting

       As discussed supra in Section I., B., while implying that a bump-stock-device was

utilized in the Las Vegas shooting, ATF has failed to provide evidence of a single instance where

a bump-stock-device was utilized in the commission of a crime and neither ATF nor FBI have

confirmed the use of a bump-stock-device in any crime. Instead, ATF relies solely on prior


53
   A copy of the video is also available online – Fastest Shooter OF ALL TIME! Jerry Miculek |
Incredible Shooting Montage, DailyMotion (2014),
https://www.dailymotion.com/video/x2y1eb8.
54
   In fact, ATF’s assertion is contradicted by the testimony in enacting the NFA – previously
cited to by ATF in federal court proceedings – which reflects the Congress’ intent that guns
which “require a separate pull of the trigger for every shot fired, … are not property designated
as machineguns.” Exhibit 29, p. 40.
55
   For example, the Metal Storm gun has a cyclic rate of fire of 1,000,000 rounds (that isn’t a
typo), per minute (see, http://www.businessinsider.com/worlds-fastest-gun-2016-2), a minigun
has a rate of fire of 6,000 rounds, per minute (id.), and some have as slow of a cyclic rate as 200
rounds, per minute (see, https://encyclopedia2.thefreedictionary.com/Cyclic+rate).

                                                45

                                                                                            Exhibit A, Pg. 48
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“public comments,” which are merely conjecture, to suggest that a bump-stock-device was

utilized in Las Vegas (83 Fed. Reg. 13454), 56 while thereafter declaring that bump-stock devices

“could be used for criminal purposes.” (83 Fed. Reg. 13455)(emphasis added). The use of the

word “could” reflects that such use is merely speculative and limited to a possible future, not

past, occurrence. More importantly, as ATF is involved in the investigation into the Las Vegas

shooting, it is in the unique position to have evidence reflecting the use of bump-stock-devices in

the shooting, if such devices were utilized; yet, it has not only failed to submit any evidence even

suggesting the use of bump-stock-devices in the Las Vegas shooting but has failed to even

contend, based on its own knowledge, that such devices were utilized. Additionally, the Las

Vegas Metropolitan Police Department Preliminary Investigative Report likewise provides no

indication that any bump-stock-devices were utilized in the shooting. See, Exhibit 2. 57

       Thus, ATF acknowledges that but for public conjecture, it has no evidence or knowledge

that a bump stock device has been utilized in a crime and only hypothesizes that a bump-stock

device “could be used for criminal purposes.” Moreover, as discussed supra in Section I., D.,

based on ATF’s lack of candor before the courts, Congress, and the public, any contention by

ATF that such devices were utilized in the Las Vegas shooting must be dismissed, in the absence

of independently-verifiable evidence in support.

       Further, ATF’s argument as to why they need to be regulated is misleading.



56
   Given ATF’s prior use of proxies in rulemaking proceedings to support its contentions, these
alleged “public comments” cannot be taken at face value, especially in the absence of any
evidentiary support. See Firearms Industry Consulting Group’s comment in response to ATF-
41P, RIN: 1140-AA43, available at https://www.regulations.gov/document?D=ATF-2013-0001-
8364, wherein it documents in Section G the ATF’s use of proxies in rulemaking proceedings to
support its own contentions.
57
   A copy of the report is also available online at – https://www.lvmpd.com/en-
us/Documents/1_October_FIT_Report_01-18-2018_Footnoted.pdf.

                                                46

                                                                                            Exhibit A, Pg. 49
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               Commenters also argued that banning bump-stock-type devices will not
               significantly impact public safety. Again, the Department disagrees. The shooting
               in Las Vegas on October 1, 2017, highlighted the destructive capacity of firearms
               equipped with bump-stock-type devices and the carnage they can inflict. The
               shooting also made many individuals aware that these devices exist—potentially
               including persons with criminal or terrorist intentions—and made their potential
               to threaten public safety obvious. The proposed regulation aims to ameliorate that
               threat.

83 Fed. Reg. 13447. (Emphasis added).

       This position is no more valid than asserting that drill presses and the internet need to be

regulated because individuals with criminal or terrorist intentions can readily access a drill press

to manufacture a machine gun after viewing a video on the internet, or even fabricate a firearm

from a chunk of raw aluminum. (Nevermind the fact that a person can purchase ammonium

nitrate and nitromethane, or pressure cookers, to build a bomb.) In the land of hypotheticals,

anything and everything could be perceived to be and categorized as a potential threat to public

safety. But a hypothetical should not and cannot be the premise of a proposed regulation.




       E.      We Lied To You Once (Shame On Us). We Lied To You More Times Than We
               Can Count (Shame On You For Having Your Eyes Wide Shut). The Continuing
               Lies Espoused By ATF Regarding The Functionality Of Bump-Stock-Devices

       In the Summary for the NPR, ATF claims that bump-stock-devices

       allow a shooter of a semiautomatic firearm to initiate a continuous firing cycle with a
       single pull of the trigger. Specifically, these devices convert an otherwise semiautomatic
       firearm into a machinegun by functioning as a self-acting or self-regulating mechanism
       that harnesses the recoil energy of the semiautomatic firearm in a manner that allows the
       trigger to reset and continue firing without additional physical manipulation of the
       trigger by the shooter. Hence, a semiautomatic firearm to which a bump-stock-type
       device is attached is able to produce automatic fire with a single pull of the trigger.

83 Fed. Reg. 13442 (emphasis added).

       Even setting aside former Acting Chief of the Firearms Technology Branch Richard

Vasquez’s expert report disputing ATF’s current contention (discussed supra in Section IV., A.,

                                                 47

                                                                                             Exhibit A, Pg. 50
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and Exhibit 28) and before addressing the video evidence of the outright falsity of these

assertions, let us first review the known determinations issued by ATF and the sworn testimony

and pleadings submitted by ATF to the courts regarding bump-stock-devices.

       On June 07, 2010, ATF issued a determination letter to Slide Fire, holding that

       The stock has no automatically functioning mechanical parts or springs and performs no
       automatic mechanical function when installed. In order to use the installed device, the
       shooter must apply constant forward pressure with the non-shooting hand and constant
       rearward pressure with the shooting hand. Accordingly, we find that the “bump-stock” is
       a firearm part and is not regulated as a firearm under the Gun Control Act or the National
       Firearms Act.

See Exhibit 10 (emphasis added.)

       Thus, ATF has already admitted that the Slide Fire stock does not operate automatically

and is neither self-acting nor self-regulating. But what about Bump Fire Systems’ bump-stock-

device? Glad you asked.

       On April 2, 2012, ATF issued a determination letter to Bump Fire Systems, declaring that

       The FTB live-fire testing of the submitted devices indicates that if, as a shot is fired, an
       intermediate amount of pressure is applied to the fore-end with the support hand, the
       shoulder stock device will recoil sufficiently rearward to allow the trigger to mechanically
       reset. Continued intermediate pressure applied to the fore-end will then push the receiver
       assembly forward until the trigger re-contacts the shooter’s stationary firing hand finger,
       allowing a subsequent shot to be fired. In this manner, the shooter pulls the firearm forward
       to fire each shot, the firing of each shot being accomplished by a single trigger function.
       …
       Since your device is incapable of initiating an automatic firing cycle that continues until
       either the finger is released or the ammunition supply is exhausted, FTB find that it is not a
       machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18
       U.S.C. 921(a)(23).

See Exhibit 10 (emphasis in original, emphasis added.)

       Once again, now in relation to Bump Fire Systems’ bump-stock device, ATF found that

bump-stock-devices are incapable of automatic firing and require a mechanical reset of the




                                                48

                                                                                             Exhibit A, Pg. 51
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trigger – no different than any other semi-automatic firearm – and thus, are not capable of a

continuous firing cycle with a single pull of the trigger.

       But, in sworn testimony and pleadings submitted to the courts, ATF contended bump-

stock-devices were machineguns, right? Nope.

       As reflected on page 20 of the U.S. Government’s Brief in Support of Cross Motion for

Summary Judgment and in Opposition to Plaintiff’s Motion for Summary Judgment in Freedom

Ordinance Mfg. Inc., v. Thomas E. Brandon:

       An ATF expert testified that a true trigger activating devices [i.e. bump-stock-devices],
       although giving the impression of functioning as a machine gun, are not classified as
       machine guns because the shooter still has to separately pull the trigger each time he/she
       fires the gun by manually operating a lever, crank, or the like.

See Exhibit 25 (emphasis added).

       Hence, ATF in sworn testimony and pleadings submitted to the United States District

Court, Southern District of Indiana, admitted that the function of bump-stock-devices requires

the shooter to separately pull the trigger each time he/she fires the gun, which is two-levels

removed from being a machinegun. 58

       So, the question becomes, was ATF lying then, or is it lying now? There can be no

dispute, it’s lying now.




58
   The use of the terminology two-levels removed from being a machinegun is in relation to the
explicit definition of machinegun that was enacted by the Congress in 26 U.S.C. § 5845(b),
which for a firearm to constitute a machinegun, requires it to shoot “automatically more than one
shot … by a single function of the trigger.” As acknowledged by ATF, since the trigger is pulled
(i.e. a single function of the trigger) and then released (i.e. a second and separate single function
of the trigger), before the subsequent round can be fired, a bump-stock-device is two-levels
removed from being a machinegun, as it still would not constitute a machinegun, even if a
subsequent round was discharged on the release of the trigger. ATF has determined that this is a
proper analysis of Section 5845(b) in approving binary triggers, which permit the discharge of a
round on both the pull and release of the trigger.

                                                 49

                                                                                             Exhibit A, Pg. 52
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       In response to this NPR, a video was recorded depicting the actual function of a bump-

stock-device. See Exhibit 28. 59 See also Exhibit 33 Declaration of Jonathan Patton. As reflected

in the video, a magazine full of ammunition is placed into an AR-15 type firearm that has a Slide

Fire bump-stock-device 60 installed onto it. The shooter then proceeds to fire the bump-stock

equipped firearm with the stock in the locked position. 61 As depicted, the bump-stock-device

neither self-acts nor self-regulates and the shooter proceeds to fire several rounds, without the

bump-stock automatically firing more than one round, per function of the trigger. 62 63 The video

clearly depicts the trigger being pulled, the gun firing a round, the bolt carrier group cycling and

the trigger being released and reset. In fact, for a subsequent round to be fired, two single and

separate functions of the trigger are necessary – the release of the trigger and the subsequent pull

of the trigger, which is no different than any other factory semi-automatic firearm. The shooter

then proceeds to unlock the stock so that it can move freely on the buffer tube and fire the gun

one handed. Once again, the video clearly depicts the trigger being pulled, the gun firing a round,

the bolt carrier group cycling and the trigger being released and reset. At not point does the gun

fire more than one round per function of the trigger.

        Additionally, the close-ups reveal, contrary to ATF’s contention (83 Fed. Reg. 13447),

that “additional physical manipulation of the trigger by the shooter” is necessary for subsequent


59
   A copy of the video is also available online – Adam Kraut, Esq. and Patton Media and
Consulting, Bump Stock Analytical Video, (June 14, 2018), available at
https://youtu.be/1OyK2RdO63U.
60
   The actual device is a Slide Fire SSAR-15 SBS.
61
   This position is the same as any other AR-15 type firearm with an adjustable stock.
62
   Thus, contrary to the NPR, bump-stock-devices do not cause a continuous firing cycle with a
single pull of the trigger.
63
   If the bump-stock-device actually turned the firearm into a machinegun, the entire magazine of
ammunition would have been expended, when the shooter maintained constant pressure on the
trigger. See Exhibit 26. A copy of the video is also available online – Molon Labe, hogan 7
m16.wmv, YouTube (Oct. 25, 2011), is https://www.youtube.com/watch?v=NwQ1aZnVLFA.

                                                 50

                                                                                             Exhibit A, Pg. 53
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rounds to be discharged. Of course, all of this is irrefutably consistent with ATF’s prior

determinations and sworn testimony and pleadings submitted to the courts.

        So what if the shooter shoots the bump-stock equipped AR-15 in the manner depicted by

the NPR – i.e. while “maintaining constant forward pressure with the non-trigger hand on the

barrelshroud or fore-grip of the rifle, and maintaining the trigger finger on the device’s extension

ledge with constant rearward pressure?” 83 Fed. Reg. 13443. Clearly, it will shoot automatically,

right? It self-acts and self-regulates, right? Nope.

        When the shooter maintains constant forward pressure with the non-trigger hand on the

barrelshroud or fore-grip of the rifle, while maintaining the trigger finger on the device’s

extension ledge with constant rearward pressure, after the first shot is discharged, the trigger

must be released, reset, and pulled completely rearward, before the subsequent round is

discharged – again no different than any factory semi-automatic firearm. Moreover, as evidenced

by the close-ups, contrary to ATF’s assertion (83 Fed. Reg. 13443, 13447), “bump-stock-type

devices [do not] allow multiple rounds to be fired when the shooter maintains pressure on the

extension ledge of the device,” as the shooter in the video specifically maintains pressure on the

extension ledge of the device the entire time; and yet, only a single round is discharged each

time.

        Surely, the video must not depict the actual function of a bump-stock-device, right?

Wrong.

        Former Acting Chief of the FTB and expert Rick Vasquez was responsible for reviewing

and making a determination on the Slide Fire stock, when it was submitted to the FTB for

evaluation and classification. See Exhibit 32. After concluding that the Slide Fire stock was

neither a firearm nor a machinegun under the NFA and GCA, the determination was “reviewed



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                                                                                               Exhibit A, Pg. 54
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by ATF Chief Counsel and higher authorities within ATF and affirmed.” Id. More recently, he

reviewed the Bump Stock Analytical video (Exhibit 28) and declared that it “fully, explicitly, and

accurately depicts the function of bump-stock-devices, including, but not limited to, the function

and operation of the firearm’s trigger, which is exactingly consistent with my evaluation and

review of the Slide Fire stock during my tenure with ATF and my Slide Fire Analysis.” Id. He

then goes on to explain that as depicted in the video:

           a. The bump-stock-device neither self-acts nor self-regulates, as the bump-stock
              never fires, in any of the three possible ways to fire a bump-fire-device, more than
              one round, per function of the trigger, even while the shooter maintained constant
              pressure on the extension ledge. In fact, as explicitly and accurately depicted in
              the slow motion portions, the bump-stock-device requires two functions of the
              trigger before a subsequent round can be discharged (i.e. after the firearm is
              discharged for the first time, the trigger must be fully released, reset, and then
              fully pulled rearward for a subsequent round to be discharged); 64

           b. Bump-stock-devices do not permit a continuous firing cycle with a single pull of
              the trigger, as the video clearly depicts that the trigger must be released, reset, and
              fully pulled rearward before the subsequent round can be fired; 65

           c. The bump-stock-device requires additional physical manipulation of the trigger
              by the shooter, as the video clearly depicts that the trigger must be released, reset,
              and fully pulled rearward before the subsequent round can be fired;

           d. Even when the shooter maintains constant forward pressure with the non-trigger
              hand on the barrel shroud or fore-grip of the rifle, and maintains the trigger finger
              on the device’s extension ledge with constant rearward pressure, after the first
              shot is discharged, the trigger must be released, reset, and pulled completely
64
   It must be noted, as made explicitly clear in the slow motion portions of the video, that the
bump-stock-device actually requires over-releasing of the trigger, as the shooter’s finger travels
past the trigger reset by approximately a half-inch, before beginning the sequence to fire a
subsequent round (e.g. video at 3:46 – 3:51; 3:52 – 3:55; 3:56 – 4:00). Thus, the video makes
extremely evident and clear that bump-stock-devices are actually slower than a trained shooter,
as a trained shooter, such as Jerry Miculek, would immediately begin the sequence to fire a
subsequent round after the trigger resets.
65
   If the device had permitted continuous firing cycle with a single pull of the trigger, the video
would depict a scenario identical to Exhibit 26 of Firearm Policy Coalition’s Comment (also
available at https://www.youtube.com/watch?v=NwQ1aZnVLFA), where it clearly and
accurately depicts the emptying of the entire magazine, while the shooter maintains constant
pressure on the trigger.

                                                 52

                                                                                             Exhibit A, Pg. 55
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               rearward, before the subsequent round is discharged. See video at 3:47 – 4:01.
               This is no different than any factory semi-automatic firearm; and,

           e. The bump-stock-device does not permit automatic fire by harnessing the recoil
              energy of the firearm. Harnessing the energy would require the addition of a
              device such as a spring or hydraulics that could automatically absorb the recoil
              and use this energy to activate itself. If it did harness the recoil energy, the bump-
              stock equipped firearm in the video would have continued to fire, while the
              shooter’s finger remained on the trigger, after pulling it rearwards without
              requiring the shooter to release and reset the trigger and then pull the trigger
              completely reward for a subsequent round to be fired.

       So where does this leave us? It leaves us with ATF’s prior determinations and sworn

testimony and pleadings submitted to the courts as being legally and factually indisputable, with

the contrary statements in the NPR being solely designed to carry out a false narrative on the

functionality of bump-stock-devices and to appease Attorney General Jeff Sessions and President

Donald Trump. 66

       Surely, ATF hasn’t sought to further mislead the public, right? Wrong.

       Once again in the NPR, ATF contends that “[s]hooters use bump-stock-type devices with

semiautomatic firearms to accelerate the firearm’s cyclic firing rate to mimic automatic fire”

(83. Fed. Reg. 13444)(emphasis added); yet, as discussed supra in Section I., B. and supported

by Expert Declaration of Vasquez and the Savage Comment, the mechanical cyclic rate of both

the semi-automatic and fully-automatic versions of a firearm are identical (and thus cannot be

accelerated), except where the manufacturer purposely slows the rate of fire for the machinegun-

version; whereby, in such instances, the semi-automatic-version can exceed the cyclic rate of the

machinegun-version.
66
   See Memorandum of February 20, 2018 to Attorney General Sessions from President Donald
Trump, “directing the Department of Justice to dedicate all available resources to complete the
review of the comments received, and, as expeditiously as possible, to propose for notice and
comment a rule banning all devices that turn legal weapons into machineguns,” available at
https://www.whitehouse.gov/presidential-actions/presidential-memorandum-application-
definition-machinegun-bump-fire-stocks-similar-devices.

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                                                                                             Exhibit A, Pg. 56
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       F.      The Akins Accelerator Difference


       There is a fundamental difference in the manner in which the Akins Accelerator works

versus a bump-fire-device. 67 The Government had previously described the function of the

Akins Accelerator in a brief filed in Federal Court.

               To operate the Akins Accelerator, the shooter pulled the trigger one time,
               initiating an automatic firing sequence, which in turn caused the rifle to recoil
               within the stock, permitting the trigger to lose contact with the finger and
               manually reset (move forward). Springs then forced the rifle forward in the stock,
               forcing the trigger against the finger, which cause the weapon to discharge the
               ammunition until the shooter released the constant pull the ammunition is
               exhausted. Put another way, the recoil and spring-powered device cause the
               firearm to cycle back and forth, impacting the trigger finger, which remained
               rearward in a constant pull, without further impact by the shooter, thereby
               creating an automatic firing effect.

See Exhibit 25. (Emphasis added).

       However, as the video (see Exhibit 28) and Expert Vasquez’s Declaration (see Exhibit

32) reflect, a single pull of the trigger on a firearm equipped with a bump-fire-device does not

cause the firearm to cycle back and forth automatically. In order to have the firearm cycle and

fire another round, mechanical input from the shooter is required. The shooter must both pull the

trigger to the rear and push forward on the fore end of the firearm. Absent any additional input in

a forward direction by the shooter, the firearm fires only a single round, even where the trigger is

continuously held to the rear. Perhaps the description is best stated by the Government’s own

brief. “While the shooter receives an assist from the natural backfire of the weapon to accelerate

subsequent discharge, the rapid fire sequence in bumpfiring is contingent on shooter input,




67
  While FPC do not agree that an Akins Accelerator constitutes a machinegun, they
acknowledge the 11th Circuit’s opinion in Akins v. U.S., 312 Fed.Appx. 197 (11th Cir. 2009) and
assume that court’s holding for the purposes of this analysis.

                                                54

                                                                                            Exhibit A, Pg. 57
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 59 of 675




rather than mechanical input, and thus it cannot shoot ‘automatically’.” See Exhibit 25.

(Emphasis added).

          As is clearly demonstrated in the video, Expert Vasquez’s Declaration and by the

Government’s own argument, bump-stock-devices are only capable of being fired in a rapid

manner 68 when the shooter him or herself adds mechanical input with a forward push on the fore

end of the firearm; however, such affirmative action by the shooter does not result in the bump-

stock-device turning the firearm into a machinegun. Otherwise, Jerry Miculek and others will be

banned by the implementation of the NPR.



     V.      ATF’S PROPOSAL IS OVERLY VAGUE AND CONTRADICTORY


          ATF’s proposed regulation is overly vague and potentially encapsulates a number of

firearms and other products 69 that are commercially available.

          Notably, ATF’s proposed definition includes

                 “..devices that allow a semiautomatic firearm to shoot more than one shot with a
                 single pull of the trigger by harnessing the recoil energy of the semiautomatic
                 firearm to which it is affixed so that the trigger resets and continues firing without
                 additional physical manipulation of the trigger by the shooter.”

83 Fed. Reg. 13457. This language could incorporate a variety of triggers that are currently on

the market, which are lawfully possessed and utilized. Utilizing the same flawed logic ATF used

to turn a bump-stock-devices into a machine gun, ATF would merely need to assert that by

68
   As discussed supra throughout Section IV. and in the Declaration of Expert Vasquez, this still
requires the trigger to be released, reset, and pulled completely rearward, before a subsequent
round is discharged; thereby, requiring two separate and distinct functions of the trigger, which
precludes any finding that the device is a machinegun or otherwise causes the firearm to which it
is attached to fire “automatically”.
69
   As discussed supra, beyond regulating bump-stock-devices, it would also seemingly include,
rubber bands, belt loops, fingers, “slamfire” shotguns and firearms, Gatling guns, triggers, and
other devices (e.g. Hellfire trigger mechanisms).

                                                   55

                                                                                               Exhibit A, Pg. 58
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placing forward pressure on the gun while holding the trigger to the rear and allowing the recoil

energy of the firearm to move the firearm enough to reset the trigger, that the trigger could

constitute a bump-stock-device, resulting in a variety of products designed for the competition

shooter to be banned overnight. Likewise, as discussed supra in Section IV., the technique of

bump firing only requires the use of one’s finger – as admitted by ATF in numerous court filings

– thereby resulting in ATF’s ability to contend that fingers, in and of themselves, are bump-

stock-devices under the NPR. Moreover, the proposal could also apply to everything from rubber

bands and belt loops to slamfire shotguns and firearms.

       Such interpretations would leave thousands of gun owners unsure as to the status of their

particular firearm, device, or even finger, creating an influx of requests for determinations 70

from ATF and making compliance with the proposed regulation the equivalent of navigating a

minefield without proper guidance. Moreover, as discussed infra in Section II, it raises a plethora

of constitutional issues in relation to the Second and Fifth Amendment and Article I, Section 9,

Clause 3 of the U.S. Constitution.

       Even if one were to set the vagueness issues aside, the NPR is contradictory as it

contends that bump-stock-devices must be outlawed, while permitting rubber bands, belt loops

and fingers, which operate in an identical manner as bump-stock-devices. Specifically, in the

NPR, ATF contends that bump-stock-devices can “mimic automatic fire when added to

semiautomatic rifles” which Congress sought to outlaw (83 Fed. Reg. 13447); yet, thereafter, in

Alternative 2 (83 Fed. Reg. 13454), declares that “individuals wishing to replicate the effects of

bump-stock-type devices could also use rubber bands, belt loops, or otherwise train their trigger


70
   Such determinations would be of questionable value given ATF’s contention in the NPR that it
can overturn its own determination on a whim or to appease politicians by utilizing interpretive
jiggery-pokery.

                                                 56

                                                                                             Exhibit A, Pg. 59
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finger to fire more rapidly.” As discussed supra in Section IV. and the video exhibits specified

therein, individuals can bump fire factory semi-automatic firearms with rubber bands, belt loops,

and their fingers and some shooters, like Jerry Miculek, can not only shoot faster than an

individual employing a bump-stock-device but can shoot far more accurately. Thus, this entire

NPR is contradictory to its stated purpose and underlying authority.



     VI.        ATF FAILED TO CONSIDER VIABLE AND PRECEDENTIAL
                ALTERNATIVES

           In the proposal, ATF offers three alternatives. See 83 Fed. Reg. 13454. While FPC fully

supports ATF moving forward under Alternative 1, 71 to the extent that ATF decides to move

forward with some form of rule – despite the major constitutional, statutory, precedential and

procedural issues presented by this rulemaking – there are viable alternatives, not previously

considered, that would mitigate some of the constitutional and other issues.


           A.     FPC Supports “Alternative 1”

           FPC fully support ATF not taking any further action in this rulemaking proceeding.

Moreover, as discussed throughout this Comment, ATF is foreclosed – constitutionally,

statutorily, precedentially and procedurally – from taking any action as described in the NPR. 72



           B.     The Amnesty Alternative

           Pursuant to Section 207(d) of 82 Stat. 1235, also known as the Gun Control Act of 1968,

71
   “Alternative 1 – No change alternative. This alternative would leave the regulations in place as
they currently stand. Since there would be no changes to regulations, there would be no cost,
savings, or benefits to this alternative.”
72
   To the extent ATF ignores the many issues raised in this and other comments, and moves
forward with a final rule, FPC will likely seek judicial relief to invalidate and enjoin the
enforcement of any final rule.

                                                  57

                                                                                             Exhibit A, Pg. 60
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(see Exhibit 19), the Attorney General 73 has the power to establish amnesty periods for up to

ninety days. In fact, an amnesty was previously held between November 2, 1968, to December 1,

1968 and ATF promulgated a regulation – 26 C.F.R. § 179.120, entitled “Registration of

Firearms” (see Exhibit 20) – which established the amnesty and procedures relating to the

registration of unregistered NFA firearms. Moreover, as discussed infra in Section VI., C., ATF

more recently provided a seven-year registration and amnesty period for Streetsweepers and

USAS-12 firearms, when it reclassified them under the NFA.

       Thus, contrary to ATF’s assertion that “there is no means by which the possessor may

register a firearm retroactively, including a firearm that has been reclassified” (83 Fed. Reg.

13348), the Attorney General can provide for an amnesty so that the 520,000-some-odd

proscribed bump-stock-devices, and all other firearms and devices covered by the NPR, can be

lawfully registered, thereby saving a minimum of $221,494,000.00 in just compensation being

paid out by ATF while imposing its regulatory scheme under the NFA, which proponents of gun

control, such as Senator Feinstein, desire. See Exhibit 21. 74 Given that the primary estimate

suggests that around 520,000 bump-stock-devices are in circulation (not inclusive of other

firearms and devices for which the NPR seemingly applies), the Attorney General should at least

provide for a seven-year amnesty/registration period, as was provided when ATF reclassified the

Streetsweeper and USAS-12 shotguns, which is discussed infra in Section VI., C. Alternatively,

the Attorney General should issue an initial amnesty period of ninety days and provided 50 or
73
   While the provision refers to the “Secretary of the Treasury,” the Homeland Security Act of
2002, Pub. L. 107-296, 116 Stat. 2135 (2002), transferred the functions of ATF from the
Department of the Treasury to the Department of Justice, under the general authority of the
Attorney General. 26 U.S.C. 7801(a)(2); 28 U.S.C. 599A(c)(1). Thus, it is now the Attorney
General that has the authority to institute an amnesty.
74
   A copy of Senator Feinstein’s proposal
http://www.feinstein.senate.gov/public/index.cfm/files/serve/?File_id=10993387-5d4d-4680-
a872-ac8ca4359119.

                                                 58

                                                                                            Exhibit A, Pg. 61
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more applications are received between the 30th and 60th days, the amnesty period should be

extended in increments of ninety days, until such time that less than 50 applications are received

during an extension period.

       Furthermore, pursuant to the logical outgrowth doctrine 75 and the numerous issues with

the National Firearms Registration and Transfer Record (“NFRTR”) – especially the deprivation

of due process in civil and criminal proceedings (see Exhibits 6, 21 76 and 22 77 ) – the amnesty

should permit the registration of any unregistered NFA firearm, not just bump-stock-devices and

those items subject to the instant NPR, since such is consistent with the Congress’ intent that all

NFA firearms be registered to the individual possessing them. 78




       C.      ATF’s Reclassification of the Streetsweeper and USAS 12 and Seven Year
               Registration/Amnesty that Followed

       In the alternative, as ATF admits that the NPR is a reclassification of the definition of

machinegun to include bump-stock-devices (83 Fed. Reg. 13448), it must treat the

reclassification equally to how it treated its prior reclassifications of the Streetsweeper and

USAS 12 shotguns, for which it provided a seven-year registration and amnesty period.




75
   Long Island Care at Home, Ltd. v. Coke, 551 U.S. 158 (2007).
76
   A copy of the article is available at – Joshua Prince, Violating Due Process: Convictions
Based on the National Firearms Registration and Transfer Record When its ‘Files are Missing’,
(Sept. 28, 2008), https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2752028.
77
   A copy of Eric Larson’s testimony and exhibits of April 3, 1998, before the House Committee
on Appropriations is available online at http://www.nfaoa.org/documents/1998testimony.pdf.
78
   See U.S. Senate, Gun Control Act of 1968, Title II-Amendments to the National Firearms Act,
Report No 1501, 90th Cong., 2nd Sess., at 43 (Washington, GPO, 1968), available at
http://www.nfaoa.org/documents/SenateReport1501-GCA1968.pdf, declaring that the Congress
intends that “every [NFA] firearm in the United States should be registered to the person
possessing the firearm.”

                                                 59

                                                                                              Exhibit A, Pg. 62
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        In a July 12, 2012, ATF Quarterly Roll Call Lesson Plan, the ATF Firearms Technology

Branch admits that based on ATF’s March 1, 1994 reclassification of the Striker-

12/Streetsweeper and USAS-12 shotguns, 79 individuals were provided from March 1, 1994

through May 1, 2001 – more than seven years – to register these reclassified NFA firearms. See

Exhibit 23, p. 3.

        Accordingly, to the extent ATF moves forward with a final rule, ATF must provide a

seven-year amnesty/registration period for individuals to register their bump-stock-devices.




        D.      ATF’s Reclassification of Open Bolt Macs

        As discussed by the Savage Comment on pages 3 – 4 80, ATF Ruling 82-8 held that ATF

was reclassifying semi-automatic SM10 and SM11A1 pistols and SAC carbines as machineguns

and as a result of the ruling:

        “With respect to the machinegun classification of the SM10 and SM11A1 pistols and
        SAC carbines, under the National Firearms Act, pursuant to 26 U.S.C. § 7805(b), this
        ruling will not be applied to SM10 and SM11A1 pistols and SAC carbines manufactured
        or assembled before June 21, 1982. Accordingly, SM10 and SM11A1 pistols and SAC
        carbines, manufactured or assembled on or after June 21, 1982, will be subject to all the
        provisions of the National Firearms Act and 27 C.F.R. Part 179.”

Emphasis added.

        Thus, as discussed supra in Section III., C., 26 U.S.C. § 7805(b) precludes – and ATF has

acknowledged – ATF’s ability to retroactively reclassify firearms and devices as machineguns

and require their registration and compliance with the NFA. Consistent with Section 7805(b), if


79
  See, ATF Rulings 94-1 and 94-2.
80
  See Analysis and Commentary Regarding: Docket Number: ATF 2017R-22 & Bump-Stock-
Type-Devices, ID: ATF-2018-0002-31210, Tracking Number: 1k2-93f3-s09b, available
electronically at – https://www.regulations.gov/document?D=ATF-2018-0002-31210, in “Email
013 (Historic Arms) rec 5-29-18”.

                                                60

                                                                                          Exhibit A, Pg. 63
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ATF reclassifies a firearm or device, it may only require compliance with the NFA in relation to

those firearms and devices that were “manufactured or assembled on or after” the date of its

reclassification ruling. Moreover, the existence of approximately 50,000 of these reclassified

firearms and their lawful possession and transfer absent compliance with the NFA, 81 was

testified to by former ATF Acting Chief of the Firearms Technology Branch Rick Vasquez in

U.S. v. One Historic Arms Model54RCCS, No. 1:09-CV-00192-GET. See Exhibit 27.

          Accordingly, ATF is statutorily precluded from applying any final rule in this matter to

any firearms or devices that were “manufactured or assembled” before at least March 29, 2018 –

the date of publication of this NPR in the Federal Register.

          Even if, arguendo, ATF were not statutorily prohibited, to ensure equal application of the

law, its past actions and the public reliance thereon, it must likewise permit all firearms or

devices covered by the NPR in this matter to be grandfathered without requisite compliance with

the NFA.




          E.     Revision of Proposed Changes to 27 C.F.R. §§ 447.11, 478.11, and 479.11

          Although FPC vigorously disputes ATF’s constitutional, statutory, regulatory, procedural

and precedential authority to regulate bump-stock-devices and intends to challenge any final rule

adopting any proposal other than Alternative 1, FPC contends that ATF must limit its proposed

regulatory changes to the definition proposed by Congress in H.R. 4477. 82

          In the NPR (83 Fed. Reg. 13457), ATF proposes amending to 27 C.F.R. §§ 447.11,

478.11, and 479.11 “by adding two sentences at the end of the definition to reads as follows:


81
     Id.
82
     See https://www.congress.gov/bill/115th-congress/house-bill/4477/text.

                                                  61

                                                                                             Exhibit A, Pg. 64
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Machine gun. * * * For purposes of this definition, the term ‘automatically’ as it modifies

‘shoots, is designed to shoot, or can be readily restored to shoot,’ means functioning as the result

of a self-acting or self-regulating mechanism that allows the firing of multiple rounds through a

single function of the trigger; and ‘single function of the trigger’ means a single pull of the

trigger. The term ‘machine gun’ includes bump-stock-type devices, i.e., devices that allow a

semiautomatic firearm to shoot more than one shot with a single pull of the trigger by harnessing

the recoil energy of the semiautomatic firearm to which it is affixed so that the trigger resets and

continues firing without additional physical manipulation of the trigger by the shooter. * * * ”

       As such, ATF’s proposal, as discussed throughout this Comment, is far more

encompassing than the more limited definition proposed by Congress in H.R. 4477. Accordingly,

ATF should revise its proposal to be consistent with the Congress’ proposal; whereby, the

definition of machinegun in 27 C.F.R. §§ 447.11, 478.11, and 479.11 could, at the absolute most,

be amended by adding one sentence at the end of the definition to read as follows:

       Machine gun. * * * For purposes of this definition, the term ‘automatically’ as it modifies

       ‘shoots, is designed to shoot, or can be readily restored to shoot,’ means a device that—

       (1) attaches to a semiautomatic rifle (as defined in section 921(a)(28) of title 18, United

       States Code); (2) is designed and intended to repeatedly activate the trigger without the

       deliberate and volitional act of the user pulling the trigger each time the firearm is fired;

       and (3) functions by continuous forward pressure applied to the rifle’s fore end in

       conjunction with a linear forward and backward sliding motion of the mechanism

       utilizing the recoil energy when the rifle is discharged.




                                                 62

                                                                                              Exhibit A, Pg. 65
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     VII.    POLICY CONSIDERATIONS DO NOT SUPPORT ATF’S PROPOSED RULE

        In arguing that bump-stock devices are or create a machinegun, the proposed rule

demonstrates a complete reversal of prior policy – prior policy, as discussed supra in Section 1.,

A., that ATF has failed to provide in the rulemaking docket and for which the absence of,

precludes meaningful review and comment by interested persons.

        But even if numerous procedural irregularities did not bar ATF from promulgating a final

rule in this proceeding, and neither the U.S. Constitution nor the scope of statutory authority

served as an obstacle, there are ample reasons ATF should not proceed with its proposed rule.

First, ATF's assumptions lack statistical validity. Second, ATF’s reasoning relies on false

premises. Third, the costs of the proposed rule are much greater than ATF acknowledged.




        A.     ATF’s Assumptions Lack Statistical Validity

        As pertinent to a statistical inquiry, the overarching basis asserted in the NPR – the

putative use of a bump-stock-device in the Law Vegas shooting – demands investigation and

reflects that at a maximum, 83 only one instance exists 84, where a bump-stock-device was

utilized, while acknowledging that there is no quantifiable benefit to the proposal. Thus, to the

extent ATF can proceed in this matter, the first, and most vital, issue is whether ATF identified a

statistically significant basis to conclude that the existing system of regulation should be revised,

especially in light of the absence of a quantifiable benefit. As discussed at length supra in

Sections I., B. and IV., D., ATF relies solely on prior “public comments” – for which, those

83
   As discussed supra in Section IV., D., FPC dispute that there exists any evidence even
suggesting that a bump-stock-device was utilized in the Las Vegas incident and demands, given
ATF’s lack of candor to the courts, Congress and the public, that any such contention by ATF be
dismissed, in the absence of independently, verifiable evidence in support.
84
   Which to date has neither been confirmed by ATF or FBI. See Fn. 4, supra.

                                                 63

                                                                                                Exhibit A, Pg. 66
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“public comments” may be proxies of ATF 85 – to suggest that a bump-stock-device was utilized

in Las Vegas (83 Fed. Reg. 13454), while thereafter declaring that bump stock devices “could be

used for criminal purposes.” 83 Fed. Reg. 13455 (emphasis added). The second issue, with

respect to estimating the costs that would be imposed by ATF’s proposed rule, ATF fails to

address the just compensation that is necessary for the proposed rule, as is discussed supra in

Section II., B., 2.

          Despite the number of bump-stock-devices grossly exceeding 520,000 (when including

rubber bands, belt loops, fingers, triggers, Gatling guns, and “slamfire” shotguns and firearms),

ATF’s entire rulemaking effort is apparently premised on no more than one unverified instance

where a bump-stock-device was alleged to have been utilized unlawfully, even though such

products have been on the market for over a decade. Even with ATF’s too-low estimate of bump-

stock-devices in commerce, one alleged instance represents such a minute, statistically-

insignificant fraction that no statistically-valid prediction could even be made about this putative

problem. ATF has failed to make available in the docket any information regarding the Las

Vegas shooting that would permit meaningful inquiry into whether it is at all representative of

the problem ATF claims now requires attention, or that the NPR reflects a substantive, tailored,

germane, or proportional response to any such problem.

          If, nonetheless, ATF were to go forward with its effort to formulate and impose a new

rule, whatever benefits ATF claims, would seem to require discount to reflect the sole instance in

which there is any reason to believe the new rule would provide additional protection. That is,

the marginal benefit of added restrictions would be on the order of 1/520,000 or, stated




85
     See Section IV., D., and Fn. 56, supra.

                                                 64

                                                                                             Exhibit A, Pg. 67
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otherwise, the marginal cost needs to be multiplied by a factor of at least 520,000/1 to be

measured against the total benefit.

                                          *       *      *

       There is no statistically-significant (if any at all) evidence of the problem ATF purports to

address with the proposed rule, even if one credits the sole anecdote. In weighing costs and

benefits of the proposed rule, ATF must discount the benefits (or multiply the costs) to reflect the

sole example from the large population of individuals who own or have access to bump-stock-

devices and the fact that based on ATF’s own proposal, individuals would still be able to bump

fire with rubber bands, belt loops and their fingers.




       B.      ATF Relies On Multiple False Premises

       As discussed at length supra in Sections IV., D. and E., ATF’s proposed rule is based on

multiple false premises. Other than one unsupported allegation, there is no evidence – let alone

substantive statistical evidence – of misuse of bump-stock-devices. Moreover, as made explicitly

clear by the video (Exhibit 28) and Vasquez’s Expert Declaration, a bump-stock-device does not

self-act, self-regulate, nor harnesses energy and thus cannot meet the statutory definition of a

machinegun. Thus, ATF has failed to explain, let alone demonstrate, the need for a change in

regulations or shown sufficient authority to implement its desired changes. And perhaps worse,

ATF appears to be purposely misleading the public on the actual function of bump-stock-

devices, which cannot be countenanced.




                                                 65

                                                                                              Exhibit A, Pg. 68
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                                          CONCLUSION

       ATF has, once again, made a mockery of rulemaking proceedings by engaging in

numerous improper and bad-faith tactics that deny meaningful public participation. As shown in

these and other comments, the instant NPR is terminally-ridden with procedural defects. As a

result, ATF cannot promulgate any final rule that hopes to survive judicial review without

starting anew. And ATF’s proposed legislation-by-fiat stretches far beyond its statutory

authority, ignores important separation of powers principles, and attempts to usurp that which is

solely the domain of Congress. But even if ATF were to somehow overcome those fundamental

problems, the fact remains that its proposal is built upon a statistically-invalid assumption, a false

premise, and flawed policy arguments. To be sure, ATF failed to quantify any benefit from the

proposed rule, and substantially undercounted the cost it would impose, including a failure to

consider (as is its duty) all related costs. The proposed rule is demonstrably un-workable, and

many less-burdensome alternatives exist to address any legitimate concerns that might be

identified in a proper and procedurally-sound rulemaking.

       Finally, even if ATF did initiate a new, proper, and procedurally-sound proposed

rulemaking about bump-stock devices, and even if there existed sufficient statutory authority and

good cause to issue such a rule, there is ample reason to question whether a proposed

reclassification of bump-stock-devices as machineguns is consistent with the U.S. Constitution,

including but not limited to the Second and Fifth Amendments, as well as Article I, Section 9.

ATF fails completely to consider, let alone provide for, the just compensation that would be due

to those who would be affected by its proposed rule. Indeed, as discussed above, the proposed

rule is unconstitutional, both facially and as applied to law-abiding people who possess and own

devices subject to the ATF’s proposed rule.



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                                                                                              Exhibit A, Pg. 69
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For all of the reasons set forth above, the NPR should be withdrawn and summarily discarded,

or, in the alternative, ATF should elect Alternative 1 and abandon the proposed rulemaking in its

entirety.

                                             Respectfully submitted on behalf of
                                             Firearms Policy Coalition and
                                             Firearms Policy Foundation


                                             ______________________________
                                             Joshua Prince, Esq.
                                                    Chief Counsel


                                             ______________________________
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June 19, 2018




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                                     Exhibit List

Exhibit 1:    FICG Expedited FOIA dated March 30, 2018

Exhibit 2:    LVMPD Preliminary Investigative Report, January 18, 2018

Exhibit 3:    Video: Iraqveteran8888, Worlds Fastest Shooter vs Bump Fire! – Guns
              Reviews, YouTube, October 13, 2014

Exhibit 4:    Video: Miculek.com, AR-15 5 shots in 1 second with fastest shooter ever,
              Jerry Miculek (Shoot Fast!), YouTube, June 20, 2013

Exhibit 5:    Carl Bussjaeger, [Update] Bumbling Machinations on Bump Stocks?,
              April 2, 2018 and [Updated] Bump-fire Rule: “Comments Not Accepted”,
              March 30, 2018

Exhibit 6:    Motion in Limine, United States v. Friesen, CR-08-041-L (W.D. Okla.
              Mar. 19, 2009)

Exhibit 7:    John Bresnahan and Seung Min Kim, Attorney General Eric Holder held
              in contempt of Congress, June 28, 2012

Exhibit 8:    Testimony of Gary Schaible, United States v. Rodman, et al., CR-10-
              01047-PHX-ROS

Exhibit 9:    Senator Diane Feinstein, Feinstein: Congress Shouldn’t Pass the Buck on
              Bump-Fire Stocks, October 11, 2017

Exhibit 10:   ATF Determinations

Exhibit 11:   Video: Shooting Videos, Rapid manual trigger manipulation (Rubber
              Band Assisted), YouTube, December 14, 2006

Exhibit 12:   Video: StiThis1, AK-47 75 round drum Bumpfire!!!, YouTube, September
              5, 2011

Exhibit 13:   Video: ThatGunGuy45, ‘Bump Fire’ without a bump-fire stock, courtesy
              of ThatGunGuy45, YouTube, October 13, 2017

Exhibit 14:   Video: M45, How to bumpfire without bumpfire stock, YouTube, October
              8, 2017

Exhibit 15:   Verified Declaration of Damien Guedes

Exhibit 16:   Verified Declaration of Matthew Thompson




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Exhibit 17:   Video: Vice News, Meet One Of The Analysts Who Determined That
              Bump Stocks Were Legal, YouTube, October 11, 2017

Exhibit 18:   Video: Fastest Shooter OF ALL TIME! Jerry Miculek | Incredible
              Shooting Montage, DailyMotion, 2014

Exhibit 19:   Gun Control Act of 1968, 82 Stat. 1235

Exhibit 20:   26 C.F.R. § 179.120

Exhibit 21:   Joshua Prince, Violating Due Process: Convictions Based on the National
              Firearms Registration and Transfer Record When its ‘Files are Missing’,
              September 28, 2008

Exhibit 22:   Eric Larson’s testimony and exhibits of April 3, 1998, before the House
              Committee on Appropriations

Exhibit 23:   ATF Quarterly Roll Call Lesson Plan, July 12, 2012

Exhibit 24:   Eric M. Larson, How Firearms Registration Abuse & the “Essential
              Operational Mechanism” of Guns May Adversely Affect Gun
              Collectors, Gun Journal, March 1998

Exhibit 25:   U.S. Government’s Brief in Support of Cross Motion For Summary
              Judgment And In Opposition to Plaintiff’s Motion For Summary
              Judgment, Freedom Ordinance Mfg. Inc., v. Thomas E. Brandon, Case
              No. 3:16-cv-243-RLY-MPB

Exhibit 26:   Video: Molon Labe, hogan 7 m16.wmv, YouTube, October 25, 2011

Exhibit 27:   Testimony of ATF Senior Analyst Richard Vasquez in U.S. v. One
              Historic Arms Model54RCCS, No. 1:09-CV-00192-GET

Exhibit 28:   Video: Adam Kraut Esq. and Patton Media and Consulting, Bump Stock
              Analytical Video, June 14, 2018

Exhibit 29:   National Firearms Act: Hearings Before the Committee on Ways and
              Means, H.R. Rep. No. 9066, 73rd Cong. 2nd Sess. April 16, 18, and May
              14, 15, and 16 1934

Exhibit 30:   Testimony of Police Chief J. Thomas Manger

Exhibit 31:   ProPublica, Workers’ Comp Benefits: How Much is a Limb Worth?,
              March 5, 2015

Exhibit 32:   Verified Declaration of former ATF Acting Chief of FTB Rick Vasquez




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Exhibit 33:   Verified Declaration of Jonathan Patton of Patton Media and Consulting

Exhibit 34:   FICG’s Letter on Behalf of FPC to Acting Director Brandon

Exhibit 35:   FPC’s Letter in Opposition to the ANPR of January 25, 2018




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                         Exhibit 1

                 (FICG Expedited FOIA)




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FIREARMS INDUSTRY CONSULTING GROUP
                                                                                        A Division of Civil Rights Defense Firm, P.C.


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                                                                   March 30, 2018

Stephanie M. Boucher
Disclosure Division
Bureau of Alcohol, Tobacco, Firearms and Explosives
99 New York Avenue, NE
Washington, DC 20226

RE: Firearms Policy Foundation (FPF) and Firearms Industry Consulting Group (FICG) vs. U.S.
    Department of Justice - Bureau of Alcohol, Tobacco, Firearms and Explosives - Bump Stock
    Rulemaking
    Docket Number: ATF-2018-0001
    EXPEDITED Freedom of Information Act (FOIA) Request

       VIA EMAIL: FOIAMail@ATF.gov

Dear Stephanie Boucher,

    Pursuant to the federal Freedom of Information Act, 5 U.S. Code § 552 (hereinafter "FOIA"), I
submit the following request for documents from the Bureau of Alcohol, Tobacco, Firearms and
Explosives (hereinafter "ATF"). If the requested documents are not available from ATF, I
respectfully request that you forward this request to the appropriate agency that maintains the
requested records or advise me of the identity of any such agency.

Status of Requester: I am attorney and scholar of firearms laws and related issues. I have been
published by the Pennsylvania Bar Institute in a number of publications for attorneys on firearms
law issues and maintain an active blog on firearms law issues at
http://blog.princelaw.com/category/firearms-law/. As a result, I ask that you classify this request as
made by a freelance journalist and I have been previously found, on numerous occasions, to be a
freelance journalist for purposes of FOIA by ATF, FBI and DDTC. In the alternative, I am
requesting a fee waiver. This waiver is applicable under the Freedom of Information Act of 1986.
It specifies, "[a] fee waiver or reduction can only be granted if the information furnished to the
requester is likely to contribute significantly to the public understanding of the operations or

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                                   Your PA Firearms Lawyer® and PA Gun Attorney®. Also home to Armor Piercing Arguments®!                          Exhibit A, Pg. 75
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activities of the government and not primarily in the commercial interest of the requester." As this
request is in relation to issues of public importance that will significantly assist the public in
understanding the ATF’s position in relation to its current rulemaking regarding bump stocks (ATF
2017R-22, RIN 1140-AA52, Fed. Register No. 2018-06292 -
https://www.regulations.gov/document?D=ATF-2018-0002-0001), a fee waiver is appropriate.
Although Firearms Industry Consulting Group ("FICG") has been retained by Firearms Policy
Foundation ("FPF"), a 501(c)3 non-profit public benefit organization, in relation to this rulemaking,
as both FPF and FICG intend to publicly post all documents received in response to this FOIA,
any response will be provided to the public and is for the benefit of the public.

  While I believe that my purposes fall directly within the standard set forth for a freelance
journalist or, alternatively, for a "Fee Waiver," if you find that my purposes do not, I will agree to
pay the appropriate fees up to $100.00. If you estimate that the cost will exceed $100.00, please
advise me the estimated costs exceeding $100, and I will make a decision on whether to proceed.
Nonetheless, even with my agreement to pay, I retain the right to appeal any decision based on
the fee waiver; and if successful, the return of any money, which was inappropriately paid, in
relation to this FOIA.

Expedited Request: Pursuant to 5 U.S.C. § 552, I am requesting expedited review of this FOIA, as
ATF has entered into rulemaking relative to the requested documents (ATF 2017R-22, RIN 1140-
AA52, Fed. Register No. 2018-06292 - https://www.regulations.gov/document?D=ATF-2018-
0002-0001), for which individuals, including myself, only have until June 27, 2018 to respond. As
ATF has failed to include the requested documents in the docket and the absence of the
requested documents would deny the public - including FPF, FICG, and myself - due process and
the ability to formulate legal arguments and meaningful opportunity to participate in the
rulemaking process, this request is proper for expedited review and processing. If the requested
documents are not provided promptly, there will be an inadequate opportunity to review them
and formulate meaningful comments before the deadline of June 27, 2018. Consistent with 5
U.S.C. § 552(a)(6)(E)(ii), I am requesting, as required, that a determination be made within 10
days.

Subject Matter of Request: This is a request for all ATF determinations relative to devices referred
to as "bump stocks" and "bump-fire stocks" by ATF in its proposed rulemaking (ATF 2017R-22,
RIN 1140-AA52, Fed. Register No. 2018-06292 - https://www.regulations.gov/document?D=ATF-
2018-0002-0001), as well as, all ATF Form 9310.3A "Correspondence Approval and Clearance"
forms relative to each determination, and any versions or drafts of the determinations, which were
different than the final determination. The use of the word "determinations" shall be understood to
mean any correspondence, whether in electronic or paper form, by ATF to any person, which
shall include any individual, Member of Congress, corporation, limited liability company, and
partnership, regarding the lawfulness or unlawfulness of any bump stock or bump-fire stock
device, whether a sample device was submitted or not to ATF. A copy of two such known
determinations are attached hereto as Exhibit A.

Temporal Scope of Request: Please limit your search for responsive documents to the period
January 1, 2000 to the present.

Request for "Vaughn Index": In the event all or any part of an otherwise responsive document is
withheld subject to a claim that one or more FOIA exemptions apply, please provide an index
identifying the document or part thereof, by author(s), addressee(s), date, subject matter, and the


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specific exemption asserted as a basis for failing to produce the complete document. If a
document is withheld only in part, please mark the redacted document to indicate the deletion.

Waiver of Inspection: If search and copying costs are not estimated to exceed $100.00, please
send a copy of the documents to me at the address referenced below.

Request for Timely Action: As mandated by FOIA, 5 U.S.C. § 552(a)(6)(A)(i), I request your reply
within twenty business days. The requested documents relate to a matter of current public
concern so that time is of the essence. In the event you have any questions concerning this
request, please contact me as soon as possible. I would be pleased to clarify any perceived
ambiguity informally or to discuss ways to narrow my request so as to ensure a timely response.

Contact Information: Please direct all communications to me at:

                                                          Joshua Prince
                                                         646 Lenape Rd
                                                      Bechtelsville, PA 19505
                                                     888-202-9297 ext 81114
                                                Joshua@CivilRightsDefenseFirm.com

Certification: I certify everything in this request, including request for expedited review and
processing to true and correct to the best of my knowledge and belief.

Thank you in advance for your attention to this matter.

                                                                                              Yours truly,
                                                                                              Firearms Industry Consulting Group




                                                                                              Joshua G. Prince
                                                                                              joshua@civilrightsdefensefirm.com
jgp/web
Matter no. 10377




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                                                                                                                                                             c:::::~~:~:~:::
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       Bump-Stock-Type Devices
Docket Folder Summary           iii View all documents and comments in this Docket


Docket ID: ATF-2018-0002         Agency: Alcohol Tobacco Firearms and Explosives Bureau (ATF)      Parent Agency: Department of Justice (DOJ)

RIN : 11 40-AA52     Impacts and Effects: None       CFR Citation: 27 CFR 478,27 CFR 479        Priority: Economically Significant

+ View More UA and Regulatory Plan Information and Docket Details



 Primary Documents                 View All (1 )


          Bump-Stock Type Device
                                                                                                                                                     Comment Now!

 II       Proposed Rule       Posted: 03/29/2018   ID: ATF-2018-0002-0001
                                                                                                                                                  DueJun27, 201811 :59 PM ET




 Supporting Documents
 No documents available.




                                                                                                                                                Exhibit A, Pg. 78
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                         Exhibit 2

    (LVMPD Preliminary Investigative Report)




                                                                Exhibit A, Pg. 79
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                                     Joseph Lombardo, Sheriff




FORCE INVESTIGATION TEAM           LVMPD Preliminary Investigative
Lieutenant Dennis O'Brien
Sergeant Jerry MacDonald
                                              Report
Detective Trever Alsup             1 October I Mass Casualty Shooting
Detective Marc Colon
Detective Breck Hodson
Detective Craig Jex
Detective Jason Leavitt                       LVMPD Event:        171 001-3519
Detective Joseph Patton              Division of Occurrence:      Tourist Safety Division
Detective Blake Penny                       Date of Incident:     10-01-2017
                                                Time of Call:     2205 hours
HOMICIDE
                                          Incident Locations:     Mandalay Bay Resort and Casino
                                                                  3950 S. Las Vegas Blvd.
Lieutenant Dan McGrath
Sergeant John Harney                                              Las Vegas, NV 89119
Sergeant Matt Sanford
Sergeant Jon Scott                                                Las Vegas Village
Detective Maureen Bogatay                                         3901 S. Las Vegas Blvd.
Detective Dolphis Boucher                                         Las Vegas, NV 89119
Detective Chris Bunn
Detective Lora Cody                                  Suspect:     Stephen Paddock
Detective Mitchell Dosch
Detective Jarrod Grimmett
Detective John Hoffman
Detective Ryan Jaeger
Detective Gary King
Detective Kristen Long
Detective Gerald Mauch
Detective Jason McCarthy
Detective Fred Merrick
Detective Terri Miller
Detective Cliff Mogg
Detective Robert Ochsenhirt
Detective Tate Sanborn
Detective Tod Williams         Date of report: 01-18-18

                               Submitted by: Detective Trever Alsup, P# 5782

                               Signature: > ~           ~74h
                                                                MacDonald, P# 4660



                               Approved by. Lieutenant Dennis Q.:B.ri.en, P# 6192

                               Signature:     ~;C "?L-
                                                                                       Exhibit A, Pg. 80
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I.     INTRODUCTION

On October 1, 2017, over 22,000 people came together to enjoy a country music festival in Las
Vegas, Nevada. On the third and final night of the festival, a lone gunman opened fire into the
crowd from the 32nd floor of the Mandalay Bay Resort and Casino. The gunfire continued for
over ten minutes, resulting in the deaths of 58 innocent concert goers and injuring more than
700. With law enforcement closing in, the suspect took his own life.

It is not standard practice for the Las Vegas Metropolitan Police Department (LVMPD) to issue
an investigative overview related to an open case. Due to the magnitude of this investigative
response and the number of victims associated with this incident, Sheriff Joseph Lombardo felt
it was important to author an overview of all investigative work accomplished in the aftermath of
1 October. This report is not intended to be a comprehensive and final account of the facts and
evidence gathered but rather an overview of the investigation. The investigation into this incident
is on-going and a full comprehensive report will be released upon its completion.

This report will reflect the number and identities of victims known to the Las Vegas Metropolitan
Police Department to date. This information is vital in order to grant assistance, properly
categorize the level of crime and most importantly, honor those who fell prey to this horrific act
of violence.

The Las Vegas Metropolitan Police Department would like to recognize and thank all our local,
state and federal law enforcement partners for their assistance with this investigation.

II.    INCIDENT DETAILS

On October 1, 2017 Stephen Paddock began shooting into the crowd attending the Route 91
Music Festival from his hotel room on the 32nd floor of the Mandalay Bay. As a result, 58 people
died and over 700 were injured. An extensive, joint investigation involving the LVMPD and the
Federal Bureau of Investigation (FBI) began immediately after the incident. Every facet of
Paddock’s life was explored.

At the time of the incident Paddock was 64 years old. He owned residences in Mesquite and
Reno, Nevada and lived with his girlfriend, Marilou Danley. Paddock had limited law enforcement
contact and no criminal history.

Paddock embarked on numerous international trips beginning in 2012, these included trips to
Europe, Asia and South America. Most of Paddock’s international travel was unaccompanied.
Paddock also took multiple cruises with destinations in the Bahamas, Alaska and Mexico.

Through interviews with Paddock’s relatives and acquaintances investigators learned Paddock
lived a seemingly normal life. He was married at least once and divorced. He worked as an
accountant and in the family real estate business.




                                                                                        Exhibit A, Pg. 82
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From 1982 through September of 2016, Paddock purchased 29 firearms. These purchases
consisted of handguns, shotguns and one rifle. From October 2016 through September 2017,
Paddock purchased over 55 firearms. Most of the firearms purchased from 2016 through 2017
were rifles in various calibers along with over 100 firearm related items through numerous
retailers. The firearm related items included scopes, cases, bump stocks and ammunition.

The Ogden

On September 17, 2017, Paddock checked into The Ogden where he was booked through
September 28, 2017 which overlapped his reservation at Mandalay Bay. The Ogden is a
condominium complex located in downtown Las Vegas, Nevada. Paddock stayed in three
different units during this time.

Paddock’s stay at The Ogden coincided with the Life is Beautiful music festival. Similar to the
Route 91 Music Festival, the Life is Beautiful event was held in an open air venue from
September 22, 2017, through September 24, 2017.

While staying at The Ogden, Paddock exhibited behavior which was similar to his time spent at
Mandalay Bay. Paddock left for long periods of time, returning to Mesquite, Nevada, flying to
Reno, Nevada and traveling to Arizona. Paddock was observed numerous times gambling at
downtown Las Vegas casinos. Paddock was also observed moving numerous suitcases from
his vehicle to the various units he rented.

Mandalay Bay Hotel & Casino

On Monday, September 25, 2017, Paddock checked into room 32-135 of the Mandalay Bay
Hotel and Casino with a scheduled check-out date of October 2, 2017. On Friday September 29,
2017, Paddock checked into room 32-134 which connected with room 32-135 via connecting
doors.

From September 25, 2017, through October 1, 2017, Paddock transported multiple suitcases to
his room on several occasions. Paddock also left the Mandalay Bay on multiple occasions for
long periods of time, often returning to Mesquite, Nevada.




                                                                                    Exhibit A, Pg. 83
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Route 91 Harvest Festival




October 1, 2017, was the final day of the Route 91 Harvest Festival held at the Las Vegas Village
concert venue located at 3901 S. Las Vegas Boulevard. The site is an open air concert venue
approximately 15 acres in size. It is bordered by Las Vegas Boulevard to the west, Reno Avenue
to the north, Giles Street to the east and Mandalay Bay Road to the south.

The festival was a three day country music concert with multiple entertainers. On October 1,
2017, the concert began at 1500 hours. Jason Aldean, the last performer, was scheduled to take
the main stage at 2140 hours. Over 22,000 people were attending the final day of the festival.

Incident

On October 1, 2017, at approximately 2118 hours, Mandalay Bay Security Officer Jesus Campos
was assigned to check several Hotel Service Optimization System (HotSOS)1 alarms from
various rooms inside the hotel. Room 32-129 was the last of the rooms Security Officer Campos
was assigned to check.

Security Officer Campos was on the 30th floor and responded to the 32nd floor via the stairwell in
the north end of the 100 wing. Security Officer Campos attempted to enter the hallway to the
100 wing but the door would not open. He took the stairs to the 33rd floor and used the guest

1 A HotSOS Alarm is triggered by a guest room door that is left ajar for a predetermined amount of time.



                                                                                                      Exhibit A, Pg. 84
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elevator to access the 32nd floor. Once on the 32nd floor, Security Officer Campos entered the
foyer leading to the stairwell. He discovered an “L” bracket screwed into the door and door frame
which prevented it from opening. Security Officer Campos called his dispatch center with the
house phone located in the foyer to report the discovery. The security dispatch center then called
the engineering section to have the door checked.

Security Officer Campos heard what he described as a rapid drilling sound coming from room
32-135 after he hung up the phone. As he walked down the 100 wing hallway, Campos heard
what he described as automatic gunfire coming from the area of room 32-135 and realized he
had been shot in the left calf. He took cover in the alcove of rooms 32-122 and 32-124 and
utilized both his cellular phone and radio to notify his dispatch he was shot. Security Officer
Campos advised he was shot with a BB or pellet gun. While waiting for other security personnel
to arrive Security Officer Campos continued to hear gunfire coming from the room.

Engineer Stephen Schuck finished fixing a leak in room 62-207 when he was directed to respond
to the 32nd floor reference the bracket preventing the stairwell door from opening. Engineer
Schuck used the service elevator in the 200 wing to access the 32 nd floor. When he arrived on
the 32nd floor, he gathered his tools and equipment and walked from the 200 wing to the 100
wing.

As Engineer Schuck walked up the hallway of the 100 wing, he observed Security Officer
Campos poke his head out of an alcove. Engineer Schuck then heard rapid gunfire coming from
the end of the 100 hallway which lasted approximately 10 seconds. When the gunfire stopped,
he heard Security Officer Campos tell him to take cover. Engineer Schuck stepped into an alcove
and gunfire again erupted down the hallway coming from room 32-135. The gunfire lasted a few
seconds then stopped. The gunfire started again after a brief pause but Engineer Schuck
believed it was directed outside and not down the hallway.

Inside the Las Vegas Village over fifty LVMPD personnel were on overtime assignments for the
Route 91 Harvest Festival. The initial gunshots were heard on an officer’s Body Worn Camera
(BWC). Officers and concertgoers initially believed the gunfire to be fireworks. As Paddock
targeted the concertgoers with gunfire, officers quickly determined they were dealing with an
active shooter and broadcast the information over the radio.

The crowd inside the Las Vegas Village started reacting to the gunfire and Jason Aldean ran off
the stage. Officers and concertgoers began treating victims who were struck by gunfire. They
also tried to get concertgoers out of the venue in a safe manner. Officers determined the gunfire
was coming from an elevated position, possibly from the Mandalay Bay Hotel. Medical personnel
were requested for multiple people struck by gunfire.

As the active shooter incident was occurring, two LVMPD officers were in the security office of
the Mandalay Bay handling a call for service reference two females who were in custody for
trespassing. The officers heard the radio broadcast of gunfire at the Route 91 Harvest Festival.
Both officers, along with security personnel, exited the security office and responded towards
the Las Vegas Village. As they were making their way through the casino, security personnel
advised the officers of an active shooter on the 32nd floor of the hotel.2 The officers then directed
2Information obtained from LVMPD BWC.



                                                                                          Exhibit A, Pg. 85
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security to escort them to that location. The officers and security personnel entered the Center
Core guest elevators and were again advised the shooter was on the 32 nd floor. The officers
made a tactical decision to respond to the 31st floor and take the stairwell to the 32nd floor.

LVMPD officers converged on the Las Vegas Village and Mandalay Bay. Officers formed
multiple Strike Teams and entered the Mandalay Bay from various entrance points. A team of
officers including a Special Weapons and Tactics (SWAT) Operator reached the 32nd floor via
the stairwell in the 100 wing. Officers did not hear gunfire coming from room 32-135. Officers
were able to manually breach the “L” bracket on the stairwell door and gain access to the
hallway. Officers immediately observed a food service cart which had wires running from it to
room 32-134 and prepared themselves for the possibility of an Improvised Explosive Device
(IED). The decision was made to use an explosive breach to make entry into room 32-135.

After a successful breach of the doors to room 32-135, officers entered the room and found
Paddock deceased on the floor. Paddock appeared to have a self-inflicted gunshot wound to the
head. Officers cleared the remainder of the room and observed multiple rifles in various locations
throughout the room as well as hundreds of expended casings. A second explosive breach was
utilized to gain access to room 32-134 through the connecting doors. Immediately after the
breach a SWAT officer negligently discharged his rifle. Officers cleared room 32-134 finding
several rifles in the room.

Officers, medical personnel, and concertgoers continued the evacuation of victims in the Las
Vegas Village venue. Several triage sites were established in the venue and surrounding area.
Injuries ranged from being minor in nature to fatal. Hundreds of wounded were transported to
area hospitals by ambulance and privately owned citizen vehicles.

Sequence of Events

The details listed below were gathered from several different sources3. For the purpose of this
section, the sequence of events will begin on September 25 th when Paddock checked into the
Mandalay Bay and end with the LVMPD officers making entry into Paddock’s room. All times
in this section are approximates based upon different time sources and different time
stamps which were all utilized to document this section of the report. All dates and times
listed below occurred in the year 2017.

On or around September 9th Paddock made his room reservation for a Vista Suite ending in 235
but not a specific floor. On September 20th Paddock was internally4 assigned to room 33-235.
On September 21st Paddock was internally changed to room 32-235. On September 24th
Paddock was assigned to room 32-135.




3 LVMPD Officer Body Worn Cameras; UBER Video; Interviews to include officers, civilians & Mandalay Bay

Employees; Mandalay Bay Video Surveillance; Lock Interrogation Documents; Cell Phone Videos & Records.
4 All internal changes to Paddock’s rooms were done by a Mandalay Bay computer without Paddock’s

knowledge.

                                                                                                Exhibit A, Pg. 86
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September 25th through October 1st

September 25th

Overview:
At approximately 1533 hours, Paddock checked into room 32-135 of the Mandalay Bay under
his name. Paddock booked the connecting room (32-134) for September 29th through October
2nd. When Paddock checked into room 32-134 on September 29th, he did so under his girlfriend,
Danley’s, name. Paddock was set to check out of both rooms on October 2 nd. From
approximately 1603 to 1656 hours, Paddock was seen at Mizuya Sushi (inside the Mandalay
Bay), he then drove his vehicle from self-park to valet5, and returned to the front desk with five
suitcase bags.

      At approximately 1656 hours, a bellman met Paddock and escorted him to room 32-135.
       Paddock requested to go through the service elevators and not through the guest
       elevators. According to interviews, this request is not uncommon for guests of the hotel.
       Paddock rolled one bag and a bellman used a luggage cart for the other four bags.
      From approximately 2137 to 2140 hours, Paddock had his vehicle removed from valet
       and Paddock left the Mandalay Bay.
      At approximately 2300 hours, Paddock arrived in Mesquite, Nevada.

September 26th

Overview:
Paddock spent time at his home in Mesquite, Nevada, Downtown Las Vegas and Mandalay Bay.

      From approximately 1012 to 1455 hours, according to cell phone records, Paddock’s cell
       phone showed in Mesquite, Nevada.
      At approximately 1535 hours, Paddock completed a wire transfer in Mesquite, Nevada of
       $50,000 from his Wells Fargo account to an account in the Philippines.
      From approximately 2012 to 2100 hours, Paddock drove from Mesquite, Nevada to The
       Ogden.
      From approximately 2102 to 2216 hours, Paddock walked around and gambled at the El
       Cortez Hotel.
      At approximately 2223 hours, Paddock returned to The Ogden.
      At approximately 2234 hours, Paddock departed The Ogden and drove to Mandalay Bay.
      From approximately 2245 to 2252 hours, Paddock valeted his vehicle at Mandalay Bay
       and took six suitcases (located on a luggage cart) and one rolling suitcase (Paddock
       rolled the suitcase himself) up to room 32-135 by way of the service elevator with help of
       a bellman. (The bellman who escorted Paddock on the September 25 th was different than
       the bellman who escorted Paddock on the September 26th.)
      At approximately 2308 hours, Paddock began gambling at Mandalay Bay and continued
       gambling into the next morning.


5 Confirmed by valet ticket #275263147



                                                                                       Exhibit A, Pg. 87
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September 27th

Overview:
Paddock spent several hours gambling at Mandalay Bay. Paddock spoke with his VIP host
reference wanting the “Vista Suite” at the end of the hall with the double doors. Paddock was
insistent on the suite and connecting room. Paddock wanted to be in the 200 wing as it had a
better view, according to him. Paddock was upset about the room, but was not angry. Paddock
never mentioned the reason why he wanted a connecting room.
     At approximately 0713 hours, Paddock stopped gambling, which he was doing
       continuously since the previous night.
     At approximately 1556 hours, Paddock placed a room service order for two entrees
       totaling $94.33.
     At approximately 1632 hours, room 32-135 was cleaned by hotel staff. Paddock remained
       in the room as it was cleaned.
     At approximately 2003 hours, Paddock was seen in the valet area of Mandalay Bay with
       two rolling suitcases. Paddock had his vehicle removed from valet and left the Mandalay
       Bay at approximately 2015 hours.
     At approximately 2029 hours, Paddock arrived at The Ogden and entered a room at
       approximately 2031 hours.
     From approximately 2045 to 2200 hours, Paddock left The Ogden and drove to Mesquite,
       Nevada, where he arrived at approximately 2200 hours.
     At approximately 2300 hours, Paddock arrived at the Walmart in Mesquite, Nevada. He
       purchased luggage, razor blades, fake flowers, a vase, and a styrofoam ball.

September 28th

Overview:
In Mesquite, Nevada, Paddock purchased a .308 bolt action rifle, deposited $14,000 into a Wells
Fargo account, and wire transferred $50,000 to an account in the Philippines. Paddock visited a
gun range in Mesquite, Nevada, before traveling back to the Mandalay Bay.
     From approximately 0227 to 1420 hours, Paddock’s cell phone was located in Mesquite,
      Nevada according to cell phone records.
     From approximately 1444 to 1501 hours, Paddock made a $14,000 deposit at Wells
      Fargo and transferred $50,000 to a bank in the Philippines.
     At approximately 1523 hours, Paddock purchased a .308 bolt action rifle from a gun store
      in Mesquite, Nevada.
     From approximately 1723 to 1803 hours, Paddock was seen driving in the area of the City
      of Mesquite Landfill / gun range located at 3200 Mesquite Heights Road, in a rural area
      of Mesquite, Nevada.
     From approximately 2042 to 2146 hours, Paddock traveled from Mesquite, Nevada to the
      Mandalay Bay and parked in valet. Paddock was seen entering the Mandalay Bay with
      two rolling suitcases and a laptop bag.
     At approximately 2218 hours, Paddock began gambling at Mandalay Bay and continued
      gambling into the next morning.




                                                                                    Exhibit A, Pg. 88
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September 29th

Overview:
A second refrigerator was delivered to Paddock’s room (32-135). Staff was asked to only change
linen’s and take out the trash in room 32-135. A staff member was told by Paddock not to vacuum
32-135 and not to remove the food service cart from the room. Staff was asked specifically to
change sheets and towels in room 32-134 and inform Paddock when room 32-134 was
completed. Paddock remained in room 32-135 and used his laptop as the rooms were being
cleaned.
     At approximately 0543 hours, Paddock stopped gambling, which he was doing
        continuously since the previous night.
     From approximately 1228 to 1314 hours, Paddock ate at Mizuya Sushi Sake and then
        returned to room 32-135.
     At approximately 1400 hours, rooms 32-135 and 32-134 were cleaned by hotel staff.
     At approximately 1506 hours, Paddock checked into room 32-134 (under Danley’s name)
        from the VIP check in counter at the Mandalay Bay.
     At approximately 1508 hours, Paddock took the guest elevator to the 32 nd floor.
     At approximately 1509 hours, Paddock entered room 32-134.
     From approximately 1509 to 0100 (September 30th) hours, Paddock remained inside
        rooms 32-134 and 32-135.
     At approximately 2311 hours, a room service ticket totaling $102.99 was charged to room
        32-134.
September 30th

Overview:
Paddock traveled to Mesquite, Nevada twice from Mandalay Bay. Paddock placed “Do Not
Disturb” signs on both 32-135 and 32-134. Paddock gambled for a couple of hours and brought
more suitcases up to his room.
    At approximately 0100 hours, Paddock drove to Mesquite, Nevada.
    At approximately 0556 hours, Paddock returned to the Mandalay Bay with four suitcases.
    From approximately 1204 to 1215 hours hotel staff serviced the private mini bar of room
       32-134. (Paddock placed the “Do Not Disturb” signs on the room doors sometime after
       1215 hours.)
    Between approximately 1300 to 1400 hours, Paddock was asked if he would like rooms
       32-135 and 32-134 cleaned. Paddock declined.
    From approximately 1452 hours to 1508 hours, Paddock removed his vehicle from valet
       and parked in the self-parking garage.
    At approximately 1512 hours, Paddock was observed exiting the parking garage elevator
       with two suitcase rolling bags.
    At approximately 1520 hours, Paddock was seen in a guest elevator with the two rolling
       suitcases and took them to his room.
    At approximately 1952 hours, Paddock drove from Mandalay Bay to Mesquite, Nevada
       and arrived at approximately 2057 hours.




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October 1st

Overview:
From approximately 0206 to 2040 hours, Paddock departed Mesquite, Nevada and returned to
Mandalay Bay. He spent several hours gambling, brought more suitcases to his room, and
ordered room service.
    At approximately 0206 hours, Paddock left Mesquite, Nevada.
    At approximately 0305 hours, Paddock arrived at the self-parking garage at the Mandalay
      Bay.
    From approximately 0324 to 0734 hours, Paddock walked around the casino and
      gambled. Paddock used both his own and Danley’s players cards.
    At approximately 0737 hours, Paddock returned to his room.
    From approximately 1222 to 1226 hours, Paddock moved his vehicle from the self-park
      garage to valet6. This valet transaction was the only parking transaction during his stay
      at Mandalay Bay that was completed in Danley’s name.
    At approximately 1229 hours, Paddock was observed waiting for an elevator with two
      rolling suitcases. There was also a third bag hanging from one of the rolling suitcases.
    At approximately 1233 hours, a room service ticket was opened for room 32-134.
    At approximately 1317 hours, Mandalay Bay valet parked Paddock’s vehicle in “Garage
      East”, space #317.7
    At approximately 1337 hours, the room service ticket8 was closed out for room 32-134 in
      Danley’s name. The check totaled $67.60 and included two entrees.
    From 1423 to 1940 hours, the doors for rooms 32-134 and 32-135 were manipulated
      multiple times. For example, the doors were opened, closed and the dead bolt locks were
      engaged and disengaged several times.
From approximately 2040 to 2205 hours, a series of events led up to the mass shooting
conducted by Paddock:

       At approximately 2040 hours, a HotSOS alarm was generated for room 32-129.
       At approximately 2118 hours, the HotSOS call was assigned to Security Officer Campos
        via his cellphone. Security Officer Campos was assigned five HotSOS calls during the
        2118 hours cellphone call. According to interviews of hotel staff, it is common practice to
        assign HotSOS calls to security officers and then immediately close out the HotSOS
        tickets prior to a security officers actually checking out the room. Security Officer Campos
        handled the HotSOS call for room 32-129 last.
       At approximately 2136 hours, the dead bolt to room 32-135 was engaged.
       At approximately 2140 hours, Jason Alden started his performance at the Route 91
        Festival.
       At approximately 2146 hours, the dead bolt to room 32-134 was engaged.




6 Valet ticket #275274484
7 This is the same space detectives located the vehicle in after the shooting
8 Room service ticket #51592684



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Approximately 2146 to 2204 hours
       Security Officer Campos entered the service elevator at approximately 2146 hours and
        got off on the 30th floor at approximately 2147 hours.
       Security Officer Campos walked to the stairwell in the 100 wing of the 30 th floor and
        walked up to the 32nd floor.
       Security Officer Campos could not gain entry to the 32 nd floor due to the door being
        barricaded.9
       Security Officer Campos walked up the stairs to the 33 rd floor. Security Officer Campos
        walked down the 100-Wing of the 33rd floor to Center Core. He took a guest elevator to
        the 32nd floor.
       At approximately 2200 hours, Security Officer Campos exited the guest elevator and
        walked up the 100 Wing toward room 32-129. Security Officer Campos checked room 32-
        129 and found it was secure. Security Officer Campos walked into the foyer leading to
        the stairwell and observed the “L” bracket screwed into the door and frame.
       At approximately 2204 hours, Security Officer Campos picked up a house phone located
        inside the small foyer leading to the stairwell and called security dispatch to report the “L”
        bracket on the door to the stairs. Security dispatch transferred the call to maintenance
        dispatch. The maintenance dispatcher then transferred Security Officer Campos to the
        maintenance supervisor’s cell phone.
From approximately 2205 to 2216 hours, Paddock committed a mass shooting that left 58 people
dead and over 700 hundred injured:

Approximately 2205 hours
       Engineer Schuck was contacted by the maintenance dispatcher via his radio.
       Paddock fired two single gunshots into the Las Vegas Village area.
       Paddock fired an undetermined amount of gunshots into the Las Vegas Village area.
Approximately 2206 hours
       Security Officer Campos ended the phone call and hung up the house phone. After
        hanging up the phone, Security Officer Campos heard what he described as rapid drilling
        noises.
       Paddock fired approximately 100 rounds into the Las Vegas Village area.
       Security Officer Campos began walking down the 100-wing toward Center Core.
       Engineer Schuck was told by his supervisor to go to the 32nd floor.
       LVMPD unit 169SE broadcast over the Convention Center Area Command (CCAC) radio
        channel, “169SE, we got shots fired, 415A at the Route 91. Sounded like an automatic
        firearm.”
       Paddock fired rounds down the hallway at Security Officer Campos. Security Officer
        Campos was struck in the left calf with a bullet fragment. He took cover in the alcove
        between rooms 32-124 and 32-122.

9 The investigation would reveal the door leading from the stairwell to the 32 nd floor was barricaded by an “L”

bracket screwed into the door and the door frame.

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       Security Officer Campos told his dispatcher via his radio, “Hey there’s shots fired in, uh,
        32-135.”
       Engineer Schuck’s dispatcher told him specifically where to go on the 32nd floor. Engineer
        Schuck left room 62-207 and walked to the service elevators with his equipment cart. The
        service elevators are located in the 200-wing of the hotel.
Approximately 2207 hours,
       Paddock fired approximately 95 rounds into the Las Vegas Village area.
       LVMPD Officers Varsin and Hendrex left the Mandalay Bay Security Office with two
        armed Mandalay Bay Security Officers.
       Paddock fired approximately 100 rounds into the Las Vegas Village area.
       Paddock fired approximately 94 rounds into the Las Vegas Village area.
Approximately 2208 hours
       Paddock fired the 1st round at the fuel tank. (Missed tank)
       LVMPD CAD event# 171001-3519 was generated for the shooting incident.
Approximately 2209 hours
       Paddock fired the 2nd round at the fuel tank. (Missed tank)
       Paddock fired the 3rd round at the fuel tank. (Missed tank)
       Paddock fired the 4th round at the fuel tank. (Missed tank)
       Paddock fired the 5th round at the fuel tank. 1st strike into the fuel tank. (Top strike)
       Paddock fired the 6th round at the fuel tank. 2nd strike into fuel tank. (Lower strike) The
        investigation was unable to determine when the 7th and 8th rounds were fired at the fuel
        tank.10
       Paddock fired an undetermined number of rounds into the Las Vegas Village area.
Approximately 2210 hours
       Engineer Schuck arrived at the Center Core of the 32nd floor and walked up the 100-wing
        toward room 32-135. As he walked, Engineer Schuck heard what he believed to be a jack
        hammer sound in the distance. Engineer Schuck quickly realized it was automatic
        gunfire.11 After the gunshots stopped, Security Officer Campos yelled at Engineer Schuck
        to take cover.
       Engineer Schuck turned and took cover in the alcove between rooms 32-119 and 32-117.
        Paddock fired rounds down the hallway at Engineer Schuck. He was not struck by gunfire.
        Engineer Shuck attempted to open room 32-117 with his master key card however the
        dead bolt lock was engaged and he was unable to gain entry into the room.
       Engineer Schuck stated over his radio, “Shannon, call the police. Someone’s firing a rifle
        on the 32nd floor down the hallway.”




10 There were eight .308 casings located inside of room 32-134
11 The investigation determined at the time Engineer Schuck heard the gunfire, Paddock fired the

approximately 21 rounds, referred to above, at the Las Vegas Village area.

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Approximately 2211 hours
     LVMPD Officers Varsin and Hendrex arrived at the Center Core area of the 31 st floor and
      began walking up the 100-wing along with armed security officers from Mandalay Bay.
     Paddock fired approximately 80-100 rounds into the Las Vegas Village area.
     Paddock fired approximately 95 rounds into the Las Vegas Village area.
Approximately 2212 hours
     Two armed Mandalay Bay security officers exited the guest elevator on the 32 nd floor and
      went to the Center Core.
     Paddock fired approximately 80-90 rounds into the Las Vegas Village area.
     Paddock fired an unknown number of rounds into the Las Vegas Village area. LVMPD
      Officers Clarkson and Cook were struck by gunfire during this volley.
     A Mandalay Bay security officer who was with LVMPD Officers Varsin and Hendrex
      advised over his radio, “We can hear rapid fire above us. We are on the 31 st floor. We
      can hear it above us.”
Approximately 2213 hours
     Paddock fired an unknown number of rounds into the Las Vegas Village area.
Approximately 2215 hours
     Paddock fired two separate volleys of an unknown number of rounds into the Las Vegas
      Village area.
Approximately 2216 hours
     LVMPD Officers Varsin and Hendrex along with Mandalay Bay security officers made
      entry into the stairwell on the 31st floor.
Approximately 2218 hours
     The heat detection indicator from inside room 32-135 detected no further readings from
      inside of the room.
Approximately 2241 hours
     A Strike Team which included K9 Sergeant Bitsko, K9 Officer Newton, SWAT Officer
      Hancock and Detective Walford ascended the stairs from the 30th floor. The Strike Team
      made entry and cleared the 31st floor.
Approximately 2256 hours
     The Strike Team reentered the stairwell from the 31st floor and walked up to the 32nd floor.
Approximately 2257 hours
     K9 Sergeant Bitsko and SWAT Officer Hancock manually breached the door barricaded
      with the “L” bracket.

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Approximately 2320 hours
          The Strike Team conducted an explosive breach into room 32-135 and made entry. The
           Strike Team reported Paddock was down from an apparent self-inflected gunshot wound
           to the head.
Approximately 2326 hours
          The Strike Team made a second explosive breach from inside of room 32-135 into room
           32-134 through the connecting doors. Immediately after the explosive breach an LVMPD
           SWAT Officer negligently fired a three round burst from his rifle. The rounds fired from
           the SWAT officer’s rifle struck a chair, an entertainment center/cabinet and a wall.
After the Strike Team finished rendering rooms 32-134 and 32-135 safe, the scene was secured
until investigative personnel arrived and assumed control of the 32nd floor.

III.       VICTIMS

Deceased

Victims 1-31 were pronounced deceased by the coroner investigator who responded to the Las
Vegas Village venue and surrounding areas. The remaining victims were pronounced by the
attending physician at the corresponding medical facility they were transported to. After all
autopsies were performed, the Clark County Office of the Coroner Medical Examiner (CCOCME)
ruled the cause and manner of death for all deceased victims to be gunshot wound(s) and
homicide.

1. Jack Reginald Beaton
      Age 54
      Clark County Coroner’s Office Case Number: 17-10060
      Clark County Coroner’s Office Seal Number: 727327
      Time of Death: 10-02-2017 at 0545 hours

2. Christopher Louis Roybal
     Age 28
     Clark County Coroner’s Office Case Number: 17-10061
     Clark County Coroner’s Office Seal Number: 727302
     Time of Death: 10-02-2017 at 0545 hours

3. Lisa Marie Patterson
      Age 46
      Clark County Coroner’s Office Case Number: 17-10062
      Clark County Coroner’s Office Seal Number: 732484
      Time of Death: 10-02-2017 at 0545 hours




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4. Adrian Allan Murfitt
     Age 35
     Clark County Coroner’s Office Case Number: 17-10063
     Clark County Coroner’s Office Seal Number: 737364
     Time of Death: 10-02-2017 at 0545 hours

5. Hannah Lassette Ahlers
     Age 34
     Clark County Coroner’s Office Case Number: 17-10065
     Clark County Coroner’s Office Seal Number: 732473
     Time of Death: 10-02-2017 at 0545 hours

6. Austin William Davis
     Age 29
     Clark County Coroner’s Office Case Number: 17-10066
     Clark County Coroner’s Office Seal Number: 727385
     Time of Death: 10-02-2017 at 0545 hours

7. Stephen Richard Berger
      Age 44
      Clark County Coroner’s Office Case Number: 17-10067
      Clark County Coroner’s Office Seal Number: 732488
      Time of Death: 10-02-2017 at 0545 hours

8. Stacee Ann Etcheber
      Age 50
      Clark County Coroner’s Office Case Number: 17-10068
      Clark County Coroner’s Office Seal Number: 727388
      Time of Death: 10-02-2017 at 0545 hours

9. Christiana Duarte
     Age 22
     Clark County Coroner’s Case Number: 17-10069
     Clark County Coroner’s Seal Number: 732404
     Time of Death: 10-02-2017 at 0545 hours

10. Lisa Romero-Muniz
       Age 48
       Clark County Coroner’s Case Number: 17-10070
       Clark County Coroner’s Seal Number: 732458
       Time of Death: 10-02-2017 at 0545 hours

11. Heather Lorraine Alvarado
      Age 35
      Clark County Coroner’s Office Case Number: 17-10071
      Clark County Coroner’s Office Seal Number: 732423
      Time of Death: 10-02-2017 at 0545 hours


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12. Denise Cohen
      Age 58
      Clark County Coroner’s Case Number: 17-10072
      Clark County Coroner’s Office Seal Number: 732474
      Time of Death: 10-02-2017 at 0545 hours

13. Kurt Allen Von Tillow
      Age 55
      Clark County Coroner’s Office Case Number: 17-10073
      Clark County Coroner’s Office Seal Number: 732489
      Time of Death: 10-02-2017 at 0545 hours

14. Brennan Lee Stewart
       Age 30
       Clark County Coroner’s Case Number: 17-10074
       Clark County Coroner’s Seal Number: 732414
       Time of Death: 10-02-2017 at 0545 hours

15. Derrick Dean Taylor
       Age 56
       Clark County Coroner’s Office Case Number: 17-10075
       Clark County Coroner’s Office Seal Number: 732445
       Time of Death: 10-02-2017 at 0545 hours

16. Kelsey Breanne Meadows
       Age 28
       Clark County Coroner’s Office Case Number: 17-10076
       Clark County Coroner’s Office Seal Number: 732486
       Time of Death: 10-02-2017 at 0545 hours

17. Jennifer Topaz Irvine
       Age 42
       Clark County Coroner’s Office Case Number: 17-10077
       Clark County Coroner’s Office Seal Number: 727384
       Time of Death: 10-02-2017 at 0545 hours

18. William W. Wolfe Jr.
       Age 42
       Clark County Coroner’s Office Case Number: 17-10078
       Clark County Coroner’s Office Seal Number: 732415
       Time of Death: 10-02-2017 at 0545 hours

19. Carly Anne Kreibaum
       Age 33
       Clark County Coroner’s Office Case Number: 17-10079
       Clark County Coroner’s Office Seal Number: 732478
       Time of Death: 10-02-2017 at 0545 hours


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20. Laura Anne Shipp
       Age 50
       Clark County Coroner’s Office Case Number: 17-10080
       Clark County Coroner’s Office Seal Number: 732451
       Time of Death: 10-02-2017 at 0545 hours

21. Carrie Rae Barnette
       Age 34
       Clark County Coroner’s Office Case Number: 17-10085
       Clark County Coroner’s Office Seal Number: 727391
       Time of Death: 10-02-2017 at 0545 hours

22. Jordyn Nicole Rivera
       Age 21
       Clark County Coroner’s Office Case Number: 17-10101
       Clark County Coroner’s Office Seal Number: 732469
       Time of Death: 10-02-2017 at 0545 hours

23. Victor Loyd Link
       Age 55
       Clark County Coroner’s Office Case Number: 17-10102
       Clark County Coroner’s Office Seal Number: 732497
       Time of Death: 10-02-2017 at 0545 hours

24. Candice Ryan Bowers
      Age 40
      Clark County Coroner’s Office Case Number: 17-10103
      Clark County Coroner’s Office Seal Number: 732417
      Time of Death: 10-02-2017 at 0545 hours

25. Jordon Alan McIldoon
       Age 23
       Clark County Coroner’s Office Case Number: 17-10053
       Clark County Coroner’s Office Seal Number: 732487
       Time of Death: 10-02-2017 at 0545 hours

26. Keri Lynn Galvan
       Age 31
       Clark County Coroner’s Office Case Number: 17-10054
       Clark County Coroner’s Office Seal Number: 732499
       Time of Death: 10-02-2017 at 0545 hours

27. Dorene Anderson
      Age 49
      Clark County Coroner’s Office Case Number: 17-10057
      Clark County Coroner’s Office Seal Number: 727313
      Time of Death: 10-02-2017 at 0545 hours


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28. Neysa C. Tonks
      Age 46
      Clark County Coroner’s Office Case Number: 17-10058
      Clark County Coroner’s Office Seal Number: 727306
      Time of Death: 10-02-2017 at 0545 hours

29. Melissa V. Ramirez
      Age 26
      Clark County Coroner’s Office Case Number: 17-10059
      Clark County Coroner’s Office Seal Number: 732407
      Time of Death: 10-02-2017 at 0545 hours

30. Brian Scott Fraser
       Age 39
       Clark County Coroner’s Office Case Number: 17-10056
       Clark County Coroner’s Office Seal Number: 732408
       Time of Death: 10-02-2017 at 0545 hours

31. Tara Ann Roe
       Age 34
       Clark County Coroner’s Office Case Number: 17-10055
       Clark County Coroner’s Office Seal Number: 732441
       Time of Death: 10-02-2017 at 0545 hours

32. Bailey Schweitzer
       Age 20
       Clark County Coroner’s Office Case Number: 17-10051
       Clark County Coroner’s Office Seal Number: 732420
       Time of Death: 10-01-2017 at 2307 hours

33. Patricia Mestas
       Age 67
       Clark County Coroner’s Office Case Number: 17-10049
       Clark County Coroner’s Office Seal Number: 727390
       Time of Death: 10-01-2017 at 2250 hours

34. Jennifer Parks
       Age 36
       Clark County Coroner’s Office Case Number: 17-10052
       Clark County Coroner’s Office Seal Number: 727359
       Time of Death: 10-01-2017 at 2300 hours

35. Angela Gomez
      Age 20
      Clark County Coroner’s Office Case Number: 17-10050
      Clark County Coroner’s Office Seal Number: 732413
      Time of Death: 10-01-2017 at 2253 hours


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36. Denise Burditus
      Age 50
      Clark County Coroner’s Office Case Number: 17-10082
      Clark County Coroner’s Office Seal Number: 731590
      Time of Death: 10-02-2017 at 0047 hours

37. Cameron Robinson
      Age 28
      Clark County Coroner’s Office Case Number: 17-10083
      Clark County Coroner’s Office Seal Number: 732437
      Time of Death: 10-01-2017 at 2301 hours

38. James Melton
      Age 29
      Clark County Coroner’s Office Case Number: 17-10084
      Clark County Coroner’s Office Seal Number: 727311
      Time of Death: 10-01-2017 at 2320 hours

39. Quinton Robbins
      Age 20
      Clark County Coroner’s Office Case Number: 17-10046
      Clark County Coroner’s Office Seal Number: 731535
      Time of Death: 10-01-2017 at 2315 hours

40. Charleston Hartfield
      Age 34
      Clark County Coroner’s Office Case Number: 17-10086
      Clark County Coroner’s Office Seal Number: 727353
      Time of Death: 10-01-2017 at 2230 hours

41. Erick Silva
       Age 21
       Clark County Coroner’s Office Case Number: 17-10087
       Clark County Coroner’s Office Seal Number: 725563
       Time of Death: 10-01-2017 at 2230 hours

42. Teresa Nicol Kimura
       Age 38
       Clark County Coroner’s Office Case Number: 17-10088
       Clark County Coroner’s Office Seal Number: 725567
       Time of Death: 10-01-2017 at 2230 hours

43. Susan Smith
      Age 53
      Clark County Coroner’s Office Case Number: 17-10089
      Clark County Coroner’s Office Seal Number: 725552
      Time of Death: 10-01-2017 at 2230 hours


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44. Dana Leann Gardner
      Age 52
      Clark County Coroner’s Office Case Number: 17-10090
      Clark County Coroner’s Office Seal Number: 725569
      Time of Death: 10-01-2017 at 2250 hours

45. Thomas Day Jr.
      Age 54
      Clark County Coroner’s Office Case Number: 17-10091
      Clark County Coroner’s Office Seal Number: 725591
      Time of Death: 10-01-2017 at 2341 hours

46. John Joseph Phippen
       Age 56
       Clark County Coroner’s Office Case Number: 17-10092
       Clark County Coroner’s Office Seal Number: 725568
       Time of Death: 10-02-2017 at 0244 hours

47. Rachel Kathleen Parker
      Age 33
      Clark County Coroner’s Office Case Number: 17-10093
      Clark County Coroner’s Office Seal Number: 725561
      Time of Death: 10-01-2017 at 2230 hours

48. Sandra Casey
      Age 34
      Clark County Coroner’s Office Case Number: 17-10094
      Clark County Coroner’s Office Seal Number: 725550
      Time of Death: 10-01-2017 at 2230 hours

49. Jessica Klymchuk
       Age 34
       Clark County Coroner’s Office Case Number: 17-10095
       Clark County Coroner’s Office Seal Number: 727322
       Time of Death: 10-01-2017 at 2230

50. Andrea Lee Anna Castilla
      Age 28
      Clark County Coroner’s Office Case Number: 17-10096
      Clark County Coroner’s Office Seal Number: 727381
      Time of Death: 10-01-2017 at 2301 hours

51. Carolyn Lee Parsons
       Age 31
       Clark County Coroner’s Office Case Number: 17-10097
       Clark County Coroner’s Office Seal Number: 727382
       Time of Death: 10-01-2017 at 2300 hours


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52. Michelle Vo
       Age 32
       Clark County Coroner’s Office Case Number: 17-10098
       Clark County Coroner’s Office Seal Number: 727355
       Time of Death: 10-01-2017 at 2244 hours

53. Rocio Guillen
      Age 40
      Clark County Coroner’s Office Case Number: 17-10099
      Clark County Coroner’s Office Seal Number: 732409
      Time of Death: 10-01-2017 at 2318 hours

54. Christopher Hazencomb
      Age 44
      Clark County Coroner’s Office Case Number: 17-10105
      Clark County Coroner’s Office Seal Number: 732444
      Time of Death: 10-02-2017 at 1044 hours

55. Brett Schwanbeck
       Age 61
       Clark County Coroner’s Office Case Number: 17-10081
       Clark County Coroner’s Office Seal Number: 732471
       Time of Death: 10-03-2017 at 1328 hours

56. Rhonda M. LeRocque
      Age 42
      Clark County Coroner’s Office Case Number: 17-10045
      Clark County Coroner’s Office Seal Number: 542385
      Time of Death: 10-02-2017 at 0023 hours

57. Austin Cooper Meyer
      Age 24
      Clark County Coroner’s Office Case Number: 17-10047
      Clark County Coroner’s Office Seal Number: 540045
      Time of Death: 10-01-2017 at 2257 hours

58. Calla-Marie Medig
       Age 28
       Clark County Coroner’s Office Case Number: 17-10048
       Clark County Coroner’s Office Seal Number: 539069
       Time of Death: 10-01-2017 at 2246 hours




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Living Victims

Documenting the living victims in this case has been a work in progress since October 1st. Source
material poured into the LVMPD’s Force Investigation Team (FIT) office post October 1 st and is
still being received.12

LVMPD recognizes that the approximate 22,000 people who attended the Route 91 festival are
all victims. That number does not take into consideration the hundreds and possibly thousands
that were walking along the Las Vegas Strip at the time of the shooting outside the Las Vegas
Village venue. The goal of the FIT team was to document those who actually sustained any type
of physical injury, no matter the degree. As previously stated in the introduction to this report,
this information is vital in order to grant assistance, properly categorize the level of crime and
most importantly, honor those who fell prey to this horrific act of violence.

IV.     SUSPECT

An extensive joint investigation involving the LVMPD and the Federal Bureau of Investigation
(FBI) began immediately after the incident into the life of Paddock. Every facet of Paddock’s life
was explored.

At the time of the incident Paddock was 64 years old. He owned residences in Mesquite and
Reno, Nevada and lived with his girlfriend Marilou Danley. Danley was in the Philippines at the
time of the incident. She left the country on September 14, 2017, and returned on October 3,
2017. Upon arriving in the United States, Danley was interviewed by investigators several times.
Interviews were also conducted with other relatives and acquaintances reference Paddock’s
background.

Danley stated Paddock’s demeanor changed over the course of the last year. According to her,
Paddock had become “distant” and their relationship was no longer intimate. Paddock was
described as “germaphobic” and had strong reactions to smells. Over the course of the last year
Paddock began to buy firearms and Danley believed it was a hobby of his.

During a stay at the Mandalay Bay in the beginning of September 2017, Danley recalled Paddock
behaving strangely. The two were staying in room 60-235 and she observed Paddock constantly
looking out the windows of the room which overlooked the Las Vegas Village venue. Paddock
would move from window to window looking at the site from different angles.

Paddock’s ex-wife, Peggy Reiko Paddock, described Paddock as intelligent and great with
numbers. She further stated he worked as an Internal Revenue Service Agent. Paddock later
worked as an auditor for Lockheed Martin and Boeing. According to her, Paddock began
purchasing real estate properties with his mother and renovating them. Paddock bought and
sold numerous properties throughout the years and, as far as she knew, sold the last property
in 2010.

12 Source material consisted of information from local area hospitals, notes taken by Crime Scene Analysts

who responded to local area hospitals to document the injured, voluntary statements from actual victims and
witnesses, and lastly, incident crime reports filed by hundreds of victims who sustained injury but waited to
travel home to receive medical care. Also included was a separate listing of victims provided by the FBI.

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Paddock made numerous claims to friends and family that he consistently felt ill, in pain or
fatigued. An interview was conducted with a physician in Las Vegas who identified himself as
Paddock’s primary care physician since 2009. He last saw Paddock as a patient on or around
October 2016 for an annual checkup. He recalled the only major ailment Paddock had was a
slip and fall accident at a casino approximately 3 years earlier, which caused a muscle tear.

The physician described Paddock as “odd" in behavior with “little emotion” shown. He believed
Paddock may have had bipolar disorder however, Paddock did not want to discuss that topic
further with him. Paddock also refused anti-depressant medication but accepted prescriptions
for anxiety. He noted Paddock seemed fearful of medications, often refusing to take them. He
did not believe Paddock was abusing any medications.

Most of the people interviewed acknowledged Paddock’s gambling habits. Paddock was known
to gamble tens of thousands of dollars at a time and played at numerous casinos. Paddock was
often given complimentary rooms and meals at the casinos he frequented due to the amount of
money he gambled.

From 1982 through September of 2016, Paddock purchased approximately 29 firearms. These
purchases consisted of handguns, shotguns and one rifle. From October 2016 through
September 2017, Paddock purchased over 55 firearms along with firearm related accessories.
Most of the firearms were rifles of various calibers. With the exception of the revolver, every
firearm recovered in the Mandalay Bay was bought after September 2016.

During the course of the investigation it was learned Paddock had very limited contact with law
enforcement. Paddock was stopped by police on occasion for traffic related offenses receiving
only traffic citations. No arrest history was found for Paddock.

V.      WITNESS INTERVIEWS

The following information was taken from witness statements and compiled into a chronological
description of the events.

On 10-01-2017, LVMPD had 51 personnel assigned to work special events overtime for the
Route 91 Festival. The personnel staffing consisted of one lieutenant, five sergeants, forty-four
officers and one civilian. The event had officers staffed from 1300-0100 hours with officers
arriving and securing at various times.

The specific assignments for the event were West Traffic (1 sergeant, 10 officers), East Traffic
(1 sergeant, 10 officers), Interior Entry / Gates (1 sergeant, 6 officers), Interior Early Squad (1
sergeant, 8 officers), Interior Late Squad (1 sergeant, 8 officers), Event Coordinator (1 officer)
and Command Post (1 officer, 1 civilian). The assignments were supervised by Lieutenant
Spencer who was designated as the Incident Commander for the festival.13



13 Specific officers and assigned locations can be found on the Assignment List, ICS Form 204 for the event.



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At approximately 2118 hours, Mandalay Bay Security Officer Campos was working his normal
duties when he was notified of several HotSOS calls in the 100 Wing tower that he was assigned
to monitor. The standard operating procedure for the Mandalay Bay security staff once an alarm
is received is to call the room and attempt to contact the guest. If there is no answer, a security
officer will be sent to check the door. These HotSOS calls are common and occur numerous
times throughout the day. The security dispatcher will typically close the alarm out once a
security officer is assigned. Security Dispatcher Brett Buck notified Security Officer Campos to
check several HotSOS calls. Room 32-129 was last on his list to check.

Security Officer Campos was on the 30th floor and en-route to room 32-129 via the stairwell
located at the north end of the 100 wing. Security Officer Campos attempted to enter the hallway
of the 32nd floor through the small foyer and discovered the door was locked. The doors are
always open due the stairwell being a fire escape and county codes require they remain
unlocked at all times. The door has a handle but no locking mechanism.

Security Officer Campos stated he walked down the stairwell to the 31st floor, entered the hallway
and walked to the Center Core. He used the guest elevator to go to the 32 nd floor. Video
surveillance showed Security Officer Campos actually went to the 33rd floor, then took a guest
elevator down to the 32nd floor.

Security Officer Campos proceeded directly to the end of the 100 wing hallway, opened the inner
door of the foyer entrance to the stairwell and observed the “L” bracket screwed into the door
frame and door that opens into the stairwell. He realized this is what kept the door secured.
Security Officer Campos utilized the house phone mounted inside the foyer to notify the security
dispatcher of the bracket. The security dispatcher passed the call to the engineering section.

Security Officer Campos hung up the phone, heard what he described as a loud rapid drilling
sound coming from room 32-135. He recalled the drilling sounded like it was coming from deep
inside the room.

While walking toward the Center Core, Security Officer Campos heard gunfire coming from room
32-135 and ran down the hallway. Security Officer Campos realized he was shot in his left calf
as he took cover in the alcove of rooms 32-122 and 32-124. Using both his radio and cell phone,
Security Officer Campos advised the security dispatcher he had been shot in the leg with a BB
/ Pellet gun and was injured. He stayed in this position on the phone with the dispatcher while
waiting for help. Security Officer Campos heard more gunshots coming from inside 32-135, but
no rounds were coming down the hallway.

As country music singer Jason Aldean performed on stage, LVMPD officers working the interior
of the event heard what they described as fireworks going off. Officer Hutchason and Special
Events Coordinator Rodriquez, who were in the Command Post with security personnel, used
the video monitors to look for the source of the noise. Upon recognizing the source of the noise
to be gunfire, Coordinator Rodriguez directed all officers to change their radios to the CCAC
radio channel. Coordinator Rodriguez monitored both the Events radio channel and CCAC radio
channel throughout the incident.




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LVMPD officers inside the Las Vegas Village recognized the sounds were coming from the
southwest. Part of the crowd started to move towards the exits. Shortly after hearing the initial
gunfire, LVMPD officers heard the first long burst of what they described as automatic gunfire.
Once officers recognized the sound to be gunfire, they immediately searched for the gunman.

Security personnel along with LVMPD officers were in the security office of Mandalay Bay with
two females being detained for trespass. They became aware via the radio of an active shooter
call. Security Manager Oelke headed towards the Luxor side of the property when another call
came over the radio that a security officer14 had been shot with a pellet gun in the tower of the
Mandalay Bay.

Security Manager Oelke ran to the Center Core guest elevators of the Mandalay Bay and met
with Security Managers Sottile, Umstott and LVMPD Officers Hendrex and Varsin. As they
arrived at the elevators, Engineering Supervisor Shannon Alsbury was holding the elevator door
open. Engineer Alsbury was using a key to lock out the elevator and keep it from being stopped
by guests trying to get on. There was conflicting information on the exact location of the
shooter(s) whether it was on the 31st, 32nd, or the 33rd floors. While on the elevator they decided
to check all three floors.

As the door opened on the 31st floor, Security Managers Oelke and Umstott and LVMPD Officers
Hendrex and Varsin exited and walked up the 100 wing upon hearing gunshots coming from an
unknown direction. Security Manager Sottile and Engineer Alsbury continued to the 32nd floor
on the elevator.

At the Las Vegas Village, LMVPD officers observed the crowd move away from the southwest
portion of the venue. They believed an active shooter was in that area. As officers moved toward
the stage they heard several more bursts of gunfire. Officers directed citizens to get on the
ground as they looked for a gunman. As officers moved through the crowd, they observed
several citizens wounded and deceased. Officer Polion advised LVMPD Dispatch of shots fired
and multiple casualties. The radio traffic was accidently broadcast on SEAC radio channel.

Officers assigned to the venue near Reno Avenue and Las Vegas Boulevard began to move
south along the Boulevard. They believed the gunfire was coming from the south end of Las
Vegas Village. As they moved southbound, officers directed civilians away from the area. The
officers received direct gunfire and took cover behind a wall as bullets impacted around them.
Between bursts of gunfire, officers continued to assist evacuating civilians and administering first
aid to the wounded.

Officers assigned to the venue near Mandalay Bay Drive and Las Vegas Boulevard heard the
initial gunshots followed by a long burst of gunfire. Detective Balonek, who was on Mandalay
Bay Drive east of Las Vegas Boulevard, believed the gunfire was coming from inside the Las
Vegas Village, or from an elevated position. He retrieved his binoculars from his vehicle and
scanned the north facing tower of Mandalay Bay. Approximately three-quarters of the way up
the tower on the north end, Detective Balonek observed a silhouette of a male standing in a
shooting position several feet back from a window. Detective Balonek could see the smoke from
the male shooting, however, no muzzle flashes were observed. Detective Balonek could not get
14 Security Officer Campos



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on the radio so he switched to the Northeast Area Command channel and broadcasted the
shooters location.

At the same time inside Mandalay Bay, Engineer Schuck was in room 62-207 working on a leak
when he was directed by his radio dispatcher and supervisor to respond to the 32nd floor stairwell
in the 100 wing to remove the “L” bracket that Security Officer Campos had called and reported.
Engineer Schuck utilized the 200 wing service elevator to go down to the 32nd floor. He gathered
his drill and other small tools needed to remove the bracket and walked through the Center Core
from the 200 wing to the 100 wing. Engineer Schuck walked approximately one third of the way
up the hallway when he observed Security Officer Campos poke his head into the hallway from
a space between two rooms on Engineer Schuck’s right hand side.

Engineer Schuck heard the sound of rapid gunfire coming from the end of the hallway. Security
Officer Campos looked out from his position and yelled for Engineer Schuck to take cover.
Engineer Schuck immediately took a step to his left into the alcove between two rooms. Gunfire
erupted down the hallway towards his direction. Engineer Schuck felt the concussion of the
rounds pass by where he was taking cover. An unknown object struck him in his back without
causing serious injuries other than a small bruise. Engineer Schuck also stated he could see
blood coming from Security Officer Campos’ calf area.

Below on the 31st floor, LVMPD Officers Varsin and Hendrex along with Security Managers
Oelke and Umstott walked up the 100 wing when they heard gunfire coming from the 32nd floor.
They moved to the stairwell at the end of the hall. As they got closer to the stairwell, the gunfire
continued and they smelled gunpowder. They entered the 100 wing stairwell and proceeded up
to the door of the 32nd floor. They posted up to block any possible escape by the shooter.

Detective Clarkson, assigned to the event in uniform, was on Las Vegas Boulevard north of
Mandalay Bay Drive when he heard the initial shots and radio traffic advising of multiple
casualties inside of the Las Vegas Village. Detective Clarkson and other officers took cover and
began searching for the shooter believing the shots were coming from the west. As patrol cars
and a prisoner transport van arrived at the intersection, Detective Clarkson and other officers
moved towards the vehicles for cover with the intention to move to Mandalay Bay.

CCAC patrol officers responded to the scene to assist. Officers Cook and Haynes arrived near
Las Vegas Boulevard and Mandalay Bay Drive and parked their patrol vehicle. Officers Cook
and Haynes moved towards the group that Detective Clarkson was with.

As the officers moved behind the patrol vehicles, they started receiving direct gunfire which
impacted the ground and patrol vehicles around them. Detective Clarkson received a gunshot
wound to the neck while taking cover behind a patrol vehicle. Officer Cook was struck by a bullet
in his right bicep that continued into his chest.

While behind the vehicles, the officers realized the gunfire was coming from an elevated position
and was directed at the patrol vehicles. During breaks in the gunfire, officers moved in teams of
two from the patrol vehicle to a block wall for better cover. Detective Clarkson and Officer Cook
were both transported to the hospitals by separate LVMPD vehicles.



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As the gunfire continued, officers inside the event moved through the Las Vegas Village and
provided direction for people trying to exit. This included the actions of Officer Hartfield who was
attending the concert in an off-duty capacity and was mortally wounded while taking police
action. Officers located wounded persons and began first aid measures and coordinated medical
efforts with off-duty medical personnel who were attending the concert.

Officers also directed people to the exits and towards positions of cover and concealment.
Exterior officers on the east side of the Las Vegas Village were swarmed by people as they fled
the gunfire. Officers directed them to continue east and north as they recognized the gunfire was
coming from Mandalay Bay. As officers began to encounter wounded civilians, casualty
collection points were set up and first aid was rendered. Officers assisted in getting the wounded
to hospitals via ambulances, private vehicles and patrol cars.

Exterior officers on the west side of the Las Vegas Village along Las Vegas Boulevard
encountered people as they fled the venue. Officers knew the gunfire was coming from Mandalay
Bay and directed people to stay behind cover and move to the north, away from gunfire. Officers
encountered several wounded people and provided first aid until they could be taken to medical
personnel. As officers moved south they formed Strike Teams and moved towards Mandalay
Bay.

Sergeants Richmond, Riddle, and Van Nest each formed Strike Teams from overtime officers
and patrol officers responding to the venue. The Strike Teams moved west across Las Vegas
Boulevard and into the parking lot of the Luxor Hotel, then south onto the Mandalay Bay property.
Upon entering Mandalay Bay, Strike Teams coordinated efforts with other LVMPD officers and
security personnel already inside the casino.

As Strike Teams entered the hotel through the main valet, they met hotel security and were
directed to the Center Core guest elevators. Each group was given information the shooter was
possibly on the 29th or 31st floors and taken there by elevator. After each group of officers were
taken to the upper floors, they instructed the hotel security guards to lock out the elevators. A
Strike Team, which included two SWAT officers, was taken to the Foundation Room located on
the top floor. Once inside the bar, officers began to move occupants to a safe location and clear
the bar.

On the 32nd floor, Security Officer Campos and Engineer Schuck were still pinned down in the
hallway. Engineer Schuck heard another round of rapid gunfire and believed it was being fired
towards the outside of the building. During a small break in the gunfire, Engineer Schuck and
Security Officer Campos ran from their position back towards the Center Core. Engineer Schuck
was checked for injuries by Engineer Alsbury who arrived on the 32nd floor with armed Mandalay
Bay Security Officers. Engineer Schuck stated the gunfire continued for several more long rapid
fire volleys with short breaks between volleys. He described the breaks in fire lasting only 5-6
seconds before the gunfire would continue.

As LVMPD officers arrived on the 32nd Floor, they proceeded up the 300 wing, officers made
entry into rooms and searched for occupants. Engineer Schuck redirected the officers to the 100
wing where the shooting had been coming from. The sound of gunfire had ceased so the officers
conducted slow and methodical evacuations as they moved up the hallway.


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After hearing the update of the shooters location, SWAT Officer O’Donnell and two patrol officers
left the group clearing the Foundation Room and responded to the 32nd floor. Upon exiting the
elevator, they encountered several officers already on the floor. The officers were moving up the
hallway towards the suspect’s room.

Engineer Shuck locked out the elevators to keep guests from ascending the tower.

Police personnel on the 32nd floor included a sergeant, SWAT officer, and patrol officers from
the Las Vegas Village and responding officers from various area commands. As occupants were
evacuated from their rooms, they were moved to the elevator bank and down the tower. Officers
discovered a small infant alone in one of the rooms. As evacuations continued, the nanny for
the infant was located in a room across the hall and reunited with the child. The officers stopped
evacuations approximately two thirds of the way up the hall.

At the Las Vegas Village, people who were hiding in multiple locations were evacuated. Officers
located several people hiding underneath the concert stage and inside tour buses located next
to the stage. Additional teams of officers arrived and swept the remaining areas of the Las Vegas
Village. Once evacuations were completed, the scene was secured around the Las Vegas
Village.

SWAT Officer Hancock, along with K9 Sergeant Bitsko and K9 Officer Newton went to the 31st
floor and came up the stairs to the 32nd floor. At the door, they met with LVMPD Officers Hendrex
and Varsin and Mandalay Bay security personnel. Officer Hancock attempted to open the first
of two doors to enter the hallway but could not due to the “L” bracket described earlier.

After the Strike Team arrived in the stairwell, SWAT Officer Hancock and K9 Sergeant Bitsko
manually breached the inner door leading to the foyer of the 32nd floor. From the foyer, the door
was cracked open enough to see the doors to rooms 32-135 and 32-134. Both doors were closed
and a room service cart was located in front of room 32-134. A white table cloth was draped over
the service cart with various items on top of the table cloth. Officers observed wires leading from
the service cart to room 32-134 and believed the suspect may have set some type of improvised
explosive device.

A decision was made to enter room 32-135 utilizing an explosive breach. Officers in the stairwell
notified the officers in the hallway that an explosive breach would be utilized. Over the radio they
became aware of the extent of injuries inside the Las Vegas Village. No gunfire had been heard
from the suspect’s room for approximately 40 minutes. It was decided entry was necessary to
the room to determine if the suspect was still inside and to stop any further shooting from the
room. SWAT Lieutenant Huddler was advised by SWAT Officer Hancock that the door to room
32-135 was going to be breached using explosives. K9 Officer Newton stepped into the hallway
and utilized a ballistic shield to provide cover for SWAT Officer Hancock as he set the breach on
the door while K9 Sergeant Bitsko covered the door to 32-134. K9 Sergeant Bitsko observed a
camera on the food cart in the hallway. He covered the camera, and turned it away from the
doorway while Officer Hancock hung the explosive on the door to room 32-135. Once the charge
was hung on the door, the officers returned to the stairwell.




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The approval for the breach was given by SWAT Lieutenant Huddler. The officers were notified
over the radio, the door to room 32-135 was going to be breached and to take cover. K9 Sergeant
Bitsko utilized the ballistic shield to keep the door from the foyer to the hallway open in case the
explosion damaged it. SWAT Officer Hancock observed approximately 12 officers now in the
stairwell behind him. He designated those that would be making entry into the suspect’s room
and others would be the downed officer rescue unit if needed.

The entry team consisted of K9 Sergeant Bitsko, K9 Officer Newton, SWAT Officer Hancock,
Officers Donaldson, Trzpis and Walford. Officers Burns and Thiele were assigned to post at the
door upon the team’s entry to guard the hallway. The explosive breach was made into room 32-
135 and broadcasted over the radio. The officers opened the stairwell door enough to see the
doorway to 32-135 and observed the breach was successful and the door was open into the
room. Inside the room, they observed a rifle with a scope and bipod on the floor just inside the
door. The officers waited for approximately 30 seconds before leaving the stairwell to see if there
was any reaction from Paddock.

Moving slowly and methodically, K9 Officer Newton entered first into the hallway with the shield
followed by the officers from stairwell. SWAT Officer O’Donnell and Officer Magsaysay joined
the Strike Team as they entered Paddock’s room.

From behind the shield, the Strike Team made entry into room 32-135. The team split into 2
teams as they entered. Team 1 went left into a bedroom and cleared it. Team 2 went to the right
and yelled Paddock was down. After clearing the bedroom, Team 1 held at the doorway into the
main living area of the room.

Team 2 encountered Paddock lying on the floor on his back. A small frame revolver was
observed on the ground above Paddock’s head. Apparent blood was located on the revolver
and a pool of blood had formed around Paddocks head. The officers believed Paddock had a
self-inflicted gunshot wound. The large window at Paddock’s feet was broken out and the curtain
was blowing into the room. On the floor next to the Paddock’s feet was a small sledge hammer
and Paddock was laying on top of a rifle. The officers also observed several more rifles, spent
ammunition throughout the living area, and several loaded magazines.

Team 2 continued through the living area to the right and encountered a closed, locked
connecting door leading to the adjoining room 32-134. Team 1 moved through the living space
up to Team 2 near the closed connector door. SWAT Officer Hancock and Officer Walford
attempted to kick the door open but determined it was a solid wood door inside a metal frame.
It was decided a second explosive breach was needed to gain entry into the adjoining room.

SWAT Officer Hancock breached the door. Immediately following the explosive breach, SWAT
Officer O’Donnell, had one negligent discharge of a three round burst from his rifle. Officers in
the hallway heard the shots fired and broadcasted shots had been fired inside the room. Officers
flooded into room 32-134 through the breached adjoining connector door.

As room 32-134 was cleared, several rifles were found inside the room. A small hallway
separated the main area of the room from the bathroom and main door. Another food service
cart draped in a white table cloth was in this hallway. On the cart was a laptop computer which


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was on and the monitor showed a live feed of the hallway where the officers had come from.
Inside the room, one of the large windows was also broken out.

A complete recheck of the rooms was made to ensure a person was not hiding under any
furniture. Several suitcases were observed throughout the rooms. Many of the suitcases
contained several loaded magazines. Officers also observed a camera attached to the peephole
on the main door of room 32-135. Once the recheck was completed, the SWAT and K9 officers
left the room due to reports of other shootings at other locations.

Sergeant Matchko was in the hallway and entered the rooms once they were cleared. Along with
officers still in the room, Sergeant Matchko secured the crime scene. Sergeant Matchko was
contacted by the command post and advised to attempt to locate any information reference
Paddock. Sergeant Matchko directed officers to look throughout the room in an attempt to locate
any cell phones or identification for Paddock. Identification and cellular phones were located, as
well as several room keys and player cards with Paddock and Danley’s name on it. Pictures of
the items were taken and sent to the command post as ordered. The officers also rolled Paddock
onto his side to check for identification but found none. After the search for identification was
completed, the officers exited and secured the room.

As officers cleared the Las Vegas Village, multiple reports of active shooters along Las Vegas
Boulevard at various hotel properties were broadcasted. Several officers from the exterior Las
Vegas Village posts joined Strike Teams and left to address those reports. As the active shooter
reports were cleared and determined to be unfounded, officers assigned to the Las Vegas Village
responded back to the command post for reassignment.

Officers assigned to the Las Vegas Village remained on post until they were relieved the next
morning. Officers maintained the security of the Las Vegas Village and the 32nd floor of the
Mandalay Bay crime scene as detectives and Crime Scene Analysts responded and began the
investigation.

VI.    SCENE DESCRIPTIONS

Route 91 Venue

Responsibility for documenting the venue scene was transferred from the LVMPD Homicide
Section to the FBI Evidence Recovery Team on October 2, 2017 at approximately 1445 hours.
The following scene description of the Las Vegas Village venue was authored by the LVMPD
Homicide Section.

The Route 91 Harvest Festival was an open air music event held at the Las Vegas Village. The
festival was dimly lit with street lights, variable stage lighting and lights from temporary light
stands on the perimeter. There was a chain link fence, with dark netting surrounding the entire
venue. On the west perimeter of the venue there was a decorative concrete block wall between
Las Vegas Boulevard South and the chain link fencing. This wall ran nearly the entire length of
the west side of the venue, from East Mandalay Bay Road to East Reno Avenue.




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The surface of the venue consisted of black asphalt, with defined seating areas covered with
artificial grass on both the northwest and south ends of the venue and vendors throughout. The
northwest artificial grass area was used for lawn chair seating. The large artificial grass areas
on the southern end was surrounded by seating, food vendors and portable bathrooms. A large
seating area with elevated bleachers and a covered VIP area was oriented near the southwest
corner of the venue. Four (4) pedestrian gates ran along the west side of the venue.

The Coca-Cola suites, additional seating areas, vendors, the medical tent and three (3)
pedestrian gates were located on the east side of the venue. The event’s Command Post (CP),
a television broadcast tent and one (1) pedestrian gate were oriented on the north end of the
venue.

The main stage was oriented on the south side of the venue. The main stage was covered by
green roofing and the sides were covered with black mesh. The main stage viewing area was
located in the southern portion of the venue, north of the main stage and was divided into two
(2) seating areas by metal pedestrian fencing. The fencing ran from a production tent, located in
the center of the viewing area, and eventually encompassed the main stage. In addition to the
fencing separating the east and west side grass areas, the production tent and vendors, helped
to define the two (2) areas. Production vehicles, concert buses, and trailers were oriented south
of the main stage.

Location and Description of the Bodies

A total of thirty one (31) bodies were located, documented, and eventually recovered from the
inside of the venue and on the exterior perimeter. Clark County Coroner Investigators responded
and assisted the LVMPD Homicide Detectives and Crime Scene Analysts conduct the
preliminary death investigations. Each victim was given an individual Clark County Coroner’s
Case and Seal Number. The time of death was determined to be 0545 hours for those recovered
from the venue and exterior perimeter. Davis Funeral Home responded and transported the
deceased to the CCOCME for a complete examination.




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1. Jack Reginald Beaton
2. Christopher Louis Roybal
3. Lisa Marie Patterson
4. Adrian Allan Murfitt
5. Hannah Lassette Ahlers
6. Austin William Davis
7. Stephen Richard Berger
8. Stacee Ann Etcheber
9. Christiana Duarte
10. Lisa Romero-Muniz
11. Heather Lorraine Alvarado
12. Denise Cohen
13. Kurt Allen Von Tillow
14. Brennan Lee Stewart
15. Derrick Dean Taylor
16. Kelsey Breanne Meadows
17. Jennifer Topaz Irvine
18. William W. Wolfe Jr.
19. Carly Anne Kreibaum
20. Laura Anne Shipp

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Four (4) bodies were located and recovered near the medical tent in the northeast portion of the
venue.

21. Carrie Rae Barnette
22. Jordyn Nicole Rivera
23. Victor Loyd Link
24. Candice Ryan Bowers

Seven additional victims were located and recovered from the exterior perimeter. Their body
positions and locations suggested they had been placed at these locations. The descriptions of
their injuries were obtained from the Clark County Coroner Investigator and the photographs
taken by an LVMPD Crime Scene Analyst.




25. Jordon Alan McIldoon
26. Keri Lynn Galvan
27. Dorene Anderson
28. Neysa C. Tonks
29. Melissa V. Ramirez
30. Brian Scott Fraser
31. Tara Ann Roe

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The remaining victims were transported to various hospitals throughout the greater Las Vegas
valley and pronounced deceased at their respective locations. Clark County Coroner
Investigators responded and assisted the LVMPD Crime Scene Analyst with documentation of
the decedents’ injuries. Each victim was given an individual Clark County Coroner’s Case and
Seal Number. The time of death was determined by the treating physicians. Davis and Hites
Funeral Home Services transported all victims from the hospital to the CCOCME for a complete
examination. The descriptions of their injuries were obtained from photographs taken by LVMPD
Crime Scene Analyst.

DESERT SPRINGS HOSPITAL

32. Bailey Schweitzer
33. Patricia Mestas
34. Jennifer Parks
35. Angela Gomez

SPRING VALLEY HOSPITAL

36. Denise Burditus
37. Cameron Robinson
38. James Melton

VALLEY HOSPITAL

39. Quinton Robbins

SUNRISE HOSPITAL

40. Charleston Hartfield
41. Erick Silva
42. Teresa Nicol Kimura
43. Susan Smith
44. Dana Leann Gardner
45. Thomas Day Jr.
46. John Joseph Phippen
47. Rachel Kathleen Parker
48. Sandra Casey
49. Jessica Klymchuk
50. Andrea Lee Anna Castilla
51. Carolyn Lee Parsons
52. Michelle Vo
53. Rocio Guillen
54. Christopher Hazencomb
55. Brett Schwanbeck


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UMC HOSPITAL

56. Rhonda M. LeRocque
57. Austin Cooper Meyer
58. Calla-Marie Medig


Mandalay Bay 32nd Floor




Scene

The scene was located in the 100-wing of the 32nd floor of the Mandalay Bay. The 100-wing
consisted of a north-south oriented hallway with even numbered rooms on the east side and odd
numbered rooms on the west side. The rooms ranged in number from 32-101 to 32-135. Room
32-135 was at the far north end of the 100-wing with south facing double entry doors. Room 32-
134 was at the north end of the 100-wing and was a connecting room to 32-135. Room 32-134
was east of the entry to 32-135, with a single entry door that faced west. A door leading to a
foyer room which led to the stairs was at the north end of the hallway, west of the entry to 32-
135, with a single entry door that faced east.




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100-Wing Hallway

The hallway consisted of alcoves containing access to four rooms, two rooms on the east side
of the hallway and two rooms on the west side of the hallway, with a segment of the hallway
between each alcove. Each alcove had a ceiling mounted light with two light shades, an exterior
blue shade and an interior white shade, as well as a light sconce on the walls between the doors.

Decorative molding was mounted to the walls the entire length of the hallway. There were
numerous bullet fragments throughout the hallway floor, from the north side of the alcove of
rooms 32-101 through 32-104 to the alcove of 32-133 through 32-135.

A room service cart containing numerous plates, food items, and silverware was on the east side
of the hallway, in front of room 32-134. A black "Logitech" camera with connected wires was on
top of the cart, at the south end. The camera was positioned in a south direction (down the
hallway) and taped to a plate. A white camera with connected wires was attached to the lower
portion of the cart, at the north end. The camera was positioned in a south direction (down the
hallway). Wires from both of the above described cameras went under the door and into room
32-134.

Room 32-135

Room 32-135 was a hotel suite located at the far north end of the hallway with south facing
double entry doors. The east door had two bullet holes above the door handle. The bullets
traveled north to south, entering the interior side of the door and exiting the exterior (hallway). A
camera was taped to the interior side of the east door inserted into the peephole. A hole was
partially drilled into the bottom of the south wall, east of the entry doors. The west door was
damaged (occurred during the explosive breach) and unattached to the door frame. The door
was lying on the floor inside of the suite. There were bullet holes in the west door, with the bullets
traveling north to south, entering the interior side and exiting the exterior (hallway).

The suite consisted of a south foyer room, a west bedroom (master bedroom) with attached
bathroom, and a north sitting area, a central bar/kitchenette, and a second bathroom east of the
central bar/kitchenette. A southeast living room which contained a couch, chairs, an
entertainment center/cabinet and a wall mounted TV. A connecting door which led to room 32-
134 was located southeast of the living room on the south wall. The entire north end of the suite
consisted of floor to ceiling windows.

Foyer Inside Room 32-135

The foyer had a table along the west wall. There was a white "Babysense" camera pointed in
the direction of the front entry doors at the south end of the table, and a black mini refrigerator
at the north end with a white styrofoam cooler on top. There were casings scattered on the floor
of the foyer, and on the table along the west wall. A black rifle with the muzzle pointed south,
was at the northeast portion of the foyer on the floor.




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An east-west hallway extended from the east side of the foyer. A black rifle on a bipod with the
muzzle pointed west, and a drill bit partially covered by a white towel were at the west end of the
hallway on the floor.

West Bedroom (Master Bedroom)

The bedroom was located west of the sitting area. There were east facing double entry doors
located northwest of the foyer in the west wall of the sitting area. The room had a desk with a
chair along the north wall, just inside the entry doors. There were tools on the desk and the chair.
A trashcan was on the floor east of the desk that had numerous empty ammunition boxes inside.
There was also a white bag on the floor that had empty ammunition boxes inside as well as a
broken Dell laptop computer. Two boxes containing empty ammunition boxes were on the floor
behind the entry doors.

A pillar was west of the desk. An empty red gym bag and an "Anran" home security system box
were on the floor west of the pillar. A chaise lounge was along the south wall with an open
suitcase containing clothing inside and a drill on top. There were chargers plugged into the south
wall, west of the chaise lounge.

The bed was along the south wall with nightstands on either side. The following items were
located on the bed: a Dell laptop computer, a passport in the name of "Stephen Paddock", four
Home Depot gift cards, a checkbook, and a cash out voucher for the Palms Casino dated
8/28/17. There were three suitcases west of the bed: two of which were empty and one had
clothing inside. A television was on a dresser to the north of the bed. There were drill bits and
tools on the top of the dresser. Eight empty rifle magazines were on the floor below the west end
of the dresser. An open suitcase with a tool box inside was east of the dresser. A closet was in
the wall east of the bed with a single shirt and a white bathrobe hanging inside.

The attached southeast bathroom had a tub along the north wall with two glass vacuum suction
holders on top of the tub ledge, a sink counter along the south wall with toiletries to include a
prescription for "Diazepam 10 MG" in the name of "Steve Paddock", and two inhalers. The toilet
room was to the east with a pair of boxers and a pair of shoes on the floor.

Sitting Area

The sitting area was north of the foyer. Floor to ceiling windows covered by curtains extended
along the length of the north end of the suite. There was a couch along the north side of the
room, a coffee table south of the couch, and two chairs pushed together (facing one another)
south of the coffee table. Pillars were located along the north wall near the northwest corner and
along the north wall near the northeast corner of the sitting area, at the northwest corner of the
living room.

A rifle magazine was between the west and central couch cushions of the north couch. The
coffee table was covered by white towels. A rifle and an empty rifle magazine were on the coffee
table. There were four rifles sitting on the pushed together chairs and a rifle magazine on the
north arm of the east chair. One rifle was on the floor east of the chairs. There were two suitcases



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on the floor east of the coffee table containing numerous loaded rifle magazines. An empty rifle
magazine was on the floor, east of the suitcases.

There was a stack of 14 loaded rifle magazines on the west side of the northeast pillar. A blue
plastic tube with a snorkel mouthpiece attached with green tape to the east end and a black
funnel with a fan inside at the west end extended from the east side of the suitcases, across the
coffee table, to the west side of the room, adjacent to the doors of the west bedroom.

A chair facing south, with a side table to the east, were at the west end along the northeast bank
of windows. The window located immediately east of the northwest pillar was shattered with
glass on the floor below it. Numerous casings were on the floor at the base of the window, south
into the room, and on the seat of the chair. A blue and yellow "Estwing" hammer was on the floor
at the east side of the northeast pillar, south of the broken window. The head of the hammer had
tape wrapped around it. The curtains in place over the broken window were damaged. Two rifles
with bipods were on the floor south of the chair.

A high top table was centrally located along the northeast bank of windows with a loaded rifle
magazine on the southeast end of the table. An open suitcase was on the floor south of the table
with numerous loaded rifle magazines inside. A rifle with a bipod was on the floor southeast of
the table. There were casings on the floor surrounding the table.

Decedent Stephen Paddock

Paddock was on the floor south of the chair and side table. He was wearing black pants, a long
sleeve brown shirt, black gloves, and grey shoes. Paddock was on his back with his head to the
south, feet to the north, and arms at his sides. There was apparent blood surrounding his nose
and mouth, and on the floor under his head. There was also apparent blood on the front of his
shirt. A rifle was on the floor under his legs. A grey box cutter was on the floor between his feet.
There were casings on the floor surrounding him. A silver/black colored "Smith & Wesson"
revolver with apparent blood on it was on the floor south of Paddock's head.

Bar/Kitchenette

The central bar/kitchenette was south of the sitting area east of the foyer and north of the east-
west hallway. There was a north bar counter (east-west orientation) with three chairs on the
north side of the counter. There were three rifles on the floor north of the west end of the counter
with a backpack under them. One rifle was on the seat of the westernmost chair; one rifle was
on the seat of the easternmost chair; and one rifle was located on the west end of the bar counter.
An empty silver colored rolling case was on the floor north of the counter, at the east end. A
Luxor sticker and a "29" sticker were on the back of the case.

At the west end of the bar counter was an "Anran" monitor with a video feed to the previously
described camera on the lower portion of the room service cart in the hallway, a laptop computer,
which provided a live feed to the camera attached to the peephole of the door, and a Samsung
cell phone in a black case.




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Centrally located on the bar counter were bank cards and other cards in the name of "Stephen
Paddock" and room key card packets. At the east end of the bar counter was a black holster, a
black glove, binoculars, blue hat, brown wallet, tape roll, credit cards and a Nevada ID in the
name of "Stephen Paddock", a Player's card in the name of "Marilou Danley", valet ticket, a
notepad with "unplug phones" written on it, and a white handheld monitor, as well as a black
ZTE cell phone with the front and back cameras covered with tape and a Samsung Galaxy S6
active in a black case.

At the southwest corner of the bar was a sink. There were two loaded rifle magazines and a
"Tundra” fire extinguisher on the sink counter.

Living Room

The southeast living room was east of the bar/kitchenette at the east end of the east-west
hallway. There was a television mounted on the south wall with an entertainment center/cabinet
below, a couch to the north and east, and an orange chair to the west. The couch cushions were
off of the east couch and piled on the north couch and on the floor. A table was along the north
side of the north couch with four chairs.

A side table was west of the north couch. A "Meade" spotting scope was on the floor north of the
side table. A pink piece of paper with written measurements on one side was on the floor west
of the east couch.15

An open black suitcase containing soft rifle cases inside was on the floor north of the cabinet.
There were three casings on the floor west of the side table and at the east end of the east-west
hallway.16

There was a bullet hole through the east arm of the orange chair; two bullet holes into the cabinet
along the south wall; and one bullet hole into the south wall, between the entertainment
center/cabinet and the connecting door to 32-134.17

There were two suitcases along the west wall. A blue large bag with numerous towels, soft rifle
cases, and scope covers inside were also along the west wall.

Room 32-134

Room 32-134 was a single connecting hotel room, south of 32-135. The connecting door was
located at the south end of room 32-135 in the southwest corner of the southeast living room.
There was damage to the south adjoining door frame18and the damaged door was on the floor
inside room 32-134. The main entry door to the room was west facing, accessing the hallway. A
room service cart with an open laptop computer on the east end was in the entry hallway, east

15 This was the same note originally located on the table near Paddock’s body. The wind blew it off of the

table to this location.
16 These casings came from the SWAT Officer’s rifle.
17 These bullet holes came from the SWAT Officer’s rifle.


18 Occurred during the second explosive breach



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of the entry door. There were wires connected from the laptop that ran under the entry door.
There was a video feed visible on the laptop of the hallway looking south from the previously
described black "Logitech" camera attached to the hallway room service cart.

The room was furnished with two beds with a nightstand in between along the south wall, a desk,
dresser, and chair along the north wall, a television mounted on the north wall, and floor to ceiling
windows on the east. The southernmost window was shattered with glass on the floor below it.
There were nine loaded rifle magazines on top of the dresser. The dresser drawers were open
and the bottom was broken. There were three rifles with bipods on the east bed and several
casings. One cartridge case was on the floor west of the east bed. There were two rifles on the
west bed, one of which was a bolt action. A pair of black gloves was on the west side of the west
bed. A pair of tan sandals were on the floor north of the west bed. A bullet hole was in the north
wall corresponding with a hole in the south wall of the living room, and one bullet hole was in the
comforter at the north end of the east bed.

There were two closets along the west wall with the door to the attached southwest bathroom.
The bathroom had a sink counter along the south side and tub to the north. Clothing was on the
floor under the sink counter along with a trashcan. There was a snorkel tube located inside the
trashcan.

VII.   EVIDENCE RECOVERY

Physical Evidence

During the course of the investigation, several items of evidentiary value were located and
impounded by LVMPD Crime Scene Analysts and FBI Evidence Recovery Team. The following
is a summary of key pieces of evidence located during searches of multiple locations.

Picture numbers listed below correspond with pictures attached in Appendix A of this report.

Mandalay Bay Location

 32nd Floor – 100 Wing – Stairwell Foyer Room (Picture 1)
 Metal “L” bracket with three screws securing it to the interior door/frame.

 32nd Floor – 100 Wing Hallway (Pictures 2-4)
 Two surveillance cameras from room service cart outside room 32-134.
 Bullet fragments

 32nd Floor – Room 32-135 – Main Room (Pictures 5-17)
 Make          Model        Serial Number       Description
 Colt          M4 Carbine   LE451984            AR-15 .223/5.56 with a bump stock,
                                                vertical fore grip and 100 round
                                                magazine. Front sight only.
 Noveske       N4           B15993              AR-15 .223/5.56 with a bump stock,
                                                vertical fore grip and 40 round
                                                magazine. EOTech optic.

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LWRC         M61C            24-18648              AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. No sights or optics.
POF USA        P-308            UA-1600204         AR-10 .308/7.62 with a bipod, scope and
                                                   25 round magazine.
Christensen CA-15               CA04625            AR-15 .223 Wylde with a bump stock,
Arms                                               vertical fore grip and 100 round
                                                   magazine. No sights or optics.
POF USA        P-15             PE-1600179         AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. No sights or optics.
Colt           Competition      CCR014544          AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. No sights or optics.
Smith          342 AirLite Ti CDZ7618              .38 caliber revolver with 4 cartridges, 1
& Wesson                                           expended cartridge case.
LWRC           M61C             5P03902            AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. EOTech optic.
FNH            FM15             FND000905          AR-10 .308/7.62 with a bipod, scope and
                                                   25 round magazine.
Daniel         DD5V1            DD5007426          AR-10 .308/7.62 with a bipod, scope and
Defense                                            25 round magazine.
FNH            FN15             FNB024293          AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. EOTech optic.
POF USA        P15              03E-1603178        AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. EOTech optic.
Colt           M4 Carbine       LE564124           AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine.
Daniel         M4A1             DDM4123629         AR-15 .223/5.56 with a bump stock,
Defense                                            vertical fore grip and 100 round
                                                   magazine. EOTech optic.
LMT            Def. 2000        LMT81745           AR-15 .223/5.56 with a bump stock,
                                                   vertical fore grip and 100 round
                                                   magazine. No sights or optics.
Daniel         DDM4V11          DDM4078072         AR-15 .223/5.56 with a bump stock,
Defense                                            vertical fore grip. No magazine. EOTech
                                                   optic.
Sig Sauer      SIG716           23D020868          AR-10 .308/7.62 with a bipod, red dot
                                                   optic and 25 round magazine.
Daniel         DD5V1            DD5008362          AR-10 .308/7.62 with a bipod and scope.
Defense                                            No magazine.
Blue plastic hose with funnel, fan and SCUBA mouthpiece attached.


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Surveillance camera mounted to room door peephole.
Baby monitor camera (not mounted).
Surveillance camera mounted to room door peephole.
Small sledge hammer.
Laptop computer.
Surveillance camera monitor.
Spotting scope.
Binoculars.
Expended .223/5.56 cartridge casings (approximately 1,050).
Cellular phones.
Nevada Driver’s License – Stephen Paddock.
Mlife players card – Marilou Danley.
Polymer 40 round AR-15 magazines (loaded).
Steel 100 round AR-15 magazines (loaded).
Polymer 25 round AR-10 magazines (loaded).
Live Ammunition (approximately 5,280).
Handwritten note with distance/bullet drop calculations.
Suitcases, duffel bags, soft rifle cases, towels.

32nd Floor – Room 32-135 – Bedroom Suite (Picture 18)
Laptop computer (on bed).
Disassembled laptop computer missing hard drive (on floor).
Power hand drills.
Empty ammunition boxes and plastic bags.
Scuba mask.
Loose ammunition.
Miscellaneous hand tools and drill bits.
Miscellaneous screws and mounting brackets.
Suitcases, towels.
Empty rifle magazines

32nd Floor – Room 32-134 – Hotel Room (Pictures 19-21)
Make         Model           Serial Number          Description
FNH          FN15            FNCR000383             AR-15 .223/5.56 with a bump stock,
                                                    vertical fore grip and 100 round
                                                    magazine. No sights or optics.
Ruger        American        695-93877              .308 caliber bolt action rifle with scope.
LMT          LM308MWS        LMS18321               AR-10 .308/7.62 with a bipod and red
                                                    dot scope. No magazine.
Ruger        SR0762          562-13026              AR-10 .308/7.62 with a bipod, scope and
                                                    25 round magazine.
LMT          LM308MWS        LMS18300               AR-10 with a bipod, scope and 25 round
                                                    magazine.
Laptop computer connected to hallway surveillance cameras.
Polymer 25 round AR-10 magazines (loaded).
Expended .308/7.62 cartridge casings (8).

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Mandalay Bay – East Valet – Space 317 (Paddock’s Vehicle. Pictures 22-24)
2017 Chrysler Pacifica, Nevada/74D401 towed to FBI garage.
20x2 pound containers of exploding targets.
10x1 pound containers of exploding targets.
2x20 pound bags of explosive precursors.
Polymer 25 round AR-10 .308/7.62 magazines (loaded).
Polymer 40 round AR-15 .223/5.56 magazines (loaded).
Boxed ammunition.
Suitcases, towels.

McCarran Airport – Fuel Tanks – East Mandalay Bay Road/Haven Street (Pictures 25-27)
Bullet fragments

1372 Babbling Brook Court Mesquite, Nevada (Paddock’s House)
Make         Model          Serial Number     Description
Smith        SW99           SAB5974           9mm semi-automatic pistol.
& Wesson
Smith        M&P9           HDU4086           9mm semi-automatic pistol.
& Wesson
Glock        17             BCGM344           9mm semi-automatic pistol.
Mossberg     500            V0397109          12 gauge pump action shotgun.
Sig Sauer    516            20J036999         AR-15 .223/5.56 rifle with a bipod and
                                              scope.
Arma-Lite    SPRM001        M-10-13530        AR-15 .223/5.56 rifle with a bipod and
                                              scope.
Mossberg     590            V0433557          12 gauge pump action shotgun.
LWRC         M61C-IC-A5     24-19038          AR-15 .223/5.56 rifle with a bipod and
                                              scope.
Mossberg     590            V0348193          12 gauge pump action shotgun.
Mossberg     930            AF0001141         12 semi-automatic gauge shotgun.
Arma-Lite    SPRM001        M-10-12006        AR-15 .223/5.56 rifle with a bipod and
                                              scope.
Sig Sauer    516            20K046207         AR-15 .223/5.56 rifle, with a bipod. No
                                              sights or optics.
Lantac       LA-R15 Raven LT-0297             AR-15 .223 Wylde rifle with a bipod and
                                              scope.
Mossberg     590            P833785           12 gauge pump action shotgun.
Arsenal      Saiga 12       H09423015L        AK-47 style semi-automatic 12 gauge
                                              shotgun.
Arsenal      Saiga 12       H07420684         AK-47 style semi-automatic 12 gauge
                                              shotgun.
Beretta      92F            C856302           9mm semi-automatic pistol.
FN           5.7            386215450         5.7mm semi-automatic pistol.
Handgun, shotgun, rifle ammunition.
Exploding targets.
Computer related items.


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 Soft body armor.

1735 Del Webb Parkway, Reno, Nevada (Paddock’s House)
 Make         Model       Serial Number       Description
 Smith        340         DCA2099             .357 caliber revolver.
 & Wesson
 Beretta      92A1        A098515Z            9mm semi-automatic pistol.
 Pietro
 Remington 870 Tactical   RS90036Z            12 gauge pump action shotgun.
 Arms
 Mossberg     590         V0187184            12 gauge pump action shotgun.
 Glock        17 Gen4     BBVN828             9mm semi-automatic pistol.
 Smith        M&P9        HHA9534             9mm semi-automatic pistol.
 & Wesson
 Smith        M&P9        HDL4053             9mm semi-automatic pistol.
 & Wesson
 Firearm ammunition.
 Rifle magazines.
 Computer related items.

Ammunition
Several types of ammunition were located within rooms 32-135 and 32-134 loaded into rifle
magazines for both the AR-15 and AR-10 style rifles. The AR-15 .223/5.56 rifle magazines were
loaded with hollow point and polymer tipped hollow point ammunition. The AR-10 .308/7.62 rifle
magazines and the bolt action rifle were loaded with Tracer, Frangible Incendiary, Armor
Piercing and Armor Piercing Incendiary ammunition.
A complete breakdown of the ammunition types loaded in the firearms, rifle magazines and
expended cartridge casings will be documented in the final report.
DNA

Several items of evidentiary value were collected for DNA analysis. At the time of this report the
DNA evidence collected has not yielded any significant results or indication that anyone else
was in the room.

Digital

There were approximately 1,965 leads investigated. There were approximately 21,560 hours of
video and 251,099 images obtained by investigators of the LVMPD and the FBI. Analysis found
529 sightings of Paddock.

Four laptop computers and three cellphones were located in 32-135 and 32-134. All laptop
computers and cellphones were given the FBI to be forensically analyzed. The forensic analysis
on all electronics located in 32-134 and 32-135 has been completed and the results of the
analysis is listed below.


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Evidence Item HP Laptop Computer Recovered in Room 32-134

Browser Artifacts

The HP laptop computer contained internet artifacts from the following cloud storage services:
Dropbox.com, Box.com, and Microsoft One Drive. Dropbox and Microsoft One Drive were
installed on the laptop. Box.com was accessed through a web browser.

Google Maps

On 05-18-17 Google Map searches were performed for Venice Beach and Fenway Park.

The following queries were also made with Google Maps:

      Royal Rooters’ Club, Boston, MA
      Blandford Street. Station, United States
      Boston University Questrom School of Business
      Boston Hotel Buckminster, Beacon Street, Boston, MA
      Boston Arts Academy
      Official Red Sox Team Store
      Official Red Sox Team Store, 19 Yawkey Way, Boston, MA
      Venice Ale House
      Fairmont Miramar Hotel, Santa Monica, CA
      The Bungalow, 101 Wilshire Boulevard, Santa Monica, CA

Google Search Queries

On 05-18-17, searches were performed for "summer concerts 2017," "grant park functions,"
"biggest bear," "La Jolla Beach," "open air concert venues," "biggest open air concert venues
in USA," and "how crowded does Santa Monica Beach get."

On 09-04-17, searches were performed for "Las Vegas rentals," "Las Vegas condo rentals,"
"Las Vegas high rise condos rent," and "Las Vegas Ogden for rent."

On 09-05-17, searches were performed for "life is beautiful expected attendance," "life is
beautiful single day tickets," and "life is beautiful Vegas lineup."

On 09-15-17, searches were performed for "swat weapons," "ballistics chart 308," "SWAT
Las Vegas," "ballistic," and "do police use explosives."

Bing Search Queries

On 09-05-17, searches were performed for "Mandalay Bay Las Vegas," "Route 91 harvest
festival 2017 attendance," and "Route 91 harvest festival 2017."




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The following websites were accessed using an IE private browser:

      http://lineup.lifeisbeautiful.com/
      https://www.google.com/maps?hl=en&tab=wl
      https://lifeisbeautiful.com/ticket/
      http://search.topvegascondos.com/i/the-ogden-downtown-las-vegas-condos-forrent
      https://www.google.com/?
       gws_rd=ssl#q=how+crowded+does+santa+monica+beach+get&spf=149508223676
       1
      https://www.vividseats.com/blog/category/all-concerts/
      https://www.vividseats.com/blog/fenway-park-concerts-and-seating
      https://www.vividseats.com/blog/the-14-best-outdoor-concert-venues-in-the-us
      http://tsminteractive.com/what-are-the-most-crowded-beaches-in-america/
      https://www.yelp.com/biz/santa-monica-state-beach-santa-monica
      https://www.vividseats.com/blog/memorial-day-weekend-2017.html

The following websites were accessed using Internet Explorer:

      www.grantparkmusicfestival.com/ 05-18-17 0419 hours
      www.ticketmaster.com/ 05-18-17 at 0427 hours
      ticketmaster.com/ 05-18-17 at 0431 hours
      www.sandiego.org/ 05-18-17 at 0505 hours
      sandiego.org/ 05-18-17 at 0505 hours
      www.vividseats.com/ 05-18-17 at 0540 hours
      www.lasvegascondoexperts.com/ 09-04-17 at 2212 hours
      lasvegashighrisetour.com/ 09-04-17 at 2213 hours
      www.thehighrisegroup.com/ 09-04-17 at 2214 hours

Evidence Item Dell Laptop Computer Recovered in Room 32-135

Computer forensic analysis of a Dell laptop Model E5570 revealed numerous internet searches
for open air venues. Additionally, several hundred images of child pornography were located on
the computer’s hard drive. The investigation into the source of these images is ongoing. The
following internet searches from this laptop are indicated below:

Google Search Queries

      How tall is Mandalay Bay/ Unknown date
      NV gun shows/ 09-02-17 & 09-30-17
      Life is Beautiful 2017/ 09-20-2017
      Excalibur Hotel & Casino/ 09-23-17
      Las Vegas Academy of the Arts Performing Arts Center/ 09-23-17
      Fremont Hotel & Casino/ 09-23-17
      El Cortez Hotel & Casino/ 09-23-17
      Family Courts & Services Center/ 09-23-17
      Gary Reese Freedom Park/ 09-23-17

                                                                                  Exhibit A, Pg. 126
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         Cashman Center/ 09-23-17
         Cashman Field/ 09-23-17
         Neon Museum/ 09-23-17
         The Mob Museum/ 09-23-17
         Discovery Children’s Museum/ 09-23-17 & 09-26-17
         Arizona Charlie’s Decatur/ 09-23-17
         Where is hard drive located on e5570/ 09-28-17
         NHRA schedule 2017/ 09-30-17

VIII.     SUSPECT AUTOPSY

On 10-06-17, at approximately 1625 hours, under CCOCME case 17-10064 and FBI incident
number 4-LV-2215061 an autopsy was performed on the body of Paddock at the CCOCME by
Doctor Lisa Gavin.

Decedent
Name:                  Paddock, Stephen
Date of birth:         04-09-53
Gender:                Male
Ethnicity:             Caucasian
Height:                73 inches
Weight:                224 lbs
Hair:                  Gray
Eyes:                  Brown

Body bag seal #541486 removed at 1625 hours.

Specific Photography:
   Body bag seal
   Clothed body
   Pre-cleaned unclothed body
   Post-cleaned unclothed body
   Injuries
   X-Rays

The following persons were in attendance:

1)       Clark County Coroner Fudenberg
2)       Forensic Pathologist Doctor Gavin
3)       Detective Alsup
4)       Detective Colon
5)       SCSA Fletcher
6)       FBI ERT Agents (2)
7)       Forensic Technician Rosales




                                                                             Exhibit A, Pg. 127
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The following items of evidence were retained by the FBI’s Evidence Recovery Team:

1)    One brown long sleeved shirt.
2)    One pair of black pants.
3)    One pair of white socks.
4)    One pair of black slip-on shoes.
5)    One pair of blue underwear.
6)    Paper tissue from the decedent’s ears.
7)    Print exemplars.
8)    One projectile recovered from the decedent’s head.

Synopsis

On October 6, 2017, detectives from the LVMPD along with a LVMPD Crime Scene Analyst,
attended the autopsy of Stephen Paddock at the CCOCME. Also present were members of the
FBI Evidence Recovery Team who retained all collected evidence.

The exam room was secured by Clark County Coroner, John Fudenberg. Forensic Pathologist
Doctor Lisa Gavin performed the autopsy with one assistant.

The decedent was x-rayed, photographed and cleaned prior to Doctor Gavin’s exam.
Preliminarily, the injuries noted were on the posterior of both calves and a gunshot wound to the
upper palette inside the decedent’s mouth with obvious damage to the upper teeth.

The cause of Paddock’s death was an interoral gunshot wound and the manner of death was
ruled a suicide.

IX.    INVESTIGATION

Mandalay Bay Hotel Room

LVMPD officers located several documents, to include photographs, identifying Paddock as the
suspect who was lying on the floor with an apparent gunshot wound to the head. Also located
inside the room investigators found documentation related to Danley who was later identified as
the longtime girlfriend of Paddock.

Located throughout the 100-wing hallway from the double doors of room 32-135 to the alcove
wall of room 32-105 were over 200 bullet strikes. The bullet strikes consisted of actual impacts
and holes. These strikes were caused by approximately 35 rounds fired down the 100-wing from
inside of room 32-135.

Law Enforcement and the CCOCME took custody of Paddock’s body. The body was
photographed and transported to the CCOCME where an autopsy was conducted.

The room was secured for evidence recovery. The FBI Evidence Recovery Team responded
and took the lead role on documentation and recovery of all evidence inside the hotel rooms and
hallway.


                                                                                     Exhibit A, Pg. 128
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 130 of 675




Located inside the master bedroom of suite 32-135 were hand drills, drill bits, several
miscellaneous tools, and equipment Paddock used to drill holes, run wires, and set up
surveillance cameras that showed the 100 wing hallway. Inside the bedroom were several empty
ammunition boxes, live rounds, loaded rifle magazines, duffle bags, suitcases, two laptop
computers (one of which was broken and missing the hard drive), snorkeling kit bag, diving
mask, circular glass cutter with suction cup and miscellaneous personal items.

Located throughout the main living area of the suite were 18 rifles, one handgun, rifle casings,
and loaded magazines. A blue plastic tube, was fashioned with a fan on one end and snorkel
mouthpiece on the other end. A spotting scope on a tripod was on the floor near Paddocks body
and a slip of paper was on a small table with hand written distances on it. Several suitcases and
bags were throughout the main room containing personal items and loaded rifle magazines. A
laptop computer was located on the bar and connected to a live feed camera attached to the
peephole of the main door to suite 32-135.

Room 32-134 was an adjoining room to suite 32-135 used by Paddock. Located inside the room
were five rifles, casings, live ammunition and several loaded magazines. A pair of gloves were
located on one of the beds and sandals were located on the floor near the bed. Inside the
bathroom, a snorkel tube was located in the trash. A room service receipt and a cardboard box
with mailing labels was also located in the bathroom. In the walkway leading to the door to the
main hallway was a food service cart. A laptop computer was located on the food service cart.
It was connected to two live feed cameras and a battery pack with wires connecting it to the
cameras on the food service cart in the 100 wing hallway.

All evidence located and recovered inside suite 32-135 and room 32-134 indicated Paddock was
capable of watching people in the hallway. There was no suicide note or manifesto located inside
either room.

Paddock's Vehicle

Paddock’s vehicle was located in Mandalay Bay East Valet, 2nd floor, space 317 by investigators.
The vehicle a 2017 Chrysler Pacific bearing Nevada plate 79D401 had been backed into space
317 and was locked. The key for the vehicle was obtained from valet.

A search warrant was obtained and at 0325 hours, detectives with the LVMPD All-Hazard
Regional Multi agency Operations and Response Section (ARMOR) broke a window to the
vehicle, to allow an explosive detection dog access to the scent from inside the vehicle. A U.S.
Marshall explosive detection K9 moved around the vehicle and gave an alert to the presence of
explosive precursors.

Detectives secured the area on the belief there were explosive precursors within the vehicle.
ARMOR detectives requested LVMPD dispatch notify the Las Vegas Fire and Rescue Chemical,
Biological, Radiological, Nuclear and Explosive Task Force (CBRNE) respond. Las Vegas Fire
Rescue responded with their CBRNE vehicle along with FBI bomb technicians. Located inside
the vehicle were five bags which were x-rayed and removed by the FBI.



                                                                                     Exhibit A, Pg. 129
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Upon rendering the vehicle safe, the vehicle and all items located inside were photographed. All
items removed from the vehicle were placed back inside and the vehicle was sealed. The vehicle
was subsequently towed from the Mandalay Bay Hotel to a secure FBI facility for a thorough
search and evidence collection.

Evidence collected from inside Paddock's vehicle included loaded rifle magazines for both AR-
15 and AR-10 style rifles. Also collected were 20 two pound containers of exploding targets, 10
one pound containers of exploding targets and 2 twenty pound bags of explosive precursors.

Paddock's Mesquite Residence

LVMPD detectives responded to Paddock's residence in Mesquite, Nevada. The residence was
located at 1372 Babbling Brook Court. Detectives obtained and served a search warrant at this
location. Inside the residence, seven shotguns, five handguns, six rifles, exploding targets,
firearm ammunition, rifle magazines and computer related items were recovered. These items
were impounded and turned over to the FBI for processing.

Paddock's Reno Residence

FBI Agents responded to Paddock's residence in Reno, Nevada. The residence was located at
1735 Del Webb Parkway, Reno, Nevada. Agents obtained and served a search warrant at this
location. Inside of the residence were two shotguns, five handguns, firearm ammunition, rifle
magazines and computer related items. The items were recovered by the FBI for processing.

Search Warrants and Legal Notices

The investigative process required information to be obtained from numerous sources and
venues to include but not limited to:

      Hotels and Casinos
      Firearms related businesses
      Residences of Stephen Paddock
      Vehicles of Stephen Paddock
      Internet providers
      Telephone companies
      Online retail businesses
      Email companies
During the course of the investigation law enforcement authored approximately 1,062 legal
notices. These legal notices were to obtain information or items from venues related to the
investigation. These legal documents included but are not limited to:

      Administrative Subpoenas
      Court Orders
      Search Warrants
      Grand Jury Subpoenas


                                                                                    Exhibit A, Pg. 130
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Law Enforcement Tips and Leads

All tips or items that needed to be investigated or followed up were coordinated by the FBI and
the LVMPD. These leads were tracked using the Operational Response and Investigative Online
Network or ORION system through the FBI.

Investigators conducted interviews with 43 people directly associated with Paddock. These
included 24 gambling associates, 11 acquaintances and 8 blood relatives.

X.       PRELIMINARY FINDINGS FROM THE 1 OCTOBER INVESTIGATION

Investigators determined key findings as a result of this investigation:

        Paddock acted alone. Thousands of hours of digital media were reviewed and after all
         the interviews conducted, no evidence exists to indicate Paddock conspired with or acted
         in collusion with anybody else. This includes video surveillance, recovered DNA 19and
         analysis of cellular phones and computers belonging to Paddock.

        No suicide note or manifesto was found. Of all the evidence collected from rooms 32-135
         and 32-134, there was no note or manifesto stating Paddock’s intentions. The only
         handwritten documentation found in either room was the small note indicating
         measurements and distances related to the use of rifles.

        There was no evidence of radicalization or ideology to support any theory that Paddock
         supported or followed any hate groups or any domestic or foreign terrorist organizations.
         Despite numerous interviews with Paddock’s family, acquaintances and gambling
         contacts, investigators could not link Paddock to any specific ideology.

        Paddock committed no crimes leading up to the October 1 st mass shooting. All the
         weapons he purchased to include all the ammunition, were purchased legally. This
         includes all the purchases Paddock made at gun stores as well as online purchases.
         Paddock did not commit a crime until he fired the first round into the crowd at the Las
         Vegas Village.

        Reference the 1,965 investigated leads, 21,560 hours of video, 251,099 images obtained
         and 746 legal notices filed or sent, nothing was found to indicate motive on the part of
         Paddock or that he acted with anyone else.

        Security Officer Campos was not shot with a BB gun but rather sustained a gunshot
         wound from one of the rounds fired by Paddock down the hallway of the 100 wing on the
         32nd floor. Security Officer Campos did in fact have a pre-planned vacation to Mexico to
         go visit his father and Security Officer Campos asked law enforcement for permission to
         make this trip.



19 Deoxyribonucleic Acid



                                                                                      Exhibit A, Pg. 131
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 133 of 675




   One aspect of the investigation focused on Paddock’s financials. The investigation proved
    Paddock was self-funded through his gambling and past real estate transactions. He was
    indebted to no one and in fact paid all his gambling debts off prior to the shooting.

   The investigation revealed several indicators of intent on the part of Paddock. Those
    indicators are as follows:

       1. Paddock had a reservation for a hotel during the Lollapalooza music festival held
          at Grant Park in Chicago, Illinois during the month of August. Like Route 91, the
          Lollapalooza festival was held in an open air venue. Paddock specifically
          requested a room overlooking the venue when he made the reservation. The
          reservation was cancelled two days prior to the check-in date.

       2. Paddock made lodging reservations during the Life is Beautiful music festival held
          in Downtown Las Vegas, Nevada. The festival was also an open air music venue
          attended by thousands of people. Paddock requested units overlooking the venue.
          Paddock reserved three different units during the period and all faced the venue.
          Paddock was observed in video surveillance transporting several suitcases from
          his vehicle to the units he reserved. Paddock was alone for the trip and was never
          accompanied by anyone for more than a casual conversation. Investigators have
          been unable to determine if Paddock intended an attack during this festival or if he
          used it as a means to plan a future attack.

       3. Paddock conducted several internet searches while planning his actions. Search
          terms included open air concert venues, Las Vegas SWAT tactics, weapons and
          explosives. Paddock also searched for various gun stores.

       4. The purchasing of over 55 firearms, which were mostly rifles in various calibers,
          from October 2016 – September 2017. He also bought over 100 firearm related
          items through various retailers during that period.

       5. During a stay in early September 2017, Paddock requested specific rooms that
          overlooked the Las Vegas Village. According to Danley, Paddock spent time
          looking at the Las Vegas Village venue from different angles and windows while
          inside the room.




                                                                                  Exhibit A, Pg. 132
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Appendix A

Picture 1




(Door leading to the stairwell secured by “L” bracket)




                                                                            Exhibit A, Pg. 133
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Picture 2




(View from 100 hallway towards room 32-135)




                                                                            Exhibit A, Pg. 134
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Picture 3




(Food Service Cart in hallway with camera)




                                                                            Exhibit A, Pg. 135
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Picture 4




(Food Service Cart in hallway with camera)




                                                                            Exhibit A, Pg. 136
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Picture 5




(View from entry of 32-135 towards the sitting area)




                                                                            Exhibit A, Pg. 137
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Picture 6




(View from foyer of room 32-135 towards the sitting area)




                                                                            Exhibit A, Pg. 138
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Picture 7




(View from sitting area towards the living room)




                                                                            Exhibit A, Pg. 139
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Picture 8




(View from sitting area towards the bar / kitchenette)




                                                                            Exhibit A, Pg. 140
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Picture 9




(View from sitting area towards the bar / kitchenette)




                                                                            Exhibit A, Pg. 141
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Picture 10




(View from sitting area towards master bedroom)




                                                                         Exhibit A, Pg. 142
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Picture 11




(View of connecting doors between room 32-135 and 32-134)




                                                                         Exhibit A, Pg. 143
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Picture 12




(Blue plastic hose with snorkel mouthpiece attached)




                                                                         Exhibit A, Pg. 144
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Picture 13




(Surveillance camera mounted to room door peephole)




                                                                         Exhibit A, Pg. 145
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Picture 14




(Small sledge hammer)




                                                                         Exhibit A, Pg. 146
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Picture 15




(Handwritten note with distance/bullet drop calculations)




                                                                         Exhibit A, Pg. 147
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Picture 16




(Damage to entry door of room 32-135)




                                                                         Exhibit A, Pg. 148
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Picture 17




(Damage to entry door of room 32-135)




                                                                         Exhibit A, Pg. 149
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Picture 18




(Desk in master bedroom of 32-135 with SCUBA mask and power hand drill)




                                                                          Exhibit A, Pg. 150
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Picture 19




(Interior of room 32-134 from connecting doors)




                                                                         Exhibit A, Pg. 151
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Picture 20




(Interior of room 32-134 towards bathroom)




                                                                         Exhibit A, Pg. 152
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 154 of 675




Picture 21




(Hallway of room 32-134 with food service cart and laptop connected to cameras in 100
hallway)




                                                                                 Exhibit A, Pg. 153
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Picture 22




(Paddock’s vehicle)




                                                                         Exhibit A, Pg. 154
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Picture 23
                                                                              ()




(Explosive precursors found in Paddock’s vehicle)




                                                                         Exhibit A, Pg. 155
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Picture 24




(Exploding targets found in Paddock’s vehicle)




                                                                         Exhibit A, Pg. 156
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Picture 25




(McCarran International Airport fuel tank with bullet strikes)




                                                                         Exhibit A, Pg. 157
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Picture 26




(Upper bullet strike)




Picture 27




                                                                          Exhibit A, Pg. 158
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(Lower bullet strike)




Picture 28


                                                                          Exhibit A, Pg. 159
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(View of the Las Vegas Village from room 32-135)




                                                                         Exhibit A, Pg. 160
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                         Exhibit 3

        (Worlds Fastest Shooter vs Bump Fire! –
                    Guns Reviews)




                                                                Exhibit A, Pg. 161
 Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 163 of 675




                          Exhibit 4

(AR-15 5 shots in 1 second with fastest shooter ever, Jerry
                 Miculek (Shoot Fast!))




                                                                 Exhibit A, Pg. 162
 Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 164 of 675




                          Exhibit 5

( [Update] Bumbling Machinations on Bump Stocks? and
 [Updated] Bump-fire Rule: “Comments Not Accepted” )




                                                                 Exhibit A, Pg. 163
[UPDATE] Bumbling Machinations on Bump Stocks? | TheDocument
                  Case 1:18-cv-02988-DLF             Zelma... 1-2                       http://zelmanpartisans.com/?p=5071
                                                                    Filed 12/18/18 Page 165   of 675




         The Zelman Partisans

         AUTHORITARIAN SWINE, GUN CONTROL, POLITICS, SO MUCH STUPID!


         [UPDATE] BUMBLING MACHINATIONS ON
         BUMP STOCKS?
         APRIL 2, 2018 | CARL BUSSJAEGER | 1 COMMENT



         [See ATF update below]


         I’ve been chasing bump-fire stock commenting on regulations.gov this morning, because it mat-
         ters, trying to sort out the issues with commenting. What I’ve found so far:


         My layman’s understanding is that new rules (Notice of Proposed Rulemaking, NPRM) have to
         be announced in the Federal Register, giving people a chance to voice their views on them, be-
         fore the rules can be implemented. Sure, they can ignore us, but they have to let us yammer.


         The only Federal Register announcement for “Bump-Stock-Type Devices” is “A Proposed Rule by
         the Alcohol, Tobacco, Firearms, and Explosives Bureau on 03/29/2018.” That is Docket No.
         2017R-22, which on federalregister.gov shows 35,709 public comments. Clicking the link to
         those comments takes you to the comments for December 2017’s proposed rule. (Ditto for the
         GPO PDF of the Federal Register.)


         Regulations.gov is the web site where we — supposedly — get to voice those views.


         Regulations.gov shows two dockets, neither of which is “Docket No. 2017R-22”.


         ATF-2018-0001:
         “Comments Not Accepted”
         The comment I made on that, 1k2-92ad-9enm, 3/29/2018, shows “This comment was received in
         Regulations.gov but is not yet posted. Please contact the agency directly for more information.”


         A search for comments on ATF-2018-0001 shows “35,709 results”. But the result displayed are
         the comments from the December 2017 NPRM, “Comment Period Closed, Jan 25, 2018 11:59 PM

                                                                                                     Exhibit A, Pg. 164
1 of 5                                                                                                    6/10/18, 11:11 AM
[UPDATE] Bumbling Machinations on Bump Stocks? | TheDocument
                  Case 1:18-cv-02988-DLF             Zelma... 1-2                       http://zelmanpartisans.com/?p=5071
                                                                    Filed 12/18/18 Page 166   of 675


         ET”.


         Docket No. ATF-2018-0002:
         This docket shows different comment counts depending on the page you look at.


            ATF-2018-0002
            Commenting allowed, currently shows “3,673 Comments Received”.
            ATF-2018-0002-0001
            Commenting allowed, currently shows “1,864 Comments Received”.


         But no comments on ATF-2018-002 can be found: “0 results”.


         My comment on this docket, 1k2-92b5-589w, 3/30/2018, also shows “This comment was re-
         ceived in Regulations.gov but is not yet posted. Please contact the agency directly for more in-
         formation.”


         Please note: While ATF-2018-0001 was published on 3/29/2018 and could be considered the
         NPRM referred to in the Federal Register, ATF-2018-002 was not published until 3/30/2018, af-
         ter comment were closed on the 3/29 docket.


         SUMMARY: The “Bump-Stock-Type Devices” is being “tracked” under three different docket
         numbers. The Federal Register — where rules apparently must be legally published — shows only
         Docket No. 2017R-22, which you might recall is also the docket number for the December 2017
         NPRM.


         But regulations.gov shows two dockets, neither published in the Federal Register, with different
         comment counts. And neither of my comments will display for any docket number.


         It’s hard to tell with the ATF, but this might be bureaucratic incompetence rather than deliberate
         malice. Possibly some idiot did a copy/paste from the 2017 NPRM, and got the old docket num-
         ber. When they tried to enter a new docket number to keep comments separated, they managed
         to enter two, screwing up the whole NPRM.


         Or it might be deliberate machinations, with bureaucratic bumbling as plausible deniability.


         Update, 4/2/2018, 11:55 AM EDT: I have received a response from the ATF. As you can see, it
         fails to explain why commenting closed on one docket, or why there are two other separate (and
         not listed in the Federal Register) dockets. Comments are still separated across dockets in


                                                                                                     Exhibit A, Pg. 165
2 of 5                                                                                                    6/10/18, 11:11 AM
[UPDATE] Bumbling Machinations on Bump Stocks? | TheDocument
                  Case 1:18-cv-02988-DLF             Zelma... 1-2                       http://zelmanpartisans.com/?p=5071
                                                                    Filed 12/18/18 Page 167   of 675


         counts, yet are not visible.


         From: Katrina.A.Moore@usdoj.gov
         Subject: FW: Comments Closed on Bump-Fire Rule

         This is in response to your email to the Bureau of Alcohol, Tobacco, Firearms and
         Explosives (ATF). In your email, which you inquired why the commenting was closed on
         the Notice of Proposed Rulemaking in “Bump-Stock-Type Devices” after one day.

         As you may know, ATF is responsible for enforcing the Gun Control Act of 1968 (GCA), as
         well as other Federal firearms laws. A significant part of the GCA concerns the licensing
         and recordkeeping requirements pertaining to the manufacture, importation, distribution
         and sale of firearms.

         The direct link to comment on the subject notice is https://www.regulations.gov
         /document?D=ATF-2018-0002-0001

         If you have any further comments or concerns, they may be directed to the Office of
         Regulatory Affairs (202) 648-7070.

         In addition, there may be State laws that pertain to this proposed activity. Contact State
         Police units or the office of your State Attorney General (www.naag.org) for information
         on any such requirements. You may also find information in ATF publication 5300.5:
         State Laws and Published Ordinances – Firearms.

         We trust the foregoing has been responsive to your inquiry. Should you have additional
         questions, please contact your local ATF office. A listing of ATF office phone numbers can
         be found here.

         Regards,

         K Moore | Senior Industry Operations Investigator
         U.S. Department of Justice | Bureau of Alcohol, Tobacco, Firearms and Explosives
         Firearms Industry Programs Branch
         99 New York Avenue NE, Mail Stop 6.N-518
         Washington, DC 20226

         Update 2, 4/2/2018, 2:55PM EDT:


                                                                                                     Exhibit A, Pg. 166
3 of 5                                                                                                    6/10/18, 11:11 AM
[UPDATE] Bumbling Machinations on Bump Stocks? | TheDocument
                  Case 1:18-cv-02988-DLF             Zelma... 1-2                       http://zelmanpartisans.com/?p=5071
                                                                    Filed 12/18/18 Page 168   of 675


         The inconsistent comment counts are the same, but 431 comments can now be seen. Visible
         comments include some submitted today. However, neither of my comments submitted last
         week can be found anywhere. Since my comments have vanished, I have submitted a third at-
         tempt to voice my opinion: 1k2-92d6-aj9o, 4/2/2018:


         Comment Tracking Number Match
         This comment was received in Regulations.gov but is not yet posted. Please contact the
         agency directly for more information.


         Carl is an unpaid TZP volunteer. If you found this post useful, please consider dropping something in his
         tip jar. He could use the money, what with truck repairs and bills.




           ATF     BANS     BUMP STOCK     BUMP-FIRE     BUMP-STOCK-TYPE DEVICES     COMMENTING       RULES




         ONE THOUGHT ON “[UPDATE] BUMBLING MACHINATIONS ON BUMP STOCKS?”

             Mutti
             APRIL 2, 2018 AT 12:30 PM

             My personal comment has been unable to be submitted via the online form, therefore I sug-
             gest individuals FAX: (202) 648-9741 ATTN: Vivian Chu


             or Mail:


             Vivian Chu, Mailstop 6N-518, Office of Regulatory Affairs, Enforcement Programs and Ser-
             vices, Bureau of Alcohol, Tobacco, Firearms, and Explosives, 99 New York Ave. NE, Washing-
             ton DC 20226. ATTN: 2017R-22
             ——
             Depending on how much effort one wants to put forward a copy of the FAX receipt and
             Comment can/should be sent to any of their elected officials who have involvement with the

                                                                                                      Exhibit A, Pg. 167
4 of 5                                                                                                        6/10/18, 11:11 AM
[UPDATE] Bumbling Machinations on Bump Stocks? | TheDocument
                  Case 1:18-cv-02988-DLF             Zelma... 1-2                       http://zelmanpartisans.com/?p=5071
                                                                    Filed 12/18/18 Page 169   of 675


             oversight committee (example: House Judiciary Committee: https://judiciary.house.gov
             /subcommittee/full-committee/ )




                                                                                                     Exhibit A, Pg. 168
5 of 5                                                                                                    6/10/18, 11:11 AM
[Updated] Bump-fire Rule:
                     Case “Comments Not Accepted” | The
                            1:18-cv-02988-DLF           Zelm...
                                                      Document  1-2                       http://zelmanpartisans.com/?p=5055
                                                                      Filed 12/18/18 Page 170   of 675




         The Zelman Partisans

         AUTHORITARIAN SWINE, GUN CONTROL


         [UPDATED] BUMP-FIRE RULE: “COMMENTS
         NOT ACCEPTED”
         MARCH 30, 2018 | CARL BUSSJAEGER | 9 COMMENTS



         ADDED 2: jim notes in comments that the proposed rule can now be found HERE.


         That’s nice. Except…


         Scroll down. New docket number. Comment count is zero.


         Related Dockets: None
         Related RINs: None
         Related Documents: None


         That means this is not tied to the previous notice with existing comments, and those hundreds of
         comments that were made before are GONE.


         Inquiries to the ATF, DOJ, Federal Register, and various congresscritters have gone unanswered.
         An automated response from the ATF reads, “It is the goal of FIPB to respond to requests from
         firearms industry members and the general public within 120 days of receipt.”


         Nice trick. If comments aren’t going your way, kill the proposal, reissue it without telling anyone,
         and do over until you get the results you want to justify violating human/civil rights.


         I have two comment receipts now, so I can check if the first is permanently evaporated, or if
         they’ll… restore it.



         Original post (and update) follows:



                                                                                                       Exhibit A, Pg. 169
1 of 5                                                                                                      6/10/18, 11:25 AM
[Updated] Bump-fire Rule:
                     Case “Comments Not Accepted” | The
                            1:18-cv-02988-DLF           Zelm...
                                                      Document  1-2                       http://zelmanpartisans.com/?p=5055
                                                                      Filed 12/18/18 Page 171   of 675


         Something is up with the Notice of Proposed Rulemaking on “Bump-Stock Type Devices.” I was
         there earlier this morning checking on comment totals: 941.


         I thought of something else I wanted to see again a few minutes ago. I found this.




         “Comments Not Accepted”


         So I cleared cache/cookies/history/et al and attempted a new comment.




         “Document ATF_FRDOC_0001-0036 is no longer open for comment.”


         That was supposed to be open for 90 days, until June 29, 2018.


         Very odd. Anyone know what’s going on?


         Added: I also did a search on the comments submitted before it was closed (remember: there
         had been at least 941):




                                                                                                       Exhibit A, Pg. 170
2 of 5                                                                                                      6/10/18, 11:25 AM
[Updated] Bump-fire Rule:
                     Case “Comments Not Accepted” | The
                            1:18-cv-02988-DLF           Zelm...
                                                      Document  1-2                       http://zelmanpartisans.com/?p=5055
                                                                      Filed 12/18/18 Page 172   of 675




         Inquiries have been made to DOJ and the Federal Register. No responses yet.



         Carl is an unpaid TZP volunteer. If you found this post useful, please consider dropping something in his
         tip jar. He could use the money, what with truck repairs and bills.




            ATF     BANS    BUMP STOCK      BUMP-FIRE     BUMP-STOCK-TYPE DEVICES      DOJ




         9 THOUGHTS ON “[UPDATED] BUMP-FIRE RULE: “COMMENTS NOT ACCEPTED””

              jim
              MARCH 30, 2018 AT 12:15 PM

              You may submit comments, identified by docket number ATF 2017R-22, by any of the fol-
              lowing methods:


              Federal eRulemaking Portal: http://www.regulations.gov. Follow the directions for submit-
              ting comments.
              Fax: (202) 648-9741.
              Mail: Vivian Chu, Mailstop 6N-518, Office of Regulatory Affairs, Enforcement Programs and
              Services, Bureau of Alcohol, Tobacco, Firearms, and Explosives, 99 New York Ave. NE, Wash-
              ington DC 20226. ATTN: 2017R-22.




                                                                                                       Exhibit A, Pg. 171
3 of 5                                                                                                      6/10/18, 11:25 AM
[Updated] Bump-fire Rule:
                     Case “Comments Not Accepted” | The
                            1:18-cv-02988-DLF           Zelm...
                                                      Document  1-2                       http://zelmanpartisans.com/?p=5055
                                                                      Filed 12/18/18 Page 173   of 675



              jim
              MARCH 30, 2018 AT 12:22 PM

              Try this link:
              https://www.regulations.gov/document?D=ATF-2018-0002-0001



                 Carl Bussjaeger
                MARCH 30, 2018 AT 1:07 PM

                That’s nice, but according to that page the hundreds of comments already submitted are
                gone.



                Mike Murray
                APRIL 2, 2018 AT 11:38 AM

                Thanks for that, Jim.
                The link works, and I shamelessly used part of Carl Bussjaeger’s refutation of mechanical
                concept that “it’s a machine gun”.
                It’s not, and if this passes it’s one more step toward banning any semi-auto firearm.
                Bastards.



                     Carl Bussjaeger
                    APRIL 2, 2018 AT 11:59 AM

                    “It’s not, and if this passes it’s one more step toward banning any semi-auto firearm.”


                    Exactly.


                    “Bastards.”


                    Yep.



              Comrade X
              MARCH 30, 2018 AT 4:20 PM

              Tyrants don’t need no stinkin comments!




                                                                                                         Exhibit A, Pg. 172
4 of 5                                                                                                        6/10/18, 11:25 AM
[Updated] Bump-fire Rule:
                     Case “Comments Not Accepted” | The
                            1:18-cv-02988-DLF           Zelm...
                                                      Document  1-2                       http://zelmanpartisans.com/?p=5055
                                                                      Filed 12/18/18 Page 174   of 675



              jim
              MARCH 30, 2018 AT 4:57 PM

              Roger that, too many games or too many secrets (remember that movie?). I hope people are
              waking up to the fact dems and repubs are the same animal. Stock up with everything you
              can get. Never again….



                Comrade X
                MARCH 31, 2018 AT 12:12 PM

                I hate to be a broken record but ;Yep, a one party system; the big government party with
                two branches, a D & a R.



              pigpen51
              MARCH 30, 2018 AT 9:40 PM

              I just had flashbacks of Richard Nixon. Yes, I am old enough to remember him talking on the
              television.
              What I remember is him saying ” The American people have a right to know if their president
              is a crook. Well, I am not a crook.” Shortly, he resigned his office, because he was found to be
              a crook. And he knew that if he stayed he would be impeached. Based on his covering up the
              burglary into Watergate hotel, not for actually doing the burglary or even ordering it, but
              just trying to hide it.
              So I think that I can agree with pretty much all that have spoken here that this is a crooked
              deal, that once the BATFE’s saw the way that the comments were running, they simply did
              away with them and started over. And that it will happen again, until they get the results that
              they want. The Dems and the Repubs are one and the same, and that it is prudent to stock
              up, no matter what the political climate is.




                                                                                                       Exhibit A, Pg. 173
5 of 5                                                                                                      6/10/18, 11:25 AM
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 175 of 675




                         Exhibit 6

     (Motion in Limine, United States v. Friesen)




                                                                Exhibit A, Pg. 174
       Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 176 of 675
       Case 5:08-cr-00041-L Document 123   Filed 03/19/2009 Page 1 of 57



                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF OKLAHOMA



UNITED STATES OF AMERICA,                                        )
                                                                 )
                                                                 )
                                 Plaintiff,                      )
vs.                                                              )    Case No. CR-08-041-L
                                                                 )
                                                                 )
LARRY DOUGLAS FRIESEN,                                           )
                                                                 )
                                                                 )
                                 Defendant.                      )




         DEFENDANT'S MOTION IN LIMINE TO PROHIBIT GOVERNMENT' S
        INTRODUCTION OR REFERENCE TO RECORDS MAINTAINED IN THE
          NATIONAL FIREARMS REGISTRATION AND TRANSFER RECORD


         COMES NOW the Defendant, Doug Friesen, and moves this Honorable Court to prohibit

the Government from introducing, mentioning, or otherwise allude or refer to any records from

the National Firearms Registration and Transfer Record (NFRTR). In support of said Motion,

Defendant Friesen submits the following, to-wit:

         The NFRTR is a data base administered by the Bureau of Alcohol , Tobacco, Firearms

and Explosives 1 (ATF) to track legally owned machine guns and other "firearms" 2 required to be


1
 The Bureau of Alcohol, Tobacco and Firearms was renamed the Bureau of Alcohol, Tobacco, Fireanns and
Explosives under legislation which transferred it from the Department of the Treasury to the Department of Justice,
and its law enforcement and administrative functions from the Secretary of the Treasury to the Attorney General, on
January 24, 2003. 6 U.S.C. § 53 1; 116 Stat. 2135 (2003).

2
  Under the NFA a "firearm" is a tenn of art, and means " ( I) a shotgun having a barrel or barrels of less than 18
inches in length; (2) a weapon made from a shotgun if such weapon as modified has an overall length of less than 26
inches or a barrel or barrels of less than 18 inches in length; (3) a rifle having a barrel or barrels ofless than 16
inches in length; (4) a weapon made from a rifle if such weapon as modified has an overall length ofless than 26
inches or a barrel or barrels of less than 16 inches in length; (5) any other weapon, as defined in subsection (e); (6) a
machinegun; (7) any silencer ... and (8) a destructive device. The tenn 'firearm' shall not include an antique




                                                                                                                 Exhibit A, Pg. 175
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 177 of 675
         Case 5:08-cr-00041-L Document 123   Filed 03/19/2009 Page 2 of 57



registered under the National Firearms Act of l 9343 (NF A). Said database is inaccurate and

incomplete; its error rate is currently unknown; and that unless it can be independently and

reliably validated, NFRTR data should be excluded as evidence in a criminal trial.

           ATF routinely uses NFRTR data to justify seizing and forfeiting firearms it deems to be

unregistered or illegally possessed, issuing search and/or arrest warrants, producing Certificates

of Nonexistence of a Record (CNR) for NF A firearms at criminal trials which attest that no

record of registration for particular firearms can be located in the NFRTR; determining that a

specific firearm is not registered to a specific person; and for other law enforcement activities

such as approving or disapproving applications to transfer ownership of NF A firearms.

           There are no known data that reliably establish the current accuracy and completeness of

the NFRTR. The last audit of the NFRTR according to Generally Accepted Government

Auditing Standards (GAGAS), by the Treasury Department Inspector General (Treasury IG) in

1998, raises more questions than it answers. The reasons are that the audit ( 1) di sclosed "critical

error" rates of 4.3 percent and 18.4 percent for one category ofNFRTR transactions, and (2) was

                      4
limited in scope. The bad news was reliably documented April 23, 1998, when Treasury IG

auditor Gary Wilk reported in a Work Paper:




firearm or any device (other than a machinegun or destructive device) which, although designed as a weapon, the
Secretary finds by reason of the date of its manufacture, value, design, and other characteristics is primarily a
collector's item and is not likely to be used as a weapon.'' 26 U.S.C. § 5845(a).

3
    26 U.S.C. § 5801 et seq.
4
  These errors apply to Form 4467 data, which may be more inaccurate than the 4.3% critical error rate which can be
calculated from data the Treasury JG disclosed in its December 1998 audit report. Office of Inspector General, U.S.
Department of Treasury, Audit Report on Allegations Concerning the Bureau ofAlcohol, Tobacco, and Firearms '
Administration ofthe National Firearms Registration and Transfer Record, OIG-99-018, Dec. 18, 1998 at 12,
available at http://www.nfaoa.org/documents/TreasurvOIG-99-018- 1998.pdf. (Hereafter December 1998 Treasury
IG Report.) Treasury IG auditor Carol Burgan stated that "error definitions for critical data fields during sampling,.
include weapon serial number and registrant's last name (each must " be 100% correct"), and " weapon description").
Work Paper F-25, Feb. 29, 1998, available at http://www.nfaoa.org/documents/Work Papers F.pdf. Treasury lG
auditor Gary Wilk detennined "our Discovery sample indicated a 18.4 percent error rate, one error per error Fonn


                                                                                                                    2

                                                                                                              Exhibit A, Pg. 176
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                 4467 was a critical indicator for~ audit. We determined. based on our discovery
          • Form
            ample, that the combined error rate for original documentation and the computer database
              WU 18... pett.enl


          • w
            7    =    able to determine that the error rate wu in excess, with 9S percent confidence, +/ -
                        ofthe NFABrancb specified error rate limit of~+~-) S ~· Based on our
              Dilcovery error estimate we did not implement the ~ st•tiatical sampling plan.


          Coaduaioa:
          The NFA database - National firearms Registration and Firearms~ (NFRTR) ~oes not
          contain less than the s percent error rate limit for Critical data established by the Chic( rareamn
          and Explosives Division, ATF.
                                                                                                                         5



         During a June 17, 1998, meeting at Treasury Department Office oflnspector General

Headquarters to discuss the foregoing audit findings , an NF A Branch representative




4467 in a 'Critical' field ." Work Paper H-1 + Attachments H 1-H 143, April 6, 1998, available at
http://www.nfaoa.org/documents/Work Papers H.pdf.

Form 4467 (" Registration of Certain Firearms During November 1968") was used to register unregistered NF A
firearms during an amnesty period from November 2, 1968, to December 1, 1968, established by the Gun Control
Act of 1968 (P.L. 90-618; Stat. 1235, § 207(b)). The 1998 Treasury lG audit was limited to three categories of NF A
transactions (approximately 3 .3 percent of the total 2,571 ,766 transactions "for the years 1934 through July 31,
1998" (December 1998 report, id. at 2); none included Form I , Form 2, Form 3, Form 4 and Form 5 categories,
which account for 2,184,454 transactions (85 percent of total transactions). These forms differ according to whether
the applicant is a private citizen, government agency, or Special Occupational Taxpayer (SOT) licensed to
manufacture and/or deal in or import NF A firearms.

s Work Paper H-0, April 23, 1998 at 2, reviewed May 7, 1998, by Audit Manager Robert K. Bronstrup. In
"Discovery" sampling, the auditor draws a random sample, typically 60 to 70 records or more, to determine the
presence or absence of irregularities and the need for a full audit. lf no irregularities are found , the data base is
presumed to be error-free and a full audit is not conducted. 1f even 1 irregularity is found, the data base cannot be
assumed to be error-free; the audit must be extended; and a larger sample drawn to reliably estimate the error rate
for the data base. Herbert Ar¥Jn, Handbook ofSampling for Auditing and Accounting. New York: McGraw-Hill
Book Company, 1984 at 132-140.

Treasury lG auditor Gary Wilk reported that after reviewing "528 records and documents" in Discovery sampling:
• 'W_e ~scovered a to~ ~f39S errors or omissions·ofwruch 176 were Critical to the NFA
  nuSSJon and the renwrung 219 were Administrative. .
Work Paper H-0, April 23, 1998 at I.


                                                                                                                         3

                                                                                                                Exhibit A, Pg. 177
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 179 of 675
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                ~ked for an eq>lanation of the analysis results obtained by the OIG audit of the
                physical and electronic records maintained by ATF and known as the NFRTR lit£urther, added
                that lteason   for asking was that the res1:1lts obtained by the OIG ~udit w.er~ disappointing at
                best and could have serious consequences for the ATF firearms registry nuss1on.
                                                                                                                   6


                After Treasury IG auditor Gary Wilk "offered that perhaps ATF would prefer to identify

a term other than ' critical ' as the identifier for the errors identified by this audit report," 7 one or

more NF A Branch representatives asked the Treasury IG auditors to change the definition of

"critical error" to obtain a lower rate, and the auditors did so. The Treasury IG did not mention

or publish the 18.4 percent rate (or any other error rate) in its December 1998 report or its

October 1998 report; whether "critical errors" were present in other major NFRTR categories

was not addressed.

                The Limited audit findings the Treasury IG published regarding errors in the NFRTR as

shown in the table below, copied from the December 1998 Treasury IG report, are misleading.

In part the reasons are that, as will be documented in thi s motion, the Treasury IG auditors did

violated GAGAS under at least two major standards: (1) failing to extend the audit to detennine

the impact of the large number of "critical errors" disclosed as the result of Discovery sampling

analysis, which required them to report their effects upon the audit results, in view of the

auditors' fai lure to fully disclose the results of their Discovery sampling analyses , and (2) failing

to be organizationally independent. This motion will later discuss the implications of violating

GA GAS .




6
 Work Paper F-37, June 30, 1998 at I , available at http://www.nfaoa.org/documents/Work Papers F.pdf. In this
Work Paper, Treasury IG auditor Gary Wilk "explained that our definition [of "critical error"] had come from our
understanding" of definitions provided earlier by NFA Branch representatives, who now " appeared to obtain an
improved appreciation of the specific requirements that determined the outcome of the audit."
7
    Id. at I.




                                                                                                                   4

                                                                                                           Exhibit A, Pg. 178
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           Case 5:08-cr-00041 -L Document 123  Filed 03/19/2009 Page 5 of 57




                           SUMMARY OF SAMPLE DISCREPANCIES

                                   FORM4467               LE1TER                  OTHER                         TOTAL
                                                                                                 ~   ..   ~-   ,.



                                          Database Re rts
        Name:
         Miss                                         2             1                      0                          3
           Incorrect                                  0             0                      0                          0
        Serial Number:
          Miss                                        0             0                      0                          0
          Incorrect                                   1             0                      0                          1
        Com        r Records Not Found                0            10                      0                         10

                Records Not Found                     0             4                     16    20
            MnceDaneour                               3             0                      0      3
           TOTALS                               6         15                  16                37
        Somce: Database analysis results are depend.em on the retrieval medlods used. Tbe results
        shown above are based on a combination of dala retrieval methods.
                                                                                                                           8


           Sworn testimony in Freisen by NFRTR custodian Denise Brown in this Court on

    September 17, 2008, about the current accuracy of the NFRTR was not informative or

    encouraging. When asked by defense counse l "how accurate are the NFRTR records?"

    Custodian Brown replied: " I don 't have a number." When asked to confim1 whether " there are

    inaccuracies in them [NFRTR data], are there not, ma'am?," she answered " Yes, there are." 9

           A TF officials have willfully failed to disclose that A TF has (l) lost or destroyed firearm

registration documents, (2) added registration documents provided by firearms owners to replace

those which ATF lost, destroyed, or could not locate, (3) knowledge that the NFRTR contains


8
 December 1998 Treasury TG Report at 12, available at http://www.nfaoa.org/documentsffreasurvOIG-99-018-
1998.pdf.
9
 United States ofAmerica vs. Larry Douglas Friesen, Case No. CR-08-41 L, United States District Court for the
Western District of Oklahoma, Transcript of Jury Trial, Vols. f-Vill , Sept. I 7-0ct. I, 2008, before the Honorable
Tim Leonard, U.S. District Judge at 75-76. (Hereafter United States ofAmerica vs. I.Any Douglas Friesen (2008).)




                                                                                                                       5
                                                                                                                    Exhibit A, Pg. 179
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serious material errors that affect the reliability of its certifications in federal court that a

particular firearm is not registered to a defendant, and (4) from time to time, depending on the

circumstances, inconsistently applied various definitions of "critical error" in characterizing

errors in the NFRTR, as this motion will document. Their actions, reported in documents created

and published by the Government since 1979, particularly during the 1990s and continuing to

present, violate due process, and obstructjustice. 10 There is evidence, discussed throughout this

motion, that A TF has been withholding Brady material 11 by failing to disclose potentially

exculpatory evidence at criminal trials. Both the Attorney General and his predecessor

(Secretary of the Treasury) have failed to establish a new amnesty period to correct errors in the

NFRTR because firearm registration documents are missing, as will be shown is required by the

Criminal Division of the Department of Justice. Consequently, ATF 's use ofNFRTR data

whose validity and reliability has not been independently established does not represent an

acceptable standard for federal law enforcement in criminal prosecutions.

           The Congress heard testimony in 1979 that ATF alleged J. Curtis Earl, a federally

licensed NFA dealer, illegally possessed 4 75 unregistered firearms. 12 More than two decades

later, the attorney who represented Mr. Earl informed a Subcommittee Chairman during a 2001

Congressional bearing about continuing inaccuracies in NFRTR records, that Mr. Earl

           (T]urned to his file cabinet and began to produce the original records of their
           registration, and one by one the fireanns came off the floor and back onto his

10
  There are no published law review articles on the NFR1R, and little pertinent case law. The most comprehensive
legal review ofNFRTR issues to date is in an unpublished article. Joshua Prince, "Violating Due Process:
Convictions Based on the National Firearms Registration and Transfer Record when its 'Files are Missing"' (2008),
available at http://www.nfaoa.org/documents/Violating Due Process20Aug2008.pdf
11
     Brady vs. Maryland, 373 U.S. 83 (1963).
12
   Congressional Hearing, Committee on Appropriations, United States Senate, Oversight Hearings on Bureau of
Alcohol, Tobacco and Firearms, 96th Cong., 1st Sess. at 39 (1979), available at
http://www.nfaoa.org/documents/ 1979 Hearing Excerpts.pdf.



                                                                                                                6

                                                                                                          Exhibit A, Pg. 180
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 182 of 675
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           racks. At the end, he could show that he had registered every single one of these
           475 fireanns. ATF's records were grossly incorrect. 13

Jn November 1979, in response to a request by then-Senator James A. McClure, the Criminal

Division of the Department of Justice stated if ATF determines that "a particular individual or

weapon is registered" and ATF finds that its " files are missing," then ·'the only solution would be

to declare another amnesty period." 14 • Sections of this Memorandum that include the preceding

quoted phrases are reproduced be low.

           No amnesty period was established as the result of Mr. Earl's case.

~ov;?ntccn problcn .?.:.::~::s i!'\ !:~!c rcco!:"c1 ~y:?te!:l { ." lee Pi? . 3-t,) • The
ru>::>t !Jic;nific=ir.t of th~sc in tcrr.J!J .of its effect on ~'le validit·.r
of a certification i:; ..:h.;rt) bot.lt the inc!<::.7- card a nd t.'le re< is-
trAtio:i recortl ar~ clssJ.ug. l:t r.t.ust"" ~ e:pl~ ncd, howcvP.?:", t~t
th\l onl      to a~tcr?"':Ji?c \factlicr E.'ii.s . !iltuatlo;i !:~l~ts ti bv
f              }:


                                                                                                                  .·


                                                                                                               of

5   If this nroblnn actual! cxist~d the o~l· s olution would be
to dc,;clarc \\nothgr or.t.~2sty c.criod. Ti1c fJc crotary s C!;loow~rod
to <lo this untlcr c~:i~tiuq lcqigletion.
15




13
  Letter to Ernest S. lstook, Jr., Chairman, Subcommittee on Treasury, Postal Service and General Government
dated April 10, 200 I , from David T. Hardy, Esq., available at http://www.nfaoa.org/documents/BardHard.pdf.

14
     U.S. Department of Justice, Criminal D ivision, Memorandum: Response to letter from Senator McClure, by Philip
B. Heymann and Lawrence Lippe, Nov. 29, 1979 at 4, available at
http://www.nfaoa.org/documents/DOJamnestvMemo 1979.pdf.

Under§ 207(d) of the Gun Control Act of 1968, the Secretary of the Treasury (now the Anomey General) is
empowered to administratively establish unlimited numbers of amnesty periods lasting up 90 days per amnesty
period, with immunity from prosecution, "as the Secretary determines will contribute" to purposes of the l\TfA, upon
publication in the Federal Register of his intention to do.

IS [d. at 4.




                                                                                                                  7

                                                                                                            Exhibit A, Pg. 181
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            In 1997, as the result of allegations by Eric M. Larson, a private citizen, 16 the Chairman,

House Committee on Government Reform and Oversight, directed the Treasury IG to audit the

NFRTR. 17 One of the audit reports, published in 1998, describes the use and results of

Discovery sampling to establish there were "discrepancies" in three categories ofNFRTR data,

including missing or incorrect name; missing or incorrect serial number; computer records not

found; and original records not found.18 The Treasury JG failed to investigate a credible

allegation that "ATF had registered firearms for which the agency had no documentation, but

their owners did," 19 and "did not include a review of the accuracy of ATF' s certifications in

criminal prosecutions that no record of registration of a particular weapon could be found" in the

NFRTR. 20

            Continuing efforts by citizens, federally licensed firearms dealers and gun collectors, and

testimon ies and statements from 1996 to 200 1 at Congressional hearings involving the accuracy


16
  Eric M. Larson has been a Senior Analyst, U.S. Government Accountability Office (GAO), since 1987. Mr.
Larson' s research, Congressional testimonies from 1996 to 2001 , and continuing work involving the 1\1FRTR has
been and continues to be done in his personal capacity as a private citizen, and does not represent the policy or
position of GAO.
17
  Letter from Dan Burton, Chairman, Committee on Government Reform and Oversight, House of Representatives
dated June 25, 1997, to the Honorable Valerie Lau, Inspector General, Department of the Treasury. Work Paper D-
4, October 14, 1997, by Diane Kentner at 5, available at http://www.nfaoa.org/documents/Work Papers D.pdf.
Chairman Burton' s letter states: "From the correspondence and testimony I received . .. it appears that the concerns
raised by Mr. Larson may be valid and legitimate. Consequently, I believe an investigation by the OIG into [his)
allegations would be appropriate to reveal any possible improprieties or mismanagement at the ATF, and to
recommend solutions that would improve and strengthen ATF's registration and record-keeping of fireanns ."
18
  December 1998 Treasury IG Report at 12, available at htto://www.nfaoa.org/documentsfrreasuryOIG-99-0 I 8-
1998.pdf. The 1998 Treasury IG reports do not use the term " critical error," and instead refer to them as
"discrepancies."
19
   Congressional Research Service, Memorandum: ATF's National Firearms Registration and Trasfer Record:
Issues Regarding Data Accuracy, Completeness. and Reliability, by William J. Krouse, Nov. 28, 2005 at 12,
available at http://www.nfaoa.org/documents/CRSmemoNFRTROOO I .pdf. The memorandum also states: "While
the OlG found discrepancies in the sampled records ... the critical error rates were not given in the text of the audit
report. Nevertheless, based on its own finctings and ATF efforts to improve the 1\lfRTR, the Treasury OJG chose
not to perform a full sampling and audit of the NFRTR." Id. at 14.
20
     Id. at 12.




                                                                                                                      8

                                                                                                                Exhibit A, Pg. 182
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and completeness of the NFRTR resulted in another Government examination of the NFRTR. In

the June 2007 report of its "review" of the NFRTR, the Department of Justice Inspector General

(Justice IG) stated:

         We reviewed ATF processes related to requesting records checks from the NFRTR and
         determined that when an error is detected, the NF A Branch staff thoroughly research the
         NFRTR and the imaging database to find out if a weapon is actually registered.
         Additionally, the NF A requires owners to retain the approved NFA weapons application
         as proof of a weapon 's registration and make it available to ATF upon request. If the
         NFA weapons owner can produce the registration fiaperwork, ATF assumes the
         error is in the NFRTR a nd fixes it in the database. 1 (emphasis added]

         The Justice IG's finding that "ATF assumes the error is in the NFRTR and fixes it in the

database" when fireanns owners produce copies of their registration documents leaves

unanswered questions. Commenting on the foregoing determination, Stephen P. Halbrook, a

nationally and internationally recognized authority on U.S . firearms law, observed:

         . .. if the owner or the executor of a deceased owner cannot find the registration
         paperwork, which may be lost or destroyed, and if the record cannot be found in the
         NFRTR, then a voluntary abandonment of the firearm may be induced or even a criminal
         prosecution initiated. On such issues the report is not sufficiently informative.22

          The loss or destruction of an NF A firearm registration document by anyone is not a

trivial matter because all violations of the NFA are serious felony offenses, and the penalties are

substantial.23 Persons who are convicted of illegal possession of a machine gun are singled out

for particularly harsh treatment. The reason is that under Title 18 § 922(0), the Government is




11
  U.S. Department of the Justice, Office oflnspector General, The Bureau ofAlcohol, Tobacco, Firearms and
frplosives' National Firearms Registration and Transfer Record, 1-2007-006, June 2007 at 31 , available at
http://www.nfaoa.org/documents/DOJ-OlG2007NFRTRreport.pdf. Hereafter June 2007 Justice IG Report.
22
   Stephen P. Halbrook. Firearms Law Deskhook: Federal and State Criminal Practice. 2008-2009 Edition.
Thomson West Publishing, 2008 at 575.
23
  Violators may be fined not more than $250,000, and imprisoned not more than 10 years, or both. In addition, any
vessel, vehicle or aircraft used to transport, conceal or possess an unregistered NFA firearm is subject to seizure and
forfeiture, as is the weapon itself. 49 U.S.C § 781-788, 26 U.S.C. § 5861and § 5872.



                                                                                                                      9

                                                                                                                Exhibit A, Pg. 183
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not required to prove that a machine gun is not registered to convict a defendant of Possession of

Unregistered Firearm.

        The 2007 determination appears to meet the standard the Crim inal Division of the

Department of Justice established in J 979 for a new amnesty period as "the only solution" when

ATF·s "files are missing."

        When Eric M. Larson filed a FOIA request to the Justice IO to obtain copies of the Work

Papers created during its review of the NFRTR, to further clarify its determination, the Justice IO

responded by sending them to A TF ' s Disclosure Division fo r processing.24

        It is unusual for an Inspector General to send Work Papers to an agency over which it has

oversight responsibi lity for FOIA processing, because of the potential for conflict of interest it

represents fo r both the agency and the Inspector General. Despite Mr. Larson' s repeated efforts

to obtain them, A TF has thus far not provided copies of the requested Work Papers. A copy of

the July 25, 2008, letter ATF sent to Mr. Larson after receiving the Work Papers from the Justice

Department IO, appears on the next page.




2
 ~ Letter from Marilyn R. LaBrie, Disclosure Specialist, ATF dated July 25, 2008, to Eric M. Larson, bearing
identifier REFER TO: 08-726.



                                                                                                               10

                                                                                                           Exhibit A, Pg. 184
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                                                                 U.S. Department of Justice



         •                                                       Bureau of Alcohol, Tobacco,
                                                                 Firearms and Explosives




                JUL 2 5 2~J£                                     Washington. DC 20226
                                                                 www..atf.gov
                                                                                              REFER TO: 08-726



               Mr. Eric Larson
               P.O. Box 5497
               Takoma Park, MD 20913

               Re: Work Papers - Report Number 1-2007-006

               Dear Mr. Larson:

               This is in reference to your Freedom of Information Act request, that you submitted to the
               Department of Justice. Your request was forwarded to this Agency together with a large volume
               of records.

               It is our intent to grant your request in part. We are sorry that our processing bas been delayed
               but we will endeavor to provide a response as soon as possible.

               We are processing your request as an "all others requestor" therefore you are entitled to 100 free
               copies and 2 free hours of search. We will inform you if we anticipate any costs for copies that
               are not covered by the foregoing.

               We regret the delay and wiU do all we can to provide a response.

                                                            Sincerely,          ·-~

                                                  i"- L~-_ l ._~ Lc.'St_-:. ~
                                                       Wtaril~   LaBrie            ~
                                               Team Leader, Disclosure Division


       The Government still declines to establish an amnesty period to correct errors in the

NFRTR. For example, in a January 14, 2009, letter, the Department of Justice Deputy Inspector

General Paul K. Martin told Senator Barbara Mikulski, Chairman, Subcommittee on Commerce,

Justice, Science and Related Agencies, Committee on Appropriations, the following:




                                                                                                          11
                                                                                                      Exhibit A, Pg. 185
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                                         U.S. Department of Justice

                                         Office of the Inspector General




Januacy 14, 2009

The Honorable Barbara A Mikulski
United States Senate
Hart Senate Office Building
Suite 503
Washington, D.C. 20510-2003

Attention: Benson Erwin

Dear Senator M.tkulski:

      We received your correspondence of October 28, 2008, fmwarding a letter
from Mr. Eric Larson regarding the Office of the Inspector General's (OIG)
review of the Bureau of Alcohol, Tobacco, Firearms and Explosives' (ATF)
management of the National Firearms Registration and Transfer Record
(NFRTR) database and Mr. Larson's Freedom of Information Act (FOIA) request
to the OIG. We will first address the concern with the OIG's review of the
NFRIR and, second, with Mr. Larson's FOIA request.

      Mr. Larson stated in his letter that he was concerned that the OIG did
not review the "material inaccuracies" in the NFRIR and these errors "expose
Innocent firearms owners to legal jeopardy." Mr. Larson also asks the OIG to
issue an opinion on the need for an amnesty period to register National
Firearms Act (NFA) weapons. We are aware of Mr. Larson's concern about
errors in the NFRIR and his desire for a new amnesty period for the
registration of additional NFA weapons. However, our review focused on ATF's
management of the NFRI"R and the processing of NFA weapons' forms and did
not address the issue of an amnesty pertod. The OIG has no opinion on the
establishment of a new amnesty pertod in which to register NFA weapons.
WhJle our review found that there are some technical and programming issues
that could cause administrative errors in records, we also found that ATF is
taking the approprtate actions to correct these issues and ls proactlvely
correcting any errors found in individual records. Moreover, we found no
instance in which errors in the NFRI"R resulted in inapproprtate crtmina1
charges against individuals or federal firearms licensees.

      Regarding Mr. Larson's FOIA request, the OIG received a FOIA request
from Mr. Larson on July 26, 2007, seeking information pertaining to our
review, including the work papers associated with the review. We have fully
processed this request.


                                                                                 12

                                                                              Exhibit A, Pg. 186
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          On August 16, 2007, we provided Mr. Larson with a copy of the report
  relating to our review. By letter dated September 18, 2007, we informed Mr.
  Larson that the work papers contained three categortes of material: (1)
  documents that ortginated with other offices/agencies; (2) public source
  documents; and (3) documents generated by the OIG that contain information
  ortginating from other offices/ agencies. We asked Mr. Larson whether he
  wanted copies of the public source material and whether he wished us to refer
  the material originating with the other offices/agencies to those entitles. We
  also informed him that we would process the documents generated by the OIG
  after consultation with the other offices/agencies.

        By letter dated September 27, 2007, Mr. Larson responded that he
  wanted copies of the public source documents and that we should make the
  referrals to the other entitles. We thereafter referred to the Department of the
  Treasury and the ATF documents that originated with their offices. We
  informed Mr. Larson of these referrals, telling him that the Department of the
  Treasury and ATF would respond directly to him regarding the referred
  documents. We also sent Mr. Larson copies of the public source matertal.

        After consulting with ATF regarding the OIG-generated matertal, we
  informed Mr. Larson on December 5. 2008, that these documents were exempt
  from disclosure pursuant to 5 U.S.C. §552(b)(5). We also informed Mr. Larson
  regarding his light to appeal our determination.

         We are forwarding a copy of this letter to Mr. ·L arson.

       Please feel free to contact us 1f you have additional questions about the
  work of the OIG.

                                      Sincerely,

                                       r~IVl=A--
                                      Paul K. Martin
                                      Deputy Inspector General

  cc: Mr. Ertc Larson


       While Deputy Inspector General Martin correctly states " [w]e have fully processed" Mr.

Larson' s FOIA request, his statement is misleading because the Justice IG transferred the

documents Mr. Larson requested to ATF for FOIA processing. The Justice I G's action is

reminiscent of how the Government long avoided disclosing documents pertinent to Waco in



                                                                                                 13

                                                                                             Exhibit A, Pg. 187
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response to a FOIA request by shifting the paperwork and related responsibilities between the

Department of Justice, ATF, and the Texas Rangers, before a Federal District Judge ordered a

halt to such evasions and ordered that the documents be produced for his Court, and they were. 25

                      " Institutional Perjury": The Busey Videotape and Leasure

            The most recent efforts to persuade ATF to render the NFRTR accurate and complete

originated from statements about its inaccuracy during an October 1995 "ROLL CALL

TRAINING" session at A TF headquarters that was also videotaped. 26 During the session, which

was broadcast throughout ATF, then-NF A Branch Chief Thomas Busey stated " ... when we

testify in court, we testify that the database [NFRTRJ is 100 percent accurate. That's what

we testify to, and we will always testify to that. As you probably well know, that mav not be

100 percent true." 27 (Emphasis added). Asserting the error rate in the NFRTR was recently

reduced as the result of activities of a "quality review team," Mr. Busey stated:

            .. . when I first came in a year ago, our error rate was between 49 and 50 percent, so you
            can imagine what the accuracy of the NFRTR could be, if your error rate' s 49 to 50
            percent. The error rate now is down to below 8 percent, and that' s total. That's common
            errors and critical errors.28


25
   David T. Hardy, This Is Not An Assault: Penetrating the We ofOfficial Lies Regarding the Waco Incident. Xlibris
Corporation, 200 I at 91-108.
26
  A certified copy of the session is transcribed under the title "ROLL CALL TRAINING, 10-95, TOM BUSEY."
Treaswy, Postal Service. and General Government Appropriations for Fiscal Year 1997. Hearings Before a
Subcommittee of the Committee on Appropriations, House of Representatives. 104th Cong., 2d Sess., Part 5 at 182-
205, available at http://www.nfaoa.org/documents/ J996testimonv.pdf. (Hereafter Congressional Hearing, House of
Representatives, Treaswy, Postal Service, and General Government Appropriations for Fiscal Year 1997.)
27
     Id. at 192.
28
   ld. at 202. Mr. Busey was apparently referring to an internal ATF "Quality Review" initiative that "commenced
operations on July 25, 1994," according to a "productivity report" prepared February 9, 1996. Treaswy, Postal
Service, and General Government Appropriations for Fiscal Year 1998. Hearings Before a Subcommittee of the
Committee on Appropriations, House of Representatives. I 05th Cong., 1st Sess., Part 5 at I02, available at
http://www.nfaoa.org/documents/ 1997testimony.pdf. (Hereafter Congressional Hearing, House of Representatives,
Treaswy, Postal Service, and General Government Appropriations for Fiscal Year 1998.)

In response to Mr. Larson's FOlA request for information about the quality review initiative Mr. Busey described,
A TF sent approximately 100 loose pages consisting of weekly reports and other documents. The result of the


                                                                                                                14

                                                                                                           Exhibit A, Pg. 188
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         Mr. Busey ' s statements that ATF personnel "always testify" in court that the NFRTR " is

100 percent accurate," and "[a]s you probably well know, that may not be I 00 percent true,"

were termed "institutional perjury" by an attorney who learned of the videotape, obtained a

transcript of Mr. Busey 's statements by filing a FOIA request, and published an article about the
            29
incident.        During the session Mr. Busey also said the error rate in the NFRTR was between 49

percent and 50 percent in the year before he arrived, and "we know you 're basing your warrants

on it, you' re basing your entries on it, and you certainly don 't want a Form 430 waved in your

face when you go in there to show that the guy does have a legally-registered [NFA firearm].

I've heard that's happened. I'm not sure." 31

         The videotape of Mr. Busey ' s remarks, now available on the Internet, has more impact

than his published words. The reasons are that Mr. Busey's statements were not spontaneous

remarks; Mr. Busey prepared his statements in advance, can be seen reading them, and smirks

while saying: "I' ve heard that's happened. I' m not sure." In response to Mr. Larson ' s FOIA

request for a copy of the Busey videotape, ATF responded:




initiative is unclear because it is not apparent whether there was a final report, and there are no separate explanations
or summaries of the weekly reports.
29
  "Institutional Perjury," by James H. Jeffries III. Voice for the Defense, Vol. 25, No. 8, October 1996 at 28-30;
available at http://www.nfaoa.org/documents/Jeffriesarticle.pdf, reprinted in the Congressional Record (Extensions
of Remarks), Vol. 142, August 2, 1996 atE1461-E1462, available at
http://'www.nfaoa.org/documents/JeffriesCongRec.pdf
30
   A TF Form 4, currently titled " Application for Tax Paid Transfer and Registration of Firearm," is prepared in
duplicate original and used to transfer the ownership of registered NF A firearms . After ATF approves the Form 4
application, ATF (1) keeps one approved copy for entry into the NFRTR, and (2) sends the other approved copy to
the firearm owner (transferor), who must subsequently transfer the firearm (and the other approved copy) to the new
owner (transferee) within a reasonable time or cancel the transfer. The NF A prohibits the physical transfer of the
firearm by the transferor to the transferee before ATF approves the transfer.
31
   Congressional Hearing, House of Representatives, Treaswy, Postal Service, and General Government
Appropriations for Fiscal Year 1997, available at http://www.nfaoa.org/documents/ l 996testimony.pdf.



                                                                                                                      15

                                                                                                                 Exhibit A, Pg. 189
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                      You ha~ ftlqUeSled "a c:omplc9c md ~ copy of die videoclpe aaled by the 84ftai of
                      Alcobol. Tobecco md F"uecms wtiidl piaures Mr. lbomu Buley,Cbief, Nacional Fiftamu A.J:;t
                      8nnch, darinl 1 "'Roll c.ll TC'lliainl Sasicle. or ...,._ Oc:lobcr 11, I 99S". Yow requ$ is
                      dmied ~to rsc1e 5, u.s.c. 552<bX6>11 rew- oftllis video uipr WIXdd mrnr;r.... an
                      inwsioa of Mr. 8-y's priwcy.                                                                  32


            The Busey videotape was used, in part, to overturn five convictions of John 0. LeaSure

for possession of unregistered fireanns in a May 1996 bench trial , during which ATF Specialist

Gary Schaible testified he was aware of "occasions ... in the NF A Branch of clerks throwing

away transmissions because they don't want to fool with them" rather than process them (Mr.

LeaSure testified he FAXed registration documents to ATF in 1994, and ATF claimed it was

unable to find a record ofthem). 33 Under cross-examination, when asked "that's one of the

things [NFA Branch clerks throwing away documents] that could happen to you?," Mr. Schaible

replied "Certainly .''34

            Citing Mr. Schaible' s testimony (in which he also confirmed the Busey video had been

broadcast throughout and was common knowledge within ATF Headquarters), the presiding

Judge ruled " ... it throws a disagreeable proposition on my finding somebody guilty on records

when their chief man (Mr. Busey] says they were 49 percent wrong," and dismissed five




32
  Letter from Marilyn R. LaBrie, Disclosure Specialist, AlF, to Eric M. Larson dated March 18, 1998, bearing
symbols L:D:MRL 98-514. Treaswy, Postal Service, and General Government Appropriations for Fiscal Year
1999. Hearings Before a Subcommittee of the Committee on Appropriations, House of Representatives. 105th
Cong., 2d Sess., Part 5 at 170, available at http://www.nfaoa.org/documents/ l 998testimonv.pd( Hereafter
Congressional Hearing, House of Representatives, Treasury, Postal Service, and General Government
Appropriations for Fiscal Year 1999.

A videotape of the training session was obtained by an attorney who subpoenaed it for trial and made a copy when
the U.S. Attorney that prosecuted the case failed to submit a timely order to the court to prohibit its public
disclosure, available at http://wwv;.nfaoa.org/documents/rollcall highlights.mp4 .
33
   United States ofAmerica vs. John Daniel LeaSure, Crim. No. 4:95cr54, E.D. Va.- Ne\.\rport ews Div.,
Transcript of Proceedings before the Honorable John A. MacKenzie (May 21 , 1996) at 42-43, available at
http://www.nfaoa.org/documents/LeaSureTrial.pd( (Hereafter United States ofAmerica vs. John Daniel LeaSure
( 1996).)
34
     Id. at 42-43.



                                                                                                                            16

                                                                                                                         Exhibit A, Pg. 190
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convictions under the NFA for possession of unregistered fi rearms.35 The LeaSure transcript

states that Mr. Sch iable was a witness "called on behalf of the Government, having been first

duly sworn, was exami ned and testified" to the above facts. 36 ATF did not appeal the verdict.

                  ATF acted to contain the damage resulting from Mr. Busey ' s statements by (I) adding

"corrections" by Mr. Schaible to transcribed copies of the videotape of Mr. Busey ' s remarks

disclosed by ATF in response to FOIA requests, and (2) requesting the Audit Services Division

of the Department of the Treasury to audit the NFRTR. On February 13, 1996, Mr. Schaible

stated under penalty of perjury that, to the best of his knowledge, no NF A Branch personne l have

ever testified that the NFRTR is 100 percent accurate, and "the reference to an error rate of 49-50

percent is based on an informal, undocumented estimate by personnel from the Firearms and

Explosives Regulatory D ivision." 37

                  In Rith, a 1999 court case that included a challenge to the accuracy and completeness of

the NFRTR arising from the Busey videotape, after hearing opposing evidence the Court ruled

"[t]he record establishes that the NFRTR database has sufficient guarantees of trustworthiness to

satisfy the Sixth Amendment." 38 The Court based its opinion on (1) statements by Mr. Busey

that "a quality review team ... instituted in 1994" had reduced "the critical-error rate to below

three percent," and (2) "a copy of an audit performed February 7, 1996, by the Audit Services

Division of the Department of the Treasury" showing a 1.5 percent "critical-error" rate.39 The



35
     Id. at 45.
36
     Id. at 23.
37
  Congressional Hearing, House of Representatives, Treaswy, Postal Service, and General Government
Appropriationsfor Fiscal Year 1997, available at http://www.nfaoa.org/documents/ l 996testimony.pdf
38
 United States ofAmerica vs. Rith, 164 F.3d 1323 at 1336, 51 Fed. R. Evid. Serv. 197 (I 0th Cir. 1999). Hereafter
United States of America vs. Rith (1999).
39
     Id. at 1336.


                                                                                                               17

                                                                                                          Exhibit A, Pg. 191
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Court added: "the accuracy of the registration check is buttressed by a second level review by a

branch chief."40 It is unclear whether the Audit Services Division of the Department of the

Treasury published a formal report of its 1996 audit of the NFRTR; the audit processes it

followed are unknown and may not have been fully disclosed to the Court.

            A TF and the Audit Services Division may have perpetrated a fraud upon the Court in

Rith. The reasons are that (1) Mr. Busey's statements about improvements in the "critical-error"

may have been self-serving, (2) there is no evidence that a final report on the "quality review

team" accomplishments was rendered, or that the results of the "accomplishments" and reduction

of the "critical-error" rate were independently validated, (3) it is unclear whether the 1996 audit

was conducted according to GAGAS, and (4) the Audit Services Division auditors may have

been improperly influenced by NFA Branch representatives to manipulate the outcome of the

audit.

            The Audit Services Division is a sister component of ATF; has no oversight authority

over ATF; and the purpose of the audit was to establish that the NFRTR was accurate enough to

justify criminal prosecutions. It is improbable that one component of a federal law enforcement

agency wou ld engage in conduct that would reflect badly upon another component, or the agency

itself; and questioning the legal basis for a federal law enforcement activity would be sensitive

because of potential legal liabilities, such as overturning convictions and payments to citizens for

damages for wrongful convictions.

            There are reasons to doubt the independence of Treasury Department and other

Government officials regarding their characterization of "errors" in the NFRTR. There are also

reasons to question the validity and reliability of Mr. Busey's characterization of what he termed


40
     Id. at 1336.



                                                                                                    18

                                                                                             Exhibit A, Pg. 192
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"common errors" and "critical errors" and "error rate" in the October 1995 "ROLL CALL

TRAINING" session because (1) these terms do not correspond to terms used by the quality

control team, and (2) inspection of " Weekly - Quality Review Report" documents disclose that

the quality review team manipulated the NFRTR error rate by changing the definition of

" Significant Error" by renaming it "Error.'.4 1 Error and error rate reports created by the quality

review team, obtained via a FOIA request by Mr. Larson, are not straightforward and their

meaning is difficult to interpret; for example, one weekly report states:

            llnce 6/30/ 9• reviewed ~ Errors l l i l Sigiiilicant erro~ fil
            Collmon Error rate .01'     Si gnificant error rate .01'        42


            No valid and reliable overall error rate of any type could be identified from any of the

documents because numbers of "Errors" and "Significant e1Tors" were different among nearly

l 00 different weekly reports ATF disclosed in responding Mr. Larson 's FOIA request.




41
  ATF's "Quality Review" team manipulated the definition of"error'' as follows. One document states: "On
approximately October 3, 1994, we began defining and separating the significant errors from the common errors,"
and this document defined " Significant Errors" as shown below:

llpificant Errors :            l.   Mispelled and/or lnc:oaiplete IWDeB .
                               2.   Voided appl ic:ati on--didn' t indicat e
                                    current fire&J:lll po•••eaor.
                               3.   $200/ $5 remittance not posted.
                               4.   ti.ver mailed approved f orm to
                           -          transferor
                               s.   Approved wrong fintarm to trilllSf•re•.
                               6.   Approved f orm never updated in N'FRTR.


Congressional Hearing, House of Representatives, Treaswy, Postal Service, and General Government
Appropriations for F iscal Year 1998 at I 03, availah le at http://www.nfaoa.org/documents/ I997testimonv .pdf.

Another weekly report reclassified " Significant Errors" as "Errors" except for slightly changing one type of error,
namely, "2. Voided application - - djdn' t indicate previous owner," as shown below:
Errors :       l.    Mispelled and/ or Ineoaiplete ~.
               2.    Voided applic:ation--didn' t indicace· previoua ownar.
               l .   $200/ $5 remit t ance not posted .
               4.    llever mailed approved form to tran11feror
               5.    Approved wr-ong firelll"1ll to transfen..
               ' ·   Approved form never updated in HFRnt.
Id. at I 04.
42
     Id. at 103.



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                                                                                                               Exhibit A, Pg. 193
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NFRTR Data Inaccuracies: Early Statistical Evidence. 1992 to 1996

         Because of Mr. Busey's statements that records of Forms 4 could not be located in the

NFRTR, Mr. Larson sought to determine if there was any independent statistical evidence that

ATF had lost or destroyed NF A registration documents by analyzing publicly available NFRTR

data on "NF A registration activity" from 1992 to 1996. Mr. Schaible's testimony LeaSure

indicated that ATF may have added registration documents obtained from firearms owners to the

NFRTR after discovering that NF A Branch clerks had thrown documents away rather than work

on them.

         Under a FOlA request, Mr. Larson obtained copies of reports of annual ''NFA

registration activity" from 1992 to 1996 from the NFA Branch, which list 11 categories of

fireanns registration activity represented in the NFRTR. 43 Inspection of the data indicates that

some data lack face validity ; that is, does not measure what it purports to measure. The reason is

that there are records of NF A registration activity during and prior to the I 920s, a logical

impossibility because the NF A was not enacted until 1934. Just as when a clock incorrectly

strikes 13 on the hour, causing one to question what hour it really is and raising doubts about



43
  The NFRTR data Mr. Larson obtained are available in Eric M . Larson, Work Papers on Errors in the National
Firearms Registration and Transfer Record, and Other Issues Regarding the Bureau ofA/cohol, Tobacco, and
Firearms. Prepared for the Honorable Pete Sessions, House of Representatives, Washington, D.C., April 2, 1999
(unpublished), inserted at 5-6, available at http://www.nfaoa.org/documents/Critigueofl 9981Greports.pdf.

The NFRTR data categories are: Form 1, Forni 3, Form 4, Form 5, Form 6, Form 9, Form 10, and Form 4467, and
differ according to whether the applicant is a private citizen, government agency, or Specia.J Occupational Taxpayer
(SOT) licensed to manufacture, import, and/or deal in NFA firearms , and whether the transfer is tax paid or tax
exempt. Form 2, currently titled "Notice of Firearms Manufactured or Imported," is a record of notice to ATF used
exclusively by and sent to A TF by SOTs, not an application form. The "Letter" category has been used to register
or transfer NF A firearms when ATF forms have not been available, but these transactions are uncommon.

Treasury IG auditors reported that ATF has not fom1ally defined the "Other" category, and stated it included "a
procedure where movie industry supply houses and movie industry property masters filed applications by telegraph
in lieu of filing a Form 3 in order to expedite processing by ATF." October 1998 Treasury IG Report at 18,
available at http://www.nfaoa.org/documents/TreasuryOIG-99-009- I998.pdf.




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                                                                                                             Exhibit A, Pg. 194
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what hour it really was during all the other times the clock was supposed to be stri king correctly

on the hour during previous strikes, records of NF A registration activity before 1934 raise doubts

about the accuracy of records of NF A registration activity for other years.

                 These data tables of NF A registration activity during 1992 to 1996 are reproduced below

in the same form ATF sent them to Mr. Larson.




                                                  Sl.llOU OF AlaJltOl, TOIM:CO AllD F lllEAAflS                        RUM:    l/01193    U:ll
 DATA fHROUCH 1Zlll 1'Z
                                              t*A REIOISTllAflOll ACTIVITY • Alel\IAL COllPAIUSOll

                                                                             FS      F6                 Fl t   l TR    44'7    OTIER      TOTAL
                                     n           Fl                F4


 199Z                               lS7      71%')6    Z66SZ     65Z7     46442        z       zuas     Za9                       30     17Z040
                                    ~        7e06Z     Z0914     Sl9•     42117        l       36841    tll                       lS     lasa<o'>
 19'1
                                    69Z      18193     ZZ8U      6807     56015       •        z11n     219     43               lYI     203577
 19'1
                                    Z7l      6'1'13Z   Z3605     &165     11191      ll        18u1     Zll     Sl               106     151754
 1919
                                    34Z      Z<.861    l97H      7699      IS19       l         1471    03      66               450      13161
 196&
 1917                              09        174Z7     :Y,OZ     &lll      9 3&8       z         745    3l4    144               717      71960

 1916                              9lS       6'1'157   ZZ944     5158      ""                    sza    111    tal        l      749     I057Z4
                                   "4S       14666     tSSlZ     SSZ4      6245                 1306    l:s4    4S        I      7l6      430IS
 l ffS
                                   SY.       14¥.6     t <.7ZO   3911      Ytl7        l        1506    294      3        l      llS      41591
 lff•
                                   4$1       lllH      tlllZ     SZll      l17Z      27          ?(.&   367      4        1       l9      29684
 l ffS
 l9&Z                              324        mo       11417     2770      Z67l       9                 •at      z        l       l7      ZS4l5
                                   Z70        71tl      8 1'1    5734      Z7ll      26                 3U      IO                1a      Zl366
 1981
                                   163        l t7Z     68lt     3040      1614       6            l    lZ9                       Zl      15109
 1'80                                                                                                             7       "
                                   108        32-4      69&a     ZlSO      lSU       ll            '    lSl      s                 zo     14441
 1979
 1'78                               81        l 431     St.91    1&79      1257       7                 7Z9      s        6        17     109'9
                                     77       1'}88     6to6     15lS      1737        z                591     14        1        zz     11973
 1977
 1976                                ll        178   l~l          979      1754       zo           5    4 57     l       19        26     15134
                                                                                                                                   49      7'46
 l97S
 lt74
                                     7a
                                     Z9
                                              U99
                                              1017
                                                      ll79
                                                      Z961
                                                                  S67
                                                                  579
                                                                           lUO
                                                                           16&a
                                                                                     11
                                                                                       ,                611
                                                                                                        Sl7
                                                                                                                10
                                                                                                                lS        s         a      6821
                                     16       13SI    Zall        lSl      17et        s                Sil      •       17        16      6111
 197'
                                     sa       4011 • 1961.        Z61      1511      14            ,    63'      ll      "         19      8Sao
 197Z
                                     Z4       ZZ41     209          l6      ZSl      11                 lll    1959      l6        19      5016
 1971
                                     :Ill      191       19         10       Z4      16                        1563     27Z        34      Zl61
 1971
 1969
 1968
                                     36
                                   lSlO
                                               760
                                              IZ77
                                                         41
                                                       366
                                                                    13
                                                                   1'2
                                                                             41
                                                                            935
                                                                                       •7                      1141
                                                                                                                 Z9
                                                                                                                       z o•6
                                                                                                                      5•417
                                                                                                                                   19
                                                                                                                                   37
                                                                                                                                           41"5
                                                                                                                                          58644
                                    ,0,       11 t,4   l06                                                        5      .,,       10      3465
 1967                                                              tat      '"
                                    9GI       1Z9!1    4lS         136     106Z                                           a        zo      1856
 1'66
 1'>6S                              641       1Z"6     4Z8         14Z     1047        7                                  z        z1      snt.
                                                                                                                          l         "      zau
 !'""
 190
                                    744
                                    709
                                    734
                                               937
                                               7ZI
                                              1111
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                                                        27Z
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                                                                   204
                                                                            699
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                                                                                                                                           267Z
                                                                                                                                           3135
    96Z
 .. 961                             6'9       l~          so       152     llll        s                          4        z        4      4lll

  96 1                              790        657       ll4       1411     654       zo                          z       '         I       !59Z
                                   66%9       59SS      ll6S      1150     2917      161          16              6      ZS        47     19171
 .,~.. l') 19S9
                                                                                                                                   57     3Zll7
 19<.I T.l l 9<t9                  6S74       nn        4714       161     <o91S    MSS            S              "       9
 1931 TO 1'l•                     114ZZ         191      548        IS      716       zz           \      14     Z6      ZS      lUO      lt,ZSI
                                                                     z         7                                          6         9         Sl
 1<>21 ro 19z9                       lZ           •        lZ
                                         l       36        Zl        z       :S7           l                                       ts        IU
  •lllOll 10 19~0
 ,-'l l ::"'~I                        lZ        lO•        lZ       Z2      170        6          Z4                             ssu       61\7


 .... T.".:.                      38766      szun      so9sn     7957!    zso4n                                S4l7   571&7      1671 il916S6




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DATA J . .DUCtt 1U31/9l                   llUREMI f1f .UCOIQ. , JOUCCO AllD FlllUllMS
                                     llfl llECOfSTRAJION ACTIVlTY • ~l COllPAIUSOIC


voa                          n          FZ                             fS     f6       F9    fl•     l fR    '467   OTIEJI     TOIAL


                            t99     1'7362      Z7ZU      7749     6 7625           27905    "85      II               ZS     Z3'(,09
1'191
l"Z                         lS7      7S75"      zw.v.     6556     t,6561       z   ZOS91     Za9     40               ZS     176109
1'91                        ZZ6      7alS7      z"u       5"00     42 1~        l   36111"   zsa                       ll     1&4016
                                                                                    27127    289      <,4             nz      20444&
1991
1969
                            '92
                            Z71
                                     49697
                                     69927
                                               2ZIS6
                                               Zl7Z8
                                                          6421
                                                          1176
                                                                    S&OS4
                                                                    lUU        "
                                                                               lZ   18113     Zal     51              104     15189:5
1960                        l4Z     2YSI       19767      7703       11170      z    1473    '°l      "6              1,50     &34Z7
1967                        ""      174'1
                                               34S1'      as1a      "°21        z     745    lZ4     143        I     71'      7ZOl7

1966                        936     70Zll      ZZ959      5 16Z      4901             sz9    .511    Ill       3      744     11•001
                            64S     llo7Zll    lSSZO      .SSZ6     6 Zat            1306    334      45        I     7 25     43111
l 9&S
1964                        Sl4     14649      147ZS      3913      5"17             1516    z91,      l        s     336      41611
1963                        458     lllt,Z      1114"     1201,     3078       27     24&    367       4               Z9      t 97tZ
19&Z                        szs      ma         11420     Z771      Z674        9       I    481       z       l       l7      Z54SI
1911                        2'7 0    71011       1141     3735      27ZO       Zl            .V.l     10               I&      ZZl75
                                                                                                                       2Z      !Sill
1'6•
197'1
                            l~
                            1'6
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                                     lZS5        ,,.,.
                                                 61111    3041
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                                                                    1637
                                                                    ISU
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19711                        ao       11,s1      5497     1178      lts7        7       l    7 29      •       6       17      I O'lt6
1977                         n        l9U        6009     1.535     1737        2       I    590      14        I      zz      11975
1911•                        lf         879     10945      979      1754       19       5    "59       l       S9      Z6      lSlll
197 5                        78       139')      stat      S67      lS.Sl      18       s    611      II               49       78"&
1971,                        Z9       1117       t'Kl      579      168'        9       l    St7      15       s        •       6a lZ
1971                         16       llSl       ZO)O      SSl       nas       s             513       a       11      15       609&
                             ,l,O    4121        1961      261       1511      14      11    63'      53       04      19       5564
l97Z
                             24       Z24Z        ZO?       16        2Sl      10            111    1959       Z6      .,       5007
1971
1970                         la        19Z         II       10         Zl      16               1   1566      2n       sz       Z161
                             S6        764          0       11         42      8                    1140    Ull        1a       011
1969
                           1509       12711       161      193        935      7                      Z9    S446S      17      S604S
1%11
                                                           181                  z                      s       64      10       3464
1967
1%6
                            909
                            '191
                                      1141
                                      IZ9l
                                                  306
                                                  t,35     136        '""
                                                                     106Z       z
                                                                                                       z
                                                                                                               a
                                                                                                                z
                                                                                                                       20       3&S6



                                                                      ...
                            84 l      1Z46        loll     142       lh7       1                                       Zl       l7l7
1% 5
                            71,t,      917        Z7S      U9         699      6                               :s       4       ZIH
·~
1963                        709        720        t91      IZ6                  l                                       a       Z67Z
196Z                        7.V.      1111        Z7Z      zos        7&9       l                      1       14       7       3136
1961                        810      14"6         SU       152       1n•        s                      4        z       4       'szz
1961                        791       657         114      1"4        655      20                      z       6        l       ZS"°
l9SO TD 1'59               6'Z9      5956        Zl'4     1151       2915     aoo       16      z      '       Zl
                                                                                                                       t,7     19769
                                                 OU                          &456       s       z                      S7      3Zl09
190 TO 19"9
19.Sf TO 19l9
                           6S7Z
                          114ZZ
                                     7231
                                       I'll       SU
                                                           31.l
                                                             15     "'°'
                                                                      706      zz              14
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                                                                                                      26
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19ZO TO 1929
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                                                                                                                       IS
                                                                                                                     3749
                                                                                                                                 IZI
                                                                                                                                1,493
Ul«.HOWll                     It       lZI         lZ        Zl       Z6J       6

TOTAL                     39t67     634ZZS     .537325   8 71,13   111520    ex.a   116989   9S17   S45l    S710     atoa t644Zlt




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                                                                                                                             Exhibit A, Pg. 196
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DAf A THflOUCll I ZFl   l.f,..                  lllJIOU f6 111.COllOl, TDIACCO AMI FIREAllMS
                                            llFA REt;I ST'RATIOM &CfIVITY - ~ COMPAllJSOll
                                                                                                                     RIM :    l/Z6/9S    ll:Ol



                                    Fl        rz        rs                   rs      f'6            Fl l   lfll      4io67    OTHER      TOTAl


1-                                1Z71    l1Dl30     ZZ498     7134      6Z2SI             SS39Z   Z8S7         z                        232246
                                   301    1011430    Z7638     7119      67739             ze111    07       11                   19    2411181
19'1
199Z                               lSll    76161     ZU71      6SU       46!">17       z   203'4    n 1     0                     Zl    177271
                                   2ZS     78l80     ZIOlll    5411      4Zz<oS        I   l6114    Z61                           Z9    184l l Z
1991
                                   691    ana1       zzau      6UI       56066        '    z7S"     249     44                   uo znns
19'1
I'll'                              Z71    69SllZ     U7SS      1176      .U l l l     IZ   1813Z    Ziii    51                   9" 15149"
19U                                l41    ZS16'o    l97&9      n11        as1111       z    1'7S    <oil    66                  ""'       43761
1'67                               412    17llO     l4S36      lllll      9'o41        z     745    lll    144                  7011      71710
                                   954     71Z711    ZZ971     Sin        '905               5Z7    Sil     161          l      717      l"O'IZ
1966
l911S                              64S     1"74Z     IS~       3529       Ull               u ..    "4       4S          1      7ZZ       43141
1'64                               SlS     14141     14731     3915       5437              1506    ~           l        s      S.l.6     4160a
                                   45'.    11137     11145     lll7       1 171       l7     241    367         4        I        Z6     Z'69"
1983
1'82                               US       nt4      llU4       zno       2674         9            411         z        l       l7      ZS440
                                   210      nz1       atSl     S7l7       2120        Zl            l4Z     II            l       18     ZZ401
19111
19110                              16Z      S07l      '8Z9     104'!      16S7        6        I    SZ9      1                    zz     15114
                                                                                                                                         1'444
1'79                               1011     szas      6918     ZlSI
                                                               1179
                                                                           ISlS
                                                                          1257
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                                                                                                                                 1'      10'107
197•                                81      100       5497                                                      4        '
19n                                 n       1987      l>Oto    1537       1737         z            59'      14                  22      11978
1976                                lO       8 79    10947      MS        1756       19        s    4SI       3        19        26      15145
197S                                79      1401      llU        S67      lUI        II        s    614      II                  41       71151
1974                                Z9      lllll     l%1        579      16"         9        l    517      IS          s        I       611Z4
1973                                16      1351      ZllZ       SS3      1785         s       7    SU        I         II       14       <>102
197Z                                ll      021       1961       261       ISl I     llt      11    6ll      3l         a<.      19       IS&4
1971                                Z4      ZZ4l       119        l6        zso      11             :Sll   1'6•         z•       19       50114
                                    SI       192        18        II         Zl      16                    1547        271       lZ       ll'I
1971
                                    l6       761        ltl        U        4Z        a                    11~•       2114       1•       4177
1969
                                  15ll      U77        l6e       IU        935         7                     l9      54415       l6      5"44
1'61
1967                               909      ll<tl      l06       181       "'          z                        s      64         9       l'.41
1966
196S
                                   'HZ
                                   841
                                            lZ9:S
                                            lt46
                                                       436
                                                       4Z9
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                                                                          1059
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1%3                                719       721       Z91
l96Z                               7.54     111s       2n        zos       7117       l                                 14         7      S143
1961                               111      1463       S44       lS.S     1329         s                        "z       z         "      4ll9
                                   79Z       657       314       144       655        zt                                 6         I      2595
1961
19!.I TO 19S9                     66.SI     S9S.Z     2164.     llSZ      2915       as•      14       z        6       ZS        "      19766
1941 TO 19'o9                     6571      7UO       4695       l6S       4914     84SZ       S       z        4        9        56     lZlOI
                                 ll4ZZ       196       SO         11        704       22       I     14      Z6         26      IZ61      l4Z48
19~ TO l9l9
1921 TO 19Z9                         lZ        4        ll                     a                                         '         '         54
PfllOll TO l9ZI                      I        l6        lZ          z        37                                 I        4        IS        lZZ
                                    SI       lZ9        .5.5      26        Z7S        6      Z4                4       ST     llSt       39"4
i.«NOWN

TOT.ll                           40l6Z    735622    l604ZI     9SJ98     lllOOZ     9'01   lnzt4   1z179   5454      57196     4zsz 117791•




                                                                                                                                              23

                                                                                                                                        Exhibit A, Pg. 197
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                                              !l~U Of           A.1.COllC?I-• ICa..ca>....., f!t(AotlffS                                U ... :    11 02" 4    II ! 2 8
                                         NF& REGISTPAflOM t.CIJVIT'r •                     ~       Q::rl4'a.lllSOW


                                n           n                         ,,           •s                                 n•
19'5                         ! 124      • 5• ' 5    17277          a•S t      h ~H                       su u         ~ "2       I•                           221 468
                             lt1l      llOU         2211'           11110     '2 l S t                   JSS84       2M S         2                           1S1136
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                                                    n , :1         USS        su z~                     274'7         zn                              IJO     2 U7l6
"Jtat''                        ' "
                              171
                                        9t 2• •
                                        •• S'11     2.!.761        6 181      Sl1 S6           12        l &IU        28 1      SI                     .,     l \.lc.e~


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                              J'1
                              •12
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l ta•                         U t       7050l       Z2'7 4                     4i t0t                      527        St !     103                    7SS     I ) 4 12a
                                                                   !tl ' "
ttts                          "4S       l <>S•      ISS<o          ssu         u ·u                       ! JU        SS4       <S                    12 t     U U I
1'«                           sn        : 4$5•      I '7J7         JH 4        SI.SI               I      ISH         2'4                             J S4     <Ult
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1'6 1                         21 0       11Jl           6 157      SH I        2721            2J                     3'2
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            Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 200 of 675
            Case 5 :08-cr-00041-L             Document 123                      Filed 03/19/2009                     Page 25 of 57




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             Mr. Larson arranged the Form 4 data from 1992 to 1996 by and across single years to

determine if the number of registrations changed over time. As shown in the following table, the

total number of Form 4 registrations increased by 625 during 1992 to 1996, for registrations that

occurred since 1934 by single years through 1996 and during unknown years (registrations for




                                                                                                                                                   25

                                                                                                                                              Exhibit A, Pg. 199
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years in and before I 968 have been combined). Mr. Larson reported these results in I 997 in

Congressional testimony, as shown below.

                                                                   Table 4

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               11186       6,168      6,162      +4      5,172       +10      5,174      +2      6,174        0      +11
               11185       3,524      3,526      +2      3,529        +8      S,532      +8      3,537      +6       +11
               1984        3,911      3,913      +Z      3,.915       +2      3,916      +l      3,919       +S       +8
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               1983        S,203      s,ro&      +1                   +3                  0      3,208       +l       +6
               1982        2,770      2,771      +l      2,770        -1      2,770       0      2,771       +l       +l
               1981        3,734      3,735      +1      3,1'.J7      +2      3,741      +4      3,741        0       +7
               1980        3,0.0      3,040       0      3,M4         +4      3,()46     +2      3,()(6       0
               1979        2,150      2,150       0      2,151        +l      2,151       0      2,151      0         +1
               1978        1,879      1,878      -1      1,879        +l      1,878      -1      1,878      0          -1
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               1972             281     261       0        261          0       262      +l        262      0          +l
               1971             36       36       0         36          0        36       0          36     0           0
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               1969           13          13      0          13         0        13      0           13     0           0
               1968          192         Im      +l        193          0       194     +1         194      0          +2
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               were cakulakd by Ede M. I.anon.                                                          44



        Mr. Larson ' s analysis used arithmetic calculations to determine if there are changes in

NFRTR data, which could mean that registrations were being added after the fact, years after


44
  Congressional Hearing, House of Representatives, Treasury, Postal Service. and General Government
Appropriations for Fiscal Year 1998 at 71 , available at http://www.nfaoa.org/documents/1997testimony.pdf. Mr.
Larson found similar patterns of apparent additions of registrations for Forms I, 2, 3, 5, 4467, and "Letter" and
"Other" categories.



                                                                                                                               26
                                                                                                                            Exhibit A, Pg. 200
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ATF approved the original registration and concluded NFRTR reporting for a given year. For

example, the number of registrations for 1992 changed from 6,527 to 6,556 in 1993, a difference

of 29; similarly, the number of registrations for 1992 changed from 6,568 in 1994 to 6,573 in

1995, an increase of 12. Inspection of these Form 4 data disclose that the number of registrations

in 1992 (6,527) increased to 6,577 in 1996. Put another way, A TF added 50 registrations during

1992 to 1996, for the year 1992, which gives the appearance that A TF could have added 50

Forms 4 to the NFRTR during that period. Using the same arithmetic calculations to analyze

total Form 4 registrations for all years from 1992 to 1996, Mr. Larson determined that total

registrations increased by 625; again, the implication is that ATF may have added 625 Forms 4

to the NFRTR after being unable to locate them in the NFRTR, and NFA firearms owners

provided ATF with copies of their approved Forms 4. Note that 203 registrations were added for

years in or before 1968.

             In an effort to determine whether he may have made any errors of fact or omission, Mr.

Larson asked NF A Branch officials if the increases in registrations resulted from A TF added

copies of lost or destroyed NF A registrations back into the NFRTR, after obtaining them from

firearm s owners, or if there was another explanation. NFA Specialist Gary N. Schaible told Mr.

Larson if an error was detected on a form and the form was misclassified, it wou ld be reclassified

as a Form 4, a Form 4467 or whatever form was correct, and that it would be re-entered in the

NFRTR in the year that the registration occurred.45 Mr. Schaible also stated ·'I assume that' s

happened," in response to Mr. Larson's question: "Has ATF ever added a firearm to the NFRTR,

after a lawful owner produced a valid registration, because A TF had no record of the firearm in




4
    s Id. at 95.




                                                                                                  27

                                                                                              Exhibit A, Pg. 201
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                   46
the NFRTR?"             In addition to Mr. Schaible' s comments, NFA Branch Chief Nereida W. Levine

told Mr. Larson in a January 7, 1997, Jetter that correcting errors in entering data according to

Form number or year of registration "may result in an adjustment to previously generated

statistics.',.47 NF A Branch Chief Levine concluded:
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                             in t h11 RecoTil .                                          48


            If no registrations were added to the NFRTR, explanations by NF A Branch

representatives that changes in annual ''NFA registration activity" could result from correcting

errors in Form number and/or year of registration means such changes would be a "zero-sum"

game, and represent classification errors. In other words, if the annual changes resulted from

reclassified data, total registrations from all categories would not change.

            To determine if the number of total registrations did not change, Mr. Larson analyzed

total registrations (for all categories) for each year from 1992 to 1996 using the same arithmetic

calculations he used to analyze Form 4 data. He found that total registrations increased each

year and totaled 18,869 for the period from 1992 to 1996, and that registrations had been added

to all NFRTR data categories for each year.

            Mr. Larson concluded the discrepancies he observed in NF A registration activity, and

statements by ATF representatives, required additional evidence to reliably determine the

reason(s) for the increased number of reported registrations. While A TF personnel adding

46
     Id. at 97. This question was asked and answered twice.
47
  Letter from Nereida W. Levine, Chief, NF A Branch, Bureau of Alcohol, Tobacco and Firearms, dated Jan. 7,
1997, to Eric M. Larson, bearing symbols E:RE:F :GS. Congressional Hearing, House of Representatives,
Treasury, Postal Service, and General Government Appropriations for Fiscal Year 1999 at 110-111 , available at
http://www.nfaoa.org/documents/1998testimony. pd f.
48
     Id. at 41.


                                                                                                                 28

                                                                                                         Exhibit A, Pg. 202
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registrations was one possible explanation, there was insufficient statistical and evidence upon

which to reliably base such a conclusion. For example, there also could have been flaws in

computer software, problems with reporting functions resulting from editing, inadequate internal

quality controls or checks, and so forth, so Mr. Larson concluded that a formal investigation was

needed, and did not present his findings as definitive. Because he was unable to conduct

additional research according to standard social sciences practices, Mr. Larson asked appropriate

Government officials to determine if ATF was adding registrations to the NFRTR. 49

     Coverups in an internal ATF investigation, and a udit of the NFRTR by th e Treasury IG

          A TF and the Treasury IG conducted separate investigations in 1997 and 1998,

respectively, of allegations by Mr. Larson that ATF had mismanaged the NFRTR, and there is

valid and reliable evidence that each entity avoided determining whether ATF had added

regi strations. Each covered up facts and failed to diligently investigate Mr. Larson' s complaint.

All of Mr. Larson's allegations will not be reviewed in this motion, but it is instructive to note

that the Treasury IG censored his most serious allegation. Although an audit Work Paper dated

October l 0, 1997, prepared Treasury IG auditor Diane Kentner, states the following:




49
  Because NFRTR data are protected from disclosure under the NFA (26 U.S.C.A. § 5848) and considered "tax
return" information prohibited from disclosure under the tax code (26 U.S.C.A. § 6103), it was not legally possible
for Mr. Larson to visit the NF A Branch to inspect NFRTR data or observe procedures involving NF A registration
activities conducted by NF A Branch personnel.

Because the names and addresses of individual NF A firearms owners and SOTs are also protected from disclosure,
it was not possible for Mr. Larson to conduct ordinary social science research, such as drawing representative
random samples to try and contact or survey them to investigate what their experiences may have been regarding
NFA paperwork for guns in their inventory for which they had valid registration documents, but for which ATF
could find no record in the NFRTR. Similarly, Mr. Larson was legally prohibited from accessing the computerized
NFRTR data base, and thus was unable to inspect these data, run tabulations and cross-tabulations, or conduct other
analyses.



                                                                                                                 29
                                                                                                            Exhibit A, Pg. 203
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          (OIG Follow Up)
          > Did ATF add additional firearms to the NFRTR that were originally registered on
             Form 1 or 4467 during 1934 to 1971 , for which ATF lost or destroyed original
             records.
                                                                                                                           50


there is no evidence in either of its 1998 reports on the NFRTR, or in the 1998 audit Work

Papers, that the Treasury JG fully investigated Mr. Larson 's allegation.

         Mr. Larson's original allegation, reproduced below, states:

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                    thq are required bf law to maintain, as noted m swvm tellltimOl1:1 ln 11196 b7 A'Jll' Special
                    Agent Gary N. Schal!lle.• In analyses or data made pubHc bJ ATP, I round that during um
                    Co 11186, ATF m-.y haw 8lided 119 or man! f1reamia to the NPK'l1l wbidl wen: origimlb
                    tt:giaCaed an Poma 1 or POan 4467 during 1934 to 1971, rot wtlk:h ATP Jost or ~-
                    destnmd the ocildmJ ~                                                                     I :>
                                                                                                                   1

         The Treasury IG censored Mr. Larson 's allegation in its October 1998 audit report, and is

reproduced on the following page.




so Work Paper D-5, October 10, 1997 at 1, available at http://www.nfaoa.org/documents/Work Papers D.pdf.
51
  Letter to Valerie Lau, Inspector General, Office oflnspector General, Department of the Treasury, dated May 10,
1997, from Eric M . Larson. Congressional Hearing, House of Representatives, Treasury, Postal Service, and
General Government Appropriations for Fiscal Year 1999at 99, available at
http://www.nfaoa.org/documents/ I998testimony.pd f.

Form I ("Registration of Firearms") was used from 1934 to 1968 to register unregistered NFA firearms; after 1968
it was titled " Application to Make and Register a Firearm" because the Gun Control Act of 1968 prohibited the
registration of unregistered NF A firearms after the 1968 amnesty period expired (a citizen can " make" and register
an NFA firearm by paying a $200 tax and first obtaining ATF's approval to do so). ATF created Form 4467
" Registration of Certain Firearms in November 1968") under§ 207(b) of the 1968 Act to accept registrations of
unregistered firearms, with immunity from prosecution, during the amnesty period from November 2, 1968, to
December 1, 1968.

The year 1971 specified in Mr. Larson's complaint relates to a different allegation that ATF had improperly
registered unregistered NF A firearms after the 1968 amnesty period expired. Such registrations would violate the
NFA, because " [n]o firearm may be registered by a person unlawfully in possession of the fireann after December 1,
1968, except that the Director, after publication in the FEDERAL REGISTER of his intention to do so, may establish
periods of amnesty, not to exceed ninety (90) days in the case ofa single period with such immunity from
prosecution as the Director determines will contribute to the purposes of " the NFA, as stated A TF's published
regulations in the Code of Federal Regulations, 1969 edition at 93. See 26 C.F.R. I 79. l 20(a)(3)(b), available at
hnp://blo2.princelaw.com/assets/2008/7/7/ l 969-CFR-A TF-amnestv-regs.pdf.



                                                                                                                          30

                                                                                                                       Exhibit A, Pg. 204
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Alleptioll 1.                 Destructio11 of Documents

                              "ATF employees have dellberately destroyed oripw firearms
                              relistradon documents that they are required by law to maintain,
                              •noted in sworn testimony in 1996 by [an ATF SpedaHst]."
                                                                                                                           52


         In the internal 1997 ATF investigation, which was completed before the Treasury IG

started audit work to investigate Mr. Larson' s allegations, Mr. Schaible contradicted his

testimony in LeaSure about NF A Branch employees destroying N FA documents in 1994 by

stating under oath to ATF Special Agent and internal investigator Jeff Groh:

                              In response to LarllOQ 1 • tir•t alleqatian reqard.ing-
                                            testillony in u. s. Oist riot court.
                              aade reference to oertai.n d ocu.enta being destroyed at
                              the Nf'A Branch.            • s tated h• m-4•· tbe cmmeota :
                              in referance to t.houands o f Tit.le ·II fJ.re.arM         ·
                              manu factured by                     that ware .beiai.J
                              e.xported to                    Various .amiraoturers vara
                              f o rvarcling the papervorlt f or these tir.uU. BoWeVer •
                             not all of the papervorlt vas entere d. prvperly. ·into t:be
                             NFA systai. It was suspe c t ed that SOiie. or tb.e coatra.ct
                             e11pl oyees bad destroyed s cme ot th• ~ts iD an
                             effort to reduce ca- l oad . -                   &daita t:b&t
                             IArson -Y have conatrued from h is te.tillony that A'J7
                             eapl o y - -re deatroyir19 docu.ent.s, .bQt tbi• ·was not
                             th• c.se.               li1l9gested that . i.f.. t.bare' V.S· .an
                             i n cre-• in any li1FA f.ire&.r11 r 99i strat.ione, it -:r bave
                             resulted fro. tbe changes made to reflect. diffarant
                             for11 nuabers ~in9 loc.ted and entered or froa tbe
                             t r ansposit.ion ot r99.istration d ate. oa the o r iqioal
                             for . .  S ucb c:hanqea would have been added to tM Jl'FR'l'R. 53




         The October 1998 Treasury IG report stated that Mr. Scha ible

         ... was referring to an incident in 1988 when NFA Branch management suspected that
         two contract employees were disp osing of documents. These contract employees were


52
   October 1998 Treasury JG Report, at 7, available at http://www.nfaoa.or!?/documents/TreasurvOIG-99-009-
l 998.pdf.
53
   " [REDACTED], et al." Report of Investigation, by [REDACTED], Bureau of Alcohol, Tobacco and Firearms,
September 8, 1997 at 90. Congressional Hearing, House of Representatives, Treaswy, Postal Service, and General
Government Appropriations for Fiscal Year 1999 at I 02-103, available at
http://www. n faoa.org/documents/ I 998testi mony .pdf.

Mr. Schaible's reference to "Title II firearms" refers to Title II of the Gun Control Act of 1968 (Title IT is also, but
less commonly, known as the National Firearms Act of 1968); consequently, NF A firearms are also referred to as
Title Il firearms. Special Agent Groh, representing ATF Internal Investigations, contacted Mr. Larson and advised
that he had been assigned to investigate his allegations, is the author of the foregoing Report oflnvestigation.




                                                                                                                       31

                                                                                                                  Exhibit A, Pg. 205
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            immediately removed from their assignment to the NF A Branch. The employees could
            not be hired or fired since they were employed by a contractor.54

            In LeaSure, Mr. Schaible testified under oath he was aware of "occasions ... in the NF A

Branch of clerks throwing away transmissions because they don ·t want to fool with them" rather

than process them (Mr. LeaSure testified he FAXed registration documents to ATF in 1994, and

ATF claimed it was unable to find a record of them). 55 Under cross-examination, asked "that's

one of the things [NFA Branch clerks throwing away documents] that could happen to you?,"

Mr. Schaible replied "Certainly."56 In response to a question whether "people have been

transferred and fired as a result of that, haven ' t they," Mr. Schaible answered: "The only

situation I can remember is, no, they weren' t transferred. No, they weren't fi red. They

eventually quit, yes, but, no, nothing like transferred or fired." When asked "Did [ATF] ever

continue anybody in that particular job after they threw someth ing away, threw an important

transmission away or destroyed it or put it in the shredder or whatever they did? [ATF]

continued them doing that kind of work?" Mr. Schaible said " With monitoring, yes." 57

            Regarding Mr. Schaible' s contradictory statements, made under oath , the October I 998

Treasury IG audit report concluded:




S4 October 1998 Treasury IG Report at 7, available at http://www.nfaoa.org/documentsffreasurvOIG-99-009-
1998.pdf.

ss United States ofAmerica vs. John Daniel LeaSure (1996) at 42-43, available at
http://www. n faoa.org/documents/LeaSureTrial .pd f.

s6 Id. at 42-43.
57
     Id. at 43.



                                                                                                           32

                                                                                                       Exhibit A, Pg. 206
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 Our review of the allegations showed that:

     1. National Firearms Act (NFA) documents bad been desttoyed
        about 10 ye8rs ago by contract employees. We could not obtain
        an accurate estimate as to the types and number of records
        destroyed.
                                                      58


           The limited scope of the Treasury IG audit is troubling because Discovery sampling

analysis disclosed a large number (176) of "critical errors" 59 which the Treasury JG failed to

mention or publi sh in either of its 1998 audit reports, compared with 37 "discrepancies" it

identified in its December 1998 report;60 and despite finding large numbers of "critical errors,"

there was no effort to reliably estimate the accuracy and completeness of the NFRTR.

           The 1998 Treasury IG audit also raises reasonable doubt about the validity of Certificates

of Nonexistence of a Record (CNR) that ATF provides to courts to certify that no record of

registration for particular firearms can be located in the NFRTR. The reason is that the Treasury

IG auditors formally declined to evaluate the accuracy of procedures ATF uses to search the

NFRTR to legally justify issuing CNRs, which are also issued to attest that specific firearms are

not registered to specific persons. NFRTR data are also routinely used for other law enforcement

activities, including legal justifications for issuing search warrants.




58
  October 1998 Treasury IG Report at 1, available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-
1998.pdf.
59
     Work Paper H-0, April 23, 1998, at I.
60
  December J998 Treasury JG Report, at 12, available at http://www.nfaoa.org/documents/TreasuryOIG-99-018-
1998.pdf. The "discrepancies" identified in the December 1998 Treasury JG Report are identified as "critical
errors" in audit Work Papers.




                                                                                                           33

                                                                                                       Exhibit A, Pg. 207
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             The "Objectives, Scope and Methodology" section of the December 1998 Treasury IG

report states:

             Our scope did not include a review of the accuracy of ATF' s certifications
             in criminal prosecutions that no record of registration of a particular
             weapon could be found in the registry. We also did not evaluate the
             procedures that A TF personnel use to search the registry to enable them to
             provide an assurance to the court that no such registration exists in specific
             cases. Accordingly, this report does not provide an opinion as to the
             accuracy of the registry searches conducted by A TF.

             Audit work was perfonned from October 1997 through May 1998. Our
             review generally covered ATF' s administration of the registry for the
             period October 1, 1996 through March 31, 1998.

             Our work was conducted in accordance with Government Auditin&
             Standards issued by the Comptroller of the United States, and included
             ~ch audit tests as we determined necessary.

             According to the edition of Government Auditing Standards the Treasury IG used in its

audit of the NFRTR, the Treasury IG auditors failed to comply with an applicable audit standard,

"abuse," as stated below:

             Abuse is distinct from illegal acts and other noncompliance. When abuse occurs, no Jaw,
             regulation, contract provision, or grant agreement is violated. Rather, the conduct of a
             government program falls far short of societal expectations for prudent behavior.
             Auditors should be alert to situations or transactions that could be indicative of abuse.
             When information comes to the auditors' attention (through audit procedures, tips,
             or other means) indicating that abuse may have occurred, auditors should consider
             whether the possible abuse could significantly affect the audit results. If it could, the
             auditors should extend the audit steps and procedures, as necessary, to determine if
             the abuse occurred and, if so, to determine its effect on the audit results [emphasis
             added]. 62

61
     Id. at 4.
62
  See Chapter 6, " Field Work Standards for Performance Audits." Government Auditing Standards, by the
Comptroller General of the United States. 1994 Revision. Washington, D.C. : U.S. Government Printing Office,
1994at75.



                                                                                                               34

                                                                                                        Exhibit A, Pg. 208
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There is no statement in the 1998 Treasury JG reports that the auditors (1) considered whether

decreasing the "critical error" rate at the request of the audited party at interest (NF A Branch

representatives) to achieve a desired result "could significantly affect the audit results," or (2)

attempted "to determine its effect on the audit results." In a Work Paper documenting the 1998

audit procedures and activities, the Audit Manager attested that "abuse" was not an issue:


                                                         Ref.      Initials       N/A
     2.12 Auditors have been alert
          to situations or
          transactions that could be
          indicative of illegal acts
          or abuse, and have
          extended audit steps as
          necessary (GAS 6.26, 6.32,
          6.35).  (Support is
          stctement in audit
          quidelines to be alert to
          these situations or
          transactions, and any
          related work performed.)
 3



         The conduct of the Treasury IG auditors, who under Government Auditing Standards are

required to be "independent,"64 clearly "falls far short of societal expectations for prudent

behavior." The reasons are that the Treasury IG auditors (I) manipulated audit procedures at the

request of NF A Branch representatives for the purpose of deliberately decreasing the "critical

error" rate of the NFRTR because the 18.4 percent "critical error" rate the Treasury JG auditors

found was "disappointing at best and could have serious consequences for ATF' s firearm



63
  Work Paper Bundle A; page 5. The initials RKB are those of Treasury IG auditor Robert K. Bronstrup, identified
in Work Paper A-I as the "Lead Auditor"; and as "Audit Manager" in the October 1998 Treasury IG report at 27,
and December 1998 Treasury IG report at 49.
64
  Government Auditing Standards, by the Comptroller General of the United States. 1994 Revision. Washington,
D.C.: U.S. Government Printing Office, 1994 at 22. See Chapter 3, "General Standards," which states: " In all
matters relating to the audit work, the audit organization and the individual auditors, whether government or public,
should be tree from personal and external impairments to independence, should be organizationally independent,
and should maintain an independent attitude and appearance."



                                                                                                                   35
                                                                                                              Exhibit A, Pg. 209
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registry mission," (2) left unanswered whether "critical errors" exist in other NFRTR categories,

(3) failed to reliably estimate the "critical error" rate of the NFRTR, as required by Discovery

sampling rules and procedures, by increasing the size of the sample and conducting additional

analysis, (4) chose to avoid resolving reasonable doubts (created by their audit findings) about

the accuracy and completeness of the NFRTR, and by extension the validity and reliability of

ATF's Certifications of Nonexistence of a Record (CNRs) that "provide an assurance to the court

that no such registration [for an NF A firearm] exists in specific instances."

         Congressional Hearings on the NFRTR from 1996 to 2001, and related issues

         Each year from 1996 to 2001 , Mr. Larson and other concerned citizens provided

testimony or statements to the Congress about the accuracy and completeness of the NFRTR. 65

The most important outcomes of these testimonies and statements were (1) the 1998 Treasury

Department Inspector General audit of the NFRTR, and (2) appropriations language that

allocated $1 million to ATF, with instructions to use it to render the NFRTR accurate and

complete. There is no evidence, however, that either of the foregoing outcomes rendered the

NFRTR accurate and complete, or resulted in a valid and reliable estimate of the NFRTR error

rate. Consequently, the accuracy of the NFRTR is still currently unknown .

         The Treasury JG auditors did not follow GAGAS to reliably estimate the "critical error"

rate of the NFRTR database, in part, because NF A Branch representatives inappropriately

requested them to manipulate the definition of "critical error" to achieve a lower rate, but that is

not the who le story. The reason is that the Treasury IG auditors requested an Assistant Director

at the U.S. Government Accountability Office to advise them how to conduct D iscovery



65
  These Congressional testimonies and statements are listed in Mr. Larson's VITA, which has been separately
submitted to this Court, and include a variety of issues not relevant to Friesen; they are not listed or reviewed in this
motion.


                                                                                                                      36

                                                                                                                 Exhibit A, Pg. 210
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sampling in its 1998 audit, 66 and with knowledge of correct procedures for doing so declined to

follow his advice. Consequently, the "critical error" rate for the NFRTR database was not

estimated in the 1998 audit.

        Mr. Larson ' s requests to top Government officials with oversight responsibility over ATF

to conduct meaningful oversight, particularly over ATF 's continuing mismanagement of the

NFRTR, failed. For example, when Mr. Larson expressed concerns to Treasury Department

Inspector General David C. Williams about the integrity of the 1998 audit based on the Treasury

JG censoring his most serious allegation against ATF, and that the audit was conducted during a

period that included the regime of the his corrupt predecessor (who resigned in 1998 following

Senate bear ings documenting her misconduct), Dennis S. Schindel, Assistant Inspector General

for Audit, responded in a January 7, 1999, letter:




66
   The Treasury IG auditors infonnally requested Barry Seltser, Assistant Director and Manager, Design,
Methodology and Technical Assistance Group, U.S. Government Accountability Office (GAO), for advice in
conducting sampling procedures and data analysis in its 1998 audit of the NFRTR. At a January 20, 1998, meeting
at GAO Headquarters, which included Sidney Schwartz, Mathematical Statistican, GAO; Carol Burgan, Auditor
[DELETED], Robert Broostrup, Audit Manager, and Gary Wilk, Auditor:
 Mr. Seltser suggested that we use "discovery" sampling for the top three Forms that we were
 concerned about (Form 4467, Other, and Letter categories). In discovery sampling, about 60-
 70 items are selected from each category and tested for "critical" and "non-critical" errors. If
 no errors are found in this discovery sample, then we could make a statement about the
 category. If ~ors are found, then we must expand our sample based on a mathematical
 formula.
Work Paper F-19, prepared by Carol Burgan, January 24, 1998 at I.

The Treasury IG auditors did not follow Mr. Seltser's recommendation to " expand our sample based on a
mathematical formula" after discovering "critical errors" in the Discovery samples. Mr. Seltser' s advice was
infonnal; representative of the kind of infonnal advice GAO typically and often renders to Executive Branch
agencies upon request; and GAO was not involved in the Treasury IG 's 1998 audit of the NFRTR.


                                                                                                             37

                                                                                                        Exhibit A, Pg. 211
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 De a r Mr. Larson :

Mr . Wi lliams has as ke d me to res p ond to you r lette r of
November 5, 1998 .        I n that le t t er you exp re s sed concer n that t h e
previou s Ins p e c tor Genera l, Va l e rie Lau and o t h er s may have tried
to c omp romise a cong r e ssionally d ire c ted a udit of the fir ea rm
r egistrat ion practices of t h e Burea u o f Alcohol , Tob acco and
Firearms (ATF) .       Since my o ffi c e o v ersaw the wo r k , I a ssured
Mr . Wi l l iams a n d wi sh to assure you that no effort to inf luence
the audi t occurred .
67


        In March 1999, Mr. Schindel told Mr. Larson the 1998 audit "determined there were

errors in the [NFRTR] based on statistically valid sampling methodologies." He added that ATF

" is operationally responsible for correcting the errors in the [NFRTR] data base," and it is

"A TF ' s management responsibility to identify and correct all of the records that may be in error

in the registry." 68

        Similarly, Mr. Larson expressed concerns to then-ATF Director John W. Magaw, who

answered them in a November 19, 1999, letter:

 Your allegatio ns concerning my staff are totally
 without foundation.   I have been advised of all your
 allegations concerning the Bureau of Alcohol, Tobacco
 and Firearms' (ATF) administration of the National
 Firearms Act (NFA), beginning with your attempts in
 1987 to have certain firearms removed from the statute
 up through the recent issuanc e of the Off ice of the
 Inspector General (OIG) reports.   I have reviewed the
 OIG reports and agree with my staff that most of your
 allegations are witho~t merit.



67
   Eric M. Larson, Work Papers on Errors in the National Firearms Registration and Transfer Record, and Other
Issues Regarding the Bureau ofAlcohol, Tobacco, and Firearms. Prepared for the Honorable Pete Sessions, House
of Representatives, Washington, D.C., April 2, 1999 (unpublished), inserted at 36-37, available at
http://www.nfaoa.org/documents/Critigueofl 9981Greports.pdf.
68
  Letter from Dennis S. Schindel, Assistant Inspector General for Audit, Office oflnspector General, Office of
Inspector General, Department of the Treasury dated March 25, 1999, to Eric M. Larson.


                                                                                                                 38
                                                                                                           Exhibit A, Pg. 212
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 We have carefully considered the recommendations made
 by the OIG and are working to ensure that the NFRTR
 continues to be an accurate and reliable database of
 firearms transactions.
                                                                                                             69


        The foregoing statements by Assistant Inspector General for Audit Schindel and ATF

Director Magaw, each of whom were key Government officials who had major and significant

federal law enforcement responsibilities in 1999, are not worthy of belief.

        Congress appropriated $500,000 for fiscal year 2002 for ATF to use "with the aim of

reducing processing times and ensuring the completeness and accuracy of the NFRTR." 70 The

appropriations hearing records included questions by the Subcommittee on Treasury, Postal

Service and General Government about the NFRTR, including the need for " [a]n independent,

annual audit of the [NFRTR] database covering registration to retrieval ," and when it would be

"possible to confinn the completeness and accuracy of the NFRTR." 71 Congress again

appropriated $500,000 for fiscal year 2003 for improving ATF ' s licensing and regulatory

operations, " including making significant progress in correcting remaining inaccuracies within

the NFRTR database." 72




69
  Letter from John W. Magaw, Director, Bureau of Alcohol, Tobacco and Firearms dated November 19, 1999, to
Eric M. Larson at 1 and 3, available at http://www.nfaoa.org/documents/MagawLetterl 999toLarson.pdf.
70
  Report No. 107-152, to accompany H.R. 2590, Treasury, Postal Service, and General Government Appropriations
Bill, 2002. 107th Cong., lst Sess., House of Representatives (2001) at 20. These funds were approved in The
Treasury and General Government Appropriations Act, 2002, P.L. 107-67, 115 Stat. 514 (2001).
71
  "Regulatory Processes and Resources," Treaswy, Postal Service, and General Government Appropriations for
Fiscal Year 2002. Hearings before a Subcommittee of the Committee on Appropriations, House of Representatives,
l07th Congress, 1st Sess., Part I at 476-479.
72
  Report No. 107-575, to accompany H.R. 5120, Treasury, Postal Service and General Government Appropriations
Bill, 2003. 107th Cong., 2d Sess., House of Representatives at 19 (2001 ). These funds were approved in Report
No. 108-10, Conference Report to accompany H.J. Res. 2, l 08th Cong., l st Sess. at 1324-1 325 (2003).



                                                                                                             39

                                                                                                       Exhibit A, Pg. 213
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        The Subcommittee was influenced by an independent statistical expert, Dr. Fritz J.

Scheuren, who advised them in response to its request for his review of responses ATF provided

                                                          73
to three questions asked by the Subcommittee.                  Dr. Scheuren stated, in part:

                 Tec:hnolo17 question.. My readiDc oltbe OJO npone ngelU that Tfrf Mlioua
                 problw wae UDCO¥mecl in AlYa recordbepinc .,.--.. In &d, in my lcac
                 aperienc:e, I CaJlllOt think al any in.M..,... when pGmW reeal.. ""'obq;ned I
                 wu g:reatly tloubl8d. tberefon, by A'l'Fa comment that i1 " ••. band llOthinc in the
                 OIG report to julti(y a statutory or adminiatntive c1a_,._• n.e a1dam.atian
                  Coaduaoas. I can only olrer a qualified opinion cm the ATYa ao..nren but il their
                 resp cnaee ue to be takea at  r.ce value. two ccmdu.ai.oll.a aiee: (1) ATP h.u aer:iowi
                 mateJial weabieaaa in ib fintarm registration 8J1t8m which it baa yet to
                  acknowleclce and (2) the ATP &iepa taken to i.mprow it.a nicordbeping clearlJ lack
                 thoroagb!l- and probably lack timelineas as well
                Recommeadadou. Let me alftt three ncommendatiom to the Committee for its
                conaideraticm.: (1) ATP abould be ukecl to enpp u outaide audit orp.niatiou to
                cive a more complate aaeesament al the weakneaaea iD their m.tinc firearms
                system. The ecope al the OJG audit was too n.anow. 'l"h.- aactita ahould be aDDual.
                induclinc • full teet al the system from reciatntion to retDrtaL 1be Poet Office has
                such audit pnctices and afFer8 a model of.the caarpletenw needed. (2) ATF should
                be aabcl to coodact. thorough bend>markiJic e8'art lookiDg at recordbepi.ac
                pradicas an.d how they an changing both within pem.ment and iD orpnizatiana
                lib iD.9uraDc@ companies that have to keep files for long perioda. nm
                benchmarking will require another (separate) outade contnctor experienced iD
                condueciDg well atudiee.. (3) The UM ol record liDbp technologiea to eest ud
                update the ATF &re.nu sys&em Clo reduce ita iaobrtiCJD are we.th lltudy. A ma&cb
                with the SSA decedmt Se ii m ua=ple, bat there are other ~t systema
                that micbt be looked at tu0..P-1bly J~idatim wou1.cl be needed but before~
                legi.a)ation ATP should encace ~ or more ezperta in recorcl liDbce techniquea u
                CODMlltanta on the preeent '"matchahility" al the .,..._ ud need.a for its fublft
                ·matcbahilicy."                                                                          74



        Dr. Scheuren's influence is evident in the following exchange between the Subcommittee

and ATF, which subsequently occurred during ATF's appropriations hearing:

                Qtaatio•: An indcpeodeat, ammal audit of the dllblbac eow:ring rcgislntion to
         retriewl?

                A.mwer: We do oot believe an indcpandent mlit oftbe datahue u oecdc:d. The
         ongoing e:ff'oru we arc makiQg to ensure the c:ompletmeu and accuracy ofdie NFRTR by
         imaging and indexin& the documeD1s, perfunning datahaee vcrificatioa, and linking die retrieval
         system wi:dl the imaging systam will rault in stroD& iaternal ~ for tho NFR.TR.                 75



73
  Treaswy, Postal Service, and General Government Appropriations for Fiscal Year 2002. Hearings Before a
Subcomminee of the Comminee on Appropriations, House of Representatives. 107th Cong., 1st Sess., Part 3 at 23-
25, available at hnp://www.nfaoa.org/documents/200 Istatement.pdf. (Hereafter Congressional Hearings, House of
Representatives, Treasury, Postal Service, and General Government Appropriations/or Fiscal Year 2002.) Fritz J.
Scheuren, Ph.D., a past elected President of the American Statistical Association, is currently Vice President,
Statistics, National Opinion Research Center (NORC), University of Chicago.
74
  Lener from Fritz J. Scheuren dated May 23, 2000, to the Honorable Jim Kolbe, Chaim1an, Subcomminee on
Treasury, Postal Service, and General Government. Jd . at 24-25.




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                                                                                                              Exhibit A, Pg. 214
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         There is currently no evidence that ATF has satisfactorily complied with Congressional

instructions to render the NFRTR accurate and complete. The Treasury IG tenninated another

NFRTR audit in 2002 before it was completed, and a former staff member stated: "We found

there were still serious problems with the NFRTR data that, to the best of my knowledge, are still

uncorrected."76

         In 2007, seven years after ills Congressional statement, because private citizens expressed

concerns to him about the accuracy and completeness of the NFRTR, Dr. Scheuren reanalyzed

the NFRTR database situation. In a December I I, 2007, letter, to the Congress, Dr. Scheuren

reiterated and expanded his concerns about the consequences of "serious material errors" in the

NFRTR that ATF "has yet to acknowledge," and added: "In my considered professional

judgment, these errors render the NFRTR questionable as a source of evidence in federal law

enforcement."77

         In or about 2006, possibly in response to the Justice IG' s "review" of the NFRTR, ATF

created a new form entitled "Fireanns Inspection Worknote: NF A Inventory Discrepancies," a


75
   Congressional Hearing, House of Representatives, Treaswy, Postal Service, and General Government
Appropriations for Fiscal Year 2002. Hearings Before a Subcommittee of the Committee on Appropriations, House
of Representatives. 107th Cong., I st Sess., Part 1 at 479, available at
http://www.nfaoa.org/documents/l\lfRTRdocpack.pdf, at Tab 4.

In October 2008, Mr. Larson filed a FOIA request to ATF for (I) documents pertinent to this "imaging system" and
how it may help render the NFRTR accurate and complete by "imaging and indexing the documents," including any
evaluation of the accuracy and completeness of the " imaging system"; that is, whether complete documentation is
available for firearms for original registration and each subsequent transfer; (2) documents that describe the search
procedures ATF uses to provide assurances to the Court that no record of a firearm registration can be located in the
NFRTR, and (3) a copy of the current NFRTR procedures manual. ATF has not provided any documents in
response to any of the foregoing FOIA requests to date.
76
  For additional information, see Stephen P. Halbrook, Firearms Law Deskbook: Federal and State Criminal
Practice. 2008-2009 Edition. Thomson West Publishing, 2008 at 572-573.
77
   Letter to the Honorable Alan B. Mollohan, Chairman, Subcommittee on Commerce, Justice, Science, and Related
Agencies, Committee on Appropriations, House of Representatives dated December 11 , 2007, by Fritz J. Scheuren,
Vice President, Statistics, National Opinion Research Center, University of Chicago, at I , available at
http://www.nfaoa.org/documents/Scheuren Committee Chair Letter.pdf.



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copy of which Mr. Larson obtained by a FOIA request. 78 A copy of this form is reproduced as

received by Mr. Larson from ATF on the following page.




78
  Letter to Averill P. Graham, Chief, Disclosure Division, Bureau of Alcohol, Tobacco, Firearms and Explosives
dated January 24, 2007, by Eric M. Larson, available at http://www.nfaoa.org/documents/FOIA-FRTRJan2007.pdf.



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             In his January 2007 FOTA request, Mr. Larson also requested ATF to provide

 2) Written or audio instructions to ATF personnel which provide guidance
    and/or definitions of what constitutes an "error" or "discrepancy" in the
    NFRTR.. These would include classroom training materials, flash cards, a
    manual or similar guide, instructions imparted via DVD, videotape or similar
    mediums of communication. These instructions would most likely be given
    to ATF Inspectors, but may also be given to Legal Document Examiners,
    A TF Special Agents, and others.
                                                                                                                  79


            ATF stated that a search failed to locate such documents responsive to Mr. Larson 's

FOIA request, and he appealed. In a letter dated October 2, 2007, Janice Galli McLeod ,

Associate Director, Office oflnformation and Privacy, Department of Justice, stated:

            After carefully considering your appeal, I am affirming ATF's action on your request.
            A TF conducted a search for records responsive to your request and was unable to locate
            any records pertaining to the National Firearms Registration and Transfer Record
            documentation you referred to in your request. I have determined A TF's response was
            correct.80

            Associate Director McLeod 's statement may be valid and reliable evidence that ATF and

the Department of Justice have improperly denied a FOIA request. It is hard to believe that a

form ATF inspectors are supposed use to record "discrepancies" in the NFRTR database after

encountering them during compliance inspections of SOTs would not have been given

instructions regarding and procedures to fo llow in to reliably identify and report suspected

"discrepancies," when the stated "purpose" of the form is to "reconcile discrepancies" in the

NFRTR. It is not reasonable to believe ATF has not defined the tem1 "discrepancy," because

otherwise there would be no reason for the new form to exist.




79
     Id. at 1.

so Letter to Eric M. Larson from Janice Gail McLeod, Associate Director, Office oflnforrnation and Policy, U.S.
Department of Justice dated October 2, 2007, bearing identifiers RE: Appeal No. 07-196 I, Request No. 07-458,
BE:REG, available at http://www.nfaoa.org/documents/McLeodDOJletter2007.pdf.


                                                                                                                  44
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        According to SOTs who have been inspected in or after 2006, A TF personnel who

encounter a discrepancy in NFRTR data are required to assign each discrepancy a "control

number" and forward the information to the National Firearms Act Branch for resolution. Are

there not tabulations, analyses, and other performance measures used to eva luate the accuracy

and completeness of the NFRTR? Are there no records of the type and number of discrepancies?

Associate Director McLeod ' s statement that no documents responsive to Mr. Larson' s FOIA

request can be found at National Firearms Act Branch is unworthy of belief.


                         Giambro: A 2007 federal court case involving the NFRTR


        Jn 2008, the United States Court of Appeals for the First Circuit upheld the validity of

NFRTR data, including its use in twice creating a Certificate of None:ldstence of a Record, in

affirming a conviction for Possession of Unregi stered Firearm. 81 The Court of Appeals based its

decision mainly on Rith, testimony on the NFRTR's reliability by A TF Specialist Gary N.

Schaible, and stated " [a]lthough both the Rith court and the district court here acknowledged past




81
  United States ofAmerica vs. Dario Giambra, United States Court of Appeals for the First Circuit, No. 08-1044,
October 2, 2008, available at http://www.ca I .uscourts.gov/cgi-bin/2etopn.pl?OPfN ION=08- I044P.O I A. Hereafter
Court of Appeals, United States ofAmerica vs. Dario Giambra (2008).

The Court of Appeals decision was based on United States vs. Dario Giambra, United States District Court, District
of Maine, Criminal Action, Docket No. 07-14-P-S. Transcript of Proceedings, before the Honorable George Singal,
U.S. District Judge, Sept. 25, 2007, available at htto://www.nfaoa.orl?/documents/GiambroTrial I .pdf; rest of
transcript continued at http://www.nfaoa.org/documents/GiambroTrial2.pd( Hereafter United States ofAmerica vs.
Dario Giambra (2007).

The firearm , a Model 1908 Marble's Game Getter Gun, is a low-powered small-game over-and-under combination
gun (has .22 long rifle/.44 Game Getter barrels 12" in length) with a folding shoulder stock, and was designed
mainly for trappers, hunters and outdoorsmen. The Model 1908 Game Getter is classified as " Any Other Weapon"
under the NFA (26 U.S.C. § 5845(a)(5)), was last manufactured in 1914. Jn excellent condition, accompanied by
the original box, a 12" barrel Model 1908 Game Getter is valued at $2,500 or more. Ned Schwing, "Marble's Game
Getter Gun NFA, Curio or Relic," 2005 Standard Catalog of Firearms: The Collector 's Price & Reference Guide.
15th Edition. Iola, Wisconsin: KP Books, 2004 at 728.



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                                                                                                          Exhibit A, Pg. 219
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problems with the NFRTR, both emphasized that the ATF has addressed problems with the

database and improved its reliability."

           The Court of Appeals did not state that it specifically reviewed either of the 1998

Treasury IG audit reports, or the 2007 Justice IG report (all were introduced in Giambra), in its

opinion and went on at length to affirm the District Court decision to exclude Mr. Larson as an

Expert Witness. In particular, the Court of Appeals cited the District Court finding that Mr.

Larson 's motion in limine testimony 82 was not "based upon sufficient facts or data," not "the

product of reliable principles and methods," and that Mr. Larson had not "applied the principles

and methods reliably to the facts of the case." 83 The Court of Appeals stated that "suppositions .

. . and conjecture abound(ed]" in Mr. Larson' s testimony, and the District Court "was well

within its discretion" to "conclude that ... the data on which Larson based his ana lysis was

'purely anecdotal. "'84

           The Court of Appeals decision was criticized the same day it was published.85


82
  United States ofAmerica vs.Dario Giambro, United States District Court, District of Maine, Criminal Action,
Docket No. 07-14-P-S. Transcript of Proceedings before the Honorable George Z. Singal, United States District
Judge, Sept. 24, 2007, available at http://www.nfaoa.org/documents/GiambroMotionlnLimine-
LarsonTestimony.pdf. HereaHer Larson testimony, United States ofAmerica vs.Dario Giambra (2007).

An enhanced version of Mr. Larson's testimony. with insertions of the Exhibits to which he referred has been
created for ease of reference to said Exhibits, is available at
http://www.nfaoa.org/documents/GiambroLarsonMotionlnLimineTestimonvWithExhibits.pdf.
83
     Court of Appeals, United States ofAmerica vs. Dario Giambra (2008).

84 Id.


85
   See "CA I: First Bends to Help Government Prove Negative in Antique Gun Registration Case," Oct. 2, 2008.
The critique states: "US v.Giambro, No. 08-1044 affim1s a conviction for possessing an antique gun. (He was
acquitted of a number of state charges.) The least interesting issue is under 26 U.S.C. 5861 (d), where the court
holds that the defendant need not have specific knowledge of the registration requirement, but just knowledge of the
statutory elements of the guns subject to the registration requirements. More interesting is the admission of the
A TF's ' Certificates of Nonexistence' of a registration record. The maker of the certificate testified. The First's
analysis isn't that satisfactory. It basically says ' other circuits have upheld their use' even though there used to be
problems. Finally, and without much analysis, the First says that it was fine for the District Court to exclude the
testimony of an expert witness that had done some statistical analysis on the reliability of the ATF's system of gun
registration. Because the First speaks in broad, general terms (and throws around words like ' Daubert'), it doesn't


                                                                                                                    46
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           Mr. Larson' s motion in limine testimony was based upon, and is not materially different

from , most of the evidence presented in this motion. It was not until his motion in limine

testimony in Giambro that Mr. Larson concluded ATF had been adding firearm registrations to

the NFRTR after being confronted with NFA firearms owners with their copies of the

registrations, based on the 2007 Justice I G report, and that is what he stated. 86 For more than a

decade, Mr. Larson qualified his concerns that, e.g., ATF "may have" added registrations to the

NFRTR after losing their copies or records of them, because Mr. Larson did not believe the

evidence he cited was sufficiently conclusive. 87 It was only after the Justice JG report reported

in 2007 that ATF had added registration documents to the NFRTR that he concluded otherwise

(the Treasury IG confirmed his allegation that "National Firearms Act (NFA) documents had

been destroyed").88

           Giambro differs from Friesen because (1) Mr. Giambro never contended the NFRTR was

inaccurate with respect to him, and told one of his attorneys he had not registered the firearm, 89



seem like it was taking this issue seriously." Available at http://appellate.typepad.com/appellate/2008/J Olea 1-first-
bends.html.

86
     Larson testimony, United States ofAmerica vs.Dario Giambro (2007) at 67-68.
87
  It would have been inappropriate for Mr. Larson to attempt to estimate or publish (such as in a professional,
refereed journal) a "critical error" rate of, e.g., ATF adding firearm registrations it had lost or destroyed to the
NFRTR, because any such estimate would not have been based on valid and reliable evidence.

Results of Discovery sampling analysis by Treasury IG auditors in 1998 provided valid and reliable evidence of
"critical errors" in the NFRTR database, but the auditors failed to extend the audit as GA GAS required and estimate
the " critical error" rate, or explain the effect of these "critical errors" upon the audit. Because the NFA (26 U.S.C.A.
§ 5848) and the tax code (26 U.S.C. § 6103) each prohibit Mr. Larson from accessing these data, he was unable to
estimate the "critical error" rate for NFRTR data.
88
   October 1998 Treasury IO Report at 1, available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-
l 998.pdf.
89
  An unexplored aspect of Giambro is whether his late father - from whom Mr. Giambro inherited the Game Getter
and 203 other firearms, and who instructed him to always keep an accompanying "certificate" in the original
wooden box provided by the manufacturer along with the gun - had registered the Game Getter or acquired it
through a lawful transfer approved by ATF, and ATF withheld the registration record to enable a prosecution after
Mr. Giambra was acquitted in state court of an unrelated firearm wounding charge on grounds of self-defense. This


                                                                                                                       47
                                                                                                                  Exhibit A, Pg. 221
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(2) that attorney misunderstood the NF A and attempted to register the fi rearm on Mr. Giambro 's

behalf, and (3) both attorneys petitioned the District Judge to exclude Mr. Giambro 's statements

and the attempt by one attorney to register the firearm, because the NF A prohibits using

information resulting from an attempt to register an NFA firearm in criminal prosecutions,90

which could have predisposed the District Judge to fail to adequately consider evidence at trial

that the NFRTR is inaccurate and incomplete.

                   In Friesen, this Court questioned the reliability of NFRTR data

           On September 17, 2008, this Court expressed concerns about the validity and reliability

ofNFRTR data in Friesen, in part because the "government has relied almost exclusively" upon

NFRTR data in "many of its exhibits. " 91 In further explaining the reasons that "persuade[d] me

to allow the testimony [of Dr. Scheuren] and overrule the motion" by the Government to exclude

him as an Expert Witness, the Court stated:

           One is, of course, the duplicate records of Exhibit 100, and then the government's record
           of the same firearms, which both appear - I've never heard satisfactorily explained why
           there were two of those records. Secondly, the other relationship to the issue over the
           accountability of the other guns that are on the government's chart. And thirdly, the issue,

unexplored aspect is significant because (1) there are no independent checks on whether ATF personnel are truthful
about their inability to locate a registration document, (2) as the evidence in this motion has reliably documented and
contends, there is reasonable doubt regarding ATF's integrity in characterizing the accuracy and completeness of
NFRTR data, (3) there has been no publicly known independent evaluation of the adequacy of the search procedures
ATF uses to certify to a court that a particular firearm is not registered, and (4) it is not uncommon for persons who
inherit registered NF A firearms to be unaware of the need to apply to have ownership of the firearm transferred to
them. In such cases, as long as the firearm remains in the chain of inheritance, ATF does not typically initiate
criminal action and allows a reasonable time for the firearm to be transferred to the lawful heir. Based on Mr.
Giambro 's statement, he did not register the Game Getter. It is unclear whether (1) the Game Getter was registered
to Mr. Giambro's father (ATF attested that it was not), and (2) Mr. Giambro was aware oftbe legal requirement for
a registered NF A firearm to be transferred to a lawful heir after the death of the registered owner. Because Mr.
Giambra may have been suffering from mental illness to some extent, which could have further complicated his
legal situation, he did not fully participate in his own defense. Mr. Giambro, whose assets include a $3.5 million
passbook savings account, chose to remain in jail for 5 months until trial because he believed the Government would
make corrupt use of the bail money he would have had to post to be released.

90
  United States of America vs. Dario Giambro, United States District Court, District of Maine, Criminal Action,
Docket No. 07-14-P-S. Motion in Limine re: Evidence of Disclosure oflnformation During Compliance Attempt
(26 U.S.C. 5989), July 24, 2007, available at http://www.nfaoa.org/documents/GiambroPart6.pdf.

91
     United States ofAmerica vs. Lany Douglas Friesen (2008), Vol. Vl at 1012.


                                                                                                                   48
                                                                                                              Exhibit A, Pg. 222
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            the fact that the government has relied almost exclusively on many of its exhibits which
            are records from the [NFRTR]. 92


            Regarding this Court' s first concern, NFRTR Custodian Denise Brown' s failure to

satisfactorily explain the existence in NFRTR records why there are two approved Forms 2

bearing different dates and the same serial number (E683) as that of the STEN machine gun that

ATF acknowledges it lawfully transferred to Mr. Friesen in 1996, ind icates a lack of knowledge

of the NFRTR database and, possibly, of procedures NF A Branch personnel use to file or

retrieve fi rearm registration documents (or records of them). 93

            Relevant to this Court' s second concern was "the other relationship to the issue over the

accountability of the other guns" the Government introduced into evidence to try and explain the

characteristics of the STEN machine gun at issue in Friesen. ATF' s characterization of

"weapon description" of the STEN machine gun as a Mark II,94 a point this motion will further


92
     Id., Vol. VJ at 1011 - 1012.
93
  Defense counsel asked NFRTR Custodian Denise Brown to explain the significance of a Form 2 dated April 20,
1986, entered as Defense Exhibit I 00, bearing serial number E683, provided to the defense under Discovery. The
Government said the NFRTR contains a record that a STEN machine gun bearing serial number E683 is registered
to Mr. Friesen (Vol. 1, Id. at 15). Custodian Brown testified that the firearm ATF approved for transfer to Mr.
Friesen was "E683, STEN Mark II ... approved February 22, 1996" (Id. at 48-49), and that the "birthing
document" for that E683 STEN Mark Il is a certified Form 2 dated May 14, 1986, submitted to ATF by
manufacturer Charles Erb Od. at 68).
94
  At issue in Friesen is whether the STEN machine gun bearing serial number £683 manufactured by Mr. Erb is the
same one he manufactured, or if another STEN machine gun bearing serial number £683 was substituted in its
place. Consequently, also at issue is the accuracy of the STEN "weapon description" based on (I) data from the
NFRTR, and documentation in the custody of ATF, and (2) examinations of the STEN seized by ATF, by ATF
officials, by Mr. Erb, by transferees who previously owned the STEN, and by a defense Expert Witness. The
Government contends the STEN that ATF lawfully transferred to Mr. Friesen is a Mark II, based on the description
on the Form 2 submitted by Mr. Erb (Id. at 15) and by previous transferees wbo were available to testify, all of
whom denied that the STEN in Friesen was the STEN they had previously owned, and by others as described below.
Because one previous transferee is deceased (Vol. IV at 674-675), descriptions by other previous transferees are not
described in this motion.

After examining the firearm at trial in Friesen, Mr. Erb testified it was not the gun he manufactured "as £683" (Vol.
IV at 590); was "made to resemble a STEN Mark III" (Id. at 574); and that the gun " is a MARK Ill" (Id. at 579).
Len Savage, an Expert Witness for the defense who examined the STEN testified: "It appears to be a Sten Mark 11-S
tube that was completed with Sten Mark IlI components." Vol. VU at 1349. Mr. Erb testified: "The barrel is the
same on a Mark lil and a Mark II. They are the same length ." Vol. IV at 589.


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                                                                                                             Exhibit A, Pg. 223
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develop, is relevant to the Court' s second concern. Defense counsel agrees that ATF approved

the lawful transfer of a STEN machine gun bearing serial number E683 to Doug Friesen in 1996,

and disagrees with the Government's characterization of that STEN as a Mark II. Defense

counsel notes that to validate the its description of the STEN machine gun bearing serial number

E683 as a Mark II, the Government sought "confirmatory" information that the Mark II

description was valid and reliable. The Government sought this "confirmatory" information

because Dr. Scheuren testified: " I find the existing [NFRTR] records are quite useful in an

exploratory setting, but they are not accurate enough by themselves to be used in a confirmatory

way," including "for purposes of prosecution." 95

            The Government asked Dr. Scheuren ifNFRTR data could be reliably verified each time

the firearm was transferred by independently obtain ing such data from each transferee, he would

consider the NFRTR data to be accurate for that firearm. Dr. Scheuren replied in the affirmative.

On redirect, defense counsel asked " . .. although you didn't come here to testify about this, if

there is a break in the link, for example, one of these witnesses didn't testify, would that cause

you a concern?" Dr. Scheuren answered: " [J]f there was gap in the evidence, yes. If there was a

chain of custody break, yes." The significance of Dr. Scheuren 's answer is that "one of these

witnesses" is a deceased transferee,96 which breaks the chain of evidence.




Also at issue is whether the STEN machine gun manufactured by Mr. Erb was (l) an unfinished tube, not a finished
receiver, (2) finished by Mr. Erb as a STEN Mark TI, (3) finished by someone other than Mr. Erb in as a STEN Mark
Il, Mark 11-3, or Mark III, or ( 4) whether Mr. Erb registered air on one or both of the Forms 2 he submitted to ATF;
that is, that Mr. Erb had not physically manufactured a S1EN Mark II or a finished or unfinished receiver.

The issue of who manufactured or finished the S1EN machine gun in Friesen has not been resolved.
95
     Id., Vol. VJ at I 024.
96
     Id., Vol. IV at 674-675.




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                                                                                                             Exhibit A, Pg. 224
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            This Court' s third concern about Friesen - "the fact that the government has relied

almost exclusively on many of its exhibits which are records from the [NFRTR]"97 - is justified

for three major reasons.

           First, the "critical error" rate of the NFRTR is currently unknown, and efforts to discern

or estimate it even informally are compromised because ( 1) A TF officials changed the definition

of a " Significant Error" in 1995 by renaming it an "Error," and (2) Treasury IG auditors

manipulated the definitions of "critical error" in 1998 at the request of NFA Branch

representatives, to subjectively lower the "critical error" rate of the NFRTR. Dr. Scheuren

testified that " in fact, their reworking of the original 1998 data is data fishing. And you cannot

make a statement about the reliability, the probability of your being right with that data fishing,

that exercise. So they should have done another audit sample. 98

            Second, relevant to Friesen, there is no law or regulation that requires A TF to physically

inspect an NFA firearm at the time of its original manufacture (or as a condition of or during any

subsequent transfer), and ATF has not presented any evidence that it has done so. Because one

transferee who possessed the STEN machine gun bearing serial number E683 is deceased, the

chain of evidence has been broken and it is not possible to reliably confirm even by sworn

statements of all living previous transferees that ATF ' s contention that STEN is a Mark II is

correct. Even if all living transferees so testified, there is no logical reason for any of them to

testify to a "weapon description" with which the Government disagrees, because doing so would

put the onus of alleged illegal manufacture of the STEN upon that previous transferee and

subject him to the hazards of prosecution.


97
     Id., Vol. VJ at 1012.
98
     Id., Vol. VJ at 1030.



                                                                                                      51

                                                                                                   Exhibit A, Pg. 225
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           Third, although ATF has identified "weapon description" as a "critical" data fie ld,99 that

is not the most critical problem with the NFRTR data A TF uses and the concern stated by this

Court in Friesen about "the issue, the fact that the government has relied almost exclusively on

many of its exhibits which are records from the [NFRTR]." 100 The reason is that based on ATF's

inability to physically locate original documents that literally are NFRTR data, there is

reasonable doubt whether Exhibits based on NFRTR data that the Government entered into

evidence in Friesen are based on valid and reliable evidence. During the 1998 audit A TF was

unable to provide original documentation to validate computerized data routinely generated by

the NFRTR. ATF 's inability to locate original documents to reliably validate computerized

NFRTR data is an audit finding in the December 1998 Treasury IG report as follows:

           A TF provided copies of other records to clarify the [37] discrepancies [reported in our
           audit results]. These other records, for example, included microfiche records and other
           registry database reports. We examined these records but we could not fully determine if
           the records sufficiently resolved the discrepancies. 101

           A TF' s inability to locate original documents, and the Treasury IG auditors' inability to

reliably validate computerized NFRTR data, is further discussed in an audit Work Paper that was

not reviewed and signed by Audit Manager Robert K. Bronstrop until December 18, 1998, the


99
   Treasury IG auditor Carol Burgan stated that "error definitions for critical data fields" include "weapon
description." Work Paper F-25, Feb. 19, I 998, at l. During a January 21 , 1998, meeting at ATF Headquarters that
included ATF participants ("[redacted), Chief, Firearms and Explosives Division," and [redacted)), Carol Burgan,
Auditor [redacted), and Gary Wilk, Auditor, agreed that
 Critical errors would include: serial number of the weapon, name of weapon owner,
 address of owner, date of application (if·applicable), date of birth, and ·weapon
 description. Address of owner is important however, owners do not have to report
 intrastate mov~ (only interstate).
Work Paper F-22, January 26, 1998, prepared by Carol Burgan, at l. Both Work Papers in this footnote available at
http://www.nfaoa.org/documents/Work Papers F.pdf.
100
      United States ofAmerica vs. Larry Douglas Friesen (2008), Vol. VI, at l 0 I 2.
101
  December 1998 Treasury IG Report, at I 2, available at http://www.nfaoa.org/documents/TreasurvOIG-99-018-
1998.pdf.



                                                                                                               52

                                                                                                          Exhibit A, Pg. 226
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 228 of 675
         Case 5:08-cr-00041 -L Document 123 Filed 03/19/2009 Page 53 of 57



same day the December 1998 Treasury IG report was published, suggesting there was the most

extreme of concerns about this audit finding. In fact, Jess than 3 weeks before the report was

issued, Treasury IG auditor Gary Wilk determined and stated the following conclusion:

 Conclusion:               Examination of the ATF of the photo copied records did not permit this
                           auditor to fully determine whether the discrepancies continued to exist within
                           the computerized NFRTR database. The materials did not clearly
                           de~onstrate that the computer system, typically in use, provides reliable and
                           valid data when a search is performed. ATF did demonstrate that they have
                           the capacity to generate various information from various sources but the
                           original documentation remains missing and the accuracy ofthe
                           documentation provided cannot be assured.
                                                          102


           At the outset of Friesen on Sept. 17, 2008, this Court stated: "the evidence that I exclude

... is [if] it' s not relevant to this case, or secondly, it' s not reliable evidence." 103 The conclusion

of Treasury IG auditor Gary Wilk constitutes reasonable doubt that computerized NFRTR data

are valid and reliable. To the extent any Exhibits introduced by the Government in Friesen are

based upon computerized NFRTR data, such exhibits may not be " reliable evidence" and should

be excluded by this Court as evidence in a criminal trial unless the validity and reliability of the

NFRTR data upon which such Exhibits are based can be independently and reliably validated.

           In addition to other evidence presented in this motion that NFRTR data are inaccurate,

incomplete and, therefore unreliable, there is also valid and reUable evidence that statements by

ATF inspectors (including statements of ATP inspectors involved in Friesen), which are based

on NFRTR data may not be reliable. The reason is that the 2007 "review" of the NFRTR by the

Justice JG concluded:

           . .. continuing management and technical deficiencies contribute to inaccuracies in the
           NFRTR database. For example, NF A Branch staff do not process applications or enter

102
   Work Paper F-52, November 30, 1998, prepared by Gary Wilk, at 1, available at
http://www.nfaoa.org/documents/Work Papers F.pdf.
103
      United States ofAmerica vs. Douglas Lany Friesen (2008), Vol. I, at 5.


                                                                                                       53

                                                                                                  Exhibit A, Pg. 227
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            data into the NFRTR in a consistent manner, which leads to errors in records and
            inconsistent decisions o n NF A weapons applications. 1n addition, the NF A Branch has a
            backlog of record discrepancies between the NFR TR and inventories of federal firearms
            licensees that were identified during ATP compl iance inspections. Further, the NFRTR's
            software programm ing is flawed and causes technical prob lems for those working in the
            database. The lack of consistency in procedures and the backlog in reconciling
            discrepancies, combined with the technical issues, result in errors in the records,
            reports, and queries produced from the NFRTR. These errors affect the NFRTR' s
            reliability as a regulatory tool when it is used during compliance inspections of
            federal firearms licensees. 104 [emphasis added)


            The Justice IG eval uators did not define the terms "error" or "discrepancy" in the 2007

report, and their " review" did not include determining the extent to which N FRTR data are

accurate and complete. The 2007 Justice IG report acknowledges Jack of an NFRTR procedures

                                               105
manual and inadequate training of staff.             "Supervisors' inadequate training led to variations in

their direction and inconsistent decisions about approvi ng or disapproving N F A weapons

   .     . and trans fier app 11cat1ons.
reg1strat1on                   · .       ,,106

                       NFRTR data that cannot be independently and reliably
                         validated should be excluded from a criminal trial


            The totality of evidence presented and documented in this motion establishes that federal

law enforcement officials, and representatives of the Treasury Department, have willfully

engaged in systematic efforts to cover up the fact that the NFRTR contains serious material

errors, and that its error rate is currently unknown, among other issues relevant to Friesen. The

Treasury Department's successor, the Department of Justice, has a lso declined to consider valid

and reliable evidence that the NFRTR is inaccurate, incomplete and, therefore, unreliable.

104
  June 2007 Justice JG Report at iii, available at http://www.nfaoa.org/documents/DOJ-
OIG2007NFRTRreport.pdf.
105
   "The NFA Branch does not provide staff with a comprehensive standard operating procedures manual," and NF A
Branch staff stated that they did not have adequate written direction on how to enter data such as abbreviations in
the NFRTR ... and who has responsibility for correcting errors in the NFRTR." Id. at v.
106
      Id. at v-vi.


                                                                                                                54

                                                                                                           Exhibit A, Pg. 228
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 230 of 675
      Case 5:08-cr-00041-L Document 123  Filed 03/19/2009 Page 55 of 57



Attestations or testimonies about NFRTR data by ATF and other Government officials are, as

demonstrated in this motion, not worthy of belief.

        The totality of the breadth, depth and diversity of reliably documented evidence

presented in this motion justifies this Court prohibiting the Government from using any NFRTR

data that cannot be independently and reliably validated in prosecuting Doug Friesen in a

criminal trial.

        Reasonable doubt about the accuracy and completeness of the NFRTR has been reliably

established by a variety of documented evidence published by a diverse array of Government

entities that include (1) the Executive Branch (Justice IG, Treasury IG, ATF, Audit Services

Division of the Treasury Department); (2) the Legislative Branch (Congressional Research

Service, the Congress in the Congressional Record, Congressional Hearings in 1979 and during

1996 to 2001; and "report language" in reports on appropriations bills; and (3) the Judicial

Branch (the sworn testimony of and official documents presented by ATF officials in Friesen).

        Also regarding the Judicial Branch, in 2007 the Government implied Mr. Larson ' s

research was not customary or diligent when he was asked by an Assistant United States

Attorney during a federal court hearing to confirm that he " .. . never had personal or direct

access to any ATF documents internally? And you've never had personal or direct access to the

NFRTR?" 107 Because NFRTR data are protected from disclosure under the NFA (26 U.S.C.A . §

5848), and are also considered "tax return" information prohibited from disclosure under the tax

code (26 U.S.C.A. § 6103), it was not legally possible for Mr. Larson to obtain "personal or

direct access" to the NFRTR and related documents under the NF A; moreover, neither could any

other person, with the limited exception discussed below.

107
   Larson Testimony, United States ofAmerica vs. Dario Giambro (2007) at 79, available at
http://www.nfaoa.org/documents/GiambroMotionlnLimine-LarsonTestimonv.pdf.




                                                                                                  55

                                                                                               Exhibit A, Pg. 229
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 231 of 675
      Case 5:08-cr-00041-L Document 123  Filed 03/19/2009 Page 56 of 57



        To any extent ATF may claim that NFRTR documents, data or records of them are

protected "tax return" information that cannot be disclosed and decline to provide that

information to defense counsel under any Discovery motion, ATF cannot decline to disclose that

information to this Court. The reason is that after reviewing pertinent statutes, ATF determined

in 1978:

                                        · ··-·-- -- - - -:--- -            1.n
                                                                           ~-..,.•••••       •u~•~••19
         the return aub•ltted by the .tranaferor. lxoept · for
         •ectlon ClOl(o)(l) whlcb .authorlse• tbe dl1olo1ure ·of
         •ubtltl• I (l.e., Chapter• 11-SJ) tax lnforaatlcn to
        Pedetal ••ployeea who•• offlalal duties ·require 1uab
         inforaatlon, the only dlacloaure aubaection re9ardlnt
        Cbapter ·53 return• and return lnformatfon ta section
        610J(d) 9overnln9 dlaaloaure to State tax otflolal1
        IPha .. • . , . . , _... ..1--- __ . _ " --• -- • · -·  - -- . 108 t

        Since this Court is constituted by a Federal employee "whose official duties require such

information," there is no legal basis for A TF to refuse to disclose "tax return" information if it is

relevant and required, including potentially exculpatory evidence under Brady. Accordingly, to

the extent this Court believes it could be better infonned about the accuracy and completeness,

and val idity and reliability, ofNFRTR data by obtaining documents or information that may

constitute "tax return" information, Doug Friesen respectfully requests this Court to consider

compell ing A TF to disclose such information for review by this Court for these proceedings.

                                               Conclusion


                For the reasons set forth above, Defendant requests this Honorable Court grant a

        hearing on this motion and, thereafter to exclude, under F.R.E. 803(10), any evidence




108
   Memorandum to Director, A TF, from ATF Chief Counsel regarding Freedom of In formation Act Appeal of
[redacted] dated August 18, 1980, bearing symbols CC-18,778 RMT, at 14, available at
http://www.nfaoa.org/documents/ ATFmemoTaxlnfo6 l 03.pdf


                                                                                                          56

                                                                                                    Exhibit A, Pg. 230
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       derived from a search of the N FRTR that has not been independently and reliably

       validated.


                                                   Respectfully Submitted.
                                                     SI 1<.c.MJ a 1t cA-. JvJt.c;..t.
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                                                   Kenda Il@ Marti n lawoffi ce. net
                                                   Attorneys for Defendant
                                                   Larry Douglas Friesen


                             CERTIFICATE OF SERVICE

       I hereby certify that on Thursday, March 19, 2009, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants: Mr. Edward J. Kumjega, Assistant
United States Attorney.




                                                                                             57

                                                                                          Exhibit A, Pg. 231
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                         Exhibit 7

         ( Attorney General Eric Holder held in
                 contempt of Congress )




                                                                Exhibit A, Pg. 232
Attorney General Eric Holder held in contempt
          Case 1:18-cv-02988-DLF              of Congress
                                        Document          - POLITICO.com
                                                   1-2 Filed             Print234
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                                                                                  of 675Page 1 of 4




                                          See how Goldman Sach5 is helping
                                          Titan International grow.
                                                      10 0




   POLITICO
   Attorney General Eric Holder held in contempt of Congress
   By: John Bresnahan and Seung Min Kim
   June 28, 2012 04:43 PM EST

   The House has voted to hold Attorney General Eric Holder in contempt of Congress over his
   failure to turn over documents related to the Fast and Furious scandal , the first time Congress
   has taken such a dramatic move against a sitting Cabinet official.

   The vote was 255-67, with 17 Democrats voting in support of a criminal contempt
   resolution , which authorizes Republicans leaders to seek criminal charges against Holder.
   This Democratic support came despite a round of behind-the-scenes lobbying by senior
   White House and Justice officials - as well as pressure from party leaders - to support
   Holder.

   Two Republicans, Reps. Steve LaTourette (Ohio) Scott Rigell (Va.), voted against the
   contempt resolution .

   Another civil contempt resolution, giving the green light for the House Oversight and
   Government Reform Committee to sue the Justice Department to get the Fast and Furious
   documents, passed by a 258-95 margin . Twenty-one Democrats voted for that measure.

   But dozens of other Democrats marched off the floor in protest during the vote, adding
   even more drama to a tumultuous moment in the House chamber.

  The heated House floor fight over Holder capped a historic day in Washington, coming
  just hours after the Supreme Court, just across the street from the Capitol, issued its
  landmark ruling upholding most of Barack Obama's health care law. The passions of the
  day were evident inside the Capitol, where Democrats accused Republicans of ginning up
  the contempt vote for political purposes while Republicans continued to charge the Justice
  Department with a cover up on the Fast and Furious scandal.

   The fight over the Holder contempt resolution also drew intense interest from outside
   groups ranging from the NAACP to the National Rifle Association.

   In a statement released by his office, Holder blasted the contempt votes as "politically
   motivated" and "misguided," and he singled out Rep. Darrell Issa (Calif.) , chairman of the
   Oversight and Government Reform Committee and lead Republican on the Fast and
   Furious probe, for special criticism .

   "Today's vote is the regrettable culmination of what became a misguided - and politically
   motivated - investigation during an election year," Holder said in his statement. "By
   advancing it over the past year and a half, Congressman Issa and others have focused on
   politics over public safety. Instead of trying to correct the problems that led to a series of
   flawed law enforcement operations, and instead of helping us find ways to better protect
   the brave law enforcement officers, like Agent Brian Terry, who keep us safe - they have
   led us to this unnecessary and unwarranted outcome. "



                                                                                 Exhibit A, Pg. 233
http://dyn.politico.com/printstory.cfm?uuid=EE3F7BOA-6740-499F-8836-47489F9B7A17  12/7/2013
Attorney General Eric Holder held in contempt
          Case 1:18-cv-02988-DLF              of Congress
                                       Document           - POLITICO.com
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   Holder added: "Today's vote may make for good political theater in the minds of some, but
   it is - at base - both a crass effort and a grave disservice to the American people. They
   expect - and deserve - far better."

  White House officials also slammed House Republicans for the unprecedented contempt
  vote. White House Communications Director Dan Pfeiffer said GOP congressional leaders
  "pushed for political theater rather than legitimate congressional oversight. Over the past
  fourteen months, the Justice Department accommodated congressional investigators,
  producing 7,600 pages of documents, and testifying at eleven congressional hearings ...
  But unfortunately, a politically-motivated agenda prevailed and instead of engaging with
  the President in efforts to create jobs and grow the economy, today we saw the House of
  Representatives perform a transparently political stunt.

   However, Speaker John Boehner (R-Ohio), in a brief interview with POLITICO, blamed
   Holder for the standoff. Boehner said the Justice Department wanted to turn over some
   Fast and Furious documents - but not all - if the House agreed to drop the contempt
   resolution, a deal that neither Boehner nor Issa was prepared to make.

  ''The idea that we're going to turn over some documents, and whatever we turn over is all
  you're gonna get and you have to guarantee that you're never going to seek contempt, no
  deal," Boehner said.

  Boehner added that Holder never sought a personal meeting with him to resolve the fight,
  despite suggestions from some Obama administration officials that Holder asked to do so.

   (Also on POLITICO: Report: Holder said no 'BS' on guns)

  Issa also said the House had to take such a move in order to get to the bottom of the Fast
  and Furious scandal.

  "Throughout this process, I have reiterated my desire to reach a settlement that would
  allow us to cancel today's vote," Issa said. "Our purpose has never been to hold the
  Attorney General in contempt. Our purpose has always been to get the information that
  the Committee needs to complete its work, and to which it is entitled."

   Issa also pointed out that then Speaker Nancy Pelosi (D-Calif.) backed a call for a
   contempt resolution against the Bush White House over the firing of U.S. attorneys back in
   2008, which he raised to counter Democratic charges of partisanship.

  The practical, immediate impact of the contempt votes will be minimal. Holder remains as
  attorney general with strong backing from Obama, and any criminal referral after the
  contempt vote is unlikely to go far.

   In a floor speech before the vote, Boehner stressed that Holder and the Justice
   Department needed to be held accountable for not providing sufficient answers to
   Congress about what happened during Fast and Furious.

   "Now, I don't take this matter lightly. I frankly hoped it would never come to this," Boehner
   said . "But no Justice Department is above the law and no Justice Department is above the
   Constitution, which each of us has sworn to uphold."

   ( Also on POLITICO: Brown: Eric Holder should resign)

  But the GOP-led move infuriated other Democrats, especially minority lawmakers, who
  see racism and unbridled partisanship in the Republican drive to sanction the first African-
  American to hold the attorney general post in U.S. history.

                                                                                  Exhibit A, Pg. 234
http://dyn.politico.com/printstory .cfm?uuid=EE3F7BOA-6740-499F-8836-47489F9B7A17   12/7/2013
Attorney General Eric Holder held in contempt
          Case 1:18-cv-02988-DLF              of Congress
                                       Document           - POLITICO.com
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   The Democratic walkout was led by the Congressional Black Caucus, many of whom
   gathered outside the Capitol while their GOP colleagues moved against Holder.

   Rep. Elijah Cummings (Md.), the top Democrat on the Oversight and Government Reform,
   charged that Republicans, led Issa, had been unfairly targeting Holder for months.

  ''They are finally about to get the prize they have been seeking for more than a year -
  holding the attorney general of the United States in contempt," Cummings said . "In reality ,
  it is a sad failure. A failure of leadership, a failure of our constitutional obligations and
  failure of our responsibilities to the American people."

   Rep. Gerald Connolly (D-Va.), who serves on the Oversight panel, called the vote "a
   craven , crass partisan move that brings dishonor to this body."

  A procedural motion by Rep. John Dingell (D-Mich.), calling for further investigation before
  any contempt vote, was defeated by Republicans.

  During the floor debate, a group of nine black lawmakers, led by Rep. Sheila Jackson Lee
  (D-Texas), raised a question of the privileges of the House, accusing Issa of interfering
  with the investigation and withholding critical information from Democrats. The motion
  disapproved of Issa for "interfering with ongoing criminal investigations, insisting on a
  personal attack against the attorney general of the United States and for calling the
  attorney general of the United States a liar on national television," which "discredit[ed] ...
  the integrity of the House." The motion was not allowed to proceed .

   For his part, Issa insisted that the House must act in order to get to the bottom of what
   happened in the botched Fast and Furious program.

  During this under cover operation, federal agents tracked the sale of roughly 2,000
  weapons to straw buyers working for Mexican drug cartels. The sting operation failed, and
  weapons related to the Fast and Furious program were found at the shooting scene when
  a Border Patrol agent was killed in Dec. 2010.

   Relying on what they said was inaccurate information supplied by the Bureau of Alcohol,
   Tobacco, Firearms and Explosives - which comes under DOJ - senior Justice officials told
   lawmakers in Feb. 2011 that no guns were allowed to "walk" to Mexico. That letter was
   later withdrawn by the Justice Department as inaccurate.

   Issa has been investigating what happened during Fast and Furious for 16 months, and
   he subpoenaed the Justice Department last October. Since that time, his panel has been
   squabbling over what documents will be turned over. Justice officials note that 7,600
   pages of Fast and Furious material has already been given to Issa, but the California
   Republican has demanded more.

   Obama asserted executive privilege on some of the documents Issa is seeking shortly
   before the Oversight and Government voted on party lines to approve a contempt
   resolution against Holder.

   Despite a face-to-face session between Issa and Holder recently, the two men never
   reached a compromise to end the standoff.

   Since the Justice Department would have to seek an indictment of Holder - a department
   he oversees as attorney general - no criminal charges will be brought against him.
   Previous administrations, including the Bush administration in 2008, refused to seek
   criminal charges against White House officials when a Democratic-run House passed a
   criminal contempt resolution over the firing of U.S. attorneys.

                                                                                 Exhibit A, Pg. 235
http://dyn.politico.com/printstory.cfm?uuid=EE3F7BOA-6740-499F-8836-47489F9B7A17   12/7/2013
Attorney General Eric Holder held in contempt
          Case 1:18-cv-02988-DLF              of Congress
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   Boehner's office, though, is expected to submit a criminal referral to the U.S. attorney for
   the District of Columbia, Ronald Machen, in the next few days, according to a Republican
   official.

   lssa's aides have already begun discussions with the House General Counsel's office
   over the anticipated lawsuit against DOJ, but it is not clear when that the legal challenge
   will be filed .
   © 2013 POLITICO LLC




                                                                                  Exhibit A, Pg. 236
http://dyn.politico.com/printstory.cfm?uuid=EE3F7BOA-6740-499F-8836-47489F9B7Al 7   12/7/2013
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 238 of 675




                         Exhibit 8

              (Testimony of Gary Schaible)




                                                                Exhibit A, Pg. 237
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 239 of 675
                                                                    364
               CR-10-01047 - PHX- ROS(DKD}, November 29, 2012

 1                       UNITED STATES DISTRICT COURT

 2                        FOR THB DISTRICT OF ARIZONA

 3

 4
     United States of America ,
 5
                             Plaintiff,
 6   vs.
                                                CR-10-01047-PHX-ROS(DKD}
 7   Randolph Benjamin Rodman and Idan
     c. Greenberg,
 8
                             De fendants.
 9                                             November 29, 2012
                                               8:46 a.m.
10

11

12
           BBFORB:    THB HONORABLE ROSLYN O. SILVER, CHIEF JUDGE
13
                     RBPORTBR'S TRANSCRIPT OF PROCBBDINGS
14

15                            Jury Trial - Day 3

16                         (Pages 364 through 587)

17

18

19

20

21   Official Court Reporter:
     Blaine Cropper, RDR, CRR, CCP
22   Sandra Day O'Connor U.S. Courthouse, Suite 312
     401 West Washington Street, Spc. 35
23   Phoenix, Arizona 85003 - 2151
     602.322.7245/(fax) 602.322.7253
24
     Proceedings Reported by Stenographic Court Reporter
25   Transcript Prepared by Computer-Aided Transcription

                        United States District Court




                                                                      Exhibit A, Pg. 238
         Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 240 of 675
                                                                        365
                     CR - 10-01047-PHX-ROS(DKD), November 29, 2012

 1                                    I   N D B X

 2                                    TBSTIMONY

 3   WITNBSS                        Direct    Cross    Redirect      Recross

 4       GARY SCHAIBLE                370      388      422              443
                                               414
 5
         DANIEL PINCKNEY              444      455      482
 6                                             477

 7       KENDRA TATE                  486      493      504
                                               496
 8
         JASON FRUSHOUR               511      519
 9
         RALPH FOX                    523      532      538
10
         SCOTT H. COLE                540      550      552
11
         JOHN BROWN                   554
12

13                                 E X H I B I T S

14   Number                                                   Ident Rec ' d

15   3       XX-XXXXXXX model 1919 machine gun                 542

16   5       XX-XXXXXXX model 1919 machine gun                 524

17   19      A6042075 model 1919 machine gun-PICTURE           558
             ONLY
18
     23      820101086 model 1919 machine gun                  569
19
     31      820101592 model 1919 machine gun                  569
20
     42      Blue ribbon certification for XX-XXXXXXX          385
21
     48      Blue ribbon certification for A6041868            405
22
     49      Blue ribbon certification for A6041869            404
23
     53      Blue ribbon certification for A6042000            406
24
     54      Blue ribbon certification for A6042001            408
25
     55      Blue ribbon certification for A6042026            408

                            United States District Court




                                                                          Exhibit A, Pg. 239
       Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 241 of 675
                                                                           370
                                  GARY SCHAIBLE - Direct

 1                                 PROCEEDINGS

 2                  (Jury enters.)

 3                  (Court was called to order by the courtroom deputy.)

 4                  (Proceedings begin at 8:46.)

 5                 THE COURT :      Please be seated.                                08:46:25

 6                 Good morning.       We're ready to go.

 7                 All right.       Counsel , ready?

 8                 MR. VANN:       Yes, Your Honor.      Gary Schaible .

 9                                    GARY SCHAIBLE,

10   called as a witness herein by the Government, having been first                 08:47:00

11   duly sworn or affirmed to testify to the truth, was examined

12   and testified as follows:

13                 COURTROOM DEPUTY :      State your name for the record,

14   spell your last name, please .

15                 THE WITNESS:       My name is Gary Schaible .                     08:47:08

16   S - C-H - A-I-B - L- E.

17                 COURTROOM DEPUTY:       Great.      Have a seat right up here .

18                                  DIRECT EXAMINATION

19   BY MR. VANN:

20   Q.     Good morning, Mr. Schaible.                                              08:47:42

21   A.     Good morning.

22   Q.     Can you please tell the jury what it is that you do?

23   A.     I'm well, I'm assigned to the firearms and explosives

24   division in bureau headquarters of Bureau of Alcohol, Tobacco,

25   Firearms & Explosives and most of my time is spent in the NFA                   08:47:58



                               United States District Court




                                                                             Exhibit A, Pg. 240
       Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 242 of 675
                                                                      371
                               GARY SCHAIBLE - Direct

 1   branch, which is part of this division, and I would write                  08:48:02

 2   letters, do rule-makings, provide -- well, not technical but

 3   interpretations of the statutory requirements of the National

 4   Firearms Act, occasionally process forms.          I ' m a custodian of

 5   the record, make sure it's maintained.                                     08:48:19

 6   Q.        And how long have you been employed at ATF?

 7   A.        40 years.

 8   Q.        40 years?

 9   A.        Yes.

10   Q.        And in that 40 years, where was the majority of your time        ~~8 :V


11   spent?

12   A.        In the National Firearms Act branch.

13   Q.        What positions have you held in the National Firearms Act

14   branch?

15   A.        I have been a supervisor coordinator.     I have been the        08:48:36

16   branch chief and a program manager which was retitled to

17   pre-liaison analyst.

18   Q.        All right.   Now, before we get into the details of your

19   job and of some the things related to this case, do you know

20   either of the defendants sitting here today?                               08:48:57

21   A.        I know Mr. Rodman.

22   Q.        You do know Mr. Rodman?

23   A.        Yes.

24   Q.        Please explain your relationship with Mr. Rodman to the

2s   j ury .                                                                    08:49:09



                            United States District Court




                                                                        Exhibit A, Pg. 241
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                                                                    396
                               GARY SCHAIBLE - Cross

 1   A.   Yes.                                                                09:38:48

 2   Q.   Oh.    Okay.     I am mistaken.   The memo that -- the letter

 3   that you wrote or the referral that you wrote indicated that

 4   one of the guns was in the possession of a licensed SOT in

 5   Virginia, John Brown?                                                    09:39:04

 6   A.   That I believe is correct as far as the referral memo we

 7   sent to the field, yes.

 8   Q.   Correct.       And the basis of that referral memo was the

 9   information that you received; right?        And that's what I'm

10   asking about.                                                            09:39:19

11   A.   Well, again, it started with what was on the Internet.

12   Q.   Yes.

13   A.   But we didn't receive any other information .

14   Q.   But you wrote a letter with that fact in it when you wrote

15   the letter to - -                                                        09:39:36

16   A.   Right.     I'm sorry.    I interrupted you there.    I'm sorry.

17   Q.   Pardon?

18   A.   I interrupted there.       I'm sorry.

19   Q.   The memo that you wrote, you personally wrote a memo for

20   the signature of the Deputy Assistant Director to Phoenix;               09:39:53

21   correct?

22   A.   Correct.

23   Q.   And in that letter, you stated that a licensed SOT in

24   Virginia was in possession of one of the Clark firearms, did

25   you not?                                                                 09:40:14


                           United States District Court




                                                                      Exhibit A, Pg. 242
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                                                                    397
                               GARY SCHAIBLE - Cross

 1   A.    That was part of the information, correct.                         09:40:15

 2   Q.    Okay.      Well, that's what I asked about .

 3   A.    Okay.

 4   Q.    Now, Virginia is in the jurisdiction of the special agents

 5   in the Falls Church office; correct?                                     09:40:26

 6   A.    Correct.

 7   Q.    And did you make a referral to that off ice?

 8   A.    No.

 9   Q.    Do you know if anyone did?

10   A.    I would have to guess yes but I don ' t know.                      09:40:38

11   Q.    Well, you do know that you were involved in the

12   abandonment of one of the firearms in November; correct?

13   A.    Yes.      I ' m not sure of the date exactly you're referring

14   to.   You're referring to November 2006.

15   Q.    Correct.      But you have personal recollection of that?          09:40:58

16   A.    Yes.      I was there.

17   Q.    And you were present when a special agent from the Falls

18   Church office accepted abandonment of one machine gun,

19   A6042075; correct?

20   A.    I don't know the number but I was there for the                    09:41:16

21   abandonment .

22   Q.    Right .     And who else was there, if you recall?

23   A.    I know the agent was there, Doug Quartetti, someone from

24   Firearms Tech.       I'm not quite sure who.

25   Q.    The agent, Doug Quartetti , where was he assigned?                 09:41:33



                           United States District Court




                                                                      Exhibit A, Pg. 243
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 245 of 675
                                                                    398
                            GARY SCHAIBLE - Cross

 1   A.   Falls Church.                                                       09:41:37

 2   Q.   All right.    And do you have any knowledge of how he became

 3   involved in the investigation?

 4   A.   No.

 5   Q.   Now, moving on to another subject, I 'm going to go through         09:41:51

 6   a number of the certificates, Mr. Schaible, and I'll move as

 7   fast as I can.    There ' s a lot of them there.

 8               Let's take number 60.    Do you have that?

 9   A.   Yes.

10   Q.   Just a cursory review.     You've seen what that is?                09:42:37


11   A.   Yes.

12   Q.   And what do you call that in the jargon of ATF, blue

13   ribbon certificate?

14   A.   A blue ribbon certificate, yes.

15   Q.   That's a common name.                                               09:4 2:49

16   A.   Yes.

17   Q.   Would you explain to the members of the jury what a blue

18   ribbon certificate is?

19   A.   This is where someone in the NFA branch would do a search

20   of the registry, the National Firearms Registration Transfer             09:43:01

21   Record, and report the results where they would, you know , say

22   that after a diligent search of the record, this is what I

23   found or didn't find, would sign off on it.        It would go, then,

24   to the branch chief who would sign off on the blue cover sheet

25   saying that they basically recognize the specialist's signature          09:43:24


                        United States District Court




                                                                      Exhibit A, Pg. 244
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                                GARY SCHAIBLE - Cross

 1   in this case.                                                                09:43:28

 2   Q.       In a few sentences, that is a certificate that everything

 3   within that packet is what ' s in the official record, the NFRTR;

 4   right?

 5   A.      Correct.                                                             09:43:47

 6   Q.      Okay now,   if you'll go to the first few pages,       there is

 7   something called a screen shot.

 8   A.      Right.

 9   Q.      And would you describe what that is?

10   A.      For each firearm in the registry, we maintain basically a            09:44:01

11   transaction history starting with the first registration and

12   basically moving up.        So whoever it's registered to at the

13   current time would appear on the top of the list and we do some

14   color coding in there, that if it's a magenta color, as far as

15   the database goes, that identifies the current registrant.                   09:44:23

16   Q.      And you -- in the top there, the serial number of the

17   machine gun is described.

18   A.      Correct.

19   Q.      And the descriptive data, the manufacturer,        the type of

20   firearm,     the model, the caliber, the barrel length and the               09:44:43

21   overall length are all described on the top line; correct?

22   A.      Correct.

23   Q.      And that is the same information that appears on the Forms

24   3 and Forms 4?

25   A.      Right.                                                               09:45:03



                           United States District Court




                                                                          Exhibit A, Pg. 245
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                                                                        400
                                GARY SCHAIBLE - Cross

 1   Q.      Those are the six items of information; correct?                     09:45:03

 2   A.      Correct.

 3   Q.      So that when -- this is a snapshot of the computer as it

 4   exists on the date that is in the upper right-hand corner?

 5   A.       I don't have a date in the upper right - hand corner.               09:45:23

 6   Q.      On the screen shot, you don ' t have a date and time?

 7   A.      No, not on the screen shot, no.

 8   Q.      All right.    But since it's in the blue ribbon certificate,

 9   that date would be the effective date that this thing was

10   prepared.        This is a shot of the computer as it appeared on            09:45:50

11   that date?

12   A.      Correct .

13   Q.      Now,    if you'll look at -- do you have number 60?

14   A.      Yes.

15   Q.      The description is manufacturer, MIX; type; model.          That's   09:46:03

16   that.      And the caliber is 9 millimeter.       The barrel length is

17   five seven five,       5.75 inches?

18   A.      M'hum.

19   Q.      And the overall length of the barrel is 11 inches;

20   correct?                                                                     09:46:31

21   A.       Correct.

22   Q.      Now,    if you would move down the forms to the form that

23   went from Clark to my client, Mr. Rodman, for this machine gun.

24   A.      Okay.

25   Q.      How is the caliber barrel length and overall length --               09:46:58



                            united States District Court




                                                                          Exhibit A, Pg. 246
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 248 of 675
                                                                       401
                                GARY SCHAIBLE - Cross

 1   what appears on the form?                                                    09:47:05

 2   A.      On the form it shows .30 caliber.        The barrel length of 24

 3   and an overall length of 41.

 4   Q.      So each of those in the screen shot, the actual database

 5   is inaccurate; correct?                                                      09:47:21

 6   A.      They differ, correct.

 7   Q.      Right.

 8                   And when the -- the person that approved it at that

 9   time, the examiner, the people that work for you are supposed

10   to correct the record in the NFRTR to conform to the form if                 09:47:37

11   it's approved; right?

12   A.      If what was shown on the form is correct, then yes.

13   Q.      Well, if it's approved, that ' s what was approved; right?

14   A.      That's what was approved.      Whether it was picked up as an

15   error is a different matter.                                                 09:48:04

16   Q.      Is it signed as approved?

17   A.      Yes.

18   Q.      So that the person who received this form received a form

19   that is different than the description in the database?

20   A.      Correct.                                                             09:48:21

21   Q.      Okay.    And now if you ' ll move to the number 64.      Do you

22   have 64?

23   A.      Yes.

24   Q.      Would you read the description on the screen shot, just

25   the caliber, barrel length, overall length?                                  09:49:02


                            United States District Court




                                                                          Exhibit A, Pg. 247
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 249 of 675
                                                                        402
                                GARY SCHAIBLE - Cross

 1   A.       Caliber,   .45; barrel length 6.25; overall length, 11.                09:49:05

 2   Q.      And now on the Form 3 that came from Clark to Mr. Rodman,

 3   for that machine gun.

 4   A.      This is from Clark to Mr. Rodman you said?

 5   Q.      Yes.    Caliber, barrel length, overall length.                         09:49:35

 6   A.      Okay.    It shows .30 caliber; barre l l ength of 24; overall

 7   length of 41.

 8   Q.      The variants in barrel length and overall length of three

 9   feet approximately; correct?

10   A.      Yes.    The overall length of 41.                                       09:50:03

11   Q.      And once again, whoever approved that was supposed to

12   change the description in the database and did not; correct?

13   A.      Correct.     If they subpoenaed that, there was something

14   that we should look into.

15   Q.      It would be something to look into.        What was the date            09:50:26

16   that it was approved?

17   A.      September 21, 2000.

18   Q.      And in 12 years nobody looked into it; correct?

19   A.      As far as I know.

20   Q.      Okay.   Number 58.    I think that was the one you had.           57,   09:50:40

21   I'm sorry.

22   A.      I have 64.    Number 57.

23   Q.      57, yes.

24   A.      Okay.

25   Q.      And to save a l ittle time, would the same discrepancies                09:51:03



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                                                                          Exhibit A, Pg. 248
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                                GARY SCHAIBLE - Cross

 1   appear in that one?        For instance, what is the serial number?           09:51:09

 2   A.      A6042028.

 3   Q.      And what does the screen shot, the actual computer, say?

 4   A.       9 millimeter, 5.75 barrel length, 11-inch overall length.

 5   Q.      Okay.    So the same discrepancies appear in that one.                09:51:32

 6   A.       I am getting there.     Yes.     The form shows .30 caliber, a

 7   barrel length of 22 inches and an overa l l         length of 49.

 8   Q.      So that this, the computer, is inaccurate as far as this

 9   machine gun is concerned as of today, as of the date of the

10   blue ribbon certificate?                                                      09:52:17

11   A.      Again, they differ .     The descriptions, yes.

12   Q.      And the person that has the -- that it ' s registered to has

13   a different gun than the one that's described in the database;

14   correct?

15   A.      Different caliber, barrel length, and overall length, yes.            09:52:35

16   Q.      And the next one is 56.         To save a little time, if you

17   could view the same data, compare the screen shot with the

18   transfer itself and tell me if the screen shot is accurate,

19   whether the computer is accurate.

20   A.      And this would be for the transfer from Mr. Clark to                  09:53:13

21   Mr. Rodman?

22   Q.      Yes.    This is serial number -- what?

23   A.      A6042027 and, yes, our database shows 9 mill i meter with a

24   5.75 barre l length and an 11-inch overall length.           The form

25   shows .30 caliber with a 22-inch barrel length and a 49 - inch                09:53:34


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                                                                           Exhibit A, Pg. 249
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                                GARY SCHAIBLE - Cross

 1   overall length.                                                              09:53:39

 2   Q.      A   different description; correct?

 3   A.      Correct .

 4   Q.      Inaccurate?

 5   A.      I ' m sorry?                                                         09:53:43

 6   Q.      Inaccurate.     The database is inaccurate?

 7   A.      Or the form is inaccurate.

 8   Q.      Well, the form is approved.

 9   A.      Yes.

10   Q.      So the database shows a different description than what's            09:53:51

11   in the database?

12   A.      And, again, should this have been picked up on?          Maybe so.

13   Q.      When was that approved, that form?

14   A.      June 1, 2002.

15   Q.      Two thousand and         .?                                          09:54:12

16   A.      Two.

17   Q.      so in 10 years nobody has picked that up?

18   A.      Correct.

19   Q.      Now, the next one is number 49, Mr. Schaible, the number?

20   A.      A6041869 .                                                           09:54:42

21   Q.      And the description on the form transferring it to

22   Mr. Rodman?

23   A.      On the form it shows .30 caliber, barrel length of 24,

24   overall length of 41.

25   Q.      So the database is inaccurate on this firearm?                       09:55:16


                            United States District Court




                                                                          Exhibit A, Pg. 250
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                                                                    405
                             GARY SCHAIBLE - Cross

 1   A.   Again, they differ.     The database shows .45, 5.75, and 11.       09:55:20

 2   Q.   And what's the date of the transfer?

 3   A.   February 21, 2001.

 4   Q.   So that hadn ' t been picked up in 11 years?

 5   A.   Correct.                                                            09:55:36

 6   Q.   And the next one is number 48.

 7   A.   Okay.

 8   Q.   serial number?

 9   A.   A6041868.

10   Q.   The description in the screen shot, the database?                   09:56:12

11   A.   Shows .45 caliber, 5.75 barrel and 11 overall.

12   Q.   And the form transferring it from Clark to my client?

13   A.   . 30 caliber, 24-inch barrel length, 41-inch overall.

14   Q.   Okay.   The computer, once again, is inaccurate?

15   A.   It's different.                                                     09:56:37

16   Q.   And the next one is number 69.

17   A.   Okay.

18   Q.   Serial number?

19   A.   820101457.

20   Q.   And description?                                                    09:57:10

21   A.   In the database, it ' s a .45 caliber, the barrel length of

22   6.25 and overall length of 11.

23   Q.   And the form transferring it from Clark to Mr . Rodman?

24   A.   Shows a caliber of .30, a barrel length of 22, and an

25   overall of 36.                                                           09:57:27



                       United States District Court




                                                                      Exhibit A, Pg. 251
      Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 253 of 675
                                                                    406
                                GARY SCHAIBLE - Cross

 1   Q.      Okay.     And the date of the transfer?                              09:57:28

 2   A.      February 20, 2008.

 3   Q.       Okay.     So the database is inaccurate for that machine

 4   gun?

 5   A.      Different.                                                           09:57:46

 6   Q.      And the final one for Mr. Rodman is number 68.

 7   A.      Okay.

 8   Q.      The serial number?

 9   A.      820101546.

10   Q.      And the description in the database?                                 09:58:27

11   A.      .45 caliber, 6.25 barrel length, 11 - inch overall.

12   Q.      All right.     And what is the description of that machine

13   gun on the transfer form from Clark to my client?

14   A.      It is .30 caliber, 22-inch barrel length, and 36-inch

15   overall.                                                                     09:58:48

16   Q.      Okay.    And the date of that transfer is the same as the

17   other; right?

18   A.      I don't remember what the other one is.       February 20,

19   2008.

20   Q.      February 20, correct .    And the database is inaccurate once        09:58:57

21   more.     That is a different machine gun?

22   A.      Shows a difference in description, yes.

23   Q.      We're nearing the end.     I ' m sure you'll be happy to hear

24   that.

25                   The next one is number 53.                                   09:59:13



                            United States District Court




                                                                          Exhibit A, Pg. 252
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 254 of 675
                                                                       407
                                   GARY SCHAIBLE - Cross

 1   A.      Okay.                                                                09:59:37

 2   Q.      This is a serial number -- what is the serial number?

 3   A.      A6042000.

 4   Q.      And the description of the machine gun as it appears in

 5   the database?                                                                09:59:55

 6   A.       .45 caliber, 5.5 -- I'm sorry, 5.75 barrel length, 11-inch

 7   overall.

 8   Q.      And the transfer form from Clark to -- who was the

 9   transferee on that one?

10   A.      I ' m sorry.      Could you ask me that again?                       10:00:15

11   Q.      The Form 3 transferring it from Clark, who is the

12   transferee?

13   A.      From Mr. Clark, I show a transfer to Mr. Clark but

14   nothing

15   Q.      It was never transferred?                                            10:00:58

16   A.            nothing transferred from Mr. Clark.

17   Q.      What is the description of the machine gun that was

18   transferred to Mr. Clark?

19   A.      Okay.      It's not shown as a machine gun.

20   Q.      It's not a                                                           10:01:10

21   A.      It's shown as an any other weapon.

22   Q.      Oh.      Okay .   And does the description match?

23   A.      No.

24   Q.      Okay .     So that one is inaccurate?

25   A.      Descriptions differ between a form and a database, yes.              10:01:25


                               United States District Court




                                                                          Exhibit A, Pg. 253
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 255 of 675
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                                  GA.RY SCHAIBLE - Cross

 1   Q.      The database does not match the description of the                   10:01:30

 2   registration form?

 3   A.      Right.

 4   Q.      Number 54, what's the serial number of that one?

 5   A.      I'm sorry, 54 or 64.                                                 10:01:45

 6   Q.      54.     Five four.

 7   A.      Okay.     That's A6042001.

 8   Q.      All right.     And what is the -- how is that described in

 9   the computer?

10   A.       .45 caliber, 5.75 barrel length, 11 overall.                        10:02:21

11   Q.      And how is that same machine gun described on the form

12   transferring it from Mr. Clark to a Richard Simpson?

13   A.      Okay.     It is shown as a .30 caliber with a barrel length

14   of 24 inches and an overall length of 40.

15   Q.      And what's the date of that transfer?                                10:02:50

16   A.      October 2, 2003.

17   Q.      All right.     And so that one is inaccurate.      The computer

18   has an inaccurate description.

19   A.      It has a different description, yes.

20   Q.      Okay.    Number 55.                                                  10:03:05

21   A.      Okay.

22   Q.      What serial number is that?

23   A.      It is A6042026.

24   Q.      And the description in the computer, in the NFRTR?

25   A.      Shows 9 millimeter, 5.75 barrel length, and an 11 - inch             10:03:40



                            United States District Court




                                                                          Exhibit A, Pg. 254
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                                GARY SCHAIBLE - Cross

 1   overall length.                                                              10:03:46

 2   Q.      Now, that machine gun or machine gun with that serial

 3   number was transferred from Clark to Richard Simpson.             Do you

 4   have the Form 3 there -- Form 4, I'm sorry.

 5   A.      Yes, sir.                                                            10:04:00

 6   Q.      And how is that machine gun described there?

 7   A.       .30 caliber, 23-inch barrel, 45-inch overall.

 8   Q.      And so the -- once again, the database is inaccurate?

 9   A.      It is different, yes.

10   Q.      Is it accurate?                                                      10:04:20

11   A.      We ll, the 9 millimeter, 5.75, and 11 were what was

12   reported upon manufacture        I   would believe?

13   Q.      That would be on the Form 2 from the date of birth.

14   Sometime before ' 86?

15   A.      Right .                                                              10:04:37

16   Q.      Okay.     And it had been transferred a number of times after

17   that?

18   A.      Yes, it has.

19   Q.      And anytime the description changes and is approved, the

20   database must be corrected; correct?                                         10:04:50

21   A.      If the examiner picks up on it and sees a difference, yes.

22   Q.      That's what the examiner is supposed to do?

23   A.      Correct.

24   Q.      All right.

25                   Now, the next one is number 59.                              10:05:05


                            united States District Court




                                                                          Exhibit A, Pg. 255
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                                                                       410
                                GARY SCHAIBLE - Cross

 1   A.      Okay.                                                                10:05:27

 2   Q.      What is the serial number of that, Mr. Schaible?

 3   A.      A6042030.

 4   Q.      All right.     And what does the computer say is the

 5   description of that machine gun?                                             10:05:40

 6   A.      9 millimeter, 5.75 inch barrel, 11 overall.

 7   Q.      All right.     And that machine gun or machine gun with that

 8   serial number was transferred from Mr. Clark to Richard

 9   Simpson, correct, on the Form 4?

10   A.      Correct.                                                             10:05:57

11   Q.      And what is the date of that transfer?

12   A.      March 24, 2003.

13   Q.      All right.    And how is that machine gun described on the

14   form?

15   A.       .45 caliber, 10-inch barrel, 33-inch overall.                       10:06:07

16   Q.      Correct.     Once again, the database is inaccurate.

17   A.      It is different, yes, sir.

18   Q.      The next-to - the - last one is number 63.

19   A.      Okay.

20   Q.      Serial number is what?                                               10:06:51

21   A.      A6044921 (sic) .

22   Q.      And what's the description of that machine gun in the

23   database?

24   A.      It's a   .45 caliber, 5.75 barrel, and 11-inch overall.

25   Q.      And that machine gun was transferred on a Form 4 from                10:07:11


                            United States District Court




                                                                          Exhibit A, Pg. 256
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                                                                        411
                                GARY SCHAIBLE - Cross

 1   Clark to Richard Simpson on what date?                                       10:07:16

 2   A.      October 2, 2003.

 3   Q.      And what is the descr iption?

 4   A.      On the form that

 5   Q.      On the form.                                                         10:07:33

 6   A.      It shows .30 caliber, 19-inch barrel, 41-inch overall.

 7   Q.      And so, once again, we have an inaccurate description in

 8   the database.

 9   A.      A different one, yes, sir.

10   Q.      Okay.   And the final one is serial number - - or number 71,         10 :07:50

11   Exhibit 71.

12   A.      Okay.

13   Q.      What's the serial number on that one?

14   A.      It is 820101589.

15   Q.      And the description in the database?                                 10:08:29

16   A.       .45 caliber, 11-inch barrel, 6.25 overall.

17   Q.      And that machine gun was transferred from Clark to a

18   Richard Simpson on what date on the Form 3 - - Form 4, I'm

19   sorry.

20   A.      March 22, 2005.                                                      10:08:52

21   Q.      And the description?

22   A.       .30 caliber, 21.5-inch barrel, 49.5 - inch overall.

23   Q.      So that, once again, the database is inaccurate?

24   A.      Yes, sir, there ' s a difference between the descriptions.

25   Q.      All right.     And the certificate that we talked about, the         10:09:15



                            united States District Court




                                                                          Exhibit A, Pg. 257
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                                 GARY SCHAIBLE - Cross

 1   blue ribbon certificate, that form is used in criminal cases                 10:09:22

 2   all over the country to prove the registration of -- the

 3   registration or non - registration of a machine gun; correct?

 4   A.      It would be the certified results of a search of the

 5   database, yes.                                                               10:09:41

 6   Q.      In other words,     that's evidence that that -- that unless

 7   the machine gun in question matches the description in the

 8   database, that firearm would be declared nonregistered; right?

 9   A.      Could you ask me that one again?         I'm sorry.

10   Q.      Yes.   The blue ribbon certificate is evidence, provides             10:10:07

11   evidence in criminal cases all over the country all the time of

12   the registration, non-registration of a machine gun; correct?

13   A.      Correct .

14   Q.      And if it does not match the description in the database,

15   it's declared nonregistered; right?                                          10:10:28

16   A.      Well, in this case, the certificate says I certified that

17   the following firearm is registered to Richard Alan Simpson and

18   it gives that machine gun.

19   Q.      They certified to the truth of the matter; correct?

20   A.      Certified that it's registered to Mr. Simpson.                       10:10:45

21   Q.      Now, in view of this sampling that we've just gone

22   through, would you be surprised to learn that all 34 of the

23   firearms that Mr. Clark transferred,           the database is

24   inaccurate?         Would that surprise you?

25   A.      Well, again, I would say there's differences in what the             10:11:08



                             United States District Court




                                                                          Exhibit A, Pg. 258
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 260 of 675
                                                                       413
                                GARY SCHAIBLE - Cross

 1   description is .                                                             10:11:12

 2   Q.      Well, a difference in a description would be inaccurate,

 3   wouldn't it?

 4   A.      And the form is part of that process.        If the form is

 5   inaccurate -- we're relying on what's submitted on the form to               10:11:23

 6   transfer these firearms.        And the form is being filed by

 7   someone who says under the penalties of perjury, I declare that

 8   I've examined this application to the best of my knowledge and

 9   believe that it is true, correct, and complete.            So somewhere

10   along the line if a description changed, someone was saying                  10:11:44


11   under penalties of perjury that, you know,          this is the

12   description.

13   Q.      Well, do you have any basis to believe that he did not

14   describe the caliber and the barrel length and the overall

15   length accurately on the form?                                               10:12:03


16   A.      When you say "he," who do you mean?

17   Q.      Oh.    The transferor, Clark .    Clark was the transferor in

18   each one of those.

19   A.      Well , he ' s filing it under penalties of perjury.

20   Q.       In fact, you've had them in custody since 2008                      10:12:21


21   approximately.       Has anyone told you that any of those

22   descriptions were inaccurate?

23   A.      No .

24                  MR. SANDERS:   I have no further questions , Your

2s   Honor .                                                                      10:12:36



                           United States District Court




                                                                          Exhibit A, Pg. 259
          Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 261 of 675
                                                                         414
                                  GARY SCHAIBLE - Cross

 1                   THE COURT:     Cross?    Mr. Tate.                              10:12:37

 2                                  CROSS - EXAMINATION

 3   BY MR. TATE:

 4   Q.      Good morning, Mr. Schaible.          How are you, sir?

 5   A.      My voice is going.                                                      10:12:54

 6   Q.      I   understand.

 7                   Mr. Schaible, you ' ve been with ATF in various jobs

 8   for about 40 years; correct?

 9   A.      Correct.

10   Q.      And in that time, let ' s focus first on a period of time               10:13:10

11   about 2006; okay?         Let's focus on that period of time.        What

12   was your job in 2006?

13   A.      It would have been -- I forget when my title changed but

14   my title was either program manager or industry liaison for the

15   NFA branch.                                                                     10:13:33

16   Q.      Okay.     And at that time, sometime during that period,

17   let ' s see if we can put some kind of timeline, although I know

18   that ' s about six years ago.           You became aware of the Fickaretta

19   memo; correct?        Would that be fair to say?

20   A.      I ' m sorry, what memo is that?                                         10:13:50


21   Q.      The memo from Theresa Fickaretta?            You're not aware of the

22   Theresa Fickaretta memo?

23   A.      I   have no idea which one you're referring to.

24   Q.      Okay.     All right.     That's okay.    You just told me no.

25                   And at that time in 2006, you were made aware of by             10:14:02



                            United States District Court




                                                                             Exhibit A, Pg. 260
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 262 of 675




                         Exhibit 9

    ( Feinstein: Congress Shouldn’t Pass the Buck
                 on Bump-Fire Stocks )




                                                                Exhibit A, Pg. 261
       Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 263 of 675




                                                                                                                      RELATED LINKS

                                                                                                               Press Releases

                                                                                                               Commentary

                                                                                                               Feinstein in the News

                                                                                                               Official Photo

Fei.nstei.n: Con9ress Shouldn't Pass the Buck on Bump-Fi.re                                                    Video Library

Stocks

Oct 112017

Washingtan - ln response to comments by Speaker Paul Ryan (R-Wis.) saying that the Bureau of Alcohol ,
Tobacco and Firearms should address bump-fire stocks, Ranking Member of the Senate Judiciary Committee
Dianne Feinstein (D-Calif.) today released the following statement:

"The ATF lacks authority under the law to ban bump-fire stocks. Period. The agency made this crystal clear
in a 2013 letter to Congress, writing that 'stocks of this type are not subject to the provisions of federal
firearms statutes.' Legislation is the only answer and Congress shouldn't attempt to pass the buck.''

                                                    ###




                                                                                                                    Exhibit A, Pg. 262
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 264 of 675




                         Exhibit 10

                  (ATF Determinations)




                                                                Exhibit A, Pg. 263
            Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 265 of 675
                                          U.S. Department of Justice

                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



                                                                                        903050:MMK
                                                     Martinsburg, West Virginia 25405
                                                                                        3311/2010-434
                                                     www.atf.gov

                                                         JUN 0 7 2010




This is in reierence to y0ur submission and accompanying letter to the Fiream1s Technology
Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), asking for an
evaluation of a replacement shoulder stock for an AR-15 type rifle. Your letter advises that the
stock (referenced in this reply as a "bump-stock") is intended to assist persons whose hands have
limited mobility to "bump-fire" an AR-15 type rifle. Your submission includes the following: a
block to replace the pistol grip while providing retention for the selector stop spring; a hollow
shoulder stock intended to be installed over the rear of an AR-15 fitting with a sliding-stock type
buffer-tube assembly; and a set of assembly instrnctions.

The FTB evaluation confirmed that the submitted stock (see enclosed photos) does attach to the
rear of an AR-15 type rifle which has been fitted with a sliding shoulder-stock type buffer-tube
assembly. The stock has no automatically functioning mechanical parts or springs and performs
no automatic mechanical function when installed. In order to use the installed device, the
shooter must apply constant forward pressure with the non-shooting hand and constant rearward
pressure with the shooting hand. Accordingly, we find that the "bump-stock" is a firearm part
and is not regulated as a firearm under Gun Control Act or the National Firearms Act.

Per your telephoned instructions, we will contact. you separately to make return delivery
arrangements.

We thank you for your inquiry and trust that the foregoing has been responsive.

                                         Since el)' yours

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                                                              · )~
                                         ---;. ,'   ,~    -    '   .     ~1
                                         5ohn R . Spencer
                               C ~~Firearms Technology Branch
                                 1


Enclosure



                                                                                               Exhibit A, Pg. 264
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/                                                           U.S. Department of Justice

                                                            Bureau of Alcohol. Tobacco.
                                                            Firearms and Explosives




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                                                                                                       903050:MRC
                                                                                                       3311/2012-196
                                                            wwwa1I ge,)\




                                                            APR 0 2 2012




    This is in reference to your correspondence to the Bureau of Alcohol, Tobacco, Firearms and
    Explosives (ATF), Firearms Technology Branch (FTB), requesting FTB to evaluate an
    accompanying stock and determine if its design would violate any Federal statutes.

    As background information, the National Firearms Act (NFA), 26 U.S.C. Section 5845(b),
    defines " machinegun" as-
    " ... any weapon which shoots, is designed to shoot, or can be readily restored to shoot,
    automatically more than one shot, wilhout manual reloading, by a single function ofthe trigger.
    The term shall also include the frame or receiver of any such ll'eapon, a11y part desig11ed a11d
    ilrte11ded solely a11d exclusively, or combi11ation ofparts desig11ed a11d i11te11ded,for use i11
    co11verti11g a weapon i11to a mac/1i11egu11, and any combination ofparts from which a
    machinegun can be assembled ifsuch parts are in the possession or under the control ofa
    person."

    The FTB evaluation confirmed that you have submitted a plastic shoulder stock designed to
    function on an AR-15 type rifle (see enclosed photos). For your stock to function in the manner
    intended, it has to be attached to an AR-15 type platform that is assembled with a collapsible-
    stock receiver extension. Along with the shoulder stock, you have submitted what you have
    identified as a "receiver module." This module is a plastic block approximately 1-5/16 inch~s
    high, about 1-3/8 inches long, and approximately 7/8-inch wide. Additionally, there are two
    extensions, one on each side, that are designed to travel in the two slots configured on the
    shoulder stock. The receiver module replaces the AR-15 pistol grip.

    Further, the submitted custom shoulder stock incorporates a pistol grip. This grip section has a
    cavity for the receiver module to move forward and backward. Additionally, two slots have been
    cut for the receiver module extensions to travel in. The upper section of the shoulder stock is
    designed to encapsulate the collapsible receiver extension. Further, the custom stock is




                                                                                                             Exhibit A, Pg. 265
,/           Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 267 of 675

                                                       -2-




     designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
     positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
     the 12- to 6-o'clock positions. the stock is movable.

     The FTB live-fire testing of the submined device indicates that if, as a shot is fired, an
     intermediate amount of pressure is applied to the fore-end with the support hand, the shoulder
     stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
     Continued intermediate pressure applied to the fore-end will then push the receiver assembly
     forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
     subsequent shot to be fired. ln this manner, the shooter pulls the firearm forward to fire each
     shot, the firing of each shot being accon1plished by a single trigger function. Further. each
     subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
     the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
     constant pressure on the trigger itself.

     Since your device is incapable of initiating an automatic firing cycle that continues until either
     the finger is released or the ammunition supply is exhausted, FTB finds that it is not a
     machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
     921 (a)(23).

     Please be advised that our findings are based on the item as submitted. Any changes to its design
     features or characteristics will void this c lassification. Further, we caution that the addition of an
     accelerator spring or any other non-manual source of energy which allows this device to operate
     automatically as described will result in the manufacture of a machinegun as defined in the NF A,
     5845(b).

     To facilitate the return of your sample, to include the module, please provide FTB with the
     appropriate FedEx or similar account information within 60 days ofreceipt of this letter. If their
     return is not necessary, please fax FTB at 304-616-430 I with authorization to destroy them on
     your behalf.

     We thank you for your inquiry and trust the foregoing has been responsive to your evaluation
     request.




                                                  hn R. Spence
                                           , F' earms Technology Branch

     Enclosure




                                                                                                  Exhibit A, Pg. 266
      Case 1:18-cv-02988-DLF Document 1-2
                                       U.S.Filed 12/18/18
                                            Department      Page 268 of 675
                                                        of Justice

                                                    Bureau of Alcohol, Tobacco,
                                                    Firearms and Explosives

                                                    Assistant Director

                                                    Washington, DC 20226
                                                    www.at f.gov

                                   APR ·1 6 2013



The Honorable Ed Perlmutter
U.S. House of Representatives
Washington, DC 20515

Dear Congressman Perlmutter:

This is in response to your letter dated March 5, 2013, to the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) to rescind a previous evaluation letter and to classify all bump-
fire stocks (to include specifically the Slide Fire Solutions stock) as machineguns.

As you have indicated, machineguns are defined in the National Firearms Title Act, 26 United
States Code Chapter 53 Section 5845(b). The definition has four distinct parts. The first, as you
point out, states that a machinegun is "any weapon which shoots, is designed to shoot, or can be
readily restored to shoot, automatically more than one shot, without manual reloading, by a
single function of the trigger." The remaining portions of the definition go on to state that: "[t]he
term shall also include the frame or receiver of any such weapon, any part designed and intended
solely and exclusively, or combination of parts designed and intended, for use in converting a
weapon into a machinegun, and any combination of parts from which a machinegun can be
assembled if such parts are in the possession or under the control of a person."

In the course of examining a number of bump-fire stocks, ATF found that none of these devices
could shoot nor did they constitute firearm frames or receivers; therefore, the first portion of the
machinegun definition can not apply. Those bump-fire stocks which were found to convert a
weapon to shoot automatically were classified as machineguns and regulated accordingly-
most notably, the Akins Accelerator. Other bump-fire stocks (such as the SlideFire Solutions
stock) that ATF determined to be unable to convert a weapon to shoot automatically were not
classified as machineguns.

Reviewing findings with respect to the Akins and Slide Solutions, ATF, in Ruling 2006-2, found
that the Akins Accelerator incorporated a mechanism to automatically reset and activate the fire-
control components of a firearm following the single input of a user. Thus, the Akins
Accelerator acted to convert a semiautomatic firearm to shoot automatically. Conversely, the
Slide Fire Solutions stock requires continuous multiple inputs by the user for each successive




                                                                                            Exhibit A, Pg. 267
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                                                -2-

The Honorable Ed Perlmutter


shot. Similarly, other devices exist, such as the Hellfire Trigger, which attach to and act upon
the trigger of a firearm and also work to increase the rate or volume of fire of the firearm. Like
the Slide Fire Solutions stock, the Hellfire Trigger does not provide an automatic action-
requiring instead continuous multiple inputs by the user for each successive shot.

Public safety is always a primary concern of ATF. We remain committed to the security of our
Nation and the fight against violent crime. However, bump-fire stocks that do not fall within any
of the classifications for firearm contained in Federal law may only be classified as firearms
components. Stocks of this type are not subject to the provisions of Federal firearms statutes.
Therefore, ATF does not have the authority to restrict their lawful possession, use, or transfer.

We hope this information proves helpful in responding to your constituent. Please let me know
if we may be of further assistance.

                                         Sincerely yours,




                                       Richard W. Marianas
                                        Assistant Director
                                 Public and Governmental Affairs




                                                                                           Exhibit A, Pg. 268
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 270 of 675




                         Exhibit 11

          ( Rapid manual trigger manipulation
                (Rubber Band Assisted) )




                                                                Exhibit A, Pg. 269
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                         Exhibit 12

         ( AK-47 75 round drum Bumpfire!!! )




                                                                Exhibit A, Pg. 270
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 272 of 675




                         Exhibit 13

 ( Bump Fire’ without a bump-fire stock, courtesy of
                 ThatGunGuy45 )




                                                                Exhibit A, Pg. 271
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                         Exhibit 14

         ( How to bumpfire without bumpfire stock )




                                                                Exhibit A, Pg. 272
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                         Exhibit 15

            (Declaration of Damien Guedes)




                                                                Exhibit A, Pg. 273
   Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 275 of 675




                VERIFIED DECLARATION OF DAMIEN GUEDES


      I, Damien Guedes, am competent to state and declare the following based on my

personal knowledge:

   1. I am a resident of Whitehall Pennsylvania.

   2. In 2014, I became interested in a bump stock device.

   3. Prior to purchasing a Bump Fire Systems bump stock device, as I wanted to

       ensure the legality of the device, I went on Bump Fire Systems' website -

       wFlv.bumgfix~system~.~-om - to determine ifthe Bureau of Alcohol, Tobacco,

       Firearms and Explosives had approved the device.

   4. Bump Fire Systems' website stated that it had obtained approval from ATF and

       provided me with a copy of ATF's April 2, 2012 determination letter. A copy of

       the letter is attached as Exhibit 1.

   5. In reliance on ATF's determination letter of April 2, 2012, I purchased a Bump

       Fire Systems bump stock device at a cost of$99.99, plus $6.00 shipping, which I

       still own today. A redacted copy of the receipt is attached as Exhibit 2.

   6. It is my understanding, based upon ATF' s notice of proposed rulemaking - RIN

       1140-AA52, Fed. Reg. No. 2018-06292-that ATF intends to reclassify bump

       stock devices as machine guns in violation of Article 1, Section 9 of the United

       States Constitution (i.e. Ex Post Fact clause) and to require me to surrender or

       otherwise destroy my Bump Fire Systems bump stock device in the absence of

       any compensation, in violation of the Fifth Amendment to the United States

       Constitution.




                                                                                      Exhibit A, Pg. 274
   Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 276 of 675




       I declare under penalty of perjury that the foregoing is true and correct to the best

of my information, knowledge and belief. Executed on April     j_, 2018.

                                                        ~
                                                      Damien Guedes




                                                                                        Exhibit A, Pg. 275
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 277 of 675




                       Exhibit 1




                                                                Exhibit A, Pg. 276
    Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 278 of 675



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                                                                                                                       903050:MRC
                                                                                                                       3311/2012-196


                                                                                  .APR 0 2 2012.




  This is in reference to your correspondt.Ti<.:,; to the Bureau of Alcohol, Tobacco, Firearms and
  Explosives (ATF), Firearms Technol•Jgy Bn:mch 0-''l B), reqw:sting FTB to evaluate an
  accompanying stock und detcrmbe if ib (k;;lgn would violate any Federal statutes.

  As background information. the N1uion;.:i r in.:·nnn:; i\Cl (Nb\), 26 U.S.C. Section 5845(b),
  defines '·machincgun" as~~
  " ... any weapon which shoots, 1s d.::.>i>;ncd io sftoot, or can be readily restored to shoot,
  c 1JtUiitafic,1iiy nwn::inan um:sriut, i>'Viihu<d fllll!;mti rduu~ii11g, !:)':,; sirrsh.:fiiri-£ikifi-<~/lhe trigger.
  The term shall also include the.frame or n:ccfvf'r of'any such ·weapon, any part designed and
  int1mded solely and excl11siveiy, or combination ofparts designed and intended,for use in
  co11verting a weapon into a machinegun~ and any combination ofparts from which a
  machinegun can be assembled if such part:i an~ in the pos~'iession or under the control ofa
  person."

  The FTB evaluation confirmed that you h.,1.ve submitted a plastic shoulder stock designed to
  function on an AR-15 type ritle (see'enclosed photos). For your stock to function in the manner
  intended, it has to be attached to an AR.. 15 type platform that is assembled with a collapsible-
  stock receiver extension. Along with the shoulder stock, you have submitted what you have
  identified as a "receiver module." This module isa: plastic block approximately 1-5/16 inches
  high, about 1-3/S inches long, and approximately 7/8-inch wide. Additionally, there are two
  extensions, one on each side, that ar+.! designed to travel in the two slots configured on the
  shoulder stock. The receiver module replaces the AR-15 pistol grip.

   FW'ther, the submitted custom shoulder stock hicorporates a pistol grip. This grip section has a
' oaVi!yfor the receiver moduJe,to'move f.orWS,td~ backwm'd. Additionally, two slots have been
 •· · · · &the,~i: ·.             ·.. ions t9. ~velin. The upper section of the shoulder .stock is
            · · · ··                     · iliii~iii•~emioo. F.urthet, the custom sfock is
                                              '··""'''   ,,           c       '   ,      •   '-




                                                              )   ~       '




                                                                                                                           Exhibit A, Pg. 277
   Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 279 of 675


                                                   -2-




designed with a "lock pin." When the handle on the lock pin is facing in the 3- to 9-o'clock
positions, the stock is fixed and will not move; and when the handle on the lock pin is facing in
the 12- to 6-o'clock positions, the stock is movable.

The FTB live-fire testing of the submitted device indicates that if, as a shot is fired, an
imermediate an1ount of pressure is applied to the fore-end with the support hand, the shoulder
stock device will recoil sufficiently rearward to allow the trigger to mechanically reset.
Continued intermediate pressure applied to the fore-end will then push the receiver assembly
forward until the trigger re-contacts the shooter's stationary firing hand finger, allowing a
subsequent shot to be fired. In this manner, the shooter pulls the firearm forward to fire each
shot, the firing of each shot being accomplished by a single trigger function. Further, each
subsequent shot depends on the shooter applying the appropriate amount of forward pressure to
the fore-end and timing it to contact the trigger finger on the firing hand, while maintaining
constant pressure on the trigger itself.

Since your device is incapable of initiating an automatic firing cycle that continues until either
the finger is released or the ammunition supply is exhausted, FIB finds that it is !!!ll a
machinegun as defined under the NFA, 26 U.S.C. 5845(b), or the Gun Control Act, 18 U.S.C.
921(a)(23).

Please be advised that our findings are based on the item as submitted. Any changes to its design
features or characteristics will void this classification. Further, we caution that the addition of an
accelerator spring or any other non-manual source of energy which allows this device to operate
automatically as described will result in the manufacture of a maebip~gµn as defined in the NFA,
5845(b).

To facilitate the retun;LQf Y<>ll? Sat'JlP~;·to • , , ,the~ide, please provide FTB with the
appropriate FedEx 9f &imitltr account blfi .· .       .witmn 60 days of receipt of this letter. If their
return is not necessary, please fa F'fl.,lt 304~'16-4301 with authorization to destroy them on
your b~f.          >                   ··· "'


We thank Y~''.fo~'.~~ .                           regoin& has been responsive to your .evaluation
mQ~.                   .   .
     '   ,'-::~-




                                                                                       Exhibit A, Pg. 278
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 280 of 675




                       Exhibit 2




                                                                Exhibit A, Pg. 279
               Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 281 of 675
  From : Bump Fire Systems orders141 @burnpfiresystems.com        .
Subject : Your BUMP FIRE SYSTEMS order receipt from October 30, 2014
  Date: October 30, 2014 at 22:27
     To:




      Your order has been received and is now being processed. Your order details are shown
      below for your reference:



       Order: #2872
           Product                                 Quantity            Price

           AR15 BFSystem                           1                   $99.99

           Cart Subtotal:                                              $99.99

           Shipping:                                                   $6.00 via Flat Rate

           Payment Method:                                             Credit Card

           Order Total:                                                $105.99



       Customer details
      Email:

      Tel:



       Billing address
      Damien Guedes



      Whitehall , Pennsylvania 18052

                                                                                             Exhibit A, Pg. 280
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                         Exhibit 16

    (Verified Declaration of Matthew Thompson)




                                                                Exhibit A, Pg. 281
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           VERIFIED DECLARATION OF MATTHEW THOMPSON


      I, Matthew Thompson, am competent to state and declare the following based on

my personal knowledge:

   1. I am a resident of Hamburg, Pennsylvania.

   2. In 2017, I became interested in a bump stock device.

   3. Prior to purchasing a Slide Fire bump stock device, as I wanted to ensure the

      legality of the device, I went on Slide Fire's website - https://slidefire.com - to

      determine if the Bureau of Alcohol, Tobacco, Firearms and Explosives had

      approved the device.

   4. Slide Fire's website stated that it had obtained approval from ATF and provided

      me with a copy of ATF's June 7, 2010 determination letter. A copy of the letter is

      attached as Exhibit 1.

   5. In reliance on ATF' s determination letter of June 7, 2010, I purchased a Slide Fire

      bump stock device at a cost of $134.00, which I still own today.

   6. It is my understanding, based upon ATF' s notice of proposed rulemaking - RIN

      1140-AA52, Fed. Reg. No. 2018-06292 - that ATF intends to reclassify bump

      stock devices as machine guns in violation of Article 1, Section 9 of the United

      States Constitution (i.e. Ex Post Fact clause) and to require me to surrender or

      otherwise destroy my Slide Fire bump stock device in the absence of any

      compensation, in violation of the Fifth Amendment to the United States

      Constitution.




                                                                                       Exhibit A, Pg. 282
  Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 284 of 675



       I declare under penalty of perjury that the foregoing is true and correct to the best

of my information, knowledge and belief. Executed on April Jj_, 2018.


                                              ~flft:w-/f[A .
                                              Matthew   Thomp~




                                                                                       Exhibit A, Pg. 283
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                        Exhibit 1




                                                                Exhibit A, Pg. 284
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                                          U.S. Department of Justice

                                                     Bureau of Alcohol, Tobacco,
                                                     Firearms and Explosives



                                                                                        903050:MMK
                                                     Martinsburg, West Virginia 25405
                                                                                        3311/2010-434
                                                     www.atf.gov

                                                         JUN 0 7 2010




This is in reierence to y0ur submission and accompanying letter to the Fiream1s Technology
Branch (FTB), Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), asking for an
evaluation of a replacement shoulder stock for an AR-15 type rifle. Your letter advises that the
stock (referenced in this reply as a "bump-stock") is intended to assist persons whose hands have
limited mobility to "bump-fire" an AR-15 type rifle. Your submission includes the following: a
block to replace the pistol grip while providing retention for the selector stop spring; a hollow
shoulder stock intended to be installed over the rear of an AR-15 fitting with a sliding-stock type
buffer-tube assembly; and a set of assembly instrnctions.

The FTB evaluation confirmed that the submitted stock (see enclosed photos) does attach to the
rear of an AR-15 type rifle which has been fitted with a sliding shoulder-stock type buffer-tube
assembly. The stock has no automatically functioning mechanical parts or springs and performs
no automatic mechanical function when installed. In order to use the installed device, the
shooter must apply constant forward pressure with the non-shooting hand and constant rearward
pressure with the shooting hand. Accordingly, we find that the "bump-stock" is a firearm part
and is not regulated as a firearm under Gun Control Act or the National Firearms Act.

Per your telephoned instructions, we will contact. you separately to make return delivery
arrangements.

We thank you for your inquiry and trust that the foregoing has been responsive.

                                         Since el)' yours

                                          // ,       k        ~
                                                              · )~
                                         ---;. ,'   ,~    -    '   .     ~1
                                         5ohn R . Spencer
                               C ~~Firearms Technology Branch
                                 1


Enclosure



                                                                                               Exhibit A, Pg. 285
 Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 287 of 675




                          Exhibit 17

( Meet One Of The Analysts Who Determined That Bump
                 Stocks Were Legal )




                                                                 Exhibit A, Pg. 286
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                         Exhibit 18

  ( Fastest Shooter OF ALL TIME! Jerry Miculek |
            Incredible Shooting Montage )




                                                                Exhibit A, Pg. 287
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                         Exhibit 19

       (Gun Control Act of 1968, 82 Stat. 1235)




                                                                Exhibit A, Pg. 288
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   82 STAT.]           PUBLIC LAW 90-618-0CT. 22, 1968                                                    1213

   Public Law 90-617
                                              AN ACT                                          October 21, 1968
                                                                                                  (S. 3207]
   To a11w11tl >*'<'tion :l of tbt- Al't of .June 30, 1H54, nl:i amended, providing for the
    <·ontlAuan<:t> of dvll gO\"f'rwnent for the Trul'lt Territory uf the Pacific Islands.

    B e it eruwted by the Senate and IIowse of Repre11entatives of tlte
                                                                                                Pncltic Tru&t
   Un.i,ted States of .d.rnerioa in O<Yngre&ts ats8emb7,ed, That section 2 of the             Territory, civil
  Act of June· :~O, 195! ( 68 Stat. i3:30), as tunended, is amended by delet-                 government.
  ing ·'~md $35,000,000 for each of the fisen.I years 1968 and 1969, 1' and                     Appropriation.
                                                                                                81 Stat. 15.
  iJ1serting in lieu thereof a comma and the following: "for fiscal year                        48 USC 1681 noce.
  1969l $5,0001000 in addition to the StllllS heretofore appropriated~ for
  fisca year 1970, $50,000,000 and for J:iscal year 1971, $50,000,000'.
     SEC. 2. The Act of .Jm1e 30, 195± (68 Stat. 330), as amended, is
  amended by adding a. ne>Y section 3 as follows:
     "SEC. 3. There are hereby authorized to be appropriated such sums                          Disaster relief.
  as the Secretary of the Interior m1ty find necessary, but not to exceed
  $10,000,000 for any one year, to n.lle\'i11te suffering and damage result-
  ing from major disasters that occur in the Trust Territory of the
  l~acific Islands. Such sums shall be in addition to those n.uthorized
  fa section 2 of this Act aud shall not be subject to the ]jmitations
  jmposed by section 2 of Lhis Act. 'l'he Secretary of the Interior shall
  Jctermine whether or not a major d iaaster has occurred in accordance
  with the principles and policies of section 2 of the Act of September 30,
  lV50 (64 Stat. 1109), as amended (42 U.S.C. 1855a)."                                          76 Stal. 111.

      Approved Oct.ober 21, 1968.


   Public Law 90-618
                                         AN ACT                                               October 22, 1968
   To amend tltltt 18, t;nited State!! Code, to provide for l>etter control of the             (H. R. 17 735)
                            lnter::;tate traffic ln flrttanns.

     Be •l t enacted by the Senate and Hou8e of Rep'l'e8entative8 of the
   United States of America in Oong1'e88 assembled, That this Act may 0 r ~~8controt Act
   be cited as the "Gun Control Act of 1968".                                •



     TITLE I -ST..iTE FIREARMS CONTROL ASSISTANCE                                        -l
                                          PURPOSE

      SEc. 101. The Congress hereby declares that the purpose of this title
   js to provide support to Federal, State, and local law enforcement
   officials in their fight against crime and violence, and it is not the
   purpose of this title to place any m1due or unnecessary Federnl restric-
   tions or burdens on law-abiding citizens with respect to the acquisi-




                                                                                     Exhibit A, Pg. 289
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 291 of 675
1214                                PUBLIC LAW 90-618-0CT. 22, 1968                (82 STAT.

                 tion, possessjon, or use of firearms appropriate to the purpose of
                 hunting, trapshooting, target shooti.njz:, personal protection, or any
                 other law£ul activity, and that. this titfe is not intended to discourage
                 or eliminate the private ownershlp or use of firearms by law-abiding
                 citizens for lawful purposes, or provide £or the imposition by Federal
                 :·egulations of any procedures or requirements other than those rea-
                 sonably necessary to implement ancl effectuate the provisions of this
                 title.
 Anle, p. 226.
                    SEC. 102. Chapter 44 of title 18, United States Code, is a.mended
                 to read as follows :
                                        "Chapter 44.-FIREARMS
                 "Sec.
                 "921. DetlnlUons.
                 "922. Unlawful acts.
                 "923. Llcenslng.
                 "924. Penalties.
                 "925. Exceptions: Relief from disabilities.
                 "926. Rules and regulations.
                 "927. Effect on State law.
                 "928. Separability clause.
                 "§ 921. Definitions
                    " (a.) As used in this chapter-
                    "(1) The term 'person' and the term 'whoever' include any indi-
                 vidual, corporation, company, association, firm, partnership, society,
                 or }oint stock comgany.
                    ' (2) The term interstate or foreign commerce' includes commerce
                 between any place in a State and any place outside of that State, or
                 within any possession o:f the United States (not including the Canal
                 Zone) or the District of Columbia, but such term does not include
                 commerce between places within the same State but through any place
                  outside of that State. The term 'State' includes the District of Co1um-
                  bia, the Commonwealth of Puerto Rico, and the possessions of the
                  United States (not including the Canal Zone).
                    "(3) The term 'firearm' means (.A.) any weapon (including a starter
                  gun) which will or is designed to or may readily be convertea to expel
                  a projectile by the action of an explosive; (B) the frame or receiver
                  of any such weapon; (C) any firearm mtlflter or firearm silencer; or
                 (D) any destructive device. Such term does not include an antique
                 firearm.
                     " (4) The term destructive device' means-
                          " (A) any explosive, incendiary, or poison gas-
                              "1
                               " .11)
                                   i) bomb '
                                       grenade
                               " iii) rocket hu.ving a. propellant charge of more than fou t•
                             ounces,
                               "(iv) missile having an explosive or incendiary charge of
                             more than one-quarter ounce,
                               " (v) mine, or
                               " ( v1) device similar to any of the devices described in the
                             precedmg clauses;




                                                                          Exhibit A, Pg. 290
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 292 of 675
    82 STAT. J      PUBLIC LAW 90-618-0CT. 22, 1968                                           1215

            "(B) any type of weapon (other than a shotgun or a shot:.gim
         shell which the Secretary finds is generally recognized as particu-
         larly suitable for sporting purposes) by whatever name known
          which will, or which may be readily converted to, expel a projectile
         by the action of an explosive or other propellant, nnd which hns
         any barrel with a bore of more than one-half inch in diameter; and
            " ( C) any combination of i;>arts either designed or int.ended for
          use m converting any device rnto any destructive device described
         in subparagraph (A) or (B) and from which a destructive device
         may be readily assembled.
   The term 'destructive device· shall not include any device which is
   neither desi~ed nor redesigned for use as a weapon; any device1
   although originnlly designed for use ns a weapon, which is redesigned
   for use as a signaling, pyrotechnic, line throwing safety, or similar
   device; sui·plus ordnance sold7 loaned, or given by the Secretary of the
   Army pursuant to the provisions of section 4684(2) 1 4685, or 4686 of
                                                                                  ?OA Stet. 26 3.
   title 10; or any other device which the Secretary of tne Treasu:y finds
   is not likely to be used as a weapon, is an antique, or is a rifle which the
   owner intends to use solely for sporting purposes.
      " ( 5) The term 'shotgun' means a weapon designed or redesigned,
   made or remade, and mtended to be fired from the shoulder and
   designed or redesigned and made or remade to use the energy of the
   explosive in a fued shotgUJ1 shell to fire through a. smooth bore eitber
   a number of ball shot or a. single projectile for each single pull of the
   trio-~r.
      '~( 6) The term 'short-barreled shotgun' means ;\shotgun having one
   or more barrels less thm1 eighteen incl1es in length and aJlY weapon
   made from a shotgun (whether by alt.eration, mOdification or other-
   wise) if such weapon as modified has an overall length of less than
   twenty-six inches.
      "(7) The term 'rifle' means a weaipon designed or redesigned, made
   or remnde, and intended to be fired from the sbouldor and designed or
   redesigned and made or remade to use the energy of the explosive in a
   fixed metallic cartric4re to fire only a single pro3ectile thl·ough a rifled
   bore for each single pull of the tri o-ger.
      "(8) The term 'short-barrel~ rifle' means a rifle having one or
   more barrels less than sixteen inches in len~ and any weapon made
   from a rifle (whether by alteration, modification, or otherwise) if
   such weapon, as modified, has an overall length of less than twenty-six
   inches.
      "(9) The term 'importer' means any person engaged in the business
   of importing or bringing firearms or ammunition into the United
   States for purposes of sale or distribution; and the term 'licensed im-
   porter' means any such person licensed under the provisions of this
   chapter.
    " ( 10) The term 'manufacturer' means any person engaged in the
   manufacture of firearms or ammunition for purposes of sil.le or dis-




                                                                         Exhibit A, Pg. 291
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1216                                 PUBLIC LAW 90-618-0CT. 22, 1968                  [82 STAT.

                   tribution; and the term 'licensed manufacturer' means any such per-
                   son lfoensed under the provisions of this chapter.
                       "(11) The term 'dealer' means (A) any person engaged in the
                   business of selling firearms or ammunition at wholesale or retail, (B)
                   any person engalied in the business of repairing firearms or of making
                   or fitting special barrels, stocks, or trigger mechanisms to firea.rms,
                   or (C) uny person who is a. pawnbroker. The term 'licensed dealer'
                   means any dealer who is licensed under the provisions of this chapter.
                      "(12) The term 'pawnbroker' means any person whose business or
                   occupation includes the talring or receivrng, by way of pledge or
                   pawn, of any firearm or a'mmunitio11 as security fort.he payment or
                   rercayment of money.
                       '(13) The term 'collector' means any person who acquires, holds, or
                   dispose.s of fu·earms or ammunition as curios or relics, as the Secretary
                   shall by regulation define, and the term 'licensed collector' means any
                   such person licensed under the provisions of this chapter.
                      "(14) The term 'indictment' mcludes an indictment or information
                   in any court under which a crime punishable by imprisonment for a
                   term exceeding one year may be prosecuted.                             ,
                      "(15) The term 'fugitive from justice' means any person who has
                   fled from any State to avoid prosecution for a crime or to a.void giving
                   testimony in any criminal proceeding.
                      "(16J The term 'antique firearm' means-
                             '(A) any firearm (including any firearm with a matchlock,
                         :flintlock, percus.5ion cap, or s:unilar type of ignition system)
                         manufactured in or before 1898 ; and
                            "(B) any replica of any fir~lrm descdbed in subpni·agraph
                          (A) if such replica-
                                  "(i) is not designed or l'e<lesigned for nsing rimfire or con-
                               ventional centerfiie fixed nmmuuitiou, or
                                  "(ii) uses rimfire or conventional centerfire fixed ammuni·
                               tion which is no longer manufnctnred in the TTnited States
                               and which is not reaaily a,vailable in the ordina1·y channels
                               of commercial tnde.
                      "(17) The term 'ammunition' means ammunition Ol' cn.rtridge cases,
                   primers, bullets, or propellent powder designed for use in any firearm.
                      "(18) The term 'Secretary' or 'Secretary of the Treasury' means tho
                   Secretary of the Treasury or his delegate.
                      "(19) The term 'published ordinance' means a publis11ed law of
                   <my political subdivision of a Stat.e which the Sooretal'y determines to
                   be relevant to the enforcement of this chapter 1u1d wh1eh is C'Ontained
 Publication in
Federal R"glster
                   on a list. compiled by the Secretary_, which list shall be published in the
                   F ederal Register, revised annun.Uy, nnd furnished to each licensee
                   under this chapter.
                      "(20) The term 'crime punishable by impriso11me11t for a term ex-
                   ceeding one year' shall not include (A) any Federal or State offenses
                   pertaining to antitrust violations~ unfn.ir trade practices, restn:1i11ts of
                   tl'nde. or other similar offenses relating to the regulation of business
                   practices as the Secretary may by regulation des1gnatei or (B) any
                   State offense (other than one involving a firearm or explosive) classi-
                   fied by the laws of the State as a misdemeanor and pu11ishable by a
                   term of imprisonment of two yea.rs or less.
                      "(b) For the purposes of this chapter, a member of the Armed
                   Forces on active duty is a resid~nt of the State in which his permanent
                   duty station is located.
                   "§ 922. Unlawful acts
                      " (a) It shall be unla.w£ul-
                            " (1) for any person, except a licensed importer, licensed ma.nu-
                         fa.cturer, or 1icensed dealer, to engage in the business of importing,
                                                                              Exhibit A, Pg. 292
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 294 of 675
   82 SnT.]          PUBLIC LAW 90-618-0CT. 22, 1968                                           1217

   mtumfactlll'ing, or dealiu~ ~firearms or ammunition, or in the
   course of such business to snip, trnnspo1t, or receive any firearm or
   ammunition in interstate or foreign commerce;
      • (2) for any importer, manufa.ctUNr, dealer, or collector
       1

   licensed under the provisions of this rhapter to ship or transport
   in interstate or foreign commerce any firearm or ammunition to
   any person other than a. licensed import.er, licensed manufacturer,
   licensed dealer, or licensed collector, except that-
            " (A) this paragraph and subsect.io11 ( b) ( 3) shall not be
         held to preclude a licensed importer licensed manu1acturer,
         licensed dealer, or licensed collector from returning a firearm
         or replacement firearm of the same kind and type to a person
         from whom it was received; and this paru.graph shall not be
         held to preclude an individual from mailinR: a firearm owned
         in compliance with Federal, State, and loca1 law to a licensed
         importer, licensed manufactUl'er, or licensed dealer for the
         sole pmpose of repai.r or customizing;
            " ( B) this pru.·agraph shall not be held to preclude a licensed
         importer, Licensed manufacturer, or licensed dealer from
         depositit1g a fire.'\rm for conveyance in the mn.ils to any officer,
         employee, agent, or watdunan whot pursuant to the provisions
         of section 1716 of this title is elicnble to receive thi·on"h the 62 stat. 78 1:
             . })lsto
         mails    . 1s, revo Ivers, an 'd othe.-
                                              er firearms capable o-:elf_being 63 Stat. 95 .
         concealed on the person, for use in connection with his official
         duty; and
            " ( 0) nothing in this pnra~rttph shall be construed as
         npplyincr in 1my manner in the vistrict of Columbia the Com-
         monwea~th of Puerto Rico, or any possession of the United
         States differently than it would apply if the District of
         Columbia 1 the Commonwealth of Puerto Rico, or the posses-
         sion were m fact a State of the United St.at.es;
       "(3) for any person, other than a licensed importer, licensed
   mn11ufacturer, licen.sed dealer, or licensed collector to transport
   into or receive in the State where he resides (or if the person is a.
   corporation or other business entity, the State where it maintains
    a p1nce of business) any firearm purchased or otherwiSG obtained
    by such person outside that State, except that tllis paragraph (.A.)
   shall not preclude any person who lawfully acquire$ a firearm by
    bequest or intestate succession in a State other than his State
   of residence from transporting the firearm into or receiving it
   in tho.t State, if it is ln,vful for such person to purchase or possess
   such firearm in that State, (B) .shall not apply to the transporta-
   tion or receipt of a rifle or shot~ obtained in conformity with
    the provisions of subsection (b) (3) of this section, and ( C) shall
    not apply to the transportation of any firearm acquired in any
   State prior to the effective date of this chapter;
       "(4) for nny person, other than a licensed importer, licensed
   manufacturer, licensed dealer, or licensed collector, to transport in
   intet'State or foreign commerce any destructive device, machine-
   gun (n.s defined in section 5845 of the Internal Revenue Code of
    1954), short-barreled shot~ or short-barreled rifle, except as Post, p . 123 1.
   specifically authorized by the Secretary consistent with public
   saiety nnd necessity;
       "{5) for any person (other than a licensed importer, licensed
   manufacturer, licensed dealer, or licensed collector) to transfer,
   sen, trade, give? transp?rt, or deliver any firearm to any yerson
    (other thn n n hcensecl 1mporter, licensed manufacturer, licensed
   dealer, or licensed collector) who the transferor knows or has rea-
   sonable cause to belieYe resides in nnv State other thnn that in
                                                                            Exhibit A, Pg. 293
Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 295 of 675
1218                        PUBLIC LAW 90-618-0CT. 22, 1968                  [82 STAT.
               which the transferor resides (or other tha11 that in which its place
               of business is located if the transferor is a corporation or other
               business entity) ; except that this paragraph shall not apply to
                (A) the transfer, transportation, or delivery of a firearm made
               to carry out a bequest of a :firearm to, or an acquisition by intes-
                tate succession of a firearm byt a person who is permitted to
               ncquire or possess a firearm under the laws of the State of his
               residence, and ( B) the loan or rental of a firearm to any person
               for temporary use for lawful sporting purposes; and
                  " (6) for any ~rson in connection with the acquisition or
               attempted acqi1is1tion of any firearm or ammunition from a
               licensed importer, licensed manufacturer, licensed dealer, or
               licensed collector, knowingly to make any false or fictitious oral
               or written statement or to furnish or exhibit any false, fictitious,
               or misrepresented identification, intended or likely to deceive such
               importer, 1mumfactUI·er, dealer, or coUector "\Tith respect to any
               fact material to the lawfulness of the sale or other disJ?osition of
               such firearm or nmmunition under the provisions of tins chapter.
             "(b) It. shal1 be unlawful for any licensed importer, licensed manu-
           facturer, licensed dealer, or licensed co11ector to sell or deliver-
                  " (1) any firearm or ammunition to any individual who the
               licensee knows or has reasona:ble cause to believe is Jess than
               eighteen years of nge1 and, if the fire1n·m, or ammunition is other
               than a shotg'l_:ln or nfle, or ammunition for a shotgun or rifle,
               to any iudiv1dua] who the licensee knows or has reasonable cause
               1


               to believe is less than twenty-one years of age.
                  "(2) any firearm or ammunition to any person in m1y State
               where the purchase or possession by such person of such .firearm
               or ammumtion would be in violation of any State law or any
               published ordinance applicable at the place of sale, delivery or
               other disposition, unless the licensee knows or has reasonable cause
               to believe that the purchase or possession would not be in violation
               of such State la \V or such published ordinance;
                  "(3) tmy firearm to any person who the lfrensee knows or has
               reasonable cause to believe does not reside in (or if the person is n
               corporation or other business entity, does not maintain a pln.ce of
               busmess in) the State in which the licensee's place of business is
               located, except that this paragraph (A) shall not apply to the sale
               or delh-ery of n. rifle or shotgun to a resident of a State contiguous
               to the State in which the Jicensee.'s place of business is located if
               the purc11nser's State of residence permits such sale or deJh·ery by
               law, the sale fully complies with t]1e legal conditions of sale in both
               such contiguous Stutes, and the purcbnser and t.h e licensee have,
               prior to the sale, or delivery for sale, of the rifle or shotgun, com-
               plied wit.h all of tbe requirements of section 922( c) aJ?plicahle to
               mtrastate transactions other thnn nt tbe licensee's busmess prem-
               ises, (B) shnll not apply to the loan or rental of a firearm to any
               person for temporary use for lnw:ful sport.ing purposes, and (C)
               shall not preclude nny person "-ho is participating in any orga-
               nized rifle or shot~ match or contest, or is engaged fo hnnting,
               in a State other than his State of residence nnd whose rifle or shot-
               ~ has been lost or stolen or has become inoperative in such other
               bta.te, from purchasing a. rifle or shotgun in such other Stiite from
               a licensed dealer :if such person presents to such dealer a sworn
               statement (i) •that his rifle or shotgun was lost or stolen or became
               inoperative while participating in such a match or contest1 or while
               en~ap:ed in hunting, in such other State, and (ii) identitying the
               c111ef law enforcement officer of the locality in which such person
               resides, to whom such licensed dealer shnll forward such statement
                by registered mail;
                                                                     Exhibit A, Pg. 294
Case821:18-cv-02988-DLF
       STAT.]
                         Document 1-2 Filed 12/18/18 Page 296 of 675
                 PUBLIC LAW 90-618-0CT. 22, 1968                  1219
            "(4) to any person 1my destructive dedce, nmchinegun (as
                                                                                  Post, p. 1231.
         defined in section 5845 of the InternaJ ReYenue Code of 1954),
         short-barreled shotgun, or short-barreled rifle, except as specifi-
         cally authorized by the Secretary consisten't with public safety and
         necessity; and
                                                                                  Recordkeeping.
            "(5) any firearm or run.munition to any person unless the licensee
         notes in Ins records, required to be kept pursua.nt to seetion, 923 of
         this chnpter, the namez a~e, and place of residence of such person
         if the person is 1-..n individual, or the identity and principal nnd
         Jocnl places of business of such person if the person is a corporation
         or other business entity.
   l'nragraJ>hS (1), (2), (3) , and ( 4) of this subsection shall not npply to
   tl'ausact1ons between licensed 1mpo1'1:ers, licensed manufacturers,
   licensed dealers, and licensed collectors. Paragraph (4) of this sub-
   section shall not npply ton. sale or delivery to nny resenr~h organiza-
   tion desi"nated by the Secretary.
      " ( c) fn any cilse not otherwise prohibited by this chn pter, a licensed
   importer, licensed manufacturer, or licensed dealer may sell a firearm
   to a -person who does not appear in person ltt the licensee's business
   preIIllseS (other than another licensed importer, manufacturer, or
   dealer) onty if-
            " (1) the transferee submits to the transferor a sworn statement
         in the following form:
                 "'Subject to penalties provided by law, I swear
               thllt, in the case of any firearm other than 1l shotgun
               or a rifle, I am twenty-one years or more of age, or
               that, in the case of a shotgun or a rifle, I nm eighteen
               years or more of age; that I am not prohibit,e d by the
               provisions of chn.J;>ter 44 of title 18, Unjted States
               Code, from receivmg a firearm in interstate or for-                Ante, p. 1214 .
               eign commerce; and that my receipt of this firearm
               will not be in violation of any statute of the State
               and published ordinance applicable to the locality
               in wl1ich I reside. Further, the true title, name, and
               address of the principal law enforcement officer of
               the locality to which the firearm will be delivered
               are -------------------------------------------
              Signature ---------------------- Date---------·'
        and containing blank spaces for the attachment of a. true copy
        of any permit. or other information required pursuant to such
        statute or published ordinance;
          "(2) the transferor has, prior to the shlpment or delivery of
        the firearm, forwarded by registered or certified mail (return
        receipt requested) a copy of the sworn statement, together with
        a description of the firearm, in a form prescribed by the Secretary2
        to the chief law enforcement officer of the transferee's place ot
        residence, and has received n, return receipt evidencing delivery
        of t.11.e statement or has had the statement. returned due to the re-
        fusal of the named addressee t-0 accept such letter in accordance
        with United States Post Office Department regulations; and
          "(3) the transferor has delayed shipment or deliveIJ: for a
        period of at least seven days following receipt of the notification
        of the aooeptance or refusal of delivery of the statement.
    A copy of the sworn statement and a copy of the notification to the local     RecordkeepLng.
    law enforcement officer, together with evidence of receipt or rejection
    of that notification shall be retained by the licensee as a part of the
    records required to be kept under section 923 {g).

                                                                         Exhibit A, Pg. 295
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1220                                 PUBLIC LAW 90-618-0CT. 22, 1968                  [82 STAT.
                       "( d) It shall be unlawful for any licensed importer, licensed manu-
                   facturer, licensed dealer, or licensed collector to sell or otherwise dis-
                   pose of any .firearm or am.munition to any person knowing or having
                   reasonnble cause to beljeve tha,t such person-
                              " (1) is under indictment for, or has been convicted in a.n,Y court
                           of, a crime punishable by imprisonment for a term exceedmg one
                          year;
                             "(2) is a fugitive from justice;
                             "(3) is an unlawful user of or addicted to nunihuana or auy
 Po.st, p. 1361.
                          depressant or stimulant drucr (as defined in section 201 ( v) of the
 21 USC 321.               Federal Food, Drug, and 5osmetic Act) or narcotic drug (as
 74 Slat. 57.              de.fined in section 4731 (a) of tl1e Internal Revenue Code of 1954) ;
 26 use 4731.
                          or
                             " ( 4) has been adjudicated as a mental defective 01· hns been
                           committed to any mental institution.
                   This subsection shall not apply with respect to tl1e snle or disposition
                   of a fireatm or ammunition to a licensed importer, licensed manufac-
                   tiu·er, licensed dealer, or lieensed collector who pursuant to snbsection
                    ( b) of section 0-25 9f this chapter is not pt'ecluded from dealing in fire-
                   arms or ammlmition, or ton person wl10 has bee11 grnnted relief from
                   cUs1tbilities pursuant to subsection ( c) of section 925 of this chapter.
                       " ( o) It shall be unlawful :for any person knowin~Jy to delh-er or
                   ntuse to be delivered to any common or conh·act C'nrrier for trnnsportu-
                   tion or shipment in interstate or foreign commerce, to persons othPr
                   thnn licensed importers, licensed manufacturers, licensed <le~llers, or
                   licensed collectors, any l>ack~~ or other container in which there is
                   any :firearm or nmmunibon without written notice to the carrier that
                   <>uch firearm or ammunition is being transported or shipped; except
                   that any passenger who owns or legalJy pvssesses a iiren,rm or ammn-
                   nition being transported aboard any common or contract carrier for
                   movement '"°ith the passenger in interstate or foreign commerce mny
                   deliver said firearm or ammunition info the custody of the pilot, cap-
                   tain, conductor or operator of such common or contrad aarrier for the
                   duration of the trip without violating any of the provisions of thi:>
                   chapter.
                       "(f) It shall be unlawful for any common or contract carrier to
                   transport or deliver in interstate or foreign comme1·ce any firearm or
                   ammunition with knowledge or reasonable cause to believe that the
                   shipment, transportation, or receipt thereof would be in violation of
                   the ,provisions of this chapter.
                      ·" (g) It shall be unlawful for any person-
                             " {1) who is under indictment for, or wh-0 has been convicted in
                          any court of, a crime punishable by imprisonment for a term
                          exceeding one year;
                             '' (2) wl10 is a fugitive from justice;
                             "(3) who is ~ unlawful user of or addicted to marihuana or
                          any depressant or stimulant drug (as defined in section 201 ( v)
                          of the Federal Food, Dntg, and Cosmetic Act) or narcotic dru~
                           (as de.fined in section 4731(a.) of the Internal Revenue Code ot
                          1954) ·or
                             " (4) who has been adjudicated as n mental defective or who
                          has been committed to a mental institution;
                   to ship or transport any firearm or ammunition in interstate or foreign
                   commerce.
                      "(h) It. shall be unlawful for any person-
                             "(1) who is under indictment for, or who has been convicted in
                          any oo.urt of, 11. crime punishable by imprisonment for a term
                          exceeding one year;
                             "(2) who is a fugitive from justice;

                                                                              Exhibit A, Pg. 296
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            "(3) who is an unlawful user of or addicted to marihuana or
         any depressant or stimulant drug (as defined in section 201 ( v) of
         the Federal Food, Dru_g, and Cosmetic Act) or narcotic drug (as              Post, p. 1361.
                                                                                      21 IJSC 32 l.
         defined in section473l(a) of the InternaJ Revenue Code of 1954);             74 Stat. 57 .
         or                                                                           26 USC 4731.
            "(4) who has been adjudicated as a mental defective or who
         has been committed to nny mental institution;
   to receive any firearm or ammunition which has been shipped or trans-
   ported in interstate or foreign commerce.
      "(i) It shall be unlawful :for any person to transport or ship in
   interstate or foreign commerce, any stolen firearm or stolen ammu-
   nition, knowing or~having reasonable cause to believe that the firearm
   or ammunition was stolen.
      "(j) It shall be unlnwful for llllY person to receive, conceal, store,
   barter, sell, or dispose of any stolen fire."irm or stolen ammunit.ion, or
   pledge or accept as security for a loan any stolen firearm or stolen
   ammunition, which is moving tls, which is a pa.rt of, or wbjch consti-
   tutes, interstate or foreign commerce, knowing or having reasonable
   cause to believe.that the firearm or ammunition was stolen.
      "(k} It shall be unlllwful for any person knowingly to transport,
   ship, or receive, in interstate or foreign commerce, any .firearm which
   has had the importer's or manufacturer's serial number removed, oblit-
   erated, or altered.
      "(1) Except as provided in section 925 (d) of this chapter, it shall be
   unlawful for any person knowingly to import or bring into the United
   Stares or any possession thereof ltny firearm. or ammunition i and it
   shall be. unh1wful for a.n.y person knowingly to receive n)ly firearm or
   ammunition which has been imported or brought into the United States
   or any possession thereof in Yiolation of the provisions of this chapter.
                                                                                      Record keeping.
      "(m) It shall be unfo.wful for any licensed importer, licensedmanu-
   fncturet', licensed dealer, or licensed collector knowingly to ma.ke any
   false entry in, to fail to make a.p'(>ropriate entry in, or to fa.il to properly
   maiJlltain1 any record which he is required to keep pursna.nt to section
   923 of this chapter or regulations promulgated thereunder.
   "§ 923. Licensing
      "(a) No person shall engage in business as a..firea.rms or ammunition
   importer, manufa.oturer, or dealer until he has ftled an application with,
   and received a. license to do so from, the Secretary. The application
   shall be in such form a.nd contain such information as the Secretary
   shall by re!!Ulation prescribe. Each applicant shall pay a fee for obtain-         Fees.
   ing such a. license, a separn.te fee. bein~ required for each place in which
   tJ1e applicant is to do business, as follows:
      "(1) If the a.pplicant is a manu:facturer-
            "(A) of destructive devices or ammunition for destructive de-
          vices, a :fee of $1,000 per year;
            "(B) o:f .firearms other than destructive devices, a fee of $50
         per year; or
            "(C) o:f ammunition for :firearms other than destructive de-
          vices, a fee o:f $10 per year.
      "(2) If the applicant is an importer-
            "(A) of destructive devices or ammunition :for destructive de-
         vices, a fee o:f $1,000 per year; or
            " ( B) of .firearms other than destructive devices or ammunition
          for firearms other than destructive devices, a fee of $50 per year.
      " (3) If the applicant is a dealer-
            " (A) in destructive devices or ammunition for destructive
         devices, a :fee of $1,000 per year;


                                                                            Exhibit A, Pg. 297
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                           "(B) who is a pawnbroker dealing in .firearms other than
                        destructive devices or ammunition for firearms other than destruc-
                        tive devices, a fee of $25 per year; or
                           "(C) who is not a dealer in destructive devices or a pawn-
                       broker, a fee of $10 per year.
                    "(b) Any person desiring to be licensed as a collector shaU file an
                 application for such license with the Secretary. The application shall
                 be in such form a.nd contain such information as the Secretary shall by
                 regulation prescribe. The fee for such license shall be $10 per year. Any
                 license granted under this subsection shall only apply to transactions
                 in curios and relics.
                    "(-c) Upon the filing oi a p1·oper application and payment of the
                 prescribed fee, the Secretary shall issue to a qualified applicant the
                 a.ppropriate license which, subject to the provisions of this chapter and
                 other a{'plicable provisions of law, shall entitle the licensee to trans-
                 port, slup, and receive firearms and ammunition covered by such license
                 in interstate or foreign commeroe during the period stated in the
                 license.
 Approval.
                    " ( d) ( 1) Any application submitted under subsection (a) or (b) of
                 this section shaU l:>e approved if-
                           " {A) the applicant is twenty-one years of age or over;
                           "(B) the applicant (including, in the case of a coryoration,
                       partnership, or association, any individual possessing, clrrectly or
                        rndirectly, the power to direct or en.use the direction 0£ the man-
                        a~ent and policies of the corporation, partnership, or asso-
                        ciation) is not prohibited from trn,nsporting, shipping, or receiv-
                        ing firearms or ammunition in interstn:te or foreign commerce
                        under section 922 (g) and (h) o:fthis chapter;
                           "(0) the applicant has not willfully violated any of the pro-
                     visions of this chapter or regulations issued thereunder i
                         "(D) the npp1Jcant has not wi11fully failed to disclose any
                       material iniorma.tiou required, or has not made any false state-
                       ment as to any material fact, in connection with his application;
                       and
                         "(E) the applicant has in a State (i) premises from which he
                       conducts business :subject to license under this chapter or from
                       which he intends to conduct such business within a reasonable
                       period of timel or (ii) in the case of a collector, premises from
                       which he conaucts his collecting subject to license under this
                       chapter or from which he intends to conduct such collecting within
                       a reasonable period of time.
                   ." (~) The Seretnry must approve o~· d~y au applicutio~1 f!ll' a li~ense
                 w1thm the forty-five-day penod begmmng on the date It IS received.
                 H the Secretary fails to act within such period, the a.J>plicant may file
 76 Stat. 744.
                 nn action under section 1361 of title 28 to compel the Secretary to act.
                 If the Secretary approves an a.pplicant's application, such applicant
                 ~hall be issued 11 license upon the payment of the prescribed fee.
 Revocation.        "(e) The Secretary may, after notice and opportunity for hearing,
                 revoke any Jicense issued under t11is seotion if the holder of such
                 license has violated any provision of this chapter or any rule or regu-
                 lation prescribed by the Secretary under this chapter. The Secretary's
                 action tmder this subsection ma,y"be reviewed only as provided in sub-
                 section (f) of this section.
                    "(f) (1) Any person whose application for a license is denied and
                 any holder of a license which is revoked shall :receive a written notice
                 from the Secretary stating specifically the g-rounds upon which the
                 application was denied or upon which the license was revoked. Any
                 notice of a revocation of a license shall be. given to the holder of such
                 license before the effective date of the revocation.

                                                                          Exhibit A, Pg. 298
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       "(2) If 1the Secretary denies an application ior, or revokes, a license, Hearing.
    he shall, upon request by the aggrieved party, promptly hold a hearing
    to review his denial or revocation. In the case of a revocation of a
    license, the Secretary shall upon the request of the holder of the license
    stay the effective date of the revocwtion. A hearing held under this
    pnragra ph sha.Il be held at n. location convenient to the aggrieved party.
       " (3) If n.:fter a hearing held under paragraph (2) the Secretary Judictat review.
    decides not to reverse his decision to deny an application or revoke a
    license, the Secretary shall give notice of his decision to the aggrieved
    party. The aggrieved party may at any time within sixty da.ys after
    the date notice was gi ,·en under this p~wagraph file a petition with the
    United States district court for the district in which he Tesides OT has
    his principal place of ·business for a judicial review of such denial or
    re\roca.tion. In a proceeding conducted under this subsection, the court
    may consider any evidence submitted by .the parties to the proceeding.
    If the court decides that the Secretary was not authorized to deny the
    application or .t o revoke the license, the COUI't shall order the Secretary
    to take such action as may be necessary to compJy with the judgment
    of the court.
       " (g) Each licensed importer, licensed manufacturer,.licensed dealer, R ecordkeep lng.
    and licensed collector shall maintain such records of importation, pro-
    duction, shipment, receipt, sale, or other disposition, of :firearms a.nd
    a.mmrmition a.t such place, for such period~ and in such form as the
    Secretary may by r8t,,aulations prescribe. :::;uch importers, manufac-
    turers, dealers, and collectors shall make such records a,vailable for
    inspection at all reasonable times, and shall submit to the Secretary
    such reports and information with respect to such records lllld the con-
    tents thereof as he shall by regulations prescribe. The Secretary may
    enter during business hours the ;>remises (including places of storage)
    of o.ny firearms or ammunition importer, manufacturer, dealer, or col-
    lect.or for the purpose of inspecting or examining (1) any records or
    documents required to be kept by such importer, manufacturer, dealer,
    or collector under tl1ejrovisions of this chapter or regulations issued
    under this chapter, an {2) any fu·earms or o.mm.unition kept or stored
    by such importer, manufacturer, dealer, or collector at such premises.
    Upon the request of aJly St."Ute or any ~litic.al subdivision thereof the
    Secretary may make available to such St.ate or 11,ny political subdivi-
    sion thereof, any information which he may obt.o.m by reason of the
    provisions of this chapter with res~ ·t o the identification of persons
    within such State or political subdivision thereof, who have purchased
    or received firearms or ammunition, together with a descriptfon of such
    firearms or ammunition.
       "(h) Licenses issued under the provisions of subsection \ c) of this u Poslins 0 '
    section shall be kept posted and kept available for inspection on the c:<>nse.
     premises covered by the license.
       "(i) Licensed importers u.nd licensed manufacturers shall identify,
    by means of a. serial number engraved or cast on the receiver or frame
    of the weapon, in such mnnner as the Secretary shall bv regulations
    prescribe, each firearm imported or manufactured by such importer or
    mt\.llufaoturer.
       "(j) This section shall not apply to anyone who engages only in Exemptio n .
     hand loading, reloading, or custom loading ammunition for his own
    firearm, and who does not hand load, reloaa, or custom load ammuni-
    tion for others.
    "§ 924. Penalties
       "(a.) Whoever violates any provision of this chapter or knowingly
    makes any false statement or representation with respect to the infor-
    mation required by the provisions of this cl1a.pter to be kept in the rec-
    ords of a person licensed under this chapter, or in applying for any
                                                                      Exhibit A, Pg. 299

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                  license or exemption or relief from disability under tJ1e provisions of
                   this chapter, shall be fined not more than $5,000, or imprisoned not
                  more than tive years, or both, and shall become eligible for parole as
                  t.he Board of Parole shall determine.
                     "(b) Wl1oever, with intent to commit therewith an offense punish-
                  able by imprisonment for a term exceeding one year, or with knowledge
                  or reasonable cause to believe that an offense puni.'ihable by imprison-
                  ment for a term exceeding one year is to be committed therewith, shlps,
                  trnnsports, or receives a fireum or any ammunition in interstate or
                  foreign commerce shall be fined not more than $10,000, or imprisoned
                  not mot·e tl1an ten years, or both.
                     " ( c) Wl1oever-
                           " ( l) uses a firearm to commit any felony which may be prose-
                        <'Uted in a court of the United States or
                           "(2) carries a firearm unlawfully during the commission of
                        any felony which may be prosecuted in a court of the United
                         States,
                  shall be sent-enced to a term of imprisonment for not less than one
                  year nor more than 10 years. In the case of his second or subsequent
                  conviction under this subsection, such person shall be sentenced to a
                  term of imprisonment for not less tlum live years nor more than 25
                  years, and, notwithstanding any other provision of law, the court shall
                  not suspend the sentence of such person or ghre him a probationary
                  sentence.
                     "(d) An:y firearm or ammunition involved in or used or intended
                  to be used m, any violation of the provisions of this chapter or any
                  rule or regulation promulgated thereunder, or any violation o:f any
                  other crimmal law of the United States, shall be subject to seizure and
                  :forfeiture and all provisions of the Internal Revenue Code of 195-1
                  relating to the seizure, :forfeiture, and disposition of firearms, as
 Post, p. 1230.
                  defined in section 5845 (a) of that Code, shall, so far as applicable,
                  extend to seizures and :forfeitures under the provision.s of this chapter.
                  "§ 925. Exceptions: Relief from disabilities
                     "(!\,) (1) The provisions of this cha:eter shall not apply with respect
                  to the transportation, shipment, receipt, or importation of any fire-
                  arm or ammunition imp01-ted for,_ sold or shipped to, or issued for the
                  use of, the United States or any department or agency thereof or any
                  State or nny department, agency, or po1itical subdivision thereof.
                     "(2) The provisions of this chapter shall not apJ?lY with respect to
                  (A) tl1e shipment or receipt of firearms or ammumtlon when sold or
                  issued by the Secretary of the Army pursuant to section 4308 of title
 70A Stat. 236.
                  10, and (B) the transportation of any such firearm or ammunition
                  carried out to enable a person, who htwfulJy received such firearm
                  or ammtmition from the Secretary of the Army, to engage in military
                  training or in competitions.
                     "(3) Unless otherwise prohibited by this chapter or any other Fed-
                  eral law, a licensed importer, licensed manufacturer or licensed dealer
                  may ship to 1t member of the United States Armed Forces on active
                  duty outside the United State-S or to clubs, recognized by the Depart-
                  ment of Defense, whose entire membership is composed of such mem-
                  bers, nnd such members or clubs may receive a fi~rm or ammunition
                  determined by the Secretary of the Treasury to be generally recognized
                  as particularly suitable for sporting purposes and intended for the
                  persona.1 nse of such member or club.
                     "(4) When established to the sa.tisfaction of the Secretary to be
                  consistent with the provisions of this chapter and other applicable
                  Federal and State laws and published orcliitances, the Secret.airy may


                                                                            Exhibit A, Pg. 300
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    authorize the trnusportation, shipment, receipt, or importation into
    the United States to the place of residence of any member of the
    United States ~.\rmed Forces who is on active duty outside the United
    States (or w•ho has been on active duty outside the Unit.ed States
    within the sixty da.y period immedia.tely preceding the transportation,
    shipment, reeeipt, or jmportation), of any firearm or ammunition
    which is (A) determined by the Secretary to be generally recognized
    as particufarly suitable for sporting purposes, or determined by the
    Depa.rtment of Defense to be a type <>f firearm normally classified as
    a war souvenir, 1uid (B) intended for the personal use of such member.
        "(5) Forthepu~poseofpamgraphs (3) and (4) of this subsection,
                                                                                    11
                                                                                    United States."

    the term 'rnited States' means each of the several States and the
    rnstrict of Columbia.
        "(b) ...:\.licensed importe1·, licensed manufacturer, licensed deciler, or
    licensed collwtor who is indicted for a crime punishable by imprison-
    ment for a tetm exceeding one year, mn.y, notwithstandinO' any other
    provision of this chapter, continue operation pursuant to tis existing
    license (if prior to the expiration of tbe term of the existing license
    timely application is made for a new license) during the term of such
    indictment imd until any conviction pursuant to the indictment becomes
    final.
        " ( c) A. person wJ10 has been con vioted of a. crime punishable by
    imprisonment for a tenn exceeding one year (other than a crime
    involving the use of a firearm or other weapon or a. violation of this
    chapter or of the National Firearms Act). ma.y make application to the Poat, p. 1227.
    Secretary for relief from the disabilities imposed by Federal laws with
    respect to the acquisition, receipt, transfer, shipment, or possession of
    .firearms nnd incurred by reason of such conviction and the Secretary
     may grant such relief if it is established to his satisfaotion that the cir-
    rumstances regarding the condction, and t.he applicant's record and
     reputation, are such that the applicant will not be likely to act in a.
     manner dangerous .to public safety and that the granting of the relief
     would not l:ie contrary to the public interest. A licensed importer,
     licensed mimufacturer, licensed dealer, or licensed collector conducting
     operations under this chapter, who makes application for relief from
     the disabilities incurred under this cha.J?ter by reason of such a convic-
    tion, shall not be barred by such conviction from further operations
     under his license pending flnal action on an application for relief filed
     pursua.nt to this section. Whene,~er the Secretary grants relief to any Federal
                                                                                   Publication in
                                                                                         Register.
     person pursuant to this section he shall promptly publiSh in the Federal
     R~ister uotice of such action, together with the reasons therefor.
        ' ( d) The Secretary may authorize a. firearm. or ammunition to be
     imported or brought into the United States or any possession thereof
     if the person importing or bringing in .the firearm. or ammunition
     establishes ito the saHsfaction of the Secretary that the firearm or
    ammunition-
               " ( 1) is being imported or brought in for scientific or research
            purposes, or is for use in connection with competition or training
            pursuant to chapter 401 of title 10;                                   ?OA Stat . 234.
                                                                                   10 use 4301 -
               ''(2) is an unservicea.ble firearm, other than a machinegun as 4313 .
            defined in section 5845(b) of the Intern.a] Revenue Code of 1954 Post,p. 1231 .
            fnot reaclqy restorable to. firing condition), imported or brought
            in as a curio or museum piece;
               " ( 3) is of a type that does not fall within the definition of a
            firearm as defined in section 5845 (a) of the Internal Revenue Code
            of 1954 and is genera Uy recognized as particularly suita.ble for or
            readily adaptable to sporting purposes, excluding surplus military
            firearms; or

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                         "( 4) was previously taken out of the United States 01· a posses-
                       sion by the person who is bringing i11 the firearm or ammunition.
                 The Secretary may permit the conditional importation or bringing
                 in of a firearm or ammunition for examination and testing in connec-
                 t ion with the making of a determination as to whether the importation
                 or brin~ing in of such firearm or ammuni,t ion will be allowed under this
                 subsect1011.
                 "§ 926. Rules and regulations
                    "The Secretary mny prescribe such rules and regulations ns he deems
                 reasonably 11ecess1\ry to carry out the provisions of this chapter, in-
                 cludiu~-
                          '(l) regulations provjding that a person licensed under this
                      chapter, when dealing with another person so licensed, shall pro-
                      vide such other licensed person a certified copy of this license;
                      ud                                                                 '
                         "(2) regnlations providing for the issuance, at a reasonable cost,
                      to 1\. person licensed under this chnpter, of certified copies of his
                      license for use as provided under regulations issued under para-
                      graph ( 1) of this subsection.
                 The Secretary shall give reasonable public notice, and afford to in-
                 te1-ested parties opportunity for hearing, prior to prescribing such
                 rnles and regulations.
                 "§ 927. Eftect on State law
                   "No provision of this chapter shall be construed as indicating an
                 intent on the part of the Congres.s to occupy the field in which such
                 provision operates to tl1e exclusion of the law of any State on the sa.me
                 subject matter, unless there is a direct and p·o sitive conflict bet.ween
                 such provision and the law of the State so that the two cannot be
                 reconciled or consistently stand together.
                 "§ 928. Separability
                   "If any provision of this chapter or the application thereof to any
                   person or circumstance is held invalid, the remainder of the chapter
                   and the application of such provision to other persons not similarly
                   situated or to other circumstances shall not be a.ffected thereby."
                      SEC. 103. The administration and enforcement of the amendment
                   made by this title shall be vested in the Secretary of the Treasury.
                      Sro. 104. Nothing in this title or the amendment made thereby shall
                   be construed as mooifying or affecting any provision of-
                           ( a) .the National Firearms Act (chapter 53 of the Internal
  Po•t, p. 1227.
                        Revenue Code of 1954) ;
 6.  Stat. 848.
  62 Stat. 781;
                           (b) section 414 of the Mutual Security Act of 1954 (22 U .S.C.
                        1934), as amended, relating to munitions control; or
63 Stat. 95.
                           (c) section 1715 of title J..8, United States Code, relating to non-
                        maila.ble firearms.
  E!fectlve dated.
                      SEC. 105. (a) Except as provided in subsection (b), the provisions
                   of cha.pter 44 of title 18, United States Code, as a.mended by section
                   102 of this title, shall take effect on December 16, 1968.
                      (b) The following sections of chapter 44 of title 18 United States
                   Code, as amended by section 102 of this title shaU t~ke effect on the
                   dnte oft.he enactment of this title: Sections 921, 922(1), 925(a)(l),
                   and 925(d):




                                                                              Exhibit A, Pg. 302
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     TlTLE II-MACHINE GUNS, DESTRUCTIVE DEVICES,
              AND CERTAIN OTHER FIREARMS
      SEC. 201. Chapter 53 of the Internal Revenue Code of 1954 is arms
                                                                     Natlonel Fire -
                                                                        Act Amend-
    amended to read as follows:                                    ments of 1968.
                                                                                         68A Stet. 72 L
                                                                                         72 Stat. 1428.
    "CHAPTER 53-MACHINE GUNS, DESTRUCTIVE 26 use ssoi-
                                          5862.
      DEVICES, AND CERTAIN OTHER FIREARMS
                   "Snbcbapter A. '!'axes.
                   "Subchapter B. General provisions and exemptions.
                   "Subchapter C. Prohibited acts.
                   "Subebapter D. Penalties and forfeiture&.

                            "Subchapter A-Taxes
                   "Part   I. Special (occupational) taxes.
                   "Pa.rt II. Tax on transferring firearms.
                   "Part III. Tax on making ft rearms.

           "PART I-SPECIAL (OCCUPATIONAL) TAXES
                  "see. 5801. Tax.
                  "Sec. 5802. Registration of ill1Porters, manufacturers. and dealers.
    "SEC. 5801. TAX.
       "On first engaging in business and thereaf•ter on or before the first
    day of July of each year, every importer, manufacturer, and dealer in
    firearms shall pay a special (occupational) tax for each place of
           "il)
    business at the following rates :
                 !MPOR'rERS.- $f>OO n year or.· fraction thereof i
           " 2) M:ANUFAOTURERS.-$500 a year or fraction thereof;
           " 3) DEALERS.-$200 a year or fraction thereof.
    Except an impo1ter, manufacturer, or dealer who imports, manu-
    factures, or deals in only weapons classified as 'any other weapon'
    under section 5845 (e), shall pay a special (occupational) tax for each
    pln.ce of business at the following rates: Importers, $25 a year or
    fraction thereof; manufacturers, $25 a year or fraction thereof i
    dealers, $10 a year or fraction thereof.
    "SEC. 5802. REGISTRATION OF IMPORTERS, MANUFACTURERS, AND
                   DEALERS.
       "On first engaging in business and thereafter on or before the first
    day of July of each year, en.ch importer, manufacturer, and dealer in
    firearms shall register with the Secretary or his delegate in each
    internal revenue district in which such business is to be carried on,
    his mtme, including any trade name, and the address of each location
    in the district where he will conduct such business. Where there is a
    cha.nge during the taxable year in the location of, or the trade name
    u.sed m, such business, tl1e importer, manufacturer, or dealer shall file
    an application with the Secretary or his delegate to amend his regis-
    tration. Firearms operations of an importer, manufacturer, or dealer
    may not be commenced at the new location or under a new trade name
    prior to approval by the Secretary or his delegate of the application.




                                                                               Exhibit A, Pg. 303
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                 "PART II-TAX ON TRANSFERRING FffiEARMS
                         "Sec. 5811. Transfer tax.
                         ·•sec. 5812. Transfers.
           "SEC. 5811. TRANSFER TAX.
              " (a) Ran:.-There shall be levied, collected, and paid on :firearms
           t.ransferred a tax at the rate of $200 for each firearm transferred,
           ex:cep1·, the transfer tax on any firearm classified as any other weapon
           under section 5845 (e) shall be at the rate of $5 for each such firearm
           transfer.red.
              "(b) BY WuoM PAm.- 'fhe tax imposed by subsection (a) of this
           section shall be paid by the transferor.
              "(c) PATIIBNT.- The tax imposed by subsection (a) of this section
           sha.11 be payable by the appropriate stamps prescribed for payment
           by the Secretary or his delegate.
           "SEC. 5812. TRANSFERS.
              ''(a.) A.rPLIC.\TION.-A firearm shall not be transferred unless (1)
            the transferor oi the firearm has filed with the Secretary or his dele-
           ~ate a written application, in duplicate, for the transfer and registra-
           hon of the firearm to the transferee on the application form prescribed
           by the Secretary or his delegate; (2) any tax payable on the transfer
           js paid as evidenced by the proper stamp affixed to the original ap])li-
           cation form; (3) the transferee is identified in the application form
            in such manner as the Secretary or his delegate may by reoulations
           prescribe, except that, if such person is an individual, the iaentitica-
           tion must include his fi.ngerpril1ts and his photograph; ( 4) the trans-
           feror of the firearm is identified in the application form in such man-
           ner as the Secretary or his delega.t.e may by regulations prescribe; ( 5)
           the firearm is identified in tbe application forrn in such mallDer as the
           Secretary or his delegnrte ma_y by l'ei,,O'lllations prescribe; and (6) the
           application form shows that the Secretary or his delegate has approved
           tJ1e transfer and the registration of the Jhearm to the transferee. Ap-
           plications shall be demed if the transfer, receift' or possession of th"
           firearm would place the transferee in violation o law.
              "(b) TRANSFER OF PosSESSION.-The transferee of a firearm shall not
           take possession of the firen1·m unless the Secretary or his delegate has
           approved the transfer and registration of tbe firearm to the transferee
           as required by subsection (a) of this section.

                     "PART III-TAX ON MAKING FffiEARMS
                        "Sec. 0821. Making tax.
                        "Sec. 5822. Making.
           "SEC. 5821. MAKING TAX.
             "(a) R\TE.-There shall be levied, collected, and paid upon the
           making of a firearm a ta.x at the rate of $200 for ea.ch fo·earm made.
             "(b) BY WHOM PAJD.-The tax imposed by subsection (a) of this
           section shall be paid by the person makmg the firearm.
             "(c) PAYMENT.-The tax imposed by subsection (a) of this section
           shall be payable by the stamp prescribed for payment by the Secretary
           or his delegate.
           "SEC. 5822. MAKING.
              "No person shall make a. firearm unless he has (a) filed with the
           Secretary or his delegate a written applicationbin dut?,licate, to make
           Md register the firearm on the form prescribed y the Secretary or his
           delegate; (b) paid any tax payable on the making and such payment
           is evidenced by the proper stamp affixed to the original application
           form; (c) identified the firearm to be made in the application form
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    in such maru1er as the Sec1-etary or his delegate may by regulatious
    prescribe; ( d) identified himself in the application form in such man-
    ner as the Secretary or his dele~ate may by regulations prescribe, ex-
    cept tha.t, if such person is an individual, the identification must in-
    clude his fingerprints and his photogrnph; and ( e) obtained the ap-
    pro,,al of the Secretnry or his delegat.e to make and register the fu-enrm
    and the a.pplicntion form shows such approval Applications shall be
    denied if the making or possession of the firearm would place the
    person maldug the firenrm in violation of law.

     "Subchapter B-General Provisions and Exemptions
                  "Part I. General prov!Sions.
                  '·l'art II. Exemptions.

                   "PART I-GENERAL PROVISIONS
                  "Sec. 5841. Registration ot ftreanns.
                  ''Sec. 5842. Identification ot firearms.
                  "Sec. 0843. Records and returns.
                  "Sec. 5844. lmportatlon.
                  "Sec. 1)845. Ddlnitk>ns.
                  "Sec. ~ Otber laws applicable.
                  "Sec. 5847. Effect on other law.
                  "Sec. 5848. Restrictive use of information.
                  "Sec. 5849. Oitation ot chapter.
    "SEC. 5841. REGISTRATION OF FIREARMS.
      "(a) CENTRAL REorsTBY. The Secretary or his delegate shall main-            Netlonal Fir~-
       . a, centra1 registry
    ta.:m              ·     0 a
                                            • the Urute
                              f 11 firearms lll      • d S tateS W hiCh are and
                                                                            arms Registration
                                                                                Trans!er Rec-
    not in the possession or wider the oontrol of the United States. This ord.
    registry shall be known as the National Firearms Registration and
    Transfer Record. The registry shall includ&-
            " ( 1) identification of the firearm;
            " ( 2) date of registration ; and
            "(3) identification and address of person entitled to possession
          of the firearm.
       "(b) BY WHOM REGISTERF.D.-Ea.ch manufacturer, importer, and
    maker shall register each firearm he manufactures, imports, or makes.
    Each ffre~um transferred shall be registered to the transferee by the
    tra.nsferor.
       "(c) How REOISl"ERED.-Each manufacturer shall notify the Secre-
    tary or his delegate of the manufacture of a .fireann in such manner as
    may by regulations be prescribed and such notification shall efiect the
    registrtition of the firearm required by this section. Each importer,
    maker, and transferor of a firearm sha.11 2 prior to importing, making,
    or trnnsferring a firearm, obtain authortzation in such manner as re-
    quired by tl1is chapter or regulations issued thereunder to import,
    make, or transfer the firearm, and such authorization shall effect the
    re~istration of the firearm required by this section.
        '(d) FIREARMS REOISTERED ON EFFECTIVE DATE OF Tms Am:.-A
    person shown as possessiug a firearm by the records maintained by the
    Secretary or his delegate pursuant to the National Firearms Act in 68A Stat. 721;
    force on the day immediately prior to the effective date of the N atfonal 7226Stat. 14 28 .
                                                                                    use s801 -
    Firearms Act of 1968 sba1l be considered to ha.,re registered under this S862 .
    section the firearms in his possession which are disclosed by that record Poat, p , 1235.
    as being in his possession.
       "(e) PROOF OF REGISTRATION.-A person possessing a.firearm regis-
    tered as required by this section .shall retain proof of registration
    which shall be made available to the Secretary or his delegate upon
    request.
                                                                        Exhibit A, Pg. 305
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           "SEC. 5842. IDENTIFICATION OF FIREARMS.
              " (a) InENTIFICATION OF FIREARMS OrHER THAN DEsTRUOl'IVE
           DEVICF.S.-Each manufacturer and importer and anyone making a fire-
           arm shall identify each :firearm, other than a destructive device, manu-
           factured, imported or made by a serial number which may not be
           readily removed, oblltera.ted, or altered, the name of the manufacturer,
           importer, or maker, and such other identification as the Secretary or
           his delegate may by regulations prescribe.
              "(b) FIREARMS vVrTHOUT SERIAL NtrMUER.-Any person who pos-
           sesses n firearm, other thnn n destructive device, which does not bear the
           serial number and other information required by subsection (a) of this
           section shall identify the firearm with a serial number assi!med by the
           Secretary or his de1ega.te and any other information the ~cretary or
           his delegate may by regulations prescribe.
              "(c) IBENTLFICATION OF D't~TRUCTIVE DEVTCE.-Any firearm classi-
           fied as a destructive deNice shall be identified in such manner as the Sec-
           reta.ry or his delegate may by regulations prescribe.
           "SEC. 5843. RECORDS AND RETURNS.
             "Importers, manufacturers, and dealers shall kee!J such records of,
           and render such returns in relation to, the importation, manufacture,
           making, re<"eipt1 and sale, or other disposition, of firearms as the Sac-
           retary or his delegate may by regulations p1'0scribe.
           "SEC. 5844. IMPORTATION.
              "No firearm shall be imported or brought into the United States or
           nny territory under its control or jurisdict10n unless the importer estab-
           lishes, under regulations as m~y be prescribed by t~1e .Secretary or his
           delegate, thrut the firearm to be 1mported or brought mis-
                   " ( 1) being imported or brought fa for the use of the United
                States or any department, independent establishment, or agency
                thereof or any State or pos.session or any political subdivision
                thereof; or
                   "(2) being imported or brought in for scientific or research pur-
                poses; or
                   ~' (3) being imported or brought in solely for testing or use as a
                model by n registered manufacturer or solely for use as n sample
                by a registered importer or registered dealer;
           except that, the Secretary or his delegate may permit the conditional
           importation or bringing m of a firearm for examinat.ion and testing in
           connection with classifying the fl.r earm.
           "SEC. 51345. DEFINITIONS.
               "For the purpose of th is chapter-
               " (a) FIREARM.-The term 'firearm' means (1) n shotgun having a
            barrel or barrels of less than 18inchesin1enJ?th; (2) a 'veapon made
           from a shotgun if such weapon as modified nas an overa_ll length of
           less than 26 inches or a. barrel or barrels of less than 18 inches in length;
            ( 3) a rifle having a barrel or barrels of less than 16 inches in length;
            ( 4) a weapon made from o. rifle if such weapon ns modified hns nn
           overa11 length of Jess thnn 26 inches or a barrel or barrels of Jess than
           16 inches in len~h; (5) an~ other weapon, as defined in subsection
            (e); (6) a macliinegun; (7) a muffier or a silencer for any firearm
           whether or not such firearm is included within this definition ; and ( 8)
           a destructive device. The term 'firearm' shall not include an antique
           firearm or any device (other than a machinegun or destructive device)
           which, although designed as a. weapon, the Secretary or bis delegate
           finds by reason of tlie date of its manufacture, value, design, and
           other characteristics is primarily a collector's item and is not likely
           to be used as a weapon.

                                                                      Exhibit A, Pg. 306
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       "(b) MAoHTNEGUN.-The term 'machinegun' means any weapon
    which shoots, is designed to shoot, or can be readily restored to shoot,
    automatically more thn.n one shot, without manual reloading, by a
    single function of the trigger. The term shall also include the frame
    or receiver of any such weapon, any combination of parts designed
    and intended for use in converting a weapon into a machinegun, and
    any combinaition of parts from wliich a machinegun can be assembled
    if such parts are in the possession or under the control of a person.
       " (c) RIFLE.-The term 'rifle' means a weapon designed or rede-
    signed, made or remade, and intended to be fired from the shoulder and
    designed or redesigned and made or remade to use the energy of the
    c·xpfosive in a fixed cartridge to fire only a single projectile through
    a rifled bore for each single pull of the trigger, and shall include any
    such weapon which may be readily restored to fire a fixed cartridge.
       ''(d) SHorouN.-The term 'shotgun' means a weapon designed or
    tedesigned, made or remade, and intended to be fired from the shoulder
    nnd designed or redesigned and made or remade to use the energy of
    the explosive in a fixed shotgun shell to fire through a smooth bore
    either a number of projectiles (ball shot) or a single projectile for each
    pull of the trigger, and shall include any such weapon which may be
    ieadily restored to fire a fixed shotgun she11.
       "(e) ...\.Ny OTHER WEAPO~.-The term 'any other weapon' means any
    weapon or device capable of beiug concealed on the person from which
    u shot can be discharged through the energy of an explosive!. a pistol or
    revolver having a barrel with a smooth oore designed or redesigned to
    fire a fixed shotgun shell, weapons with combi11at10n shotgun and rifle
                                                   m
    barrels 12 incl1es or more, less than 18 inches length, from which 011ly
    a single discharge can be ma.de from either barrel without manual
     reloading, and sluill include a.ny such weapon which may be readily
     restored to fire. Such term shall not include a pistol or a revolver having
    a rifled bore, or rifled bores, or weapons designed, ma.de, or intended to
    be fired from the shoulder and not capable of firing fixed ammunition.
       "(f) DESTRUCTIVE DEvicE.-The term. 'destructive device' means (1)
    any explosive, incendiary, or poison gas (A) bomb, (B) grenade,
     (C) rocket hn.ving a propeUent charge of more than four ounces, (D)
    missile having an explosive or incendiary charge of more than one-
    quarter ounce, (E) mine, or (F) similar devrne; (2) any type of
     weapon by whatever name known which will, or which may be readily
     converted to, expel a projectile by the action of an explosive or other
     propellant, the barrel or barrels of which have a bore of more than
     one-l1a]f inch in diameter, except ~\ shotgun or shotgun shell which the
    Secretary or his delegate finds is generally recogruzed as particularly
     suitable for sport~ purposes; and (3) any combination of parts
     either designed or intended for use in convertin1 any device into 11
     destructive device as defined in subparagraphs (1 and (2) and from
    which a destructive device may be readily assemble . The term 'destruc-
     tive device' shall not include any device which is neither designed nor
     redesigned for use as a weapon; any device although originally
     designed for use as a weapon, which is redesigned for use R.s a signaling,
     pyrotechnic, line throwing, safety, or similar device; surplus ordnance
    sold, loaned, or given by tlle Secretary of the Army pursuant to the
                                                                                   70A Stat. 263.
     provisions of section 4:684:(2), 4:685, or 4686 of title 10 of the United
     States Code; or any other device which the Secretary of the Treasury
     or his delegate finds is not likely to be used as a weapon, or is an
     antique or is a rifle which the owner intends to use solely for sporting
    purposes.
       "(g) ANTIQUE FntEAR.r.t:.-The term 'antique firearm' means any
    firearm not designed or redesigned for using rim fire or conventional


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                   center fire ignition with fixed ammunition rrnd manufactured in or
                   before 1898 (including any ma.tchloclc flintlock, percussion C.'lp, or
                   similar type of ignition system or repllca thereof.,, whether actually
                   mnnu:factured before or after the year 1898) and also any firearm
                   using fixed ammunition manufactured in or before 1898, for which
                    anummition is no Jon~er manufactured in the United States and is
                   not readily available m the ordinary channels of commercial trade.
                       "(h) UNSERVtCE.\BLE FtKEAroc.-The term 'unserviceable fireann'
                   means a firearm which is incapable of discharging a shot by means of
                    nu explosive and incapable of being readily restored to a fuing condi-
                   tion.
                       "(i) MAKE.-The term 'make', and the various derivatives of such
                   ·word, shall include manufacturing (other than by one qualified to
                   engage in such business under this chapter), putting together, alter-
                   .in~, any combination of these, or otherwise producing a firearm.
                       · (j) ThANSFER.-The term 'transfer' and tl1e various derivatives of
                   such word, shall include selling, assigning, pledging, leasing, loaning,
                   giving away, or otherwise disposinu of.
                       "(k) DEALER.-The term 'deale:i means any person, not a manu-
                    facturer or importer, engaged in the business of selling, renting, leas-
                    ing, or loaning firearms and shall include PM"nbrokers who accept
                    firearms as collateral for loans.
                       "(l) hcPOR'tER.-The term 'importer' means any person who is
                    engaged in the business of importing or bringing firearms into the
                   United States.
                       "(m) MANUFACTUREn.-The term 'manufacturer' means any person
                    who is engnged in the business of manufacturing firearms.
                   "SEC. 5846. OTHER LAWS APPLICABLE.
                     ".All provisions of law i·elating to special taxes imposed by chapter
  72 Stat. 1313.   51 and to engraving, 1ssuance, sale, accountability, cancellation, and
  26 use soo1.
5692.              distribution of staml?s for tax payment shall, insofar as uot incon-
  Post. p. 1235.   sistent with the provisions of this chapter, be applicable with respect
                   to the taxes imposed by sections 5801, 5811, and 5821.
                   "SEC. 5847. EFFECT ON OTHER LAWS.
                     "Nothing h1 this chapter shall be constn1ed M modifying or affect-
                   ing the requirements of section 414 of the Mutual Security Act of 1954,
  68 Stat. 848.    as amended, with respect to the manufacture, exportation, and importa-
  22 use 1934.
                   tion of arms, ammunition, and implements of war.
                   "SEC. 5848. RESTRICTIVE USE OF INFORMATION.
                     "(a) GENERAL RULE.-No informntion or evidence obtained from
                   m1 application, registration, or records required to be submitted or
                   retained by a. natural J,?erson in order to comply with any provision
                   of this chapter or reguJatious issued thereunder, shnll, except M pro-
                   vided in subsection (b) of this section, oo used, directly or indirectly, as
                   evidr,nce ngainst that person in a criminal proceeding with respect to
                   a violation of law occurring prior to OI" concurrently with the filing
                   of the application or registration, or the compiling of the records con-
                   taining the information or evidence.
                      "(b) FURNISHING FALSE INFORMATION.-Subsection (a) of this sec-
                   tion shall not preclude the use of any such information or evidence
                   in a prosecution or other action under any applicable provision of
                   law with respect to the furnishing of false information.
                   "SEC. 5849. CITATION OF CHAPTER.
                     "This chapter may be cited as the 'National Firearms A.ct' and any
                   reference in any other provision of law to the 'National Firearms Act'
                   shaU be held to refer to the provisions of this chapter.


                                                                               Exhibit A, Pg. 308
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                          "PART II-EXEMPTIONS
                  "Sec. 5851. Elpeclal {occupational) tnx exemption.
                  "Sec. 5852. General transfer and maJd.ng exemption.
                  "Sec. 58.53. Exem11tion trom transfer and makiug tnx availllble to
                                 certn in governmental entitles and officiala.
                  •·sec. U8(;4. Exportation of firearms exempt from transfer ta.x.
    "SEC. 5851. SPECIAL (OCCUPATIONAL) TAX EXEMPTION.
       "(a) BusmE.Ss \.VrrR UN1n:n ST.\TF.s.-Any person required to ptiy
    special (occupational) htx under section 5801 shall be relieved from
    payment of that tax if he establishes to the satisfaction of the Secre-
    tary or his delegate that his business is conducted exclushrely with, or
    cm beha.lf of, the U llited States or any depu.rtment, independent estah-
    lishment, or flgency thereof. The Secretary or his dele~ate may relieve
    any person roluiufnctfil·ing .firearms for1 or on behnlr of, the United
    St1\tes from complinnce with any provis1ou of this chapter iu the con-
    duct of such busmess.
      "(b) AJ>nrcATION.-The exemption provided for in subsection (a)
    of this section mu.y be obtained by filing with the Secretary or his dele-
    gate an application on such form and containing such information as
                                                                                       Renew el.
    may by regulations be prescribed. The exemptions must thereafter be
    renewed on or before .July 1 of ench year. Approval of the application
    by the Secretary or his de)ego..teshaUentitle the applicant to the exemp-
    tions stated on the appro\•ed application.
    "SEC. 5852. GENERAL TRANSFER AND MAKING TAX EXEMPTION.
       "(a) 1.'RANSFER.-Any firearm may be transferred to the United
    States or any departmentl independent establishment, or agency
    thereof, wit11out payment or the transfer tax imposed by section 5811.
       "(b) M.\KJNG nY ·' PERSON O·rRER TuAN A QuALn'reo MANU-
    1''AC'rURER.-Any fimarm mn.y be made by, or on behalf of, the United
    States, or tu1y deportment, independent establishment, or agency
    thereof, without pa.yment of the mtllcing tax imposed by section 5821.
        "(c) M.\KINO BY .\ QuALIFTh"D MANCTACTURER.- A manufacturer
    qualified under this clrnpter to engage in such business may make the
    type of firearm which he is qualified to manufacture ,vithout.. payment
    of the makil1g tax imposed by section 5821.
        "(d) TRANS}'E&'i BE1'WF.EN SPECIAL (OCCUPATIONAL) TAX.PAYE.RS.-
    .\. .firearm registered to a person qualified tmder this chapter to engage
    in business as an import~r, runnufacturer, or dealer ma.y be transferred
    by that person without payment of the trausfer tax imposed by sec-
    tion 5811 to any other person qualified under this chapter to manu-
    facture, impo11:, or dea.l in that type of .firearm.
        "(e) UxSERVICK\BLE FIREARM.-An unserviceable firearm mny be
    transferred ·as a curio or ornament without payment of the transfer
    tax imposed by section 5811, under such requirements as the Secretary
    or his delegate may by regulations prescribe.
       " ( f) RtoRT TO EXEMF.l'ION.-No firearm may be transferred or made
    exempt from tax under the provisions of this section unless the trans-
    fer or making is performed pursuant to an application in such form
    nnd manner as the Secretory or his delegate may by regulations.
    prescribe.
    "SEC. 5853. TRANSFER AND MAKING TAX EXEMPTION AV.AIL.ABLE TO
                  CERTAIN GOVERNMENTAL ENTITIES.
       "(a) 'TRANSFER.-A firearm may be transferred without the pay-
    ment of the transfer ta.x imposed by section 5811 to any State, posses-
    sion of t.he United States, any political subdjvision thereof, or any
    o~~h!af?lice ~rga~zation of such a government entity engaged in
    er        mvest1gations.
       "(b) :M:Axrno.-A fuearm mny be mnde without payment of the
    making tax imposed by section 5821 by, or on behalf of, any State, or
                                                                             Exhibit A, Pg. 309
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                   posses.sion of t11e United States, any political subdivision thereof, or
                   any official police organization of such a government entity engaged
                   in criminn1 investigations.
                     " ( c) RIGHT TO EXEMPTioN.-No firearm may be transferred or made
                   exempt from tax under this section unless the transfer or making is
                   performed pursuant to an application in such form and manner as the
                   Secretary or his delegate ma.y by regulations prescribe.
                   "SEC. 5854. EXPORTATION OF FffiEARMS EXEMPT FROM TRANSFER
                                TAX.
                     "A. firenrm may be exported without payment of the transfer tax
                   imposed under section 5811 provided tha.t proof of the exportation is
                   furnished in such form and mnnner as the Secretary or his delegate
                   ma.y by regulations prescribe.

                                  "Subchapter C-Prohibited Acts
                   "SEC. 5861. PROHJBITED ACTS.
                     "It shall be unlawful for any person-
                          " (a} to engage in business as a manufacturer or importer of,
                       or dealer in, firearms without having paid the SJ>ecial ( occupa-
                       tional) tax required by section 5801 for his busmess or havmg
                       re?iistered as required by section 5802; or
                           '(b) to receive or possess a firearm transferred to him in viola-
                       tion of the provisions of tJ1is chapter; or
                          " ( c} to recei''e or possess a firearm made in violation of the
                       provisions of this chapter; or
                          " ( d) to receive or possess a. firearm which is not registered to
 Ante, p , 1229.
                       hlm in the National Firearms Registration and Transfer Record;
                       or
                          " ( e) to transfer a firearm in violation of the provisions of this
                       chapter; or                     ·
                          ci (f) to make a firearm in violation of the provisions of iliis
                       chai;>ter; or
                         "(g) to obliterate, ~ove, change, or ruter the serial number or
                       other identification of a firearm required by this cha.pter; or
                          "(h) to receive or possess a firearm ha.vin.g the serial number or
                       other identification required by this chapter obliterated, removed,
                       chainged, or altered; or
                         "(i) to receive or J.><>$0SS a firearm which is not identified by a
                       serial number as requued by this cha:pter; or
                          "(j) to transport, deliver, or receive any firearm in interstate
                       commerce which has not been registered as required by this chap-
                       ter; or
                          "(k) to receive or possess a firearm which has been imported or
                       bro~ht into the Uruted States in violation of section 5844; or
                          "(l) to make, or cause the making of, a false entry on any
                       application, retu·rn, or record required by this chapter, knowing
                       such entry to be false.

                           "Subchapter D-Penalties and Forfeitures
                                "Sec. :>$71. Penaltle~.
                                "See. :$872. Forfeiturei:.
                   "SEC. 5871. PENALTIES.
                      "Any person who vio1:ltes or fails to comply with any provision of
                   this chapter shnll, upon conviction, be fined not more than $10,000,
                   or be imprisoned not more than ten years, or both, and shall become
                   eligible for parole as the Board of Parole shall determine.
                                                                              Exhibit A, Pg. 310
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    "SEC. 5872. FORFEITURES.
       "(a) T.1AWS APPLICABLE.-Any firearm iurnlved in any violation of
    the pro,·isions of tJ1js chapter shall be subject to seizure and forfeiture,
    and (except as provided rn subsection (b)) all the provisions of inter-
    nal revenue Jaws relating to searches, seizures, and forfeitures of
    unstam1>ed articles iwe extended to and made to apply to the articles
    hixed under this chapter, iUld the persons to whom this cha.pter applies.
       "(b) DisPOSAL.-ln the cilse of the forfeiture of any firearm by
    reasou of a violation of this chapter, no notice of public sale shall be
    required; no such firearm shall be sold iit public sale; if such firearm is
    forfeited for a viohition of this chapter and there is no remission or
    miti~ation of forfeiture thereof, it shall be deJivered by the Secretary
    or his delegllte to the .Administrator of Genel'tll Services, General
    Services Administration, who may order such firearm destroyed or
    may sell it to any State, or possession, or political subdivision thereof,
    or at the request of the Secretiiry or his delegate, may autl1orize its
    retention for official use of the Treasury Department, or may transfer
    it without charg-e to nny executive department or independent estab-
    lishment of the Government for use by .rt."
       SEO. 202. The amendments made by section 201 of this title shall be cttauon or
    cited as the "National Firearms Act. Amendments of 1968".                    amendment • ·
       SEc. 203. (a) Section 6107 of the Internal Revenue Code of 1954 is Repeat.  68A Stat. 756.
    repealed.                                                                      26 use 6107.
       (b) Tl1e table of section!;; for subchapter B of chapter 61 of the
    Internnl Revenue Code of 1054 is amended by striking out:
                  "See. 6107. List of special taiqmyers !or pul>llc inspection."

      SEC. 204. Section 6806 of the Internal Revenue Code of 1954 is
    amended to read as follows:
    "SEC. 6806. OCCUPATIONAL TAX STAMPS.
       "Every person engaged in ai1y business, avocation, or employment,
    who is thereby made liable to a .special tnx (other than a special tax
    or under subtitle E) shaJJ place and keep conspicuously in his estab- soo1~ss62."
                                                                                       i:
    under subcl111.pter B of chapter 351 under subchapter B of chapter 36, 44 ~~~ 14414 i6 3
                                                                                             •
    1ishm1>nt. or place of business all stamps denoting payment of such
    special tax."
       SEc. 205. Section '7273 of the Internal Revenue Code of 1954 is
    amended to read as follow.s :
    "SEC. 7273. PENALTIES FOR OFFENSES RELATING TO SPECIAL TAXES.
       "Any person who shall fail to :(>lace and keep stamps denoting the
    payment of the special tax as provided in se~tion 6806 shall be liable to
    a. penalty (not less than $10) equal to the sv.ecial tax for which his busi-
    ness rendered him liable, unless such failure i.s shown to be due to
    reasonable cause. If such failure to comply with section 6806 is through
    wilJfnl neglect or refusal, then the penalty shall be double the amount
    above prescribed."
       SEC. 206. (a) Section 5692 of the Internal Revenue Code of 1954 is              Repeal.
                                                                                       72 Stat. 1413.
    repealed.
        (b) The table of sections for part V of subchapter J of chapter 51
    of tl1e Internal Revenue Code of 1954 is amended by striking out:
                  "Sec. IS692. Penalties relatlng to posting ot special tax stamps."
                                                                                       Effective date1t.
        S:ric. 207. (a) Seetfon 201 of this title shall take effect on the first
    day <>f the first month following the month in which it is enacted.
        (b) Notwithstnnding the provisions of subsection (a) or any other
    prov1sion of law, any person possessing a firearm as deflned in section
    5845(a) of the Internal Revenue Code of 1954 (as amended by this
                                                                                       Ante, p. 1230.
    tit.le) which is not registered to him in the National Firearms Registra-
                                                                               Exhibit A, Pg. 311
  Case 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 313 of 675
1236                                    PUBLIC LAW 90-619-0CT. 22, 1968                   [82 STAT.

                        tion and Transfer Record shall 1~ister each .fireil.rm so possessed with
                        the Secretary of the Treasury or Ins delegate in such form and manner
                        ns the Secret~iry or his delegMe mtty i-equire within the thh~ days
                        immediately followin1Y the effective dn,te of section 201 of this Act.
                        Such registrations shn'fi become 1i part of ·the National Firearms Regis-
                        tration and Transfer Record required to be maintn.ined by section
    Ant,,, p. 1229.
                        5841 of the I.nternnJ Revenue Code of 1954 (as amended by this tit le) .
                        Xo infonnation or evidence required to be submitted or reta.ined by a
                        1rnttmtl person to register tt fire.um under this section shall be used,
                        directly or indirectly, as evidence against such person in any criminal
                        proceeding with respect to :i prior or concunent dolation of law.
    Effective d•te.
                           (c) The amendments made by sections 202 through 206 of this title
                        shall tnke effect on the dMe of enaotment.
   Publlcation in
 Federal Register.         ( d) The Secretiwy of the Treasury, nfter publication in the Federal
                        Register of his intention to do so, is tmthorized to establish such periods
                        of amnesty, not to excood ninety days in the case of any single period,
                        und immunity from liability during any such period, as the Secretnry
                        <lete1mines will contribute to the purposes of this title.

                        TITLE III-AMENDMENTS TO TITLE VII OF THE OMNI-
                          BUS CRIME CONTROL AND SAFE STREETS ACT Olf
                         1968
                          SEc. 301. (a) Title VII of the Omnibus Crime Control tUld Safe
    Ante, p. 236.
                        Stre~ts Act of 1968 (PublicL-aw 90-351) is amended-
                               (1) by striking out "other than honorably discharged" in sec-
                            tion 1201, and substituting therefor "discharged under dishon-
                            orable conditions" ; and
                               (2) by striking out "other than honorable conditions" in sub-
                            sections (a.) (2) and ~b) (2) of section 1202and substituting there-
                            for in ench instance' dishonorable conditions~'.
                          (b) Section 1202(c) (2) of such title is amended to read as follows:
    •'Felon-y. ''
                               "{2) 'felony' means any offense punishable by imprisonment
                            for a. term exCeeding one year, but does not include a.n.Y. offense
                            (other than one involving a fire11inn or explosive) classified as a
                            misdemeanor under tl1e laws of a State and punishable by a term
                            of imprisonment of two years or less;".
    Effeetive date.
                          SEc. 302. The a:me~dments made by paragraphs. ( 1) and (2) of
                        subsection (a) of section 301 shall take effect as of June 19, 1968.
                          Approved October 22, 1968.


                        Public Law 90-619
 October 22. 1968                                          .AN .ACT
  _ .R
_£H  _ ._ 1_4_o9_s_J_   To amend the Internal Revenue Code of 1954 so as to make certain changes to
                                   facilitate the production of wine, and for other purposes.

                          B e it enacted. by tM Senate and House of Representatives of tlte
  T...,es.              United States of America in Cong1·ess assembled, That the first sen-
  Wine splrlts.
  72 Stat. 1382.        tence of section 5373(a) of the Internal Revenue Code of 1954 (re-
  26 USC 5373.          lating to wine spirits) is amended to read as follows: "The wine
                        spirits authorized to be used in wine production shall be brandy or
                        wine spirits produced in a distilled spirits plant (with or without the
                        use of water to facilitate extraction and distillation) exclusively from-
                               " (1) fresh or dried fruit, or their residues,
                               "(2) the wine or wine residues therefrom, or
                               " ( 3) special natural wine under e:uch conditions as the Secretary
                             or his delegate may by re~ations })rescribe;
                        except that where, in the proouction of natural winn or Exhibit       A, Pg. 312
                                                                                    special natural
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                         Exhibit 20

                   (26 C.F.R. § 179.120)




                                                                Exhibit A, Pg. 313
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                                                  CODE

                                  OF FEDERAL                                                                           ,h



                                  REGULATIONS




                                                       TITLE 26
                                                 Parts 170 to 299
                                 Revised as of January l, l 969




            CONTA!NING A CODIFICATION OF DOCUMENTS OF GENERAL APPLICABILITY AND

                                    FUTURE EFFECT AS OF JANUARY 1 , 1969

                                                  With Ancillaries



        P~bl is hecl   by the Offi ce of the Feclerol     Regis!er, Nctionol Ard1 iv es a nd   Records Service
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                         Pursuant to   Sec~ion   11   of the Fed eral Regi s ter >,,t as Amended




                                                                                                                 Exhibit A, Pg. 314
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   (
   1
                                     As of January 1, 1969
                                  Title 26, Parts 170 to 299
                              Revised as of January 1, 1968
                                    Replaced by This Volume




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                                                                                                    Exhibit A, Pg. 315
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                                      Title 26--Chapter I                                   § 179.122

    179.100 shall be followed in a tax-exempt · Ce) A firearm not identified as required
    transfer of a firearm under this section. by this part shall not be registered.
    [T.P. 6979, 33 F.R. 15907, Oct. 29, 1968J       [T.D. 6979, 33 F.R. 15907, Oct. 29, 1968)

    Subpart F-Registration and Identifi-            § 179.121        Identification of firearms.
             cation of Firearms                       Each manufacturer, importer, or mak-
    § 179.120 Registration of firearms.             er of a firearm, other than a destructive
                                                    device, shall identify it by stamping <im-
         (a) The Director shall maintain a cen-
    tral registry of all firearms in the United
                                                    pressing) . or otherwise conspicuously
                                                                                                             n
                                                                                                             r!
                                                    placing or causing to be stamped <im-
    states which are not in the possession of       pressed) or placed on the frame or re-
    or under the control of the United States.      ceiver thereof, in a manner not suscepti-                I•
    This registry shall be known as the Na-         ble of being readily obliterated or al-
    tional Firearms Registration and Trans-         tered, the name and location of the man-
    fer Record and shall include:                   ufacturer and importer, if any, and the
         (1) Identification of the firearm as       serial number, caliber or gauge, and
    required by this part;                          model of the firearm. None of the data
         (2) Date of registration; and              indicated may be omitted except with the
         (3) Identification and address of per-     approval of the Director. A destructive
    son entitled to possession of the firearm       device shall be identified in the manner
     as required by this part.                      prescribed by this section, except that if
         (b) Each manufacturer, importer, and       such identification is not practical it may
    maker shall register each firearm he            be identified in any manner acceptable
     manufactures, imports, or makes in the         to the Assistant Regional Commissioner.
    manner prescribed by this part. Each                [T.D. 6979, 33 F.R. 15907, Oct. 29, 1968)
    'f irearm transferred shall be registered
     to the transferee by the transferor in the         § 179.122 Registration of firearms man-
     manner prescribed by this part. Any per-                ufactured.
     son possessing a firearm which is not reg-        Each manufacturer qualified under
     j.stered to him in the National Firearms        this part shall execute and file with
     Jtegistration and Transfer Record shall         the Director an accurate return on Form
     register such firearm during the period         2 <Firearms) setting forth the name,
     November 2, 1968, through December 1,           address, class of business <i.e. Class 2
     l968, in the manner prescribed in Sub-
     part O of this part. No firearm may be          Manufacturer or Class 5 Manufacturer>,
     .registered by a person unlawfully in pos-      and special <occupational) tax stamp
     session of the firearm after December 1,        number of the manufacturer, the date
      l968, except that the Director, after pub-     of manufacture, and the type, model,
     lication in the FEDERAL REGISTER of his         length of barrel, caliber, gauge, or size,
     Jntention to do SO, may establish periods       the serial numbers of the firearms he
     Qf amnesty, not to exceed ninety (90>           manufactures, and the place where the
     days in the case of any single period with      manufactured firearms will be kept.
     such immunity from liability as the Di-         All firearms manufactured by him dur-
     rector determines will contribute to the        ing a single day shall be included on one
      purposes of this part.
      · Cc) A person shown as possessing fire-       return, Form 2 <Firearms) , filed by the
     arms by the records maintained by the           manufacturer no later than the close of
     '.Director pursuant to the National Fire-       the next business day. The manufacturer
      arms Act (Chapter 53, I.R.C.) in force on      shall prepare the return, Form 2 <Fire-
      October 31, 1968, shall be considered to       arms), in duplicate, file the original
     have registered the firearms in his pos-        return as prescribed herein and keep
      session which are disclosed by that record     the copy with the records required by
      as being in his possession on October 31,      Subpart H of this part at the premises
      1968.                               .          covered by his special tax stamp. Receipt
          (d) A person possessing a firearm reg-     of the return, Form 2 (Firearms}, ·by
      istered as required by this section shall      the Director shall effectuate the registra-
      retain proof of registration which shall      .tion to the manufacturer of the firearms
     be made available to the Director upon          listed on that form. The requirements of
      request.                                       this part relating to the transfer of a


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                                                                                                        Exhibit A, Pg. 316
                                                                       ·~
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                                                                                                                  ..
                                                                                                                   i·
                                                                                                                   '
            § 179.171                         Title 26-Chapter I

            address of the purchaser, and shall be              Subpart M-Penalties and Forfeitures
            signed in ink by the purchaser.
                                                                § 179.190    Penalties.
            § 179.171    Stamps authorized.                       Any person who violates or fails to
              Adhesive stamps of the $5 and $200 de-            comply with the requirements of Chap-
+·;         nomination, bearing the words "National             ter 53, Internal Revenue Code of 1954,
            Firearms Act," have been prepared and               and the provisions of this part, shall upon
            distributed to District Directors, and              conviction, be subject to the penalties
            only such stamps shall be used for the              imposed under section 5871, Internal
            payment of the transfer tax and for the             Revenue Code of 1954.
            tax on the making o! a firearm.                     [T.D. 6979, 33 F.R. 15908, Oct. 29, 1968]
            [20 F.R. 6739, Sept. 14, 1955, as amended by
            T.D. 6557, 26 F.R. 2410, Mar. 22, 1961]             § 179.191    Forfeitures.
                                                                   Any firearms involved in any violation
            § 179.172    Reuse of stamps prohibited.            of the provisions of Chapter 53, Internal
              A stamp once affixed to one instrument            Revenue Code of 1954, or of the regula-
            cannot lawfully be removed and affixed              tions in this part, shall be subject to sei-
            to another. Any person wilfully reusing             zure or forfeiture under the internal rev-
            such a stamp shall be subject to the                enue laws: Provided, however, That the
            penalty prescribed by section 7208 o! the           disposition of forfeited firearms shall be
            Internal Revenue Code of 1954.                      in conformance with the requirements of
            Subpart L-Redemption ·o f or Allow-                 section 5872 of the Internal Revenue
                 ance for Stamps or Refunds                     Code of 1954. In addition, any vessel, ve-
                                                                hicle or aircraft used to transport, carry,
            § 179.180 Redemption of or allowance                convey, or conceal or possess any fire-
'                for stamps.
!              Where a "National Firearms Act"
                                                                arm with respect to which there has been
                                                                committed any violation of any provi-


I
            stamp is destroyed, mutilated or rendered           sion of Chapter 53, Internal Revenue
            useless after purchase, and before liabil-          Code of 1954, or the regulations in this
            ity has been incurred, such stamp may
            be redeemed by giving another stamp in              part issued pursuant thereto, shall be
I
            lieu thereof or by refunding the amount             subjected to seizure and forfeiture under
!                                                               the Customs laws, as provided by the act
            or value thereof. Claim for redemption of
i•          the stamp should be filed on Form 843               of August 9, 1939 (U.S.C. Title 49, secs.
            with the appropriate District Director of           781-:788).
            Internal Revenue. Such claim must be                [T.D. 6979, 33 F.R. 15908, Oct. 29, 1968]
            accompanied by the stamp or by a satis-
            factory explanation of the reason why                 Subpart N-Other Laws Applicable
            the stamp cannot be returned and must               § 179.195 Applicability of other provi·
            be filed within 3 years after the purchase              sions of internal revenue laws.
            of the stamp (sec. 6805, I.R.C., 1954).
            [T.D. 6979, 33 F.R. 15908, Oct. 29, 1968]
                                                                   All of the provisions of the internal
                                                                revenue laws not inconsistent with the
            § 179.181    Refunda.                               provisions of Chapter 53 of the Internal
               As indicated in this part, the transfer          Revenue Code of 1954 shall be applicable
            tax or tax on the making of a firearm is            with respect to the taxes imposed by sec-
            ordinarily paid by the purchase and af-             tions 5801, 5811 and 5821 of said Code
            fixing of stamps, whlle special <occupa-            (see section 5846, I.R.C., 1954).
            tional) tax stamps are issued in payment               S.ubpart 0-Special Registration
            of special taxes. However, in exceptional
                                                                  SouRcE: The provisions o! this Subpart 0
            cases, such taxes may be paid pursuant              contained In T.D. 6979, 33 F.R. 15909, Oct. 29,
            to assessment. Claims for refund of                 1968, unless otherwise noted.
            amounts so paid must be presented to
                                                                § 179.200     Registration requirement.
            the District Director on Form 843 within
            three years next after payment of the                  Any person possessing a firearm which
            taxes <sec. 6511, I .R.C. 1954).                    is not registered to him in the National
            (20 F.R. 6739, Sept. 14, 1955, as amended by        Firearms Registration and Transfer Rec-
            T.D. 6557, 26 F.R. 2410, Mar. 22, 1961}             ord maintained by the Director shall reg-


                                                           98




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                                Title 26-Chapter I                                           § 179.202

  tster with the Director during the pei-lod        with respect to a prior or concurrent vio-
  of November 2, 1968, through Decem-               lation of law: Provided, however, That
  ber 1, 1968 each firearm so possessed.            the provisions of this section shall not
  such registration of a firearm shall be-          preclude the use of any such information
  come a part of the National Firearms              or evidence in a prosecution or other
  Registration and Transfer Record main-            action under any applicable provision of
  tained by the Director.                           law with respect to the furnishing of
                                                    false information.
  § 179.201   Registration procedure.
     A person possessing a firearm not reg-            PART 186-GAUGING MANUAL
  istered to him by the Director shall file
 a registration return, Form 4467, in dup-                   Subpart A-Scope of Regulations
 licate, with the Director within the period        Sec.
 of November 2, 1968, through Decem-                186.1    Gauging o! distilled spirits.
 ber l, 1968. The use of information re-
                                                                 Subpart B--Definitions
 quired to register a firearm under this
 section shall be restricted as provided            186.11   Meaning o! terms.
 in section 5848, Internal Revenue Code                      Subpart C-Gauging Instruments
 of 1954, The return, Form 4467, shall
 show the name, address, place of busi-             186.21 General requirements.
 ness or employment, employer identifi-             186.22 Hydrometers and thermometers.
                                                    186.23 Use o! precision hydrometers and
 cation number or social security number,                    thermometers.
 and date of birth of the registrant, the           186.24 Use of U.S. standard hydrometers and
 date the firearm was acquired, the place                    thermometers.
 where the firearm usually is kept, the             186.25 Gauging instruments o! unusual or
 name, and address of the manufac-                           costly design.
 turer, the type, model, length of bar-
                                                             Subpart D-Gauging Procedures
 rel, overall length <when applicable>, cal-
 iber or gauge, serial number, and other            186.31   Determination o! proo!.
 identifying marks of the firearms, and if          186.32   Determination ot proo! obscuration.
 an unserviceable firearm, the manner in                      DETEIDllINATION OJ' QUANTITY
 which it was rendered unserviceable.               186.36 General requirements.
 Upon registering the firearm, the Direc-
                                                       DETERKINATION OF QUANTITY l!Y WEIGHT
 tor shall retain the original Form 4467 as
 part of the National Firearms Registra-            186.41   Bulk spirits.
 tion and Transfer Record, and shall re-            186.42   Denatured spirits.
                                                    186.43   Packaged spirits.
 turn the Form 4467 copy to the registrant          186.44   Entry or filling gauge for packages.
 with notation that registration of the             186.45   Withdrawal gauge tor packages.
 firearm described on the Form 4467 has               DETERMINATION or QUANTITY l!Y VOLUME
 been made. In the event the firearm does
 not bear a serial number, the registrant           186.51   Procedure tor measurement.
 shall obtain a serial number for the fire-                   Subpart E-Prescribed Tables
 arm from the Assistant Regional Com-               186.61 Table 1, showing the true percent
 missioner and shall stamp <impress> or                      of proof spirit tor any indication ot
 otherwise conspicuously place such serial                   the hydrometer at temperatures
                                                             between zero and 100 degrees
 number on the firearm in a manner not                       Fahrenheit.
 susceptible of being readily obliterated,          186.62 Table 2, showing wine gallons and
 altered, or removed.                                        proo! gallons by weight.
                                                    186.68 Table 3, !or determining the number
  § 179.202 Restrictive use of required                      of proof gallons !rom the weight
       information.                                          and proof ot spirituous liquor.
                                                    186.64 Table 4, showing the :fractional part
   No information or evidence required to                    o! a gallon per pound at each per-
 be submitted or retained by a natural                       cent and each tenth percent ot
 person to register a firearm under the                      proo! of spirituous liquor.
 provisions of this subpart shall be used,          186.65 Table 5, showing the weight per wine
                                                             gallon (at 60 degrees Fahrenheit)
 directly or indirectly, as evidence against                 and proof gallon at each percent of
 such person in any criminal proceeding                      proof o! spirituous liquor.



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                                                                                                         Exhibit A, Pg. 318
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                         Exhibit 21

 ( Violating Due Process: Convictions Based on the
National Firearms Registration and Transfer Record
            When its ‘Files are Missing’ )




                                                                Exhibit A, Pg. 319
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Violating Due Process: Convictions Based on the National Firearms Registration
               and Transfer Record when its "Files are Missing"



                                      By
                                 Joshua Prince

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                                                                           Exhibit A, Pg. 320
          Electronic copy available at: http://ssrn.com/abstract=2752028
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                                       I. INTRODUCTION



        Our Supreme Court declared, “A fair trial in a fair tribunal is a basic requirement

of due process….[O]ur system of law has always endeavored to prevent even the

probability of unfairness.”1 With this in mind, we turn to the current violation of due

process: convictions based on the National Firearms Registration and Transfer Record

when its “files are missing.”

        This Article analyzes the issues surrounding the National Firearms Act [NFA], in

particular the National Firearms Registration and Transfer Record [NFRTR], and how

law-abiding citizens are being deprived of their Due Process rights, because of the

inaccuracy of the NFRTR, while the courts believe the NFRTR to be trustworthy. In

point of fact, in June 2007, the Bureau of Alcohol, Tobacco, Firearms, and Explosives

[BATFE] had lost all record of a registered firearm, which it had approved in April

2007.2 The NFRTR, established by the NFA and administered by the BATFE, has been

in disarray since the late 1970’s.3 In 1996, amid numerous complaints of unjust criminal

prosecutions by the BATFE, a citizen supplied reliable evidence, that raised doubts about

the accuracy and completeness of the NFRTR, to the House Subcommittee on Treasury,



1
          Gutierrez De Martinez v. Lamagno, 515 U.S. 417, 428 (1995) (citing In re Murchison, 349 U.S.
133, 136 (1955); In re Murchison, 349 U.S. 133, 136 (1955)).
2
          Letter to Mr. Kenneth E. Houchens, Chief National Firearms Act Branch, NFA Letter Control
Number [redacted], Title II Firearms Serial Number [redacted ], by Saeid Shafizadeh, (July 11, 2007),
available at http://www.nfaoa.org/documents/ParsLetter2007.pdf.
3
          U.S. Dep’t of Justice, Criminal Div., Memorandum: Response to letter from Senator McClure, by
Philip B. Heymann and Lawrence Lippe, at 2-3 (Nov. 29, 1979), available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf. The Bureau of Alcohol, Tobacco and
Firearms was renamed the Bureau of Alcohol, Tobacco, Firearms and Explosives under legislation which
transferred it from the Department of the Treasury to the Department of Justice on January 24, 2003. 6
U.S.C. § 531; 116 Stat. 2135 (2003).



                                                   2
                                                                                                 Exhibit A, Pg. 321
                Electronic copy available at: http://ssrn.com/abstract=2752028
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Postal Service, and General Government, Committee on Appropriations, and then again

in 1997, after inaction by Committee, he complained to the House Committee on

Government Reform and Oversight, which ordered the Treasury Department Inspector

General to audit the NFRTR; resulting in two reports being rendered in 1998.4

        While the BATFE continues to prosecute and convict individuals based on its

contention that their firearm registration records cannot be found within the NFRTR, the

BATFE also declared that errors in the NFRTR could result in the improper arrest,

prosecution, and conviction of an innocent person, who had simply lost his paperwork,

and for whom the agency had no records.5 Thus, it is imperative that our Judicial System

take action, and find, as a matter of law, that the NFRTR, in its current state, is not

sufficient in criminal and civil proceedings. Moreover, the United States Government

must take immediate action, in the form of an amnesty, to ensure that law-abiding

citizens are not convicted of Possession of Unregistered Firearms because the BATFE

lost his/her paperwork, although the individual properly registered the firearm, but

through no fault of his/her own, the paperwork was lost or destroyed.


4
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1997, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 104th Cong., 2nd Sess, at 37-274 (Washington, GPO, 1996), available at
http://www.nfaoa.org/documents/1996testimony.pdf; U.S. Department of the Treasury, Office of Inspector
General, Special Report on Allegations Concerning the Bureau of Alcohol, Tobacco, and Firearm’s
Registration and Recordkeeping of the National Firearms Registration and transfer Records, OIG-99-009,
at 1 (Washington, Oct. 26, 1998), available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-
1998.pdf. The second report addressed other weaknesses in the NFRTR; see U.S. Department of the
Treasury, Office of Inspector General, Audit Report on Allegations Concerning the Bureau of Alcohol,
Tobacco, and Firearms’ Administration of the National Firearms Registration and Transfer Record, OIG-
99-018, (Washington, Dec. 18, 1998) available at http://www.nfaoa.org/documents/TreasuryOIG-99-018-
1998.pdf.
5
          NFA Branch Chief memorandum to ATF Assistant Director for Technical and Scientific
Services, Purification and Verification of the National Firearms Registration and Transfer Record, Apr. 3,
1975, reproduced in Oversight Hearings on Bureau of Alcohol, Tobacco, and Firearms, Senate Committee
on Appropriations, 96th Cong., 1st Sess., at 42 (Washington, GPO, 1979), available at
http://www.nfaoa.org/documents/1979_Hearing_Excerpts.pdf.



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       A brief introduction is set forth in Section I. Section II is a background of the

firearm laws at issue, broken into the following subsections: A. the 1934 NFA; B.

BATFE; C. Gun Control Act [GCA] of 1968; D. 1968 Amnesty; E. the 1986 Firearms

Owners’ Protection Act [FOPA]; and F. NFA Registration Process and Penalties.

       Section III explains the NFRTR. The emergence of the inaccuracy of the NFRTR

is discussed in Section IV., proceeded by Section V. depicting the numerous

Congressional Hearings and cases related thereto, which is broken down into the

following subsections: A. 1934-1980; B. 1980-1995; C. 1995-1998; D. 1998; E. 1999-

2002; and F. 2003-2008. The absence of paperwork is not a defense is discussed in

Section VI. and is broken down into subsections: A. Error Letters; B. the BATFE’s

Improper Denial of Exculpatory Evidence; C. the Accuracy and Completeness of the

NFRTR; and D. Firearm Law Experts on the absence of paperwork as a defense and the

status of the NFRTR generally. The intersection of Procedural Due Process violations is

discussed in Section VII. and the Federal Rules of Evidence and the NFRTR follows in

Section VIII. The issue of the Confrontation Clause and the admission of the NFRTR as

evidence is discussed in Section IX. The solution, a new amnesty, is discussed, in depth,

in Section X and broken into the subsections of A. Judicial; B. Legislative; C. BATFE

Rationale for Refusing an Amnesty, and Rebuttals Thereof; and D. Amnesty. Lastly,

Section XI concludes this article.



                                      II. Background



       The background of the NFA, BATFE, GCA, 1968 Amnesty, and FOPA is a




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complex and interesting situation involving an Administrative Agency, and its power to

prosecute violations of the statutes, outlined above, even when that agency acknowledges

that innocent individuals may be convicted.6


                          A. The National Firearms Act [NFA] of 1934



        In 1933, after the attempted assassination of President-elect Franklin D. Roosevelt

and growing fears of organized crime’s increased prominence, the Congress sought

federal regulations on firearms.7 Introduced as H.R. 9066, the bill, which became the

NFA, originally sought to require registration of any “firearm, a term defined to mean a

pistol, revolver, shotgun having a barrel less than sixteen inches in length, or any other

firearm capable of being concealed on the person, a muffler or silencer therefore, or a

machine gun.”8 The term “machine gun” was defined as any weapon capable of firing

twelve or more shots without manual reloading.9

        The Justice Department, aware of the growing concern over H.R. 9066, submitted

a substitute bill, H.R. 9741.10 H.R. 9741 required existing firearm owners to register their

arms within sixty days, except for firearm acquired after the effective date of the Act;

6
          Id.
7
          See ROBERT J. SPITZER, THE POLITICS OF GUN CONTROL 104 (CQ Press 2d ed. 1998); JOSH
SUGARMANN, NATIONAL RIFLE ASSOCIATION: MONEY, FIREPOWER, AND FEAR 29 (National Press Books
1992). For an excellent comprehensive history and analysis of the relevant social and legal issues during
this period, including an extensive discussion of NFA issues, see Thomas Earl Mahl, A History of
Individual and Group Action in Promoting National Gun Control Legislation During the Interwar Period,
1919-1941, unpub. Master of Arts thesis, Kent State University, August 1972,.
8
          US Congress, House of Representatives, Committee on Ways and Means, National Firearms Act:
Hearings on H.R. 9066 before the House Comm. on Ways and Means, 73d Cong., 2d Sess., at 1
(Washington, GPO, 1934) (testimony of Attorney General Homer Cummings), available at
http://www.nfaoa.org/documents/NFA-1934house.pdf.
9
          Id.
10
          See U.S. Congress, House of Representatives, Committee on Ways and Means, National
Firearms Act: Hearings on H.R. 9066 before the House Comm. on Ways and Means, 73d Cong., 2d Sess.,
at 1 (Washington, GPO, 1934) (depicting the Department of Justice’s understanding that H.R. 9066 would
not be approved), available at http://www.nfaoa.org/documents/NFA-1934house.pdf.


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whereas, H.R. 9066 would have only applied to firearms sold after its enactment.11

Worried that the bill would be found unconstitutional, because it violated the Second

Amendment, the Congress redrafted it to conform to the regulatory scheme of the

Harrison Anti-Narcotic Act of 1914, which was based on the taxing power and held to be

Constitutional.12 The Congress declared, “[I]t is important to be able to identify arms to

see which possessors have paid taxes and which firearms have been taxed and which

have not.”13

         When H.R. 9741 was complete, the definition of “firearm” had drastically

changed. First, pistols and revolvers were omitted, thus limiting the Bill to machineguns,

sawed-off shotguns and rifles, silencers, and concealable firearms other than pistols and

revolvers.14 Second, the definition of “machinegun” was changed to cover firearms that

fired more than once for each single function of the trigger, regardless of munitions

capacity.15 Also, of particular interest, the transfer tax was fixed at two-hundred dollars,

which in 1934 was the retail price of a Thompson machinegun.16 The Congress, satisfied

with the enumerated changes, enacted the NFA.17

         Thus, the NFA placed a tax on the manufacture and transfer of all machineguns,

short-barreled rifles and shotguns, silencers, and other concealable firearms, excluding




11
          Id.; H.R. 9066 at 84. While H.R. 9741 eliminated a double registration requirement for those who
registered prior to the expiration of the sixty days, the exemption led to the registration requirement being
stricken as a violation of the firth amendment’s self incrimination clause some thirty-four years later. See
Haynes v. United States, 390 U.S. 85, 100.
12
          H.R. 9066.
13
          Id. at 87 (testimony of Ass’t Att’y Gen. Joseph Keenan).
14
          H.R. Rep. NO. 1780, at 1. “Your committee is of the opinion that limiting the bill to the taxing of
sawed-off guns and machineguns is sufficient at this time. It is not thought necessary to go as far as to
include pistols and revolvers and sporting arms.” Id.
15
          Id.
16
          H.R. 9066 at 12.
17
          26 U.S.C. §§ 5801-5872, 48 Stat, 1236.


                                                      6
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handguns, identified as “any other weapon.”18 For a more comprehensive understanding

of what is being controlled, one must consider the definitions:

         (a) Firearm. The term 'firearm' means (1) a shotgun having a barrel or
         barrels of less than 18 inches in length; (2) a weapon made from a shotgun
         if such weapon as modified has an overall length of less than 26 inches or
         a barrel or barrels of less than 18 inches in length; (3) a rifle having a
         barrel or barrels of less than 16 inches in length;19 (4) a weapon made
         from a rifle if such weapon as modified has an overall length of less than
         26 inches or a barrel or barrels of less than 16 inches in length20; (5) any
         other weapon, as defined in subsection (e); (6) a machinegun; (7) any
         silencer....and (8) a destructive device. The term 'firearm' shall not include
         an antique firearm or any device (other than a machinegun or destructive
         device) which, although designed as a weapon, the Secretary finds by
         reason of the date of its manufacture, value, design, and other
         characteristics is primarily a collector's item and is not likely to be used as
         a weapon.21
         (b) Machinegun. The term 'machinegun' means any weapon which shoots,
         is designed to shoot, or can be readily restored to shoot, automatically
         more than one shot, without manual reloading, by a single function of the
         trigger. The term shall also include the frame or receiver of any such
         weapon, any part designed and intended solely and exclusively, or
         combination of parts designed and intended, for use in converting a
         weapon into a machinegun, and any combination of parts from which a
         machinegun can be assembled if such parts are in the possession or under
         the control of a person.22
         c) Rifle. The term 'rifle' means a weapon designed or redesigned, made or
         remade, and intended to be fired from the shoulder and designed or
         redesigned and made or remade to use the energy of the explosive in a
         fixed cartridge to fire only a single projectile through a rifled bore for each



18
          § 5811
19
          It should be noted that under the original NFA of 1934, the barrel length was 18 inches. In 1936,
the NFA was amended by changing the 18” barrel standard to 16” for rifles of .22 caliber or less. 49 Stat.
1192. In 1960, the definition was amended to “a rifle having a barrel or barrels of less than 16 inches in
length,” which was no longer caliber specific. 74 Stat. 149. For the hearings related to this amendment, see
United States Senate, Committee on Finance, H.R. 4029, 86th Cong., 2d Sess., (Washington, GPO, 1960),
available at http://www.nfaoa.org/documents/NFAamend1960.pdf.
20
          This was part of the 1960 amendment, 74 Stat. 149, presumably to create an empirical standard
for “concealable,” a standard absent from the original NFA. For the hearings related to this amendment, see
United States Senate, Committee on Finance, H.R. 4029, 86th Cong., 2d Sess., (Washington, GPO, 1960),
available at http://www.nfaoa.org/documents/NFAamend1960.pdf.
21
          26 U.S.C. § 5845(a); It should be noted that Destructive Devices were added by the Gun Control
Act of 1968, as was the “collector’s item” provision to remove a firearm from the NFA. 82 Stat. 1235, §
921.
22
          § 5845(b)


                                                     7
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        single pull of the trigger, and shall include any such weapon which may be
        readily restored to fire a fixed cartridge.23
        (d) Shotgun. The term 'shotgun' means a weapon designed or redesigned,
        made or remade, and intended to be fired from the shoulder and designed
        or redesigned and made or remade to use the energy of the explosive in a
        fixed shotgun shell to fire through a smooth bore either a number of
        projectiles (ball shot) or a single projectile for each pull of the trigger, and
        shall include any such weapon which may be readily restored to fire a
        fixed shotgun shell.24
        (e) Any other weapon. The term 'any other weapon' means any weapon or
        device capable of being concealed on the person from which a shot can be
        discharged through the energy of an explosive,25 a pistol or revolver
        having a barrel with a smooth bore designed or redesigned to fire a fixed
        shotgun shell, weapons with combination shotgun and rifle barrels 12
        inches or more, less than 18 inches in length, from which only a single
        discharge can be made from either barrel without manual reloading, and
        shall include any such weapon which may be readily restored to fire. Such
        term shall not include a pistol or a revolver having a rifled bore, or rifled
        bores, or weapons designed, made, or intended to be fired from the
        shoulder and not capable of firing fixed ammunition.26
        Since the NFA is part of the Internal Revenue Code, it created a regulatory

system, which taxed all aspects of the manufacture, importation, and distribution of the

above listed firearms, as well as some additional ones that were added during the 1968

Gun Control Act.27 More importantly, the NFA required the Secretary of the Treasury to

create a registry, known as the NFRTR, of all NFA firearms in the United States not

under the control of the United States Government.28 The most interesting aspect to

enactment of the NFA, pertinent to the NFRTR, is that during the 1934 Congressional

Hearings, Karl T. Frederick, then President of the National Rifle Association, declared,

        [A]s a matter of human experience, the owner of a gun is going to lose
        papers, they are going to get mislaid, they are going to get burned up, if he
        cannot turn them up when required to do so he is liable to go to jail. I think

23
          § 5845(c)
24
          § 5845(d)
25
          § 5845(e)
26
          Id. This provision, which was added by the Gun Control Act of 1968, was largely the result of
codifying previous rulings and was intended to bring statutory uniformity to the “any other weapon”
definition. 82 Stat. 1235, § 921.
27
          § 5802
28
          § 5841


                                                    8
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        there ought to be a simple method of obtaining a copy of that paper from
        the authorities with whom the original was filed . . . . If not, in the actual
        operation, you are going to create criminals.29

            B. Bureau of Alcohol, Tobacco, Firearms, and Explosives [BATFE]

        The history of the BATFE is traced back to the first federal tax on distilled spirits

in 1791.30 Since the NFA is ostensibly a tax provision, it was originally administered by

Miscellaneous Tax Unit [MTU] of the Department of the Treasury’s Bureau of Internal

Revenue [BIR].31 In 1942, the MTU’s NFA duties were reassigned to the BIR’s Alcohol

Tax Unit [ATU].32

        Effective 1952, all firearm and tobacco programs were transferred to the Alcohol

and Tax Division [ATTD], when BIR was reorganized and renamed the Internal Revenue

Service [IRS].33 In the wake of the 1968 Gun Control Act, the ATTD assumed the

responsibility for explosives as well, and as a result, was renamed the Alcohol, Tobacco,

and Firearms Division [ATFD]; thereafter in 1972, it became a bureau and was

designated the Bureau of Alcohol, Tobacco and Firearms (ATF).34

        With the passage of the Homeland Security Act, the Congress transferred the ATF

to the Department of Justice and renamed it the Bureau of Alcohol, Tobacco, Firearms

and Explosives [BATFE].35 The Secretary of the Treasury was replaced by the Attorney




29
         U.S. Congress, House Committee on Ways and Means, H.R. 9066, 73rd Cong., 2nd Sess., at 57
(Washington, GPO, 1934), available at http://www.nfaoa.org/documents/NFA-1934house.pdf.
30
         26 U.S.C. § 5001; http://www.atf.gov/about/atfhistory.htm. See also, Congressional Research
Service, Memorandum: ATF’s National Firearms Registration and Transfer Record: Issues Regarding
Data Accuracy, Completeness, and Reliability, by William J. Krouse, Nov. 28, 2005, at 3, available at
http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf.
31
         http://www.atf.gov/about/atfhistory.htm.
32
         Id.
33
         Id.
34
         Id.
35
         6 U.S.C. § 531; 116 Stat. 2135 (2003).


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General as the federal official responsible for administering the NFA and maintaining the

NFRTR.36



                             C. The Gun Control Act [GCA] of 1968



        Title II of the GCA, also termed the National Firearms Act of 1968, revised and

re-codified the NFA, resulting in: 1.) tightened controls on NFA firearms and devices;

particularly in the import restrictions for NFA items; 2.) the inclusion of “destructive

devices;” 3.) the codification of various rulings into a statutory definition of “any other

weapon;” 4.) the inclusion of “frame or receiver” of a firearm under the definition of a

machinegun; and 5.) a provision which authorized the administrative removal of any

firearm from the NFA, except a machine gun or destructive device, that was determined

by the Secretary of the Treasury to be mainly a “collector’s item” and not likely to be

used as a weapon.37 The GCA also increased the penalty for possessing an unregistered

NFA firearm to two years and/or ten thousand dollars.38 Furthermore, the Congress,

aware of the Supreme Court’s decision in Haynes v. United States, as well as other cases,

resolved the conflict by: (1) prohibiting any information required to comply with the

NFA to be used against a registrant or applicant “in a criminal proceeding with respect to

36
           Id.
37
           26 U.S.C. § 5845. The GCA, in remaining true to the original intent behind the NFA, limited
firearms thought to be used mainly by criminals by requiring registration of the firearms and using
prohibitive taxes to discourage their manufacture, distribution, and ownership. This was a comprehensive
strategy then, and remains so today.
38
           S. Rep. NO. 1097, 90th Cong., 2d Sess. 25 (1967). The 2007 DOJ-OIG report declares,
“Possessing an unregistered NFA weapon or one that is registered to someone else is punishable by a
$250,000 fine and 10 years imprisonment. The NFA weapon is subject to forfeiture, and if convicted of a
criminal violation of the NFA the possessor will be prohibited from receiving or possessing firearms.” U.S.
Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco, Firearms and
Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at 3-4 (June 2007), available
at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.


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a prior or concurrent violation of the law;” (2) establishing an amnesty period, to allow

persons to register unregistered NFA firearms with full immunity from prosecution,

although such immunity did not apply to making false statements; 39 and, (3) prohibiting

the release of any information about the registration status or ownership of any NFA

firearm.40



                                       D. 1968 NFA Amnesty



        The GCA required ATF to establish a 30-day amnesty period beginning on the

second day of the first month after its enactment on October 22, 1968; consequently, the

amnesty was held from November 2, 1968, to December 1, 1968.41 In 1992, NFRTR

statistics obtained by a Freedom of Information Act (FOIA) request disclosed that 57,187

NFA firearms were registered in 1968; however, this number increased to 57,216, in

1995, and to 57,223 by 1996.42 This may be due, in part, to the BATFE (1) adding

firearms to the NFRTR after being confronted by NFA firearm owners with copies of

NFA registration paperwork, (2) adopting a policy to allow some U.S. service personnel

to register unregistered NFA firearms from 1969 to 1971, or later, without announcing



39
           82 Stat. 1235, § 207(b), (d); Haynes v. United States, 390 U.S. 85 (1968) (holding that the
registration of NFA weapons would likely incriminate those individuals registering unregistered NFA);
Grosso v. United States, 390 U.S. 62 (1968); Marchetti v. United States, 390 U.S. 39 (1968).
40
           The BATFE legal interpretation is that NFA paperwork is “tax return” information. 26 U.S.C. §
6103; Memorandum to ATF Director from Chief Counsel, re: Freedom of Information Act Request,
bearing symbols CC-18,778 RMT, (Aug. 18, 1980), available at
http://www.titleii.com/BardwellOLD/1980_auto_ord_memo.txt
41
           82 Stat. 1235, § 207(b), (d).
42
           Eric M. Larson, Errors in the National Firearms Registration and Transfer Record: A New
Amnesty Period May be Required to Correct Them, prepared for the Subcommittee on Treasury, Postal
Services, and General Government of the Committee on Appropriations, Apr. 8, 1997, available at
http://www.cs.cmu.edu/afs/cs.cmu.edu/user/wbardwel/public/nfalist/rip/larson_study.txt. Mr. Larson is a
Senior Analyst with the U.S. Government Accountability Office.


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such an amnesty period in the Federal Register, as required by law,43 and/or (3) as stated

by a BATFE employee, correctly filing a misfiled form could appear to increase the

number of registered firearms in that category, e.g., a Form 4467 registration being

misfiled as something else.44 An ancillary and troubling issue is the fact that ATF created

an unofficial program to allow the registration of thousands of unregistered NFA firearms

after the 1968 amnesty expired, in violation of its own published regulations at the time.45

         There is virtually no legislative history for the amnesty provision under the NFA.

With the single exception of a statement that the Congress intended that “every firearm in

the United States should be registered to the person possessing the firearm” by December




43
            82 Stat. 1235, § 207(b),(d); U.S. Department of the Treasury, Office of Inspector General,
Special Report on Allegations Concerning the Bureau of Alcohol, Tobacco and Firearm's Registration and
Recordkeeping of the National Firearms Registration and Transfer Records, Report No. OIG-99-009, at 13
(Washington, Oct. 26, 1998) available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-1998.pdf;
U.S. Department of the Treasury, Bureau of Alcohol Tobacco, and Firearms, Unpublished Memorandum:
Freedom of Information Act regarding United States vs. Eighteen Various Firearms, by Peter J. Chisholm,
Mar. 24, 1998, p. 8, available at http://www.nfaoa.org/documents/Fassnacht.pdf. The underlying facts in
the court case, United States v. Eighteen Various Firearms, 148 F.R.D. 530 (E.D. Pa. 1993), are set forth in
this unpublished ATF Memorandum to the File dated January 15, 1993, obtained by the Freedom of
Information Act process. In 1969, CIA employee George Fassnacht sought to register unregistered NFA
firearms under the 1968 amnesty provision, ATF agreed, then in 1971 refused to allow the registrations
after the firearms were seized in a raid that was later found unconstitutional. Id. In 1993, ATF dropped its
objections and allowed the firearms to be registered after years of litigation. Id. "We reached this
conclusion," ATF stated, "only after months of researching every possible lead and finding only evidence
that Mr. Fassnacht had satisfied the requirements for persons seeking to register NFA firearms after the
November 1968 amnesty period [emphasis in original document]." Id. It should be noted that BATFE
should possibly be applauded for this action, since the 30 day registration period may have been too short.
Individuals on vacation or otherwise may not have heard of the Amnesty until it was too late.
44
           U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1997, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 104th Cong., 2nd Sess., at 84 (Washington, GPO, 1996), available at
http://www.nfaoa.org/documents/1996testimony.pdf.
45
           26 C.F.R. § 179.120 (1969), available at http://blog.princelaw.com/assets/2008/1/9/1969-CFR-
ATF-amnesty-regs.pdf; U.S. Senate, Committee on the Judiciary United States Senate, Hearing on S. 914,
A Bill to Protect Owners’ Constitutional Rights, Civil Liberties, and Rights to Privacy, 89th Cong., 1st
Sess., at 63 (Washington, GPO, 1984), available at http://www.nfaoa.org/documents/DolaNFAamend.pdf.


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2, 1968, the day after the 30-day amnesty period expired, there is no other mention of the

amnesty period provision except in the statute itself.46

        BATFE published regulations in 26 C.F.R., Section 179.120, entitled

"Registration of Firearms", revised as of January 1, 1969, that described procedures for

registering unregistered NFA firearms during the 1968 amnesty period.47 The regulation

states, in part: "No firearm may be registered by a person unlawfully in possession of the

firearm after December 1, 1968, except that the Director, after publication in the Federal

Register of his intention to do so, may establish periods of amnesty, not to exceed ninety

(90) days in the case of any single period with such immunity from liability as the

Director determines will contribute to the purposes of this part."48 Paragraph (e) further

stipulates that "A firearm not identified as registered by this part shall not be

registered."49 Notwithstanding these limitations, in a document entitled "Amnesty




46
          See U.S. Senate, Gun Control Act of 1968, Title II-Amendments to the National Firearms Act,
Report No 1501, 90th Cong., 2nd Sess., at 43 (Washington, GPO, 1968), available at
http://www.nfaoa.org/documents/SenateReport1501-GCA1968.pdf. While not mentioned anywhere in the
1968 Act, of historical interest is a provision discussed during 1965 hearings for a registration period to
bring "destructive devices" under the NFA, whereby persons possessing such devices "shall have 30
days from the effective date of this act to register such firearm, and that no liability (criminal or
otherwise) shall be incurred in respect to failure to so register under such section prior to the
expiration of such 30 days.” See U.S. Congress, House of Representatives, Committee on Ways and
Means, Proposed Amendments to the National Firearms Act and the Firearms Act, Part I, 89th Cong.,
1st Sess., at 7 (Washington, GPO, 1965), available at
http://www.nfaoa.org/documents/1965_Hearing_Part_I.pdf. The hearing summarizes the need to, “Bring
under Federal control interstate shipment and disposition of large caliber weapons such as bazookas
and antitank guns, and destructive devices such as grenades, bombs, missiles, and rockets,” “curb the
flow into the United States of surplus military weapons and other firearms not suitable for sporting
purposes,” and “increase to twice the present rate of all taxes under the National Firearms Act of
1934,” noting that “the principal rates have not been changes since the original enactment of the act in
1934,” and that “it is necessary to increase the rates in order to carry out the purposes of the act.” (Id.
at 3-4).
47
          26 C.F.R. § 179.120 (1969), available at http://blog.princelaw.com/assets/2008/1/9/1969-CFR-
ATF-amnesty-regs.pdf.
48
          Id.
49
          Id.


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Guidelines" and dated April 16, 1969, BATFE established a program which allowed the

registration of unregistered NFA firearms.50

        In 1998, the Treasury Department Inspector General investigated these “post-

amnesty” registrations and concluded that ATF may not have followed proper

procedures, because ATF failed to publish a notice in the Federal Register as required by

law, which casts some legal questions upon the legitimacy of the registrations.51

Moreover, according to Assistant Attorney General, Criminal Division, Philip B.

Heymann, the BATFE’s handling of the 1968 Amnesty was a complete disaster:

        The amnesty period spawned a massive volume of registrations, transfers
        and correspondence which the clerical staff was ill-equipped to handle. As
        a result, some weapons were registered, some were mistakenly registered
        by part number rather than serial number, and some documents were
        misfiled. The staff responsible for the system was aware of these
        problems.” 52 [emphasis added].
        In United States v. Freed, apparently without knowledge of the BATFE’s

mismanagement of the registration process and NFRTR after the 1968 amnesty, the

Supreme Court held that the amended NFA no longer violated the Fifth Amendment

protection against self-incrimination, or violated an individual’s right to due process, as



50
           A copy of the original document is available at
http://www.nfaoa.org/documents/Work_Papers_E.pdf, at 4-5; however, the reproduction is of relatively
low quality, and a True Copy was submitted in a 2001 Congressional statement, available
at http://www.nfaoa.org/documents/2001statement.pdf 19-20, which also includes a True Copy of an ATF
memorandum dated March 4, 1975, confirming that the post-amnesty registration program had been
implemented but was later discontinued.
51
           U.S. Department of the Treasury, Office of Inspector General, Special Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearm’s Registration and Recordkeeping of the
National Firearms Registration and Transfer Records, OIG-99-009, at 1, 13 (Washington, Oct. 26, 1998),
available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-1998.pdf. If the legitimacy of these
registrations comes into question, it should be held against the BATFE, not the individual, since the
individual followed the procedures established by the BATFE. Furthermore, the loss of such a firearm
would be a monumental economic loss to the registrant or individual to whom the firearm has been
transferred.
52
           U.S. Department of Justice, Criminal Division, Memorandum: Response to letter from Senator
McClure, by Philip B. Heymann and Lawrence Lippe, 2-3 (Nov. 29, 1979), available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.


                                                  14
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Congress had remedied the problem by enacting the 1968 NFA firearms amnesty.53 If the

Supreme Court was informed of the problems and mishandlings of the 1968 amnesty, the

Court’s holding might have been drastically different.

         While the 1968 Amnesty was the only amnesty authorized by Congress, the

Congress provided, under § 207(d), for future amnesty periods, up to 90 days per period,

as needed:

         “The Secretary of the Treasury, after publication in the Federal Register of
         his intention to do so, is authorized to establish such periods of amnesty,
         not to exceed ninety days in the case of any single period, and immunity
         from liability during any such period, as the Secretary determines will
         contribute to the purpose of this title.”54


                   E. The Firearms Owners’ Protection Act [FOPA] of 1986



         The passage of FOPA prohibited the possession of machineguns that were not

legally possessed prior to its enactment on May 19, 1986.55 The effect was to freeze the

number of machineguns that could be legally owned by private citizens. While previously

contending that FOPA nullified the amnesty provision for machineguns, the BATFE has

recently changed their position.56 Moreover, given that the number of NFA registered


53
          United States v. Freed, 401 U.S. 601, 605 (1971). The Court stated, “Under the present Act only
possessors who lawfully make, manufacture, or import firearms can and must register them; the transferee
does not and cannot register. It is, however, unlawful for any person to receive or possess a firearm which
is not registered to him in the National Firearms Registration and Transfer Record.” [original emphasis]. Id.
at 604.
54
          82 Stat. 1235, § 207(d).
55
          100 Stat. 452, § 102(9); codified at 18 U.S.C. § 922(o)(1) (1986).
56
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 3, Statements of Members of Congress and Other Interest
Individuals and Organizations, 107th Cong., 1st Sess., at 10 (Washington, GPO, 2002), available at
http://www.nfaoa.org/documents/2001statement.pdf; The BATFE has now taken the position that they have
the power to authorize a new amnesty, but choose not to do so, so as not to “jeopardize pending ATF
investigations and prosecutions of NFA violations.” BATFE, ATF National Firearms Act Handbook, at 23
(June 2007), available at http://www.atf.gov/firearms/nfa/nfa_handbook/index.htm.


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                                                                                                      Exhibit A, Pg. 334
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firearms, post-amnesty, has continued to rise, one can only conclude that either the

BATFE has continued to allow a BATFE-discretionary amnesty, which is contrary to

law,57 or, that which is more likely, the BATFE has been adding lost/destroyed firearm

registrations back into the NFRTR, because it assumes the NFRTR to be in error.58



                            F. NFA Registration Process and Penalties



         The confluence of the NFA, CGA, and FOPA has resulted in a series of

procedures to register a NFA weapon, as well as, penalties for the failure to do so. A

private citizen, who is not otherwise prohibited by law, may acquire an NFA weapon in

several ways: 1.) a registered owner of an NFA firearm may apply for ATF approval to

transfer the firearm to another person residing in the same state or to a FFL in another

state, or an individual may purchase an NFA firearm from a FFL;59 2.) an individual may

apply to the BATFE for approval to make and register an NFA firearm (except machine

gun);60 or 3.) an individual may inherit a lawfully registered NFA firearm.61


57
          90 P. L. 618; 82 Stat. 1235, § 207(d); Eric Larson, Errors in the National Firearms Registration
and Transfer Record: A New Amnesty Period May be Required to Correct Them, prepared for the
Subcommittee on Treasury, Postal Services, and General Government of the Committee on Appropriations,
at 41-139 (Apr. 8, 1997), available at http://www.nfaoa.org/documents/1997testimony.pdf. This is
supported by the Treasury Department Inspector General’s statement that the BATFE, “may have failed to
follow procedures by failing to publish [notice of ATF’s years-long extension of the 1968 Amnesty] in the
Federal Registrar, as required by the Gun Control Act of 1968.” U.S. Congress, House Committee on
Appropriations, Subcommittee on the Treasury, Postal Service, and General Government Appropriations,
Treasury Postal Service, and General Government Appropriations for Fiscal Year 2002, Part 3, Statements
of Members of Congress and Other Interest Individuals and Organizations, 107th Cong., 1st Sess., at 9
(Washington, GPO, 2002), available at http://www.nfaoa.org/documents/2001statement.pdf.
58
          U.S. Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco,
Firearms and Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at 31 (June
2007), available at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf. The lack of an
official GAGAS audit precludes a definitive determination on this issue; for example, a “lost” registrations
could represent a lost transfer document or documents, or a complete loss of the entire record of a
registered NFA firearm or device, as occurred in the Napolilli case, discussed later in this article.
59
          26 U.S.C. § 5811.
60
          26 U.S.C. § 5822.


                                                     16
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        The process for registering a NFA firearm is as follows: 1.) the applicant must file

an application, in duplicate, with the BATFE; 2.) if not a Special Occupational Taxpayer

licensed to manufacture NFA firearms or devices, pay the two-hundred dollar tax; 3.) if

the transferee is an individual, thus exempting corporations and trusts, he/she must

submit fingerprints and photographs; and, 4.) the signature of the chief law enforcement

officer or other person of prominence, determined by the BATFE.62

        The penalty for violating the NFA, specifically receiving, possessing, or

transferring an unregistered NFA firearm, is a fine of up to two-hundred and fifty

thousand dollars, imprisonment for up to ten years, and forfeiture of the firearm and any

vessel, vehicle, or aircraft used to conceal or convey the firearm.63 Firearms, for which

there are no or incomplete records in the NFRTR, are considered contraband by the

BATFE and are subject to seizure and forfeiture.64



                                          III. The NFRTR



        Under the NFA, the Secretary of the Treasury, now the Attorney General, is

required to “maintain a central registry of all firearms in the United States which are not

in the possession or under the control of the United States. This registry shall be known

as the National Firearms Registration and Transfer Record.”65 The NFRTR must include


61
          26 U.S.C. § 5811
62
          Id.; 26 U.S.C. § 5812. The fee for transferring an AOW is $5. § 5811.
63
          26 U.S.C. §§ 5861(d),(j); 26 U.S.C.S. § 5872; 49 U.S.C. §§ 781-788.
64
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 3, Statements of Members of Congress and Other Interest
Individuals and Organizations, 107th Cong., 1st Sess., at 9 (Washington, GPO, 2002), available at
http://www.nfaoa.org/documents/2001statement.pdf.
65
          26 U.S.C. § 5841(a); 6 U.S.C. § 531; 116 Stat. 2135 (2003).


                                                  17
                                                                                                Exhibit A, Pg. 336
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1. “identification of the firearm;” 2. “date of registration;” and 3. “identification and

address of person entitled to possession of the firearm.”66 Additionally, “A person

possessing a firearm registered as required by this section shall retain proof of

registration which shall be made available to the Secretary [now Attorney General;

effectively, any BATFE Special Agent] upon request.”67

        The NFRTR has been the source of debate in the Congress since the late 1970’s,

and federally licensed NFA dealers have “suspected” for years that the NFRTR records

were incomplete and lacked reliability, because their firearms inventories were not

accurately reflected in the NFRTR-generated reports, which came to light when the

BATFE performed compliance inspections.68 These inaccuracies have caused some

lawful possessors of NFA weapons to fear, “[S]ome overzealous ATF agent will attempt

to make a Registry error into a SWAT visit.”69



                                IV. The Inaccuracy of the NFRTR



        Prior to the enactment of the NFA, Karl T. Frederick, then President of the

National Rifle Association, voiced concerns over the possibility of citizens who lawfully

registered their NFA weapons being turned into criminals for losing their registration

papers.70 While the issue of accuracy, completeness, and reliability of the NFRTR only



66
         § 5841(a)(1)-(3).
67
         § 5841(e); 6 U.S.C. § 531; 116 Stat. 2135 (2003).
68
         Introductory Statement of Dan Shea, editor of Small Arms Review, leading an article by Eric M.
Larson, Voluntary Amnesty Registrations Under the National Firearms Act: Current Prospects and Some
History From 1934 to 1968, SMALL ARMS REVIEW, May 2000, at 41.
69
         Id.
70
         U.S. Congress, House Committee on Ways and Means, H.R. 9066, 73rd Cong., 2nd Sess., at 57
(Washington, GPO, 1934), available at http://www.nfaoa.org/documents/NFA-1934house.pdf.


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came to the Congress’ attention in 1979, the BATFE was well aware, in December of

1968, that the 1968 Amnesty was a complete disaster.71

         In 1979, then-Senator Jim McClure, on behalf of the NRA Firearms Museum,

contacted the BATFE over its determination to bring a forfeiture action against the

Museum, alleging seven weapons were illegally possessed, since they were not found in

the registry.72 While the BATFE had already begun a forfeiture action, United States v.

Seven Miscellaneous Firearms, the district court, disconcerted by the allegations of the

inaccuracy, found none of the weapons to be firearms that required registration.73

         At the same time, the Congress heard testimony that the BATFE alleged J. Curtis

Earl, a federally licensed NFA dealer, illegally possessed 475 unregistered firearms.74

While ATF had consulted microfiche copies of NFRTR records, the attorney who

represented Mr. Earl noted that Mr. Earl,

         [T]urned to his file cabinet and began to produce the original records of
         their registration, and one by one the firearms came off the floor and back




           “[A]s a matter of human experience, the owner of a gun is going to lose papers, they are going to
get mislaid, they are going to get burned up, if he cannot turn them up when required to do so he is liable to
go to jail. I think there ought to be a simple method of obtaining a copy of that paper from the authorities
with whom the original was filed. . . . If not, in the actual operation, you are going to create criminals.” Id.
71
           U.S. Dep’t of Justice, Criminal Div., Memorandum: Response to letter from Senator McClure, by
Philip B. Heymann and Lawrence Lippe, at 2-3 (Nov. 29, 1979), available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.
72
           Id. at 1.
73
           Id.; United States v. Seven Miscellaneous Firearms, 503 F. Supp. 565, 579 (D.D.C. 1980). NFA
Branch Chief Wayne Miller commented on the decision, bizarrely declaring “Considerable evidence was
received that [ATF’s] officials have for many years recognized the inadequacy and incompleteness of the
Bureau’s records. The Court is not required to pass judgment on this, because the Government has failed to
show that these seven items are firearms.” U.S. Congress, House Committee on Appropriations,
Subcommittee on the Treasury, Postal Service, and General Government Appropriations, Treasury Postal
Service, and General Government Appropriations for Fiscal Year 1998, Part 5, Testimony of Members of
Congress and Other Interested Individuals and Organizations, 105th Cong., 1st Sess., at 97 (Washington,
GPO, 1997), available at http://www.nfaoa.org/documents/1997testimony.pdf.
74
           U.S. Congress, Senate Committee on Appropriations, Oversight Hearings on Bureau Alcohol,
Tobacco & Firearms, 96th Cong., 1st Sess. at 39 (Washington GPO 1979), available at
http://www.nfaoa.org/documents/1979_Hearing_Excerpts.pdf.


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                                                                                                         Exhibit A, Pg. 338
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        onto his racks. At the end, he could show that he had registered every
        single one of these 475 firearms. ATF’s records were grossly incorrect.75
In response to a request by Senator McClure, the Criminal Division of the Department of

Justice stated that if BATFE determines that “a particular individual or weapon is

registered” and BATF finds that its “files are missing,” then “the only solution would be

to declare another amnesty period.”76 However, no amnesty period was established in

response to the Earl case.

        In the 1980’s, defense attorneys, in several federal court cases, began requesting,

during discovery, internal BATFE memoranda and reports that documented problems

regarding the accuracy of the NFRTR.77 One of the procured BATFE memoranda,

written by the NFA Branch Chief, declared,

        Our response to inquires on the existence or nonexistence of proper
        registration of an NFA firearm is the basis for seizure, arrests, prosecution,
        fines, and imprisonments. Our testimony or certification of the
        nonexistence of such record is evidence subject to close examination in
        court. We continuously discover discrepancies and inaccuracies in the
        registration file which, if discovered during trial, would destroy the future
        credibility of such evidence. One resultant possibility is that a defendant
        who maintains he had properly registered his firearm but had lost his
        approved form could, subsequent to his arrest based on non-registration,
        locate his lost document. If the court should discover that our negligence
        caused an unwarranted arrest and trial, the resultant loss of public trust
        would be irreparable. Just as serious is the possibility that an innocent
        man might be convicted if he could not find his registrant form and we
        certified that he had not registered the firearm when, in fact, we had failed
        to locate his registration in the Record [NFRTR].78 [emphasis added]
75
          Letter to Ernest S. Istook, Jr., Chairman, Subcommittee on Treasury, Postal Service and General
Government, from David T. Hardy, Esq., dated April 10, 2001, available at
http://www.nfaoa.org/documents/BardHard.pdf.
76
          U.S. Department of Justice, Criminal Division, Memorandum: Response to letter from Senator
McClure, by Philip B. Heymann and Lawrence Lippe, Nov. 29, 1979, at 4, available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.
77
          Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Transfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, at 6 (citing to United States v. Stout, 667 F.2d 1347 (11th Cir. 1982), available at
http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf; United States v. Seven Miscellaneous
Firearms, 503 F. Supp. 565 (D.D.C. 1980)).
78
          NFA Branch Chief memorandum to ATF Assistant Director for Technical and Scientific
Services, Purification and Verification of the National Firearms Registration and Transfer Record, Apr. 3,


                                                    20
                                                                                                    Exhibit A, Pg. 339
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However, the then-Assistant Director of the BATFE, continued to assert that the

inaccuracies had been corrected and that the NFRTR was accurate and reliable for

“criminal proceedings.”79

        More disconcerting is the October 1995 “Roll Call” training video of then NFA

Branch Chief, Thomas B. Busey, in which Mr. Busey orders BATFE staff to continue to

commit perjury when testifying about the NFRTR: “Let me say that when we testify in

court, we testify that the database [NFRTR] is 100 percent accurate. That’s what we

testify to, and we will always testify to that. As you probably well know, that may not be

100 percent true.”80 Mr. Busey continued, “If our database were absolutely error free, we

could simply run the name of individual and his first name, and if it didn’t come up, we

could guarantee everyone that that individual doesn’t have a Title II [NFA] weapon

registered to him.”81 Furthermore, Chief Busey stated that the error rate in the NFRTR

was between 49 and 50%, before he became NFA Branch Chief, which means all cases

prosecuted for illegal possession of a firearm, prior to 1994, had a one in two chance of

the legally registered weapon’s record not existing or being discoverable in the NFRTR.82

Chief Busey then declared that the current, as of 1995, inaccuracy rate was below 8%,




1975, reproduced in Oversight Hearings on Bureau of Alcohol, Tobacco, and Firearms, Senate Committee
on Appropriations, 96th Cong., 1st Sess., at 42 (Washington, GPO, 1979), available at
http://www.nfaoa.org/documents/1979_Hearing_Excerpts.pdf.
79
         Bureau of Alcohol, Tobacco, and Firearms, Status Report: National Firearms Registration and
Transfer Record (NFRTR), by Deron A. Dobbs, July 1, 1981, at 17, available at
http://www.nfaoa.org/documents/DeronDobbs.pdf.
80
         BATFE/NFRTR Roll Call Training Video, Oct. 1995, available at
http://www.nfaoa.org/documents/rollcall_highlights.mp4 or as text
http://www.nfaoa.org/documents/BuseyTranscript.pdf at 20.
81
         Id.
82
         Id.


                                                 21
                                                                                               Exhibit A, Pg. 340
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while at the same time the BATFE was attesting to the court that the NFRTR was 100%

accurate.83



                             V. Congressional Hearings/OIG Audits



        The Congress has been aware of the problems of the NFRTR since the 1970’s; yet

the courts, for the most part, have been relatively uninformed or unaware of such

proceedings.84 The hearings and testimonies on the NFA, and more specifically the

inaccuracy in the NFRTR, are massive, some encompassing more than 900 pages; thus,

the hearings will be broken down by date, and only the most pertinent information will be

discussed, because an article could be written on each hearing. These hearings

memorialize the inaccuracy of the NFRTR, misleading statements by the BATFE, official

audits that fail to follow Generally Accepted Government Auditing Standards (GAGAS)

based on Government Auditing Standards,85 lack of internal controls within the BATFE,

and BATFE’s failure to follow procedure, as well as, the Congress’s and BATFE’s

failure to rectify the NFRTR. While the Department of the Treasury, Office of Inspector

General, purports to have based its 1998 audit reports on GAGAS, inspection of various

unpublished Work Papers from these audits disclose that pertinent findings were omitted

from the published audit reports, and render a more accurate and complete version of the

serious errors in the NFRTR and BATFE mismanagement.


83
          Id.
84
          U.S. Dep’t of Justice, Criminal Div., Memorandum: Response to letter from Senator McClure, by
Philip B. Heymann and Lawrence Lippe, 2-3 (Nov. 29, 1979), available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.
85
          The audits described in this article fell within the scope of COMPTROLLER GENERAL OF THE
UNITED STATES, GOVERNMENT AUDITING STANDARDS, (Washington, D.C., U.S. GPO, 1994), which has
since been updated.


                                                   22
                                                                                                 Exhibit A, Pg. 341
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                                            A. 1934-1980



        Since the previous section, The Inaccuracies in the NFRTR, dealt mainly with

issues that arose from 1933 to the 1980’s, I will not reiterate those occurrences. However,

in 1968, after U.S. v. Haynes invalidated the registration provision of the NFA,86 the

Congress held hearings on new legislation, which would become the GCA.87 The

testimony most pertinent to this article is that of then Internal Revenue Service

Commissioner Sheldon S. Cohen on the effect of U.S. v. Haynes on enforcement of the

NFA. Although his statements do not acknowledge or characterize the inaccuracy of the

NFRTR, they illustrate the likely impact on the BATFE’s ability to prosecute individuals

if a new amnesty period was established.88 Commissioner Cohen stated, “We had been

averaging, under the National Firearms Act, about 60 to 70 prosecutions per month for

National Firearms Act violations. Since the first of this year, when the Haynes decision

was rendered, we are down to about something in the excess of 40 a month.”89 Hence,

U.S. v. Haynes apparently hampered the BATFE's ability to prosecute individuals in just

one out of three cases, presumably limited to cases for Possession of an Unregistered

Firearm. Thus, establishing a new amnesty period will not prevent the BATFE from

prosecuting violations of the NFA; and as will be shown, BATFE could still successfully

prosecute some Possession of Unregistered Firearm cases.




86
         Haynes v. United States, 390 U.S. 85, 100 (1968).
87
         U.S. Congress, Senate Committee on the Judiciary, Subcommittee to Investigate Juvenile
Delinquency, Pursuant to S. Res. 240, 90th Cong., 2nd Sess., (Washington, GPO, 1968), available at
http://www.nfaoa.org/documents/IRS_Commissioner_GCA_Hearing.pdf.
88
         Id. at 661.
89
         Id.


                                                   23
                                                                                                     Exhibit A, Pg. 342
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                                            B. 1980-1995



        In 1983, then Senator Robert Dole, before the Committee on the Judiciary,

proposed amending the NFA to establish a “continuing registration period during which

possessors of unregistered National Firearms Act (NFA) weapons could register such

weapons.”90 In response to Senator Dole’s Dole’s proposed amendment, then-ATF

Deputy Assistant Secretary for Enforcement Robert E. Powis declared “Having provided

a 30-day period within which possessors of unregistered weapons could register them

with impunity, the 1968 amnesty served its purpose. Therefore, unregistered weapons

could no longer be legitimately registered and possessor’s retention of them violated the

law.”91 However, as will be shown in the 1998 audits of the NFRTR by the Treasury

Department Inspector General, and further documented by Eric M. Larson in his 2001

Congressional testimony, Mr. Powis’s statement contradicts the fact that BATFE

registered thousands of NFA firearms after the 1968 amnesty period expired, and thus

knowingly and willfully misled the Congress in an official capacity as the representative

of a federal law enforcement agency.92

        In 1992, the BATFE threatened charging Noel Napolilli, a retired public school

teacher, with Possession of an Unregistered Firearm because BATFE said it could find no

record of his MP-40 machine gun, serial number 4202, in the NFRTR. 93 When Mr.


90
           U.S. Congress, Senate Committee on the Judiciary, S. 914, 98th Cong., 1st Sess., at 62
(Washington, GPO, 1984), available at http://www.nfaoa.org/documents/DolaNFAamend.pdf.
91
           Id. at 63.
92
           Eric M. Larson, Errors in the National Firearms Registration and Transfer Record: A New
Amnesty Period May be Required to Correct Them, prepared for the Subcommittee on Treasury, Postal
Services, and General Government of the Committee on Appropriations, at 57-67, Apr. 8, 1997, available
at http://www.nfaoa.org/documents/1997testimony.pdf.
93
           U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government


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Napolilli provided a copy of the Form 3 that the BATFE had approved, later shown to be

a copy that the BATFE made and sent to him, rather than one of the copies prepared in

duplicate that the BATFE approved, the BATFE claimed the document was a forgery.94

Even though its own Forensic Document Laboratory examined the Form 3 and

determined the document was genuine, the BATFE nevertheless seized and forfeited the

firearm.95

        While BATFE contended the firearm had been illegally registered as

“remanufactured” because BATFE said it bore no evidence of remanufacture, the fact

that BATFE lost all of its computerized and hard copy records of the firearm precluded a

definitive determination.96 BATFE wrote to James Jefferies, III, Mr. Napolilli’s attorney,

that, “We agree with your observation that prior to Mr. Napolilli’s production of the

above mentioned Form 3, ATF had no record of registration of the MP40 machinegun to

Mr. Napolilli or any other person.”97 Mr. Napolilli, left with no other option, filed suit.98

However, he dropped his suit against the BATFE, “because my wife and I were fearful of

BATF reprisal, the seizure of my sizeable firearms collection, … and being harassed by

constant ‘inspections.’ There was substantial evidence that these things would likely




Appropriations for Fiscal Year 1999, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 105th Cong., 2nd Sess., at 33-34 (Washington, GPO, 1998), available at
http://www.nfaoa.org/documents/NoelNapolilli.pdf.
94
          Id. at 33.
95
          Id.
96
          Id. It should be noted that the gun was not forensically examined by an independent expert.
97
          Letter from Wayne Miller, Chief, National Firearms Act Branch, Bureau of Alcohol, Tobacco and
Firearms to James H. Jeffries III, dated Sept. 18, 1992, available at http://www.nfaoa.org/documents/ATF-
WayneMillerLetter-1992.pdf.
98
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1999, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 105th Cong., 2nd Sess., at 84-86 (Washington, GPO, 1998) available at
http://www.nfaoa.org/documents/NoelNapolilli.pdf.


                                                   25
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occur based on other incidents with which I was familiar.”99 Mr. Napolilli continued, “[I

later] learned that a BATF employee destroyed other registration documents to avoid

having to work on them and that their database approached a 50% error rate.”100

         Mr. Napolilli’s predicament occurred shortly before a new round of hearings and

testimonies on the inaccuracy of the NFRTR, as well as two audits of the NFRTR by the

Treasury Department Inspector General published in 1998, which would continue for

over the next decade. Indeed, in 2006, then Attorney General Gonzales refuted the

BATFE’s position on refusing to accept previously approved paperwork. When

Representative Chris Cannon asked, why do “I have just in my district many, many

people who have this problem, and they have paperwork that came from the ATF that is -

- it's ignored by ATF,” Attorney General Gonzales replied, “That shouldn't be the

case.”101



                                          C. 1995-1998



         As discussed in the section The Inaccuracy in the NFRTR, in the “Roll Call”

training video then-BATFE Chief Busey ordered NFA Branch staff to commit perjury

when testifying about the accuracy of the NFRTR.102 The BATFE tried to mitigate

Busey’s remarks by offering a “correction;” NFA Specialist, Gary N. Schaible, stated


99
         Id. at 33.
100
         Id.
101
         U.S. Congress, House Committee on the Judiciary, Department of Justice, Serial No. 109-137,
109th Cong., 2nd Sess., at 27 (Washington, GPO, 2006), available at
http://www.nfaoa.org/documents/DOJHearingserialno109-137.pdf.
102
         BATFE/NFRTR Roll Call Training Video, Oct. 1995, available at
http://www.nfaoa.org/documents/rollcall_highlights.mp4 or as text
http://www.nfaoa.org/documents/BuseyTranscript.pdf. This was obtained by a Freedom of Information Act
(FOIA) request in 1996 by attorney James H. Jeffries.


                                                  26
                                                                                               Exhibit A, Pg. 345
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under oath, “I have never testified that the data base [NFRTR] is 100 percent accurate

nor, to the best of my knowledge, has any other of the NFA branch personnel, including

Mr. Busey.”103 However, Schaible’s statement, which carefully avoids characterizing the

true error rate of the NFRTR, raises doubts about the legitimacy and trustworthiness of

any and all certifications that the BATFE might give in a criminal proceeding, as will be

discussed in the section, The Intersection of the Federal Rules of Evidence and the

NFRTR. Since the BATFE concedes that the NFRTR is not 100% accurate, how can any

court deprive an individual of his/her liberty based on this inaccurate database, in the

absence of a valid and reliable estimate such as would be obtained by a GAGAS audit?

Surely, this, combined with the Napolilli incident, meets the standard for reasonable

doubt, in any proceeding.

         Representative David Funderburk was not amused by the Busey comments and

Schaible follow up. As a result, he proffered comments made by attorney James Jefferies

into the Congressional Record:

         Consider this matter in its starkest terms: a senior BATF official lecturing
         other senior BATF officials at BATF national headquarters in
         Washington, DC, declares openly and without apparent embarrassment or
         hesitation that BATF officers testifying under oath in Federal--and State--
         courts have routinely perjured themselves about the accuracy of official
         government records in order to send gun-owning citizens to prison and/or
         deprive them of their property. Just who is the criminal in these cases?104

103
           U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1997, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 104th Cong., 2nd Sess., at 183 (Washington, GPO, 1996), available at
http://www.nfaoa.org/documents/Schaiblecorrect.pdf. See also, U.S. Congress, House Committee on
Appropriations, Subcommittee on the Treasury, Postal Service, and General Government Appropriations,
Treasury Postal Service, and General Government Appropriations for Fiscal Year 1999, Part 5, Testimony
of Member of Congress and Other Interested Individuals and Organizations, 105th Cong., 2nd Sess., at
146-171 (Washington, GPO, 1998), available at http://www.nfaoa.org/documents/LeaSuretest.pdf.
104
           142 Cong. Rec. E 1461 (1996) (statement of Honorable David Funderburk reiterating James H.
Jefferies, Institutional Perjury, VOICE FOR THE DEFENSE, Vol. 28, No. 4, Oct. 1996, at 28-30, available at
http://www.nfaoa.org/documents/1998testimony.pdf.


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                                                                                                    Exhibit A, Pg. 346
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The record continues, “After reviewing the incriminating [Busey] tape, BATF officials

discussed whether they could get away with destroying it.”105 To push the point home,

Representative Funderburk reiterated Jefferies comment that,

      When the fog had cleared Justice learned that the NFR&TR inaccuracy
      problem had been the subject of internal BATF discussion since at least
      1979. BATF's files were replete with minutes of meetings, statistical
      studies, memoranda, correspondence, et cetera, admiring the problem. The
      only thing missing was any attempt to correct the problem, or to reveal it
      to anyone outside the agency.106
Most damaging was Jefferies legal opinion of the incident,

         The indirect consequences of BATF's conduct will not be so readily
         apparent but are potentially devastating. All across the country assistant
         U.S. attorneys, U.S. district judges, and other Federal and local law
         enforcement officials are going to learn what most defense lawyers and
         gun dealers have known for years and what the aftermath of Waco and
         Ruby Ridge starkly illustrated: BATF officers and agents lie, dissemble,
         and cover up on an institutionalized basis. These are not aberrations; they
         are an institutional ethic, an organizational way of life. Just who is the
         criminal in these cases?107 [emphasis added].
         In 1996, the BATFE charged John Daniel LeaSure with illegal possession of

firearms, in a case where the testimony of Mr. Schaible would later be impeached by an

internal BATFE investigation into the destruction of NFA documents by BATFE

employees.108 Mr. Schaible testified, under oath, when asked if he was aware of BATFE

employees throwing away NFA documents so they would not have to process them, he

answered, “Yes.”109 When asked if NFA Branch Clerks throwing away such documents

could have resulted in the BATFE believing Mr. LeaSure to be in possession of allegedly




105
         Id.
106
         Id.
107
         Id. at E 1461-62.
108
         U.S. v. LeaSure, No 4:95cr54 (E.D. Va. May 21, 1996); Transcript of Record at 217, U.S. v.
LeaSure, No 4:95cr54 (E.D. Va. May 21, 1996), available at
http://www.nfaoa.org/documents/LeaSureTrial.pdf.
109
         Transcript of Record at 236, U.S. v. LeaSure, No 4:95cr54 (E.D. Va. May 21, 1996), available at
http://www.nfaoa.org/documents/LeaSureTrial.pdf.


                                                   28
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unregistered firearms, Mr. Schiable responded, “Certainly.”110 More disconcerting is

when Mr. Schiable was asked whether these employees were fired, he responded,

“No.”111 With this information, the learned and Honorable John A. Mackenzie, United

States District Court, Eastern District of Virginia, dismissed the convictions for illegal

possession of firearms because, based on the BATFE’s own testimony, the BATFE itself

may have destroyed Mr. LeaSure’s registration documents.112 As Jefferies’ comments,

which Representative Funderburk would later read into the Congressional Record,

declare, “In essence Schaible was testifying that 'We can't find an official record and

therefore the defendant is guilty.’ What we now know is that Schaible should have

testified that ‘We can't find half our records—even when we know they're there—and

therefore we're not sure if anyone is guilty.’''113

         This admonition in the Congressional Record, however, did not stop Mr. Schiable

from changing his story during an internal 1997 BATFE investigation into the destruction

of NFA documents by BATFE employees. During the investigation, Mr. Schiable told

investigators, under oath, that one may have construed from his testimony, “that ATF

employees were destroying documents, but this was not the case.”114 Mr. Schiable’s

sworn testimony in the LeaSure case clearly and legally establishes that the BATFE


110
          Id. at 237.
111
          Id.
112
          Id. at 239.
113
          142 Cong. Rec. E 1461 (1996) (statement of Honorable David Funderburk).
114
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1999, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 105th Cong., 2nd Sess., at 90 (Washington, GPO, 1998), available at
http://www.nfaoa.org/documents/1998testimony.pdf. Mr. Schaible’s contradictory sworn testimony has
been analyzed separately at some length; see “ATF Specialist Gary N. Schaible’s Contradictiry Sworn
Testimonies Regarding the Destruction of NFA Documents at ATF,” Eric M. Larson, Work Papers on
Errors in the National Firearms Registration and Transfer Record, and Other Issues Regarding the Bureau
of Alcohol, Tobacco, and Firearms, at 15-19 (Apr. 2. 1999), available at:
http://www.nfaoa.org/documents/Critiqueof1998IGreports.pdf.


                                                  29
                                                                                                 Exhibit A, Pg. 348
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destroyed NFA documents; otherwise, the United States would have appealed the

decision to dismiss the convictions. To appeal and lose would have resulted in the Court

of Appeals upholding the verdict and writing case law that would have invalidated the

NFRTR.



                                              D. 1998



         In October 1997, the Department of the Treasury, Office of Inspector General, at

the request of Representative Dan Burton, then Chairman of the House Committee on

Government Reform and Oversight, began investigating allegations that the NFRTR was

inaccurate, incomplete and, therefore, unreliable.115 Chairman Burton requested the

investigation in response to five specific allegations by a private citizen, based on

statistical and documentary evidence, which “may be valid and legitimate.”116 The

Treasury Department Inspector General rendered a report on the citizen’s allegations in

October 1998.117

         The investigation found, among other things, that “National Firearms Act (NFA)

documents had been destroyed about 10 years ago by contract employees. We could not

obtain an accurate estimate as to the types and number of records destroyed”118 and “ATF


115
           U.S. Department of the Treasury, Office of Inspector General, Special Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearm’s Registration and Recordkeeping of the
National Firearms Registration and Transfer Records, OIG-99-009, 1 (Washington, Oct. 26, 1998),
available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-1998.pdf.
116
           Treasury Department, Inspector General, Work Paper Bundle A, 1998 audit of NFRTR; available
at http://www.nfaoa.org/documents/Work_Papers_A.pdf at 53-54.
117
           U.S. Department of the Treasury, Office of Inspector General, Special Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearm’s Registration and Recordkeeping of the
National Firearms Registration and Transfer Records, OIG-99-009, at 1 (Washington, Oct. 26, 1998),
available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-1998.pdf.
118
           Id. at 1. This is in direct contradiction to Mr. Schiable’s later testimony.


                                                  30
                                                                                                 Exhibit A, Pg. 349
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granted amnesty NFA registrations to individuals after December 1, 1968 on a limited

basis [almost 2,500 registrations] providing certain conditions were met. ATF did not

publish its intent to grant an amnesty period as required by the Gun Control Act.”119

         More importantly, the audit Work Papers memorialize a comment made by an

Assistant Special Agent-in-Charge at the Baltimore field office: “When [redacted] first

started with the agency in 1971, it was still under IRS. When ATF was made a separate

Bureau in 1972, it was not an amicable split from IRS. He believes much of the

documentation prior to 1972 may have been destroyed or maintained by IRS.”120

[emphasis added].

         The Treasury Department Inspector General undertook a separate audit of the

NFRTR in addition to the one initiated in response to the citizen complaint, which

examined other aspects of the NFRTR. This additional audit of the NFRTR was

published in December of 1998.121 The additional audit revealed that the BATFE

allowed unauthorized access to the database by individuals no longer employed by the

BATFE, remittance checks were left unsecured, transfers were not processed in a timely

manner, and NFA weapons are registered to dead people.122 Furthermore, and more

disconcerting, the audit found that when the BATFE combined the existing NFRTR

database with its new upgraded NFRTR database, “ATF did not have adequate assurance

119
          Id. at 1, 13. It should be recognized that BATFE may have sought to provide an opportunity for
certain applicants unable to participate in the amnesty because they were outside the continental United
States, an opportunity to register unregistered firearms. Individuals on vacation, or serving overseas in the
U.S. armed forces, may have been unaware of and unable to register their firearms due to the relatively
short, 30-day amnesty period.
120
          U.S. Department of the Treasury, Office of Inspector General, Work Papers C, A-CH-98-001, at
C-18, available at http://www.nfaoa.org/documents/Work_Papers_C.pdf at 33-34.
121
          U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, (Washington, Dec. 18, 1998) available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf.
122
          Id. at 1-23.


                                                      31
                                                                                                        Exhibit A, Pg. 350
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that all of the entries had been transferred in order to make the registry complete for its

intended use.”123[emphasis added]. The audit found, “An initial review by the OIG

showed that the prior registry reflected a total registration of 2,545,425 compared to a

total registration of 2,548,918 in the new database.”124 Thus, the registry mysteriously

grew by 3,493 entries. However, the Work Papers for this audit tell a much different

story: “[redacted] also provided an additional report, Weapon Inventory of Current

Owner. The total weapons count for this report is greater than the Annual Registration

Activity Report. The variance between the two reports is 212,734.”125

         The audit declared, “ATF officials advised us that in September 1997, they had

reconciled the two databases, but they did not keep any record of it.”126 [emphasis added].

Thus, the BATFE denied the Treasury Department Inspector General the ability to

determine the truth value of their statement. Instead, in June of 1998, the BATFE did its

own audit of the reconciliation and, “ATF reported to us that 407 records (entries) from

the old database were not found in the new database.”127 Thus, these are just the records

to which were known; this audit does not depict all those records which were missing or

destroyed, although properly registered. Specifically, consider the statement by a

Treasury IG auditor Gary Wilk in an unpublished audit Work Paper that in repeated

efforts to reconcile the “discrepancies observed” during the audit, BATFE did not clearly

“demonstrate that the computer system, typically in use, provides reliable and valid data


123
          Id. at 10.
124
          Id. at 11.
125
          U.S. Department of the Treasury, Office of Inspector General, Work Papers C, A-CH-98-001, at
C-37 available at http://www.nfaoa.org/documents/Work_Papers_C.pdf at 65.
126
          U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, at 11 (Washington, Dec. 18, 1998) available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf.
127
          Id.


                                                   32
                                                                                                 Exhibit A, Pg. 351
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when a search is performed. ATF did demonstrate that they have the capacity to generate

various information from various sources but the original documentation remains missing

and the accuracy of the documentation provided cannot be assured.”128

         More troubling is the audit report’s statement, “In addition to the discrepancies

between the old and the new databases, we observed discrepancies between the database

and original registration documents.”129 The audit report went on to state concern with a

registration category labeled “Other” where, “If form numbers were incorrectly entered

into the registry, the entry would also be included in this category.”130 Yet another

concern was the use of a Form 4467, which was used by the BATFE to register firearms

during the 1968 Amnesty.131 Thus, if the BATFE does a search for a Form 4, which is

the typical form used for transfer to an individual, the search would not yield a result, if

the form had been entered in the “Other” or “4467” categories.



         The audit report continued,

         ATF has certain formal procedures for entering data into the registry’s
         database. However, the data entry errors such as those we found in our
         sample occurred because employees had not correctly entered some data.
         Also, supervisors or other employees did not always verify data entered
         into the database because of time limitations and other priorities. In
         response to our draft report, ATF officials also believed that discrepancies
         summarized in our table may be data entry errors and/or failures to enter
         information in accordance with established procedures.132

128
          U.S. Department of the Treasury, Office of Inspector General, Work Papers F, A-CH-98-001, at
F-52, available at http://www.nfaoa.org/documents/Work_Papers_F.pdf at 62. These findings, while
limited to Forms 4467, cannot depict the true accuracy and completeness of the NFRTR. No search,
however diligent, can possibly locate a document that has been lost or destroyed.
129
          U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, at 11 (Washington, Dec. 18, 1998) available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf.
130
          Id.
131
          Id.
132
          Id. at 12.


                                                   33
                                                                                                 Exhibit A, Pg. 352
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         Thus, these “errors” may cause a search of the NFRTR to fail to locate numerous

legally registered firearms; this audit finding is virtually identical to determinations made

by the Department of Justice Inspector General in its June 2007 report on a “review” of

the NFRTR.

         Incredibly, even in light of this evidence of NFRTR inaccuracies, “ATF officials

conclude that none of the identified discrepancies would affect the accuracy of a

certificate of non-registration prepared by the NFA Branch for use in support of a

criminal prosecution in United States district court.”133 The report continued, “[A]TF

stated that it can identify all records that might possibly be the record sought,”134 which

contradicts the BATFE’s admittance that it lost all of Mr. Napolilli’s records,135 the

destruction of numerous NFA documents 10 years ago,136 and those 407 missing

records.137 Lastly, it must be noted that the samples drawn by the auditors were smaller

than those that would ordinarily be drawn to establish standard estimates of precision and

confidence.

         As explained in the report, “Because of the error rate we found in our discovery

sample and actions that ATF had underway to improve the quality of the registry, we did

not implement a full statistical sampling plan.”138 While this was the only information


133
          Id. at 13.
134
          Id.
135
          Letter from Wayne Miller, Chief, National Firearms Act Branch, Bureau of Alcohol, Tobacco and
Firearms to James H. Jeffries III, dated Sept. 18, 1992, available at http://www.nfaoa.org/documents/ATF-
WayneMillerLetter-1992.pdf.
136
          U.S. Department of the Treasury, Office of Inspector General, Special Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearm’s Registration and Recordkeeping of the
National Firearms Registration and Transfer Records, OIG-99-009, at 1 (Washington, Oct. 26, 1998)
available at http://www.nfaoa.org/documents/TreasuryOIG-99-009-1998.pdf.
137
          U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, at 11 (Washington, Dec. 18, 1998) available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf.
138
          Id. at 23.


                                                   34
                                                                                                   Exhibit A, Pg. 353
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provided to the public, the Work Papers, once again, explain why neither the actual error

rate was listed, nor was the full statistical sampling plan implemented, in a discussion of

audit findings the Treasury Department Inspector General omitted from the final reports.

         Of the 528 records and documents reviewed: We discovered a total of 395
         errors or omissions of which 176 were Critical to the NFA mission and the
         remaining 219 were Administrative…We were unable to adequately
         identify 14,301 Unknown records contained within the category ‘Other.’
         These records have subsequently been tentatively identified as 9,621
         miscoded Form 6 and 4,680 unknown (database conversion errors).139
         Hence, the overall error rate, without consideration for the “Other” category, was

74.8%, and Critical error rate was 33.3%. To better understand the distinction between

Critical and Administrative errors, “[T]he name of the weapon owner and the weapon

serial number were critical,” but “[T]he address, date the document was received, the date

of birth of the applicant, and weapon description were [not] critical;” hence, not critical

has been termed Administrative.140 More interesting, to this end, is the fact that “Table 3:

Sampling Results: Error Rate Estimates” has been completely redacted.141

         In a “Discovery” sample of seventy Form 4467s, the Treasury Department

Inspector General determined that “Our discovery sample indicated an 18.4% error rate,

one error per error Form 4467 in a ‘critical’ field.”142 Because of concerns that the

“critical error” rate was too high, the BATFE staff told the Treasury Department

Inspector General’s auditors to use different definitions of “critical error” to determine

the 4.3% error rate that can be calculated from data that the OIG formally reported;




139
          U.S. Department of the Treasury, Office of Inspector General, Work Papers H, A-CH-98-001, at
H-0, available at http://www.nfaoa.org/documents/Work_Papers_H.pdf at 28.
140
          U.S. Department of the Treasury, Office of Inspector General, Work Papers F, A-CH-98-001, at
F-37 available at http://www.nfaoa.org/documents/Work_Papers_F.pdf at 48.
141
          U.S. Department of the Treasury, Office of Inspector General, Work Papers H, A-CH-98-001,
available at http://www.nfaoa.org/documents/Work_Papers_H.pdf at 35.
142
          Id. at H-1, PDF at 32-60.


                                                   35
                                                                                                 Exhibit A, Pg. 354
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namely, 6 critical errors out of a “Discovery” sample of 141 cases.143 There is evidence

that in other, different, internal BATFE efforts in 1995 to reduce the error rate in the

NFRTR, the BATFE staff manipulated the definition of “Significant Error,” including

“Approved wrong firearm to transferee,” “Approved form never updated in NFRTR,”

and “Misspelled and/or Incomplete names,” by simply redefining these as an “Error”144

         The discrepancy between the OIG and BATFE’s definition of “critical error”

requires an examination of the Congressional Intent for a definition of “critical error.”

The Congress, in 1968, defined “critical” information as: “(1) the identification of the

firearm, (2) date of registration, and (3) identification and address of the person entitled

to possession of the firearm.”145 Therefore, since the Congress felt these factors were

crucial to the database, it was Congress’s intent that the absence of, or error in, any of

these data fields correlates to a “critical error.” This definition is likely to yield a much

higher error rate; thus, the BATFE is unlikely to support such a determination, even

though the definition represents the original Congressional intent.

         Eric M. Larson, a Senior Analyst at the U.S. Government Accountability Office,

whose complaint in his capacity as a private citizen to the House Committee on

Government Reform and Oversight resulted in the 1998 audits of the NFRTR, agreed that

the above are critical errors, “but they represent only the barest minimum guideline




143
           Id.
144
           Eric Larson, Work Papers on Errors in the National Firearms Registration and Transfer Record,
and Other Issues Regarding the Bureau of Alcohol, Tobacco, and Firearms, at 38 (Apr. 2. 1999), available
at http://www.nfaoa.org/documents/ATF_Significant_Error.pdf. That is just a portion of the entire Work
Papers, which can be found here: http://www.nfaoa.org/documents/Critiqueof1998IGreports.pdf.
145
           U.S. Congress, Senate Committee on Judiciary, Report No. 1501: Gun Control Act of 1968, 90th
Cong., 2nd Sess., at 42 (1968), available at http://www.nfaoa.org/documents/SenateReport1501-
GCA1968.pdf.


                                                   36
                                                                                                  Exhibit A, Pg. 355
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standards.”146 Mr. Larson continued, “To be accurate and reliable, ‘the identification of

the firearm’ should include (1) serial number, (2) manufacturer, (3) name or model

number of firearm, and (4) type of firearm (machine gun, short-barreled shotgun, any

other weapon, and so forth).”147 Furthermore, “The ‘identification and address of the

person entitled to possess the firearm’ should include correct spelling of at least the last

name, and a current address.”148

         While Mr. Larson’s guideline standards are more encompassing, the BATFE

appears to have determined that even those guideline standards were not sufficient as

critical fields in its interpretation of the Congressional mandate for the 1968 Amnesty and

included the registrant’s date of birth, social security number and other information.

Accordingly, in the January 1969 edition of Title 26 C.F.R, Section 179.201, the BATFE

declared,

       The return, Form 4467, shall show the name, address, place of business or
       employment, employer identification number or social security number,
       and date of birth of the registrant, the date the firearm was acquired, the
       place where the firearm usually is kept, the name, and address of the
       manufacturer, the type, model, length of barrel, overall length (when
       applicable), caliber or gauge, serial number, and other identifying marks
       of the firearms, and if an unserviceable firearm, the manner in which it
       was rendered unserviceable. Upon registering the firearm, the Director
       shall retain the original Form 4467 as part of the National Firearms
       Registration and Transfer Record.149 [emphasis added].
It seems a failure of due diligence for BATFE to fail to determine that the information

specified in the 1969 regulations is not “critical” information in audits of the NFRTR,


146
          Letter from Eric M. Larson, Response to Questions asked by Joshua Prince, to Joshua Prince, at
4, dated Jan. 1, 2008, available at
http://blog.princelaw.com/assets/2008/1/5/Eric_Larson_letter_to_Joshua_Prince.pdf. Mr. Larson stated that
his comments reflect his personal opinions, and do not represent the policy or position of the U.S.
Government Accountability Office (GAO).
147
          Id.
148
          Id. at 4-5.
149
          26 C.F.R. 179.201 (1969), available at http://blog.princelaw.com/assets/2008/1/9/1969-CFR-
ATF-amnesty-regs.pdf.


                                                    37
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when it specifically interpreted its Congressional mandate to require the Director to

collect this information on the Form 4467s to implement the 1968 amnesty, which was

designed to register unregistered firearms and reliably identify them and their owners.150

         Nevertheless, given the evidence auditors discovered that the NFRTR was

inaccurate and incomplete, it is astonishing that the Treasury Department Inspector

General sought to distance himself from the issue of whether the NFRTR was accurate

enough to sustain criminal prosecutions:

         Our [audit] scope did not include a review of the accuracy of ATF’s
         certifications in criminal prosecutions that no record of registration of a
         particular weapon could be found in the registry. We also did not evaluate
         the procedures that ATF personnel use to search the registry to enable
         them to provide an assurance to the court that no such registration exists in
         specific cases. Accordingly, this report does not provide an opinion as to
         the accuracy of the registry searches conducted by ATF.151
         In 1998, the issues surrounding accuracy, or lack thereof, the NFRTR did not end

with the 1998 audit. Robert I. Landies, an Ohio firearms dealer, contacted the BATFE in

1998 regarding the fact that they had transferred NFA firearms for which he had not

submitted transfer applications, experienced “misplacement of transfer applications by

ATF,” and “receipt of approved registrations for firearms which do not appear in the

NFRTR.”152 The BATFE responded, “The implementation of a new database and the

realignment of branch functions and duties have significantly impacted upon the

150
           In the light of trends toward using biometric identifiers, a gradual tightening of standards to
acquire state-issued identification and related documents, such as driver's licenses, particularly under
provisions of the Real ID Act, it may be advisable for the NFRTR to formally comply with federal
provisions for positive identification that are and will be implemented in future, in its standards for
positively identifying owners of NFA firearms. Similarly, BATFE might consider establishing standards
for the reliable identification of individual NFA firearms
151
           U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, at 4 (Washington, Dec. 18, 1998) available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf.
152
           Letter from Jimmy Wooten, Assistant Director, Firearms, Explosives &Arson, Bureau of Alcohol,
Tobacco and Firearms, to Robert I. Landies, Ohio Ordnance Works, dated May 26, 1998, bearing symbols
F:SD:NFA:WJO 179.101 98-5593, available at
http://www.nfaoa.org/documents/LandiesLetterNFRTR1998.pdf.


                                                    38
                                                                                                   Exhibit A, Pg. 357
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processing of applications and notices in recent months.”153 The BATFE completely

sidestepped the issues of missing records in the NFRTR and transfers of NFA weapons to

other individuals, when no application for transfer was submitted. Yet, the BATFE

contends that the database is accurate.



                                              E. 1999-2002



         In 1999, the Disclosure Division of BATFE stated, in response to a FOIA request,

that the NFRTR data records submitted to the Department of Treasury Inspector General

were not accurate: “The report you refer to was submitted to the Inspector General of the

Treasury, with the understanding that the report was not accurate, because some of the

report functions associated with the database [NFRTR] are not working properly.”154

[original emphasis]. The BATFE continued, “Our letter dated April 20, 1999 advised you

of the inaccuracies we are still experiencing.”155 [emphasis added]. Thus, the Disclosure

Division, with responsibility to produce NFRTR records, contradicts the BATFE’s

statement in the 1998 audit that the NFRTR was accurate.156

         In 2000, concerned about BATFE’s answers to three questions it posed about

errors in the NFRTR, the House Subcommittee on Treasury, Postal Service, and General


153
          Id.
154
          Letter from Averill P. Graham, Disclosure Specialist, Bureau of Alcohol, Tobacco and Firearms,
to Eric M. Larson, dated May 18, 1999, bearing symbols 112000 99-1420, available at
http://www.nfaoa.org/documents/AverillGrahamletter1999.pdf.
155
          Id.
156
          U.S. Department of the Treasury, Office of Inspector General, Audit Report on Allegations
Concerning the Bureau of Alcohol, Tobacco, and Firearms’ Administration of the National Firearms
Registration and Transfer Record, OIG-99-018, at 13 (Washington, Dec. 18, 1998), available at
http://www.nfaoa.org/documents/TreasuryOIG-99-018-1998.pdf. “ATF officials conclude that none of the
identified discrepancies would affect the accuracy of a certificate of non-registration prepared by the NFA
Branch for use in support of a criminal prosecution in United States district court.” Id.


                                                     39
                                                                                                      Exhibit A, Pg. 358
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Government Appropriations, which requested Dr. Fritz J. Scheuren, an internationally

recognized expert in administrative records and statistics, to evaluate the BATFE’s

responses to three questions asked by the Subcommittee.157 Dr. Scheuren, then affiliated

with The Urban Institute, more recently a past President of the American Statistical

Association and currently Vice President, Statistics, National Opinion Research Center,

University of Chicago, told the Subcommittee, regarding the technology question: “. . .

that very serious problems were uncovered in ATF’s recordkeeping systems. In fact, in

my own long experience [after reading the two Treasury Department Inspector General

audit reports on the NFRTR], I cannot think of any instance where poorer results were

obtained.”158 For the remaining questions on searchability of the NFRTR and heirs who

inherit firearms, Dr. Scheuren “found the ATF answer to be unresponsive and too general

to be useful,” and that “ATF indicated that it has no system to identify or track the

firearm transfers to heirs,” respectively and was thus unable to answer the

Subcommittee’s questions.159 Dr. Scheuren concluded:

       I can only offer a qualified opinion on the ATF's answers but if their
       responses are to be taken at face value, two conclusions arise: (1) ATF has
       serious material weaknesses in its firearm registration system which it has
       yet to acknowledge, and (2) the ATF steps taken to improve its
       recordkeeping system clearly lack thoroughness and probably lack
       timeliness as well.160
Dr. Scheuren offered three recommendations: 1. The BATFE should allow for outside,

independent audit organizations to give a more complete assessment; 2. the audits should


157
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 3, Statements of Members of Congress and Other Interested
Individuals and Organizations, 107th Cong., 1st Sess., at 23-26 (Washington, GPO, 2001), available at
http://www.nfaoa.org/documents/FritzScheuren.pdf. To see Dr. Scheuren’s resume, please find it at
http://www.nfaoa.org/documents/Scheuren_Resume_July_2007.pdf.
158
          Id. at 24
159
          Id.
160
          Id. at 25.


                                                   40
                                                                                                   Exhibit A, Pg. 359
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be annual; and 3. the BATFE needs to implement some form of check to determine if an

individual, who owns a registered NFA weapon, died during that year.161 The BATFE,

however, at a separate appropriations hearing on its budget, rejected Dr. Sheuren’s

suggestions; for example, it stated that “strong internal controls for the NFRTR” would

result from improvements it was making, rendering an audit unnecessary, and declined to

specifically answer other questions.162

         Then, in 2001, in responding to a concerned citizen, the BATFE stated, “This is in

response to your undated letters to the Bureau of Alcohol, Tobacco, and Firearms (ATF)

requesting a guarantee, either by letter or notarized statement, from ATF that your

registered National Firearms Act (NFA) firearms will never be confiscated as

contraband.”163 [emphasis added]. The BATFE continued, “We will not provide you with

such a guarantee.”164 [emphasis added]. One can only read such a statement in utter

confusion and disbelief. The BATFE has approved the transfer of a weapon; yet, it will

not guarantee it is lawful? What is the purpose of the BATFE’s approval if such is not a

guarantee? How can the BATFE approve an application by a law-abiding individual, only

to later classify the firearm as contraband and turn the individual into a criminal? While it

is conceivable that the statutory law may change prohibiting the ownership of such

firearms, a guarantee could be given based on statutory law remaining the same.

Nonetheless, it is clear that the BATFE does not wish for the Congress and Judiciary to

answer these questions.

161
          Id.
162
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 1, 107th Cong., 1st Sess., at 478 (Washington, GPO, 2002),
available at http://www.nfaoa.org/documents/NFRTRdocpack.pdf.
163
          Letter from Arthur Resnick, Chief, National Firearms Act Branch, to [redacted] bearing symbols
901040:GS, 5320/2001-0161, available at http://www.nfaoa.org/documents/NoGuarantees.pdf.
164
          Id.


                                                    41
                                                                                                   Exhibit A, Pg. 360
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         Congress’ concern over the accuracy and reliability of the NFRTR resulted in the

following “report language” in BATFE’s Fiscal Year 2001 appropriation:165 “To address

the NFRTR accuracy problem in part, Congress appropriates $500,000 to improve ATF’s

‘operations, electronic filing systems, and database accuracy for the National Licensing

Center, Imports Branch, and the NFA Branch’ for each fiscal year, 2001 and 2002.”166

The language of the Fiscal Year 2003 appropriations report indicated the continuation of

such funding.167

         In 2002, the Treasury Department Inspector General initiated a new audit of the

NFRTR.168 The purported purpose of this audit was to determine “Has ATF taken

appropriate steps to improve the completeness, accuracy, and processing times of the

NFRTR.”169 However,

         On December 10, 2004, a former IG staff member who worked on the
         original 1997-98 audits of the NFRTR, and also been assigned to work on
         the new 2002 audit, said that the audit team was told to terminate this
         audit before it was completed; box up the materials and ship them to the
         IG; and that none of the audit materials were turned over to the
         Department of Justice Inspector General when ATF was transferred to the
         Department of Justice on January 24, 2003. Consequently, it appears that
         the Department of Justice Inspector General may not be aware of the
         problems with and Congressional concerns about the accuracy and
         completeness of the NFRTR data base.170

                                           F. 2003-2007


165
           Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Trasfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, at 16 (quoting H.Rept. 106-765 (H.R. 4871), at 23-24), available at
http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf.
166
           Id. (quoting H.Rept. 107-152 (H.R. 2590), at 20).
167
           Id.
168
           U.S. Department of the Treasury, Office of Inspector General, Annual Plan Fiscal Year 2003,
available at http://www.nfaoa.org/documents/TreasuryIG2003auditofNFRTR.pdf.
169
           Id. at 74.
170
           National Firearms Act Owners Association [NFAOA], http://www.nfaoa.org/resources.html, click
ATF and Department of Treasury Inspector General investigations and audits of the NFRTR, and related
documents, text of: Treasury IG starts new audit of NFRTR in 2002, then terminates it before completion
(last visited on Nov. 3, 2007).


                                                  42
                                                                                                 Exhibit A, Pg. 361
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          The Department of Justice Inspector General did not address completeness and

accuracy of the NFRTR, until 2007, when it published a report of a limited review of the

NFRTR. There was no evidence the IG considered the 2005 testimony of BATFE

Inspector George Semonick in U.S. v. Wrenn, regarding the condition of the NFRTR.171

Inspector Semonick testified under oath that "there was a discrepancy" between firearms

records maintained by defendant Wrenn and those maintained in the NFRTR.172 He also

confirmed "that the records, the records kept by ATF, were deficient."173

          In 2005, the Congressional Research Service [CRS], in response to a request by

Rep. Jim Gibbons, issued a memorandum on the “accuracy, completeness, and

reliability,” of the NFRTR, which summarized most Congressional hearing records, OIG

reports, other documented concerns of the NFRTR’s inaccuracy, and juxtaposes the

arguments BATFE offers against a future amnesty with rejoinders, which will be

addressed in the section Amnesty: the Nexus between the Congressional Intent and the

Inaccuracy of the NFRTR.174 There is no mention of, or evidence that, the Department of

Justice Inspector General considered the CRS memorandum on the NFRTR in its 2007

report.

          The 2007 review by the Department of Justice Inspector General found, “[T]hat

since 2004, the NFA Branch has improved significantly the timeliness of both processing

NFA weapons applications and responding to customer inquiries. However, continuing



171
         U.S. v. Wrenn, No. 1:04-045 (D.S.C. Nov. 8 2005); Transcript of Record, U.S. v. Wrenn, No.
1:04-045 (D.S.C. Nov. 8 2005), available at http://www.nfaoa.org/documents/SemonickTestimony.pdf.
172
         Transcript of Record at 22, U.S. v. Wrenn, No. 1:04-045 (D.S.C. Nov. 8 2005), available at
http://www.nfaoa.org/documents/SemonickTestimony.pdf.
173
         Id.
174
         Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Trasfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, at 1, available at http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf.


                                                  43
                                                                                                 Exhibit A, Pg. 362
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management and technical deficiencies contribute to inaccuracies in the NFRTR

database.”175 [emphasis added]. The report declared,

       Several NFA Branch personnel described the NFRTR programming as
       obsolete, or becoming obsolete, and identified flaws that make it difficult
       to work with the database and to ensure that decisions based on NFRTR
       reports and queries are correct. The flaws include: (1) older NFRTR
       records with empty data fields can improperly exclude the records from
       search results, (2) the NFRTR can erroneously generate two separate
       records for one weapon, (3) the system lacks controls to prevent
       inconsistent data entry, (4) the system lists incorrect owners of NFA
       weapons on queries and reports, and (5) when multiple weapons are
       registered on a single form, a change entered in the NFRTR for one
       weapon incorrectly applies the change to all the weapons listed on that
       form.176
Furthermore, the report states, “[T]he NFA requires owners to retain the approved NFA

weapons application form as proof of a weapon’s registration and make it available to ATF

upon request. If the NFA weapons owner can produce the registration paperwork, ATF

assumes the error is in the NFRTR and fixes it in the database.”177 [emphasis added]. Thus,

the DOJ Inspector General determined that the NFRTR is inaccurate because firearm

registrations are missing; hence, it logically follows that some legally registered firearms

would not be identified in a diligent search of the NFRTR. This clearly exposes an

individual, who lost his/her paperwork, to the hazards of unwarranted federal prosecution,

due to the inaccuracy of the NFRTR.

         With regards to the Congressional money earmarked to correct the inaccuracies in

the NFRTR,

175
          U.S. Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco,
Firearms and Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at iii (June
2007), available at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.
176
          Id. at viii.
177
          Id. at 31. The report fails to define what it terms “the error . . . in the NFRTR;” logically, it could
only mean that BATFE (1) failed to update the record of an approved transfer of a registered firearm,
having lost its copy of the approved transfer; (2) lost all records of the registered firearm, as occurred in the
Napolilli case; and/or (3) some other situation whereby BATFE was unable to locate the record of a
registered NFA firearm. Presumably, a FOIA request for Work Papers from this “review” of the NFRTR
could clarify this critical issue, but the DOJ has refused the portion of my FOIA seeking such Work Papers.
An appeal is pending.


                                                       44
                                                                                                          Exhibit A, Pg. 363
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       ATF received budget allocations in fiscal year (FY) 2001 and FY 2002 for
       FIT [Firearms Integration Technology]; however, ATF reallocated the
       funding to another priority mission, which exhausted the funding by 2004.
       Any continued work on FIT was dependent on congressionally earmarked
       funds (which were exhausted during 2005) and the acquisition of specific
       funds to perform specific tasks.178
The report continued on that a special “Information Technology Specialist” position was

established to “determine the best approach to correcting errors in NFRTR records.”179

Thus, as of 2007, the DOJ-OIG and BATFE acknowledge that the NFRTR is inaccurate.

Nonetheless, the report concluded,

         Despite the concerns of both the citizens who wrote the letters to Congress
         that prompted our review and federal firearms dealers that errors in the
         NFRTR leave them vulnerable to unwarranted sanctions and criminal
         charges, we concluded, based on ATF documents and interviews with
         ATF personnel and NFA weapons industry representatives, that errors in
         NFRTR records have not resulted in inappropriate criminal charges
         against individuals or licensees.180
         What is left unsaid in the 2007 report is what occurs when the BATFE decides to

prosecute individuals on a charge of Possession of an Unregistered Firearm; to encourage

the “voluntary abandonment” of firearms to ATF; or to seize and forfeit firearms for

which ATF claims it can find no registration record in the NFRTR. It would be illogical

for the BATFE to prosecute individuals who were able to procure copies of their NFA

registration paperwork. But, what about those who could not because such paperwork

was lost, due to misplacement, flood, fire, or other acts of God? What happened in those

cases? The 2007 report does not say, and the Department of Justice Inspector General

apparently declined to try and find out, demonstrating a failure of due diligence.

         The methodology of the 2007 report is also troubling because it appears to rely on

statements by the BATFE staff that uses the NFRTR, to characterize the accuracy and


178
         Id. at viii.
179
         Id.
180
         Id. at x.


                                             45
                                                                                       Exhibit A, Pg. 364
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completeness of the NFRTR, rather than to conduct an audit according to GAGAS. A

more conclusive and reliable way to conduct an audit or review of the accuracy and

completeness of the NFRTR would be to (1) obtain a random sample of federally

licensed NFA firearms dealers, (2) visit each dealer and conduct an independent

inventory of NFA firearms in stock, and (3) compare those lists to records of firearms in

the NFRTR. Such a reverse check on the NFRTR would likely yield a better

characterization of the accuracy and completeness of the NFRTR than occurred by using

the Department of Justice Inspector General’s methodology in its review of the NFRTR.

         While the report is appropriately characterized as a “review” rather than an audit,

no doubt for that reason, it is still striking how inaccurate the NFRTR data are reported to

be, and that the NFRTR data were – as will be discussed shortly – “These errors affect

the NFRTR’s reliability as a regulatory tool when it is used during compliance

inspections of federal firearms licensees.”181 The DOJ-OIG’s failure to investigate the

effect of these errors when the NFRTR is used to prosecute citizens for Possession of

Unregistered Firearm seems like a failure of due diligence.

         Clearly, the Inspector General’s report is inappropriately based merely on an

assumption of trustworthiness of BATFE statements, rather than independent verification

of such statements based on scientific sampling procedures and application of GAGAS,

and estimating true “critical error” rates. How can one conclude that errors in the NFRTR

records have not resulted in inappropriate criminal charges against individuals or

licensees, when 1. the absence of a record could clearly not be known, if it is missing

from the NFRTR, as the DOJ-OIG determined; 2. the absence of the record of a

registered weapon, caused ATF to suspect Noel Napolilli of counterfeiting the
181
         Id. at iii.


                                              46
                                                                                         Exhibit A, Pg. 365
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registration document he produced, and later to determine the firearm was contraband in

the absence of documents that could have settled its classification definitively;182 3. then

BATFE NFA Branch Chief Busey’s statement that the accuracy rate, prior to his

directorship, was at 49-50%;183 4. the loss of 475 records of one J. Curtis. Earl;184 and 5)

at least three OIG reports that reliably document “critical errors” in the NFRTR? Clearly,

as Mark Twain said, “The more you explain it, the more I don't understand it.”185 How

the DOJ-OIG comes to this conclusion, in light of the aforementioned instances, is a

mind boggling wonder of the world. Furthermore, as the DOJ-OIG declares, “[T]he

NFRTR database has technical problems, and its software programming is considered by

the NFA Branch to be flawed. The lack of consistency in processing procedures,

combined with database technical issues, results in errors in records, reports, and queries

produced from the NFRTR that affect its reliability.”186

         The only conclusion, which makes sense, is that the DOJ-OIG sought to protect

the BATFE; yet, the DOJ-OIG could not perjure itself to completely protect the BATFE.

The fact that the DOJ-OIG declares the NFRTR to be inaccurate; yet, refuses to

acknowledge that law-biding citizens may have had criminal charges brought against

him/her, is a continuing failure of logic and of due diligence by federal law enforcement.

182
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1999, Part 5, Testimony of Member of Congress and Other Interested
Individuals and Organizations, 105th Cong., 2nd Sess., at 33-34 (Washington, GPO, 1998), available at
http://www.nfaoa.org/documents/NoelNapolilli.pdf.
183
          BATFE/NFRTR Roll Call Training Video, Oct. 1995, available at
http://www.nfaoa.org/documents/rollcall_highlights.mp4 or as text
http://www.nfaoa.org/documents/BuseyTranscript.pdf.
184
          Letter from David T. Hardy, Esq., to Ernest S. Istook, Jr., Chairman, Subcommittee on Treasury,
Postal Service and General Government, dated April 10, 2001, available at
http://www.nfaoa.org/documents/BardHard.pdf.
185
          Mark Twain
186
          U.S. Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco,
Firearms and Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at 11 (June
2007), available at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.


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         This report also inquired as to training of new individuals, who would input

information into the NFRTR.

        One Examiner described the training as ‘sloppy’ and further stated:
        ‘Someone [a more experienced staff member] would sit with the new
        Examiners on occasion to go over how to use the NFRTR, but it was not
        for a long time and was not consistent . . . . Examiners just started working
        on the computer.187
Yet, these are the employees upon whom law-abiding individuals rely upon to do their

job with the utmost accuracy. An erroneous entry can result in an innocent citizen being

criminally charged; however, as the report would have one believe, this is a fallacy. I

proffer that the DOG-OIG try to explain this alleged fallacy to Mr. Napolilli, who was

unjustly deprived of valuable personal property, and all those others who are in jail

because they lost their paperwork. Incredibly, the report states:

       Staff members told us that as a result of inadequate and unstructured
       training at the beginning of their employment, they were uncertain how to
       use the NFRTR, lacked skill in processing the applications or conducting
       searches, were not familiar with the NFA, and did not have all the
       information necessary to accomplish their jobs. Staff stated that it was
       difficult to become familiar with the NFRTR and navigate through the
       database, a vital skill needed to process applications and conduct records
       checks. One Examiner told us that because of poor training not all staff
       members are “on the same page” on how they approach the work and
       applications may be processed incorrectly. 188 [emphasis added].
The report determined that, “Incomplete and inaccurate training leads to errors in the

NFRTR and in decisions based on the NFRTR.”189

         The most important implication for the NFRTR is the report’s finding: “If the

NFA weapons owner can produce the registration paperwork, ATF assumes the error is in

the NFRTR and fixes it in the database,” because it fulfills the Department of Justice




187
         Id. at 21.
188
         Id. at 21-22.
189
         Id. at 22.


                                              48
                                                                                        Exhibit A, Pg. 367
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standard, articulated to the Congress in 1979, for requiring a new amnesty period.190

Specifically, if the BATFE determines that "a particular individual or weapon is

registered" and BATFE finds that its "files are missing," then "the only solution would be

to declare another amnesty period.”191 Unfortunately, the Department of Justice Inspector

General fails to address this critical point anywhere in its “review” of the NFRTR,

despite its outrageous finding that “files are missing” from the NFRTR. As Firearms law

expert and attorney Stephen P. Halbrook commented: “[I]f the owner or the executor of a

deceased owner cannot find the registration paperwork, which may be lost or destroyed,

and if the record cannot be found in the NFRTR, then a voluntary abandonment of the

firearm may be inducted or even a criminal prosecution initiated. On such issues the

report is not sufficiently informative.”192

         In an effort to obtain current expert opinion on the accuracy of the NFRTR, I

contacted Dr. Fritz Scheuren, an internationally recognized expert in administrative

records and statistics and asked if he would be willing to update his 2000 Congressional

Testimony and opine whether the NFRTR is sufficiently accurate to be used as evidence

in a criminal proceeding.193 He graciously responded to my request by sharing his

thoughts and forwarding his updated findings to House of Representatives, Subcommittee


190
          Id. at 31.
191
          U.S. Department of Justice, Criminal Division, Memorandum: Response to letter from Senator
McClure, by Philip B. Heymann and Lawrence Lippe, Nov. 29, 1979, at 4, available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.
192
          STEPHEN HALBROOK, FIREARMS LAW DESKBOOK, 545 (Thomson/West 2008).
193
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 3, Statements of Members of Congress and Other Interested
Individuals and Organizations, 107th Cong., 1st Sess., at 23-26 (Washington, GPO, 2001), available at
http://www.nfaoa.org/documents/FritzScheuren.pdf. To see Dr. Scheuren’s resume, please find it at
http://www.nfaoa.org/documents/Scheuren_Resume_July_2007.pdf. I also contacted other experts who
might have informed the issues addressed in this article, including former IRS Commissioner Sheldon S.
Cohen and Philip B. Heymann, co-author of the 1979 Department of Justice determination of standards
required to establish a new amnesty period, but they declined comment.


                                                   49
                                                                                                   Exhibit A, Pg. 368
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on Commerce, Justice, Science, and Related Agencies, Committee on Appropriations,

House of Representatives. Dr. Schueren wrote, “I again reviewed the NFRTR situation

and found that ATF still has serious material weaknesses in its firearm registration system

that it has failed to recognize. In my considered professional judgment, these errors render

the NFRTR questionable as a source of evidence in federal law enforcement.”194 [emphasis

added].



                        VI. The Absence of Paperwork is not a Defense



          The issue of NFA paperwork is particularly critical regarding machineguns. The

reason is that under 18 U.S.C. § 922(o), which bans the making of new machineguns, the

Government does not have to prove that a machinegun is not registered to convict the

defendant of illegally possessing it.195 The Government has only to allege that the

machinegun is illegally possessed; the defendant may only prove lawful possession

through an affirmative defense, by producing his or her approved NFA paperwork.196

Thus, despite having the means, capabilities, and Congressional mandate to ensure the

NFRTR is accurate and complete, the Government is not accountable for losing or

deliberately destroying paperwork that would exonerate an innocent defendant.197

          Where does this leave the individual who lawfully registered his/her weapon, but

due to natural disaster, such as hurricanes, wildfires, floods, and earthquakes, loses

194
          Letter to Alan B. Mollohan, Chairman, Subcommittee on Commerce, Justice, Science, and
Related Agencies, Committee on Appropriations, by Fritz J. Scheuren, VP Statistics NORC, 1 (Dec. 11
2007); available at http://www.nfaoa.org/documents/Scheuren_Committee_Chair_Letter.pdf.
195
          18 U.S.C. § 922(o); United States v. Just, 74 F.3d 902, 904 (8th Cir. 1996);
United States v. Gravenmeir, 121 F.3d 526, 528 (9th Cir. 1997); United States v. Franklyn, 157 F.3d 90, 93
(2d Cir. 1998).
196
          Id.
197
          26 U.S.C. § 5841.


                                                    50
                                                                                                    Exhibit A, Pg. 369
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his/her paperwork through no fault of his/her own? Do we as a society want these

individuals to risk life and limb to save their paperwork for fear that the Government has

lost its copy of the paperwork? What if the individual is denied access to his paperwork

due to a State of Emergency? To force an individual to risk life and limb or face

conviction and imprisonment, for a lawfully registered firearm, goes against our sense of

justness and fairness. But, how often does this occur?



                                             A. Error Letters



         An “Error Letter” is a letter sent by the BATFE to the applicant seeking to

transfer, register, or determine the status of, a NFA firearm. An Error Letter declares,

“We do not show [serial number] as being registered [in the NFRTR]. Please send proof

of ownership.”198 In my conversations with numerous dealers, they acknowledge that

these Error Letters are extremely common and most, if not all, NFA dealers have a pile of

them in their records; however, most dealers are fearful of retribution by the BATFE if

they disclose these records.199 Nevertheless, NFA dealer Saeid Shafizadeh, owner of Pars


198
           Department of the Treasury, Bureau of Alcohol, Tobacco, and Firearms, Error Letter,
C:F:N:ERRORLTR, available at
http://blog.princelaw.com/assets/2007/12/28/Whited_Out_Error_Letter.pdf. This letter has been redacted
(whited out) because it is personal tax information, since the NFRTR was in error, and the weapon had
been legally registered. Most individuals are fearful of sharing this information for fear of retribution.
Nonetheless, there are/have been several different forms of Error Letters, that this author is aware of, and
can be found at: http://www.nfaoa.org/documents/1999statement.pdf at 15;
http://blog.princelaw.com/assets/2007/12/28/WheatonCase.pdf at 3-4. Both of these Error Letters were in
error, meaning that the individual had legally registered the firearm and luckily had proof of the
registration.
199
           This information was obtained in private conversation between myself and six dealers. These
dealers asked to remain anonymous, due to fear of retribution. They all informed me that since they deal
with the BATFE on a daily business, their livelihoods would be at stake by disclosing the information. It
must also be noted that all Error Letters would need the approval of the past and current registrant, since it
is tax information, which cannot be disclosed without such approval, unless redacted to veil pertinent tax
information.


                                                       51
                                                                                                         Exhibit A, Pg. 370
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International, received an Error Letter in 2007, which has been misplaced, but he retained

a copy of his response to the BATFE and made it publicly available.200 In his response,

he included a copy of the BATFE approved Form 3 and asserted concerns over the

accuracy and completeness of the NFRTR.201 Most troubling is the fact that the BATFE

approved his Form 3 on April 12, 2007 and by June 4, 2007, the BATFE had no record of

the approved form.202

         Since an Error Letter is based on a determination by the BATFE that a firearm is

not in the NFRTR, meaning the BATFE takes the position that the firearm is not

registered and thus, the information about the firearm is not protected tax information,

this author submitted a Freedom of Information Act [FOIA] request for all Error

Letters.203 The BATFE denied the request, “Because all information on such registration

forms is collected under the tax code, release of this information would be in direct

violation of the Tax Reform Act.”204

         The denial of the FOIA is illogical by the plain meaning of an Error Letter, unless

the BATFE is willing to admit that all Error Letters are in error, meaning that all the

Error Letters sent by the BATFE, based on a search of the NFRTR, were sent to

individuals who possessed legally registered firearms, for which they had approved

200
           Letter to Mr. Kenneth E. Houchens, Chief National Firearms Act Branch, NFA Letter Control
Number [redacted, Title II Firearms Serial Number [redacted ], by Saeid Shafizadeh, (July 11, 2007),
available at http://www.nfaoa.org/documents/ParsLetter2007.pdf. Mr. Warren Kreiser, in a private
communication, informed me that he also received two Error Letters about one year ago, to which he
submitted BATFE approved Forms.
201
           Id.
202
           Id. It must be noted that Mr. Shafizadeh has documented numerous issue with the BATFE and
errors in the NFRTR over the years. See Mr. Shafizadeh declaration, available at
http://www.gunowners.com/ip10.htm.
203
           Letter to Ms. Alma McCoy, BATFE Disclosure Specialist, Freedom of Information Act request
for Error Letters, by Joshua Prince, (Nov. 2 2007), available at
http://blog.princelaw.com/assets/2007/12/28/Response_to_BATFE_CATEGORY_FOIA_Response.pdf.
204
           Letter to Joshua Prince, Freedom of Information Act request for Error Letters, by Alma McCoy,
BATFE Disclosure Specialist, (Dec. 14, 2007), available at
http://blog.princelaw.com/assets/2007/12/28/BATFE_Error_Letter_Response.pdf.


                                                    52
                                                                                                   Exhibit A, Pg. 371
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paperwork. However, in all likelihood, there are a mix of Error Letters which are Correct

and Error Letters which are Incorrect.

         An Error Letter which is Correct is one which correctly declares that a specific

firearm is not registered, because it never was registered. Per the BATFE’s refusal of the

FOIA, it is impossible for something that does not exist to be covered as tax information.

Pursuant to 26 U.S.C. 6103(b), tax information must fall within the definition of “return

information.”205 The absence of a record is not included in the definition of “return

information.”206 Hence, the BATFE’s response, “Because all information on such

registration forms is collected under the tax code” is immaterial, since the request was for

“Error Letters” stating that no registration exists. Thus, if no registration exists, it is not

and cannot be covered by “tax information” or any other exception to FOIA requests and

does not violate the Tax Reform Act.

         An Error Letter which is Incorrect is one where, although the NFRTR does not

show the weapon to be registered, the individual can provide proof that the weapon was

correctly registered and the NFRTR is in error.207 In essence, the Error Letter is in error,

which would connote that some of the information on these Error Letters could be

covered by the Tax Reform Act. However, the BATFE releases summary statistics of

NFRTR transactions, as well as statistics on machineguns and other NFA firearms, in the




205
           26 U.S.C. §§ 6103(b)(1)-(2).
206
           § 6103(b)(2).
207
           Department of Justice Office, Inspector General, Evaluation and Inspections Division, The
Bureau of Alcohol, Tobacco, Firearms and Explosives' National Firearms Registration and Transfer
Record, Report Number I-2007-006, Washington, D.C.: Department of Justice, June 2007, at 31, available
at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf. “Additionally, the NFA requires
owners to retain the approved NFA weapons application form as proof of a weapon’s registration and make
it available to ATF upon request. If the NFA weapons owner can produce the registration paperwork, ATF
assumes the error is in the NFRTR and fixes it in the database.” Id.


                                                  53
                                                                                                 Exhibit A, Pg. 372
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publication Commerce in Firearms.208 The BATFE, by its own actions and publications,

acknowledges that summary statistics can be disclosed, including currently registered

NFA firearms, if aggregated into large categories where individuals cannot be identified.

Thus, the BATFE legally can provide summary statistics on all Error Letters which are

Incorrect, as well as Correct, where all identifiable or protected information is redacted or

not included.

         This author filed an appeal to the BATFE’s decision, since these Error Letters

would depict the current accuracy, or lack thereof, of the NFRTR, especially since a

complete GAGAS audit has not been conducted.209 If, as many federally licensed NFA

dealers contend, the BATFE has issued hundreds, or even thousands, of these Error

Letters, it would depict to a jury the likelihood, or absence thereof, that a criminal

defendant may have legally registered his/her firearm, but the BATFE lost his/her

registration. More importantly, the fact that the number of NFA firearms registered in the

NFRTR continues to rise, may depict that the BATFE has sent out numerous Error

Letters which were in error, illustrating the inaccuracy of the NFRTR. 210



                  B. The BATFE’s Improper Denial of Exculpatory Evidence




208
           ALCOHOL, TOBACCO, AND FIREARMS BUREAU, COMMERCE IN FIREARMS IN THE UNITED STATES
(2000), available at http://permanent.access.gpo.gov/lps4006/020400report.pdf.
209
           Letter to Office of Information and Privacy, Appeal of Decision from Freedom of Information Act
request for Error Letters, by Joshua Prince, (Dec. 19, 2007), available at
http://blog.princelaw.com/assets/2007/12/28/Error_Letter_Appeal.pdf. Appeal still pending.
210
           Eric Larson, Work Papers on Errors in the National Firearms Registration and Transfer Record,
and Other Issues Regarding the Bureau of Alcohol, Tobacco, and Firearms, inserted between pages 5 and 6
(Apr. 2. 1999), available at http://www.nfaoa.org/documents/Critiqueof1998IGreports.pdf at 18-26. This
depicts that in each year, from 1992 to 1996, the total of machinegun owned in the past year, is drastically
different, sometimes a variation of over 5,000 machineguns, than the previous years declared total
machinegun owned. Id. For instance, in 1995 the total amount of machine guns owned was 21,742; yet in
1996 listing, the total number of machineguns for 1995 is 16,437. Id. at 18-20. This is a difference of 5,305.


                                                      54
                                                                                                       Exhibit A, Pg. 373
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         The BATFE’s efforts to cover up errors in the NFRTR, under conditions

applicable to the Tax Code, must be viewed in light of BATFE withholding exculpatory

information in a criminal trial under the false premise that such information was

protected under the Tax Code. Suppose BATFE wanted to convict a defendant of

Possession of an Unregistered Firearm, in a case where the defendant, through no fault of

his or her own, lost the NFA paperwork on his or her firearm, and BATFE had such

paperwork and decided not to disclose it, knowing that would ensure the defendant’s

illegal conviction? The BATFE’s conduct in a recent criminal case illustrates that

BATFE is capable of doing just that.

         In U.S. v. Olofson,211 “Mr. Olofson, a Drill Instructor in the National Guard, was

asked by Robert Kiernicki to teach him how to shoot a firearm.”212 Mr. Olofson did so

and after Mr. Kiernicki was proficient with firearms, Mr. Olofson lent Mr. Kiernicki a

used AR-15 rifle.213 On one occasion, the rifle malfunctioned resulting in three rounds

being fired.214 The BATFE’s Firearm Technology Branch [FTB] tested the weapon and

declared, it “is just a rifle.”215 However, Special Agent in charge Jody Keeku was not

pleased with this outcome and had the firearm sent back to the FTB for a new test to be

performed with irregular, but commercially available, ammunition.216 This time, Special




211
         United States v. Olofson, No. 06-CR-320 (E.D. WI. Jan. 1, 2008). While the documents have not
yet been made available, many of the documents have been posted by Mr. Olofson at
http://www.ak47.net/forums/topic.html?b=1&f=6&t=507483&page=1.
212
         Post by Len Savage, Firearms Design Expert, available at
http://www.subguns.com/boards/mgmsg.cgi?read=638985.
213
         Id.
214
         Id.
215
         Id. This declaration is an expression declaring that the rifle is not a machinegun but a regular
semiautomatic rifle.
216
         Id.


                                                    55
                                                                                                    Exhibit A, Pg. 374
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Agent Keeku was pleased with the results. The FTB determined that it was a machinegun

when used with the special ammunition.217

         The case now becomes extremely interesting since Mr. Olofson purchased the

semiautomatic rifle from Olympic Arms, which, when manufactured, was legally

manufactured with M-16 fire control parts.218 More importantly, at the time of

manufacture, BATFE sent a letter to manufactures declaring that the use of such fire

control parts did not constitute a machinegun, because those parts, by themselves, should

not, without some major malfunction, cause the rifle to fire fully automatic.219 Moreover,

in 1986, BATFE requested that Olympic complete a “safety recall” due to the possibility

of AR-15s, previously built with M-16 fire control parts, “malfunctioning,” resulting in

the rifle going “full auto.”220

         When the defense sought to acquire the abovementioned letters, in a motion to

compel discovery, the BATFE Chief Counsel argued that for the Honorable Charles N.

Clevert to decide the relevance of or exculpatory nature of the documents, Judge Clevert

would have to see the document; however, the BATFE “claims it is privileged from

disclosing correspondence with persons or companies on guns because it is a tax issue”

under 26 U.S.C. 6103.221 More disconcerting, BATFE Chief Counsel declared, through




217
         Id.
218
         Id. The general difference between the AR-15 and M-16 is the full auto capability of the M-16;
however, it must be noted there are some AR-15s, which are full auto. There are numerous part which
make a M-16 full auto, none of which, independently, can transform a semiautomatic AR-15 into a
machinegun. When Olympic Arms manufactured the rifle in question, it was built with an M-16 trigger,
disconnector, and hammer; the combination of which, still would not transform the rifle into a machinegun.
219
         Private Correspondence with Len Savage, on file with author.
220
         Post by Len Savage, Firearms Design Expert, available at
http://www.subguns.com/boards/mgmsg.cgi?read=638985.
221
         Mr. Olofson’s recount of the events, available at
http://www.ak47.net/forums/topic.html?b=1&f=6&t=507483&page=29.


                                                    56
                                                                                                    Exhibit A, Pg. 375
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AUSA Haanstad, “The Court will have take our word, that the documents in question

contain tax information, and contain no exculpatory evidence.”222

         While it is clear that the BATFE letters are not tax information, pursuant to 26

U.S.C. 6103, the BATFE is willing to assert whatever is necessary to obtain the ends to

which it seeks. Instead of these letters informing the jurors on the BATFE’s prior

positions and the alleged failure of Olympic to comply with the BATFE’s requested

safety recall on Mr. Olofson’s rifle, Mr. Olofson was found guilty of transfer of a

machinegun.223 Is this the justice that we seek? Do we honestly want to send Mr.

Olofson, a former National Guard, to jail because his weapon malfunctioned, through no

fault of his own?

         This issue of a firearm malfunctioning, resulting in fully automatic fire, was

brought up in U.S. v. v. Aguilar-Espinosa.224 The court declared, “[T]he law is not

intended to trap the unwary, innocent, and well intentioned citizen who possess an

otherwise semi-automatic weapon that, by repeated use of the weapon, by the inevitable

wear and tear of sporting activities, or by means of mere inattention, happenstance, or

illfortune, fires more than semi-automatically.”225 If we decide to prosecute individuals

whose firearms malfunction, the results could be devastating.226 As firearms law expert

Stephen Halbrook states, “Staples illustrates that the malfunction defense is alive and

222
          Post by Len Savage, Firearms Design Expert, available at
http://www.subguns.com/boards/mgmsg.cgi?read=638985.
223
          Mr. Olofson’s recount of the events, available at
http://www.ak47.net/forums/topic.html?b=1&f=6&t=507483&page=29. See also,
http://www.wnd.com/news/article.asp?ARTICLE_ID=59650.
224
          United States v. Aguilar-Espinosa, 57 F. Supp. 2d 1359 (D. Fla. 1999).
225
          Id. at 1362-63; cited to in STEPHEN HALBROOK, FIREARMS LAW DESKBOOK, 453-454
(Thomson/West 2008).
226
          If such occurs, the law-abiding citizen whose firearm malfunctions will not seek corrective
measures, for fear of prosecution. Where will all these “malfunctioning” firearms go? Will they be buried?
Will they be thrown into the trash? Will they end up on the Black Market? Surely, none of these are a
desired result but we must be cognizant of results of our actions.


                                                    57
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well as a jury issue;”227 however, the malfunction defense will be moot if the BATFE is

allowed to dictate to the court what constitutes tax information, which, in the BATFE’s

opinion, includes legal interpretations of the law. The result of denying exculpatory

evidence will be even more devastating for a system of justice that prides itself on

ensuring that the innocent are not found guilty.



                         C. Accuracy and Completeness of the NFRTR



         How accurate is the NFRTR? Nobody outside of the BATFE knows, but a

summary table of NFRTR errors compiled from public documents is not encouraging.228

In 1994, documents released by BATFE in response to a FOIA stated an examination of

25,611 NFRTR records disclosed 1,567 “Errors” (6%) and 373 “Significant Errors” (1%)

while another 36,903 records had 2,155 “Errors” (6%); however, the BATFE changed the

definition of most “Significant Errors” to “Errors,” in an obvious effort to manipulate the

statistics.229 In 1998, the Treasury Department Inspector General used various definitions

of “critical” error, which produced different estimates, only some of which are known.230

The “critical” error rate for a sample of about 140 Forms 4467 was calculated to be 4.3%

by one definition (in the published report) and 18.4% by another definition (in



227
           STEPHEN HALBROOK, FIREARMS LAW DESKBOOK, 440 (Thomson/West 2008) (citing to United
States v. Staples, 971 F.2d 608 (10th Cir. 1992)).
228
           Summary of Errors in the National Firearms Registration and Transfer Record Disclosed in
Audits or Reviews by ATF or the Treasury Department Inspector General, 1994 to 1998, available at
http://www.nfaoa.org/documents/SummaryNFRTRerror1.pdf.
229
           Eric Larson, Work Papers on Errors in the National Firearms Registration and Transfer Record,
and Other Issues Regarding the Bureau of Alcohol, Tobacco, and Firearms, at 38 (Apr. 2. 1999), available
at http://www.nfaoa.org/documents/ATF_Significant_Error.pdf. That is just a portion of the entire Work
Papers, which can be found here: http://www.nfaoa.org/documents/Critiqueof1998IGreports.pdf.
230
           See Section V Congressional Hearings/OIG Audits, subsection d. 1998.


                                                   58
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unpublished audit Work Papers).231 The “critical” error rates for “Letter” and “Other”

categories were 8.4% and 7.9%, respectively, in the published 1998 audit report, and

were redacted completely in the unpublished audit Work Papers. It is difficult to

conclude that the NFRTR is accurate and complete from these data, but even this limited

audit work proves that the type(s) and extent of “critical” errors in the NFRTR remain

unknown.232 Given the repeated and consistent failures of the Treasury Department

Inspector General and the Department of Justice Inspector General to perform due

diligence, the only way to determine the accuracy and completeness of the NFRTR may

be to contract with an outside entity to conduct a GAGAS audit, conforming with the

Congressional intent of what constitutes a “critical” error.

         Since all prosecutions for Possession on an Unregistered Firearm are based on a

search of the NFRTR, its accuracy and completeness are crucial in any proceeding.

Accuracy relates to a determination of how accurate the data in a database must be;233

whereas, completeness ensures that “[n]o records are missing and that no records have

missing data elements.”234 Moreover, in many databases, including the NFRTR,

“[m]issing entire records can have disastrous consequences.”235 Since most of the data

errors in the NFRTR are due to data entry failures and deletions, the BATFE needs to

institute a database entry system that edits the entry “to ensure that all data entering the

database/list are of high quality.”236 More importantly, “The role of editing needs to be


231
          Id.
232
          See, Summary of Errors in the National Firearms Registration and Transfer Record Disclosed in
Results of Audits or Reviews by ATF or the Treasury Department Inspector General, 1994 to 1998,
available at http://www.nfaoa.org/documents/SummaryNFRTRerror1.pdf
233
          THOMAS N. HERZOG, FRITZ J. SCHEUREN & WILLIAM E. WINKLER, DATA QUALITY AND RECORD
LINKAGE TECHNIQUES 8 (Springer Science+Business Media 2007).
234
          Id. at 10.
235
          Id.
236
          Id. at 11.


                                                   59
                                                                                                  Exhibit A, Pg. 378
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re-examined, and more emphasis placed on using editing to learn about the data

collection process, in order to concentrate on preventing errors rather than fixing

them.”237

          A way to ensure data accuracy is through “record linkage techniques” such as

linking two or more databases. One method for ensuring accuracy is to require that all

applications be entered by at least two different BATFE examiners, into at least two

separate and distinct databases, and if the entries do not match, require the data to be re-

entered until the databases match exactly, a standard practice currently in use by survey

organizations and other entities.238 Currently, the NFRTR is a single database where

individual examiners input the information into the database. However, this is only part

of the problem with the current NFRTR.

         Since a search of the NFRTR database is deterministic, meaning a record can only

be found if it matches exactly to that which is searched, any misspellings, omissions, or

unusual characters, will result in no match.239 If, however, the database allowed for

probabilistic searches, meaning the search will yield results identical to and similar to the

search, in order from most similar to least similar, there would be a much higher

probability of finding an erroneous entry.240 Thus, it is crucial that the NFRTR database

software be modified for probabilistic searches to ensure that lawfully registered firearms

can be found, where BATFE examiners omit, or misspell data entries; otherwise, an

innocent defendant may be convicted, if he/she lost his/her paperwork, and the

deterministic search yields no results, due to errors in the original entry.


237
         Id.
238
         Id. at 11-12.
239
         Id. at 82-83.
240
         Id. at 83-92.


                                              60
                                                                                        Exhibit A, Pg. 379
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       D. Firearm Law Experts on the Absence of Paperwork and Status of the NFRTR



         Attorney Stephen Halbrook, author of Firearms Law Deskbook, and firearms law

expert, declared, “[C]ontroversy over the accuracy of the NFRTR continues unabated.

The BATF has not acknowledged the OIG’s findings of error and various discrepancies

in the NFRTR, taken appropriate corrective actions, or fully answered questions about the

NFRTR posed by the Subcommittee on Treasury, Postal Service, and general

Government.” 241 He continues,

      These errors or discrepancies include the OIG’s findings that an unknown
      number of NFA documents were destroyed by BATF contract employees;
      that ATF may not have followed correct legal procedures in registering
      thousands of NFA firearms after the amnesty period …. ; that more than
      100,000 NFA firearms are currently registered to persons who may be
      deceased.242
In August 2001, during a compliance inspection of a NFA dealer, “The BATF Examiner

determined that 60% of the NFA firearms listed in the BATF’s NFRTR computer

printout were no longer in the dealer inventory. In fact, the dealer had transferred all of

these firearms to various transferees pursuant to authorization by BATF.”243

         Most disconcerting is his determination, “[I]f the owner or the executor of a

deceased owner cannot find the registration paperwork, which may be lost or destroyed,

and if the record cannot be found in the NFRTR, then a voluntary abandonment of the

firearm may be induced or even a criminal prosecution initiated.”244 He further asserts,

“It is unclear whether the BATF is capable of correcting the errors identified by the


241
          STEPHEN HALBROOK, FIREARMS LAW DESKBOOK, 535 (Thomson/West 2008).
242
          Id. at 535-36.
243
          Id. at 538.
244
          Id. at 545.


                                              61
                                                                                         Exhibit A, Pg. 380
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OIG.”245 In 2004, a former “OIG staff member …. stated ‘We found there were still

serious problems with the NFRTR data that, to the best of my knowledge, are still

uncorrected.’”246 Mr. Halbrook asserts, “[A]n amnesty period should be declared to allow

the registration of firearms with an uncertain registration status.”247 He further advises,

“In any prosecution for NFA offenses in which lack of registration is an element of the

offense, counsel should carefully consider whether this element can be proven beyond a

reasonable doubt in the light of the above considerations.”248

         Lastly, in a 2001 letter to the House Subcommittee on Treasury, Postal Service,

and General Government, he declared, “Unless and until the BATF can conform its

records to acceptable standards of accuracy, the Subcommittee should consider

legislation to prohibit the use of the NFRTR database in civil and criminal

proceedings.”249

         Attorney Richard Gardiner, another expert in firearms law, declared,
         In my opinion, any system of records that is as unreliable as the NFRTR
         cannot be used to prove, beyond a reasonable doubt, that a particular
         firearm is not registered. Once a record is lost, no matter how good the
         record-keeping after that, the missing record makes the system unreliable
         from then on.250
         James O. Bardwell, a firearms law attorney who for nearly half a dozen years,

ending in 2001, devoted considerable effort to compiling a legal web site devoted to NFA

issues, including sections on the NFRTR, told the House Subcommittee on Treasury,

Postal Service, and General Government, Committee on Appropriations that, “Several of



245
          Id. at 539. For a full understanding of all the problems, which Attorney Halbrook states, see the
entire § 7:3 of his book.
246
          Id. at 543 (citing a telephone interview by Eric Larson).
247
          Id. at 539.
248
          Id. at 545-46.
249
          Letter to Ernest J. Istook, Chairman, Subcommittee on Treasury, Postal Service and General
Government, (Feb. 14, 2001), available at http://www.nfaoa.org/documents/2001statement.pdf at 10.
250
          Personal Communication on Dec. 24, 2007, in possession of author.


                                                      62
                                                                                                       Exhibit A, Pg. 381
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these errors [in the NFRTR] are potentially very serious, and could cause unwarranted

legal difficulties for innocent persons.”251 He continued,

       If a registration record cannot be found because the ATF misspelled the
       owner’s name, then the owner of a lawfully registered firearm …. will
       become the target of a criminal investigation. And if the owner has the
       misfortune to have lost his registration paperwork, his troubles will be
       greatly compounded.252
He advises, “An amnesty period which would allow the voluntary re-registration of these

firearms by their current owners could solve the problems. While ATF has authority

under existing laws to declare an amnesty, they are reluctant to do so without

Congressional direction.”253

         Long-time firearms attorney, and NFA expert, David Hardy, wrote to the

Subcommittee on Treasury, Postal Service and General Government, stating, “I am

writing you now because of my concern that errors in the NFRTR may result in ATF

prosecuting innocent persons and convicting them for the illegal possession of

unregistered NFA firearms, even though the firearms were in fact [lawfully]

registered.”254 Mr. Hardy continues, “I find it personally stunning that no formal

investigation has been initiated in [sic] into the accuracy and completeness of the entire

NFRTR, in light of the ATF’s admission” of losing Mr. Napolilli’s paperwork.255 He

questions, “How does the ATF know it has never lost documents before? How does ATF

know that it has not caused unlawful prosecution of innocent persons who did lawfully



251
         Letter to Ernest J. Istook, Chairman, Subcommittee on Treasury, Postal Service and General
Government, (Apr. 13, 2001), available at http://www.nfaoa.org/documents/BardHard.pdf at 2.
252
         Id. at 3. Attorney Bardwell added: "I do not understand how ATF employees can regularly offer
sworn statements in court that a given person does not have a firearm registered to him when their records
are so poorly kept, and so poorly indexed." Id.
253
         Id. at 4.
254
         Letter to Ernest J. Istook, Chairman, Subcommittee on Treasury, Postal Service and General
Government, (Apr. 10, 2001), available at http://www.nfaoa.org/documents/BardHard.pdf at 6.
255
         Id. at 8.


                                                     63
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register his firearm, and lost the registration through no fault of his own?”256 He

concludes by asking the Subcommittee to initiate an investigation into the accuracy and

completeness of the NFRTR, “because ATF has strong institutional, and undoubtedly

political, interests in not being truthful,” regarding the current accuracy, or lack thereof,

of the NFRTR.257

         Even more interesting, the State of New Hampshire, through its House of

Representatives, sent a petition letter to the Subcommittee, stating, “ATF’s failure to

correct these errors [in the NFRTR] is an insult to all law-abiding gun owners, because it

undermines the very legal protections ATF is supposed to uphold.”258 It continues,

         What would be fair, is to establish a new amnesty period to provide the
         current lawful owners of NFA firearms an opportunity to re-register those
         firearms. An amnesty seems to be the easiest way to correct many of the
         NFRTR errors. An amnesty period would give reasonable protection to
         law abiding citizens whose NFA paperwork ATF may have lost or
         destroyed.259
         Dr. Fritz Scheuren, Vice President, Statistics, National Opinion Research Center,

a former elected President of the American Statistical Association, declared that the

NFRTR is “questionable as a source of evidence in federal law enforcement.”260

Furthermore, Dr. Scheuren asserted that “(1) ATF has serious material weaknesses in its


256
           Id.
257
           Id. at 10.
258
           Letter to Ernest J. Istook, Chairman, Subcommittee on Treasury, Postal Service and General
Government, (Apr. 2, 2001), available at http://www.nfaoa.org/documents/BardHard.pdf at 12.
259
           Id. at 13. The letter concludes by stating, “We would hope that your Subcommittee will consider
strongly encouraging ATF to correct the serious errors in the NFRTR, and provide a written plan, with
priorities and timetables, stating exactly how these errors will be corrected. Included in this plan should be
an amnesty to allow law-abiding owners of NFA firearms the opportunity to re-register them so as to
remove any ‘contraband’ status that has resulted from ATF employees not following the law or procedures
in the conduct of their official duties. If ATF effuses to correct these errors in the NFRTR in a fair and open
way, We hope your Subcommittee will consider withholding ATF’s operating funds to prevent ATF from
prosecuting innocent people, or illegally seizing their valuable firearms.” Id.
260
           Letter to Alan B. Mollohan, Chairman, Subcommittee on Commerce, Justice, Science, and
Related Agencies, Committee on Appropriations, by Fritz J. Scheuren, Vice President, Statistics, National
Opinion Research Center, at 1 (Dec. 11, 2007); available at
http://www.nfaoa.org/documents/Scheuren_Committee_Chair_Letter.pdf.


                                                      64
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firearm registration system which it has yet to acknowledge and (2) the ATF steps taken to

improve its recordkeeping continue to lack thoroughness” and “[m]y reading of the OIG

reports suggests that very serious problems were uncovered in ATF’s recordkeeping systems.

In fact, in my long experience, I cannot think of any instance where poorer results were

obtained.”261

         In testifying at a motion in limine hearing on September 24, 2007, in U.S. v.

Giambro, Eric M. Larson, Senior Analyst of the U.S. Government Accountability Office,

in his capacity as a private citizen and based on his independent research, declared that

the NFRTR was not sufficiently accurate to sustain a criminal or civil prosecution and

“that there is reasonable doubt to its accuracy.” 262 Mr. Larson stated that his opinion was

based on,

       (1) the errors disclosed in the NFRTR as a result of my analyses of
       NFRTR data released by ATF, which were confirmed by the Treasury
       Department Inspector General; (2) the likelihood of similar errors
       throughout the database based on my independent research; (3) the
       standard articulated by the Criminal Division of the Department of Justice
       that if a registered person or firearm is encountered, and ATF’s ‘files are
       missing’ then ‘the only solution’ is to establish a new amnesty period; and
       (4) the fact that the Department of Justice Inspector general determined
       that ATF is adding firearm registration to the NFRTR, and fixes the
       database and assumes the NFRTR is in error, as stated on page 31 of the
       June 2007 report.263
Mr. Larson also cited a letter dated July 11, 2007, in which Saeid Shafizadeh, a federally

licensed firearms dealer, complained to then-NFA Branch Chief Kenneth Houchens


261
          Id. at 1-2. It should also be noted that Dr. Scheuren declared that in the second edition of his
book, the NFRTR would be included, when he stated, “Even though the first edition of the book has just
come out we are already contemplating a second edition and plan to include the ATF issues discussed
above in a new chapter. Will the story we tell have a happy ending or continue to be stalemated? We are
hoping that changes will be made, so we can report a success and not a failure.” Id. at 3.
262
          Letter from Eric M. Larson, Response to Questions asked by Joshua Prince, to Joshua Prince, at
3-4, dated Jan. 1, 2008, available at
http://blog.princelaw.com/assets/2008/1/5/Eric_Larson_letter_to_Joshua_Prince.pdf. Mr. Larson stated that
his comments reflect his personal opinions, and do not represent the policy or position of the U.S.
Government Accountability Office (GAO).
263
          Id.


                                                    65
                                                                                                    Exhibit A, Pg. 384
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about BATFE’s contention that it had no record of a firearm that BATFE had approved

for transfer to his company, Pars International Corporation, on April 12, 2007.264 Mr.

Shafizadeh noted that he had submitted an application to BATFE on June 4, 2007, to

transfer the firearm; that BATFE responded by stating “the firearm is not shown

registered” to Pars International Corporation, less than two months after ATF registered

the firearm to Pars; provided Mr. Houchens with a copy of the approved April 12, 2007,

BATFE registration document; and expressed concern over the inaccuracy of the

NFRTR.265 He articulated his frustration to Mr. Larson by stating, “Over the past 25

years I have written many letters of that nature to no avail.”266

         More importantly, Mr. Shafizadeh’s error letter and copy of the approved

registration further confirms that the BATFE continues to reject Dr. Scheuren’s

recommendation of mandatory annual audits, as it did in 2001, when it stated,

        We do not believe an independent audit of the database is needed. The
        ongoing efforts we are making to ensure the completeness and accuracy of
        the NFRTR by imaging and indexing the documents, performing database
        verification, and linking the retrieval system with the imaging system will
        result in strong internal controls for the NFRTR.267
If the BATFE’s “ongoing efforts” to improve the NFRTR were successful, the BATFE

should not lose an approved transfer application in as little as two months, let alone, ever.

There should be sufficient redundancy in the NFRTR system to preclude losing any

approved transfer application.




264
          Id. at 4.
265
          Id.
266
          Id. Mr. Shafizadeh has memorialized his concerns over the accuracy and completeness of the
NFRTR in his affidavit, available at http://www.gunowners.com/ip10.htm.
267
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2002, Part 1, 107th Cong., 1st Sess., at 478 (Washington, GPO, 2002),
available at http://www.nfaoa.org/documents/NFRTRdocpack.pdf.


                                                   66
                                                                                                  Exhibit A, Pg. 385
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         With regards to the Treasury Department Inspector General’s failure to complete

a GAGAS audit, Mr. Larson asserted, “[T]he failure of the Treasury IG to draw the larger

samples that would be necessary to establish more precision in its estimates of ‘critical

errors” seems to me to be a failure of due diligence, as well as GAGAS standards

regarding ‘abuse’ at the time.”268 He continued, “It was particularly troubling that the

Treasury IG specifically declined to determine whether ATF’s search procedures were

adequate to ensure the validity of the certificates that ATF uses in Federal District Court

as evidence that particular firearms are not registered in the NFRTR, given these

errors.”269

         Furthermore,

        Unless and until a GAGAS audit is done, the type and extent of errors in
        the NFRTR will continue to be unknown. Taking just one NFRTR
        category—Form 4467—at face value for the published audit results, which
        include a 4.3% “critical error” rate within the 57,238 Forms 4467 in the
        NFRTR at that time, that equals 2,461 “critical errors.”270
It must be noted that this is only the “critical error” rate for Form 4467 and does not

include Form 1, Form 2, Form 3, Form 4, and Form 5 categories, each of which, may

show the same, if not a higher, error rate, since at the time of the 1998 audit, these other

categories represented 85% of the NFRTR transactions.271 If the error rate is the same, it

would equate to over 16,242 “critical errors” in these other categories, for a total of at


268
           Id. at 1. “Abuse is distinct from illegal acts and other noncompliance. When abuse occurs, no law,
regulation, contract provision, or grant agreement is violated. Rather, the conduct of a government program
falls short of societal expectations for prudent behavior. Auditors should be alert to situations or
transactions that could be indicative of abuse. When information comes to the auditors attention (through
audit procedures, tips, or other means) indicating that abuse may have occurred, auditors should consider
whether the possible abuse could significantly affect the audit results. If it could, the auditors should extend
the audit steps and procedures, as necessary, to determine if the abuse occurred and, if so, to determine its
effect on the audit results.” Id. at 2 (citing to COMPTROLLER GENERAL OF THE UNITED STATES,
GOVERNMENT AUDITING STANDARDS, (Washington, D.C., U.S. GPO, 1994).
269
           Id. at 1-2.
270
           Id. at 2.
271
           Id. Mr. Larson acknowledges that the Form 4 data that he has analyzed shows patterns of error
similar to those of the Form 4467 data.


                                                       67
                                                                                                         Exhibit A, Pg. 386
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least 18,703 “critical errors.” One must also keep in mind that the BATFE altered the

definition of what constitutes a “critical error,” in direct contradiction to the

Congressional intent; thus, the actual “critical error” rate is likely to be much higher than

has been publicly and officially reported.272


               VII. The Intersection of Procedural Due Process and the NFRTR



         “No person shall be …. deprived of life, liberty, or property, without due process

of law.”273 Due process of law has a dual aspect, substantive and procedural.274

       A procedural due process limitation, unlike its substantive counterpart,
       does not require that the government refrain from making a substantive
       choice to infringe upon a person's life, liberty, or property interest. It
       simply requires that the government provide "due process" before making
       such a decision. The goal is to minimize the risk of substantive error, to
       assure fairness in the decision-making process, and to assure that the
       individual affected has a participatory role in the process. The touchstone
       of procedural due process is the fundamental requirement that an
       individual be given the opportunity to be heard "in a meaningful
       manner."275
The cornerstone of due process is the prevention of abusive governmental power.276 As

the Supreme Court declared, “[O]ur Constitution imposes …. standards necessary to

ensure that judicial proceedings are fundamentally fair. A wise public policy, however,


272
          To see how the definition of “critical error” was changed by the BATFE, see Section V.
Congressional Hearings/OIG Reports, subsection d. 1998. Specifically, 26 C.F.R. 179.201 (1969) declares:
“The return, Form 4467, shall show the name, address, place of business or employment, employer
identification number or social security number, and date of birth of the registrant, the date the firearm was
acquired, the place where the firearm usually is kept, the name, and address of the manufacturer, the type,
model, length of barrel, overall length (when applicable), caliber or gauge, serial number, and other
identifying marks of the firearms, and if an unserviceable firearm, the manner in which it was rendered
unserviceable. Upon registering the firearm, the Director shall retain the original Form 4467 as part of the
National Firearms Registration and Transfer Record.” 26 C.F.R. 179.201 (1969), available at
http://blog.princelaw.com/assets/2008/1/9/1969-CFR-ATF-amnesty-regs.pdf.
273
          U.S. CONST. amend. V.
274
          Howard v. Grinage, 82 F.3d 1343, 1349 (6th Cir. 1996).
275
          Id. (citing to Loudermill v. Cleveland Bd. of Educ., 721 F.2d 550, 563 (6th Cir. 1983)).
276
          Weimer v. Amen, 870 F.2d 1400, 1405 (8th Cir. 1989) (citing to Daniels v. Williams, 474 U.S.
327, 330-31 (1986).


                                                      68
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may require that higher standards be adopted than those minimally tolerable under the

Constitution.”277

         With regards to the admission of the NFRTR as evidence or a court’s refusal to

admit evidence of the NFRTR’s inaccuracy, the proper focus is on the interplay between

due process of the law and criminal procedure. This is illustrated by the holding in

Adamson v. Mazzuca, “For a habeas petitioner to prevail on a claim that an evidentiary

error amounted to a deprivation of due process, he must show that the error was so

pervasive as to have denied him a fundamentally fair trial.”278 The court continued,

      The standard is “whether the erroneously admitted evidence, viewed
      objectively in light of the entire record before the jury, was sufficiently
      material to provide the basis for conviction or to remove a reasonable
      doubt that would have existed on the record without it. In short it must
      have been ‘crucial, critical, highly significant.’”279
The Supreme Court similarly held that, “[t]he Due Process Clause protects the accused

against conviction except upon proof beyond a reasonable doubt of every fact necessary

to constitute the crime with which he is charged.”280

         In any trial, where the Government seeks to admit a Certificate of Nonexistence

of a Record (CNR),281 based on a search of the NFRTR, as evidence, a court must either

deny such admission or allow the defendant to present all evidence of the inaccuracy of

the NFRTR, or the likely outcome is that the defendant’s due process rights will be

violated. Since all cases for illegal possession of NFA firearm are based solely on

whether the firearm was registered or not, the accuracy or lack thereof is crucial, critical,

and highly significant in the determination of guilt. Since the Government must prove

277
          Lassiter v. Dep't of Social Services, 452 U.S. 18, 33 (U.S. 1981).
278
          Adamson v. Mazzuca, No. 01-CV-0143, 2003 U.S. Dist. LEXIS 13634, at *17 (D.N.Y. July 23,
2003) (citing to United States v. Agurs, 427 U.S. 97, 108, (1976)).
279
          Id. (citing Collins v. Scully, 755 F.2d 16, 19 (2d Cir. 1985)).
280
          In re Winship, 397 U.S. 358, 364 (1970).
281
          Fed. R. Evid. 803(10)


                                                 69
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beyond a reasonable doubt that the firearm in question was possessed illegally, it is

nearly impossible for any individual to be found guilty, given the DOJ-OIG’s report

stating, “If the NFA weapons owner can produce the registration paperwork, ATF

assumes the error is in the NFRTR and fixes it in the database”282 and Dr. Scheuren’s

comments, “[A]TF still has serious material weaknesses in its firearm registration system

that it has failed to recognize” and “In my considered professional judgment, these errors

render the NFRTR questionable as a source of evidence in federal law enforcement.”283

         With the consistent Congressional testimony, hearings, and Inspector General reports

by the Treasury Department and Department of Justice, if a court denies the admission valid

and reliable evidence showing or substantiating the inaccuracies of the NFRTR, the

defendant’s fundamental right to a fair trial is violated. Our system of Justice, based on

justness and fairness, is one where we concern ourselves with ensuring that innocent

defendants, as well as those who may or may not be innocent, are protected, and only those

who can be found guilty beyond a reasonable doubt are deprived of their liberty.284 Since the

Government holds the power to correct the NFRTR, we cannot hold the absence of a record

in the NFRTR against a defendant, who may have lawfully registered the firearm but no

longer has proof of registration, which may have been lost because of a fire, tornado, flood,

accident of some type, or just plain human error. If the Government, with extensive means

and capabilities, cannot ensure that records will not be lost, how can we, as society founded




282
         U.S. Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco,
Firearms and Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at 31 (June
2007), available at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.
283
         Letter to Alan B. Mollohan, Chairman, Subcommittee on Commerce, Justice, Science, and
Related Agencies, Committee on Appropriations, by Fritz J. Scheuren, VP Statistics NORC, 1 (Dec. 11
2007); available at http://www.nfaoa.org/documents/Scheuren_Committee_Chair_Letter.pdf.
284
         "Procedural due process rules are meant to protect persons not from the deprivation, but from the
mistaken or unjustified deprivation of life, liberty, or property." Carey v. Piphus, 435 U.S. 247, 259 (1978).


                                                      70
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on justness and fairness, deprive a possibly innocent defendant of his/her liberty, due to a lost

Government record?285



         VIII. The Intersection of the Federal Rules of Evidence and the NFRTR286



         The interaction of the inaccuracies of the NFRTR and the Federal Rules of

Evidence is where Due Process issues arise. By asserting that the NFRTR is inaccurate,

the defendant is declaring that any evidence of the nonexistence of his/her registration is

inadmissible. Federal Rule of Evidence, Rule 803(10), provides that there exists an

exception to the hearsay rule in situations of accurate records:

         To prove the absence of a record, report, statement, or data compilation, in
         any form, or the nonoccurrence or nonexistence of a matter of which a
         record, report, statement, or data compilation, in any form, was regularly
         made and preserved by a public office or agency, evidence in the form of a
         certification in accordance with rule 902, or testimony, that diligent search
         failed to disclose the record, report, statement, or data compilation, or
         entry.287



285
           Is a scenario imaginable under which a citizen would be denied Social Security payments because
the Government lost its copies of the citizen’s earnings history? Such records, of course, exist in duplicate
at the Internal Revenue Service. Could not a similar duplicate set of NFRTR data be established to ensure
that innocent citizens will not be victimized by NFA Branch Clerks who throw away NFA documents
because they don’t feel like working on them?
286
           Over the years, there have been several cases where, as this author will show, appellate courts
have erroneously upheld the admission of Certificate of Nonexistence of a Record because these courts
were unaware or misled to believe the NFRTR to be accurate. See, United States v. Rith, 164 F.3d 1323
(10th Cir. 1999); United States v. Harrison, No. 95-1678, 1996 U.S. App. LEXIS 13225 (2d Cir. 1996);
United States v. Shaffer, 1993 U.S. App. LEXIS 1461 (9th Cir. 1993); United States v. Rigsby, 943 F.2d
631 (6th Cir. 1991); United States v. Sullivan, 919 F.2d 1403 (10th Cir. 1990); United States v. Metzger,
778 F.2d 1195, 1202 (6th Cir. 1985); United States v. Combs, 762 F.2d 1343, 1348 (9th Cir. 1985); United
States v. Toner, 728 F.2d 115, 120 (2d Cir. 1984); United States v. Beason, 690 F.2d 439, 445 (5th Cir.
1982); United States v. Moschetta, 673 F.2d 96 (5th Cir. 1982). As firearms law expert Stephen Halbrook
states, the use of Certificates of Non-Existence of a Record, in light of the inaccuracy of the NFRTR,
“[m]ay well give rise to a meritorious petition for a writ of habeas corpus or, after discharge from
probation, a writ of error corum nobis. In fact, large numbers of persons convicted of unregistered firearms
may well be entitled to collateral relief.” STEPHEN HALBROOK, FIREARMS LAW DESKBOOK, 488
(Thomson/West 2007).
287
           Fed. R. Evid. 803(10)


                                                     71
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         While the BATFE is likely to offer two Certificates of Nonexistence of a Record

(CNR) to show, under 803(10), that the neither the defendant’s name nor the firearm’s

serial number exist in the NFRTR, such certificates are based on a search of the NFRTR

but fail to acknowledge the numerous Treasury Department and Justice Department

Inspector General reports and Congressional Hearings, which depict the NFRTR as

inaccurate.288

         The hearsay exception contains the principle that, “Evidence that is otherwise

admissible under an exception to the hearsay rule is admissible primarily because

evidence of that kind is generally trustworthy, but if, in a particular instance, the

circumstances indicate a lack of trustworthiness, the evidence should be excluded.”289

Nonetheless, Chief United States District Judge George Z. Singal, U.S. District Court for

the District of Maine, held that defendant Giambro failed to meet this standard because

he could not show that the NFRTR was inaccurate as it pertained to him.290 This holding

lacks any form of commonsense, since one cannot show an absence of a record, but for

the record not existing. While Judge Singal based his decision on U.S. v. Rith, which

declared that in relation to a Sixth Amendment challenge, the defendant failed to allege

any “defect in the NFRTR as it pertain[ed] to him. General claims of unreliability,

particularly those that rely upon outdated information, are not sufficient to raise a

constitutional deficiency,” he failed to accept the evidence of the inaccuracies in the

NFRTR, since the late 1970’s and up until the present time, which depict a consistent

trend of audits, Congressional Hearings, and Congressional Actions to rectify the



288
         United States v. Giambro, No. 07-41-P-S, 2007 U.S. Dist. LEXIS 61072, at *2 (D. Me. 2007)
289
         United States v. Robinson, 544 F.2d 110, 115 (2d Cir. 1976)
290
         United States v. Giambro, No. 07-41-P-S, 2007 U.S. Dist. LEXIS 61072, at *3 (D. Me. 2007)


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NFRTR.291 Furthermore, Judge Singal’s reliance on U.S. v. Rith may have been in error

given the Supreme Court’s decision in Crawford v. Washington, which is discussed in the

section The Intersection of Confrontation Clause and the NFRTR.292

         Nevertheless, with regards to Judge Singal’s decision, a defendant lacks any and

all power to request an audit, since the information is a provision of the tax code and thus

confidential. Hence, the defendant must rely solely on audits by the Treasury Department

Inspector General, a review by the Department of Justice Inspector General, both of

which are seemingly flawed, information divulged in Congressional Hearings and public

documents which become available and accessible.293 More importantly, any certificates

offered by the BATFE should be viewed with extreme skepticism given the Busey tape,

where BATFE agents were ordered to perjure themselves when speaking about the

accuracy of the NFRTR.294 Clearly, this tape, as well as the audits and Congressional

Hearings, render the BATFE certifications and sworn testimony untrustworthy and unless

and until the NFRTR is subjected to a complete, independent, GAGAS audit and the

results made public, all evidence related to the NFRTR should be deemed inadmissible.

         As the Supreme Court declared, when speaking about the trustworthiness aspect

of Rule 803(10), “[I]t provides [an] ample provision for escape if sufficient negative

factors are present.”295 The Court continued,

         That "provision for escape" is contained in the final clause of the Rule:
         evaluative reports are admissible "unless the sources of information or

291
          United States v. Giambro, No. 07-41-P-S, 2007 U.S. Dist. LEXIS 61072, at *3 (D. Me. 2007)
(citing United States v. Rith, 164 F.3d 1323, 1337 (10th Cir. 1999)).
292
          Crawford v. Washington, 541 U.S. 36 (2004).
293
          See, in particular, the “Resources” page of the National Firearms Act Owners Association, at
http://www.nfaoa.org/resources.html (visited July 26, 2008).
294
          BATFE/NFRTR Roll Call Training Video, Oct. 1995, available at
http://www.nfaoa.org/documents/rollcall_highlights.mp4 or as text
http://www.nfaoa.org/documents/BuseyTranscript.pdf.
295
          Beech Aircraft Corp. v. Rainey, 488 U.S. 153, 167 (1988).


                                                    73
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       other circumstances indicate lack of trustworthiness." This trustworthiness
       inquiry -- and not an arbitrary distinction between "fact" and "opinion" --
       was the Committee's primary safeguard against the admission of
       unreliable evidence, and it is important to note that it applies to all
       elements of the report. Thus, a trial judge has the discretion, and indeed
       the obligation, to exclude an entire report or portions thereof -- whether
       narrow "factual" statements or broader "conclusions" -- that she
       determines to be untrust-worthy.296
Furthermore, the Court stated, “[T]he admission of a report containing ‘conclusions’ is

subject to the ultimate safeguard -- the opponent's right to present evidence tending to

contradict or diminish the weight of those conclusions.”297

         In United States v. Yakobov, 803(10)’s application to the NFRTR was a central

issue because the ATF provided certificates that Mr. Yakobov’s name did not exist in the

registry, but they failed to show a diligent search of the registry for possible

misspellings.298 The learned Second Circuit declared, “An essential requirement of Rule

803(10) is that evidence of the absence of a record be the result of a "diligent search."299

The court continued, “Diligence is the standard set by Rule 803(10), . . . and it is a good

one. It insures that evidence of this kind will be reliable, and reliability is the foundation

upon which all exceptions to the hearsay rule are built.”300 The court concluded that

         “[N]otwithstanding the ATF Certificate's recitation of a diligent search,
         the face of the document itself suggests that the search conducted to
         determine whether Yakobov had applied for or obtained a license to deal
         in firearms was not diligent. The ATF Certificate states that Hall searched
         for a license or application for "Jakubov, Simantov." There is no
         indication that any search was made under the name "Yakobov" or
         "Yakubov." The use instead of misspelled versions of both Yakobov's first
         and last names hardly suggests diligence, and the spelling of Yakobov's
         last name with an initial "J" seems likely to have prevented the discovery
         of any license or application for Yakobov, if one existed.”301
296
         Beech Aircraft Corp, 488 U.S. at 167 (1988) (citing Advisory Committee’s Notes on Fed. R.
Evid. 803(8)).
297
         Beech Aircraft Corp, 488 U.S. at 168 (1988).
298
         United States v. Yakobov, 712 F.2d 20, 22 (2d Cir. 1983)
299
         Id. at 24 (citing United States v. Robinson, 544 F.2d 110. 115 (2d Cir. 1976)).
300
         Id. (citing United States v. Robinson, 544 F.2d 110, 115 (2d Cir. 1976))
301
         Id.


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Furthermore, "It hardly requires extended discussion to demonstrate that a casual or

partial search cannot justify the conclusion that there was no record, and we conclude that

the ATF Certificate was not admissible under Rule 803(10).”302

         Thus, the court properly concluded that the BATFE’s certification was not valid.

One can only assume that if the court were presented with this situation today, in light of

the inaccuracy of the NFRTR, it would find any search of the NFRTR to lack diligence,

especially considering the BATFE’s acceptance, in one instance, that it had lost 475

records of one individual and nearly 30 years later, in 2007, the DOJ Inspector General’s

report declared, “If the NFA weapons owner can produce the registration paperwork, ATF

assumes the error is in the NFRTR and fixes it in the database.303



                IX. The Intersection of Confrontation Clause and the NFRTR



         The Confrontation Clause provides, “In all criminal prosecutions, the accused

shall enjoy the right …. to be confronted with the witnesses against him.”304 In Crawford

v. Washington, the Supreme Court held that the admission of testimonial hearsay in a

criminal proceeding is barred, unless the declarant is unavailable and the accused has had

a prior opportunity for cross-examination.305 Thus, the Crawford analysis requires a court



302
           Id. (citing United States v. Robinson, 544 F.2d 110, 115 (2d Cir. 1976).
303
           U.S. Congress, Senate Committee on Appropriations, Oversight Hearings on Bureau Alcohol,
Tobacco & Firearms, 96th Cong., 1st Sess. at 39 (Washington, GPO, 1979); Letter from David T. Hardy,
Esq., to Ernest S. Istook, Jr., Chairman, Subcommittee on Treasury, Postal Service and General
Government, dated April 10, 2001, available at http://www.nfaoa.org/documents/BardHard.pdf; U.S.
Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco, Firearms and
Explosives’ National Firearms Registration and Transfer Record, I-2007-006, at 31 (June 2007), available
at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.
304
           U.S. CONST. amend. VI.
305
           Crawford v. Washington, 541 U.S. 36, 68 (2004)


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to consider two issues: 1. whether the out-of-court statement was hearsay; and 2. whether

the out-of-court statement was testimonial.306

         The issue becomes whether the admission of a Certificate of Nonexistence of a

Record (CNR) is hearsay. “Hearsay is a statement, other than one made by the declarant

while testifying at the trial or hearing, offered in evidence to prove the truth of the matter

asserted.”307 Any CNR that the BATFE submits are statements made by a declarant, not

present at trial, and those statements are offered into evidence to prove the truth of the

matter asserted; specifically that, after a diligent search for the defendant’s name and/or

firearm’s serial number, no evidence was found that the firearm was registered to the

defendant. Hence, any CNR is hearsay.

         Then the issue becomes whether or not a CNR is testimonial. In Crawford, the

Supreme Court declined to provide “a comprehensive definition of testimonial.”308

However, the Court listed three formulations of the “core class of testimonial

statements:”309 1. “ex parte in-court testimony or its functional equivalent – that is,

material such as affidavits, custodial examinations, prior testimony that the defendant

was unable to cross-examine, or similar pre-trial statements that declarants would

reasonably expect to be used prosecutorially,”310 2. “extrajudicial statements ….

Contained in formalized testimonial materials, such as affidavits, depositions, prior

testimony, or confessions,”311 and 3. “statements that were made under circumstances




306
         Id.; United State v. Maher, 454 F.3d 12, 20 (1st Cir. 2006).
307
         Fed. R. Evid. 801(c).
308
         Crawford, 541 U.S. at 68.
309
         Id. at 51.
310
         Id.
311
         Id. at 51-51 (quoting White v. Illinois, 502 U.S. 346, 365 (1992)).


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which would lead an objective witness reasonably to believe that the statement would be

available for use at a later trial.”312

         In applying Crawford to a CNR prepared by the BATFE, it is testimonial under

all of the formulations. The CNR is a formal document prepared by the custodian of the

NFRTR, to be used at trial; thus, it is both an extrajudicial statement and a custodial

examination, which the defendant is unable to cross-examine. Furthermore, under the

third formulation, “an objectively reasonable person in [the declarant’s] shoes would

understand that the statement would be used in prosecuting [the defendant] at trial.”313

However, the Government is likely to argue that even if the CNR was only created in

anticipation of litigation, “[T]he reasonableness of an expectation of prosecutorial use

‘do[es] not transform an otherwise non-testimonial business record, made in the normal

course of business, into testimonial evidence.”314 These courts held that CNRs are not

barred by the Confrontation Clause because they closely resemble business records,

which, under Crawford, constitute a common law exception to the right of

confrontation.315

         Thus, the Government is likely to argue that “certificates of authenticity were

admissible at common law, even when created with an eye toward litigation” and that a

“CNR, by analogy to a certificate of authenticity, should be treated like a business

312
          Id. at 52.
313
          United States v. Maher, 454 F.3d 13, 21 (1st Cir. 2006). See also United States v. Brito, 427 F.3d
53, 60 (1st Cir. 2005). Other courts of appeals have adopted similar tests. See United States v. Gilbertson,
435 F.3d 790, 795-96 (7th Cir. 2006); United States v. Hinton 423 F.3d 355, 359-60 (3d Cir. 2005); United
States v. Cromer, 389 F.3d 662, 673-74 (6th Cir. 2004); United States v. Saget, 377 F.3d 223, 228-29 (2d
Cir. 2004) ;
314
          United States v. Earle, 488 F.3d 537, 544 (1st Cir. 2007). See also, United States v. Urqhart, 469
F.3d 745, 748-49 (8th Cir. 2006); United States v. Cervantes-Flores, 421 F.3d 825, 830-34 (9th Cir. 2005);
United States v. Rueda-Rivera, 396 F.3d 678, 680 (5th Cir. 2005).
315
          Id.; Crawford 541 U.S. at 56. “Most of the hearsay exceptions covered statements that by their
nature were not testimonial – for example, business records or statements in furtherance of a conspiracy.”
Crawford, 541 U.S. at 56.


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record.”316 In essence, the Government is arguing that “[B]oth certificates of authenticity

and CNRs …. merely reflect the state of a set of routinely kept business records existing

prior to litigation.”317 However, Government’s logic is faulty because “a certificate of

authenticity merely establishes the validity of a second document that contain probative

evidence, whereas a CNR itself contain probative evidence.”318 [original emphasis]. As

the First Circuit Court of Appeals pointed out in U.S. v. Earle, with regards to a

certificate of authenticity, there is little to be gained by cross-examining the

authenticator; however, “a defendant might benefit from cross-examining the maker of

the CNR as to the details of the search, and from exploring the possibility that a record

has been overlooked, misfiled, or otherwise lost.”319 In U.S. v. Nicely, the learned First

Circuit Court of Appeals declared,

         The government argues that negative public records admissible under the
         hearsay exception in Federal Rule of Evidence 803(10) should be equally
         immune from constitutional challenge. Even so, we are somewhat troubled
         by the government's extensive use of affidavits in this case. Unlike routine
         searches of easily pinpointed data compilations that courts have upheld in
         the past, this case presents us with a situation where the affidavits were
         based on a far-ranging review of different Department files for any
         evidence that the government considered a currency reform proposal along
         the lines represented to SCT. Under these circumstances, especially absent
         any explanation from the government as to why it could not have easily
         called on these Treasury officials to testify in person, use of affidavits in
         lieu of Department officials who conducted the search may unjustifiably
         circumscribe defendants' confrontation rights. We think that the district
         court must carefully scrutinize any similar use of such evidence on
         retrial.320
         Furthermore, “even if a certificate of authenticity were admissible at common

law, it is clear that CNRs were not so admissible, and this was so perhaps for reasons


316
         Earle, 488 F.3d at 544.
317
         Id.
318
         Id. at 545.
319
         Id.
320
         United States v. Nicely, 922 F.2d 850, 860 (D.C. Cir. 1991).


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unrelated to the rule of completeness.”321 In U.S. v. Bass, the Seventh Circuit Court of

Appeals held that “Proof that something is not to be found in the records may not be

made by a mere certificate of the custodian, but must be shown by testimony with

opportunity to cross-examine.”322 In U.S. v. Bukis, the Eastern District Court of

Pennsylvania held that “[P]roof that something is not to be found in the records may not

be made by mere certificate of the custodian, but is a matter of fact which must be shown

by the testimony of a person who has searched the records, with an opportunity to cross-

examine.”323 Lastly, the Court in Crawford declared, “We cannot agree with THE CHIEF

JUSTICE that the fact ‘[t]hat a statement might be testimonial does nothing to undermine

the wisdom of one of these [hearsay] exceptions.’”324 (alterations in the original).

         One must remember that the NFRTR is tax information; thus, the criminal

defendant must rely solely on the BATFE’s search, which may or may not be adequate.

Thus, any CNR prepared by the BATFE for a criminal proceeding should be barred,

unless the defendant is at least afforded an opportunity to cross-examine the individual

who composed the CNR. Anything less would violate the defendant’s Constitutional right

to confront the witnesses against him/her. Furthermore, the learned 10th Circuit in U.S. v.

Rose declared, “There may be circumstances in which one who wishes to impeach the

quality of a recordkeeping system must be allowed to examine the system's operation.”325



321
          Id. (citing Fed. R. Evid. 803 notes; 5 Wigmore § 1678(7), at 867). “At common law, the rule of
completeness required that the whole of a document be shown forth, in proving any part of it, so that the
tribunal may judge better of the significance of the whole and the precise interpretation of any part. At
common law, therefore, it was entirely settled that no custodian had authority to certify any less than the
entire and literal terms of the original – in short, a copy in the strict sense of the word; and the rule was
applied to all varieties of documents.” 5 Wigmore § 1678(6), at 863.
322
          United States v. Bass, 64 F.2d 467, 470 (7th Cir. 1933).
323
          United States v. Bukis, 17 F. Supp. 77, 78 (E.D. Pa. 1936).
324
          Crawford, 541 U.S. at 56 n.7 (quoting id. at 74 (Rehnquist, C.J., concurring).
325
          United States v. Rose, 695 F.2d 1356, 1358 (10th Cir. 1982).


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      X. Amnesty: the Nexus between the Congressional Intent and the Inaccuracy of the

                                                 NFRTR



          The solution to the NFRTR inaccuracy problem is an amnesty period, where an

individual can register the NFA firearm(s) in his/her possession, to some extent,

regardless of the current status of the weapon, in the registry. Amnesty was designed, in

the CGA of 1968, as a safeguard, to ensure that the NFRTR remained accurate.326 As the

evidence, previously provided, shows, the BATFE admitted in numerous declarations and

on numerous occasions that the NFRTR is inaccurate; for them to state otherwise, depicts

with what ease and what measures, the BATFE is willing to go, including perjury.

Furthermore, the Office of Inspector General, of the Department of Justice, declared that

“If the NFA weapons owner [sic] can produce the registration paperwork [of a firearm

that is not in the registry], ATF assumes the error is in the NFRTR and fixes it in the

database.”327 This is a critical point, because in 1979, the Criminal Division of the

Department of Justice advised the Congress that if the BATFE determines that “a

particular individual or weapon is registered” and the BATFE finds that its “files are

missing,” then “the only solution would be to declare another amnesty period.”328 Since

the Department of Justice Inspector General has published valid and reliable evidence

that “ATF assumes the error is in the NFRTR,” it is difficult to conclude that the criteria


326
          90 P. L. 618; 82 Stat. 1235, § 207(b),(d); Haynes v. United States, 390 U.S. 85 (1968) (holding
that the registration of NFA weapons would likely incriminate those individuals registering unregistered
NFA).
327
          U.S. Department of the Justice, Office of Inspector General, The Bureau of Alcohol, Tobacco,
Firearms and Explosives’ National Firearms Registration and Transfer, I-2007-006, at 31 (Washington,
June 2007), available at http://www.nfaoa.org/documents/DOJ-OIG2007NFRTRreport.pdf.
328
          U.S. Department of Justice, Criminal Division, Memorandum: Response to letter from Senator
McClure, by Philip B. Heymann and Lawrence Lippe, at 4 (Nov. 29, 1979), available at
http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.


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for establishing a new amnesty period was not met upon publication of the Inspector

General’s report in June 2007.

         While the BATFE, in 1999, contended that FOPA precludes future amnesty

periods that would allow the registration of unregistered machineguns,329 the BATFE’s

position has since changed, acknowledging that, “The 1968 amendments also provided

for the establishment of additional amnesty periods not exceeding 90 days per period. To

date, no additional amnesty periods have been declared.”330 The BATFE now contends

that the denial of such amnesty periods is, “[P]rincipally because additional periods could

jeopardize pending ATF investigations and prosecutions of NFA violations.”331 As will

be shown, the BATFE’s argument is completely without merit.

         Amnesty will require a multi-pronged action, involving both the judiciary and the

legislature, to ensure that the inaccuracies of the NFRTR are rectified, hopefully for the

last time. Below is my proposition for amnesty, which is divided in four main subsets of

Judiciary, Legislature, BATFE’s arguments against an amnesty, and Amnesty.



                                            A. Judiciary



The Judiciary will be the first prong, which will require the Legislature to take action.

The Judiciary must declare, that as a matter of law, the NFRTR is not legally sufficient to

be used in criminal proceedings. Given that the Legislature has known and been made

329
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1998, Part 5, Statements of Members of Congress and Other Interested
Individuals, 106th Cong., 2nd Sess., at 26 (Washington, GPO, 2000), available at
http://www.nfaoa.org/documents/2000statement.pdf.
330
          BATFE, ATF National Firearms Act Handbook, at 23 (June 2007), available at
http://www.atf.gov/firearms/nfa/nfa_handbook/index.htm.
331
          Id.


                                                   81
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repeatedly aware of the inaccuracies, since the late 1970’s, and failed to take successful

corrective action, the Judiciary must step up, to protect citizens, who lawfully registered

their NFA firearms, from being deprived of their Constitutional rights and protections.

Such a declaration, by the Judiciary, will force the Legislature either to immediately

correct the NFRTR, or to acquiesce that the Legislature no longer feels it necessary, due

to the Second Amendment, to prosecute individuals for possession of NFA firearms.

Assuming that the Legislature is not willing to nullify the NFA, GCA, and FOPA, in

relation to NFA firearms, the following corrective action must be taken by the

Legislature.



                                            B. Legislature



         The Legislature may need to begin by considering whether existing law

sufficiently provides for an amnesty period that would render the NFRTR accurate and

complete, something that may not have been contemplated in drafting the original

amnesty provision. First, the GCA may have to be amended by striking “not to exceed

ninety days in the case of any single period” in 82 Stat. 1235 § 207(d), if a complete re-

registration is not possible in ninety days.332 Secondly, 18 U.S.C § 922(o)(2)(B) will need

to be amended by striking or modifying “[A]ny lawful transfer or lawful possession of a




332
           Philip Heymann, in explaining the failures of the 1968 Amnesty, declared, “The amnesty period
spawned a massive volume of registrations, transfers and correspondence which the clerical staff was ill-
equipped to handle. As a result, some weapons were registered, some were mistakenly registered by part
number rather than serial number, and some documents were misfiled. The staff responsible for the system
was aware of these problems.” U.S. Department of Justice, Criminal Division, Memorandum: Response to
letter from Senator McClure, by Philip B. Heymann and Lawrence Lippe, at 2-3 (Nov. 29, 1979), available
at http://www.nfaoa.org/documents/DOJamnestyMemo1979.pdf.


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machinegun that was lawfully possessed before the date this subsection takes effect."333

This will allow for the new registration of NFA firearms that were registered and the

BATFE lost the registration; thus, in the eyes of the BATFE, making those firearms

unlawfully possessed in 1986. Following these actions, if necessary, the Legislature must

initiate, if the Attorney General refuses to do so, a new amnesty period, with regulations,

to ensure that the NFRTR becomes at least ninety-nine percent accurate, and stays as

such.

         Furthermore, the Legislature must pass legislation requiring that the BATFE

implement Electronic Form (E-Forms) for the registration and transfer of NFA firearms.

As will be discussed in the below subsection Amnesty, this will ensure the accuracy and

completeness of the NFRTR by removing the human component of entry of information

into the NFRTR.334 Lastly, the Legislature must require that the new NFRTR database be

searchable via probabilistic searches and that only probabilistic searches be used in
333
              The BATFE previously contended that FOPA prevents a new amnesty; however, the BATFE has
now taken the position that they have the power to authorize a new amnesty, but choose not to do so, so as
not to “jeopardize pending ATF investigations and prosecutions of NFA violations.” BATFE, ATF
National Firearms Act Handbook, at 23 (June 2007), available at
http://www.atf.gov/firearms/nfa/nfa_handbook/index.htm. Also, under current law, an unregistered NFA
firearm or device cannot be registered. This situation evolved from a problem under the original NFA,
which required persons to register NFA firearms and the federal government to make these data available
to local, state and other federal officials upon request. But, individuals who possessed NFA firearms in
violation of state or local law risked the hazards of prosecution by supplying the registration information
required by the federal government, which violated their 5th Amendment rights, guaranteed by the U.S.
Constitution, against self-incrimination. On January 29, 1968, the U.S. Supreme Court ruled that “a proper
claim of the privilege is understood to provide a full defense to any prosecution either for failure to register
. . . . or . . . . for possession of a [NFA] firearm which has not been registered.” Haynes v. United States,
390 U.S. 85, 99 (1968). The Congress resolved this conflict in amending the NFA under Title II of the Gun
Control Act of 1968 by: (1) prohibiting any information required to comply with the NFA to be used
against a registrant or applicant to be used against a registrant or applicant in a criminal proceeding with
respect to a violation of law occurring prior to or concurrently with the filing of the application or
registration, or the compiling of the records containing the information or evidence; (2) establishing an
amnesty period from November 2, 1968, to December 1, 1968, when persons could register unregistered
NFA firearms with full immunity from prosecution; and (3) prohibiting the release of any information
about the registration status or ownership of any NFA firearm.
334
              E-Forms have already been made available by Titleii.com. To see the available forms, see
http://www.titleii.com/Forms.htm. If you click any of the Forms, you can type in the correct information,
which is then entered onto the appropriate BATFE Form. While Titleii.com’s E-Forms do not allow for the
uploading of pictures, it serves to show how easy and cheap it is to create E-Forms.


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criminal prosecutions; thus, allowing for records which are in error, to possibly be

found.335



                C. BATFE Amnesty Refusal Rationale and Rebuttals Thereof



         The most comprehensive list of reasons offered by the BATFE to oppose

establishing a new amnesty period were given by the BATFE to the Subcommittee on

Treasury, Postal Service and General Government, Committee on Appropriations, in

November 1999. The only known formal rebuttals were by Eric M. Larson in his 2000

statement336 and an analysis by William J. Krouse of the Congressional Research Service

in 2005, of both the BATFE’s reasons and Mr. Larson’s rebuttals.337

         1. “An Amnesty would suspend enforcement of the NFA. Pending investigations

and prosecutions for violations of the NFA might have to be terminated.”338 To begin

with, the suspension of enforcement of the NFA, for a short period of time, is the primary

reason for an amnesty, especially in light of individuals being prosecuted, who lawfully

registered their firearms, but through not fault of their own, their paperwork was lost or

destroyed, such as Mr. Napolilli. Moreover, a successful amnesty would enable the

335
          THOMAS N. HERZOG, FRITZ J. SCHEUREN & WILLIAM E. WINKLER, DATA QUALITY AND RECORD
LINKAGE TECHNIQUES 82-92 (Springer Science+Business Media 2007).
336
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 26 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
337
          Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Transfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, available at http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf.
338
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.


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BATFE to prosecute more individuals, with a greater accuracy, and limit tax payer

money being used for mistaken and/or frivolous prosecution. Our system of Justice

strives for only the guilty to be convicted; thus, the BATFE should desire to ensure that

only the guilty are prosecuted. A successful amnesty would better ensure that only the

guilty are likely to be prosecuted, while providing more accurate, and more easily

accessible, data records.

         That the BATFE would tell the Congress that an amnesty “would suspend

enforcement of the NFA” is not borne out by the historical record, and is seriously

misleading. The reason is that in 1968, then-IRS Commissioner Cohen, in his testimony

to Congress after the invalidation of the registration provision of the NFA, due to the

Supreme Court’s decision in Haynes, declared that only one-third of the NFA

prosecutions were affected.339 There is no evidence that invalidating the registration

provision of the NFA temporarily to render the NFRTR accurate and complete would

“suspend enforcement of the NFA.” Rather, it would strengthen the NFA by

strengthening the NFRTR. Moreover, as Mr. Larson declared, “An amnesty period has

the greatest chances of correcting the greatest number of errors in the NFRTR the IG

identified, and ATF has not proposed any viable alternative.”340




339
          US Congress, Senate, Committee on the Judiciary, Subcommittee to Investigate Juvenile
Delinquency, S. Res. 240, 90th Cong. 2nd Sess., at 661 (Washington, GPO, 1968), available at
http://www.nfaoa.org/documents/IRS_Commissioner_GCA_Hearing.pdf. Commissioner Cohen declared,
“The National Act prosecutions have fallen as a result of the Haynes decision. We had been averaging,
under the national act, about 60 to 70 prosecutions per month for national act violations. Since the first of
the year, when the Haynes decision was rendered, we are down to about something in excess of 40 a
month. So we are talking about 35 to 40 percent in the area of prosecutions under Haynes.” Id. at 661-62.
340
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 23 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.


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         2. “Section 922(o), Title 18, U.S.C. prohibits the possession of machine guns not

lawfully possessed prior to its effective date, May 19, 1986. The possession of any

machine gun registered during a new amnesty period would still violate section

922(o).”341 The BATFE continues on, “With respect to section 922(o), the law makes no

provisions for an amnesty,”342 but it is also fair to say that there’s nothing in 922(o) that

would specifically preclude an amnesty, either. The BATFE now acknowledges that §

207 (d) of the Gun Control Act of 1968 allows for a new amnesty, which could be

administratively established by the Attorney General at any time, but they have chosen

not to initiate such, so as not to “jeopardize pending ATF investigations and prosecutions

of NFA violations.”343 Even if one assumes the BATFE’s previous interpretation that

section 922(o) precludes an amnesty for machineguns is correct, the Congress retains the

power to authorize a new amnesty.

         3. “Amnesty would provide the criminally inclines an opportunity to possess

unregistered NFA weapons with impunity.”344 As Mr. Larson points out, “The

‘criminally inclined’ already ‘possess unregistered weapons with impunity.’ An amnesty

would not change that.”345 Furthermore, as Mr. Krouse points out, “As to the ‘criminally


341
          Id. at 26.
342
          Id.
343
          The BATFE has now taken the position that they have the power to authorize a new amnesty, but
choose not to do so, so as not to “jeopardize pending ATF investigations and prosecutions of NFA
violations.” BATFE, ATF National Firearms Act Handbook, at 23 (June 2007), available at
http://www.atf.gov/firearms/nfa/nfa_handbook/index.htm; 82 Stat. 1235, § 207(b), (d).
344
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 26 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
345
          Id. Mr. Larson states: “As noted on page 11 of the January 2000 issues of American Rifleman,
Federal law on registration was defined in 1968 by the U.S. Supreme Court in Haynes v. United States (390
U.S. 85), ‘when it declared that … existing federal case law says with great finality that gun registration
only applies to the law-abiding.’” Id. The quoted language in Mr. Larson’s rebuttal is a recitation of the
BATFE’s language in opposition to an amnesty period.


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inclined,’ there is no way to determine such a condition under current law or

otherwise.”346 However, if the BATFE is concerned about individuals registering

firearms, which would not have been previously registrable, § 207 (b), (d), does not limit

prosecution for making false statements. Irregardless, the accuracy and completeness of

the NFRTR is instrumental in ensuring that law-abiding citizens are not prosecuted,

which should take precedence over the possibility of additional, not previously

registrable, weapons being added to the NFRTR.

         4. “Anyone, including felons, mental incompetents, and persons whose possession

of firearms would violate State and local laws, could register NFA weapons.”347

“Excluding them from the amnesty, as well as disallowing any registration that ‘would

violate State and local laws’ would address this concern.”348 In fact, under current law,

the NFA represents an odd, continuing law enforcement contradiction because (1) under

the 1968 amnesty, a person who possessed an NFA firearm or device in violation of state

or local law, could register the firearm or device, and BATFE was legally precluded from

disclosing that information; and (2) as state laws change in future, e.g., to prohibit the

possession of silencers, machine guns, short-barreled shotguns or other selected NFA

firearms or devices, persons who live in those states who possess these items on the basis

of an amnesty registration or subsequent legal transfer are transformed into violators of
346
          Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Transfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, at 17 (citing to United States v. Stout, 667 F.2d 1347 (11th Cir. 1982), available at
http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf. Mr. Krouse gives the example of Bryan v.
United States, 542 U.S. 184, 191-92, explaining that “ while ‘the term knowingly does not necessarily
have any reference to a culpable state of mind or to knowledge of the law,’ a ‘willful’ violation is
committed when and individual acts with knowledge that his conduct is unlawful.” Id. at 17 fn. 99.
347
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 26 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
348
          Id.


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                                                                                                 Exhibit A, Pg. 406
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state or local firearms laws, and there is no legal mechanism under which BATFE could

legally notify state or local law enforcement authorities of that fact. Legislation such as

the foregoing could resolve this law enforcement contradiction.349

         5. “A new amnesty for registering machine gun, bombs, grenades, silencers, etc,

will be perceived as a retreat by the Administration from its position of favoring stronger

gun controls, e.g., banning the possession of semiautomatic assault weapons.”350 Since

the 1994 Assault Weapon Ban was not renewed, the Administration’s position is no

longer favoring stronger gun controls, but rather reinforcing the Bill of Rights, namely

the Second Amendment. Nevertheless, as Mr. Larson points out, “Offering an

opportunity to correct defective records would more reasonably be seen as enhancing the

Administrations position.”351 Furthermore, individuals can currently register newly

manufactured silencers, AOW’s, and short-barreled firearms by application to the

BATFE.

         6. “An upsurge in the making of NFA weapons particularly, short-barrel shotguns,

can be expected as individuals seize the opportunity to acquire NFA weapons without

incurring the 200 making tax.”352 The BATFE continued, “Also, the $200 transfer tax

would be avoided by unlawful transfers to persons who would register the weapon during

the amnesty.”353 While these are legitimate concerns, the possibility that law-abiding


349
           Under the original NFA and during the 1968 Amnesty, a Chief Law Enforcement Officer (CLEO)
signature, fingerprints of the applicant, and photo of the applicant were not required for an original
registration of an unregistered NFA weapon. The registration was on a Form 1 or Form 4467.
350
           U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 27 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
351
           Id.
352
           Id.
353
           Id.


                                                  88
                                                                                                Exhibit A, Pg. 407
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individuals are being prosecuted and convicted, severely outweighs a concern of a

possible loss of $200 per application for making a NFA firearm.354 As Mr. Krouse points

out, “The amnesty provision(s) could be crafted to limit its scope to firearms that were

commercially manufactured in original configurations that made them subject to the

NFA.”355 Nevertheless, this issue is addressed in the next section Amnesty, subsection

Amnesty Process.

         7. “Firearm imported with certain restrictions, such as for sales samples or law

enforcement use only, would be transferred to persons who would register the weapons

during the amnesty and circumvent the restrictions.”356 As Mr. Larson points out, “There

are relatively few of these firearms, which can come from only two places: (1) law

enforcement agencies; or (2) Class III dealers. There would be no reason for a Class III

dealer, much less a law enforcement agency, to knowingly violate existing law.”357 He

continues, “Also, ATF could easily disapprove any application to illegally transfer the

ownership of such a firearm—which is already legally registered.”358

         8. “It would create ill-will on the part of person who have been prosecuted for

possession of unregistered NFA weapons, had their weapons seized, or voluntarily

abandoned their weapon to the ATF in the past.” The only reason for reasonable ill-will


354
          It must be noted that there has never been a tax for registering a NFA firearm, even under the
NFA of 1934 and 1968 Amnesty. The $200 tax is for making and transferring NFA firearms, other than
AOWs, which require a tax of $200 for making and a tax of $5 for transferring.
355
          Congressional Research Service, Memorandum: ATF’s National Firearms Registration and
Transfer Record: Issues Regarding Data Accuracy, Completeness, and Reliability, by William J. Krouse,
Nov. 28, 2005, at 17, available at http://www.nfaoa.org/documents/CRSmemoNFRTR0001.pdf.
356
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 27 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
357
          Id.
358
          Id. Congress must be cognizant of the possibility of the BATFE denying applications to register a
firearm and the effect of such, if the legal process cannot be completed by the end of the amnesty period.


                                                     89
                                                                                                     Exhibit A, Pg. 408
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to be created is if the BATFE has prosecuted individuals for possession of unregistered

NFA weapons, when that individual had legally registered his/her weapon, but his/her

paperwork was lost or destroyed. Furthermore, as Mr. Larson points out, “[A]n amnesty

would likely enhance ATF’s public image.”359 More importantly, even if ill-will results,

it is crucial that the Government not prosecute innocent individuals, who merely lost their

paperwork.

         9. “A new amnesty would reward those who have unlawfully stockpiled

unregistered contraband in anticipation of registering them during a future amnesty and

encourage people to retain or acquire unregistered firearms in the expectation of other

such periods.”360 The BATFE has failed to provide any evidence that such would occur

or encourage individuals to stockpile unregistered NFA weapons.361 More importantly,

post-successful-amnesty, the use of the NFRTR in criminal prosecutions of these

individuals should be flawless. It is also important to realize that the BATFE has

administratively removed thousands of NFA firearms from purview of the NFA, as

collector’s items; to the extent these firearms were unregistered, the BATFE has itself

created an expectation of “reward” in the sense it claims. Specifically, "ATF May Have

Already Removed 50,000 to 100,000 or More Individual NFA Firearms from the NFA as

Collector's Items."362

         10. “An additional amnesty would only be a temporary solution. It would be only

a matter of time before people would claim they did not know about the amnesty or did

359
          Id.
360
          Id.
361
          Id.
362
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 1998, Part 5, Testimony of Members of Congress and Other Interested
Individuals and Organizations, 105th Cong., 1st Sess., at 30-32 (Washington, GPO, 1997), available at
http://www.nfaoa.org/documents/1997testimony.pdf.


                                                   90
                                                                                                   Exhibit A, Pg. 409
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not realize they had an NFA weapon in their possession.”363 To begin with, an additional

amnesty should NOT only be a temporary solution. If the BATFE properly conducts the

amnesty and, thereafter, continuously and meticulously checks, maintains, and improves

the NFRTR, future GAGAS audits by the GAO should depict the NFRTR as sufficient

for criminal proceedings. Moreover, while ignorance of the law is not generally

recognized as a legitimate defense, a serious effort by BATFE to continuously publicize

the amnesty period at the national, state, and local levels at least 90 days before and

continuously during the amnesty, as discussed in the next section, would go a long way

towards restoring credibility in the Government and in BATFE364 “In fact an amnesty

would strengthen ATF’s legal cases by, among other things, enhancing the accuracy and

reliability of ATF’s records.”365 More importantly, and continually overlooked by the

BATFE, the purpose of an amnesty in this instance is to ensure that law-abiding citizens

are not prosecuted for possession of an unregistered weapon, which was legally

registered, but for which the NFRTR is in error and the paperwork has been lost or

destroyed, or unjustly deprived of their valuable personal property─possibly a rare

firearm that is a family heirloom.



                                              D. Amnesty366



363
          U.S. Congress, House Committee on Appropriations, Subcommittee on the Treasury, Postal
Service, and General Government Appropriations, Treasury Postal Service, and General Government
Appropriations for Fiscal Year 2001, Part 5, Statements of Members of Congress and Other Interested
Individuals and Organizations, 106th Cong., 2nd Sess., at 26 (Washington, GPO, 2000), available at,
http://www.nfaoa.org/documents/2000statement.pdf.
364
          Id.
365
          Id.
366
          H.R. 2088, 109th Cong. (2005)(reintroduced as H.R. 1141, 110th Cong. (2007). The Veterans’
Heritage Firearms Act should be consulted in the institution of any amnesty. The work, foresight, and
understanding of all issues, is clearly depicted in this Act. Some provisions in this section have been taken


                                                      91
                                                                                                        Exhibit A, Pg. 410
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        For purposes of this article, the term “individual” connotes an individual person,

corporation, or trust, since a NFA firearm may be registered under any of the

aforementioned entities.



        BATFE Re-Organization: The BATFE shall institute a new division, The NFA-

Amnesty and Firearms Classification Division, whose duties shall include (1) processing

all Amnesty related registrations, (2) classifying firearms as "collector's items," "curios

and relics," or "antique firearms" under provisions of the NFA and/or the GCA, and (3)

determining whether unregistered NFA firearms encountered after the amnesty provision

expires should be registered, destroyed or removed from the purview of the NFA and/or

the GCA.



        Time Period: The new amnesty shall last for a period of 90 days, unless changed

by Congress. The BATFE shall immediately preceding and during the amnesty,

continuously nationally publicize the amnesty. This shall be implemented through posters

in U.S. Post Offices, public service announcements, advertisement in major firearm

publications, letters to those with currently registered NFA firearms, and distribution of

materials through all Federal Firearm Licensees. Furthermore, the BATFE shall be

responsible for informing the Congress of the status of the new amnesty period every

fifteen days, during the new amnesty and new amnesty extensions, if necessary. If the

BATFE fails to accurately inform the Congress of the amount of pending registrations,


and/or modified from the Veterans’ Heritage Firearms Act of 2007, available at
http://www.nfaoa.org/documents/H.R.1141VeteransHeritageFirearmsAct.pdf.


                                                   92
                                                                                        Exhibit A, Pg. 411
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after ninety days, or that set by Congress, and at any, if any, amnesty period extension(s),

a new amnesty shall be immediately instituted.

         Furthermore, any registrations filed by an individual and denied by the BATFE,

shall be reviewed by a court of competent jurisdiction. A decision in the favor of the

applicant shall be entered into the NFRTR, even if the amnesty period has ended. At no

time, during judicial process, shall the BATFE have the right to destroy, convert, or

obtain title to the firearm in question.



         Forms Amended: All BATFE forms, namely Form 1, Form 2, Form 3, Form 4,

and Form 5 [herein, Form], shall be modified to E-Forms and amended to include an

Estate Verification Portion.

         The implementation of E-Forms will ensure the accuracy and completeness of the

NFRTR by removing the human component of inputting data into the database. Jeffery

W. Koch of the Office of E-Government & Information Technology, in response to my

question about implementing E-Forms, declared, “There is merit in the idea. And in

general, the Gov[ernmen]t has a goal of increasing electronic filing, and of citizen self-

service.”367 Since many of the errors in the NFRTR are the result of typographical errors

or omissions, by requiring the use of E-Forms, the data entered by the applicant,

submitted electronically, can be stripped by the database program, entered into the

appropriate data fields, directed to the appropriate examiner, and alert the examiner if

data fields are incomplete or missing.368



367
         Private Communication from Jeffery W. Koch, on file with the author.
368
         E-Forms have already been made available by Titleii.com. To see the available forms, see
http://www.titleii.com/Forms.htm. If you click any of the Forms, you can type in the correct information,


                                                     93
                                                                                                     Exhibit A, Pg. 412
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        This process is depicted by the following: The BATFE implements E-Forms on

its website for the registration and transfer of NFA firearms. The applicant logs onto the

website, picks the appropriate Form, and enters all the appropriate information. If any

data field is omitted, the program will not allow the individual to submit the uncompleted

E-Form. If the applicant is an individual, not a Corporation or Trust, the E-Form will

allow for the uploading of the applicant’s picture, as required by the current Forms. Once

completed, the applicant will submit the E-Form. At that point, the program will

acknowledge the submission of the E-Form and produce a Control Number for the

applicant to use in any correspondence with the BATFE regarding his/her E-Form

submission. The program will also inform the applicant, if the applicant is an individual,

not a Corporation or Trust, that he/she must submit the appropriate completed finger print

card, to the appropriate address, referencing the Control Number.

        The program will then read the data fields, enabling it to determine the

appropriate examiner, and forward the E-Form information and the prior registration

information to the appropriate examiner for his/her review.369 The examiner will then

review the information ensuring that all fields are complete, correct, and correspond with

the prior registration information. If the examiner finds an error, the program will make a

backup of the original submission, which will be attached to the electronic record, and

allow the examiner to make the appropriate changes.370 Since the need for examiner

intervention should be extremely limited, the possibilities of typographical errors and

which is then entered onto the appropriate BATFE Form. While Titleii.com’s E-Forms do not allow for the
uploading of pictures, it serves to show how easy and cheap it is to create E-Forms.
369
          Currently, the BATFE assigns examiners based on the current owner’s last name. By
implementing E-Form and the programming I have discussed, this could easily be changed in the future if
the BATFE decides to change its procedures.
370
          This will ensure that the examiner does not accidentally delete the appropriate information. This
backup will be searchable, just as the regular NFRTR is, to ensure that the appropriate information can be
found.


                                                     94
                                                                                                     Exhibit A, Pg. 413
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omission should be drastically reduced, if not completely eliminated.371 Once all

information has been submitted and approved by the examiner, the information will be

entered into the NFRTR. The program will then print out a paper copy of the Form to be

signed by the examiner, as well as a digital copy burnt onto a CD, which will be digitally

signed, all of which will be mailed to the applicant. This will allow the applicant to print

out new copies of his/her Form if he/she loses the paper copy, while ensuring to the

BATFE that it is a legitimate copy via the digital signature.372

         The Estate Verification Portion shall require a registering individual to place the

name and address of an individual to contact [herein Individual Contact], upon his/her

death. Where possible, the Social Security Number of the Individual Contact(s) shall be

listed. There shall be space provided for up to three individuals, but only one individual

need be listed. Furthermore, the BATFE shall institute a check box, next to each

individual’s name, which shall allow the registering individual to enable the individual

listed to check the current status of the registration, while the registering individual is still

alive. If a form is processed, absent an Individual Contact, the BATFE shall be held

solely responsible for determination of the executor/administrator/heir of the firearm. In

no instance shall the absence of an Individual Contact, or the inability of the BATFE to

determine the executor/administrator/heir, be a forfeiture of the firearm(s).

         If the firearm to be registered during the amnesty is a machinegun, the applicant

shall be required to certify that to his/her knowledge, the machinegun was not

371
          While typographical and omission errors can be reduced, if not eliminated, the database’s
accuracy and completeness will rest with the NFA examiners and annual audits.
372
          In the light of trends toward using biometric identifiers, a gradual tightening of standards to
acquire state-issued identification and related documents, such as driver's licenses, particularly under
provisions of the Real ID Act, it may be advisable for the NFRTR to formally comply with federal
provisions for positive identification that are and will be implemented in future, in its standards for
postively identifying owners of NFA firearms. Similarly, BATFE might consider establishing standards for
the reliable identification of individual NFA firearms


                                                   95
                                                                                                  Exhibit A, Pg. 414
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manufactured after May 19, 1986. If the BATFE determines the machinegun was

manufactured after May 19, 1986, and it proves that the applicant had knowledge of this,

the applicant may be prosecuted for making a false statement.



         Amnesty Generally: The Attorney General shall publish in the Federal Register

the institution of all amnesties, as well as, nationally publicizing the amnesty 90 days

prior to, and during, the 90 day amnesty period. No information or evidence required to

be submitted by an individual to register a firearm under an amnesty period shall be used,

directly or indirectly, as evidence against the individual, in any criminal proceeding or

concurrent violation of the law. The furnishing of false information shall be a

prosecutable offense, not protected under the above amnesty provision; thus, allowing the

use of information and evidence submitted to the BATFE for the prosecution of false

information.



         Amnesty Process: Each person in the United States, who is in possession of a

firearm defined by the NFA, CGA, and FOPA, shall register his/her NFA firearm with

the BATFE NFA-Amnesty Division without payment of any tax or filing fee,373 on an E-

Form to be provided at no cost by the Attorney General. The amnesty registration form

shall include the same data elements appearing on Form 4467, which was used to

registered unregistered firearms during the 1968 Amnesty, and an attestation that

possession of the firearm by the registrant will not, to the best of the registrant’s

knowledge, violate any federal, state or local law. While the applicant must provide


373
        No tax or filing fee was incurred by the applicant under the original NFA or during the 1968
Amnesty.


                                                    96
                                                                                                   Exhibit A, Pg. 415
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sufficient information to reliably identify himself or herself, and the failure of the

applicant to do so may constitute grounds for disapproving the registration, in accordance

with established procedures for registering unregistered firearms under the original

National Firearms Act, and during the 1968 Amnesty, no applicant shall be required to

submit fingerprints, photographs, or certification by any law enforcement agency. In the

absence of clear and convincing evidence to the contrary, the Attorney General shall

accept the information provided as true and accurate, and shall treat any form that is

postmarked during the amnesty period as received during the amnesty period. If the

Attorney General determines that an individual may not register a firearm during the

amnesty period, the Attorney General shall, under the request of such individual, (1)

provide the individual any evidence on which the Attorney General’s decision is based,

and (2) promptly hold a hearing to review the determination.

         The court of law may find the following: 1. Pursuant to § 922(o), the weapon was

not legally possessed as of May 19, 1986;374 thus, requiring the immediate forfeiture of

the weapon; 2. Pursuant to § 922(o), the weapon was legally possessed as of May 19,

1986 ;375 thus, the BATFE must register the firearm. In no instance shall any weapon be

destroyed by the BATFE, prior to the exhaustion of all possible court proceedings.

Furthermore, if the court finds that the firearm was legally possessed prior to May 19,

1986, the BATFE shall pay all reasonable attorney fees of the applicant.



         The BATFE NFA-Amnesty Division and Firearms Classification Division shall

be responsible for instituting a new NFRTR: The new database will allow for the

374
           The term “legally possessed” means to have a legal property right to it, even in the absence of
registration paperwork from the BATFE.
375
           Id.


                                                      97
                                                                                                        Exhibit A, Pg. 416
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stripping of data from the E-Forms and probabilistic searches. The old database will be

kept, as a backup, for twenty-five years. This will ensure that all previously registered

firearms are registered in the new NFRTR and that an individual is not prosecuted for a

firearm, which was registered in the old NFRTR, but not in the new NFRTR.



         Post Amnesty: The BATFE shall be responsible for maintaining the accuracy of

the new NFRTR. After the completion of the necessary amnesty period(s), the U.S.

Government Accountability Office shall conduct a GAGAS audit of the entire NFRTR.

Furthermore, the U.S. Government Accountability Office shall, on a tri-annual basis,

audit the NFRTR to determine its accuracy; during other years, the Department of

Justice, Inspector General shall be responsible for an annual audit of the NFRTR. In any

instance, where the NFRTR is determined to be less than ninety-nine percent accurate, an

amnesty period shall be established within 90 days after the audit findings are published.

         The BATFE shall inspect the Social Security Master Death File, every year, to

ascertain if any registrants have expired.376 Upon certification of the death of a registrant,

the BATFE, if the estate has not previously contacted them, shall use the Individual

Contact information to inform the estate of the registration requirements of the particular

firearm(s). The BATFE’s failure to locate the executor/administrator/heir shall not

constitute grounds for seizure and forfeiture of the firearm.




376
         THOMAS N. HERZOG, FRITZ J. SCHEUREN & WILLIAM E. WINKLER, DATA QUALITY AND RECORD
LINKAGE TECHNIQUES 174 (Springer Science+Business Media 2007).
       .


                                              98
                                                                                         Exhibit A, Pg. 417
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       NFRTR Defense: In any criminal proceeding, an individual may offer the NFRTR

audit records to the court, for the jury’s consideration, unless the new NFRTR is one-

hundred percent accurate and there are no records depicting otherwise.



                                     XI. Conclusion



       As has been depicted, the NFRTR is in a state of disarray, allowing for the

prosecution of individuals who lawfully registered their firearms, but through no fault of

there own, the paperwork was lost or destroyed. This problem has been documented in

Congressional Testimony, since the late 1970’s, and continues through today. Mr.

Napolilli would likely have been convicted of a possession of an unregistered firearm, if

he had not found a copy of his paperwork. Even then, the BATFE believed the

paperwork to be a forgery, and even when the BATFE determined it was not, they

refused to return the firearm. Then, there is current day Error Letter from the BATFE to

Mr. Shafizadeh, owner of Pars International, where the firearm had been transferred in

April 2007, only for the BATFE lose all records of such, by June 2007. Luckily, Mr.

Shafizadeh could provide copies of the approved paperwork, but where would he be, if

such was not the case? One must remember that neither a citizen nor a criminal

defendant has the authority to review the NFRTR because it is tax information. Thus,

how is a defendant able to confront the database, when he/she cannot even search it, to

ensure that the BATFE’s search was not in error?

       How is it possible for a Governmental Agency to knowingly consistently lose

and/or destroy paperwork, and yet, rely on the absence of paperwork in criminal




                                             99
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prosecutions? This violates our sense of justness and fairness, and must be corrected. As

has been depicted by firearm law experts, an internationally recognized expert in

administrative records and statistics, and a senior analyst at the GAO,377 the only way to

correct the NFRTR is through an amnesty. While Congressional Hearings on how to

implement an amnesty will likely take several months, the Congress must act

immediately to stop the prosecutions of individuals, who are unable to show approved

paperwork, because of the inaccuracy, completeness, and reliability of the NFRTR, until

the NFRTR is adequately corrected. If the Congress is unable or unwilling to ensure that

justice prevails, the Judiciary must find, as a matter of law, that the NFRTR is insufficient

in criminal prosecutions.

         As Mr. Scheuren declared in his letter,

         Even though the first edition of the book has just come out we are already
         contemplating a second edition and plan to include the ATF issues discussed
         above in a new chapter. Will the story we tell have a happy ending or
         continue to be stalemated? We are hoping that changes will be made, so we
         can report a success and not a failure.378
I too hope that a success can be reported, and that, without Legislative or Judicial action,

the NFRTR will be corrected. However, in looking at the continual trend of inaction,

such is not likely to be the case, especially in light of then-NFA Branch Chief’s

statement,

         If the court should discover that our negligence caused an unwarranted
         arrest and trial, the resultant loss of public trust would be irreparable. Just
         as serious is the possibility that an innocent man might be convicted if he
         could not find his registrant form and we certified that he had not




377
          Eric M. Larson stated that his comments reflect his personal opinions, and do not represent the
policy or position of U.S. Government Accountability Office.
378
          Letter to Alan B. Mollohan, Chairman, Subcommittee on Commerce, Justice, Science, and
Related Agencies, Committee on Appropriations, by Fritz J. Scheuren, VP Statistics NORC, 2 (Dec. 11
2007); available at http://www.nfaoa.org/documents/Scheuren_Committee_Chair_Letter.pdf.


                                                     100
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         registered the firearm when, in fact, we had failed to locate his registration
         in the Record [NFRTR].379




379
          NFA Branch Chief memorandum to ATF Assistant Director for Technical and Scientific
Services, Purification and Verification of the National Firearms Registration and Transfer Record, Apr. 3,
1975, reproduced in Oversight Hearings on Bureau of Alcohol, Tobacco, and Firearms, Senate Committee
on Appropriations, 96th Cong., 1st Sess., at 42 (Washington, GPO, 1979), available at
http://www.nfaoa.org/documents/1979_Hearing_Excerpts.pdf.



                                                    101
                                                                                                    Exhibit A, Pg. 420
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                         Exhibit 22

               (Testimony of Eric Larson)




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           TREASURY, POSTAL SERVICE, AND GENERAL
              GOVERNMENT APPROPRIATIONS FOR
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                                            HEARINGS
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                              ONE HUNDRED FIFTH CONGRESS
                                                SECOND SESSION

           ~coMM11TEE ON THE TREASURY, POSTAL SERVICE, AND GENERAL
                                 -   GOVERNMENT APPROPRIATIONS
                                     JIM KOLBE, Ariwoa, Chalrmon
       FRANK R. WOLP, Vlralnla                             STENY H. HOYER. Muyland
       ERNEST J, ISl'OOK, Jft., Oklahoma                   CARRIE P. MEEK, Florida
       MICHAEL P. FORBES, New Yori<                        DAVID &. PRICE, Nonh Ca.ollna
       ANNE M. NORTHUP, Kentucky
       ROBERT B. ADERHOLT, Alabama
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                                                      PART5

        STATEMENTS OF MEMBERS OF CONGRESS AND OTHER
             INTERESTED INDIVIDUALS AND ORGANIZATIONS




                                      U.S. GOVERNMENT PRINTING OFFICE
        47-740 0                                 WASHINGTON : 1998


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                                                    by

                                              Erie M. Larson'




                       Subcommittee oa Treasuty, Poml s.Mce""' GeoaW Oo•a-
                                                   ofdle
                                       Committee OD App~up.-......
                                                            '-""
                                                              · -
                                         HouxofRqa              .. ..

                                   B-307 Raybum -        Oftice Bu~cli..
                                             Wasl>ingt4n. D.C.



                                               April 3, 1998




            M ....,_is a Comribu<iQg Edit« IO tbe Olficia/ R. L Wi1-Prl« c;..ldr IO Gwt
        'Eric
        Cal..,,,.. the Blw - o f Gwt Vat... tbe
        Gair,.,......   _ _ ,,_,,..,,..,           $landardOmlqr of""'-., tbe OJ/idal Pria
                                               utd bas bom aLift""""°"' of Naboaal Riftc
                                                                             the
        A•      w• •ofA-a lincc 1968. His rcseorda has bom publilbed io 11w a.. IWport, CADA
        c;,,,. .Jowna/, Moclwlw c;,,,.-. 0 -0 - . s-all Anv -
        be is audiorof V""""""'of dw  -Bon
        ldmli~ Ajourmlitt and dcmJjp ...... by uaioiQg. lie        .,-oc1   ..;ii.-·
                                                                            · 11w c;,,,. .,_,., and
                                                   H4R Hondy-Owt: A PotbtGwldt,. n..;;.
                                                                                            1974 rr-
        d>e UaiYU'lily ofTCDS al Ausba, whe<e be abo ......Sa PILO. and throe .......... cletP-




                                                                            Exhibit A, Pg. 423
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       My_,,. is Eric M. ....,_ I -mod bcb:e dis s.bcommin.e in 1996, ...SU. IWI, end om doiQg
       .,...., dlis,_., --.-arcnio1heNlboaol r,,__ Rqiolnlioa ond T.....m Record
       (NFRTR~ ThoNFR11l-                      -tbe--Aa(NFA)oll934. ThoNFA
       is clesopecl to """'10I firtarmo thoup to be COilllDOli} UIOd by crimiools by requiriaa ...........
       oltbe linormo, Md ..... ptihililiYo taxes to rmuce   thar-._           discribWoa, ond ow..,ai>ip.
       h isa lw1b Cidcral law to di-...ge illqplly IDIJJllficbJrio ld&as. or_..,.          band.,...-.
       lllld1ine suno. ond similar - - . aod !he cunu.i down ol """"""'ionol oho<,...,. or rifles
       (regll'dlca of 1hdr ealib«) to make eencealable W - Any v\olalloo ofthc: NFA;, a felony,
       canyins a penally of up to a SI o,ooo fine end 10 yeari impri_,_ upoo . . . -

       The NFRTR i1 a permanOl'.ll record of aD transtdjons involvin8 NFA 6tCIUTM in the Unitod States.
       II is currently localed within Ille Buseau of Alcohol. Tobacco end ,,_(BATl'), which under
       current law is ruponsible for administcrine: the NFA. The· NFRTR oontaiu a variety of rooords.
       includins •ho original l'Olli1U11lioru acd suboequent tnrufcn ofNFA firearms 10 .... end local law
       -            ollloen...,. and local - . private ci.U- who .,., leplly qualified to own .uch
       f i r - ....... ""' prohibded &om doing .. . - ..... « loeal law, ofb'anlfln to and &om
       fcdcnly lic<mod !'>'FA fircorms dealen, end -             ofNFA firwms-.., by fmcr-.lly
       tioenscd NFA firoanm-..._ Bcause oflho _.,. ~ f« viololions oflhe NFA.
       IOO.nle IOCIOI d k $ ' • ii--* IO a\tOid ~ I*                . ' • Md IM uNawt..l .mn ofVllic8y
       ,._NFA--

       1 ... . _ . . -         ,... today tO respeafiJlly  "*  lhe ~·           • "'to -   -mg ...
       NFR11l '*-..-Y«tbe-o( A1co1m1, Tol>oca> aod F.-(BAm and to pee                                •ly

       is,..,.,....,..
       ......... - . to tho
                     fOt !he -
                                 llt\*••-of      Juolice. ,,.,... pr<lilllliy tnow, the:~ of luslX:e
                                    boclrgwnd cbd" of penoos who wish 10 p<JfCbue ....,.,,. w1JiclJ
       is scbcdulcd to 80 mco e&ct lhis yeor. Tbetefiltt, it would be reladwly    _,.to   ~POlat• dJe
       NFR11l mco tho mcbriog idraouuolutt, and modificarioas to allow lbr administralloo oldie NFRTR
       would likely be w:ry minor RenlOY>I oftbe NFRTR ficm BATF wiD alao pl.toe tholC =ords within
       a profenional Otpniurioo that is capable of maintaUUng them, and prOOably will require 1 bodly
       noodcd 100% .--d wriflcobon. Tho BATF (and, possibly, ocher      law..,,._,,...   agencies) would
       continue to have acoea to d'° infonnarion in the NFR~ for Jegit:im11e law enforoemen1 pwposes.

       My ~ about errors in tho NFRTR eYOIYed ficm tho ltUdy of ccnaln rare fir......, thol ta!
       under the N'.FA ill 1~ tarady for tcchnicaJ reasons. not because they were commoniy 1ssoci11ed
       ,.;11i <rinWnal actMlies. Toclly, these fireatms are historical artl&cu thll reOICt I bypie en when
       there ...,. no fcdcnl coauob, aod Wtually no - . """'10b, oo firw1IU daip. Tbw, dJey
       -         I"""""    nidio in US. fireorms s-aJogy, beca>te there is n«lii"ll doe like them, ond dJey
       are h;gbly prized by colloctoro. M my research oo these ..,.. ,.... publilhcd in ...... ,...,...-
       firtunt -
       me. ThoBATFlm1qw
                           boob, ............. penoas....,      bad inberilcd lhoae-~····
                                        edmytole-ioditco · c....,..iolhoNFRTlltowi:the
                                                                                                      ....
                                                       2

                                                                                    Exhibit A, Pg. 424
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      - " ' ol1hnc     er- - Ibo NFA as coAeaor's items, but lhM it"°'--. In foci, my
      _tnd,.._milmlasd>emult olmy.iscoYayol...-orronmtloe NFR'J11.ml
      - 1996 •Mrirrrm rr-kn '"" 1hQ11trJv rbr his iD BA1F• iDICftll to tty ..s ~ MMSllioD
      owoy tnim orron io Ille NFRTR or impup my mocMs, and tNI it wllu BATF bos- dcq.

                       m
      BATF lo...,.... ponnyieg me u • colka«, bul w1m chimscd

                                                                  - this_.., my -
                                                                             it tho &ct thol some
      people wbo iolwrilal oomc ol lhcte &...... told me thol BATF . . _ , die - . . , . _ . "°'
      reaitt<ml. """doclorod !he- ~--...i
      oppor<ftly, oome...,.., In oche< ;nstances, people who--. .....,.S by
                                                                            be -..S co tho GcMr..-:; ...s

      .coured their prcmitct. found a vaJM:I ttgisrration documcnl-end ahowed it to BATF. Thea.
                                                                                                    told mo they

      oJlea«lly, BATF .,;d 1 ristalcc bad bocn made and lhe NFRTR wu oma>docl to register the firarm
      10 the-.    llwfWownor. In CMIY m...noe, the people involved told me tboy-. a&aid ofBATF,
      and dictn•t wan1 10 be ideN.ified.. but wanted me to know ttiJ information. Whi~ there certainly is
      a "collcctor'a item" i.ntcrelt in mis 1ituation. the loss or destruction otfireann Rgistrati.on records by
      lhe BATF cleorly places my cooccms in another dimcosioo lhat ls ranovecl tnim I"" collcdll>g.

      I was owueol"-......,.lbr 1 oumberofy<W1, bul there--' oo way olproviJ>g them -
      wayorlhe--olthe v<il o f - thol tllidds NFRTRf'llllOnls-public ~
      The,_ it lhM the NFA Odf'p-. tbm diodooure as does the TIX Code ol l - . under
      whidltheBATFbosdcemedthemtobe"12X""'"'5." ThcBATFlbo~-tlie"tD
      """'11" ..... IO - up wnqploiog by ds-lllld                °*>-
      from my pa $ ,;..,. the~ rtgt:fdiQg tbe 6ranw I wat IWWW t • • ~ di I                          . ..   ly iD
      Mardll996,b--

      rni. I was •eel byL lliclwd Linle6eld,-~ oltbe~ Anm Doolen A....-.UO-
      (CADA) to tcstlfy be{ore tbil - - ~•more 1.-.--.asthelaw
      ollowl, for l h e - boro ~ Handy-Ouo, r.wble's Game Gotter Oua, and 9milar fircanns thol
      come under the NFA in 1934 moioly £or 1ecbnicol - · I'd known Did< since -       1919, ml
      he was owwe olmy .-di, bul CADA's testimo<ly WU oot lim&tod IO theoe fireonns. lnoleocl, -
       oflhe......,.. CADA leotifiocl in 1996 WU to ask for. dlaose in lhe law lO ollow tedenlly -
       liTcttml dcllen 10 buy or tnnsf<r "wrio Of retie" fin:arms amons theonooMt U gun shows. The law
       itself al that time wat sllent on the issue (that is, nothins in the '°gal oode prohibited soch
       ~~ bul BATF tool< the poshkln thol such ....-oos-. Ulegool,                      and
                                                                                         nobody wanted lo
       incur lhe 1<811- olflghting the BATF. So, !he law wu ul"-tely choJ,...s lo oJlow tedenJly
       &c.nsm fi...,,... dealers 10 be Ible t0 i..y lllld tell - froro ...i. oche< • I"" - ..
       The-......, was dlol for the finl time, Y>tid and,_.,._ olthe mi_...... ml
       ~ ol'NFRTR -became ovailable. This it a -                   IN! Ml boon callocl the Busey
       n.-opt. "1lidlwasNleuocl . - a F - o l - A c l RoquM. Tlis-itthe
       rooordof1 •'~ ; llP" ...nag- ll BATF h<adquorten - -00 Oclobcr II, 199S.
       "' ............ thcn-09d"olthe -     nr...... Act Bmd,                 Mr.,_.,._, -
       the aTO< me io the NFRTR was SIM when be finl .......S bit duba the 'ft* bcCorc; omd -
                                                                                             dm




                                                                                          Exhibit A, Pg. 425
                                                          )
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      BATF always t..aifi<d in ccun that tho NFRTR was 100% """"'"'alt.bou8Jldw...,. oot 100%
      auc. Towtnl theend o(!Os ....---... M<. Busey clilcuM<d -•«tins a iiUlllb<r ofenors that be
      - . .......ed:

             Wbll we' re eoin8 '°do is we'r eP@.to go ti.ct,. swtina with the W:csa mtr)' and 'WOftirig
             bad: IO !he oldesl entry and ,,,,.;,,,. """'!bard copy ofcvay -              wi1li ils entry into the
             data -    '° -  ;i'it's C>C>iT<Cl. I thinJc onp..11y ,.., figurod this woold Wee 7111 man clays to
             do this wrtb fiYe people ~tring ., a computa- eight hours a day.

             But it"1 the orly~ W t 'We can feel that we can ~·er get it oomp&etely accurate. It MU fine
             to bqM J111ning et'eJ71hi111 in acamde • yetU ago Ot" at lttUt N l'"'"'"kd "yeti/' "80 it
             • 'OS COl'N!CI, ht what ore J"'" i oint to Jo witlt tit~ mrriu 1•a.t go bock U> the early 'BOs
             M4 t•e '1tn •nd dae '601? [boldface added for cmph1ai1).
                                                                                                                          •
      It wu an as1onishing admission. Based on Mr. Busey'• statemcnu, and information about aDeged
      emwt in the NFRTR &om firearms coUcctors, I anatyzed stalisdcal data that BATF bad publicly
      n:'-<d ...b)'WonNFRTR...-aai.,;0eosinceawma-dy 1990. lnmy 1996 testimony,
      I document«l o!Mous mm in the NFRTR, including !he &et that every year sinoe 81 least 1992, the
      BATF reported rOJiSU11ic>os or firearms during years and in categoriol w!Uoh they~ logi<aly
      e< leplly txisl, and the apparmt addiboa ol firatms to the NFRTR re< years befure 1971 . I also
                                                                                                                      ..
      .,.__ a copy o(the Busey Tramcrip< in the~ to my 1996 ,...m-y.

      Oo May 21, 1996. las than a~ afia- my....-,., U.S. Dbarict Judge John A. MxKeoD<
      dUnmed t!Ye Otllf'iaio• for <mq £i>t,.1bcx> olNFA firatms oa aff*I, declaring that the NFRTR
      records \¥Cn •oo unrdiable to support a ~ In &.ct. a BA~ Spocial Agf:M. Mr. Gar.;i N                            "
      Sdlliblc, taDDod !hit BAlF ~ coold Si &a have datrO)'ed the _,,,_. in ~ Th:
      U.S. Altomey prooeaning th< cue declined to - , . . , and rho BA'l'F bu not appealed th<
      dismi1sats. TheBATF Vri'l!U this case to go away. Ml will show it dn't going to go away. becau!'I.'
                     or
      it is the objccc continuins action in Federal Court.

       Ast~)'. the BATF made no apparent effort to correct the problems that I idcntlfi~ becall$(·
       l deteo1ed thtm In tho next round of data it released the followin.g, yar. So. I recumed to testjh
       before this Subcommittee nearly a year lacer using these data. and this time extensively documcntt·•I
       credible insu.nocs of apparent mismanagement. misconduct and crimil'.lll wrongdoing by BATf. On
       May 10, 1997, I form.Uy compla.ined to the Treasury Oeptttment 1.ospcctor General (IG) abo1 11
       acveraJ specik evem:s. but on Juoc 5, 1997, the IO wrote and told me 1hat rt was dedinio.g h •
       investip1.-.nd was referring my complaint to BATF ln an cffoc't to try and preYenl what sur,·I\
                                                                                                                      ..
       "''OUki have been another ooveNP, I contacted the House Commiltee on Govcmmcnt Reform .ii111
       Oversight. lo euty Oetobef 1997. the Committee orda-ed the 10 IC>< (I) ind<pendcndy oudit ti•
       BATF's 6rcann r.....ntion pnctices; and (2) ...iuate llie BATF"s inunW report. TbeT,_m
        Depwb•tia• lnlpec:IOt GmttaJ bas not,. to the best of my ~ dgc. rec reported iu 6ncings. to ti..
       H.,....Comminee.




                                                                                                 Exhibit A, Pg. 426
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      Aldlou8'> tbe BATF ........ rqiort .,._.,,,,,,...... io Sq>c...- 1997, I wu umhle to obcaia a copy
      until 1otc J.-y 199$. n.. ...W.s - • no surprise: tbe BAIF oomlJleUly <>«MIOrlled illdf, and
      ib rapomes to my llfglsions toe111t0raisepublicsocoerycbewiagto1 new~ ID response to
      . . - . - . , . 1 ~dal BATF-.addiog fir-to tbe NFRTR lftc< "°"8....-ed
      by !heir owncn with Vllid rqpsu.tion doo-s, BAIF -ai thal IUClt oppor<nt _ . . , , , . , ,
      be" duo 10 red T • u oCfcnns. Yee. when I asl:ed NFRTR CUllodiln (loiy N. Shaible io April
      1996 whether BATF hod odded firearms to the NFRTR - . . 0 lawful owncn _ . , . i valid
      documenu of which BATF had no rCCO<d, be stated: "Yes. I ..,...,. thal's hoppenod." Thus, it
      appears llkdy thal 11 least >OmC people have boeft UrfU$lly J>rO"""tecl for posses""8 I lawfully
      registcrod firearm. for whid BATF lost or des&royed the registration documcncs.

      In"' U.ernal 1981 BATP repon I obt.Uned uncle< a Freedom of WOnnati<>n A<:I. "'I.-_ bul which
      BATF apparendy roJcuod to me by mistake (1 hadn't known it existed, and had not rcqueatcd it). a
      ~BATF employoe stated lha1 some fireonns W<te registered to -~ who would 11- ha. .
      been 112 ye1t1 olcl-and that DATF knew tbey were dead I BATF'1 data show that of 14,259 NFA
      fueatms resi"ered from 1934 10 1939, 11,175 (78%) ""' &till owned by the aamo person .,.
      organization who registered or obtained them that year. A pertOO who wu 21 years o~ in 1939
      would be 10 yean old io 1998. hit safe to COllCble tha1     "'°"
                                                                   oCthem.,. now dead?

      Ofd>c Sl,904 lir<or1Dl rq;,ttted ~ lhe 1968-. 50.314 (SS%) are still owned by !he_
      people. 5..-wllo was 21i->oldio1968 would be ogcd SI io 1998, a 6S-yew-old would
      loday be 95. Al .... _,. ofthese people ore dead. Yee. BAil - · io ils inccnal rqiort lho!
      ..... m..-awJ be ,..;.rttec1 to deed people, bul BAil bu no knowledge oCtilis.

      Mr. Olainnan. -      oC tbe SS,904 . _ , , rqp$Uarloo lOnm baa a aocial -'"'JI ...- 00 it; i<
      was a roquRd dllla 6dd for the oegistiaDoo to be ""°""ed.
                                                              It woold talce no more !hon a few hours
      to dctamnc ll1>m the Social S=rity DeSlh Index exaclly bow many ofthcoo Sa,904 NFA &r.ums
      arc ,...paered to poople who are deod. Whal does this say about tbe abWty oftbc Oowr...- to
       keep lrld< of firearms it believes an: dangttOUS7

       And how pcrvulwi it this prob1cm? Well,. aooordin8 to the mo• roocn1 data BATF hu ~blicly
       rcleucd (u ofDocconber 31, 1996), exactly 108,5~ penons havc ncvcr legally transf=ed tbe
       owncr.rup of nw:tUnqpms. bazoobs, sawed-off~ band grcnadct, anti-W1k rillcs, and limilat
       devices that they registered°' acquired by transfer lo or before 1971. lnum.ich u the'NFA was
       enacted in l 934, this CO«esponds to ownership periods of from 27 to 64 yeu1. Someone who
       resjSlered an NFA firoann11age65 m1934(thcsp«i6c~ citedbytheBATF ~in
       the 19*1 iritcnW report) would have been 112 yewsokl in 1911 ; in 1998, aucb a pcnonwould be
       129 ye111 old. Is this -od .,.,,._,. oo lhe part oCtbc BATF7 I tllink not.

       I oouJ4 80 Oft II some leo@lh about these and similu ~ and have - - S tbtm fo< 1he
       attacbmcnlS to my 1arimony, but feel that I ...,., ddcu$I two more licu.Wom bcR. One aCtbcm
       poteotialty - · ... pcr-9y; 1he -            is vatid and -       evidence oCbodl P<'FY and ..
       ..,..,,.,. by BATF to_.... to try and_,,, up emn io 1he NFRTR.




                                                                                 Exhibit A, Pg. 427
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       After my April 1996 tcstUnony, through a ..n.. of Freedom of Information Act requests, I
       discovered that four firearms in my persona.I oollection were apparendy registered or transferred
       illeplly by the BATF years before I lawfully acqlrired them. All of these 6reorms are smoolh bore
       H.lRHaridy-0.ms, and bear serial oumbcn 5592, 29691, 5-0885, and 53637. Two of them""' new-
       in-box. .,. quiu - · · and came liom the H.lR Factt><y C<>llectioo. I document«! tills in my
       April 1997 testimony. As t h e - t o my testimony today document, on January 31, 1998,
       I formally requested a $1atement 1iom Nereida W. Levine, Oiefofthe National Firearms Act Branch,
       asking ifthe BAn: plans to seize these finarms as contraband, and undertake a foffeiture action. In
       1lettesdatedM.vdi3, 1998, OiicfLmoe confirmed »illt I ahudy knew-ftamely, tlw the NFRTR
       shows that the tirearms are leplly registesed to me, a question that I did not ask

       The question Chief L<Mne left unansw<red, and which I re-asked in an immediotc followup letter
       dated March 6, 1993, is wh«hcr thc BATF oomidcrs these specific 6reorms as subject to ,.;,.,,. and
       forfeiture. Jhave received no respoase to this letter to date, and I don't believe it i$ because Chief
       Lcvioe is unable to read. l think I have received no response because I have plaood BATF between
       a rod: aod a bard pJaoe~ namely, if BATF declatts the firearms are contraband bccau.sc BATF rtsclf
       illegally rtgi.stcred or tttnsfened them. that means the BATF has admitted at least some of what 1
       have aUesed, which is tlw the aocuracy and integrity of the NFRTR has been compromised.

       I hn1clydo not know if the BATF will tnO\'C to seize. tbese firearms after all tbis blows over. t_f so,
       111 have documents to show to the U.S. Attorney who prosecutes that action, demonstrating that I
       have~ 1ttempted to deol with this mattes as a TCSpOOSible citi= by onntaeting the BATF,
       u wdl as my elected ~in the Ccngress. Mr. Chairman. Members of the Subeomminee,
       ayou legally bougl1t somc:ding in. tnnslction that the~ approved years ago, how would
       you fed about having your Government forcibly invade your home. sftze those it~ and go to
       Fedesal Coort to pennanemly oake thesn awwy from you without 1ny oompematioo? Thal is a teosion
       that I have lived with for more-than a year now, and I can tell you that I don't like i1. Wou)d you?

       The secx>Od situa6oo is evidence ofbo(b perjury and an attempt to continue to OOYCr up errors in the
       NFRTR. SpcciJieally, Mr. ShaiDletold a complet<ly tlillCrent story in the 1997 BATF internal tepott
       thin he did und« oath in fedesal court. In the 1997 imemal BATF repo<t, Mr. Schaible stated """"'
       oath that the registration documents I Wat referrins to in my complaint were thougb1 to have been
       destroytd some 8 yea.rs a&9 by contract cmpl~ not BATF employees. Yet, my question
       specilically rd<md to the May 21, 1996, testimony, whi<:h Mr. Schaible gave unda-Olth in Fcdenl
        0Mt, tl-1 Bfmed spocjfjql!y tp the BAlf tmplnym that Mc Sf.haiMc 3181cd mild have d(;SlmyM
       thcdoo'annm 1924 whk:hiscoosiderably Wer lha.nthc: '986-37 riwfwm BATF cit~ I ha\'e
       repeatedly gone OYCt each """11 of each document, and I con find no obvious explanatioo for this
       blatalt diJaepancy. I undenoand lhlt David N. Montague, Esq., a private attorney reprcscoting the
       defendant in this case, filed a Writ of Habeas Corpus oo March 25, 1998, in fedaol coun regarding
       the siogte outstanding conviction based, in pan., on the d~c teSlimony of Mt. Schaible. It
       seems to me as though the BAlF is continuing to try and cover all ofthis u.p.




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                                                                                       Exhibit A, Pg. 428
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      /)f;lnm, . . -  -H. ·-Act . , ;, ,
      lo ,. 111idc ..wed~ Perjuly," plilUlled iD the Ocl- 1996 iulle of Vc>i« jtr llw

      dwty ""'*'"'ed""""' -
            'eded·
                           Jdlnes DI, Esq.. -ed -"tho 0.-/ tape -
                                                       IOd -
                                                                  deolty aculpo'O')' and
                                                                  ;., ~""""""I·" He


             Al -       tbe -        ~ Uniied Stares Attome)'I, Uoited Stales Ditoric! Judtles. and
                                                                    '°
             other '*der1f and locll llw eel.,.ceuxn afticilk se ~ 1cam wtw moll dc:f"cnse la'W'J"R
             and JWI deelcn hlNe known for ycan IOd wbll tho aftcnnodo of Waco and Ruby Ridge
             sw1dy illustnted: BATF -                and ...... lie, di-lo and coYet up on IA
             inltiMJonolizcd basis. These .,. ooc abem<ions; they otc an IUlwdonal way of life. Just
             who i1 the criminal in these cases?




              T-
      For the above reuons. and the documented evidence I have praemed in my 1996 and 1997
      tcstimomc.., u weU 11 in the setf'~planatory auachmcots to Ibis testimony. I woo~ like to
      n:opectfUly ut the Suboomrnittee to consider r<mOVi"8 tile N:fll'IJl &om custody of the Bureau of
      Alcol>ol,          and Fi""'""' (BATF). and 10 .,..,.._.iy t<Wian its ftJnction1 to the o..,..,,,_
      of Justice. The Oepanmcrlt of Justice is the entity which ICIU&lly conduct• all of the background
      clw:cb tl>ot the BATF, IOd other low"''"""..,. tg<OCies. ""'at trial for vioWJono of the law, Ind
      has a mucl bctl<r syttem !hon does the BAlF for.....,;,. the_,,..,. and intqrity o f -
      ru:o<ds. In _,.,., the BATF Im destroyed NfllTR records, Md about it, and comimled 10 lie
      oboulil.

      As,... bow, .... - ~ - - for -                    who ...... 10 iudme handjp.m is
      ~ IO ID~ c&cl .... dis )Im'., and the Oq;lwbDUj ofJusdoe ii l I~ C ri'~ for doim8 mete
      .--.1 clloc*L MoYiogtbeNFRTR tiom BATF to tbe Dqwwoflustiot -                    w      tMI BATF
      (or its ..............i . . hopcfol of change iD this area) _.id llill ~ U....,.,... to lheoe
      records !Or lqpdmole law enforccmeol purpc»es; i.o-, Ibo BATF oould oo ~ illeplly
      ..........,.., • ...,, thcse reoonh. TheDep-of Jullice_.id bave oo iNdwtional .-oa
      to clo oo Ind, indocd, woold liltdy be mo<e objeclM about maintainin& their aooJnlO)' and intqrity.
      In my~ by ils po11 actiom and continDng effi>n• at uyina to..,_ up it• wr~ the
      BATF has forfated any righl to custody ofthe NFRTR.

      Whal 1 wu • 11udcnt ;. the Bra lnttfiovemmental Rdations c1u. that the ..... great. o.m.ra c.
      Jordan taugjlt iD 1979 at the Lyndon B. Johnson School of Public Alfiln II the Uoivtflity ofT-
      11 Austin, ahc. IOki UI:


             "Government by the people is not a spectator sport."




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                                                                               Exhibit A, Pg. 429
           47.740 98 . 2
ase 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 431 of 67

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                P>opoood RemoYll ol'the Natiooll Ynanm ~and 1"rwltftr 11-.t
                     e-the CWtody oft h e - oC Akobo1, Tobocco and y,,_
                         and iu P>opoood R-.noo to the~ o( .JwUce

                              APPENDIX AND TI:STIMONlAL EXIDllITS

                                                       by

                                                £ric M. Latson'




                     SubcomnDltaooT,..._,.,Posul s.r.uand Gcmnl Qo.., .., _
                                             of the
                                  Ccmmittcc OD Approi>riatioos
                                           HouseoC~es

                                    8-3-07 Rayburn -      Office BWlclina
                                               W&Sbiagtoa, D.C.



                                                 April 3, 1998




      1.E.ric M. l.arlon iJ a Contributina Edi1or to the Official R.. L Wil.JOn Pri« Cflt.k# to G11n
      C<>l1«'111/1. ihe Blw Book of Gun Ya/ws, ihe Slalrdcrd ~ofF-.... 1he ()ffekd l'n«
      Gwidr 10 Antlqw andAfcdlm F",,.,,,..,... and bas been a Life~ ol' ihe Narional Rille
      A>soc:ialion"'A.-ica ......     1968. His .....,... bas -       ~ in " " Gtm /lq>art. CtDA
      Gun .Jawmo/, Mat:/tlJw Gwn N...., c;..,., /Uratmt.d, s-.Jl Anou -           · Tit< Gun .lolmtal, and
      he is ..ii- ol Y"""°""' oftJw    _,,Ben           H&R Hand)>-Otm: A Podlt 0..ldr to 71tdr
      ldmli~. Ajoonoli11 andclemograpl>erbyu.ining.he..-cd wilhhooonm 197411-om
      ihe U - , . olT- at Aut<ill,      ,.._he       aloo eamcd a Ph.D. and -       mu1.n degrees.


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       u1 w..,..1m; .._
       ~ Al-99712

       2119191



       My , _ i1 Noel N"'°liUi. I n aretiml piblic ocbool -                of 21 rn. I n writing
       1o yoo .,.,....i;. II» Mi"" ofmy GorD8l MP-<40, by BA'Il', ia 1993.

       I Ac..nly lt1med lhll my cue ww iacluded ia formal teitimoay 1111 April btfbre lhe
       HOUie Sub®mmlu.. oo Treuury, Pootal Servioe 111d Oeoenl OoV...-
       Apptoprilli001. 11110 ditcovered lhll it was l!P"cifically brouebl lo tho -.mioa of Ml.
       Cnl Serpa oftbe Treuury~ Office oflalpector o.-nJ 1. . Oclob«,
       ......,.,.. .. bao....   t   -ied ....

       n.nfon I witl IOtp ioto Ibo leplities Rpdiilg my cw llon. I boliow tbll d>I &ell
       will 1pHkfor-lwa. I timplywoald ookfcr,_-i.1p · - - • I BA'Il'lo
       .-:amyMP-40.

      All yoo lmow, I ~ BA'Il' fer Ibo .-.. of'""! MP-40 (..n.i 4212) -                lboy rebed lo
      . - . ii lo D - 1 t.d vo'-ily- it lo lbem for revi- of. . firesm IDd it' •
      ~oo-wootc (F- 3). 1 - - lo tbom-lboyqoom-d>I &cttbll
      lbe MP-40 - 1...Uy...pi.r.d.1\oir1-.ury ~ doUnniiiod ... my
      p- wool< - DO( a !Grpry,
      ,..._;oo, -
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      oflitisllioo, I <hppocl ... mil opimt lbe odvice ofmy . . -ila. '111i1 -           -         my
      wift llld I were &d>I ofBA'Il' repria11, the oeizlre of my 1izol>le firesm collectioo,
      be"'8 " bloctc ballecf' iii fillla'O ......a- re<plirilla BA'Il' _.,va1 IDd blq "-'-<I by
      · -"inepectiOlll". '!\ere - oub-al eviclcoct lhll -                     lllilp woald likely occur
      b•ed oo olher iacideall wilh whic:li lwu &mili.'. I alto had to ccmiclerlhll lhe coel of
      •Clllllouia8 111;,.tioo spiaol BA'I1'     w• goiog lo fir .....d lho val11t ofthe fll'01n11
      involved. I ww very apMI -having lo~ lhi1 • - • llio limo. II boo- wono
      l k 11....d lhll BA'Il' _ , . , _ t.d delbor<d -,...;-;oa -                               lo avoid
      bviDg to won cm -           IDd lhll lbeir - -     _.,Idled       a 3°'4> """'nio. I feel lhll lhia
      tlll:in '8cidtal WW zm C             j wl cavalier at 8ATF't psi.




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       a.n- Orrill a Rlidl c....m- oo lbe Judicisy
       ~ Jiml:Allbl - - - oo T..._,., Pootol s.rn.. llld Omoral O o -


                                                                                   Exhibit A, Pg. 431
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                            UflTED STATES 018'1'1UCT ~
                      fOR 1'HE DIS'!RlCT OF ALA$D. A'l FAJ.:RBAHJCI

       NO&L & • HAPOLILLJ,                 )
                                           )
                    P1aintiff,             )
                                           )
             v.                             )    Cxv:IL ACTION NO.
                                            )     F1'3-00S7 (JICll)
      UNtTIO S'l'ATES OF »£RICA,            )
                                            )     CCHPIAINT roR RETURN
                    O.t'endant.             )      OF PROPERTY



             Plain.tit'f, Noel £. Napolilli, by under•19ned oounael, bring•
       th• t'ollowino complaint and for hi• cau•e ot' action alleg•• and
       complain• . . follow•:

             1. Thie pl..UnUt't', ~ E. Napolil1i, ia a natural individual.
       and an ackalt citizen ot' the Seate of Al.U.. and th9 UM.tad stat.ea
       ot' America, reaidin9 at 251 N.apolilli i.n. , hirbanta, Ala.ab
       99712, vi.thin the jurlecb.ctioo of thia court.

             2.    ni. det'endant, united State• oL America , ia the national
       ~re.ion     and ..y be tound within the ju.rladict.ion of' thi• Court.

              ). 'ftda• i .a an action. for the return of' pel'90ft&l property of
       the pJ.aintitt ~ly and illega1ly oaized tr.a the pJ.ai.ntitt by
       th• unit.ct Ste.t•• and wrongfully and ill99ally vithh•ld by the
       United lte.te• t'rcn the plaintitt'. The event• and aota oomplained
       of bere.1.n ooour~ in the Stat. of Alaaka and there.fore vi thin the
       juriadiation of thia court.
              4.   Th• Court ha• juriediction o~r th• partie• to and the
       au.bj*Ct matter or this action by virtue of th• proviaiona of
       Sect.ion• 1331, 1346(a)(2), 1356, 2201 and 2413 of Title 28 of the
       United ltatea COde; sections 5872 (b) and 7323 of th• Internal
       Revenue Code of 1986, Title 26 of the United Stat•• COidi9; section
       92• (d) (1) of Title 18 o~ tho onit4d stat.ea Cede and rectenl Ru.le o~
       criainal Procedure .. 1 (•); and the court •• equ.i u.b.1• and a.nolll&loua
       :)uri.clicUon .

             5. Venue ia proper in tlda j\adicial dietrict by virtue of
       the proviaion. of Sectioo• 1391 (b) and 1402 Ca) (1) of Title 28 of
       the UIUtect Stat.es Code.




                                                                      Exhibit A, Pg. 432
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               ' · The pl&intitt, Noel E. Napolil.ll, ie, and at all U-•
       pert.inent to tM• COlllplaint -.., lioenMd by the 8areeu ol Alcohol ,
       TobeOCIO and Fi~ of the United Stat.a o.p..ra.nt of the
       Trea.eu.ry (hereafter •BA.1'F"') , an agency wKI 1-M~ta.lit:y of the
       datend&nt Unit.ct su.taa of Mnerica, . . a d6ale.r in t'irea.ra8, doing
       bua.ine•• •• H~ ~t, a sole proprietor9hi,p. Be ia, and at all
       ti-•    pertinent to this oc:mplaint .,.., a M!'F Claaa :! Special
       OOOUpati.onal 'f'u:;pllyer, that U , one who aay eD-9-0• in the purchaae
       and aal• ot' machin.egu.na and oth•r t'ir9a.DM •• de.tined by a.et.ion
       5845 of th• National Fire&r1U Act ot 193,., ••         •••oded,26 o.s.c.
       a.ct.ion 5845, Internal Revenue Code of' 1986.

          ,  7. On or -.bout July 13, 1985, th• plaintiff' puroha•ed f rom
       a tedenlly licenHd Fairbank•, Alaeka, t'ireanu dealer a f.S.ra.lly
       re.giatered HP- 40 ...,chinegun, caliber 9 ndllilMlt..r, a.rial      n~r
       4212 (herNi.ft.ar "the f'i~"') ... . a world war tl era Genaan fllilit.a.ry
       . .chJ.negun cc::nMC>nly but aiatakenl.y referred to •• a "Schmeia--.r."

             8. on or about AUguat 26, 1985, th• Natiooa.l Pirea.rme Act
       Branch of' BATF in waahi..n.gtoo, O.C., t.hrov;h ita authorized
       repree.ntative Gary SChaible, a pproved the tranefer of the t'irean11
       trca the aeller to the pl.aiatilt b'J' P*:Ution o.t the required &MF
       Fora 3, "Aipplicatioo for TaK.-~t Trane.fer ot l'i.reia..i::m and
       "-9i•U.tion. t.o Special (Occupati.ooal) ~r. •

               9., Follovinq the official re¢-•trati.on and tnn.ter approval
       de•cribed in peragraph 8 , above , plaintiff' toot Po• . .••ion of the
       f irearm and remained in peaoat'Ul., uninte.rrupt.d .net lawful
       poa . .••ion ot' it until on or aboot F.t:.ruary 3, 19n. Plaintitt ha.a
       re.ained the eol• ~ lawt'ul ~r ot' the tireara t'roa JU,ly 13,
       1985, through the date ot' tiling of' thi• ooaiplaint.

              10. Jn September of 1991, BA.TF oond.uoted a t'irearnr.a ckta.l•r
       oon1)lianoe i ntpection o f the plaintiff'• bu•in••• · '?'he inapection
       waa aaciataotory, ..,ith the exceptio n that pla intitt had in h.ie
       po•••••ion tour National Firearms Act tir•&Dl9 (including ~ MP-40
       which ia th• aubject ot thi• action) which the BA.Tl' in a~tor• e
       inventory did not •how •• bainq regiat•r9Ci to the pla.intif't.

              11.     BATF vaa ulti.mately able to det..naine t.hat it.a reco.rd.e:
       W9.re incorrect •• to three of the four queationed f'ir.anu, and
       that   tbo••~ we.re i.n tact lawfully nt91•ear.d to ~ properly
       in the poaa. . a ion ~ the p1.aintitt. 8Att vaa apparentl.y unable to
       <MtenUne Crea i t.e own rec::orda: boveve.r that the MP-tO .,... lavtully
       r99i•tered to the ~nt.itt (or to a.oyone).

                12.  In "-' t•r 1991, pla.inU.tt va.e reqgeated by the
        National Plre&nN Act Bran.eh of BATF' 1-n Wuhinqton, D.C., to




                                                                  Exhibit A, Pg. 433
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                                          36

       provide it vi th a COP.I ot' hia Fona 3 tran•t•r and re,,iet.ration ot
       the t'ire.u:a and the pla.i.ftti.Lf did eo.

              U.    8U'F PbDM 3 a.ra required by Trea.9ury ReQulat.lone to be
       eubai tted   in cNplicate orig:iaal.           When th• t.ran•ter and
       regiatrat.ion i• app o•ed,. Clr'li9 original Fo.na 3 rwin• r i th B.\TF . .
       part of t:h• National f'i-~ Reg:iatration and Tranate.r Record (26
       u.s.c. eection 5841(a.)) and the eeoond original i• returned to the
       tranateror tor tranmaiesion with the t'iroarm to th• tr.nat'•n..
       Th• tranafe~ ot' a National Firea:t1118 Mt tir9artli inuat retain
       poaeeeeion of th4' dl.Jpl.icat. original Fona 3 eo lonq a• the tiraann
       exiata and i• ~ilt.~ to hi.in/her.

                14.    Contront.d with • copy ot' an approved transter and
       r9'Ji•trat.ion tom Which it apparently could not find in ite own
       recorct., BA.Tl' toot the poaition that the Form 3 rm.aat be a forgery.
       BA.TF then ct.unded the original fo.rm f'rcca the plaintiff with the
       el(pr.eeed intention of eubldtting it to a BATF laboratory an.alya.i•.
       Plaintiff provided BM'P with hie ori9.inal i'ora 3 •• well ._. the
       firearm it.eel!'.
              15. MR'• labontory exam.2.nation detenained ~t the Fora
       3 wa.- not alt.e.red or febricated.    ~ neoaaaary i.llplication of
       BA.tt•• laboratory ex.dnation r.eult 1 and or ite oou.re• ot
       behavior / i• that Mft" ha9 l.o.t or deetro')'ed i U own reoorde ot the
       ti~· • p.roVenanoe vhich BAn is mande.ted by 26 U.8.C. •.ct.ion
       5841(•) to -aintain.

               1,. BA.TP'• loat or destroyed reoord.9 would hav. con•i•ted
        unct.r the National Pirea.rraa Act ot one of the following:

                         (A)  A Fonn 1, ..~li~tion to Make and ~iater a
        Fi~•rm"     (non-OOfllllercial manufacture by an individual); or

                       (8)   A Form 2, "Notice of l!'ireanne Manut'actured or
        Itrported" (manufaoture by a l icena.ed manu.faotur:-er or iqx>rtation by
        a lioeneed importer); or

                   (C) A Form 6 "Application and Pe.rmit tor nriportation
                                   1

        ot Firearne, .Mnluni.tion and Implement• ot War (not for uae by
        w.n.ber• o~ the united State• .vm.d. Force•)"         (ilnportation by a
        coaoercial importer) ; or

                       (D)   A Form 6, Part IJ, "Application and hrait for
        lllportat.ion of Pi.reanu, Aamm.ition and J-.:>l-.nta ot War (tor uee
        by NllDber• ot the United State-a Ar'llled Foroae) (i.llpor:ut.ion by a
        rw>n-ommerc.1al, U.8. ••rvice~ i.ap)rter); or




                                                                Exhibit A, Pg. 434
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                                             37

                        (.E)    A Font 10, •>.ppucaUon tor ~i•t.rat.ion ot
       r1N&1W11e   Acquind     bv Certain ~tal &ntiti••· {by • lav
      Mto~t          or -.11-1 t;ary organ.iz.atioa) ; or

                  (P')  An IRS tATFl Foz:a ••67 , •Aeg.iet.rat.ion o~ Carta.in
       ra.~     durincJ November 196&•    <reoietration of' e.xi•t.1.no but
      Wtnigi•tered tirea.m.s during a Udrt:v-day _._..ty period in 1968);
      u  w.11 •• 8.(99 oomb.lnation of' the tollowinv tor.a f'or -.ch
      • uooee eive regietration and transfer:

                 (C) A S'om 3, "'Application tor Tax-Ex.-pt Tranete.r of
      Fi.Hana and Regietration to Sptteia.l (OOOUpational) 'l'a.><P4l~r,," (a
      tax-~t tranafer between speci.a l. occupational taxpayer•, 1.e. ,
      i~rt.re, d . .lera and manufacturere); and/or

                        (B)    A Form. 4 ,   •Application   tor hX Paid Tranaf'er
      andP.eqiet.ration of Fi~," (a tax-pa.id t.ranafer to an individual
      vho la not an illl)Ortar, iN.nuCac:tu~ o.r dealer); end/or
                   (l) A Fo.m 5, •AA:>lication tor Tax t._..,t Tra.naf•r ~
      lteg'iatration of a Fireara,• (a transfer from a cl•: 1 nt'• eat.a.tee
      or a 1.aw -.f~t oroani.z.atiooa). In ·~, che lli.aa.inq .8ATP
      reoord.9 wou.ld a.how the oomplete hiato.ry oL the ti~ aince ite
      -.nu..facture or importation into the un.itad Stat.ea.

                17 .  Ubdeternd by i t.e itwlbil i ey to •• tabl.iab a f'o.rved
      r419iatrat.ion or to locate i t . own r911iatration ncorde, MTF
      aur:.i tted the fir.ara to a technical ~tion and ooncluded that
      th• fir.arm au•t halve, at eome undetenained t1- in the pa•t, by
      panon or pi9non.a unkno"fn, been falsely regiet.r9d by th• original
      regietrant . . "~u.taetured," a category of reoi•t.ration whereby
      a firea.ra pnviouely render.cl 1-oa.lly inoperable i • n•tor9d to
      operating condition and r.giet.~ or rere.giet.ared •• an ~·
      National FirearMe Act firearm.

                18.  BATE' baa no evidence tJi. tira&rl\ in queation was
      ori9inally reqietered . . "remanufaetured," or that it • • otherwi.ae
      reqiet.ered i ~ operly or un.lawf'Ul.1y.. and i U det&rm.nat.t.on to that
      effect 1• arbi tr.ry, caprieioua and w.i t:hout fou.nd9tion in f'act or
      law.      Moreov.r, BATi' hae loet or de•t.roy9d the oriqiaal
      reiQ'ietraUon recorda, which i t ie -.ndat.ci by lav t.o retain and
      pneerve, and vbich vou.ld eatabllah b9yond any q\)Nltion bow the
      .f~ V9.e o.rioinally registered.

             19. Purcha..,.. of ~•tered National 1'1~ Act f'ireaaae,
       eueh u     the plaintiff, have no legal or practical -an. of
       dete.mininrg the pedigree of a reqi.etered .fi..reazm and are totally at
       th• . .rcy of BATF'• approval of the b:aluife.r -wlicatica and




                                                                   Exhibit A, Pg. 435
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                                             38

        reogietrat.ion CBATI' Vona 3, • or 5) by vh.ich tlw pu.rcb.aaere obtain
        authority to ~ivei and        J)O•••••th• f'i~na.    BA.TF re.tu.a. . to
        diaclo•e to •ubeequ41nt r.Qiet.rant• th• prior r90i•tration and
        tranet'er t'ormi pertalnino to any National Fi~~ Act t'ire&rlll,
        citing the taxpayer privacy provi•ione oL the lnt.rnal Revenue
        Code,   26   u.s.c . ..ction 6103.       Thu•, pu..rclwu"era/tran..t'~ of'
        National Pirear.1 Act tirearma are tot.ally at the -rev of' M!'F'•
        oompec.noe and dili9enoe, or lack thereof', in obta.inin9 valid and
        pumanent poe. . . • ion of' a val.idly reqietiered f'irea.na, and in be.inq
        ~. to •~tly ef't'ect a 199al t..raM..ter oL •uch ti.reu:a.               By
        tbalr very nature, legally Netri.cted and of'c:.n ot hiatorical
        aigni.ticanoa, National Pi~ Act fi_~ ordin.ar:ily are valued
        at ~•and.a of' dollars . .ch.

             20. BA..!'F La barred b.A' i t . own vio1ation.(•) of' l.av in losing
        or de•troyino NqW.Nd reoont. rrcm challenging the oriqi.nal
        t"99i•t.ration of' pla.i.ntif't''a tire.ant and trca drawing a ai.ngle
        "'9qativ. inte.rence of' improper ~lat.rat.ion f'tOM .-v.ral poeaibl•
        typee of r.giatration, all othiera of vh.ich "OU.ld be lavt"u.1 w1d
        proper.

                   21.   81\U i a   ••topped rrca challenging the oriq.inal.
        regiatrat.ion of pl&tntif'f'a tireana by virtue of' the approval.a oL
        the tirearwn.'a regiatrtition and tranefer to th• plaintiff, and to
        pl-.inUft'• P~•eor ovner(e) and r~i •t.ran t( e).

               22. I.n or about March 199·2 M.TF advi•ed the p.laintitf that
        i t vae retueino to return th• tirea.na and that 8Aff intended to
        adminietratively for-te.it the tireann aa "contraband ...

              23.   0.epite 1'9paated d....._nda by th• plaintitt, by oounael
        tor plaintiff, and by ...C.n ~ Ala•ka'• oonore.e.•ional deleqation,
        MT&' ha• refuHd to return the ti~. MTF'a r.f'u•al conetitutea
        an illegal aeiz.ure of the firearm -.nd a taking of plai.ntiff'•
        property without due prooeaa of law.

               2•. 1'he Uni.ted State• i a mandated by 1-aw to ~ any
        "action or p.rooeedi.n; tor the forfeiture of fireamie ..• vi thin one
        hund.red and twenty day• of auoh aeizure...        18 u.s.c. ..ction
        924 (d) (1) . Th• retention of the firearm by the United Stat.a and
        ita failure to aaa..enoe auch a forfeiture ac~on or proceeding i •
        a denial of m. prooeaa of l aw and an unconati. tut.ion.al takinq ot
        plaintitf•• property. 'l'h9 United It.at.ea hae lo•t any jurisdiction
        over the tireana which i t ai.Q'ht oth•rwiae have had.




                                                                  Exhibit A, Pg. 436
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                                             39

             VKPt&l'cmtl, the p1ainti.ff' reque:ste the tollovi.ng rel-ie.f:

             l.     A declar9tory judglleo.t that Mn'• --.lwre ~ the tir9&1a
       and  ite retu--1      to return i t are u::bitrary, c.priclou• and
       unlavn.J. .

             2. A detuaine.tion that the un.it.-d State. i .e . . topped bV' ita
       oonduot tram dete.rainift9 that the tireaza i •           not lawt'ul.ly
       te9i•tered and properly in t:.hla po•••••ion ot the plaintitf.

              ). A 6-terlllination that the United Stata• h.ae violated the
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            ' · A judgilllient tor auch oU...r and turther Nli-1' a. i • ju.at
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                                          .JAMES B. JSFl'Rlla, Ill
                                          3019 Lak• Foreat Drive
                                          Greensboro, North C.rolina 27408
                                          Telephone: (910) 292-6024




                                           LYNN E • U::VENQCX)D
                                           Downea, MacDonald '    X..V.n90Qd
                                           1ooe 16th AVW'lu., auite 200
                                           Fairbank.a, Al. .ka 19101
                                           Telephone: (907) 452-5196
                                           Counael tor Plaintiff




                                                                   Exhibit A, Pg. 437
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       Institutional
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           Mr . Laraon baa r•qi.i,•s·t.ed t.b&t the-•• finar.e be r.-oved
           frca UM .cope of the Nation.al P!re.a.raie Act (lif'PA) •
           Mbe.ntiver Mr. Laree~ ha.a OOl'l~.aeted Arr wit.b a CJl.l••tion
           or ~eat, ATP baa provided tbe ava.Uabla lnforu.tion.
           In May of 1.lt'1, t.he Aesist.ant InePoK-tor Oen•r•l (IG)
           for lnveatigat.ion.e, Depar t.meat of the Tr•••ury,
           ~ived a     letter fran Mr . x..o.~aon making all99ation•
           •9ainet varioue ATP employees . Th• IO'• Office
           forw•rded the lette.r to the Director of ATP to conduct
           an appropriate inv•eti9~tion into th•a• •llegation•.
           The article cont•ined in •Gun Liet• reference• theee
           allegation• and auggeete t hat the I G' a Office ha• act.e d
           in..wropriately in a llowing ATP to ioveetigate
           all•gatione of mi•eond.~ct made again.et the agency.
           I n lt1ally, we vould note :bat it i• th• function of
           ATP'• Office of Jna~ction to investigate allegation.e
           of wronvctoing Nde agai nst. ATF empl0}'9•• and that it
           wae ent irely proper for the JG'• Office to forward
           Mr . IA.r110n'• letter to ATP for inveati9atioc.
           rurther.or., while ATP d!d conduct an internal
           in.,,.etlgatioa into tM a!legatioa. . .de by Mr. Lar.on.



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           Honor-.bl• Charle• T. C&aady

           the JO' • Office a leo initi11t.«l .an inOepenct.nt.
           inv~ati9ation into ti..ae allegation. and that
           invaetigation 1• •tlll ongoing. Due to thl• onvoin9
           inv••tigation we are enable to eomme.nt further on ~
           action t~t 111.ight be taken with re.-pect to tb•
           alleogationa maaa by Kr. tar.eon.
           we hope that thi• information proves helpful in
           rt:1pcndinv to your constituent. Pleaee let nM know if
           wt1 can be; of further assistance .

                                Sincerely you.re,



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            ....... ., ......... Allllll. t ...... . . . . . . ~..., ......... _ _ . .           o..a..-- ...




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       ca..111,~ ............... .


       ~II 'flldll Olfllfot~(AIObmr,.llp......... 16
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       M.YJ-----~                                                            ~-c-w ................                              I.AU


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       a....- ...,.                      oa..., ....
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       ... mt.J4.-- 2.000 .....__._                                          _ .. ....,.. ....... _.u.n- ...........
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               j ~u-u.c~

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                      ad oom.\&!M ril'l1lle' (-sdral. hDia .m. ~). l l J/I uo . . .
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                      TiU. ff, ,C.J.L M a pl.et.ol ibi9 •CQd~• 1• M'\ a t1n&m Ml))Jec\ W
                      \M la~CWl&l. 1irMnla AC-~ . . ~ 1')' l\lbl!G I.av f0-611•
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              R!:PC>Rr or T!I? TO TBUFSCIN/CE!ft'!R iR)6, JiJCHES'f'ik,


                                                                           CPi..11'11DtP!ll'




              it 11l\S p.a. on June J.8, 1969, a •etiDg W&I Mld ·~ tM
         ThOlnplon/Oorrt..r An&a, Jbrt.• ll, Rochester, Hw Hallplldn, 0)667,

         regardine: the stat.u or the "Contenclv" ~ •qgiJll*l wt.th tlw

          .liS/.410 &.al. oall- c-...uon b......i ond oboa - ·




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                    Jlt'. c.:m.tb -           I :a • t/C .ar.



                    ....   -~-t/C-
                     ... Cecdl. ll:>lt• - -.t.1.cml. Ott1ce, JlD'IJ

                     .... .'1.otor PnS.o - loatoa om.c., JUD
                     Jit', Pml ~ • llct1oa.al om.o., .&!ft),

          .... Woll•~ -             ·-- ~ ~ -                         ~ ol -              .s..s.~.
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          b......i. ..... ~·. tt>en ............. ol put ml OWl'Oll\ l<icUJ.at1ol>
          on lat.lu" .....,,OU, M1- Ute H&R 8and;r Ckm U               d   Ulllllpl.e, m4 fur-

          ther cd:tJ.nc ~ ~ ~ em: mA1nc ~ ob.tdn ~ .,...u

          in JIU\ 7UN•

               t'bo lou-!J>c ~ m .,........ ~ ol -                               ~

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          iane a R.ennao Jtul1ng th.st the .4$/.410 barrel on t.he -con~•.. "
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          c.aa.. 1\ t.o tall undiu- the parri.w ot u. .,.,.

               q, (Hr, Outattoan) ~ 1.11 t.bo DIS pooiUcn Oii obot oboU
          ummiUon. and VCNld tb.1.1 1- spp'"e•h'•t

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          DS:Uon. VON d.61"1nod..
                Q, (Hr •. ~oon) This vUl put ua ou\ of bwd""'H·

                .A. (Jt:o. Wolto)   Bot neces1"1'11T• Kamdacture could. oontinu
          under the O&t.got'7 ot & D'A lll8ap00•

                Q. (Hr. ou.t.r.t-)         Woal.d oar dl.sl.ribut.oro nqa1n 11-.St



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                                           11
                A.. (ttr. WoUe)     Tb&

          ~


                q.    ( Hr. °"5\att....)    -        ~-         u -     -...i -       ~
          eol.4 u •     900N.arr u..t
                .l. (Hr. Vol.to)    Mpoo\• ot -           !.ndl.~ -          -    -
          -ootwiAg ..,. llobl.ll'<Y . . . . ~.

                Q.    <!"· Cen\c") ~ vUl loa4 --u., -                                 ...
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                A, (Hr. lloUo) Tbo "Cocttender" comot. bo ·~ ot f1rllll ·old.et.Ille

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          or pl.ut.1o ba.Ue •

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                "-·   (>t-. lblt'•) •      waald .._       1.be ~·         ....u Mela."".
          1\o J>Ut.ol c~ md -                            obot-llo ~ bo ot a - - -



                                                                           Exhibit A, Pg. 455
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                 o.   <•· n     5 CllQ:) 1• tMre .:q obJ..ct.ian t.o u. - ·
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                 .l. ( Jto. 'Mbllo)   •· -        BY -         -
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        btSJtC llMUoned pist.ol. casine• that we.re loadlld OI' r•loldad..
               Q. (Mr. tiblt•)     Pwpos. ot choke on ta. *Conttin4-r.•

               &. (Mr. Voirt.enborser)         It stral<!b"""' the obot on • lino-ol-
        bvrel ax11 ldnco tM r1t'llng caua• 1~ to splral m4 beoo. leu



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                 Q. (It-. O...t.att-)              -   -        1dll be -    -          ot -
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            lmolwizlc pot.-.i -                        -· -                      ,....r .....,. 1dll be,



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            va..,on •O it won•t chubv ~ abot.pn ~Uon..

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                 Q. (It-• ft     I        )    -       """14 be the ete1'0 1t ,.. 1 - Ut
                 l. (11r: Volte)          llo ....id jo.8' S . - o -                ~ ..S tbm




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ase 1:18-cv-02988-DLF Document 1-2 Filed 12/18/18 Page 460 of 67
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           obt<Od t.hrt t.h11 ft&'D'" vu bi&~r t.hm tM pe<ni- ·~ ill
          t.ba1. tl>q cll4 M\ . . . . . . -   knUa >biol> ...... ill p1Dd1Dc . _..




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                               DEPARTMENT OF THE TREASURY
                          9URIAU OF ALCOHOL. TOBACCO ANO tl'IRCA .....
                                    WASHIH WTON. o.c. aoa.t•


                                        .M. 2 0 1994




         Mr. Bric M. Larson
         Po~t Office Box 5497
         Takoma P•rk, Maryland        20913
         ooar Mr . Ltiraon:
         Thi• ie in reaponse to your letters dated May 31, 1994. to
         the Maiat.ant Secnt.• ry (Enforce..ent); June 3, 1994, to the
         Director, Bure•u of Alcohol, Tobacco and Pireer.a ( ATP);
         •nd June 14, 1994, to Secretary Bentsen, ••king for
         recon.eideration of ATP'• decision of Karch 23, 1992, denying
         your requeat for re110Val of the Rarr-ingtoo •nd R.ictuirdeon
         Handygun (R • R Ha.ndyqun) froa cite acope of tM National
         Pir•a%Wie Act (MPA), 2' U.S.C. Chapter 53. In aupport of
         your requeat fo~ reconsideration, you aubmitted aeveral
         article•. In the par•graphs to follow, we have addre••ed
         t~• portione of the article• which r.late to your reque9t
         for re.oval.
         All you ob9erved, one of the reasons for denyi ng your
         requeat waa ATP'• conclusion that the H • R Handygun i•
         ai•ilar in de1ign and function to the 1a_,.d-off ahotgun, •
         popular crime weapon that has b4!en the eubject of numeroue
         Federal and St•t·e proeecutiona. You contend that this
         poaition conflicts with the Government ' • argument in a
         United St•te• district court case. In that caae. the
         Government correctly pointed out the legal diatinc~ion in
         the NPA between a weapon made f rona a abotgun <e.....o..... a
         sawed -off ahotgun) and an •any other ~apon • (Jt.Jl.., an H 6 ~
         Handygun). Specifically, a sawed-off ahotgun fall• within
         the definition of •weapon made frOID a shotgun• in 2' U.S.C.
         t St4S{a)(2), while weapons such as the H 'R H•ndygun are
         within the definition of •any other weapon• in 2' u . s.c.
         f S845(e). Pro. a lc.:Qal at.t.ndpoint, the difference i•
         aignif ieant aince the tax imposed on the tran•fer of these
         veapon.e i• $200 in the case of a weapon Ndie fro. • ehotgun
         but only $5 in t-he case of an •any other veapion . • However .
         as we etated in our letter of March 23, 1992, there ia no
         QUCt l caJ difference between the two type• of V4:apona in -
         terw.8 of deaign ~ functioo. Therefore, we aee no conflj.ct
         ~tween th• poaitiona ATP bas expressed witb regard to these
         veapona .




                                                                    Exhibit A, Pg. 461
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                                         - 2 -
          Mr . Bric H. Larson

           You •l•o •••ert that a sawed-off shotgun hae Deon convorted
           frOIR a •houlder fit'ed. weapon for the purpoee of tr•nefonaing
           it i nto &I\ offensive weapon, while the Kandygun vaa designed
           •• • •port~ng pi stol which is u•ed as a aiaell 9•~ gun.
           ~ain. you believe that this difference render• erroneous
           ATP'• conclusion that the design of the two weapon• i•
           identical.

           From • utilitarian perspective. the tact that the H - R
           Handygun i• capable of being coneet.led and of firing a
           fixed •hotgun ehell makes it. comparabl e i .n deei9n to t he
           a&wed·oft ahot~n . Tne Handygun can be u1ed aa rea uily to~
           anti·peraonn~l purposes as for hunting ...11 gaMO or
           exterwiinatin9 varmints . Further.ore, the fact th.at the
           K ' R Handygun utili%es a receiver that ia identical in
           •ochanical deeign and function ~o variou• eiogl• ehot
           . 410 gauge •botguna produced by H ' R indica te• it•
           •iailarity to a saved-off shotgun. Finally, that COngre••
           cho•e to include both weapon. within the NFA definition of
           • firearm• indicates that both should r . . .1.n •ub!ll!'Ct to MFA
           control• unles• it is clearly establi•hed t.hat they meet the
           criteria for r•.oval. As ve have atated repeatedly, the
           criteria h.ave not. been met in the c&•• of the H ~ R Randygun
           eince ve cannot. conclude tha.t it i• not likely co be u•ed ••
           a weapon.
           In further 1upport of yCNr request. you t\Ave again aaked us
           to caripere the H ~ R Ha.ndygun with the . 45 Colt/410 9• "'9e
           Tholl'lpaoo Contender pistol. a fireara you beli•v• i• ai•ilar
           to the H ~ R Handygun and which is distributed in c:oauaercial
           channel• free of NPA controls. Again, we f a il to •ee the
           baeie for thic eocinparison because the Cont.endAlr pietol ia
           not a •MOOth bore shot pistol subject to tho NPA.
           You •l~o •ver ~h¥t A7F did not give adequate conaideration
           to the state•e.nts of certain third parti•• in eupport of
           your riequeet. The statements of third parti•• were
           coneidered but do not persuade us that H ~ ~ Kandyguna would
           not likely be ue~ Al we.a.poo.a if re.11KWed fro. NPA cont.role.
           Your .oat recent correspor'Mience et..• t•• tMt ATP ha.a
           not given  fair and adequate consideration t.o your argument•
           and ha• re•ponded cryptically to your requeet.e for
           reconeider-et.iOD. Ou.r records indicat:e th.at. ATP ba.e
           cor~eponded v itb    you 17 ti-e:s concerning t.M H ' R Hand~

                                            \
                                                             Exhibit A, Pg. 462   I
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                                           65

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         Mr . &ric H. Lar•on

         from 1917 · 19t). With the exception of th• letter dated
         July 29, 1993, which briefly re•eated the bai•i• for ct.nia l
         artic:ulated in the March 23. 1992 letter . all of our letters
         have re1pondod to the issues you raiaed.
         finally. we request th•t you delete from your articles the
         invitation to your readers t o contact ATF for copie• of
         court doc:umente. Since these document& t re public records,
         copies 1hould be obtained by contacting t he courta.
         For t ho foregoing reasons. our decision inuet atand.
                                   Sincerely your• .


                               ~~
                               / . . / John. W. Mag.aw
                           ~            Dl.re-ctor




                                                         Exhibit A, Pg. 463
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                                                 66 '

                                              Tabl• I

            Hand«w>S with Riiled Sorrels ~ IO Fin .410 ShoC&un Shtll Ammunilion
                CumnU, Being Manufactured and Sold in the Uni~ SW... by Name,
                       Calibef(s), Band Length(s), and 1996 Retail Price

                                                                                       1996
        tiamt ~( hlDdSUD                Cal it!Wl             JUn.pl ltDIS.b(I)       W&ll
        ~

        American Imringer Model l       .45 Col~ .410 211'       3'                   S320.00
        {IW~lOI)


        American Derringer Model 4      .45 Col~ .410 3'         4.1"                 &'l52.00
        (tw<><!ho<)

       Amtrican Derringer Model 6       .45 Col~ .410 3"         4.1                  $387.50
       (tw<><lho<)                      and .4S-70

       O.MAX Sidew!nder Rm>1ver         .45 Col~ .410 3'         6..5" or 7.6'"       mo.oo
       (kllot)

        FMJ Sitlgle-Borrel Deninger     .45 Coll, .410 2it•      ••                   $ 70.00

        FMJ Doublo-Burel Derringer      .45 Col~ .410 3'         6"                   $100.00

        Thom~ltt Contender              .45 Col~ .410 3'         10"                  '227.50
        (sing!Hhol)

       Thompeon/Center Sta1nless        .45 Col~ .uo 3'          10'                  $485.00
        Con..,nder (1lngle-eho1)

       Thompeon/Center                  .45 Col~ .410 3'         14'                  $520.00
       SIAlnlcss Super 14 (single-shot)

       ThompeorVCenter                  .4S Col~ .410 3'         1614'                 $520.00
       SIAlnl... Super 16 (single-shot)

        1llunder-Flve                   .45 Col~ .410 3'         2'                    $&50,00
        (S-shOI revolver)               and .46-70


        Soun:a< Standard CalalOfl of Firearms, by Ned Sc:hw!na and Re<l>ert H<><rie. &h
        edition. Iola, Wisconsin: Krause Publlcadons, 1996, p. '157; and 0..M fllu~ 28th
        edldon, by Harold Munz (ed.). Northbrook. Dlinois: DBI Boolcs, 1996, pp. 147, 151-152,
        154.


                                                                             Exhibit A, Pg. 464
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                                    DEPARTMENT OF THE: TA:£A.SUftY
                               •VftC.AU Ofl .ALCOH~ T08.ACCO A.HO rut&A'9M9
                                           WASHINGTON. CG ::tOZ.25




                                         JAN 2 8 1998                  REFER TO: L:D:AG
                                                                                     93-Jll

      Mr. Eric Lonon
      P.O. Box 5497
      Takoma Put, Maryland 20913

      ow Mt. Lano•:
      This is in rcspoosc io your Freedom of Information Act (FOIA) request for eccm io Information
      maintained by lhe 8\nlU of Alcohol. Tobacco and Fittanns.

      Your -        l'or on ldmini_.,. 'l'l'Cal daled De«mbcr 26, 1997. in respoouc oo our 1ctta
      dlled ll<ccmbcr 22. 1997, is ~ pro=sed as an initial mi-. b<uuse in lhe inierim a final
      dcdsioo -made..,        lhe rqiort you requcsud Tbm:fo«. your -       is .,-eel in port. We
      . . '"'-"" po<tiooo orlhe r=inl thot coataim eump1 inl'onnolioa and . . ..;~
      pOrtioGs £or the rcasoas indicmd on the c:tdoscd Uf\onmrn« Co'v Shed." We ~unable to
      Mlcalify ..,_,.;. . rccOnlo 10 iicms numbcnd rwo and tlutt of your Wlial FOIA -        dM<d
      Sep<cmbcr 21, 1997. I - tlutt DOYCr mst<rialil<d.

      The fees asaocllkd with processing your FOIA n::quc:st were not "''lived. Plcuc submit your
      chock or money Of'def" on rteeipt. in the amount indicalcd on lhc enclosed lnvoict.

      lnsofw, u your n:qucst has been partially denied by deldions, -.nd some rooords were not
      lowed. you submit an admini>tnWve appeal by following lhe pro«<IW"< oudlned in Pan III of
      the enclosed fonn. and also swe your reasons if you \>(Uevt the search wu not adeqU1ic.

                                             Sincerely yours,




                                            Awrill P. Gnhom
                                        Sa>ior Disdosutt SpecUJU.




                                                                                Exhibit A, Pg. 465
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                                   OEPAltTMINT OF TREASURY
                           BUREAU OF ALCOHOL TOBACCO AND flA£UMS

                                  FOIA/PRIVACY ACT INVOICE

         °''" 01177198 l Obdolurc: fUoNumber: 9S..31 l             l INVOICE NUMBER: 9M6
                                             lnsuuaiom to ...,..

         SC2"od c:hcdc or money Of'dct to-Surau of Alcohol. Tobacco~ fltunN•, to the addttsl shown
         bctow. Pleuc lndudc • copy or tht in¥0itt with yow payment-

         To' (Pay.,) Mr. Er'lc Luton                   From:
                     P.O. 8oi< 5497                    Chief, 01.sd°'ure OMalon
                     Tt.koma Pu1t. ~ 20913             B~1,1 of Aleohol, Tobacco and fltt:attN:
                                                       Room 8<30
                                                       washlngum. DC 20026

         DESCRJmON                  005T      EAOi     QUAl'mTY OR TIME               AMOUNT

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         A<riewTimc                 $28.94    p.,.
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                                    $34.42    p.,.     111<i-                         $43.03
                                              hour




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                    SUBJtCT:    Memorandum of Clearance for

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          ot Inapection Report of Investigation, n~r 910118-
          03, daited OCtober 22_. 1991, and bas concl\aded that a
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          Chief, Revenue Division.         Accordingly, attached i• the
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                      questions about the PRB r·e C01Dendation, plea se
                      feel free to contact ae at 202-927-8555 prior to
                      1i9nin9 the aeaorandua.
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          and then 111ue it to the employee. The employee ll'Lly
          alto be allowed t o read the Ol report should he •tk to
          do so. Please forw~rd a copy of th~ signed, dated
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                    Employee and Labor Relations Branch
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          lS, atw:S return the 01 Report to the Office ot
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                               Don E. Keith
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                                                                                          Exhibit A, Pg. 478
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                                A••i•~nt Dir.et.or               (FirM.nM, eq.la.tvu '                   ArMift);
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                                Chief, !'aployee and Labor Rel•tlon. lr•nch: and to
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      l. IM.1'lPI                                                          .. n"l:f7-111Vl.$'TIGAT10fil
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                              .U•lRa..nt. Dil'\9C't.Or ( Fir...ras. D;plosl,,.. ' Araon);
                              Chief, hrsonn.l Division, au.re11u H•adqv.rt.1"9;
                              Chi•f. l!aploye• and. Labor Rel•tions e~anch; and to
                              A•tista.nt Inspector General f or Inv•atl9atioru1,
                               Office ot I.nspector Gene.cal, De!putae.nt Of the Tr-sury




      11. ""fUJli OllJIHltk"!IORWIHldtMOdi
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                                                                                                          ATP Headquart.ers
        l'OSlllCW MO '9110l                                     ...c:rrvrrr #llU.                      lCIO ooc        Ot1iI( OE llltlM


                                                                        ,_,.
             In Kay 1997, Rai.8-a Otero- Cesario, Assistant ll\9~tor General
             (IC~ tor J nva•t l g~tionc, roceivod a letter a ll991nq that
             ai.p oy••• ot th• Burea.u ot Alcobol, Tobacco and Piroarma {ATP),
             Nat.ion.al rlr••raa Act Branch, bad acted erroneouely and without
             conip-•••.ioMl approval on fi ve Mt-pa.rate iaau.-.e. Tb• lett.r,
             which vae authored by Eric K. La.rs.on of Tu.c:-a Par k, M.ar)rla.nd,
             reque• t • tha Office o f Inspector c..n.ral to 1.nve.sti9ate th•
             all99-4 A.Tr violations. I G Ote.ro-<:e..sario torv&rded th• let"t.er to
             t.h• Director, ATP, vbo reques~ that the Off ioe ot Ina~tion
             (OI) inqet.J9at.e ~ all$9"•t.i00&.
             01 det.&rained that t.h• ATT e:.ploye•• retUTed t.o in th• first
             all.,-a t.lon • • Minq sus~ct.ed of dut:royl.ft9 nicorda vere, ln
             t•ct , contract eaployeea vbo vere hired to •••l•t ln the backl09
             ot ~pervorJt that resulted from an inflwr or r991•t.r•t1on.a as per
                         •    Depe.ndlft9 on the year in quut.1on,. i f there vu
             an incr..... ln any Hationa.l Firea.ras A.ct (NPA) fire.an
             r99i•ttatlon.a, as •ll~ed .. th.is aay have be:•n an •djustaent as 4
             result ot • different tor. nu.aber or re9i•tration clat.e tor tbtl
             particular f1T'$U'W.
             To addr••• th• aecond all egation,  ATF continued to r e9iat..r
             weapon• aft.&r lSl71 becau5e the backl09 of parirvorlt that re.sulted
             fro• the a.aneety period wa: very lar9e and t lint1 the dOCWDenta
             required extra ti•e. In addition,. aoae individual• were ~ronted
             extra t iling t1• • if they were out o f the country when t he time
             expired tor filing.
             Re9ardin; r...r..on•s third alleqation, the truthful intoraation                                                              -
             turn iah6d to (,.arson by •           and               i n their
             reap.ct:ive letters involves a criain.al c.aae in Or-oon.
             inve•tl9a~9d by ATF.     The suspect. John David Dudley. a ~ulti -
             convicted felon, dealt i n n.arcoties and. ilJ.eg-ally poaa•aeed
             fir••~ which included an H ' R Handy Gun.        Dudley vaa charqed
             and e~ently plead quilty in rede.ral cou.rt on 'ed•r•l
             fir.a~ viol.ation.9.



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                                                                                                             Exhibit A, Pg. 482

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      Larson' a fourth alleip.tlon SU9'C}ests that ATP la u.aing the ·othe.r
      c•t~ory'"' t.o   111-.gally reg:ister firea.ras. Hovevu. tbl• cateqory
      i • uaed "hen the co.put.er prcq:ra.a cannot recoqni&• a non.. ata.ndard
      OOC\lM.nt th.at h.aa bee.n au.J::aitted for r119lst.ratlon. roe in9t.anca,
      aoa.e rec)lat.ratlon• v&re actually tiled in corr•apondence, on
      l a tt.e.rb. .d. If an ATF employee ente.rinq t:.b• infor.ation lnco tb•
      co.put.er enter• a P'ora l as a Toni 33, tbe pC09r&• v lll aasl qn
      th• docu.e.nt t.o th• ·other • colwm. Tbe fact that the tor. is
      •nte.red in t:he •other• colu.n doe.s not 11ea.n that th• tireara is
      ille9ally re;iatered.
      In hi• tifth a ll99a tion, Larson s t ates th.at a 09e ot t.h.• NFA
      weapon• reqiat.ered ••Y be regist~red to deceaaed P•raona. While
      it i a poaaible t hat, unknown to ATP, some NFA v eapona aay be
      ro9iatered to docaaaed individuals, ~he inteqrity Of the NF~ is
      incuabe.nt upon the individuals who possess legally raglatared
      tirearaa to r•port deaths and rereqister the ve&pon.
      In clo•infl, Lareon • WJ9e&t.& tvo solution.c to th• probl. . . he
      cit•• in ht• all•9•tion.s. Hi s first reco. .endation ia to re•ove
      17,000 "•n)' oth•r weapons• listed under the NP'A .       Although
      Con9r•c• did •n•bl• firearas c lassified • • collector•' it.as to
      be r•.oved t ·ra. the lfFA. eontra.ry to Larson'• interpreta tion it
      did not aand•t.e their re110Val. Tberefon. it an 1.ndivictual
      ve.a.pon ia S'Uft8St..:l tor r..ova-1,. ATP v ill conaider th9 part.icula.r
      firear11 on a c.aae-by·-case basis and de.t e..na.1.M i t re.oval is
      v ar·rented .
      f'Urthe.rwore, to address Larson•s second solution, i t the ori9inal
      re411iatration oC a tireara is aisplaced, the ovn&r need• only to
      contact ATP to obtain another copy. T:'lere i• no need t.o r•-
      r99i•t.r, a _n d there i.& no need to establl•h •n ••n. .ty period as
      Larson •u9;:••ta .




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                                                                 Exhibit A, Pg. 483
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                               OfBQtlOlp:jI gy DNT.ttJCATI<W

         On .J\Lne 10, 1997, the Office of Inspect.ion (OI) received a
         ...orandua froa R.lii•• Otero-ce&ario, Assietant Jnapector General
         for Jnvutiptlon.s (JG), tbat re..te.rred a letter •ll99in9
         aiaconduct by Bureau of Alcohol, Toacco and Firea.ras (ATP')
         eaployM•· Th• coapla.int a..lleges tbat variou• nploy•u ot AT'P
         have de•t.royed (and aay ba:ve 111.;ally added) Xational P-irearas
         J\99iatration and Tre.n.sfe.r ~rd• (Mnrl"R), b.ave comaitted perjury
         in letter• of re&pon&e to the co11plainant, and have been
         n•9li9ent in removing firearaa r199i•t.ered to deceaaod
         individual.a .
         In bi& letter dat.d .May 10, 1997, Eric N. Laraon eeta forth the
         tolloving allegation•:
              1.    ATP aaployee& have deliberately destroyed fireal'll
              re9iatration doeuaents that they are required by law to
              uintain, •• noted in sworn t.est190ny in 1996 by ATP
              Special Agent     •                 In anely••• of data
              aada pu.blic by AT7, I (.Eric 11. Laraon) found that
              durinv 1992 to 1996, ATP aay bave aOd.S 119 or aor.
              fi.rMra8 to Ue KFR2'R wbicb ve.re or19ln.a.lly r199iatared
              on Pora l or rorw 4467 during 1934 to lt7l. tor Ybicb
              ATP loet or deliberately destroyed t.be o r i91nal
              record.a.
              2. A'f'P . .ploye:es reqiste.red a..bost 2,500 WU"e4Jlstered
              MPA f~rearaa on Pora 4467 &.tte.r 0.C.•ber 1, 1961,
              vi t.hout proper autbOri.zation by t.b• eonqr. .e. in
              addition to not being authorized by t.he O)nqreaa, such
              reqiatrationa vere probi.bited by the supr. . . Court in
              1971, yet it appear& that ATP rectl•t.red 172 or .ore
              unreqiatered lfPA flreu-as on Pora 4467 after 1971. I
              have included an exuiple of one appar•ntly ilt.99al
              poat-Deceaber l, 1968, Fora 44 67 regiatration in ay
              te•ti•ony .                ·
               3.   AT7 ••ployees                    • a.nd
                     • co.aitted felony perjury in lett•r• vritten to . .
              dated ,..rch 23~ 1992, and July 29, 1993, reapectively.
                           and          each alleqed that •an unlawful
              trafficker in d.ru9s vith an exte..naive criainal record;
              vaa in poaaeaaion of a .410 bore H ' R Handy-Cun ""hile
              coaaittl"9 drug violations.· 'l"bia alle9ed inatance of
              criainal conduct va.s used t.o deny ay ,petition to r.90Ve
              the H ' R Handy-Cun froai the M7A •• a colleccor•a i~.
              In tact, a P'reed09 of lnforaation Act r9q'U••t disclosed
              tNt. t. t.he Handy~ vaos recovered tree an acquaintance
              of' t.he trafficker, vho said tba.t the t.raff' l c.ker Md
                             - t "JOl'fl-01
                              • - 91011&-02
                          - t 101l.'"'°J      -)-




                                                               Exhibit A, Pg. 484
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           91ve.n it to hi• for saLe-k. .pinq (see pag•• 212-215,
           222-2l0, and 2ll-2l' of wt 1996 te..at.iaony). Any person
           vho petition.a tor reaoval ot a fire:ara fl"Oll the NPA
           auat a Ute t.h• r.a.a oos un4e.r penalty of perjury. '1'be
           pla in la~ge of the statute at Title 26~ u.a.c., S
           5161(1) and S 5871 applies to any pe.r-&on v'ho knovi.nqly
           aak••  or caus&a th• aa.ki.n9 of a f.Ue entry on any
           docuaont required to be pre:pa.red as • rea\llt of
           actaini•tui-ng the MFA, inclwilng tbe 199al decl•ion
           r9o4J&rdin9 the cl.assification of an HPA fire.ani. Both
                      and            deliberately falaified th• tact.a
           of th• cas• they cited.
           4 . Certain •reqistration activity- that ATP c1aa•ifi••
           •• •0'1'1.11t:R• coul4 include r..;istrationa of firearw• tt\at
           on• or more ATP e11Ployeea re9istered contrary to l aw,
           be.cauae ATF haa refused to disclose the nature of this
           •re9letration activity.'" To the be.st of my knovlW9a,
           I've never haard of any foraa n\Ulbe,r-41 other t.ttan l, 2,
           .3, 4, 5, 6, t, 10 or 4467 being used to re9lat•r or
           tranat•r NPA firearaa. According to a letter to . .
           dated January 9, 1997, froa MFA Branch Chief
                  , th• ·OTH!:R· category is •coapricod ot
           r~istr•tlona Vb.ere tbe for. nuabe.r is different fro•
           th• other onea tabul.ated. •                • however,  h••
           declined to provide the naaes or nuaber• of        th•••
           forae. CO\lpled vitb the other evidence of r99i•tration
           •Uaa.na9..e.ot I have docuaented, it •wear• th.at th•
           ·~ ca.t990.ry aay represent fir~ t.bat ver•
           r99iate.red ill,9 9•1-l ,y, •• noted in sy 1997 uati9ony.
           5.    It appe•.r • that a siljfD.ificant nuabar of tfPA
           flreand are C\lrrently registered to pers ona Vbo are
           deceased, and that ATP b.aa been ava.re Of thl• fact
           since at 1.e••t 1981 and done not.bing abOUt it, •• noted
           in •Y 1997 teatiaony. Consequently, a ai9n1fica.n t
           n\&111:>9r of NPA tlrearwaa are nov ill•9•lly poaaaaaed, in
           eo•• inatancea by persona who are un•ware they are in .
           violation of the lav. The reason ic that •any tir•araa
           cla aeitied • • •Any other Weapon• Aro rare collector ' •
           it•. . that •any people do not concid•r weapon•, ••
           not.cl in both ay 1996 and 1997 testiaoniee.
       (.txbibit 1, Lareon letter)
      on July 10, 1997, specia l Ac;ent (SA)         ~    , ottic• ot
      ~ftllP9>Ctlon (OI), interviewed Office of Chief Cou..na•l Attorney
                         ATP, vbo re.lated tlKI follOWincJ tact•:


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                                                                 Exhibit A, Pg. 485
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                          i• currently .-ployed by Aff, aa •n Aasoclate
            Chie f Couna•l in th• Office of Cb.id eou.n.el in
            Vaahinqt.on o.c. H• la ava.re ot an i.ndivid·u.al by th•
            na.. . of Eric Ler•on, whom be baa spoken to and
            correaponded "1th co.nee.ming iaaues re.lated to
            pa_rticul.a _r ti.rearaa, apecif1-ca.lly, the 8 • a Randy Gu.n
            abol4\1J' a nd th• Marble ca... c.tt.r.

            Accordi119 to                  Laraon baa i.e.n -requutln9
            inforaation on the Handy Gun and. th• Marble G&ae Gett.er
            aince approxiaataly 1986 or 1.917. IA.r•on b.aa requaated
            that th• e ' R Handy Cun be r..av94 fi'oa the National
            Pir•ar11a Act (~PA) arquing that the firear. ahould only
            be claaaitied as a curio or relic subj.ct to the 1968
            Cun Control Aot.              ha• debated the iaaua with
            Laraon on nWDe.rous occasion.9, both v.rbally and >ln
            vritift9. Purthermor•, wbenev.r· x.ar.on Ma contactltd
            ATP v ith a question or requut, An baa provided th•
            intor.ation available.
            Regia.rdJ"9 Larson'• tirat a.l.legation,          aut.ed
            tbat the conclusi4?'na Larson draws troa     ~
            te.tJ.aony aay be i.nc:orrect, and rec~- 1nded th.at
                       be contacted for the correct r•poc»e·

            tn ra•pone• to the third al.leqation,                      •tat.ad
            that Mithe.r -           no-r     •         perjured
            th. . . .lv. . in their letters t.o Lar'IM:la. n. in.toraation
            re.t~red to in . . c:b lett..r, (          letter dated Karc:b
            23, ~tt2, and            letter dated JU.ly 21, lff)) i•
            trv• and correct based on th• .fa ct:s a t the ti.aie.
            -             and               o.r the ri.r.ar.a Tecbnoloqy
            &ranch authored the letter tor                r . .pon.e.e. La.rs.on
            refer• to a violation of 26 use 58,1(1) and 5171 by
                   ancl                    stated that U i• u.navar• of
            any violation in these tvo law• .fr09 corr. .pondenc.
            between          or       and Lareon.
                        r••J><>nded to Lareon'• fif th all~et!on, which
            refer• to inaccuracies in the IO'RTR by e.xplaininq that
            t.he Nl'RTR only retlecta cbanq. . in ~ record vhen an
            individual leqally transfers and r -viatere a pr·e vioualy
            r99i•tered vaapon. Th• H'FRTR ha.a no vay of detectinq
            bov aany tbea a tirear. aay have been traMferrad
            between the year& 1940 and 1961 Ul'll. . . tbe tran•f•rti
            vere r·e corded in t.he NTR!'.R. •       ~ atated tl\at it
            ATP vere to allow periodic a.ne.sty periOISe, •• Larson
            •V99••U, t:.he MPA aay be circusvent.4 any nuaber of
            ti. .• by individual& in violation of the i.v. ror
            exa_miple, a person could obt&in a fir.ara 11199a lly and
                          - 97017&-0l
                             - 9l017a-02
                       - 9'101 ll-Ol         -5-


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           vait for th• a.an.st.y period to reqlater the illegally
           obC&iMd firun.
                      explained that vbe.n the orl91nal ptipervo.rk
           for a r~laur..:I tlreara is lost, the OVMr .-rely h.a•
           to contact ATP' to obtain copies of the ori91nal. It •
           flrear9 i• already rt!9i&tered, there la no n•od t.o re-
           regl•t.er the flrea.n.
          R.99arding t.araon'& tir·s t solution,         explained
          th.at ATP 1.e not required to r..ove • fireara fr09 th•
          NrA it dot.er.ines that th• tire.ars i• not likely to be
          ~••d ••   a veapon. ATF did not drav thia conoluaion
           re9ardincJ the R ' R Handy Gun.           atated that
           if Congr••• vanta to reaove the veapon• fro• the NPA,
           it h•• the authority to do a.o. In the late 19SO'• or
          early 1960 •a, Conqre.ss did lower the tax on tho •any
          other vaapon• category fro• $200 to $5. Th• cata9ory,
          bO\Hlve.r, vaa not ra-.ovad fro• tbe lfFA. Th• H ' R Handy
          Cun baa t:h• e.a ae conriquration •• a . ..,..,_-oft 1hotqun
          and i• readily concealable. Thia confiquration •ak••
          the fire•r. an unlikely eandid•t• for rnM>Yal froa tbe
          MPA.
                     stat•• that Larson's secOnct solut-1on, mat.
          tlM s.cretary of the Tre&sQry grant an ..ne•tY period
          •• in 19,1, is very unlike.ly to occur tiec:.u.M anot:her
          aane.8t;y period i• riot varranted. Moreover, a nev
          aane.aty pe~iod could jeopardize pe.ndinlJ inv. .ti9atlona.
          Tb.i• would also be an opportunity for people to avoid
          paying th• tax to transfer the ~· fte 19'•
          ..,,._sty vaa ori9lnally enacted to provide t.be publ-lc a
          ~rl•f opport:unity to cat1ply with the NPA •• ••anded
          th.at Y••r. 'ftle 1968 a.ane&ty period ••rv~ it• purpoM,
          and th•r• is no leqitiu.te reason for anoth.r aa.neaty.
      SA •      p r•••nted          vith th• above su.-ary of hi•
      stat.. .ent, and           stated under oath that th• tact.a
      contained in the • u. .#ry are true and correct to the beet of hi•
      knovled9e and belief.
      on July 14, 1t97, SA      interviev-4    •                •t hi•
      office in th• "'A lranch.           advised SA         ot th•
      tollovlf\9 intor.ation:
                  _ •t.at.ed that he bas bM.n -.ployed by ATP for
           t.he ~·t 25 yaar& and has been •••ivned to the MPA
           Branch for approxiaately 16 ye.a.rs.


                       - tlOl"tS-01


                                          -·-
                        • - t'J0111-02
                      tlOlll-OJ




                                                             Exhibit A, Pg. 487
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                                           90           ,.


           He i a avare of an individual by the ,.._ of Eric Larson
           and ha• •poken vtth Larson a.bout sU.t.i.atica concerning
           tfFA veapona .           stat.es that La,rwon b&e been
           vritinig l ett4r• to ATF for aany yea.ra reg&rdinqi KPA
           "9.apon.e, in particular the B 6. a Kand:Y Guin .
           1n r . .pone• to i..ar.on•a rirst al1eqatlon. reip.rdi.D;
                        teatt.ony in U.S. District c.ourt,
           . .de r eference to c..rte.J.n d ocuacnta belnq d•troyed at
           the HPA Branch.               .. stated he aad.e tb• comments
           in refe.rence to thousand& of Title I.I tir. .rae
           manutacturM by                    that were be.1"9
           exported to                  various ...nuf&cturer• were
           forvard1nq the .,._pervork for these f1rMr9e. However,
           not all or th• papervork vas entertMS properly into th•
           NFA ayat... It vaa su.s pected that •~ of tbe contract
           employ••• had destroyed some of the d~te in an
           effort to reduce case load.          •      adaite that
                  ••Y
           x..araon   have construed fro• hi& teatimony that ATP
           employee• vere destroyir19 docuaents, but thi• vaa not
           the c••• ·            auqgested that if there vaa an
           iner•••• i n any KPA f ire.rm r99istratione, it . .y bave
           r••ul ted troa tbe. chanqe.s .a.de to re.tl.ect. different
           form n\&abara be.lng located and entered or t..l"09I the
           tranepo9it ion of regis tration dates oo ~ ori9inal
           fora. SUCb cb.aft9.. voul..d ha~ been added to the .-rRl"R.
                      t.ben. addressed the second alleqati.on in the
           le:ttv, vbich concern& the f ili119 Of the proper
           paperwork for MFA rirearas d1>ril"9 the - Y peri od
           Congr••• enacted in 1964. He explained that tb•
           bac.kl09 of papervorlt received a.a a rewl.t of t.be
           -..nuty proqru back in 1968 vas very 1ar9•, and the
           filJ."9 of th•••    docuaent& r~ extra ti.e in orde.r
           to get the r~i•tratlons doeuae.nted. In addition,
           paperwork vaa a l so received late, bec.u•• certain
           9roupa ot individuals ver• 9rant.e4 an extended ~iod
           to f i le the paperwork. These individual• vould have
           been qranted extensions if, for ex6,llple they v•r•
           over•••• vhen the aanesty peri od oloaed .
           Ra9ardl,n9 the fourth allegatiOn,               •tat.cl that
           lA.r •on i • r eferring to the &tatist.1C9, aaint&ined by the
           HPA Branch. 111• ·othe~ catc9ory t.areon refer• to i n
           bl• letter l• a category desi9nated by ~ C01tp.1tar
           proqraa t hat produces statistic& vbe.Q. a et&ndard form
           nuaber l• not provided . for instanc41, an i ndividua l
           anterinq th• inforaatlon into the ATT coltl)Uter . .y
           ant.er a P'ora ) as )l. This fora vould th9n be placed
           in th• •other· category. I f an •pplication for
                        • t70171-0l
                         • • t7011a-02
                     • t70J71-Cl           -7-




                                                             Exhibit A, Pg. 488
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                                                   91

             ret1..tra tlon wen received in correspondence on
             letterbe.ad, vit.hout a for. nu:.be1:, tble vould also be
             placed in the ·other"' cateqory. The tact. Ch.at the for.
             ha• bff.n pl.•c.d in the "other* cateqory doea not ...n
             t.h• tona cannot M loeotl9d. All reqiatration
             corre•pondence is nuabered and identified for proper
             tu1..,.
             In reepon._. to the fifth alleqation,         • • • • tat.cl
             that i~ a poa•eesor of a leg-ally reqiat.~ NPA v eapon
             paaa. . avay &nd the bene..ticia.ry ot the eatat. vants to
             re;iatar that fire&n1 in his or her naae, ATP vill do
             whatever ia nece.ssary to assist t.hat individual i n
             re9iaterin9 the tireara.              The individual needa only to
             contact the NFA Branch, and an ATP eaployee v ill asaiat
             in any vay .
                        aaa.ertd in response to Laraon'e ti.rat aolution
            tnat ATP vill not arbitrarily raaove any firea_ras f ro.
            the NPA . Conqreaa baa the authority to do ao and, if
            Conqr. .a de... 1t nee.s.sary to ra.ove ao.e or t.bue
            fireara., i t vill do so.
             In ruponse to Lare.on• s second solution, he at.at.ed that
             ATP' v ill provide anyone copies of reviettation foraa
             f or doci.menta that aa.y have be.en a ieplaC*S or lost.
             Another aaneaty period has been di•cu•Md by COf)9%'. .a,
             t.be White SOUM, and HF; boveve.r, t.be id. . vaa
             rejected bacauM of pen4inq lnve•ti9a tlona and other
             i••u••
            ari•• ·
                    reia ted to the registration probl... t.be.t aay

       SA •   provided            vith the above auaaary ot b.ia
       statuent, and            stated under oath · that tb• tacu
       contained ln tbe a uaaary are true and correct to the beat Of his
       knowledge and belier.
       On July 21, 1t97, SA       int.ervieYed      _        • Chief of the
       Industry Co11Pllance Branch.       " ad.vised SA      • that he has
       •l)Oken vith. L&reon on the t.lephone concerni1"19 t.h• re.oval ot the
       H • • Handy C~n.          also advised SA      ' ot tbe follovi.nq
       t acta:
             He vae the Cbief of the KPA Branch in 1996 a nd ltl7 anc:t
             vae unava.re ot any docuaents beinq d••troyH by any ATP
            . .ployH.      At that t i. .,         SOiie pa~k   va• alaelnq and
            ao.e contrac:t uiploye.e:s; hired by ATP vere a\lapect.ed of
            a ieplaclng ATP pa.pezvork •


                             ... t10111-0l
                                 ... t 'f0178-02
                        ... 91017.....0J           - a-


                                                                        Exhibit A, Pg. 489
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                                                92

                       • t • led that tlM Handy Gun bu a conti~atlon
                 at..llu to t.h• Nved--oft or short-barreled ahotqun.          He
                 likevl• • au.t.d that it is. vitbin tbe purview of
                 Congr••• to reaova th• fire.an. fro. tb• M~A.
                 Fi nally,        also a t.At-ed that vhe.n tbe pa,pervork tor
                 a 199ally regia·tered HFA fire.ara la loat, the owner
                 ne.d on.l y contact ATP tor copi•• of th• ori91nal. Aff
                 baa tho oriqinal docu-.e:nta, and a copy can be torvarded
                 to th• leqal owner.
                 Another aaneaty period tor tho r~iatratlon ot ttPA
                 vo•pona auet be authorized by conqr••• and tho
                 Secretary ot the Treas ury.
         SA      preaented       vlth the above au.aa.ry,. and        stated
         under oath that the tacts contained in tho •UJlllar'Y are true and
         correct to th• b4at or his knovledgo and belioL.
         (exhibit 2, lAtter fro.                       to !Orie Lar-.on dated 3uly 29,.
         lttl)

         on .July ll, 1997, SA              conUcted Eric Lare.on by telephone to
         arr•ntJ• an interview concarnin9 hi• correapondonce to the :re.
         Ovu tho telephone, Larson stated th.at HPA etatua of a firea.r-.
         known •• th• ca.. Getter put bia over tbe edqe on t.hia iasue. a.nd
         h• felt that there sbou.ld be orM person l.n tbe Onit.ed States chat
         atand.a v.p tor what he believes in. Larson atat.ed that he work&
         for t.he Goyernae.nt Accounting Office (CAO) in the a.ectlon that
         audits ATP. Larson added tllat he ia not involved in t.he audit ot
         ATP'. Re •tat.o that he vould like to M-et v i th SA       and he
         vould try to think ot anything he aay have for,otten to put in
         hi• lett4:r to the IG.
         on AU9\1at 1, 19t'7, SA      interviewed        , Chief ot the
         fir·e en• Technol09Y Branch,. ATP.       atated that be ha• bee n
         employed by ATP aince Nove-..ber 1972 end knowa of Eric Larson .
                adviaed SA      ot the tollowinq:
                 Th• letter that Larson r efers to vaa authored by ATP
                 Counael                 from inforaation obtained by
                                 Assistant Cbi•f of the Pirearwa
                 Tech.nol09Y B~aneh.
                      atated that if Congress vants to chanq• th• lav as
                 it pertains to SC*e- NFA weapons. h• would have no
                 probl. . vith it. conqres.s has the authority to aaend
                 tbe lav vith re.spect to MFA weapons. If the lav were
                 chenqed, ATP vould adhere to vbatev•r c:bange va• . .de.


                             -   ,70178~1




                                                 -·-
                                - 970178~1
                           - 970178-0)




                                                                      Exhibit A, Pg. 490
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                                           93

           He added that ATJ' voul<l help, in any vay poe•.l ble, an
           ln4ividu.al obUin proper paperwork for Hl'A
           regisuatton.
      ( l:xhibit l, lAtter frOlll
      J), 1992)
     on Auqu•t 1, 199·7, SA       interviewed               , O\ie.f of
     U'le Firearas end Explosiv•s Regulatory section, ATF.
     lnform.e4 t.hat h• ha• been employed by ATF for th• pa•t 25 years
     ond ha• bee.n in hi• curre.nt position since January 1996.
     •tatcd that h• Jtnovs of an individual by the nu• of E:ric Larson
     and has vrittAin a reoponae letter to Larson.          advised SA
           of th• tollovinq:
           With rogard to t.areon•a f i fth all99atlon,. if th•
           relatives of • deceased person notity ATP abOut the
           death of a f'ir••t11 o\lfller and wish to rere9i•ter th•
           tirea.na, ATP will help, in any way it c.n, to
           facilitate the reqistrat ion process. Kovaver, the only
           vay ATP vould be aware of &09e0ne's paa•inq avay 1• if
           the faaily of the deceased. advised ATP.
           rn reepon. . to Larson'& first solution,      i• not
           av.re that ATP ~n l~elly re90ve MFA tJ.rearas wit.bout
           the approv•l or ~e congress.
           In reapon•• to Larson's secend solution, ATF do&• not
           have th• authority to establish a 9042.ay vaitlnq
           pe.riod. If tb• orl9i.na.l copy of th• KFA reqietration
           ia loet, th• ovner of the fir...nt need only contact ATP
           and a copy vill be provided .
     SA       provid~           vith the previou.c SUIDl&ry, and
     stetod. under oath that:' the facts contai~ in the euaaary are
     tru• and correct to the best of his knQwledge and belief.
     on Auquat 1, 1997, SA         interviewed               , Chief of
     the National Pire1t.ras Act Branch, ATF.          •t&t•d that &he
     has been e'll&)loyed by ATF for 11 years and has beGn in her current
     position since March 1996. She knows of an individual by the
     na11e of Eric Laraon and has had corresponded with hia.
     adv ised SA        of the follovi09 :
           In reference to Larson•s first allegation,
           atatad that ahe is unaware of any ori.9inal docwnent•
           bein; deatroyed by any ATf' eaployees. "l"h• t.aeti110n)'
           qiven in U.S. District Court by         .           concerned
           contract . .ployee.s hired by ATF ~ were au.spected of
           deatrO)'incJ or a isplacinq ATP doc::u.e.nta. S\lch activity
                          - 'lOll&-01
                           • - •10111-02
                       - tl0118-0l         - 10-




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                                           94

             1• by no . .an• recent and occurred vell over I        year•
             •90.
              R.eqard.1 nq Laraon•• fourth e.lleqation, th• ·ot.bv•
              c:ate9ory of registrations is used to c:.&ptur• non-
              et.andard docuae.nt.a. For instance, lf a rorw ) la
              entered •• a Fora ll, th• co.put.er aottvar·• would
              autoaatically place the fora in the ·otbU-- coluan. If
              an indlvidQal r11. . a r911iatration on corr. .pondence
             'ttitb letterhead, the entry is al.a o ent.ared •• •other.·
             P'Urthermore, if error& are located, they a.re corrected..
             concernin; Larson's fifth a llegation, it beir• or
             executor• of astat•s of deceased individual• wiah to
             tran1for le9ally registered firaarm.c to th. .aalvas,
             they •uat contact ATP. ATP vill conduct a query for
             t.he individual and the particular t1raara and adviae
             the individual of the procedure to reqiater.          It an
             executor finda a firaa.ra that is not reqi•terad, ATP
             will adviae of a.bandonae.nt procedure• for the vaapon .
                         atated that faaily of the d•c•••ed 90
             thr0U9b enc1U9b v ithout havinq to worry a.bout firea.ras
             they v•r•  unaware of.
             ln reapon1Je: to Larson's first solution, Levin• atated
             that ATP abould not aake a blanket r..oval of ae.e
             17, ooo tlrear.s classified as ·any otber weapons.• Sb•
             su99eated t.hat so.e of these v u .p ons aay be look.cl at
             on • caae•by-case basis and e.xaained individually tor
             re.oval fre>11 the Nf'A.
             Re9arding Larson's s.cond solution, copies of lost
             reqiiatrations are reque;sted by reqlate.red ovnere and
             th• request.a are responded to. There vould be no
             reason for another aan..-ty poriod, as it would aerve no
             purpo••·
        SA      provided        with the previous suaaary, and
        stated under oath that the tacts contained in the auamary are
        true and correct to the best o f h er k.nowle<l9e and belief.

        (Elthibit 4, lAtter fro•                          to Erle t.araon dated
        January 9, 1997)                              I

        on August 1, 1997, SA&                  and                01 , . . t wlth
        Eric Larson and b.1• attorney.                      Leraon sta ted the
        fOllovJ.ng:
             K• had nothing to add to hi5 all99atlona, and he f•lt
             be had tiled everyUli.ni;i that pertained to c.he i ssue.
                          - t l 0111-0l
                           • - t10111-02
                         t10J1S..Ol        -11-




                                                               Exhibit A, Pg. 492
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                                           95

             He stated that he received the c.&M 1ntor-aat1on
             r•f•rTIMI to in bis tb.ird •ll99ation through th• rr..aoa
             of JntorMtion Act. 'lb.ls vas tbe only c.aae pertalni.ng
             to the i•aue th.at he had received, and be t'e.lt t.b.at ATP
             bad no other cases perta..inincJ to the at.u.M o·f the R '
             Jt Handy Gu.n.

        on Augu•t ' , 199"1, SA              intervieved                ,
        Asaistant c:taief of th• Firea.r11S- hchnOloqy Branch, Vbo ha• been
        e11ployed v it.h ATP since 1'73 .            stated. tb• follovlft9:
             He knova of !t'ic Larson andi bas su,pplied info:raation
             about the H ' R H.a.ndy Gun to the office of Chief
             counsel tor responses to Larson's inqUiri••·       The case
             cited by Larson refers to a case fro• the Portland,
             Ore9on, Po•t of Duty in wbicb an H ' R Handy Gun with a
             ••tal cann.-bie l eaf taelced onto the atock vaa eel.zed
             durinq an investiqation. The firea.ra vaa take.n into
             cuatody froa an acquaintance of an 1nclivldual by the
             n._.. of John o. OUd.l ey. The case included a Title 26
             char9• and a felon-in-possession chaX'9•· Dudley,
             bovev&r, vaa not c:bar9ed vit.b pos.suaion of the fir~
             1n question.
             Ther• are nuae.rous cases across the united SUU.
              lnvolvi.nq th.e crill.inal posse&aion ot &n II • R Handy
             Cun. -            cited  thr••  other invuti9ation.e t:b.at he
              la avare of that took. place betveen 1990 and 1992.
             'ftt.ia doe. not preclude the possibility that ot.be.r
              1nveati9ation.a . .y ha.ve be.en 9oin9 on that            vaa
             u.navare ot. fttf\ tact that only one vaa pre.se.nt.ed to
             t.araon under bl• Preedoa or 1~0.r.ation rt1qUeat does
             not •e.n that there vere no othor 1nveati9atlorut ot
             thi• aort taking plaee or that no ca••• bad been
             adjudicated prior to Larson'• requut.
        SA       preaantad          with the previoua au.aary,' and
                  atated under o.th that the tact• contained in th•
        &W11Aary ere true and correct to the be&t ot hia ,knovlod9e and
        belief.
        on Au9uat 5, 1997, SA     telephoned SA              ot th•
        Portland, or~on, Field Office about defenct.nt John Dudley.
                auted the following:
             He Jnveati9ated a previously convicted felon by tbe
             n.a. . ot J"obn David Dudley or Ja.cbonville, or990n, in
             1990. Dudley vaa suspected of . . t.h.allph.et.aaine
             tratticklnq, possession of stolen property, and being a
             felon in ~session of firearas.
                           - •1011a-01
                             - 9?0118-02
                        • 910118-0J        -12-




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                                               96

                        vae cont.• cted by a loca.1 task force concern.inq
               Dudley att.r Dudl•y va.e stopped on a traffic violation
               and tound to be in poa•-•ioo of an unr991atered pen
               9W' and a Browninq 9 - ba.ndqun. Shortly ther••fter.. a
               S t.at. •••rcb warrant va..a executed at the realde.nce of
               one of Dudley'• . .soc.iatas .. • _    •      R..covued
               from          were 27 fir.araa,. includ.lnt an H ' R RaM.y
               Cun, Which. aloDCJ vlth a.ll of the othU t i r earaa
               located, •ll~edly be.longed to OUCUey.             adviaed
               authoritiea that Dlld.ley reque•t9d that       \ keep the
               tirearaa at hi&              ra&ide..noe. Dudley vaa taken
               into custody, and          presented. th•  c.a••
                                                            to th•
               U.S. >.ttorney•s Office tor prosecution. Tbe Aaaiatant
               U'nited States Attorney (AUSA) h.andliD9 the case decided
               to indict Dudley on possession ot the t vo f irearaa
               found during the traffic atop. Th• >.USA deeidi&d not to
               i ndict O\ld.ley tor the other 27 firearaa that were
               recovered froa         . Dudley v.. indict-4 for
               violations of 18 O.S . C. 922(9)(1) and Title 26 5161(4).
               Dudley wa• subsequently sentenc.d in July 1991 to 60
               aontha iaprisorme.nt followed by 36 aont.ha eupe:rvieion.
          (lxhibit 5, copy ot ATP Fora 1270.1 re.tere.nce nr l tl)60,- 90-405&
          S.J




                           - t101l8--41
                            • - 91'011'8--41
                           t l'Oll&-Ol         -ll-




                                                             Exhibit A, Pg. 494
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                                                 97

                                          I.IST or DJII'IT$

        l.   IAt.ter fr<* Erle t.a.rson Tak.a.a Park, Karyl~# to tn.speccor
             Ge.:Mral Valerie Lat.t, dac.d Kay 10, 1tt1.

       2.    Letter troa -                         O:lief of tb• Plrearaa and
             lxpl091v•• Division, to Eric Larson, dated July 29, 199).
       J.    Lett.er frOll             , Chief of th• Pirearas T•ehnoloqy
             Brancb, to Eric Larson dated Karch 23, 1992.
       4.    IAtter tro11                  Chief of the Notional Firea.~
             Act Branch to Eric Larson, dated January t, 1997.
       5.    Copy of ATP Poni 3270.l r.,ga.rding Job.n David Dudley,
             inveeti9ation /93360-90•4058 s fro• Portland, Oreqon, Pield
             Office.




                          - tl0J'l8-<11

                       ... Jl011'8'"'4J          -14-




                                                                     Exhibit A, Pg. 495
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                                                      98

        May 10, 1997

        Ms. Valerie Lau, lnspecror Genecal
        omce or the Inspector Genera)
        Depanmerit of the Treasury
        1500 Pennsylvania Avenue, N.W., Room 24l2
        Washington. D.C. 20220

        Dear General:

        I am writing to caJl your attention to, and provide specilic documented valid and ttli.able
        evidence of, what appear co me to be serious lnstanc:es of mismanagement. misconduct and
        illegality by employees ot the Bureau of Alcohol, Tobacco and fuearins (ATF) In
        ad.m1nlstt.rlng our Nad.on•s reder.J gun control laws. I have pre.sent.ed. this evidence in
        tE'Stimony to the House Appropriations Subcommittee on April 30, 1996.1 and on April 8,
        1997.' I have enclosed a 0C>p7 or my 1997 t~ony for your convenience or reference.

        All ot these ln.slances or apparent mismanagemen~ misconduct and lllegallty involve the
        National F\reanns Act (NFA) of 1934, as amended, whicll is• stalUte that Calls under the Tax
        Code of 1986, and thus involves taxpayer information. Taxp~r ln!onna.tlon is secret ww:Ser
        Internal Revenue Service (IRS) Nies and the law, but under court Nies and criJnlnal case
        law, pCO$ttUtoJ'S are required to disclose a.ny information that could be used to impeach a
        government witness. Consequently, the instances I have identified. here appear to affect
        «rtaln ~ ot prosecutions for alleged violations of the NFA. and in particular the alleged
        nonregistration of NFA firearms.

        Based on my 1996 and 1997 test!monies, It appears that one or more AT!' employe,es hoV<!,
        in Che oourse or their official duties. oonun.itted a number of serious aces wtdch are contrary


        1
         •Statement of •Cwio or Relic' f\rearms Manufactured in or Before 1934 Which Att. Also
        Classified In the 'Any Olher Weapon' Category Under the National F1rtanns Act (Nf'A) or
        1934, as Amended,' by Ede M. Lanoa, In Tno$ury, Post4l Scroi«. and Gencul
        Governrmnt AppropriatioM for Fi=1 Year 1!197, Part 5. Testimony or Members or
        COngress and Other Interested lndMduals and Organlz.at!ons.        Hearinp Before •
        S ubcommittee or the COnunlttee on Appropriations, House of RepresentativeS, 104th
        COngress, 2nd Session. Washington, D.C~ U.S. Govenunent Printing Oflice, 1996, pages 37·
        274.

        "'Statement o n Proposed Removol or Certain F\reanns Manuflldured in the United States in
        or Before 1934 from Purview or the National Firearms Act (NFA) or 1934, as Ametlded, ond
        Their RA>casslllcation as ' Flttarm.s' as Defined in TIUe 18, U.S.C., Chopte< 44,' and "Erro'"
        in the National Fl.rearms Registration and Transfer Record: A New Amnesc.y hrlod May be
        Required to Correct Them.·                              ·


               9701 78
                                                                                EXHIBIT NO.          I
                                                                                  Exhibit A, Pg. 496
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                                                   99

     IO law. Conlqumd)', I would like to respeatuUy ask )'OU to CONkltt conduc:tir>g a Criminal
     . . _ , . _ ota nwnber olspeci5c imwloes " ' - l<appean lhal ATI'~ -
     - . . . i lhe law. ~ tho naiw. ol theoe posslN<-.-_ I t _ . Iha< it lnOJ be
     -            foe ,.,.. to COMldtt conducting a r - -                ol lhe Nadooal Flranns
     ~Ind 'l'ransfer Reconl (NFRTR). as lhese data rn., have been W.gaUy crulld oc
     altered. It...., alao be necasazy to have ouch a foremic aodit cond- by an entil;r which
     la l<l<ally bodept11clenl from AT!', to a"°id aey coa1lic:l ot" ' - that woWd ~ .....it
     !rom allow!nc ATl' to invmigale i<sell.

     n.... aped.lie allqed acts are as follows:
     I. ATF •mPIO)'oea have deliberalA!ly destroyed original llttarm ttPtntfon documen'" that
     U1ey are requll<!d by law to maintain, as nored in 5"om ....Umoey in 1996 by ATF Special
     Agent Gaiy II. Schalble.' In aialyses or data made public by ATF, l found that during 11192
     to 1996, ATF 1nOJ have added 119 or m0<e !!rearms to lhe NPRTR which were orig!nal4'




                                         au-
     n?gisWed on Form I oc Form 4467 dllMg 1934 to 1971, for wlllch ATP lost or delibel'alely
     desiro,ed the odglNI tte0nla.                                                       I



     au<horhed b)' the
     ,...it_.
                        "1-
     2. ATP em""'1ea rqilCettd W - 2,500 wtttgislered Nl"A II.rearms on Form +161 after
     December 1, llle8,
                       eonc.....proper              by the Coner-. In addlllon to no< being
                                such ...gislraOons were~ by tho S..pmne Court In 1971,
                    lha<ATI'~ 172 or more~ Nl"A llreannaon F'onn 4467 after
                                                                                                       I


     19'1L I have lndQCled an uample ofone apparend.J iUep1~1c1 n.-. 1, 196l Form "67
     rqj.saadon In m:r 1097 - -·
     3. ATP employeeo Ed-.! M. 0....., Jr. and Teny I. Caroo c:ommlUed fdcrlT perjllf7 In
     lelWO wri- to""' -           March 23, 11192, and July 29, 11183, ~. Mr. 0..... -
     Mr. c.r..    each all<eed that •an unlawful tnllkbr In drup wilh an -              .. criminal
     recon!' wu in - - o n or a .410 bore H&R Han<b'-Oun 'wNk commltdng drug v;ol.od<l<ls.•
     'lllls alleged INtance ol almlnal conduct was used to d<!iy m:r pe<ldon to Rmove the H&R
     Handy.Gun from the !IPA . . . collector's item. In      race. • - m ol Wormallol'I Ad.
     request d.loclOled IN< die Handy-Oun was recovered from an o.cquatn<anco or the tnlllcker,
     who said dlat the tnlllcker had gl""" it to him for aate-lcetplns ( ..• P18.. 21Z.216, 222-230,
     and~ or my lll96 le!Jlirnoey). Aey person who peUUons f0< removal or a llttarm from
     lh• NPA muot lt.IU lhe . . . _ undor penalty of perjwy. The plain language or the -
     at nue 26, U.8.C., t 6861(1) and I 5871 applies to any .,.._ who knowingl1 makes or·
     causes !ho malc!ng or a r.is. ontry on aey document required to be prepa...d u a .....it or




     'Uniled Su.u. oa. JoNi Dani<l LeoSun, Criminal No. t:96CR54, Newport New', ViqiDia,
     ~ 21. 1996. 1nnoa1p< or Proceedings bef0tt 111e lloaonblo......, A. MackmD<. United
     SWes llioCrlc:1 Judie. Uoi<ed SWes c.,.,,,. ~ Dbaic:t ol Y1rS1nia. Newport llews
     Oi¥ision.

                                                   2




                                                                                 Exhibit A, Pg. 497
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                                                    100

       administering the NFA, including a legal decis5on regarding the classification o! an NFA
       fir<arm. Both Mr. Owen and Mr. Cates delibe<alelY falsified the facts of the cooe !hey cited.

       4. Certain ..registration ac:tivi~ that ATF da.ssifies a,, "()TH£R• could include registradons
       of fireanns tJtat one or more ATF ernployees registered ooncrary to law, because ATF has
       refused to di.sci°'"' the nature of this "registration IM:Dvity. • To the best of my lmowledge,
       I've never heard of any fonns numbered other than 1, 2, 3, 4, 6, 6, 9, 10 or 4467 being used
       to register or transfer NFAtirearms. According to a letter tom~ dated January 9, 1997,from
       NFA Brandl Chief Nereida W. Levine, the •011f£R' category is •comprised of regi.str:ations
       where the form nwnber ls different from the other ones tabulated.• Ms. Levine, however, has
       declined to provide the names or numbers of these forms. Coupled with the other evidence
       of re.gisttation mismanagement I have documented, it appears that the •OTHER• category mq
       represen1 llreanns that were ~ w~. as noted in my 1997 l<Stimony.

       5. It appeus that a sitpUlicant number or NFA firearms are currently registered to penoas
       who are deceased, and that A'l'F has been aware of this fact since at least 1981 and done
       nothing about it, as noted in my 1997 testimony. Consequently, a slgnilicanl number of NFA
       firearms are now illegally possessed. in some instances by persons who are unaware they are
       in violation ot the law. The reason is that many t'ireanns classified a.s 'Any OChtr Weapon•
       are rare collector's items th.at rrumy people do not oonsider weapons. a,, noted in both my
       1996 and 1997 testimonies.

       A'l'Fs most recent data (as of December 3 1, 1996) disclose that or the 14,269 firearms
       registered durizlg 1934 to 1939, exactly 11,175 (78.4 percent) a.re still cunentty owned by the
       person or government enlity that registered or acquired it during that same time period. And
       of the 58,904 firearms registered in 1968, a SIUnning 86.4 percent ano still owned as or 1996
       by the same persons who registered or received them by transfer in 1968. ConsSder Chit in
       1981, an internal ATF study reported:

              We ha~ the condition where people who registered firearms wuler Che original
              Nalional Fittanns Act at aie 65 would now be 112 years old. We know that these
              people are dead and thm heirs have not taken the necessary steps to contact us so
              that the involWltary transfer created by the registrant"s duth can be fonnalized.'


       One result or ATF's negligence is that some persons who own cert.Jin rwe. valuable 6rurms
       that have .special value to collectors have been instantly transfonned into criminals.. The:
       reason is that through natural di.sasters (such as the recent Qoods in North Dakota. house
       tires, and similar tragic events), the owners or the$e fire.arms have l~t their copies or the
       documents which p rove their lawful ownership, and the 1aw does not allow these drearms
                                                                                          i

       '"Status Report: NaUoMl fuea.rms Registration and Transfer Record (NFRTR); by Deron A.
       Dobbs. internal A'l'F report d~t.ed July l, 1981.                                 ®
                                                      3



                                                                                 Exhibit A, Pg. 498
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      IO be ><>lunlarily ,...~ I b<Jlew lheft an: - pOSSll>l• 10ludons io lhls problem. and
      Mlllwr nqulra lep.iadon. The ~ is that -                 10lu1lcn ....,. be adll....i by
      -                odbl'"' "'°pan ot AT'f'. 'lbe5e ooludom are:
                 L Mmln151ndvdy ttlllOYing approximaldy 17,000 •cur1o or ttlk" llreanNI d•mfied
                 u "an1 ochtt weapo11' under !ht NFA, which ,..,.. oriclnall1 cornmerdally
                 ,....,..-..., 1n or before 11134 (but- replicos tha-.ol). The Congress ddermined
                 that lhMe ·1111 other w.apoa' lirunns ....., ,..;nJY eoUoctor'a ilelN and not lilcdy
                 10 be used u weapons in 1960. It was M< W\111 1008 that !he Conpess passed
                 lql&lal!on enabling theK lirunns IO be removed from the Nl'A u collec:tor'a Items.

                 2. Ealablbhing a 9().<11,y amneso;y period IO lllow pereona who ....,. have Innocently
                 lost their coploo or the ~on rorm IO n>rCgUoter these ftrcarma. The Congress
                 hu authol1ud 1Uch amn051¥ per1ods to be estabu.Md by the SecttWy or the
                 n-w,. under t 207(d) of the Gun Corurol h:t or 1968.
      Por the past aeveral Yean. in response IO my peddcns or ffi1Ucat8, A1l' has refused IO
      lmplemenl either 10ludon that I haw propooed. I b<Jl<w that r<mov!J1c these liturms Crom
      Ille NFA Is Ill\ Idell toluliccl. but also belleft - an amneoq period ....,. also be an
      -....i-101u11on.                                 .

      11- - - w\11 lake prompt aclioll IO -       the problems IN1 I have documented. If
      ,.... - - fUnhu quesCions, ...... contact me.
      n...u..,.....

      Vf!lfJ INl1 yourw,


      ~~~
       M.
      Eric   IArwon
      P.O. Box 648'7
      Tlkot'M Park. Maryland 20913
      (301)~

      cc: The Honorable Janet Reno
             "-Y~
             Dept.nment     or
                        Juscice

             The-•BlDArcher
             a.airman
             -        Conunl- on      w.,. and Means



                                                                                  Exhibit A, Pg. 499
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                          DEPARTMENT OF THE TREASURY
                     8U ACAU OF A LCOHOL. TOBACCO AHO FIREARMS



                                        .A.l   z9 1993
          Kr. Eric K. Larson
          Post ottice Box 5497
          Tako.a Park, KD 20913 -5497
          Dear Hr. Larson:
          This is in reaponse to your July 12, 1913, ,Lol1ov-up letter
          to Treasury secretary Be.ntsu. xn. your l•tter you take
          ist:ue vith our response, on secretary's Bentsen'• bobal.f, to
          your June 14, 1993, request that the B 5 R Handygun be
          removed froa the National Firearms Act (HFA). •
          H ' R Handygun.s currently fal.l vithin tha •any other vc.aPQn•
          cateqory ot NPA veapo~s. As de.fined in 26 U.S.C. 5845(•)_,.
          the term •any othor woapon" means:     1



               {A} ny wea;pon or doviee capable of beiDq concealed
               on the pel:'Son fro• vhieh a &hot can be di•cha1"9ed
               thr ou9h the enQr9Y of an explosive, a pistol or
               revolver having a barrel with a SJIOOth bore d•si9ned.
               or redesiqned to fire a fixed sbotqun sb•ll. • • •
               Such tera sba.11 not ·include a pistol or a revolver
               having a. rifled bore , or rifles bore&, or voapons
               de.siqned,. •a.de, or intended to be ~ired troa the
               shoulder and. not capable of firing . ~ixed amwnition.
         The weapons meet this def inltlon l:>Oea\18e o't tbili        "
          concealability on th• person (having an approxiaate overall
          length of 17 inches), and becaucc they are saooth bore: ..
          pl~tols designed to fire a tixed shotqun shell.  They have
          been &ubject to tho NFA sinco the Act va.c ori9inally enacted
          in 1934.                              .
          The f f ' R Handygun was manufactured between 1920 and 1934.
          Although the exact nuaber ot ua_ndyquna aa.nutactured is
          unti:novn, available intormetion s uggests that between 20,000
          and 25,000 vere made in dittere.nt qaugea and caJ.i.bers. The··
          value ot the Handygun i& estimated to ranq_e.- troll $-4 00 ..to
          $600 tor stand.a.rd variations, vith cearcer versions
          exceeding that aaount.




                    97'3 172                                      EXHIBIT NO. ).-

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                                       -2-

       Kr. &ric H. Larson


       eursuant to     2' u.s.c. 5845(a) and tho regulation• in 27
       c.F.R. 1.79.25• th• Buro.au of Alcohol, Tobacco and Flrearas
       (ATF) aay r ·eaove weapons other than 11ach1nequ.n.s and
       destructive devlC9& troa the. scope o:t th• llPA vhlch,
       a..lthOU;:tl orl9ln.ally de&iqned as weapons, are detel"'llin-4 by
       rh•on ot their date of' aa.nufacture, value, duiqn, and
       other oharacteri•tics to be priaarily collector'•
       not likely to b9 used as veapons.
                                                               it•••
                                                               and

       The r•aoval ot vupons tro-. the. coope o t the NFA 1• an
       action not taken li9htly by ATP, and tbe .requ.oster h.a• a
       heavy burden of . . tabliahi"9 that an ·1tea ia not likely to
       be uaed •• a wapon. Tb.is is particularly true where, a'a in
       the pre. .nt e&ee, a substantial nuaber o-t veapcns are aouqht
       t.o be reaov-4. In addition, your requut r~lr•• c.lose
       scrutiny in viev of prior congressional action vith r••SM;Ct
       to R 6 R . K&ndYVUn• and siailar HFA ve~.
       In 19'5 and 19'0, Conqress a..ended the l<PA by chanqin<J the
       rate o~ tax on U.e transfer o:f these saooeb bore ahot.
       pl..stol.a vitb the scope of the •any other vu.pon• c.ategory.
       Boc&use th• v-..pons ve.re found to be cd intere•t to
       col.lectora and usa.tul t'or certain leqit.1.aate purpo•. .,
       conqru• in 1945 reduced the oriqi.nal. $200 tran•t'•r tax to
       $1 and 1n 1960 chancJed the transfer tax to $5 for all
       voapon.s vithin the cateqory •uy other veapon. • It 1.9
       slqn.S.t'icant that, although the &bot pistol.s v.re conaidered
       coll.actor'• tt.c.., Congress did not    chOo•• to re..ove th. .
       troa th• NPA. Koreove.r, the leqislative history ahova that
       conqr. .a deliberately lett these. weapons vithin tho purviev
       ~f   the MFA:
              However, thia • a.ny other weapon• category will
              cont.in~• to bo subj•ct to the pr•s.nt control
              provieiona applicable to a11 firearms undor preaant.
              lav . A.ti a re5Ult, the safeguards of pr•••nt lov are
              aaintained, vh.ile applicable taxes are lowued to the
              level Which aake:a it possible for qun collector• to
              obtain novel weapons in the cateqory • • •
       S. R6;p. No. 1-lO), 16th Oong., 24 se.ss. 2, reprinted lo 1960
       U.S. COde conq. l Adain. NCV$ 2L11.                          I

       As praviOU:.ly atated, one of the criteria t.o be conaide.red
       in act.in9 upon a re.oval rt!qU.est is the •<te.si9n• oC the
       veapon.    '!tie desi9n and function of the H ' R Handyqun are       ~
       identic;::.e,l to that of lhe saved.-off shotqun, Vbich U    also    ~




                                                              Exhibit A, Pg. 501
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                                        - )-


         Kr. Eric " · Laraon

         subject to th• trP'A. Both veapone are a.ooth bore bandCJUftS
         which fire a fixed cbotqun sbel.l and are cone.al.able on the
         person. ft• weapons. differ in tvo regard.a, ne.itbv ot which
         rebt• to tll•ir desic;n or function: (l) tll~ typical
         s.aved-oft ahotqun is aade by oonvertll)IJ an •xietinq ahotgun
         into a ahot pistol, whereas tbe K ' R u.and)'9Wl vaa
         orl9ina lly aanufactured as a ahot pistol1 and (2) the
         saved-off abotqun is &ubject to the MPA beOau.a. it fits
         within th• definition of •weapon mado tro9 a ahotqun• in
         26 u.s.c. '845(•)(2), \lt).Oroaa the H 'R Kan4Y9'1n la within
         the HPA definition of •any other wea.pon. • Practically
         apeaklf'9, however, the two weapons a.re eubatantially the
         •••••                                                         •


         The aaved ~ff shotgun is a popu.1-.r criae weapon and. ha• been
         the aubject of nu:aeroua Feder.t and state prosecuti.o ns.
         Thia ia attributabl~ in part to tho avaUability of . -
         v upona. Aa stated above, saved-off" sbotq\1.1\8 are proc!uced
         by ai11ply alUri.ng' conventional., sport.inq ahobJUfta vb.ich a.re
         readily available 1n tba aarketplace and which are not
         th. . .alvea au.bject to the KFA 1 s t"ec)istrat.ion or otbe.r
         r~ll.-.nta.

         Altll°"91' II • R lland)"JW\S havo not frequently been u - in
         c:rta.., tJMse weapons have b-aen found 1n the poa. . .•lon o-f
         er iainel.8. 'lhe subject ot a recent ATl' e&H waa an un1aVfQl•
         traftic.ker in droqa with a.n extensive crla.lnal record.
         While C<*alttinq drug" violations, this peraon vaa 1n
         po•••••ion ot tvo MFA weapons, a s:aved-ott s.va9e Aras
         shotqun and a . 410 bon H ' R lla.ndY9W'· H • R H•ndy'J'llls aa.y
         voll bec0110 a crl.ae problea if they beCOlla r ...dily available
         in co-oroe. Wo believe that their liaitod availability !a
         affected by tho tact that ttie ve;:i.pons have not been
         manufactured •inee. the 1930 1 s, as ve ll aa th• tact that they
         have been aubject to MFA control$ since 1934. Under th•
         NTA, veapona not r~iatered in tho National Pir••rae
         Re9iatration and Tra.nater Record are. contraband and. cannot
         be. lavtully tra.nsterred.  Po.sse.scora of reqiatarod weapons
         aay only tranafer the. ve.apons pursuant to •pplicatlon.s
         approved by ATF. Transfer appUcationa al"• denied if tbe
         t.ranafu. .a receipt •nd possession of t.be v . .pona vou.ld 1'
                       1

         violate any lav.
          M atated i.bovo. the re.oval of a veapon froa the tff'A
          require• a fl.ndincJ that it vould not likely be used as a           f'2i\
          weapon. We believe that re110val of H ' R K•ndY9Uft• vou.l d         ~
          inc:rea•• th• circulation ot these ve•pon• in co..erce and
          their •v•il•bility to those VhO vould use thoa for criainal
          pu.cpo•••·  Because of the nu.i>e.r ot v. . pona orl9l~lly
          a.anvtactured, ve cannot conclude that they vou.ld not find


                                                             Exhibit A, Pg. 502
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       ll:r.   Irle M. Larson
                                       -·-
       their vay into erlainal hands and be put to unlavtul use.
       As prevloualy stated, it is be1ieved that 20,000 to 25,000
       we.re aanufact·ured, but the precise tiqure ic unkn.o vn. I:n
       addition, ve do not believe that the va.lue of th• ""f>ona ia
       so high aa to make the vecq><>ns lnacoesaible to criaina.l•.
       Because th• vo.apons are identical in ,deslqn to the ••ved-ott
       shotqun, vo have no doubt that those acqulrod by crialnala
       would be u1od tor unlovtul purpose.a. For the above reasons,
       it ha• not been cat.abliahed that th• ve.apons would not
       likely b• uaod •• weapons it ~omoved froa th•. NPA.
       In s~pport of your request, you have cited exaap~e• of ATP'•
       reaoval of certain other vea,pons f'roa the NPA.
       Specifically, you refer to Kauser and t.uqer piatola vith
       shou.ldor atock• and trapper carbines. In our viev,      th•••
       vupons are distinqu.i&h.ab.le troa the ti ' R 'Ha_n dyqun 1n that
       neither they nor any siJlilar weapons bave constituted a
       criae problea. You •lao SWJ9fft that ve oo•JM!re the 8
       Kandyqu.n with the • 45 COlt/410 bOre fta.pson Contender
                                                                   '° 1l

       pi.atol, a fi.r ••n: vhicb you. state is s.iail•r to th• H " R
       Kandyqun, i• dietrib\Jted in OOlaler'Ci&l cba.n nel• today, and
       i.a not con•idered • c:riae wu..pon. We do not believe ~ to
       be. • valid c:oaperl•on ~-- tb• 'lbo.apson Cont.nder piatol.
       ls not a 0900th bore sbot platol and 1a not a wea.p on aubject
       to ~· Jf'FA.
       Accordift(Jly, vo au•t aftinl ~ denial of your requo•t to
       reJDove th• H ' R RandY9'\Ul fro.a the scope of tho NPA aince ve
       cannot conclude that such veapons, if reJDoved Croa th• Act,
       would not likely be used as weapons.
                                Si~relv       vovrq,




                                · Ttfh"y L.   cites
                     Chiet, Pireatilf and Explosives Oivi•ion




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        "r . Erle K. Larson
        Pott Office Box S4'7
        Tecoma Perk, Maryland   20913-5497
        Dear Mr. Lar1on:
        Thl1 la in resPonse to your request for removal of the
        Harrington and Richardson Hendyqun (ff • R H1ndy9u:n) f rot1 the
        scope of the National Flreanu Act (NPA), 2' U.S.C.
        Chapter 53.
        The weapons in question are .f.10 and 21 91u9e ff • a Handrvuu
        which currently fall within the •any ·other weapon• catev-ory
        of NPA weapons. As defined in 26 U.S.C. S 5145(e) , the teem.
        •eny other .,._apon• Mans:
            IAJny we aPoA or dBYice capable of belnt concealed
            on t .he person fro. vblcb I 11\0t c•n be dlaeh1r9ed
            througb the e.Aergy of an erploti•e, 1 platol
            or revolver b1Yin9 a IM.rrel with a a-.ooth bore
            de1l9ned or re<lealg~ to fire I f lzed abot9un
            shell • . •• Such ten1 shall not include a
            pl1tol or a t8Yolver ha-.109 a rifled bore, or
            rifle• bores, or weapou d.e sign.O, M4e, or
            intended to be fired frOll the shoulder •nd not
            capeble of tiring fixed a....mitlon.
        Th• weapons 11<1:ot this definition because of tai.ir concealebllity
        on tho peraon (ha•ing an approziftllte overall len9th of
        17 inchaa), and because the:r er~ af90otb bor·o piat.0 11 designed
        to fire a Clxed. shotgun shell. They have boon aubject to the
        MPA since the Act wa.s orl9inally enecttMS in 1934.
        The H 4 R H1 ndy9wa was m.anufactured between 1920 el'MS 1934.
        Alt.hough tho ozact number of Jf1ndy9uns 1111nufectul'.O la
        un~nown, available inforaation suggests that between 20,000
        and 25,000 wore aade in different 91u9e1 ao4 c•libel'a. The
        value ot the Handrvun i& estiaated to r•"9• l cOll $400 to
        $600 for standard ••riatioAS. with acarc•r veralon.a e&eeedln9
        that a.cunt.

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               97 C: : ~
                                                               EXHIBIT NO. 3


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        Mr. Bric M. Larson

        Pursuant to 2' u.s.c. S S84S(•) and the r·e 9ul1tlon1 in
        27 C.F.R. S 17,.25, the Bureau of Alcohol, Tobacco and
        Firear.u (AT!') ••Y reaove weapons other than .. chine9un1 and
        destructive devices froa the scope of the N'.FA which. although
        orl9in1lly de1i9ned as weapons , are deterllline4 by reason of
        their date of aanufacture, value. design, and other
        ch1r1cterl1tlc1 to be primarily collector•• items and not
        llkoly to be Used •• weapons.
        The removal of weap()ns f rocn the scope of the NPA la an
        action not taken lightly by ATF, and tho requester haa a
        hoavy burden of establishing t hat an ite• la not likely to
        be used 11 1 weapon. This ls particul1rl7 true where, 11 in
        tho pro1ent case, a substantial number of woapona are eought
        to be remov.ct. In addition, yout request reqY1re1 close
        JCrutiny iD view of prior congressional action with respect
        to H ~ a H1ndy9un1 and siailar NFA weapons.
        to 1945 and 1960, Congress amended the WPA by cbanolng tb4
        rate of t1x on the transfer of these smooth bOre shot
        pistols within the scope of the •an7 other weapon• cat~ory.
        ~auae the weapons were found to be of intereat to
        collector• and useful for certain lfJ;9iti. . te purposes,
        Con9 r·e sa in 194S reduced the origina l $200 t r&A1fer t1.x to
        $1 and in 1960 cl\anged the transfer tu: to $ 5 fo r all
        weapons within the category •any oth•r weapon. • It i•
        1i9niticant that, although the shot pistol• were considered
        collector•• it.... Col\gre.e:s did not cbo01e to r.-o•e them
        fx-on t .h e SPA. Moret>ver, the le41islative blator:y lh<*• that
        Con9re11 4•libex-ately left these weapons within the purview
        of t~ MFA:         .
             ~v•r, tble •any 0th.ex- weapQn• cat4tCjllory will
             continue to be subject to the present control
             provision• appl icabl• to all firear•s under
             present 11w . Al a result , the safeguard• of
             pte1ent 11• are . .1ntained, while 1pplic1ble
             tax•• ere lowered to the level which ••k4• lt
             posaible for gun collectors to obtaia novel
             weapolll in this cetegory • • .
         S. Rt9. tk>. 130·3 , .. 6th Con9 •• 2d Sesa. 2, fftprlntttd In
         19'0 U.S. Cod• Cong. • Ad.lain . Rews 2111.
                                                        0

         As previou1ly 1tated, one of the cclteria to be con•idered
         ln actl119 upon a re-oval request is the •de•i9n• of the     i
         weapon. 1'be de•i9l\ and function of the H • • Handnun ere ·
         identical to that of the sawed-off shotgun. which ia also



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          11.ibj.ct to the NPA. Both weapons are smooth bore h1nd9uns
          whlch flee • fixed shotgun shell and are conce1l1bl• on the
          person. The weapons difter in t:tfO re91rds, neither of w~ich
           relit·• to t .heir design or function:   (1) t .he typical
          sawed-off 1hot9un is made by convertin9 10 esl1tln9 shotgun
          into 1 thot piatol. wherees the ff • R H1ndy9un w11 originally
          aanufactured •• a shot pistol; and (2) the aawed-ofC 1hot9un
          11 aubject to the NPA because it fits within the definition
          of •we1pon made from e shotgun• in 2' u.s.c. S 5845(1)(2) .
          whereas the H & R Handy9un is within the NPA definition of
          •any other weapon. • Proctically 1po1kln9, however, the two
          we1pon1 are substantially the sa11e.
          The 11wed-off shotgun is a popular cr11Di9 weapon and has been
          the 1ubject of nuraerous Federal end Stet• pro1eeution1. Thia
          11 ettributabl• in part to tbe · av1ilabillt7 of tuch weapQns.
          Al 1tated above, 1awed- ott shotguns are produced by einq>ly
          alterino conventional, sporting &botqun1 vhlch are readily
          available in the aarketplace a.nd which are not the•selves
          subject to th• NfA•s re9istration or other requlr ... nts.
          Although H ' R Handyguns have not frequently be•n uaed in
          crl.._a, these weapons have been found in th• poa1e11lon of
          ctlainals. Th• subj.ct of a recent ATP case vas an unlawful
          t r afflclter in drugs with aa extensi•• crl.alnal record. Whll•
          co. .ittift9 drug violations, this person waa ln po1ae1aion of
          two MPA weapons, a sawed- off Savage Ar. . 1bot9un and. a .410
          9au9e K • R Hendyqun. H '- it Handyguns aay ttell become a
          crine probl•• if they become readily available in co....,.rce.
          wo believe that their limited availability la aftecte~ by the
          fact that the weapons have not been m.nufaotured aince the
          1930°1, as well as the fact that they have been subject to
          MFA control• since 1934. Under the MPA, weapons not
          raolater&d in the National Firearms R&Qistration and Transfer
          Record ere contraband and cannot be lawfully tran1fer red..
          Po11111or1 of registered weapons ••Y only tranaf er the
          weapona pur1uant to applications approvecl by ATF, Transfer
          applications are denied i f the transferee•• receipt end
          po111aaion of the weapons would violate any law.
          Al stated above, the rel'DOvll of a w1apon fro• the NPA
          requires a flndin9 that it would not likely be uted •• •
          weapon. Wo believe that re990vel of H ' a Hendy9un1 would
          increase the circulation of these weapons Jn co.....rc1 and
          their availability to those who voulO ute th . . for crialnal
          purpotes. Because of the nuaber of weapon• originally         /
          aanufectured. we cannot conclude that they would not find




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        Mr . 8ric K. Larson
                                       .
                                     - -
        their way into criainal bands and be put to unlawful u••·
        As prevlou1l1 atated, it ls belie•ed that 20,000 to 25,000
        were . . nufactured, but the precise fi9ure la unknown.   In
        addition, we do not believe that the vtlue of tbe w•apona ls
        so hl9b •• to .. ke the weapons inaccessible to crlalnala .
        Because th• w11pons a te identical in degi90 to t ,he aa-.d.-off
        shotgun, w1 have no doubt that those acqulr,e 4 by crialnala
        would ~ u1od for unlawful purpQses. For the abO•e rea1ona,
        it has not been esttbllshed that the weapon• would DOt likely
        be u114 •• weapons if renaoved frora the NFA.
        In support of your request, you have cited ~ampl11 of ATP"a
        re.oval of certain other weapons from the Nf'>t. Spoc:lflcally,
        you refer to K1u1er and Lu9er pistols with 1b0ulder stocks
        anO trapp.er carbines. In our •1t8W, these weapons ere
        di1tln9vishable troa the H 5. • Handygun. in that neit.ber they
        l'M)t any a l allar weapons bave constituted • cri . . probl ...
        You also referred. to ATF's •removal• of the Marble G...
        Getter with an 11-inc.h barrel from tbe •any other weapon•
        cat•9ory. Thll weapon was not r._.•ed froa lb• l:PA becau10
        it was not subject to tbe Act in the first place. Bec•u••
        of Its overall length, i t is oot considered concealable on
        the peraon and, the reto~e. doe.s not fall within tar..
        definition ot · •any other weapon.• You also 1u9901t t.bat we
        COllllPIC'e the H ' a Handy9un with the .45 Colt/410 91u9•
        Tbonpson Contenoder pistol, • flreara wblcb you atat.e la
        siallar to the H ~ t HandJ'9Ufl, la distributeid in c01111erclel
        c.hannel1 today, and ls Mt considered a crl. . veapoa. ... 4o
        not belle•• thll to be a ••lid COllC>lrison because the
        Th°"'1on Contender pistol 11 not 1 allOOtb bore allot piatol
        anO la not 1 we1pon subject to the KPA.
        Accordln9ly, we mutt deny Your request to ' telk>ve the H • a
        Handy9un fro• the scope of the MFA since we cannot conclude
        th1t 1uch weapons, if re1110ved from the Act, would not likely.
        be used as we1pon1. Nevertheless, we coJ1111God you tor 7our
        thorouqh re1e1rch and presentation and ~•9ret that our
        decision could not be lllOte favorable.
                                Sincerely your·s ,



                              Edward M. Owen, Jr. •
                       Chie f, Pirearas T..ehnology arench                 I




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                                     WAS-MtNC'oT(Nlt OC 1ett•




            Kr . Irie M .~r•on
            P . O . Box 54j7
            T•kom.a Park , MD      2091)

            De• r M.r. t.a.reon:

            Thi• le in re•pon.ee to your letter of Nove.111ber 21,
            ltt,, in vhich you request contirtMition of •t&t... nt•
            ud• -~t d.at• in t.he ..MFA R.EGISTRA.TtOtl ACfJvtTY
            A.HNUA.L C'OKPAl.JSOll'• t.able . YOl.l ~l~ed a copy of the
            table wttb dac.. chrough Dece91ber ll, lttS .

            Thi t&bl• •hows Fora ""'' regiatrat. iona •ft.er 1t11 .ad
            before lt,e .      We believe that then: are e rron                       Ln the
            elate or foiw field.s which caiu•• th• regletr• tiOn.e to
            appear LD those        ,,_.n.
             The table ah0w9 pre- 1934 data. Thi• dat.• n •ult• fro11
             errore. blank•, or -.iarepreaented character• in the
             date !i•ld which cause the re9iatratlon• to ~ppear
             prior to ltl4. Thi& ,st.a tistic.al r-eport va• developed
             aeveral years after the implementation of t he aut~ted
             databaae &nd the prog-rammer ~pparently included a
             procedu.re to capture these date rang•• becauee errors
             in the date field showed dates prior to 1934 .

             You ••kod about the ·OTH&R· column in the t able .                          Thi•
             c•t•~Ory would be. comprised of regi•tr• tiona l-ben t he
             ton nulllbcC' i• differe.nt fro- the other one• J:•bul•ted.
             An l nconect fora nwabeC' wou.ld be count~ ln.,Jhat
             column .                                                             •
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             tn r.,_rd to it.ems S •nd. ' of your letter• ve •re
             const.•ntly verifying the inforsa.ti on l n our dat-.base.                            @
             It .,. do locat• ~ re-cord where t he ct.te. for. nUllber.



                   970 ! 78                                            EXHIBIT NO.             L/.

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          Mr .   £rlc ti . i..areon


          or otber infor.ation was not. en.t.e.red correctly, we
          e.nt•.r the correct tnfonaatioa. The.se action• uy then
          re.eYlt in an adjust.ment to p~viously 9e:rH11rat-4
          •t•ti•tica.

          W. would 11.ke t.0 point oot that err0r• in the date or
          form nullilber field• would not affect the thoroughn••• of
          a ••a rch ot tho database by NPA Branch per•onnel. we
          uoo a aearch methodology that ensures a thor0\.l.9h review
          ot the dat.a ba1e tor all possible responaiv• en~riel and
          an exaalnation of the original registration doC'umont.

          ri~lly. you ••ked whether a firearm .ould be ~ded to
          tho Jte9i1try if a person poa;scssod a valid re9,i'1tration
          cha.t va1 not. in the Registry.          The docu1111tnt   cl   peraon
                     1• his or ber evidence of regittra~lon . It
          po11 . .a1,91
          wou.ld be MSded to the National Firearas Regiatration
          a.nd Trenafer Reeord if tbe inforao1.tion was not already
           in t~ itecord .

          We t .ruat thla baa beon rc$p0fl$ive t.o your ~·•c..
          Should •ny addition.l information be needed. pl••••
          c:on~•cc. ua at (2021 927- 1130.


                                      Sincerely yours,




                          Chief. Nat ional f irearms ~ct Branch


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       I h•tt.l• Ol•tric~ office
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            qvantity of -t.h&i•l(lhetuln•, PhOtos Of a • str_t......,.r·• ah0tove 11Y1DI Ofl t.lle
            c.til' •••t of ,John Dudley'• C'.orvett.e and t.ha owner• 1 •n~l tor tM •street•
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             SVidanc• ._.. fou,nd t.hat linked .John OUd1.ey and alllOther 1n41.. ld\l•l to tM lab.
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        a\llba tance, M"th•ll'CPh•e.lne. ()) Po•••••lon of a oantrollff: ••au.nee,
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        the r . . idoence. •ad tlM.t. Dud.loy and               Mid !iol'C*fht UM 1"11• ,
        OW.I' to                   hoiiiM •t different t i . - durl . . • ~ek period.
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ResPonses to the Bureau of Alcohol Tobacco and Fuunns' Internal lnvtst.!a!!ion of'E}'._co~Laint
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 documents that they are required by law to   suspected of destroying records were, in \lt't:f'e suspected resardil'IS missing NFA
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 1996 by ATF Special Agent Ouy N.             11si11 in the backlog of pa.perwork that ~1t. Schaible apparently idenlifiC$ this same
 ScJWble.                                     resulted from an influx of resLstrations as incidem u the wbjec:A of his May 21, 1996,
                                              per [deleted by ATF)."                       !testimony, yet in his 1996 tc!ftimony Mr.
                                                                                           ISchaible SIJlles thal BATF employees could
                                                                                           •havo thrown aw.y lhe dd'eodant'a
                                                                                           •registration document1in1994. It docs oot
                                                                                           :appear that these discrepant statements,
                                                                                           icach made under oath, can be reconciled.

 In analyses of data made public by ATP, I    "'Ot'pending on the year in question, if there   BATF otrers no empirical evidence for this
 found !hat duriJl& 1992 to 1996, AlF may     was an inc:rcasc in wry National Firearm Act     hypothetical interprewion. and does not
 have added 119 or more firearms to the       (NFA) finorm resjstratiom, u alleged, thil       _,, ditectly answer the question. Proof of
 NFRTR whi<h were orisjnally registered       may have been an adjustment u a resull of        llreorml b<iog added may be etllblished by
 on Form I or Form 4467 during 1934 10        a dillettn lbrm 1>1mber oc ttginntion data       detttminlng If a "docket number" (firs!
 1971, for which ATF Jost or deliberately     for the particular fire.rm."                     ...ated in 1976 for keepina ltaclc of
 destroyed Ille orisjnal record~•                                                              incoming paperwork) is found on the
                                                                                               recocds of fireanns ttgistered in oc before
                                                                                                1971, and by other methods that BATF
                                                                                               a           did not emDlov.



                                                                                                                           Exhibit A, Pg. 518
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•2. ATF employees registered almost          "To address the second allegation, ATF        A statement on Form 4467 states that
2.SOO untegiscered NFA firearms on form      continued to rcgis.t~ weapons after 1971      "This form "8llllQI be accepted for
4467 after o.O<mber I, 1968, without         becaUJO tho bacl:log of papcrwork that        regisaration of a firearm excepl when
proper authorization by the Congress.        resul1ed from the amnesty period was very     received by l>irec:Wr dUfir41 the time period
                                             large and filing the documentl required       No..,mber 2, 1968, through December I,
In addition to not being authorized by the   extra time. In a4dition. some individuals     1968... As my 1997 testimony dOQJ.mentS-,
Congrt-ss, such res;i.str11ion1 were         were granted extra filing timo if they were   each Form 4467 had 1 d•tt/time stamp
prohibited by the Supreme Court in 1971,     out of the count.ry when the time expired     applied on the rear 10 indicate receipt, and
yet it appears that ATF registered more      for filing.                                   acrual time filed in some cases was in 1969~
than 1n unregistered NFA firearms on                                                       however. a Freedom of Information Act
Form 4467 after 1971.                                                                      request disclosed that the date of
                                                                                           regisuation. which BATI' reports in its
I have included an example of one                                                          statistics. is the actual d11e the form was
apparently illegal pos<-Decembef I, 1968,                                                  filled out by the persoa who rtgistered tho
Form 4467 registration in my 1997                                                          lireamt, and BATF's own elm indicate that
testimony."                                                                                nearly 2,SOO firtarms were registertd on
                                                                                           Form 4467 after 1968.

                                                                                           BATF has not an.swtred whether it has
                                                                                           Illegally registered fireanns on Fonn 4467,
                                                                                           despite clear evidence that it has done so.
                                                                                           Noubly, BATP has not disdosM any
                                                                                           required notice ln the Federal Regist~r or
                                                                                           other Congressi-Onal authorization to
                                                                                           accept regisc11tions after DecerOOer I,
                                                                                           1968.




                                                                                                                         Exhibit A, Pg. 519
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"3. ATF empl<»- Edwvd M. Owen, Jr.            '1\<prdin3 ~son's dVrd alleplion, 1he The H&.R Handy-Gun in quesaion was. in
and Terry L. Cates committed felooy           inimfuJ infO<Tnation fumislled to Larson by facl~ in the possession of an acquaintance
perjury in ktterl written to me dated March   [deleted by ATF) and [deleted by ATF) io Of the drug lrafficker at the time of the
23, 1m and July 29, 1993, respectr...iy.      their respective letters involves a criminal violations. BATF's manner of lllting
                                              case inOregon investigated bY ATF. The ''pos.1cssion" ~ies that the trafficker was
Mr. Owen and Mr. Cales eoch alleged Iha!      suspect, John David Dudley, a multi- carryins 1he H&R Handy-Oun on bis
"an unlawful traft:idcer in drugs with an     convicced felon. dealt in narcotics and person at the time the drug crimes were
extensive oriminaJ record" WIS in             illegally possessed ftrtanns wbicb Included committed. BATF has interpreted that the
possession ofa .4 10 bore H&R Handy.Oun       an H&R Handy-Oun. Dudley waa charged drug trafficlcer was in ''constructive"
"while oomfttting drug violations."           and subsequenUy pied guilly in Federal po<sessioo of 1he H&R Handy-Oun, """"
                                              court on Federal flrwms violations.          !hough he WIS not charged wi1h illeplly
This alleged i....,.,. of criminal oonduci                                                 possessing it (see page 27 of the imemaS
wu uaed 10 deny my pe1i0oft to ...,,... 1he                                                BATFreport). Ther• is the tnnh, and then
H&R Handy-Oun ftom the NFA as a                                                            tbefe is the legal truth.
coDector't item.




                                                                                                                      Exhibit A, Pg. 520
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 (3, continued) In fact, a Freedom of
 Information Aa Request disclosed that the
 Handy-Gun was recovc:rod from an
 acquaintance of the trafficker, who said
 that the trafficker had given it to him for
 safe-keeping("" pages 212-215, 222-230,
 and 233·236ofmy 1996teotimony).

 Any person who petitions for removal of a
 firearm from the NFA n•111 1111e the
 rtasons under penalty or perjury.

 The plain language ofthe statue at Title 26,   As noted, the characterization may not
 U.S.C., § S86IQ) and§ S871 applles to any      have been legally false~ however, it wu
 person who knowinsJy makes or causts the       definitely misleacUng,
 making of a false entry on any document
 required to be- prepared as a resu1t of
 admini!lering the NFA.

 Both Mr. Owen and Mr. Clles deliberately ·.
I rus1fied 111e &a~        ·• cited.•




                                                                             Exhibit A, Pg. 521
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"4. Cena.in tregistratk>n activity' that ATF   Larson's fourth allegation suggC$ts that During each year ITom 1992 to 1996 (the
classifies as "011-lER" could includo          ATF is using the ..other'' category to illegal most reCent year for which the BATF has
             or
regi1na1ions fi rearm$ that one or more        register firearms. However, this category is released NFRTR data), there were more
ATF emplo)'ttS registered contrary to law,     used when the oomputer ptogram cannot than 8,000 entries under the "Onffi.R''
because ATF has refused to disclose the        recognize a non-st&ndatd document that has data catcgruy. What arc these "non-
na1u~ or this Tegistration 1ctivily.'          been submitted for registration.               standard documents?"

To the best of my k:now1cdge, l"ve nevtt For instance, some registrations were There is a separaJe "LTR" u1egory, which
heard o( any fonns numbtred Other than 1, actu&lly fiJcd in COITelpol'ldence 01'1 Clary Schai>le lltted contains flfC&ml! thll
2, 3, 4, S, 6, 9, JO or 4467 being used to letterhead,                            were registered or cransferred on
register or transfer NFA firearms.                                                leUethead, when standard forms were not
                                                                                  available.

According to a letter to me dated Januuy       If an ATF employee entering the             A normal oomputer program for sensitive
9, 1997, from NFA Branch Chief Nereida         infonnation into the computer e:ntm a       documents would not accept the incorrect
W. Levin-. the 'OTHER' category i1             Form l as a Fonn 33, the program will       entry of a form, and data entry could not
'comprised of registrations where the form     15sign the docummt to the "other' column.   proceed. How many other errors were
number is different &om the other ones                                                     created in the NFRTR because of a &ilure
cabulaied.'                                                                                to properly debug the computer tollwue?

Ms. Levine, however, hu declined to The fact that the form is Clllefed in the Neither does it mean that an inc:orroctly
provide the names or numben of these ..other" oolumn does not mean that tho registered or tr&nJfctred firurm con be
forms.                                    firwm is illegally regiJtered.      located in the NFRlR. Conlider the
                                                                              1111ement of Mr. Thomas Buaey in the
Coupled with the other evidence of                                            October t99S *"RoU cau Traiaing"' seuion:
registration mismanagement I have                                             '1t wu line to begin putting ~ in
documented, it appear> that the "On!ER'                                       accuf'lte • year ago or at asc be.
c.a.egocy may represent firearms that we~                                     guaranteed a year ago ii wu OOfTcct, but
registered inegally, as noted in my 1997                                      what are you going to do with the entrieJ
teJtimony.•                                                                   that go back to the early '80a and the '70s
                                                                                           and 1he •6os?"


                                                                                                                        Exhibit A, Pg. 522
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' 5. It appean dial a 1ijnificant oomber of"'In his fifth allegation. Larson states that   "'Unknown to Am" Excuse me.
NFA firearms are registered to per90ns     some of the NFA wtapons may be
who are decwed, and that ATI' bu been      registered to deceased persons. While it is     N my testimony and letter to t~ IO -
aware of this fact since at least 1981 and po,.;ble that, unknown to ATI', ''"""NFA        an internal BATF ttpon dated July I,
done nothir@: about it, as noted in my 1997weapom may be registered to deceued             1981, by BATF employte Deron llobbt.
testimony.                                 individuals. the integrity of the NFA jg        slates: "We have the condition where
                                           i.ncurnbent upon the indiiiiduals who possess   people who registtted 6rearmJ under the
Consequ<nlly, a signifi<llrt number of NFA legally regiaered fire.urns 10 report dea1h1    original National Firunns Act at age 65
firca.rms are now illegJUy possessed by and reregisrcr the wespon.                         would now be 112 yean old. We know
persons who are unaware that they a.re in                                                  that thc.e people att dead and their heirs
violation of the law.                                                                      have not taken the necessary steps to
                                                                                           contact us so that the involunwy transfer
The reason is that many firearms classified                                                created by the registrant's death can be
as 'Any Other Weapon' are rare coUectot's                                                  formalized...
items that many people do not oonslda
weapons, as noted in both my 1996 and
1997 testimonies.




                                                                                                                        Exhibit A, Pg. 523
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(S. continued) AT'F's most recent data (as        BATF's most reoent (as of December 31,
ofDecerrber Jt, t996) disclose1hat oflhc           t 996) data diJClooe that ex11<1ty tOS, 556
14,259 fircanns registered during 1934 to         persons have never legally trln$fe:rred the
t939, exactly t t,t 75 (78.4 peroent) are still   ownership of machineguns. bazook~
currently owned by the person or enti1y           sawed-olf shotguns, hand grenades, anti-
that registered or acquired it during that        tank rifles, and similar devices that they
same time period.                                 regtstered or acquired by transfer In or
                                                  before 1971.

And of the 58,904 firearms registered in          Of dte SS,904 amnesty registrations,
1968., a stunning 85,4 percent are still          .S0,314 (SS.4%) are stiUowned by the same
owned as of 1996 by the same pcnons who           person. Since 1hc sooiaJ .se<:urity number
registemi or received them by trans.fer in        was a requited data field, it would take no
t968.                                             more than a few hours to determine from
                                                  the Social Security Death Index exactly
Consider dw in 1981, an internal ATF              how many NFA firunns are registered to
study reported: We have the condition             people who a.re dead-and when those
where people who rqiiaered fireamtJ               people died.
under the origjnll National Firearms Act 11
age 65 would now be 112 years old.

We know that the5e people are dead and
cheir heirs have [lot taken the necessary
steps to contact us to that the im·oluntary
1rans(er created by the regi,.rant's dnth
can be fonnalized."



                                                                                 Exhibit A, Pg. 524
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                                                                                                      ~


    My summary of the problems, issues, and BATFs , _ quoted &om !he "Synopsis" My comments:
    proposed sokitions, quoted from my ldter of ill inremal investigation and finaJ rq>ort
    d>tod May 10, 1997, co Che TreaSW)' d>tod Sq>lember 8, 1997; ,
    D~menc Ins-or Cltneral:

    "One resuh ofAlFs negJigenoe is that some                                  The Sth Amendment apparently applies to
    persons who own certain rare, valuable                                     che Bureau of Alcohol, Tobaoco and
    firearms that have special vatue to collectors                             Firunns as an institution. But who ans~'efl
           been instanlly transformod into                                     tbr the institution?
    "'""
    criminals.

    The reason is that through natu11l disascers
    (such as the reoenc floods in North Dal<OU,
    house fires, and similar tragic events), the
    owners of these 6.reanns have lost their
    copies of the documencs which pr<)''e their
    lawful ownership, and tho law does not
    allow these firearms to be voluntarily re-
    re.ai$tered. •




                                                                                                               Exhibit A, Pg. 525
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SOLVTION       #f :       "Admini!tr&timy [Lanon'o] &ntrec:onmend.oonistoremow
removing approxinwdy 17,000 'curio or t7,000"lnyotberweap00s"fi3'odunderthe
relic' fireanns cla.ssi6ed u 'any other NFA.                •
weapon' under the NFA, wtich - e
originally commMcaJly manufactW'ed in or
before 1934 (but not replK:as thereof).

The Congress detennmod that me.. '1ny        AJ1hougb Congress did enable firearms          1 never stated anywhere il'l my Jetter of
other wtapon• firnnns were mainly            dassified u collector"• items to be removtd   complaint, or in either my 1996 or 1997
collector's items and not likely to be used as
                                             from the NFA, contrtry to Larson's            testimony, that 1he Coogreu manda.lCd any
wee.pons in 1960.                            interpretatjon it did not mandate their       firearm to be removed from 1he NFA as a
                                             removal. Therefor~ if an individual weapon    colloctor's item. Identify ~aetly whete I
It was not untiJ 1968 t hat the Congr8" is suggested for remova~ ATF will consider         stated this. That is not what the law says,
pu9ed legislation enabling these fircann5 to the particular 6rwm on a cate·by<ase basis    and I didn't say thaL On page 11S of my
be removed from the NFA 11 collecton and determine if remov.I is warranted.                 1996 cestimooy, J did mte; "Mr. Chairman,
itans:                                                                                     no legal evidence exists to show that the
                                                                                           Congress aougbl to ""elude the [Marble's
                                                                                           ·Otme Getter G\ut] from the removal!
                                                                                            provision under lhe 1968 Act." I made chis.
                                                                                           -because of the ftct that the BATF
                                                                                           fonnally delennined (tn writing) that the
                                                                                           Oune Getter was mainly a co!Jec:tor's item
                                                                                           and wtS unlilcely to be used ss a weapon;
                                                                                           h:w;evcr, tho BATF legal counsel later took
                                                                                           the position that it neY«'Cheless could noc. be
                                                                                           removed because the Congress excluded it
                                                                                           from Che· removal provision. My 1996
                                                                                           testimony (see pages IfJ7 to 118) cites the
                                                                                           law, legislative history, and documents that
                                                                                           there is no l<galfi vaM and rdiabl• evidence
                                                                                           to •" """" BAT!"J inlem<etation.
                                                                                                                             Exhibit A, Pg. 526
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SOLt.mOl'I #2: 'Eaublishlng a 90-<ay         "'Funhetmofe, to address Larton'1 eecond      BATF pmumes a foct nol In OYid<nc.. and
amnaoy period to ollow per10"' ..n. may      aolution, 1r tho oriainal ,..;-ion or •       for wt1":h ,........,.. doWI .,.;,,r namely,
111.. 1.-...ly loll lheir copic> of the      fimnn Is mitpllced, the owner need> od.y      lhat BATF hu 11111 lotl or ~ ii>
rqjluatioo rom. 10 ,....;..er lheoc          to..,..... ATF 10 ol><ain "'°'her oopy-.      copi<S or original rqiotrations. It _ .
fir-                                                                                       dw for mo<e !hon 100,000 N'FA l l t -
                                                                                           tho-e Is;... ...... - - (•ho oriaiMI
Tho eo..si- hu IUthori=I ad! amnesty                                                       regi-) in Iha N'FRTR 10 P""'O
periods 10 be autifithed by the S«reury of                                                 ""ncnbip. As-cdiamy1996tea~
oho Trwury undc< § 207(d) or the Gun                                                       (see pages 92 to 9S) and 1997 t. .imoay
Conlrol Acl or 1961..                                                                      (,..page 72), I ulted Mr. Oll)' Sd!aible if
                                                                                           BATF bad ever added firearms co the
                                                                                           N'F'RTR becau,. BATF had no reoo<d of 1he
                                                                                           original tqpstration-but the oriainaJ Ownef
                                                                                           did. Ho stated: ..Yes. I assume chll'1
                                                                                           happened."     BATF'1      conclu1ion     i1
                                                                                           prcmatur~ since it appears that BATF hu
                                                                                           lost or deslroyed oriaJnal re&Jwatlon1.

                                             Thtre it no need to r&-«fPsttt, and there it In a "Response to ktter ffom Senator
                                             no need to utablilh an amnesty period as (J.,,,.. A.) McC~re" dated l'lovtmber 29,
                                             Lanon......,u.                               1979, bearing symbols LL:J.ll>.oliw, PhUip B.
                                                                                          Heyman. A>liJa.w Auorncy 0.-111,
                                                                                          Criminal Division; and UWT- l.ipt>t.
                                                                                          CIUel'; General Litip•ioo • IApl Mvice
                                                                                          Secrioo, Criminal DMs<on.     °"*'"""'
                                                                                          lustico, swed lhal ii' on lndMduol bad a
                                                                                                                                     oC
                                                                                          valid NFA 6rearm ,..,.;.- ~
                                                                                          bul that BATF ~ not fiod any record        or
                                                                                          it in lhe N'f'RTR, "Iha only IOlution -ad
                                                                                          be 10 declare "'°'her arMelly period. The
                                                                                          Sec:mary (oflhe n.u.ry) 11~10
                                                                                          do thU under e>cistiOA ltfllolation."


                                                                                                                            Exhibit A, Pg. 527
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                                                         130

                                                                                                               l

       J-rll.1991

       Ncr-cidaWi....-
       Cllic( Nlllionol ;.......,. Act Branch
       Bureau of Alcohol. T - and Fireums
       6SO Ma1111Chutett1 Avenue, N.W.
       Wulli"8'00. D.C. 20226

       Dear Chief Levine:

       I am wrilifW lhiJ )ei1cr to request &cm you a written SlU.ement &om the Burau or Alcohol. Tobacco
       and f;rearms (BATF) regardiJ1i 1he lepl ,..,,,. of four Na1ional Firearms Acl (NI'A) fi""""' lhal
       J currently O'W'1\ which apparently .,•ere illegally registered ye.an before J acquired mem_ as wen as
       lhe BATF"s po6cy regardiJ1i 11>< l<gal status of miler N'FA fircarma lhal may""".,..,, illegally
       rcaJsc.erod without the knowledge oflheir a.urart owners.

       t cltcuued 1hae-..XS • tomt lu!gth in my 1997 testimr:xiy bcforc the Subco11,.1inee oa Tnasury.
       - . I Scnb 11111Gencnl()owr-...-Appopiatioos.IO1111: poinl ol~ ~ad>
       fimrmb)"acnal-and ciriogar pr<Mdiogrdmm-                                -

       kispa ..... dmBATFdid..,.addrusrmyoltheseisoucsiails-iacemolor                                • •.    lhal
       ;.bolod e» myl<Slimony. I also find a - IO Snasint dm you. u Cllid'ofth< National F"ireanns
       /\£< Brw:ll, -.Id - he ""'""''ied aboul the -




       -
                                                                   and m.qrily of the Narional F'mnns
       Rqcboidioo and Tlllldlr-(NFR'Jll). After o1. theody documenWion lhat rmy lawfill-
       of an N'FA -       Ms 10 ;,..lfy the l<gllity of ils J'O'=rion. are _ , is>ued b)" the MFA


       Whal 0N'FA filwml-."'8i11ered iDeplly7 Whit ;fBATF's m:ords ll't inaccut1le, or mi~
       What if BATF chooles to confisca.te an affected NFA fire&rm-even though its currcm owner
       acquired the firearm lawfully, BATf approved the tranlaCtion. and the currmt owner bad no
       Jcnowtcdae or past det'ectt i.n the hist Of')' of the firearm which BATF lalc.t in1erpre11 a1 U'lllSforming
       lhe fireann .... ~lepl conmblnd?     can     die lawNl owner ha"' &Jiii in •he '•hie' 10 hi• "'her firearm,
       and noly tocally upon die documaution ofan approwd "'1l>aClion b)" the BATF u evideDce lhal he
       or she lawfillly _ . , , , . lireann? Apparemly not.

       My.......,..,. not hypothc<ical, ~or a·~ expedilioo' 10 cry and create pol>lcms
       lhaldo ....... boclustBATFa.salresdy • I ··--NFAfitutmaftll' . . . . . . . . .
       i11ep1y ,....- • _..nm. ia die pasa. lhougb wUboul laiowl1 l.. b)" ks owner and aftll' BATF
        had - - Ibo u....ic. of its owoalilip.

       k is a &a Iha! BATF
       .,......ia lhM • load -
                                 -·ed ..  NFA 6reum &om Noel Nopollili off--., Alab, oo 1111:
                              ill<gtly rq!istcrcd _....... io ... pu br ........... -      -.
       BATF -      Mt Napolilli a la~-ful 1<gimotioo- IOr die&..... ,.!Joo he putdmed ii !Or
       Sl.SOO in t91S Wbtn BATF moved to saze the titeonn ia 1991. Mt. Nopollili filed a -  t0




                                                                                          Exhibit A, Pg. 528
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                                                      131

                                                                                                            2

      demand ics mum. bul dropped tbe-.;, bef0tt tbe case coold be~ to trial. James H. J<tlrics
      DJ. Esq, ofGICC1oboro, North Carotina, "1lO aaed u Mr. Napollili's attorney, told me that the case
      wu dropped because Mr. Napolliti's wife was afraid that BATF agencs"""" going to kill Mr.
      Napoiii; in n:uliarion fil< the law.Dt. Since this period was during the unpleasantness 11 Ruby Ridge
      and WW>, Mr. Napollili's wife's conecms -           be understandable, and probably any pcr>OCl "1lO is
      married can UJ1dersiand the need for domescic uanquilil)'. In any case, Mr. NapoUili, as flt as be
      knew, lawfu.IJy purchased the firearm and was issued a registration document by BATF in 198.S.
      Suddenly, in 1992, BATF alleged thc<c was absolutdy oo record that the fireann had ever been
      registered, even lhougb BATF-bad issued 1 registration document entitling Mr. NapoUili to lawfully
      possess !he firwm. I included a copy of tbe Napolho case with my April 8, 1997, testimony, and at
      that lime the Subcommittee placed it iato itt permaneat files.

      The Tax Code and the NFA eadt probiliit cfudosun: of the pasl rustory ofNFA &ream!$ because such
      information. or documeMs are considered to be "'lax return.. information,. so the average person who
      owns an NFA firearm cannot ieanl anything about its proveoance-&egal or othttwise. My ea.se is
      l1ltber wwsual because through the bumble W.... ofdiligence l learned the history of<enain fireanns
      that I own. The average person bas~ means of questioning a forfeiture action by BATF based on
      the provenance of a 6reann, or any protcctioo against BATF flat out lyiJ>g.

      l mn theairrem lawful owner orfour smooth bo<e H&R llan<ly-Ouns bearill8 serial nwnben SS92,
      29691, l-088S, and S3637, as mdenccd by my possession oh BATF issued-and-approved Form 4
      for ...it firearln. Jbese at< the only documenu which Mdence my lawful owncn!ip of tbese
      ~and BATF is the only entity wNcb can is.sue them. I obtained some documcnt.s., or copies
      of doc:umenU, reprdiog past tJansf«S of these fireanns from the former ownen, mainly because tb<y
      rcspcctcd my dedication as a tirca:rms researcher and thought the documcots would bt' an interesting
      addition 10 my collection.

      b was nae umil 1996, under Vlrious F.-oflnfoonalioo (FOIA) requesu. that I was able to team
      from BATF the dates of original regisuaiion of the firearms lhat I own. On the basi$ of thi5
      information 5Upplied by BATF, I believe that the four firearms identified above were illegally
      resistered by BATF and thal BATF - an~ to coofiscate them u corunband ll soroe unknowo
      time in lhe future for that reasoa. Since the accuracy and integrity of BATF's firearm regi.s:1ration
      records is ulllcnown., lhe siruatioo tba& I have identified is of potential concern to tens of thousands
      ofpeople who probably believe they legally own firearms after rccc:iving approved rcgjstratioo aod
      tnmftt fil<ms from theBATF. The~ ilegal registnbons ofmy liteanns on Form 3 or Form
      4 ooosidenbly widens the potemial for other ilJegJl regisuarioos, because these are very commonly
      used in ordinary 1ran.sactions to uansfet tide ofownership.

      A group of"'100Ch bore H&R Handy-Oms bcariJ1@ serial JNmbcn SS92, 439l-O, l-088S, S2SS 1, and
      S3637 were t-r&nsfel'l'td by a.nd from H&R. to Pe1er Dowd io 1986, using a Form 3 transfer form
      appoved by BATF. Yet, these were oot •oew• firearms; these guns had e.isted since at lwc 1934.
      Asrrry 1997 tesUm<>ny documents, H&R advised BATF in writing oo November 27, 19S3, that "H
      &. Rhas 001......Cacturcd Haody-Ouns since the (NFA) law was passed in 1934," and !al« swes
      that "in the 1"' two (2) y<ars, all our Handy Guns in .410 gauge and 28 gauge were exported to




                                                                                          Exhibit A, Pg. 529
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        Canada... Smal numbers SS92 and SOSSS are new in their original boxes. and focmer H&.R
        employee$ ha•le 00..isod me that H&R had possessed these guns fot many years. Yet.. udder a FOlA
        request, BATF stated tba1 tlv<c of these gu.,._which I bougha duri.ng the early 1990t-wer<
        origjnally regisieted by BATF on April 16. 1986. the da!O of appl;carion fur their transfer by ~
        indeed. this i.s the same date listed on lhc Form l transfer from H&.R to Mr. Dowd.

        A manufactw'Cf is supposed to re@ist.er unregistered NFA firearms it bas maouflCtW'Od on Form l.
        and Form 3 ;, supposed to be only used to transfer the ownenhip of NFA 6reanns tlw are already
        registered. Registering an NFA firearm on Fonn 3 seems to be a clever way to register an
        unrqiist<nlllic NFA 6rcann. because h places the firearm into the NFRTR. and raises questions about
        the accuncy and ~ ofthe NFRTR-and the cooduet of wbomev<r approved the transfen (m
        tbi.s panicular case, the Fonn J traosfen were approved by Gary Sctw'bLe via facsimile signature.
        w hich may also rmsc questions about who has access to the signature facsimile madline). As you
        may know, the U.S. Supreme Court prohibited the registration of such unregistered NFA &rearms
        ooApril s. 1971. c_..,my. d appears tba1 BATF ;]legally registerod the&... lireonnsclescn"bed
        above. three of which I lawfully purchased and was i5"'ed lawful registrarioos by BATF.

        The other smoolh bore HkR Handy-Oun in question that I own is a rare 28 gauge bearing st.rial
        DJmber 29691. I purchased ir: .&om the eswe of its former owner. whose executrix. gave me the old
        registration (a Fonn4 that wu approved by BATF on March 23, 1972). According to BATF, this
        fircann V.ti originally ~stered on March 2, 1972, more than a year after the U.S. Supreme Coun
        prohibited such a rcgisrijon Finally, the old Form 4 that I possess bears the signab= of the pcBOn
        who approved iu _,aosfer 10 iis now-deoea.sed former owner: the Director of the tbeft..Akoho~
        Tobacoo and F"ueanns DMsion. Rex 0 . Davis. Based on examples ofMr. Davis' ~gnature on official
        BATF teucrs io Mi umdatcd court case during the same time: period. it appcan that Mr. Davis is not
        tile penon who signed this Form 4. Thus, in oddhion to the firearm bang illegally rt@isteted by
        BATF. it appears tlw someone within BATF f0<ged Mr. Davis'.._..,., Both of the ....us that
        I have document~an apparel'ltly ille@:al regis.tratiOl\ and . an apparemly forged transfer
        documcnt--dcfinitdy arc vio1abons of the NFA.

        I respectfully request that you, a.s Chief of the NFA Branch, state in writing to me what BATF's
        policy is reaarding the legal surus ofthese four smooth bore H&R Handy-Oms and. specifically,
        "Miler BATF ._.is them as law!Ully owned by me or as unlawful c:on<nband bo<ouoe they were
        apporoidy illcgaDy rqpsr"ed or illcgaDy tnnsfcm:d (or both) without my knowledge by BATF ycon
        befote I pwchased them. This is a law enforcement, compliance~ regulatory. and policy issue thal
        potentially affects me u well u thousands of ocbet pet$OO$ who have lawfully purdwed NFA
        fin:arms as evidenced by BATF's approvals of these transactions.

        I am going to let penooal concerns involving selected NFA firearms that I legally purchased speak.
        in part, as weU. for the many people who have comacc:ed me over the yars about similar conc:ems.
        These people ate genuinely terrified ofBATF as .. um of tbe lmemal Revaiue SeMc:e (lllS~ and
        8$ a law enforccmen1 agency dw: has in tbe-past over-rncted in situations in wbicb human life was
        apparently unnecessarily lost. No pcrsoo should fear being victimized by the ua1ry,fuJ actions of a
        fcdcral Law enforcement agency.




                                                                                      Exhibit A, Pg. 530
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    If JOU 1re -                   PfOYide            writtai olliaal -
                                                 me with a              ·and policy       polilioo,
    ~.--....1
    !he   pu(onmnoe ot r-
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                         O< . . . - . . , IO
                             .,qiocalceacrionapias
                                .i..xs, lhrougll appropriate
                                 olficiol
                                                             JOU ~--r--.C.in
                                                              cbamds.


    v"'I truly )'OUl1,


    Erie M. Laraon
    P.O. Bod497
    Tuoma Part, Marytand 20913


    cc:      M1. Catol ikfgen. Ofllce of !he lospOe\0< General. Oq>anment of the Trcuwy
             The H000tlble Tan Kolbe, Chairman

             The_.,..
               S<lbcommittee oo        Tmsury, Pcsul SeMce and Oenual Go.....-
                                 Burton. Chainnln
                     ._Committee oa Gownmxm RdOrm and o..niab&
             11le llooo<..... Onin G. llMch,   °""""""
                     Seoot• Cotminee oo lhe Judiciuy




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                               DEPARTMENT OF THE. TACASUR Y
                       •UftlA U O F ALCO HOL. TOe .ACC.0 ANO l' UllllA• MS
                                    WA'lt41NGTOH. 0 ,C..101.11




                                                               F: HFA:GS
                                                               17'.101/98-4S16



           Kr. Cric H. Larson
           PO Box 5491
           Takoma Park. MD 20913
           D••r Hr. Lars on;
           This is in response to your letter of J•nua ry ll, 1998, in
           which you request confirmation of the r•;ittration sta tus
           ot tour Harrin9ton and Richardson Handy Cun1.
           The National Fireaaas Refi!istration and Tra n•fe r Record
           retleet• that the tollowin9 four H•ndy Gu.na a r e 1.a vtu..lly
           re9i ater•d to you a s follows:
                Serial number 5592, ror:m 4, approved OCtober 6, 1989
                Seri al number 29691, Form 4, eppro•ed Auquat 22, 1994
                Serial number 50885, Fona 4, approved OCtot>er 24, 1989
                Serial number S3631, Foren 4, approved October 11, 1990

           Should any additional information be needed, plea se contact
           ua at C202} 927-8330.




                         Chi ef, Nationai Firea.an.J Act &ranch




                                                                        Exhibit A, Pg. 532
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      Milch 6, 1998

      Nereida w. Levine. Chid'
      Ntliooalf'weanu A<tBraod!
      -     o( A1cobo1. T-aad Forarms
      650 M•m±,,..,,s Awiue. N.W.
      Wullingtoo, D.C. 20226

      Del< Chief Levine:

      ThlNc you for yout lettcrofMard> 3, 1998, respondins to my lctterdated'Januaiy31 , 1991,
      f<Ptdine the ltpl SlllUI o( '°"' (
                                       4) MR Handy-Ou... that art currtntly r.gi.ttred 10 me, ......
      that they wtr< apparaaly iDtplly "1Psttred by BATF ,.;lhout my blowledge . _ )'tin befo<e I
      purdlUed !hem, and thus tllac 6nonu may be aibject 10 fotfeOure. Tbele linonm i.- aerill
      _ , rn>l, 29691, SOU.S, aad S~7. 1 nioed a          .-.rqo...nom-            -apec:illc
      - -as wdl as -           BATF'a po&eies rq:udios NfA firearms it may -illqply ....creel
      ot tr&Mfared in tbr: pas1--unbowri to their QJITml bwfW owoen.

      YOllf letter statei that "1he Nallooal FUe8nns RqpllTllion Roeo<d rdloc:u 1hOl the(at) !bur Handy
      Oun& are lawfully registered'" to me. Thi1 response does noc Mty Address the iSIUCI thll l railed,
      u explained below.

      Thero""' three t!>na• at isauc.°""is wbether I CCJ<Jld ... prot<CUted!Or......,..._
      ,....-was there somt crWne1 I think the 1mwer is ckarty no h is aoc a crime to pouaa a
      - t h a t wutwr .....r.md «reaisttred i11 "1olalloa a(lh<NalionalF.....,.. tv:t. CNfAi
      Nollq ill Title 26, United SW. Code.§ Sl61 - oo.

      Socood is whdhtr any o f - IOur firconns are .,bjoc:< 10 fOrftiiu"' under Tiiie 26, Uoited
      Swes Code.§ ssn. That 9MllW to enoompus any fircann evtt"" DJvoMd in a violadoa of'lhe
      statute. I don't see bow t 1tatancnt that the fisted gwu are rtgi51ered to me means BATF is
      daimins the-listed auos were ne"YCI', to its knowledae. involved in 1 violation oltbe NfA     '


      -     always lhouihl lhaL - · ii- as now, I doG'l - any 1<p
      BATF docm't thiolc theat f - tlranm..., - aibject 10 _...._ I doll't         --jua
      In lllon. I belie.. I am NJ< tt..n criminal pn>0c•:utioe with rqllfd 10 Iha< lO<ir m-.n., ond I
                                                                                  • . o• -   BATF lllol
      BATF aates these 6ranm .-c f'Oli:Rcnd 10 me. 1DtM1 they were Dl:Wf" rq;istered « awafC:ttd
                                                                                                 becoule

      io ¥iolalioG oflhe NfA and, - - aJbjoc:< to~

      T1Ud is wbaE BATF's poiilion b rep-ding the legal status of NFA firearms tblt the BATF itldf
                           °'
      illtplly registered trantfmed. The Jaw seems to stale dw .uch firearms are tubjecc 10
      forfeirure regardless ofv.·hcn the violation of law occurred, Md regardless ofwhether the perJOn
      who bol<jht the fireamu wu aw..., of any sud> viol&tiorw. Dots BATF take any poaition tllot
      there. is a staMe of limiwM>nl upon IUdl forfcirum?




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      All imporu.nl- o(my JUIUOI)' 31, 1998, Ima ..ted BATF for a - - ~ iu
      .;.wpoinl ~· bftirureaaioo oraaioos agaiml-opeci& & - - I~
      thacfon:, wry modi _.a... ii if you would be lciod _.., IO - • -               BA'!1''1 policy ii
      ~any poaible f-octico .gam,i lhese four spocilic- ltBATF imends 10
      .m. u.... -             bccauM BATF wilhoul my l:oowodge illq.olly f<l(istered or u.nsfmed any or
      thcRI io !ht pu1 bcfo<e I lawfully purcbascd !hem. I would like IO be inlbrmod immodiatdy. It
      BATF does not ina...S to tciu these 6rwms, J would     ""'"""Ille  ii ifyou would be lciod eoougb
      to 1&1te. ln writlfla,. dW BATF does not regard .any ofthese 6reumt u tubjoct to tbdeirure.

       I recognlz.e there is, unfonunaidy. an advenari.al element tqanli.ng intcwprtW.ionl of law as it
       rcgatds sun conltOI. I honcllly wi>h this was not so. I hope that you will aooe1>t my good wi$hea
       and apoklgles for contU...ina to bring mattas of oonctrn to your lltattk>n. M.y rouon for doing
       so it lh&t I wou)d like to have these issues publicly and opealy rwolved.




       EricM.i..w-
       P.O. Box 549'1
       Takoma Patt. Mlrylaod 20913

       cc:     The -          0.. 8unoa, ChUnmm
               HOUM Commi<lee.., Oo•UllWCDI Reform an<to..nip

               The llono<abl<TomKoaie, C~
               Hou,. Subcommittee Oii Trea<ury, Postal SeMce, and Go""'1I Oo"""""""'

               The Ho-able Orrin G. H>tch, OWnnan
               Seoale Committee on the Judiciary




                                                                              Exhibit A, Pg. 534
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       fa-yl,1999

       JoboW Mtpw
       Dnc:lor
       BuraualAlcohol. T-tndF........,
       6SOMutldutctuA-N.W.
       Wuhineloo,D.C. 20226

       Dear Oireccor Magaw:

       I am writlng 10 alert you to a &erious Oaw ln the Bureau of Alcoho~ Toblooo and Flrnrms• (BATF)
       recent intem&I report tha1 was submitted to 1he Treasury Deputmenc Inspector OeneraJ in respoctte
       to my May 10. 1997, lefter describing apparent misrnanaaemenc. mitCOndua,. and criminal
       wr~ by BATf _.or -loy<es. Right oow 1..,. ~a c1et.;Jed nbu!Wof mony




       • -      ............ Spina.

              uldos,.;..
       What I'm
                                                                     to-
       oftbc ,_i's l!ndiop. but in the meantime would like to respecdldly -


                                                                            you to -


                                 to oooside< doing now ii pnay liqlle; - , . . ~..,..
                                                                                       lhat you oooside<
       ~csaiac one c/the moll ~flaws in the inLa'nal BATF inio tlfia:trim I am tiling the time
       to writ• to>'°" perlOftllty, becatse I plan lO ast Chlinw Tun Koh.. Sutl cc &nictee on Treuury.
       """"'Sct\'ICO, IOd Genenl Gowim- Appn>prilbons.                                    these......,. in_


                                                                                                   ••lliH'"' " ••d
       _          .............. -           ... ......,,.,,.ueATF baswldod- to theNaDonal , , , _
       P••• -     T.....r..
                      aed
       &mnns, lftcr BATf was--ed wUh a valid
       will -           how I -
                                                               ,....,mo._
                                      Record (NFR.lR) bcame tbon- DO .-11althe1qpmotioo alllid

                                         .....,. of !his problen>. whol I did to '
                                                                                   1
                                                                                       by their lowfill--. I
                                                                                     p 1 ldently ............ tho! il
       IClll&lly cociltod, .... will idcoOfy. mdhod for detcctiog the-oltllit . , . -

       ,... my- on the-bore HAR Handy.OU., ...                        -·Arty°""" w..          poo· C&leao<Y NFA
       ~reumt hu beoome better known. through publication in the $landold Cmoloi 'If Firramu, the
       Blw Boo#. ofOrm V"""8, tnd the Official Pria Guide to Antiqw and Modtm Fir<arms,                   a..,.....,.
       of people NoW COtUCled me for addirional mfonnation. WbM oome of tbcM people alleged WU v<ry
       distutblnt-that BATF had mowd to conlisatc a &mily hedloom firearm becau>e the 6tunn WU
       allcsedlY not ........ but BATF added the 1iRam1 to the NFRlR data bue aft• the lawful owner
       produced a valid reciJtraliocl. This bas not beeii • oommaa - . and I doo 't think more than five
       people bow -IOld me this. B<cauoe the NFA and the Tax               Code'-
                                                                               require an NFA.._._.
       to be: ,.,clod u 1 "blx mum."' these records aren't opc:a for imF 1 :tMla or rese:udL

       Until the Thomu &aey nner..,.. up tnd a a...,..;pt oCMt. BuMy'1 ranub mIU capacity as
       Chid'oltho ....,_ f ' . - M Brandl....,. Krious crron ia tho NFlllR was made public. I
       bdin.d thcR -      . . way to delumin< tho trulh . . &My o( the allepDoas of &eanm h<il>&
       "addod" to the NFRTR. I then ~ the lituobao and imj>ecled Md aMlyt<d the daa ot>


       -7
       firwm D•
       .,.,..
                     . • •rq>arted &om the NnlRdata-_ Wlidl BATf Ila~-­
                  dy19'9. 1....-..Sthe.-dscfFannl ...... -..-19J.4to 1971,andallform
              (Amndy P<riod) ~ to,.. if tile...- or •. . - - dlaoged over rime. la




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       lboofy, the ....... date o( a fimnn n:gisnwiou should out ct-. bu1 I -                      odloetwise:
       speci6cally,                               -      -     -  - - Tbis - ..
       _....,the....- 'a .oliSl'dllelnldmBA"!Fbadadd<dl5mnm1olhcNFllTRdMa--
                            ....... 1qpsnotiws -
       ..... ~ dilt BA"IF had ill<plly rqillcn:d NFA -                    oo Fom1-7 (-'Jr 2.500) after
       0 - . - I, 1968, - ihe ~ Pa>:>d expired.

       Al the,;-. ill ihe spring or 1996, I was preparios to 1estify bdor• the H..... Subcommittee oo
       T.-.y, ....... $eMoe and o..><nl ~ App<opriations. whleh u Y°" know funds BA"IF.
       1........i ou addn:u this issue of'1ost-tben-fuund" lqlimations. and post·Decemba- I, 1968, Funn
       4467 ~ and wundc<ed wt>ll I could do to independently confirm wbethet 6-ms ..._
       indeed. beins 1dded to d1ie NFRTR. so I ca.Ued Mr. Gary N. SchaibLc, because I recognized how
       seriou.1 thit i.tsue ii. For me to leStify about matters involvi.r\g poasiblc mltc0nduct or criminal
       wro1111doiog by a rcdcnl law cnfuroaneu 88<1><Y is somethiil!l I reganlod u a grave nwter.
       Specifically, ti- the naiwe or my~ it -.Id be pror..tiollllly Nillow ror me ou give
       IUCb ........,. without provHIU>g liPfieanl .... ......,....... documented evid..-

       "'a April1996 iclc:pbono illknicw, l asked Mr. Sci.Ole i(;,,     raa. BA"IF had..., added firearms
                                                          valid,.....,.......,>"' ti.n -
       ..._bin.
       alt«D
                 dils-
       to Ibo NFllTR-.. lawtbl OYoixn prodoced
       6reana int.be ~a Mr. SdaaiWe aaswered: -Yes. t asune u ·, hls:s:
       ~                 KWr>I bmes. and eadt time the -        -
                                                                                  oo iUlOrd ol .....
                                                                                  , .. I asked Mr.
                                                                    the tarnc; I dc6oildy did out
                      Mr. Schoiile abo stmd !bot BA"IF bad iqis<erod NFA firearms cm Fom14467
                 •"I, 1968, butcculdaotexpbialhose~rqbterodiD 1m...,....,(Ad
       ,..,..,..._ ...,. prollibotod by., April S, 1?71, U.S. 5upr-. Coun decbioo) My........, ol
       una.a  with Mr. Sdloible appean"" -
       harioslUlOl'd).
                                                       18 "'96 ol my 1996 · -            <- - - ,,n-.1
       In my 1997 l<wimony, l simply canied my 1996 fi"""'8J forwvd one year and dealt with this issue
       in coaoidmbly mote dcnil. Spccifically, I d<teimUiod lhat BA"IF may have added 119 oc mote
       6""""' 10 die NFRTR ~ 1992 to 1996 (!ho..,. reoa11-f0r which ..... - • theo av~)
                                                                               or
       after be.ins conltontod with a valid regisuation (toe Net St 10 67 my 1997 testimony. in the
       off.cial printed hcarina record). In a previous Setter, NFA Branch Chief Nereida W. Levine stated
       tbM ldjJstmcnls lO da&a to correct errors may cau1C changes in the statistics. and that if a fircann was
       l&wl\illy rqi11erocl bu1 not in lhc NFRTR dala base. it -.Id be added.

       In my Mly 10, 1997, complaint to lhc Treasury Dq>artmcnt lmp<etoc Oenenl, • -od. m pon:

              In analylCI oldw made public by A"IF, 1 - lhat ~ 1992 lo 1996, ATF may haw




       ---•or
              -
              addod 119 or_. tinanns to the NFRTR wl9c:h _.. ociiPm11y .......,.i cm Funn 1 or
              Focm-7 during 1934 IO 1971, IDr which A"IF .... oc ddibcnldy deltro)'od doc oriaiml


       The ·"IJ• : ri c ol IUCh rqisuwioas "losl or cldiberatdy ~by BA"IF ii dlol if the lawill
                         lw"'l'J&1...._lbe_ilo.wlyO'Wl'onnocl Imo llOlawfiil.,.....m..d tlm
       aobodyClft.,_ The prown fig ol Ad loo1 by BATF -          ....P.. lhol aaotbu .....-y period



                                                                                           Exhibit A, Pg. 536
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       bo~ to CO<TOCI di< NFRTR, to the sbk.. io dlis milt«,... .... !ip. b> a~ to
       lcru< !tom 5-or £1..,.. A.) McCbe'" by Pliilip B. Hcymaoo ud .._..,.Lippe oftbe
       o.,.-of--Nowni>a 29. 1979. bariog symbols u..JJD..;w. -                       dm ih lawful
       -      praalled a ..W ,.giSUllioo for,,,_ oo oocord in tlle NFRTR -ed, "the ody toluDoo
       would bo 10 d<daro ........ amnesiy period. Tb< Scaewy (o/'1110 Troauy) is ....,._ed to do
       this unde< cxiJting ieplaiioo. •

       BATF'i intem&I investigation into djs maner is unsa'lisfaaory, bocMJJe k leaves the question of"1osr:-
       fhen..(ouDd regi11ra1k>ns unanswered. Speci6calty, the BATF repcN1 swea:

              Depending on the year in qoesbon, if there wu an increue in any Natk>nal firearms Act
              (NFA) firwm regist111ioos, u alleged. this may have beeo an adjusi.- u a result of a
              diO't rtnl form numbor or registration date for the part.iculu 6narm.




                                                                        ----lcpl
       nm response to my aJ)tgation is unsatisfactory because the increues 1 documcmed certainly ""may
       have beeo" 11>t rauh of any number or things. and becawe the r - is ao< kplly ddlMive;
       indeed, BATl' has died oo empirical. - e d evideoce bodQna "I' ilJ . _ .

       1a--.1 ~· lcmcnemdbod mmytcsrimoaydm
       oerllioly- lhe iocreues io NFA fitarm regis1nboas dlal I d<Uclod .... in Ilia. di< ...... of
       BATF-.&w1111 to die NFltlR after b<illg - e d willl ..iid ,....,-. by d>e W - '
       lawfiJJ ownera. Tb< - . . . . ........ in foci, is ........Ned -       -     7' to 77 of.., 1997
       1...m-y (apdl...,. tbc ol!idaJ prioud lxoriog oocord). IA bric( tlle mcUod iovolw< ~
       d>e"doclccl numbcr'" io doe NFlllR for specific~ v.ilh the oripal ..pu.boa dotes ofU....
       finonm. lo awoxinwdy 1976. BATF bepa assipq Wlique "doc:bl ....-.rto I I wOtl<
       (u:h u NFA _,,, oqsiob-and transfer forms) lhat come in for pc c . ... Aa-i.v. wn.
       I lwve allopd lhol 119 0< more firearms may have b=> added to the NFR'TR ~ 1992 to 1996,
       IOr oriainal Y'*'I of rcsi>tratioo from 1934 to 1971; and notc lhat NFA Broncb Chief Levine -ed
       10 me in a Jetter dated Januaty 9, 1996, that 1 firearm ~Jd be added to lhe Natklnal Firearms
       RegiMracion and Transfer Record if the information was not already in the Record."



       loel 0< destro)'ecl cr'8iNI ~and was fO<COCI 10 add them bade when             -cd
       Oin:ctor Mapw, 1 linlc* computer run that ~cd originaJ yeatt of reai11nrion or NFA fireanns
       &om I~ to 1971 with "doclcel numbers" might well concluoively establiohwhelbecor ao< BATF

       rqistrwtic>nsbythefitunns' ownen. Halireann oripwly"8lstt<cd in 1936or l96l0< l9S4or .
                                                                                              with valid


       bcm ~to tbc N'FRTI\ u the result of a          lost,._ Such•-
        1962 0< 194S bad a "doctcl . . - : thll wouid bo pretty conck.oi>c cvidcnce thll doe fir-.n bad

       in U linle al '0 to 20 minutes;. ii is DOI c:ompficared
                                                                                     rue could bo dooe


       or....... """""- .....,.     verificalioa aod impection of      any
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       iD auch a t<at0b - * I -    10 be -       It wwld aho i.v. to be - - if               dioR-...,
       , . _ , . '1wal:s"., ....._          _..aqoxnc<    tho< - - • I isigwidl ........
       ..... IS IO It'/ ud -  .. -&arms bad bcm added.




                                                                                       Exhibit A, Pg. 537
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       Tho~ dq is lhat oobody 11BAIToppua>lly lried10 -.II "clodta numbo(' ...;m .,._
       ofor;p..i &...,.,    :i ...... bu! tt is DOI aszooisliiog if you coooidor tbol BATF . . . _ moy
       haw speci6cally prohibited domg tlU cbcdc of thc nconb. After 111. pttJC( ohs! BATF lost a<
       ~ rocotds. in Ille opRoa of the l>cpanmeot of Justice, roquim Ihle. anotbc< -              period
       hc-ohcd. ln-10thc ..,..,... publicity ohs! would "'9Ult, tudt deniictioa ofduty~
       seriously call intoqocstian lhecompctmceofBAIT i o - . .erthls Nalioa's 6-oonuol laws.

       In the put, BATF bu - . c l up~ ofdis type. In lhe Butcy-. I invite yo<.- attentions
       to Mr. Su$C)''t remarks on October 18. 1995. He said, in put

              Let Ole say lhat when we testify in crurt, \W· tesaify that the data b11e b 100 percent accurate.
              11w'1 wllll we 1estify lo. and we ..;u alway> 1cstify to !hat. Al you probably weU know, !hat
              may not be I 00 pcrceot true . . . ~'re hOping [thlt numerous cron<hoc:IQ using multiple
              iden1ifien] e6minalcs thc possibility lha1 anyihing goa out eno....,. bocause we !(now
              you·re bulna your warruu on it,. you're basing your aKries on it. and you cenUnly doo't
              want 1 fonn 4 wawd in ~face when you go in there to a.bow lhll lhe guy does have a
              ~Title 2 ...._. I'w heard lha1's baweaecL I'm°"' an •.. when I fint
              camt in I~..,, our error rate WU~ 49 and so perceat. IO you CD whit_              map
              thc JICCURC)' oftbe (NFRT!l) oould be, ifyou're aTOf ,...•,49 to 50 penxm.

       BATPs intcmol;,,, ic• ' ol'Mr. 8-y's rmwb do<s noc iotpire coa6do- c-idtt thc tole
                 or
       st&t...- Special " - Joseph E. D.>gm. wbo ""' _.....,.., 10 the -

              On-JO. 199S, 1Uumewcd BUSEY undcrooah. Tho acopo ol'dlisu..m.w-
              limiled in "°""'clat""""" thc di,,.,,,.., I had willl Mr. (Asaociale a.ielCounxl (F'ueums
              and E>q>looi-) Jack B.J Patterson. BUSEY related thc tOllowlaa in .. aftldavn, wbidl is
              attached hereto:

                      When be said !hat members of bis stall' testify tlu111hc NFRT!l d11abore is 100%
                      .....,... ahhoush Ibey know O<bcrwjse. he made a .,...,.._, of thc fa<u. What
                      he rnca.- to OQn'Y't)' was the facr that the database contains ccnain ioaocuracics which
                      can be attributed to human error. His personnel lestif/ oNy to the aoooracy and
                      diliaenoe of tbeit search and make: nO oocnmcu. either In ooun ot on any officiab
                      documem, ~ lhe -.racy of thc dWbaM. If be - . ul<ed about tbe
                      IOCUnC)' orthe databae under either direct or aoss examination. be would reply that
                      dledaubosecootains~ of human cm><. He would thco ~bow•­
                      b pebnwd.

       You wi1  -"*Mr.        Dugan ,..,;.im asl:ing Mr. Busey about "a Fa<m 4 -
       you fO in lhett IO-dm tbe..-tdo<s liove a~ Tele2 -
                                                                                     in yo<.-&.ce wben
                                                                                       r .. heard lhll's
       hopptntd." Wcl. I cbocted die Form 4 data, and fouod Iha a BATF -         oould i... bad a lqpl
       Fonn4 ........,..in"bisoch<rfaoeat leas! 62S -clurin8 199210 1996(-_.6110 72ofmy
       1997 lcltimooy). - . 0 -, BATF bu officiaJJy ideo<ified "AppoYed fOrm new:r updmd in
       1'1'1'.TR" .. a . . . - . , . - (seepogos lOOto 106ol'my 1997t........,.~ f'11111y, tbeindcued




                                                                                        Exhibit A, Pg. 538
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      -       io ""· Oupo'1 rqian. - impios <p>Ood .........., _..., .. ">llid.tvil" - Mr.
      Bwey. Tbe - - is simply what Mr.~ "'JI tllOI Mr. 8wey would srf, and is lmdly.
      cfntt 1cP - - . In my jJdc      •.Mr. DI.- cidn't uk Mr. Bwey aboul Fotm 4 and othrr
      NFltTil . . - - he .... specilically direc<ed DOI to.

      The pnceclilw  di-         tugtllS wby I bad so inle liith mBATF' t int<mal nM<w process. tbOI
      I cons.acted 1he HOUie Comminoe on Govemtnem Reform and Oveni&N to try and preYCOt what
      .....iy would ..... beccl jU$1 another cowrup. As you know, tho Commince has requesoed the
      Tmaary Oeportmeot lnspoclor Gcncnl to: (I) conduct an irodepcud•nt oudit or BAlFt fireum
      rqp""°"" pnerioa; and (2) evaluate the BATF's imemal report. The Lute< hu bm> cornpkted.
      and tho ror- is appom1tly stiD ongoing.

      I ~ thal tho 0ovemment employs competent criminol io...U,.tort, but will tJ>e;r ~
      IDUICl1 in tbe ExcaJtive Branch aDow them to go where the evidence '-11? What for me bqpn as
      ........ "°""'"'-.a low!UI hcin who ba~ ~ ccnaio raR, oolloctor'Mtan fireanns beias
      ~ depri..ci o1.- ~has <VOiYed iooo a _ . ~ anoly1is                               or
                                                                                    bow BATF has
      adlaitioMnd the NoDoml Finarms Ad and olMously-..-with tbe NFRTR claubue.

      ow- MltJw, you ...... pclitioo.,""'"" BA»' pcnomd to -                      the---.. . ,_
      ulted ~. dirocily, and -.pleuly. So fir, BATF has ,._..,.,., witb liypocl>eOcol 0t

      . -.. ~would be RqlJired io .. -
      BATF'orqilyW>    nil..,....,.._                       Ot.. .• ol_
                                   beidacified. Similarty, a ill
                                                                    .
                                                                    ~   ... tho-_...,
       • I f I __.. .... simply . . ""' lcplly sullXimt, and do DOI arc "'1 cldimM, empricol

                                                                        ...._    -aialited.•

      TodayioF<i>rwry I. 1991. I am . . . you will rec:a.. this...,.,. wilhin I r<w clays. There is roueJ>lY
      a :z.._e period ....,,_. oow and when BATF'1 ~ - . , . . will be held. I am
      pr<Mdioa Cb.Wmon Kolbe with a copy or this letter ot      tho ..,.. time I hovo -
      ~hope that be considers ut;,,g you to rapood to this ...,.,. fot tho record,
                                                                                            ir to you. and I


      v <rJ tnJly yourt,



      ErieM.....,_
      P.0 . Boot'497
      Takoma Port. Morytond 20913

      ec:
              Tbe
              Tbell:
                    ·--Jim
              Mt. Ciro!~ Otfic< oltbe i _ . , . ~ Depm- olthe Tr......,.

                       S. I        Kok,
                                · ,..     au-l'ollal Scmcc and o-11 °""amw
                                      oe Trauy,
                              ll>leO..~~
                    Howe C<>almiaee oe ~ Rd'orm and o...;pt
              Tbe ,._. ..... Onia G. Hatdl, a.;._,
                    S-• Conmnee oo tbe hJdicior)o



                                                                                          Exhibit A, Pg. 539
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                                                           COtoWrmt OH Ml4ll/lfON/{'t

                                                            w""'"'"°" cc•,...,,.

                                            October 21. 1997

             Mr. Sric M. Larson
             P .O. Box 5497
             Takocaa Park, M«ryl.nd 20913
             Dear Mr. Lar•onr
                  Th&r'Jc: you tor your letter ceg~ the aur.au ot Alcohol,
             Tobeceo and Pirean!IS CB.ATP). I c.are d-.plr about tbAt righte
             provided and protected under th4- coa.atitut on of t~ united.
             Stat•• and appAci•t• t~• oPPOrt:Wlity to r••poad to your
             conc.erna .
                     I •     av•A Of the alleged violatiOCUI cc..itt.ed by llATP
             a~t• .         Trying t.o balance cbe public• a need for e f fective lav
             en.forc...nt ~ t.be rights ot individual citi&e:na i a oftaa
                     a i t it ca.n be dooe.
             41ff io.a.lt .                            UD.tortun.ate.ly, t~ U.'IY la
             pl~ by cont imled allega_tions            of abuse &Dd ai..9c:oDchact .
                     In the pa.at, th .Judiciary C~ttee bu tborougb.ly
             inveatipUd t.h• action• of federU law @nforc::.....nt agtnciee iZl
             connection with the trage4ie• at Waco &nd Ruby Ridge . I am
             C01Ditted to punuing credible a.llegatiOl\a t.ltf'Oug1\ axhauative a.nd
             fair Maring• in the Ju.dieiary Coaaitt.M. You c.an be wre that I
             vill do evaryt.hing in my power u Chairman of tM Sen.at·•
             Judiciary ConnJ.ttee to impress upon federal l•v enforcement
             official• that they must i mpletDent pollelea th.lit prevent abus&
             and puniah tho•• who overstep th41ir authority.
                   Meanwhile , t he government still h3a th• retponaibility to
             perform. th• regulatory functions now executed })y the BATP. 'ftle
             que•t.ion that r1111atna. then, is hOV beat t.o pertoria th•••
             Cu.nctiocus while preventing future abuaea. I ... currently
             reviewing the teasibility ot three specific 1uggeation. for the
             future of the &ATP ! firs t , congress could &boliah the BATr and
             tranafer 1t1 functiona to the PBI1 second, congr••• cou.J.d
             diaaolv. the &ATP while assigning ite entorcenent function• to
             the Secret Service a.nd its regulatory function. to ttw U.S.
             Oaat~ S.rvice1 .m t .hird, congress cou.ld put the aATP under the
             autbority of the Deplirtaaat of .Jv.stic:., allowing t.bat o.p.naent
             to r.oriev ite policies and p~ .




                                                                             Exhibit A, Pg. 541
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           October 21. 1997
           Page 2

                 u·l ti aat.ely, l .v i ll do eve.rythi.ng I can to •intain the
           balan.ce betve.n ett•c tive i.v enforcement and protected civil
           right• .

                Again, thank you tor writing to me on thie illl)Ortant ieeue.




                                             Orrin o. Hatch
                                             Chai I'1Nt.n




                                                                Exhibit A, Pg. 542
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                                                                             COMMITTtl
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                                                                March 11,   1998


                     H'.r. Bric M. t.or•on
                     P . O. Box 5 497
                     Tak.oma Park, MD 205t1.l

                     o.ar Mr. t.ar90n ;
                           Tb&.ok you tor yaur lett.e.rs rega.rdi.og t.be &An' lo vbich you
                     iDC.luoed teetimocy given before UM! &ou..ae ot aepneeot.ativ•• •
                     Appropriatloca cc...itt.ee. I appreciate tlM inr:o~tioo you
                     provid.cl becau•e it i• e&&enti&l to the O¥ereltbt role ot che
                     .J\adici•ry a-it:tee. Your concerns. COllbin4d wlt.h the conee.rna
                     ot ot-ber• like you. provide insight that would be ditt'ieult tor
                     •   to obtain in any ot.her way . 1 will certllnlr kffP your
                      intorution in aind when considering future l eg elAtlon dealing
                     wlt.h tbe BATP.
                                   once •9•1n. t.ha.ak you tor taking the t i • co write t.o .... oo
                      thi• i!lpOrt.a.nt lt•ue.

                                                                   ~Y·

                                                                   ~~Orr in G. Hat th
                                                                     Cbai.....,




                                                                                                         Exhibit A, Pg. 543
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                                       .Jc:Hit D. L.EASl.Rt:
                                5897C VICTORY BLVD., 801 3618
                                  YORKTo.t,      YIROINIA 236•·3
                                        TEL;   757-87~-7717




           fllAACH 31,   1998

           THE HONORABLE JIM KOLBE, CHAJRt'IAN
           SUBCQMllllTTEE ON 1REASURY, POSTAL SEAV1C:E ANO GENERAL
           GOVERNMENT.
           HOIJB£ OF REPRESENTAT IVES
           8 30? F!AVBURN HOUSE OFF I CE BLDG.
           WASi-11...clfON, O.C. 20~ 1 5- 6028
           TEL• 202-225-~8~

           DEAR Ct1AJRMAN KOLBE:,

           l AM Ef'CLOSJl'fG THE FCLLOWING ~TE'RIAL. THAT R£FER TO EFFORTS
           BY THE IUR£AU OF ALCOHOL, 10.BACCV AND FJREAR"B TO COVEA UP'
           ERRORS IN THE NATIONAL FJAEAfUtS AE61STRA110H AHO TRANSFER
           R£a>RD, AHO TO 1Lt.£6AU.Y Wlll+IOLD £XCU.PATOAV £YJl>EHCE IN
           CRJ MI NRL PROSECUl I DNS.

           I WOULD R£SPE:CTFlLLY ASK THAT ttY TESTll'IONV U        MADE PART CF
           1.C: WRJnOI RECORD.

           CHAIRMAN MOL.BE,  I WOULD ALSO ASK THAT YOU tR.PPOR'T CHAIRMAN
           DAN 8UATON lN REOUJRING THE TREASUlY DCPMTMENT JMSP£C'TOR
           GENERAL TO DO A CREDIBLE INVEST 16AT ION INTO THE 8. A. T. F. AND
           THE NATIONAL. FIREARM REGJSTRATJCIN ANO TRN.ISFER R€CORD.
           ANO TO ALSO SUPPORT REMOVING TH£ N.F.R.T.R. FROM 8.A.T.F. A110
           lRANSFIE.RAJNG IT PERMANENTLY TO THE DEPAATfCNT OF JUSTJCE.

           THANK VOU.

          ,l'~~_v~._,._c        __
           JOHN O. LEASURE




                                                                   Exhibit A, Pg. 544
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                                    Testimony




         Efforts by t he Bureau of Alcohol; Tobacco and Firearm.a to
         cover Up Errors in t he National firearms Re9iatrotion e nd
         Trenater R•cord ond to Illegally Withhold Exculpatory Evidence
         in Criminal Prosecutions


         by

         John D. lAeSure
         5007C Victory Blvd. , Box 360
         Yorktown, Virginia 23693
         Tel:   757-17 4 ~1717




         before the
         Subcommittee on Trea sury, Postal ser vice a nd General Government
         of the
         Coerrrnittee on Appropriations
         Houae of Representetlves
         8307 ~)'burn Hou•e ottiee Buildin9
         W.ahin9ton. o.c.


         April 3, 1991




                                                             Exhibit A, Pg. 545
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                                             Test:illony




       Mr. ChainMln al'MS M•llbera of the SobcOllPliitt. . :



       My neme i• John 0. Leasure. I have prepared this ttatimony because I
       h•v• an important atory t o tell about how part ot the le9al ayate• in
       thie country i• broken. I say "port o! tht 1t9• l ayate•," because
       certainly all of it is not broke~. In addition to havin9 S telony
       conviction• rtveraed because the Bureau of Alcohol, Tobeceo and Fireanas
       {BATF) withheld •~culpatory evidenc., havi09 the opportunity to
       P4raonally brin9 thi• aatter to your attention by •Y•tlf, in ay own
       vorda, . . ana a 9re.at dt•l to me . There is •till • clovd over ay name
       ri9ht nov, bot it ia ay hope t hat the Federal Couz·t ayat . . will cleai me.
       1 prepered this ttst1-ony for t.br . . basic rtaa.ona.
       Firat, l w_.,,t to doc:u91ent for 'the congress hov &ATF illeQally withheld
       exculp.tory t•idence in the course of cha.rgin; . . wit.b •nd prosecuting .e
       tor •o-c.lled •crt..a• ttM.t vere art.ific.lly cr. . ted only by flawed
       fiream tet;iatration record.a .
       Second, •nd perhaps aott illlportantly, I w•nt to plaQll in th• toraal
       record of th!• hearing evidence that the BA.Tr ia continuin9 to try and
       cover up its •iadeeda, and is t hus continuing to try to illegally
       proaocute scnie people on the basis of firear.m re9i1tration records that
       BATF knows 9ood and vell are not reliable.

       Third, I hope t hat by bringing t hi$ information to your attention, t he
       Subcomraitt•• can help keep what un justly hap~n•d to mt !rom over
       happenin9 09ain to somebody else.
       All of the law• that I have been accused or v1ol•t1n9 •r• part of the
       National tirearaa Act (MFA) of 1934. The NFA re9ulat•• th• .onufacture,
       ••l•• or d11tribution, and possession of aachine9un1, be&oolas. ant-i-tank
       ritlea, land alnea, hand grenades, aaved-off ahot9un1, tiream silencers,
       rocteta, and siailar iaipl... nts of var. In addition to law enfo~cesient
       reason.a, there are . . ny le9itU;;ate activiti•• iavolYed with these item.a.
        M~••ua.t -..v• th. ., peopl• stl.ldy the• for reaearch end development
       purpoaea, other people c;oll9(;t them•• hiatoric•l •rti!•cta, and t .hey •r•
       re9v.lerly uaed in movies. I vill not try and eOdresa all of these us~s
       here, end instead will be9in by e.xplainin9 hQW t got vhere I aa today
       tre91 •Y per1pective.




                                               Page 2

                                                                Exhibit A, Pg. 546
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                                         Te1t.U.Ony



     I .. an lnvento' of fit•aa. eileneera, which are •OMeti.-es ea-1.led
     1•aoppressora,• beceuae they ced\1ce or eliain•te the sound of a firea..r:11
     Ming discharged. 1 hold • petent on .y 1ileneer invention, which was
     p.tte.nted in 1992, •nd which is con1iffred aaong the best in the indu,1try.
      tltalle I ha.we sold ptr,,,.p1 • b.ndtuJ. of t.hese it.ems to oettai.n quali.fied
     lftdividuala, virtu.lly a.ll of ay client•l• has been the O.S. Gove.rn.e.nt,
     lt• fore.ign-governmitnt •lliea, and law entorc.et1ent a9enc.1.es. In other
     worch, llY bvaineisa ia oot with tM ciwili•n •rket. As a federally
     llc.nsed . . nu!aCtUrel' Undel' the •FA, l VII le.gally qualified to
     Mntlfacture ailence.ra al well •• any other NF'A firum or device.

     I also Nke a good product. Tou . . y not have heard of 11e before today,
     bet. 1•a suH: you all haive heard of Toa Cl.t~y. the author of Without ~r
     •••
     Mell, the technic.l info.m.tion in that boot r99ard.ir19 fireat:m1 ailenoers
     euie   f r(lll, -   •


     My l~al probletnt with BATF forced me to close my first eompa..ny,
     Precision A.nu lnternational, which was locat-4 in Saluda, Virqinia.           As
     a convicted felon, 1 c.nnot po11••• any tirear.., nor hold a federal
     manufacturer•• licenee. At the lllOlnent, I •• • consultant to SiOpta.



     HOW MY LEGAL PROBLEMS START&D

     ln February 1994, 1 wa1 contacted by BATF tor • conipliance inspect ion.
     When Inspector Ch•rlet Turner arrived at •Y pl•oe of business, vo tri•d
     to retrieve my records vi• t ho co.puter. l h•d problem.s vith the
     computer, ao he left and returned t wo dayt ltter wit h a computer printout
     of my auppoaed inventory provided by th• MFA branch in Ma shington, D.C.
     When our records didn ' t ._,tch, I nspector Turner aaid he would return in a
     Cow days. Thrt• d~Y• liter he returned, alo ng with thr.o other BATf
     a9ents, with • •••rch warrant. I offered th• hard copies ot •Y records to
     Special Aqent Karen Dutton , but ahe 11id they were not interested in the
     hord copi••· They aeize<I epproxinLltely 60 item.a, aayin9 they would be in
     touch with .... (Trial Jen. l8, 199G, Pa9• 96, Line 1-25.

     Throu9hout I called the Norfolk BATF o ffic. nu11eroua times inquirin9 as
     to th• 5t1tus or my inventory 1nd tryin9 to find out exactly what vaa
     9oin9 on. 1 waa told, •tt is •till pending.• In l•t• 1994 I was toroed
     to clo~e up •Y COlllHlny, Prec.11ion Arma International. due to poor
     busineas. I wa• told by a good cu1tom.er thJt vord had 9otten around that
     1 v.aa havin9 probl ... v i th U.Tr.
     I re-ope.nee! •Y bu1ine1a in Newport Meva, Vir9ini• under the n... of
     Silent Optiou. In Novellber 199~ l vas conta ct.ct by S~eia.l Ag•nt Kar•n
     Dutton and told the: 9r1nd jury had r•turned • true bill on ay indietm.nt




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                                              150

                                            Testiaiony



        and I had better get a lavyer. When my lavyer, David N. Kontaque of
        Hampton, Virginia, called on November 16, 1995 to t he O.S. Fe<l:•ral
         Eastern District court, he spoke vith Arend.a Wright-Allen, Atsistant U.S.
        Attorney. She told Mr . Montague I had NOT O.en indicted, but my ease v as
        still under investigati on. Three days later, and tvo days before
        Thanta9iving, I received my indictment, delivered by a O. S. Marshal. The
        gra.nd jury had met on November 14, 1995 and returned a true bill.
        We obta ined a copy of Special A.cJent Kairen Dutton•s testimony of the grand
        jury heoring. Jn her t estimony, she testified I had in my possession
        three unregistered function i ng machine guns. These ~machine guns• v ere
        Strll)l) replacement p•rts J was licensed to possess. Tb.is tainted the
        testimony to the grand jury. As a matter of fact, these were replacement
        parts of a U'n ited States military project. Even t hough durin9 my trial         ..i
        Judge MacKenzie questioned why I was even char9ed with t hi$. COUnt, it
        $t i ll WO$ • n l $$Ue wo hod to $pend time a nd· money fighting and proving my
        innocence. FUrthermore, this prevented the n egotiation of reducing my
        charge to a Misdemeanor, and point s were added to my sentencing
        g u ideli nes f or this count, even t hough I was f o und not 9ui1ty. (Grand
        j~ry he~ring, 11- 14 - 9S, P~ge 10, Line 16.)

        I n December 1995 David N. Montague, my attorney, asked Arenda
        Wri ght- Allen i f there vas any vay this could b4 reduc..C to • •is<ietneonor
        and vas told absolutely not . on January 19 and 19, 1996, my tri al was
        held in the U. S . District Court, Eastern Division, Newport News,
        Virginia, before the Honorable J ohn A. MacKenzie. During the trial, Gary
        Scha i ble, who i s in charge of record certificotion fvr the NFA ~ranch i n
        Washington, D. C., t e $ti ficd t heir records were 100 percent accurate, and
        that he bad ~ade only one ndst.ake in his 20 years of service. Judge
        MacKenzie took the case under advisement . (Page 107, Lin~ 23) .
         In February 1996 I was found guil ty on four o f t he .six counts.
         In March 1996, thro ugh a FrecdOm of Information Act Re(tuest by atto%ney
         J ames H. Jef fries, 11 1, we obtained a tran•c%ipt of a roll call tralnin~
         sessi on conduct ed by Tom Busey, Chief of the NFA branch of the BAT.f'. Hi.
         Busey, in thi s October 199S training session, admitted their record$ were
         at be$t SO\ accur•te . Kr. Busey • 1$0 st•ted when t estifying in court
         cases, agents testi fy the records are 100\ correct . Gary Sehailbe wa$
         present at this rraeeting. {8ATF Roll call Tra i ning Session NFA Branch ,
         OCt ober 199S, Page 9, Line 3 }
         ~Let m.e say that when we t ~stify i n court, we testify t hot t h e data base
         is lOOt accurate. That 's what we tes tify t o, and we will always testify
         to that. As you probably well know, that may not be 100\ true. (BATF
         Roll Cal l Train ing Sessio n NFA &ranch, october 1995, Page 19, Line 4),
         "Thi s qual i ty revie ~ team, when I first cam.e in a year ago, our error
         ra te was bet ween 49\ and SO\, so you can imagine what t h e accuracy ot the
         National Fi rearnas Registration and Transfer Record could be,· it your
         error rate is 49\ to soi• (Please refer to the enclosed roll call




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                                         Test:~y




     Clln H.a.i:ch 29, 1996, IM•id Montaque v rote a letter to Ju<19e MacKenrie
    reqv••t1n9 the ea•• be disaiased based on the roll call training ••••ion,
    1nd re9ardin9 Count 1, Mr. Hon~9ue wrote,
    *Count 1 vould heve been fatally tainted by the multiple act• of
    aisconduct by the GoverNftent.• (Letter to Judge MacKen&ie, 3-29- 96).
    I n April 1996, my attorney filed the roll call treinin9 trontcript with
    the court tor •motions hearing. It vaa m.ailed certified return receipt.
    The vory next d1y, Hr. Montague rect1ived this ••me tr1n1cript from Arenda
     Wright• Allen, which tho tiled with the court, only her copy lelt out
     aevan conaecutive p.tges . It's i nteresting to note tho11 seven pages
     oont.ained 1 11 the information about the 8ATF adlaittin9 their r ecords were
     at ~•t ~O\ accur•t•.
     On May 21, ltt6, in • h•aring before the Honorable John A. "-CKenzie. all
     count• but one v4re thrown oot due to Gary Sch•ibl•'• new testilllony
     wherein h4 perjured hiase lf, and he stated there vere ex.-iners at the
     BATF MFA branch in Nashington, D.C. who shredded re9i1tration and
     tr•n•f•r doc..-.nta. F'urthecaore, t.bis was exculp.tory . . terial withheld
     by the proa.cvt1on. CCoort he.ar1ng, s-21-tS, Page 42, ~n.e 19 to Pa9•
     44. )
     The ••nte.nc. 91•en vas 12 months, but 1 was let out on bond pending
     a~l . One intereatin9 point, in •Y sentencing 9uidelinea pr~red by
     probation otficer Sh1ron Thayer. she included counta oC which I was found
     not 9uilty. Thia upped the sentencing range drama.tie1lly. (Court
     he9rin9 5-21-9$, Pa9e 70, Line 5., U.S. attorney Arenda Wright Allen
     appealed my aentence.
     In J une 1996, Stephtn Halbrook became attorney of rtcord •nd noted our
     appeal baaed on the ambiguity of the lav.
     In Kay 1997, the Court of APP64ls, Fourth Circuit, upheld the conviction
     and refuaed to hear oral argum.e-n t on the appeal. The Fourth Circuit
     re111anded •Y aentence O.ct to Jud9e Macx.nz l• to ccmply with th• rules ot
     United Stat•• v4r•uo Koon. In August 1997, O.vid Hont1gue rtturned as
     the attorney ot record and noted my appeal to the United St•tes supreme
     Court. In October 1997, the Supreme Court refua•d to hear the case.
     David Konta9ue ~. two 11110tions to file. One 11 to di.-.J.11 atating 8A.1'F
     obtained a ••arch w•rr1nt bis~ on ~he 1ccuz•CY of their record• knoviR9
     ful.l we.1l their rtcords were at best SO\ accax•t•. ln •ddition# if thi$
     tr•nacrlpt twld been turned over before ~ri•i# vhich it ehould have ~n.
     i l would ha ve left Count 1, the co~nt on which I vie convicted. £ven
     thol.>gh 1 ••• licen..S by the 8>.!F to ;1:o1nuf1cture allencera, I via atili
     con•icled tor possessin9 tbea. However, that count by itaelf could have
     ~n reduced to a aiadeaeanor under ~he Tax Code, 1n.d •• I st•ted
     ta;rlier, we tried ~o 9et this reduced but were told abeolutely not.




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      Howeiver, 1 Q•t atate I feel Count 1 aboold h•ft beoen thrown oot due to
      the ad>i9uity of the l•v .   Federal Jte9.i•t•r, Vol. 53, lfo. 62, bl.es and
      h9ul•tiona, Section 179.102.    This it also at.a ted in • roux G1o1.ide to
      Fe<Mral Firear. . Regulation, 1988-89,• Depart. .nt o f the Treaaury, Bureao
      ot Alcohol, Tobecco and f ireanas. Please ••• excerpt• trcwa J an. 18 ' 19,
      1996 trial, Page xx, ~ine, Page xx, 1.ine xx, Page xx, Line xx.

      A KtSCARRlACJ; or JUSTlCE

      Why va1 Cary Schailbe able to perjure himself on t he atand vith no
      repercuaaiona? lt the normal citi~en vere to perjure himielf, they would
      ~ tried and moat probably convicted.     In the roll call training s•ss i on
      ta~. TOM 8u1ey atatea there are over 800 caaea they are trying t>.se<t on
      the accuracy of their records. Hov a.ny other people a r e iti j ail or have
      f•lony convJctiona on t hei r records because ot the L\Tf'• lyin9 about t he
      aceur1cy of their records?
      tlby v •ren•t Jn•pectoz T'llrner and Special Agent ~ren Dutton intereated in
      th• ti.rd copi•• or ay records?
      Why v11 ~ren Dutton able to te.s'tify incorrectly to t .he 9.rand jury
      thereby obt~inin9 an errorieoua chaz9e 19ainat . ., a nd in e11et1Ce, estra
      point• add9d lo •Y sentencin~ 9uiO.linea?
      Why waa Brady . . terial withheld?
      Why dJd Arend• wrtght•Allen leave out seven conaecutive p119ea frca the
      roll call training session transcript, which in th••• aeven pages, it'•
      clt•r c;.ry Schaible perjured hi1D.Selt? Tht O.~rt.ment of Justice s tated
      t hey 1ent the complete transcript out to all O.S. a ttorneys.
      Why w11 I "9iven time" in my s entencing 9uideline1 for c harges I vas
      found not 9uilty? How can a person be given 1entencin9
      enh1nceinont1/Pointa for count s he va s found not guilty? I f this ia
      correct law, why have trials?
      Why would th• Court ot Appe.als, Fourth Circuit, not even hear oral
      ar9U11111nt on ._y ca•e?
      Why d.i d the U.S. attorney, Arend.a 11':- 19ht-lllan, t.ell ay a ttorney, Da•id
      Mont.19ue, that J had not t>.en indicted, yet she via the o.s. attorney v bo
      pre•ent•d ay  C.••    to the ~rand jury two day• prior? She told Kr.
      Monta9ue J va• vadar 1nveati~tjoo. The 9rand jory M t on November l t.,
      1995 and Hr. Honta9ue .,pote vi th K.s. Wright-Allen cvo day• l ater on
      llove91ber lf., 1995.
      How c.an ac-.one vho truly bel.ieve.s t.bey are complying vitb tbe h vs be
      aent to jail for 12 month~? (With the distinct po•aibility of reoeiving
      Sl montha .)




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                                        Te•tt..ony


     ,le••e read Olivid Hont•9u•'• l•tt•r, June 4, 1996, to Michoel "£. Shah••"•
     J~nior,  Dir.ctor, otflce of Pro!eaai~l Reaponslbility, o.s. Just!~
     Dep.srtaent, r~•rdin9 the r.-oval of seven ~ges from the roll call
     tr•inlng aeaaion t .ranacript; obatruction of 1uatice/taaiperin9 with
     e vidence.
     l b.d just ~-ope:n.ed ay buain.eaa in June of l99S and things vere goi.ftg
     9rut. I felt t h.ed reCO'ftred wt ceputation BAT!"'s raid on •Y prior
     busiaes•.   I   had pendin9 order• in eaceaa of SS00.000.   lleVa in t.he
     9un/def-.nae induatry travel• feet, and by the becJinning o! ~r 199S,
     I vas being told by cuata.ar1, • . .•11 get ~ct to you.•
     Adcllti~1ly, t    fM,ve apent the . . jority of 9Y life in the d•fe.nse
     irid-ustry and I v•• now left with no current job skills to find a new
     caree.r. K.edl•as to -.y, thia vaa a ae.-re financial strain oc ay
     faally.


     TBSTlMOHY AND RES&MCH
     OF ERIC N. LARSON

     In January 1998--1••• than 3 month• a90--J becalll9 awar• that Eric M.
     i..rson hed t••titi•d before thia S~bc011111tt•• about error$ in the
     National Firearms Re9i1tration and Tran•!•r ~eord, or Nf'RTR. Kr. Larson
     be(:a.llle intereat~ in t h••• •rror• troea • conipletely different
     perspective, thet of bearing about collector• vho had firearms
     confiscated by BATr ev•n though th• fireerms vere le9ally registered to
     them. I would lik• to briefly • •Y that th• relatively a._.ll number of
     firearfl'LS that Mr. Larson ie concerned about lh• ettimates there are
     rouqhly 17,000 of them> ar•, inde•d, in my protessional opinion, fireatJllS
     that are only of i ntereet to coll•ctort. They cane under the MFA for
     Jnainly technical re11one, and ve in th• buainess often encounter them.
     In a ~i9 n ifi¢ant number of C••••• people silrtply don't recogni:e them as
     NFA firearma--because they look 11-• what they are, obsolet e firearms
     t hat obviously vere manufactured ... ny year• ago. J believe that wha t Hr .
     Larson baa au99e•ted 11 re11onable, which ie to either allow people to
     voluntarily re-re9i1t•r th••• 9una, or to simply remove the• frOCll the NFA
     es collector•o 1teni... t hope you will conaider Ooing this, based on his
     research and testimony.
     Having aaid that, I a• mainly interested in Kr. Larson ' s work for two
     vezy different re••on1. F'ir1t, he independently confioaed what 1
     experienced, and wbait tho•• of ua i .n the NFA business have recognized for
     . . ny years. Namiely, that the HF"RTR records are a ...... They •r• not
     totally a mesa, of cour1e, but th•Y ire enou9h ot 1 mess to cause unjust
     prosecutions, tor • Federal Judge to d••• them unreliable enough to
     support convictiona, and for the BATF not to appe1.1 thote d.ismi•t•.ls of
     charges. That's pretty unrelieble.
     Second, Hr. Larson tollOW.O up hia t•atiaony v lth 1 ~la.int to th•
     Treasu%y Depertaent Office of In1peetot General, vhich ulti&ately turned




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       into written proof of an attempt by the NATF to still try and cover op
       error$ in t he NFRTR. Bri•!ly, Inspector General r•!used to investigate
       Hr . Larson•s complaint, and instead turned it over to the BATF. The BATF
       then did an internal investigation, completely exonerated itsel f , and
       then refused to release the report for a long tiSl9. The report wos
       completed i n Septen:ber 1997, but Mr. Larson was unable to obtain a copy
       until late January 1998 . He kindly shared this report with us.
       I v ill not 90 into Mr. Larson•s coc:cplaint here, except to say that one
       specitic cocnplaint he made was about the deliberate destruction of
       registration documents by BATF employees. As we have seen, this is what
       Mr. Schaible testified to at my trial, and it is one of the reasons that
       Jud90 HacKeniie di$mis$ed 5 of my convictions . Yet, the &ATF told a
       COt!!Plot•ly different story t han the one Mr. Schaible related under oath
       in tederal court in response to Hz. Lar$on's coi:ipl•int. Specifically,
       the BATF stated in its internal report that the documents vere thought to
       have been destroyed some ei9ht years ago by contract employees; however,
       ~ n my trial, Mr. Schaible did not state this .   I nstead, Mr. Schaible
       acknowledge4, under direct examination, that registration forms belonging
       to Mr. X..aSure could, in fact, have been destroyed by BATF employee s .
       CMay 21, 1996, tr&n$Cript, Page 42, Line 19 through Page 43.)
       Also (incredibly, in •Y opinion), the BATF is continuing to try and
       withhold the Busey Tape, whic h is clearly Brady Ma t erial. In a letter
       dated March 18,_1998, lO$S than 3 weeks ago, the BATf denied a FreedOlll of
       Information Aet request by Mr. Larson for a copy of the videotape. 8ATP
       gave as the reason, and I quote: ~Your request is denied pursuant to
       Title 5, U. S. C. ~52{b) (6) a$ release of this video tape would constitute
       an invasion of Hr. Busey's privacy."
       Mr. Choir:mon1 not only is aATF's refusal to release this intormation • n
       outra9e, what Mr. Busey states on the tape is an out%age: namely, that he
       kne-v 900d a nd well how messed up the records were . Listen to what Mx .
       Busey states toward the end of the videotape , and I q uote :
       n~'hat we're going to do is we're going to 90 back, starting with the
       latest entry and workin9 back to the oldest entry and reviev every hatd
       copy of every dO¢ument with its entry into the d ata base to see it it's
       correct. l think originally we figured this would tate 781 man days to
       do t h1$ wit h five people sitting at a computer eight hours a day."
       " But it ' s the only w&y that we can feel that we can ever get it
       completely accurate. It was f in• to begin putting everythi ng in a¢eurate
       o year ago or at least be guaranteed a year ago it was correct, but what
       are you goinQ to do with the entries that go back to t he •arly •sos and
       t he '70s and the '60s?"

       PROPOSED REMOVAL OF THE Nf'RTR FROM SATF
       AND RELOCATING IT TO THE D&PARTHENT or JUSTICE




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                                       Test.1.moay


   1 learn.cl about l weeks •go thlit Mt. Larson v•• pl•nnlnt to recon.nd
   that thi• Su.bcollaittee consider removi n9 the MP'RTR frOlll the euatody ot
   the BATt, •nd reloc.t• it within the e>ecpartment ot Ju•tice.
   I t>el1eve t hi• i• a reasonable and necessary •ction, for aever•l reasons.
   First, the Departllllnt of Justice is t he or9•niretion that doe• all of t he
   background check• a n)""•Y· Second, the Depart111ent ot Justice has the
   capability to profeasionally manage these r ecords , os it has done do vith
   fi ngeq>rint records tor "'°"ny, many years. The OATF has proven, by its
   actions, that it i s i ncapable of managing th•~• records, but more
   iq>0r tantly thst it i s continuing to try and cover up errors i n the UPRTR
   and t hus continue to try and prosecute innocent people. Third, the BATF
   (or i ndeed, whatever governm.ent agency has the re&pontibility for
   enforcing federal 9un control laws) would still havo ace••• to these
   records, and have t he ability to use t .hem tor le-Qitiraete law enforcewient
   p urpoisaa.

   Fouxth, •nd perh•P• .oat iflportantiy, moving the NP"l\T~ to the Department
   of Juatice would provide an objective, l~al intertace between these
   r•<::0rds and tb• B>.TF. In oth4r words, the BATF could not . . nlpul•t•
   theu r·e cordt or aiause the., beca.u.s.e they would be 1n the cust.ody ot a
   disinterested federal agency that has an incentive to .,int•in their
   inteqrity.
   Hr . Chaiir-..n, I don't tnow the political and pr•ct.1cail deut.11 or how you
   do the•• tbinga, but I strongly support Kr. Lar•on'• au99eation that the
   NFRTR be ~letely re.oved from the BATF, and turned over to the
   Department of Jutt1ce .

   EFFECTS OF BATF' S l?ROS EC~ T ON
   ON MY PER.SONA.I. LlP'E
   l don ' t know t ha t I can adequately express how it teels to be wrongly
   accused of, tried and convicted for crimes that I did not conmlit. I can
   tell you that it tokes o ver your life frOln then o n. I think obout it
   every day, and worry about what i~ going to hapPiln to me and to MY
   family.
   I n May of 1995 J married the love of ny life, and with her I also enjoyed
   becomin9 • fa ther to her tive Y•~r old son. As you know, tlx month$
   later I vaa aerved vith the ind!et;,...nt. It ia elmo•t impo11ible. and I
   have said, to put into words the stress that befell our home li fe, for
   the fear of h~vin9 •Y son lose bis nev tath•r vould hlive be•n devastating
   t.o hi.a, not to . . ntion ay aorrov as vell . My Yi!• •nd J hlive both gone
   t.brougb ct.pre••ion, -ntal an9oisb, and our son•$ a<:hool pertoniance has
   suffered.
   Hy wife waa a court ateno;rapher vho enjoyed 9oln9 to court for che state
   felony docket•. Aft.er seeing such a gross "1•ea11i•9• of juatice, she
   waa rne.ntally no lon9•r able to perfora he.r dut1•s in court hearings . she




                                        P&9e 9
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       lost oll faith in the justi<:$ system.
       we !eared for our safety due to retaliation by the BATF, echoes of Waco,
       Ruby Ridge, and John Law:naster went throu9h our minds const•ntly . Even
       todoy, we !••r that writing to you v ill prompt retaliation by t he BATF.
       People who I t hought were my friends would no l onger talk to me.        A close
       friend fin•lly told 1n9 others were •fraid if ~hey were associa ted v ith
       me, there vould be retaliation by the BATF towards them. This friend
       •lso told blle t hat'& why no one would t estify on my behalf.    P'\Jrthet1110re,
       t he night ~fore my tria l, a very close friend who wasn't a fraid to
       t es t ify, received an anonymous call stating he better not show up at
       t r i al. During this time I received numerous prank calls , • some using foul
       language, and constant hang-ups. I never even bothered asking anybody in
       the NFA raanufacturer or dealer industry to tes tify on ~y behalf about the
       same kinds ot errors in the NFRTR t hey h•ve ex~rienced. The BATF scares
       them, because the BATF can put you out ot business . Knowi n9 what it has
       done to me, I could ntver criticize •nybody fox putting t heir wife,
       fa•ily and b usiness interests first. I am proof that nobody will step
       !or-ward and help.
       These are just a few e~e:mples ot t he hell we vent t h rough and are s till
       continuing to experience, for peace ot ~ind and reputation ar• not
       acquired Overnight.
       In ltgal te~s, our bill with David Montague is $28,300, a nd the clock i s
       still ticking. We had pr~viously paid him $1,000. (This i s not i ncluded
       in t ho $28,300.) Stephen Halbrook 's bill was $24,500. We still ove
       $19,000 . This does not include the countless hours spent worrying abou t
       the case; tiiae working on t he case; time i t has taken away from •Y family
       and business li fe; and time trying to keep it all togcthtr financially
       and emotionally.

       CONCLOSIOH
       Mr. Chair11t.an, on March 2S, 1991 , my attorney til6d a writ of Habeas
       Corpus on ~y single remaining conviction . As I write these words, I
       don't know vhat is going to happen, but I feel like ve hove a $OUnd case
       that i$ based on valid and reliable evidence . It is possible that by the
       time you read these vords, I will be a t o tally free ll'lbn, but I don't want
       this to stop here .
       I ~me forward with this s t o ry mai nly because I don't want any other
       person to ever experience what I vent through, beeaus• of ~•ssed - up
       records a nd on effort by the BATf ~o lie about and ~over up exculpato ry
       evidence . This is t he part of the legal sys tem t hat is broken, and I
       sincerely hope that you and other ~ember s of the Sul>ecmwd.ttee will use
       yo~ r authority to support reforms that prevent any of this from ever
       happening again .




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                                        Teat:1-::>ny



      Thank you Cor t he opportunity to have .shared thia i nfo~tion w·ith yog.
      t vill be glad to try •nd as•iat you and •nybody els e in the taat of
      fixing thi• very aeriou.s probl ...



      Sincerely,



      John D. LeaSure




               '




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                                               DAVID N. MONTAGUE
                                              AnO«."«Y AMO~ AT I.AW




                                                           Mwm l:t. 1996

            The ~le Jolm A .MACXalOc
            SCliot U..od Stat,. Diltricl Nclp
            E.uwa Dbttb orV'up
            WllMr £. Homua U. S. COUl'tho\:se

            '°°°""""-
                 ""*'*
            --..--
            NOff'olt,          2JSIO

                   Ra: ' Utiu1c1 Sten x Jgtm Pvid 1 nS·n ermm.t No. 4.:tSc:r$4


                   0.,......,..1_, __ .....,. _ _ _ u s.-...-
            ,..,._AA.,    &q. II .,..s dlll Ma. Ah._,_ a copyoldlit .... widl 6.ccmdouu,, IO,.,.,_

                   n.--a~cw:cw&mtb~.-.,_,l....._lilll~lltwtotn.g
            . . . . . ,_. ....... 1-. "'~ sierdlg Mrs. Alm. Cl09J' .,. . . . . ..

                .. . . . . pt.ct. . . cut . .vied Wi:n '°"ii Ncwpon. Ncwa-. . . .
           ......... CICIMklka ofMr. l..c&SuR a. .. qflbc 6 -
                                                                                                   two--.. _,
                                                                . . . .....__.. Mn. Aini... ka:a" ol
           M9rdl;24, 1'96,....-0..lbt 2 ,mg~•-"'loa'l'OWlllllJ ...........
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            Allll11.an1 V 5 Attorney
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           (C) lfdM*"""""'IO . . . . . . . .Q)il: n.~~Al'°"...dcul . .
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        "'"''°·

        c:c: Mr. Joh11 U•Sur~

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                                                     ~Mt..J:UIHCW




                                                     H.ar 29, 1996



          David H. Hontague, E¥q.
          l East Queena Wa7, Second Floor
          Bam:pcon, Virz1.ttia 23669
                        Onfted f'tt•J y. Jpbn p1gt1l Leasure
                        Crimin• No. 4:95cr$4
          ~ar   Hr. Hont•gue:
               P l e.ase be adYtaed c bat the entire packet wldcb I ..ued co you
          on Harcb 26, 1996, vas xerox~ i n total from tbe original packet
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                                           BELEN F. FABri
                                           UNITED STA.TES ATTORNEY




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                                     DAVID N. MONTAGUE
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         clwpd In 1 6-Cou111 ln1Sct1nttll C111M before die H~ Jolm A MacKenr.it for a~
         bench tl1al on J11n1.t11'J' 11lfld19, 1996, for a variety of'reot)ld-t. . . YlobtloN., t.t no
         tubltlrltivc Yidltlo...

                          lnhially. by Order entered February I, 1996, I~ M.cKentie bind l..caStlfC
         guilty or 4 of1l1e 6 covrit• or11tc indic:tmmt, al ofwtdch lnvolvc!d tho record-lteepin& illllCtiom ot
         the: NFA IJr11r1dt orthc 'BufCIU of Akoho4. Tobecco aAd Firt:ltmt (BA1'f) CXOC!fM Counl 1, which
         ...,., i'of poMCtling unsuccessful ~ sikl1Cat ,..;lhl:M ttri&I ~.

                      Al die aent~iins hetriftf on Ml.y 21, 1996, the JUd~ WU g4"Clll ICICCN to
          addlll• hwroma'lion wl*;b t.6 become rt'llilllble .Ber tbc tti.a, combcln1 pfi111el.,.ily of a
          ~ ot1 ..-.inint pr-~ fwedetothe 8ATF in Qaobcr-, 199S, by no-t &.cy, thnl
          CMof.N-f".....,.M.Bnadt.BATF.




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                                                         164

           .....           This~ WU busbcd up bf BATF after ill WU Ollldc because ab'emllly
           damaM admissiOfll about• •49.so percent" enor-nte ia the NFRTR (Nat>orWFwarm
           Rcgntration and Transfer Record). Mr. Busey stated thlt grat stride Md bOCll . . . . liDce; be
           bad bffa on thi:job(&omOctober, 1994).

                           This. or~ eu1 great doubt oa .u cues amedltitlg Buse)"s tcaurc:, illcl..sicw
           this ooe, w~ bad arise!l in Fd>ruatyof 1994.

                            Withm a month. BtiMy had besl ~to the tobacco KICOon ofBAlF. llld
            his tr"anKript mnained tee:rct unti it was produced pul'Slatll to a FOIA request ftllldc by Ima; H.
            J~lU. EIQW"e. o£Groemboro. Northc.otina, 00~1. 1995.

                           Actual procb:6ocl was rnedc to Mr. Jdffies on or aboo.rt M&rdl I, 1996, mbout. 1
            t/2 months after Mr. LtaSt.ires cue hid becfl tried, and he se111 • Q)P)' of~ ~ tl"lalcrifll.

                           l usie:mbled tewnl edil>ils, iocluditlg the 8u9C)' bVl9Cripc aod tad: IO tt.: Court
            with a copy to A.uistant U.S. DistrK:t Attorney, Attnda Wright Alk:n,. Esquire, the lllOl'De)' in
            charge of the Government's cue.                                     ·

                         On the: same day that tht ketvm Recftpc indicates Mn. AJlen got In)'
            ootrespondmce (Mve:h 26. 1996). a kiter wu SIC!IC IO me by Mrs. AJleD with the snte Btner
            t~. except lhil 1hc llsi 7 pttC9 had bccll removed. thetc being where Wtl.&aly .U ortbe
            d&mlging material tppeltcd.

                         I M.ve asked Mn. AJlttl to tqllain this. tnd I finally hwd from her oa Mly" 29,
            1996, stat~ that she had &eOl DW ~she Md gotten from the htstioe Dc:pattmltc.

                            As a rcsuh or the 10rqoq disdosures. togttbe:r wi1h tbe testimony of'Gery
            Schlible of the 8Alf that the~ was~ a problem with NFRTR clctb dcttroying
            regi$trlrion faxes. Judgt ~tac:Kemie tlnw out all of the comktious except COUlll 1, and oa it i.
            wbslantiafly redu«d the Guiddifte indic:med pmally. This conviction b bang appealed.

                           At this polne, I am ledd.. H fi.111an cxpianltioo .., possible of.tiaa appeat1 IO bt
                                                                         ot the lkldx: •
            govttnmient misconduct at r.&irty higb k:vds iflvoMng obYious viobtiocis
            ccwerups by the poliQe (BATF), tod t~ with mdftlCe by the Deputmenl ofJUllicc.

                           The 1itu1tion wu brougbl more f'ora:Nlly to my attention when I receiwd • pho
            call &om ~tr. Jeffiies on Friday, May 2•, 1996, advi1i111 thu ht badjmr recdwd a leua'&oim ti
            AJsistmt U.S. District Anomiey on a cue he hid ~a oumber of 1tt.cfimcnts, ~ ti.t
            bad received 1 geflr:f'llly .similar k:tter &om MA. Alm, he wanted to compare them.




                                                                                               Exhibit A, Pg. 562
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                                                                   Exhibit A, Pg. 563
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         David N. Montague. B.eq.
         1 S..•t Ou•en•• M•Y
         Second Floor
         Hampton. VA 2)'''
         Dear Mr. Montaguet
              Thenk you for your letter •nd the . .terial you •ent to u• on
         June '· 1'''·  Me h•ve ~ned an inve•·tigation into the •atter.
                lf you have any quest ion• about thi•, pl•. . . contact . . or
         A•• l etant Counsel O.orge Ellard cm. (202) 514 - ll•S.
                                              Sincerely, .



                                              HicbAlel B. Shaheen Jr .
                                              Counael




                                                                               Exhibit A, Pg. 564
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                                               U. S. DD44_,._. ol , _




                                               ...........c. . . .




      D•vid N. Montavue, E~.
      l &e•t Queen•• way
      S•cond Ploor
      Hampton, VA    2l•Ct
      Dear Mr, Mont.ague 1                      /


             In • letter 4-ted Ju.ne t , 19t6, you brought t.o OUT attentiOll
      th• fac;t that M•i•t.nt o.s. Attorney Arend& IJ.le.n had ••nt you a.n
      1nc:~lete tranac:ripc. of c.rt•in remark.e -.de by an a.gent vitb the
      .Bur. .u of Alcohol, T~cco. and f'ire&rM.
           "9 . Allen bl• affir.cd to us that which • " told you 1 abe
      forwarded to you i n it.a •ntirety the aaterlal M.Dt to her by t.be
      Criain&l Diviaion • t Main \1\l.lltio..      We have told t .hat COlllP)ne nt
      that - - . of c.he . . cer-ial it se-nt to u. s . Attorney• Off le.a appear·e
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           "?bank you tor bringing tbia matt~r to our at~nt.ion.



                                               Sincerely,

                                                    A~fJ2Z. ..{
                                               George a 1U.rd
                                               Aaaiatant Cou~••l




                                                                       Exhibit A, Pg. 565
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                                            OAVlO N. MONTAGUE
                                            An~Y ANO COUHSLLOll AT LAW




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                                                     N<MDlt27, 1996
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             WMllli"l'Clfl, 0 .C. 20S30

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              rtte ftw" nw.r~"" &-..... ~-- SO'Mt.•Mifll ..... ~ill ,...,.......,
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              o(('rretml~o. N C. "''ho in tt1m. hN burd by the srapevlnt 1hM.11Kh 11r1utcripl exilted.

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              '""'type
                •   M\• quntion wu. Nd BATf ddtttd the crui:ill Id ttYCn ( 7) P•tr.t of the mntc:ript Ind
              etwtby .a..... Ill of Ua daimging admitsiom? ~                 '°"'
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          cc:   ~r. Jolwi   o. LuS.t
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                                     OE.P'A.RTNE.HT OP' THC TRllltASURY
                                 autt.EAU OF Al.COttOI.. TO•AGCO ANO "1•CAlltM8
                                            WAJ.KIHGTOH• OC :aoa.ae




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                                                                             REFER TO: L:D:l,IRL
                                                                                             9'-Sl4

        Mr. Erie M. Lotton
        P.O. Box 5497
        Tlkoma Parlt, MD 20913

        Dw Mr. Lotton:
        This is u. . _ 10 , _ Frocdom oflDfilrmolioo /'.J;1. _ _ _ , ), 1991, h
        ioformoDoo -'·"'inod bytheB,....of Alcollol, T-..ond r -

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                                                                              Exhibit A, Pg. 568
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             QUESTl0"5 AJ<D Alf~~BlS CONCCR~l~G TIIC RCCULATIO~
                    OF ~AClll JIECUHS A.HD SJ L[JICERS u.:ora Tiit
              f\ATI OKAL Fl R£A.a:.&."i ACT AkD TliE CUl'C CON'Ta.01.. ACT.
                       AS Al!ENDED BT PUB. L.       ~0.   99·301


                                      SILENCERS

       QUESTJON:     'What controls are placed on silencer k•ts,
       partial sllenc:er kits ·and an individual tllencer part by
       Pub. L. Ko. 99-3081

        ANSttER: The Gun Control Act and the H1tlon1l Plrearms Act
        reaui1te flrearQS, lncludina silencers. as defined by
        those Acts. The ter• silencer ls defined ln 18 U.S.c.
        I 921(0)(24) and 26 U.S.C. I Sl•S!o)(7) to •••n ony de•lce
        for tll enclna . •ufflin•• or di•ini$hin1 the report of a
        p ort1ble (ire1r•, includini any CO•binatlon Of parts,
        dc1t1n.ed..or redeslaned, :!_nd...ln..t.ended for U1e"'-n assc•blfng
        or fabrtc.a tlna a flrearw_st1encer or •ufflei·t and any part
        lntende~only for · USt rin....:-.sucb•e•se.~o..:,.·{abrlcatlon.
        Thu•."'a :
                 s l lence.r--.k l t,;'11.be.uie_a:~ t l•l or "co•plete, and
       ·•nr lndl •Huo~LhnU~Pi:~•••hcJ.e..,t~tgll,t.l"l.-.controls
       placed" on"f"frea·f'li~bi-:Itbe GCA.!1nd ..the•tfFA. JfFA' contr,o ls
       include. ~· the~reg-istratroa·and .. rt ln• requ1re•ents.
       A ••nufacturer and distributor of silencer ltl\s ••Y place
       the 1erl1l..... nu•ber and other- requtred.-aart.inas · on a sln1le
       co•ponent of the kt , ., .... proW'ided that the mrltlnas are
       consptcuoUs and not susceptible of betna readily
      -~J.l.LC.r.L~d...!•S requi red by re1ulattons.       IA tUnufacturer
       dl1tr !buttn  1 single part vhich aeets t\e silencer
                   inust place all requisite m.arklnits on that
        part. Under the GCA. a •anufacturcr or dealer in
        silencers 11 defined nust ~ be licensed.
        QUESTJON:  Can the owner ·of a r egistered silencer have
        the s•lencer repaired i.i ithout the transaction incurrlus
        further reatstration or pay•ent of · 8dditional transfer
        taxes?
        ANS\·,'ER: The resfstcred Cllner aay deliver his realstered
        iTTii'Cer to • qualified manufacturer for purposes o!
        r epair, tncludins necessary rep1ace•ent of co•poncnt
        parts, and receive the repaired si)cncer vlthout the
        tran11ctlons necessitating further reaistration or payaent
        of transfer taxes. For the protection of the parties
        ln•ol•ed, foras S should be filed by the transferors vith
        ATF prior to the dcllY-ery and return.     On .the other hand
         the transfer of silencer kits or parts by a qualified        '




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     e:·,. . , ....   /V.&.:l(:&.R /.;~.'~ b. - "I W.aurr.......   ~·-.




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        l                                   P R 0 C E E D 1 N 0 S

        2                         HR. 8US£Y :       Goo d aorning, •Y naae le

        )                            l ' fa chief   ot t.he NFll. bral\ch, Ha~ional

        4       Fircan.e Act Branch.

         S                        A lot of t.he i nforaacion th.at Larry gav•

            '   you relat.ive co c hain of o ornaa.nd or9a.niz.ation , t.hac

            ,   a p pl ie•      c o ue t.oo.    What       t    chought       1 •d 9ec int.o tbi•

            I   fllorning i• ch• p r obably thre• major t.hinge ch.at                         c.he

            t   branch d o •e .

        10                         Our (iret. ~nd Main rc•poneibility ie to

        11      make     • cc ura.~e     cn t. riee and t.o iaa.int ain accuracy of the

        ll      .. FRTR , t.h• tfa t. ional Fire ar•• Reg i ecry and Tra nefer

        ll      Rec;ord .

        1(                         Our eeconO       1111 ~1:~   r e epone lbi lity le co Co

        15      look u pt f or a.9encs           in t.h •       field who need co Ciud ouc

        l'      if an a.ndiviclua l          hae Tit l e 2 "Weapo n .

        17                         Our thirO ma jor r capon• i b i lity, and not

        18      quite co -equal,            bccauee the oe1iu lc ivlcy and

        l!      cr iticaln• • •          of it ie uoc. t.h e r• .         buc. we &leo do

        lO       record 1 uven tor J. • •        for 1 ne pec;toru 1o1ho are in•pect ing

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      l       le.     and   "'* t.ry to get it. uc.rai9hc.
      2                        1 t.bougbc. 1•d •cart. off by ehoviu9 you •o.e

      l       figure• becauee, like i•port• branch, we al.o proceaa

      4       1n1.ltitiduca of paper.             Hy ataffing ia very aiallar to

      s       La;ry'•• although you oan double the cxa•incra.                            I

      '       have     ~2   ex.aainara, laport.a baa ' · and that••

      7       baaieally bacauae of th• volu••·

      a                        The fir at. chart you ooa up t.here ia c.he

          9   ••ount ot Tit.la 2 vaapona t.hat. are ra9iac.erad ri9hc.

     10       nov .     Thcrc•a appro•i•a t.ely 721 ,000 Tit.le 2 vaapona .

     11       T'hla fir•t. sraph ehowa it by atatc .                1'• you can 5cc.

     1.2      t.he largeat acato for Tit.le 2 woapono la California,

              and c.han you -ove ri9ht. ou dovn t.o,                    believe that.••



      lS                       VOICE:     Virgin lalanda.

      H                         MR . OUSEY:       Virgin lulando .        [ • 111   aor ry.

      11       Yi~i.n lal.anda.        lS.

      11                        Of that. 728,000. we ooti••t•. becau••                       ~e


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      20       Monthly       b~ eio,   a1,ywhero    bet.~QOI\   150 co lSS,000 io the

      21       flaeh gr•nadee .          They cc..e in      ~nJ ,~u\.   of ch•

      22       lnvcntol"y no       qu1ci-. l y,   .l nd !"@11;1hly 'he ;acC'u1·aC"y          ~':

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          l   thoee io not very good, b:.• ic:i lly becauee vhen p ol ic•
                                                                                       ..
          2   depart•ent.o and o r.her lav enforcement a9•nciee u ee

          3   thee e flaeh gronadeo,         they•re ouppooe'd ·co repor t       co


          •   •••      We re•ove them fro• the inven tory .           But it••
          s   •u~h a c ontinual turnover .           The Kanoae City Police

          '   Department may report to ue accurately, bu t               the

          1   Sheriff • e Dep;irtine nt. up in Ucha, v .a "'"'Y not hear froia

          8   them .


          9                  Some day when ve: have t.he manpo"'er aJ\d ve

         10   have Che time , ve n eed t o 90 through ;nd 1;epa.r-.tc

         11   theoe ou t.

         12                  In fac t ,   ve • vc diecuoeed "'ithin the branch

         13   •• tt in~ up poo eibl )· t"WO clitfer • nt regi ecriee ,      juet eo

         l<   t he eyer.em Ooee::' t      become overburdened· to e~p ar at•

         15   theoe out. ir:co an equal c::icegory bu t          a eeparate

         16   category .

         17                  The oec-;ond gr:i:ph ohowo the: ~tr.ount of

         lA   proceeein9 t.hat ~e do on ~ fieca~ Y•ar bae ie for both

         19   ' S4 and    ' 'S .   ''$·   th•r• v~e a alight decreaee

         20   betve•n t.he F'orm lo,        Form. 2o, iill the VilY up to t ho

         21   form l Oa that ~a proecoe .            we   proeeuA~d   21C,GOO



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     2       veapon• .

     )                      Th• eecond graph breako chi• down into th•

      •      typo of v oapon that vc: have in the regie try for both

      5      •ti and '95 .
      6                     D•otructive dov icoo ,    t h~   ne cond category,

             i o th• largeec .       Machine g une. oilenc•r• ,       any oc.her

      I      weapon, •horc.-barrcl       ohotguno, eaved-off ehotg-uno and

      !      ohort ·bar rel rlflee .

     10                        hope that page: ion•t (or a critical

     11      lookup .

     12                     The nexc qraph ie che record oearch•• chac

     1)      vere co-9leted in l''S.          Aa ycv can ••• · our total

      !~      record aaarchee by ou::- •?eeial j ec o.        of   "'·~ich   there

     1$       at"e aix, vae 5,368.        Of chac ,   "1& .S percent vere

      16      record ooarcheo £or epc:cial agcnto ln t he field vho

      11      needed either urgent inform&t1on or rout ine, and I'll

      11      ge e   ln~o   th•t .

      :;,t                   N• did eao courc: :erc:~llc:atlon • (or trial•

      JO      tha~ ca•• after ~he uork ca•••.           and "• did SI'

      21      lnv•ntorl•o for our inopect;.oro in l.h11 Cleld a nd




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         2    int•reec you coo much,

         3    occupational tax a.nd the popu l a t ion of epecial

              OCC\lp&tional t axpayer•. tho nu.abcr of aanufacturer; P '

         s    i•p~rtcre , and Clae a 111 dealer • that are O\.lt t~~
         •    becauae we aloo •r•, obviouely, conc•rned a bo/ t t.hie

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         •    like    J   eay, probably either fi ret or eecond, becauea

        10    the.y're both probably co · cqu-. .           ie the aearch that O\lr

        11    • pec:a.;;.li•t& do,   our look·u9 apecial:a.ata do. of the

        l.2   HrRTR for epeoial agent ti ...,hen chey • r• working a c aa•,

        13    when thE-y•:• trying to find ouc i ! an individ\lal \o'ho

        i<.   they t:ad !r.!or•ation on hae            &   Tit.la 2 veapon, do \."•

        1$    h•v• th~t T !t.le 2 weapon rog:a.et et•ed in our data b•••.

        16                   Thc•e procedure• are in cf foct right              now .

        17    There's eoee: change• in here ch.at you proba bly

        18    alr•ady hav• h•ard a bout. relacive to Ch• inv olv •••nt
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        l~    of 10ianagement and overee•in9 the 1·eoulc e tha.t

        20    •P•ciatiete co•• up vit:h vh•n t hey do a record

        :1    •••rch .

        2'2                  1' hc record ••carch C.ln lu: 11ulde eithc :- bv ;<

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              rr···
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     · 1        ca.11 in by epecial agent.• vic.h a dodicac.od nuaber.

       2        Me jua t. roconc.ly have conac.ruc:c.ed ln our vork area a

       l        aoparat• four-valled ottice c.h&t. haD c.he c vo look-up

       4        apcciali•t • in it .    They're ioolatcd fre>ta the other

       6        activity of the branch and the diviuion, and their

       G        only raaponaibilitiea a r e c.o c.ake c.t1ooe phone c'll•

       7        fro• apocial agence vho are doing alt.her weapon•

       •        eoarchoa or individual a earchee .

           t                  They can either do c.ha t by the col ephone

      10        nuabcr by telephone or by f;.x ••C'hi.nc, which wc •vc

      11        re.ccntly had inatall cd a acparatc f•x aachinc,

      12        aoparata froa the reet of c.he diviaion,           in chat rooa

      ll        by ic.•ol!.    That e ak•• nothing but       lOOIC. upa.   The

      14        aaarch can be raquaet•d by naJne,          by c.ha tirearJ110

      15         o•rial l\Umber, or both .

                              The epccia li e t that ' o •ittin9 i n there that

       17        take.• the- rc:queot entcro the i n£or111:1.e.ion on the N~A.

       1&        r•cord eaarch fo rm,    a.nd therf!'e a lot of infor•a.tion

       1'        that we . put. on t.here relac.ive to the      ua•• of the
       lO        a9e nc., c.he badge nuaber, t.be a.ddr•oo/c.elaphone

           21    nu•ber . and of couro• all oC Lhe ln(o ..•aLiOn cha t vc

           22    c a n po••1bly 9ct fro,. 1..hc   ~g~nt.




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                                  The mor• i ntor.. ac.ion t:hac we receive:,

         :z   re lat.iv• to the individual tha t. t.h•Y • re doiu9 the

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                                                     il ""• have a birch d • t•,

         4    current addrcae, anything.                  And of couree, a lot of

        S     tiaC• v c doo•t.             All we get i •      juat a Cir•t and laat

        '     name.            Kiddle iuitialo e ven help uo .

                                  Becau•• •• ~e 90 through t he ••arch. the

        8     fur ther we h ave to go to ••ke ~ure it• • ri9ht, all

        9     the vay back co th& acc.u~l •icrofllm record• and the

       10     actua l h a rd copy of the tranef-:r re91et ration

       11     docu~ent, eve n midd l e in itiale ean l1clp ue eli•in&tc

       12     erro_neo1.1a i ndividual• .

       ll                         For a   11aMe   ~ea rch.   che upeci a liet vlll



       lS     of the laac. na.aa .           The example giveu h&ra i• Smi c. h,

       16     S•M· I .         What happcno iG,       they ryn t.hc S · M-1 .       T he y'll

       17     get. let'• ea.y.            10.000 hit.• on S · H · I :   Then ehcy "ll

       18     ru,n ehe •c at.c and the S·H · l.              and Wlaybe they'll g e t

       i 9    400.


       20     •or~ u.nco•mon namee, you "'ay o nl y got l or lS or 20

       21     nanr.ll&.


                                  Then they• J!     run t-hc.: !.u11 1I. letter ,    lo <:'-'Cll

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              l 'I" • .. • •


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       1   b·r eak it. down further .         lt. 'o $-H·l.     and t.hen i t ' l l be

       l   T.


       '                 Let n:r.e   ••y t ha t "'hen we t• •tity i~l, c ourt,
       •   we t ce t. i fy that the data b aec io 100 percent

       5   accN.rat.c.   That'• v bat. vo te•tify to~ and wo wi ll

       C   alvaye t.ee t.ify co that,           A• you. proba.bly v•ll. lcnov,

       7   t.hac. aay nOc. be 100 percent. t rue.              If our d a ta b •••

       I   vae abeolutely e rror froo, ..,e cou ld ~ imply run tho

       9   name   o t t.he ind i v idual and hie firo c. n a111e, a nd if !c

      10   dfdn: t come up. vc could suarantcc e veryone that th~t

      11   indlviOu- l doean •t have a Title 2 we•pon regi e tcrc4

      12   to hia.

      11


      l<   thi6 2•• 1:c p eop le lnverc l•t ~e:-o and vo~·elo,                you cou ld

      1$   put. t.h e oame   in ,    it \.IOU ' t come u p c hat: ,.,;i.y .

                         So we run multiple aiethodi:i o( running it .

      11   I f the l~ ot name and Ci.rot na•c .             if the 9uy'• tir•t.

      11   na•e O't" t.he l ady '• t:lrec naae, look a            like a la•t

      lt   n aae, ue'll run thac. Cirec..             Wf:' ll invert      it,   juec co

      20   eee ,,,.hat. ve com• up ,,,.ich.

      21                 So chi• w•y, ve c ry co .:l Lmi n ato the

      12   p0Go1bility o f . h .. vc 001"cbo<iy in t; hcrc \.:ho h ao           <J   'l'it l e


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       2     not.   W• ;ia.re 9oin9 co a nev data b••• vhoea

       l     c apabilitie• vi ll allov ue co do •ore varia~. k ind of

       t     qucric• •nd hopefully bctc.cr qucrioe, phonetic•,

       S     So.ind, Soundi:x Cpb).      Soundox -will help ue.


       '                   For a ••rial nu•ber, we ' ll jue t        eearch the

        l    exact ••rial nuD'lher .     We have co•• up vich a couple

        I    of locidencee, and tbia •hove t.he akill of the




       10    like a 2 and a 2 baa looked liks a %.              Jf   YO\I   nlft    t be

       11                                                                   1f     yCH.a

       12    run the• boch, you find out. c.hac. it le regi et.ered

       ll    that. vay .     There vae a •lee.aka in the princ.ing on the

       l<    fora:, or it vae a miet:.ke in the call 1. 1l,



       1'    do look for idloeyncracico in tho eoria nu•ber that

       17    11.i9ht ••kc it 1aorc ape. that     • 011tc   kind of inveraion



       lt                  The epecialieca ~ill analyte the reaulc.a of

       20                      Like 1 ••y. eince t.he ••rial nuaber i•

       Jl    axacc. . t.he only re corde vhere che •••rlal nu•ber ie

       22:   1dcnt.1£1ed .    will be p~U'-'l<ir.J




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      l                    Th• •p•clalioc.• vill eli•inac.e record•

      2        'baead on c.he c.ype and de•cripc.ion of c.be flreana .

      1        P'or th• na•e aearcb. ve do cho na••. ve run the F'Pt.,

      4        the 11conoce data b aee . and the SOT data baee vitb

      S        tho naae to •ee if there'• any trade n . .o•.

                           l t chore•• any c.rado o••••• then va go back
      '
      1        c.o c.he ro9i •t.ry c.o run c.hE c.rado na•• co ••• if t.hac.

      I        c.ra do na.ao ha• any Tic.le 2 veapone ro9'i o t.o r ad c.o it,

      t        'bacauoa in ••ny c:aoea c.he a9ento call ln vlch a naaa .

     10        That   individual t"r-no out. t.o be a    lic:onooo .   turn•     out

     11        to be a opec:i.•l ~cupat.ion•l t axpayer.

     12                     Although c.bere vao noc.hin9 ra9la t.ared under

     !l        hlo n•••·   Chere vere veapono regloc. orad 1.indar hi•

               c.rade n•••· h1o coapa n)• name .     1 u ••ny   c:•••• , c.hey
      lS       111ay hav• t wo or c.hree different t.rad• na111ee.

      16                    Again. a• I    cmph~• i~ed   a mlnutc a90. to

      17        cneur& Lhc thoroughncoo of the oearch, th• rcquc•ting

      11        a9ent ahould eupply a• auch ittfor••t.ion •• he

      l'        poee ibly can .   A lot of   ti••• tha t   lnfor•a t.101\ i•

      20        only tlr•t n•••/laot n a•• • and that•• all he ha•.

      21        baeed on an inforaant or cip or <what.ever,            and that"•

          2~    vhat we run ..,it.h ,   io that
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            l
                                ••ntioned befor• "'"'ll run the SOT data

        l       b••• and ve' ll run t.he Fr-L daca baae,        llcen••• data

        ).      baae, c.o ••• if ve co.a \IP vic.h anything the.,r.e, and

        4       then vo•ll 90 hack to the NFRTR to find out if thoy

        S       have any vcapone rcgl•tcrcd to thcM.

        '                    Depending on vbat ve coao up vic.h , vhon vo

        l       COMO up vic.h eiailar n•••• .       and ve don't b.ave a data

        a       of birc.h,   if "• c:o1110 up vlth Allio on St.evena or To1a

        t       Buooay, and '"'e eo•o up he•e in a dlttoreuc et.ate,

       10       ve' ll get the he.rd copy or t.hc •icrofil• copy of the

       11       • etual tran afcr record to ace if the d~tc of birth i a

       12       the oa111a aa the agont hae,

       1l                    Depending on    c.h~ volu•e chat •..•o 'r• daallns-


       15       aondl1''1     I have baan there a        year nov,   and b afora

       16       got there, ~e were aondins b-ei ea l)y either hit or no

       17       hit, "and 'We'd eend t.he hit.      We would ecod po••iblce

       lt       if they were real     cloee, but due to eo•* d ifficult.lee

       lj       chat we • v• h<t.d and to nr.a ke eur•    that we don't • • we

       20       cry n ot to eend the wrong inforMatlo1t,         ""• hav e been

       21       •ending probably "'ore iofora3.t.ion than t.he a9ent




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                           If we come up vi ch,     if chere•e 2 2

       2   To• Smith• iu the State oC Arkan•a• that have

       l   t-c9iacered veapono, ve ocnc:i all 22 Tom. Sr.ithe., even

       4   i f the date of birth is differ ent, just to give the

       S   agc~t the opportunity to do the investigativ e work .
       6   racher Chan jue t       tellin9, herc•e the one that ve

       1   think might be · !\::,    the othe:- 19 v~ don't. think are

       8   i c.   we ' 11 let che agent dee id• "'hether t h at ocher 1'

       9   i:night po••ibl y b •    t.he indivi dual th•y ' re looking for.

     10                  That•e Yhy vc can 90 all the way baek to
     ll    the harci copy .       We can go •ll the vay back co the

      12   aiic::rofilm to r eally pin dovn if thci indi vidual "'e

      13   hav• ie the on• yoo•re looking for.


      "
      15   probleia in Baltimore vich a           look UF ;,.nd there vae ~

      16   pr~blcm up in Minnccot•. I think it vae, about oi~

      17   monthe -.go ,    from nov on. before negative i nformat ion

      lt   i& oeut. to an agent . .       if the agent indicate:o t hac.

      19   ic • e a routine, he '& noc. in a bi9 t•ut1 h       f or it , ve

      20   uee d to gee. i t     back c o h i m on the oame bue ineee d ay.

      21   Now if ~n agent. a.aye it ' •      routine ,   ha may not. get. it

           back unt.i)     the   next .huoineoc;. day .   I(   it'~   an urgcnr.



                                                                       Exhibit A, Pg. 583
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      l    h• vlll 9•t it back chat day.

      l                 we• 11 call t.be .infora:..t:lo1i back to hi• and.

      )    the hard copy of the infor.ation vill be ••il~d to

      t    hia .   lf he nccde it rc~l ta.et, vc PodEx it.

      5                 The rcaeon vhy the routine ••Y not get back

      '    th• eame day anymore ie all che negative

      7    inf oraation      by negative, I ••an, it cha epecialiec

      I    do•• a look up on a n.a .. e and coaea up with "Z•r·o ,

      t    e a n•t find tha c naaa anywh• r•. befora t.hat

     10    inforaation 9oe e back eo the field agent, it C'O.c• to

     11    the bra nch ch~cf'• office.        The br•neh chief aita

     12    d0vn and ba e ically doeen•t: do any.ore than vhat. che

     ll    epacialLet dLO in the look up, but 9oa e ove r all the

     14    information on c?'le prin tout• to oaa it all the

     lS    procaduraa h~ve been fo ll oved right to t he very end .


     "17
                        Old they   look •t the

           they look at the SOT data ba•e .
                                                  PP~   data ba•c .   Did

                                                   Did they have name•

      19   that were eiiailar to the ttame that vao reque.eted.

      lt   Old they check out the actual hard copy of th•

      lO   aicrofila to eee if thi • vae the individual and

      21   •09•0ne had juet ai••pelled lt vhoo lt w•Ut into the

      22   d•t a b•ee




                                                                  Exhibit A, Pg. 584
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                                                                                      lS
      1                      Once t.he br-a.nch chief revlewe thle

      2        c~letely,       then h••ll recur-n cbe inforaatlon co the

      J        look·up epeclali•t, vho vi ll communicate, tran• •it

      4        thle lnforaa tion to the field                ~gent.


      5                       What Yc'rc doin9 ie. we're hop i ng t hat by

      C        thie oooond level of review, and ic really doeen•c

      7        ••Y anyt.hln9 negative abou t. t.h• look • UP e pecla.11. a c ac

      I        all, becauoe the people v• have right. nov have been

      '        doin9 it tor a          lon9 ti•• and t.hey•re excellent in

     10        tbc.l r   eearchc e ;    b\at you do theee oea.rchc• and you run

     ll        thc o o. prlntof!o on the ecrccn and you t ra ck dovn

     12        th••• print.off• hour ate.er hour for a full day.

     11                        1 re"'e•ber du:-in9 che Oklaho-.a City bo•bin~

     l4        we "'•re running i :. 2(        h~cre     a day.

      ,.        for about. cvo veeke         o t. r~ig ht.     Somecim•• chlng• aro

      1'       mi u•cd bccauoc there• e only e o many 1"inucc1 in an

      11        hour and ao ••ny houro in a d•y .                 So chi • 9i.ve: • the

      1•        branch chief ti•• to juet. ai.t. t.h•r• and eay, 9•e"Z,

      l'        vonder l! thi•          lva.n snit.h •ight. ba t.hl) Evau $ialt.h

      20        tha t    th• agent. vane&.        tc•e the •••• et.ate

      ll        check c.o ••e •ayb• i ! it.•o ln t.h• u .... clt.y chat che

          21    agen t'• lookin9 for          thi~    guy Ol .



                                                                              Exhibit A, Pg. 585
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       1                         So it. 9ivee·a little •Ore opportunity to

       2   •cope out different poeeibilitlee.                      Tb• •P•Ciall•t•



       4   day long for eight hour• .

       5                         So vc• rc hoping that cliainato• the

       '   po•elbllity ~hat a nything goea out erroneou• becauee

       1   ve knov you•~e baeing your varrant.e on it, you're

       I   baelng your encriee on it,               and you certainly don't

       '   vant a ror• 4 vavad in your face when you 90 in there

      10   to ehov that the guy doce h~vc ~ lcgally · rcgi etc red

      11   Title 2 vcapon.                                                          l ' • net



      13

      l<   by telephone anC then "'•'11 oend hard copiee back cc

      15   you.


      16                         At that point, the log entry i• clo•cd out,

      17   and v e maint&in thc•c filcG for future reference in

      18   c••• one or the other of ue hae to CYA for one reaeon



      ••                         The l •portant face.ore , agaln, are :             tf it.'•

      21   c o-un lc a c. ed t.o t h e      field agent• .     and I be li eve tha t.

      22   • y bo• • . Terry C a t c::o .     who ' c Go wn   •·   '<'e ll .    h e ' a back

                                                                                     (/),
                                                                               Exhibit A, Pg. 586
           f!"f) . ,..,. •   •
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                     0

      l    nov, buc. 1-• '"'•o dovn .a.c che conference 1n Souch

      2    Florida vith che diecrict direccor• and SAC• •• one

      l    ot the topic• he vae talking about. •9aln,              ia. ~oo~

      4    up. the look upe that we do for agento .

      S·                  The ~ore info•a~tion that vo can get over

      6    the phone on the individua l           that you're lookin9 tor,

      ?    t,h• bettor it ie for ue and che beet.er th&

      8    int'or"'aci.on comeo back ,

                            m•an, if you have a •iddlo inlcial, give

     10    it.   to u•.   If he has a •juni or• or a •ocnior• on the

     11    end, SflVC it. t.o ue.

     12                   Th& aocond pare of t.he infor•at.ion, t.be

      l)   rout.in& and urgent, ve•ve ~lready 9one over.

      1¢                  So,   !.gain,   :l kinci of co11eJd•r thi• probably

      lS   the rnot1c i mporcanc euppor;:. funcciou t.hac 'WO have.

      16   Equal to it, of couroc,           i a .. ai.nta i ning che accuracy

      17   of the data baec to beg in with .

      ll                  If t.he i nfor-.. at.ion chat.•o in th• d•r.• b•oe

      l'   le not a ccurat.•.      it. cioecn"t: ••ke any dlfterence how

      20   good of a      •~arch   vi= do. ic.•11   CO••   out "rong.

      21                  Sot.he infor-ra:at.ion on tho 111,000 v•a.pono

      22   ~h a t   •re in the dat~ b~oc h~o lO he 10U percent

                                                                         @
                                                                     Exhibit A, Pg. 587
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       l   accurate:.              t..ike I told you b&for 4, ve t.eet ify in
                                                                                       ..
       2   courc. and, of couroe , O'-'r cercifica.c iono t••tity t.o

       3   that ,    c oo , when             "'• • r• not. phye i eally there tp

       4   t~•tify,         t h •t we arc: 100 perc ent accura te.

       5                       Bu~     we have found inetanc ee in our record•



       ,   inverted; vovela i-• h•~ beon chau..ged; aud, of
            I

       I   couree, cosnpuc•r progra•• only pull up vhat. you put

       '   in.

      10                       We' vc m&dc ,.onumcntal e ci• i d co in corrocti ns

      11   th~• ._     k    m•jor correction event cook place in lSi&'.



      1l
                                               That•• thr •o indivlduai.• vho review



      lS   co rE:qieter a T.:.~ltt 2 tJ8 apon, or co er..,nefer                 a Title:

      16   2 veapon .


      l?                       Befo re it ac~ually g cta entered into the



      1'   that • >:a a!ne r           to a apeclali•t, vho rcviova i.t and the

      20   • creen co •ee if the na•• vao apellcd corre ctly vhen

      21   lt vae put in.                bee au•• obviou oly t h;i.~ • u t:.ha m.o•t




           rn1cui..1       .,..,1.:-:- .. :·: ,;JT , ..
                                                                            Exhibit A, Pg. 588
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     l       ord•r that it•• put in.            Jwd. of co~ r••· th• ••rial

     2       nu•b•r of the vea.por.. type of veapono and C.h•

     l       deecription of the "'eapon.

     t                    Thi• quality rcvicv team, vhcn I !lr•t caae

     5       in a yoar ago. our error rate va• botwocn 49 •nd SO

      '      percent, eo you can imagine vhat th• accuracy of the

      7      NFRTR could be, if your error rate•o •t to $0

      I      percent.     The error rate no\J ie dovn 1:.0 belo"' I

         '   percent. and chat•• total.                That'• coa•on error• a.nd

     10      critical error•.

     11                   We do a little finagling upet&ir• on

     12      >what • • you k now, we coneider a co-on error ie a n

     1)      error in the data baae eucry, but it doe an• t                   affect a

              look up .

     15       really have any        da.ma~e.


     l'                    A critic•l error io one where tho

     17       gcntlo•an'a nacne io opcllcC wrong .                 Thooc error r ate •

     11       are probably belo"' 3 percenc. ,              Th• c.ot al error rac.e•e

     1'       • bouc. I P•rc•nc. .

     20                    We hope: c..he ORT         t.••• ha• ••de e1.&re c.hac .
      21      eince • ye•r ago. all         ~h•       en~ rie o   ~ha~   90 l" •re

      22




                                                                             Exhibit A, Pg. 589
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                                                                                           20

                            The only v;ay vec can go bac k. we b.av• a

       2    proj•ct •• ve ••tabliehed a project. we ••tabliehed a



       t    convertod to the new data baoe.                  A• •oon •• the new

       5    data ba•c comee into e ffect, 'We'll begin tho taok

       '    force •••i911.meut.

                            What ve •re going, to do i o v• •re 9oin9 to go

        I   back, •tarting vic.h t.he lac.eec. •nt.ry and working back

       t    t.o the oldeet entr)' and roviev every hard copy •of

      10    every doC'\l.aent. vith it• entry into th• data b••• to

      11    •• e   ~f i t ' •    correct .    1 think or19i.nally "'• figur·cd

      12    thie would tak• 711 •an day• to do thia vi th t ive

      ll    people eitcin9 at a computer eight hour• a day.

                            But i t •e t he.   0111~·   '-'•Y c.hat ""' can fael         chat

       15                                                                   It vaa fine

       l'   to b~gin putting everything in accurate a yoar ago or




       l'   back to the early •aoe and "the •100 and cha ' ' 0•?

       70                       Thie ie che only vay ve t•el "'• could

       21   correcc lt .             Ho one in 1$0 or no ono c.h•t               I've 11.novn

            h•• C'Onu: \IP vtch .a pr'Ogr&ftl chat           '"'C C'Oto   uoJC




                          . . . ..
                                                                                 Exhibit A, Pg. 590
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                                                                                            2l

       1    dat.a ba•• vi. l l hE-lp         1.1•.    A.nd t.he re aeon vhy ""e • r•




       3

       4    Ed Owen•' •hop. or maybe it'• Jerry out at Tracin9

       6    Contor, ha• ownerehip of the data baeo dealing with

       G    th• weapon• da.ta baoia.

       '1                    Once chac goee in,             1t """ hav• an MPS in

       I    there that'•            li•~•d   ae an MPS, chio vill correct thac

       ,    to brin9 it · ·           c.o corr•cc it. a e au HP5.         But you

      10    can't do anything · · tberc'o no dat:i baee, that

      11    know oi. o~ no pr05r . . . to correct ·~••pcllin9• of

      12    n•••• .
      13                     W• "'·i 11 have au addr aou

       14   t.o have a:i aci.d:""ee• correct!. ou. 'lip code in th• cl.a::.e

       15   b•ee, b._.t '-'& ' 11 ecc '"'hen ic. finally goto converted

            ovor.       I'm not       ~urc.


       17                    And the third thing              ~~   do io !or field

       11   i"•P•Ct.or• vho do regualatory c;04np li ancet inepectiona ,

       1'   They call int.o ue co ge t                 an lnventory fro• ue of

       20   Tit.le J veapon• .            we aend c.he inventory ouc. .            They do




       22    •cttl~ Jny proble ... o bc~vcc~ the plty.11 '-'"'l             1nvc:-t~Ot"\"

                                                                               (.9
             nue111.1    ..... ··
                         ~




                                                                           Exhibit A, Pg. 591
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        l   and the \IT'itten inv•ntory .

        2                     Th•t. • •   really cbe end of •Y pr·• ••nt.ac.ion.

        J   l want.ad to concent.rat.e on tho•e cb.r·• • ar••• .,          I

        t   vanted to leave t i.Ille for Q and Ao, bct:a\&•o I fi9urod

        S   tho~o might bo •o•c Q -.Ji.d A• on tho look up.
        '                     (Pauee.)
        1
                              No queetione.       Oka y,   Thank you very •uch.

        •                     \End of requ•et.ed e xcerpt.)

        '
       10

       11



       ll




       16

       11




       ..
       11




       20

       21




                    '. :"•'   ,...
                                                                   Exhibit A, Pg. 592
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                            tJ'NITm STATES DISTRICT <X>URT
                            EAS"'rER.N DISTRIC!' OF VTRQINIA
                               NEWPORT NEWS DIVlSION

      )


      4    - - - - - - - - - - - - - -
      s    UlfITID STATES OF AMERICA            crindnal No. 4 :9ScrS4

      6    vs.                                  NetfP()rt New•, viroinia

      7    JOH.N DANIEL LEASURE,             : May 21, 1996

      8    - - - - - - - - - - -

      9                      TRANSOUPT OP PROC&EDINGS
     10

     11                     UtfITED STATES DISTRICT JUDGE

     12

     13    APPltARANC!:S;

     14    ?or the United States:      United St•t•• Attorney's Office
                                       World Trade cent•r
     1S                                101 w. Main Street, suite 8000
                                       Norfolk, vtroini•       23510
     16                                By:   AREND.A WRIGHT ALLEN,
                                             ASSISTANT U.S. ATTORNEY
     17
           For the Defendant:          DAVID N. MONTAGUE, ESQUIRE
     18                                One East Que•n'• Way, 2nd Pl.
                                       Hampton, Virqinia 23669
     19
           court Reporter:              Diane Poulin
     20                                 550 Ea.at Main St., Suite 100
                                        Norfolk , Vir9ini• 23510
     21

     22
           Proceedint;l• recorded by .echanical •t•nocJraphy,
     23    tran.a-cript produced by co.puter.

     24

      25

                            Biggs & Fleet Court Reporter•
                               Norfol k - (804) 625-6695


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                                         I N D E X

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         3                         OOV£Rm1F;NT'S f:VIQENCJ!
         4

         5   QABY SCHAIBLE
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         7   Cross-Examination by Mr . Mont&Q'Ue                     32

         8

         9

        10

        11   L£WJS JQNES    III

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        13

        14   JOHN p   t.EA$t18E

        15   Direct Ex&llination by Mr. Montaque       .      .     53

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        "
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        21

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        25


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                                                                                3

                 1'BB CXJOtt:   All ril§Jbt.

       2

        3   Stat•• of Aaerica versus John Daniel Leaaure.
        4        I• the 90vernment ready to proc•~. Ma. Alled?
                                                            '·
        s        MS. ALLEN: Yes, Your Honor.

        6        MADAM CLERK:        Defense ready, Mr. MOnt•9U•?

        7        HR. MONTAGUE:         Yes, ma'am.

        $        THE COU'RT:        Let rae make some notea and I'll 6:_

        9   r19ht with you.         Let the record re.fleet t.tlat tM
       10   defendant, John Daniel .Leasure, i• pre. .nt in per~ and

       11   vitb bi• attorney. Mr. David lklootaque.        And t,be file

       12   would reflect that pursuant to an i.odict. .nt returned in
       13   tii. fa.ll of   199~.    this . .tter e... on early in Ja.nua.ry,

       14   •• I recall, for trial on the defendant'• pl••• of not

       1s   ouilty.

       16           He was arraigned on January th• 18th and, let ••
       17   o•t th• data strai9ht, he was i ndicted on November the
       18   \4th.     It c.,.• on for trial on the 18th and 19th of

       19   January, and on January. the 19th, the Cow:t found

       20   conti,n ued the aatter to look over the record, and on
       21   February the 6tb, the court announced it'• verdict that

       22   he vu qu,ilty of Count 1. Count 2, Count l. COUnt 6 -.nd

       23   not QUilty of COUnt.s 4 aM S-

       24           Thereafter, Mr. Leasure throu9b hi_• attorney fil.S

       25   aever•l motions.         The matter vas then continued for

                             Bl99s & Fleet Court Reporter•
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                                                                           •
       2   lo the -anti.. th• defenchnt hu filed • .ot1-on for •
       3   nev trial and the matter is here on that a.otion ••
       4   supple:ment•d and also for a review of th• preaentence

       5   report at the sentencing.    I haven't ~•ally   ••t motions
       6   aa to the proceeding but, Mr. Montaque , 1 aaau.rn.. t hat
       7   your 111ation for a new trial would be fore...oat, and I'll
       8   be 9lad to hear you with regard to that.      Of cour••· I

       9   have your brie f and matter& f i led in connection v ith
      1O   thet and have reviewed thea in det&i.l.

      11

      12   Your Bonor.    I'• sure that you're well faailiar with

      13   tbea.    en. of the fundamental reqvi_r_,.t• on the
      14   Goverrunent in any crim.in..l pros•cution i • to 111&ke known
      15   any exculpatory evidence of which the GovertuD11nt

      16   reaaonably knows .

      17           In this case -- let me 90 back to the beqinnin9.
      18   Th• thino that has troubled me about thia c••• al) alon9

      19   ia that thi• is in that set of Federal •tatute• - •nd J
      20   ••Y F.cleral because I don't know of any •t•t• •tatutes

      21   like this - where the.re is no requ.ir..ant of •cienter or

      22   . . n• rea or .oral turpitude in order to hold • per•on

      23   quilty ot a felony even thou9h he be an honorable a.nd

      24   lev &bidi09 citi~•n like th11 defendant aiaiply . .k.ing

      2~   qood taith •istakes that the law require• or havino rule


                           Si99s 6 Fleet Court Reporter•
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           ch~• tMt he d'oesn't         know .i>out convert hi.a - -

      2    cr1aina11s• what is otherwi se innocuous and nondanqerous
      3    conduct, aerious criminal acts.
      4         'l"h••• felonies all carry ten-year sentence•
      5    potentially •nd S250,000 fine$ .          The Court relied in it&

      6    conviction on the case of, u s        y    Pre nd , which i• at C0 1
      7    u.s. 601, a 1971 case but t he holding ot that ca•• that
      8    no apecific intent need be proved has been called into
      9    very aerioua question and I think overruled by the case
      10   of Staple• against U.S. and that waa dec14-d by the

      11   Suprea.e Court i n 1994 in a decision by Juatice Thom.as .

      12   We've r.cited that d.cision to Your Honor i n our

      13   aateriala that we filed .
      14         Preed involved a gentl eman who wa• in po11esaion of
      15   hand grenades, and his defense essentially wa1 th&t he

      16   didn't know that there was anything wrong with that.
      17   And th• Court believed that inherent l y there was

      18   eo•ethino wrong with that end that there            w•• no way he
      19   would have been surprised if he had learned that, in

      20   feet, a private citizen i$ not supposed t o           Po••••• hand
      21   9l"•n.od41•.
      22         ~        Staples case involv~ a aan vho oviwMS •n AK-15

      23   "'1:\ich ia a QUn that can be convertftd.        It i a no.-...lly a

      24   aeai- autocaatic weapon that requires th• pull of a

      25    trio;er to fire each round but c•n be converted i nto an

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                                                                                 6
            autc.atic fireara and, hence. be a . .chine·• qun within

        2   the . .aninq of the NFA.     And he contended tb&t he did

        3   not know that was a capability of the "9apcn.
        4        The Court refuted to so 1n•truct th• jury th.at he
        S   didn't -- that. they could conaider that and ao the
        6   Supreme Court reversed and did ao specifically aayinq
        1   that the reasonino u s. v . Praftd provided little aupport
        8   for d.iepenaing with mens rea in thi.1 caae, that case

        9   involv ~no   the 9a.ntleman with th• AX·1S.
       10        Thia case is not like thot.      In t~ c&ae we have a
       11   biQhly aophisticated qun person, a t.Seral lice.n.aee
       12   licerui:ed •• a aanufacturer who, •• tM court knows frc:.

       13   . . tarial previously subraitted, i• hiqbly reQ&rded in bis

       14   field, hold• one of the top patents in the development
       15   of 1ilencer or suppressor technol09Y.         !arly on at the

       16   •rraiQNn•nt, which I think the court didn't mention th•
       17   date, I believe it was January the 5th -· I        th~nk   i t was

       18   in December •ctually.      Yes, i t waa December 5th.
       19        THI COURT:     My records indicat• it vu

       20        NS. ALLEH:     It vas December 1a't.

       21        TH! COURT:     December 1st, okay.
                 HR. MJNTAGUE:     This defendant va• a.rraiqned before

       23   JudQe Bradberry, and at that time Kie• Allen waa not
       24   evailabl• but there was somebody there troa th• BA'f'P' and

       25   there we• somebody ther• fro• the U.S. Attorney'•

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           Offic•.   I turned over to them c:op.i.•• of all of the

      2    doc\menu t.hat beca.e the evidence in tbi• cue of
      3    Mr. IAaaur•'• attempts to rev•rse certain tran•f•r• of
      4    the weapon• for which he vas indicted.

      S         And I, frankly, thought that that wae QOin9 to be

      6    the end of the case.   And I think Ki•• Allen thouoht it

      7    mioht be •• well but she said that -- ahe aaid when I
       8   talked to her on the ,phone she said ah• aent everything

       9   up to waahington to be analyzed and ahe'd let me know.
      10   So not too 101>9 before Christaas ah• called M and said

      11   that, in fact, tb• ATF decided they •till had a case.         t

      12   u.ked her ttbe.t it eou.l.d possibly be but •he aaid, wieU,

      13   ah• waan't OQing to t .e11 .e or she aaid ah• vaan't going

      14   to di•cu•• her case over the phone.     Thai-. vaa no

      15   invitation to come and discu5& it in peraon either.

      16        What she knew and what the ATF knew wa1 that -- as

      17   we did not learn until we heard it on the atend -- was
      18   that Mr. Scha,i ble of the ATf' would inforra u1 that thoy
      19   had changed their rules on how one went a.bout reversing

      20   a tran1ter or voidinq under the cocmiaaion of the Nl"A


      22   procedure that had existed u      far &1 be knew torever.

      23   And Mr. Schaible said that bad they 90tten the transfer

      24   requeat or the voiding request from hia.      'rhe new

      25   procedure involved sending back a form which he had to


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            fill out a.nd 1t bad to qo back to Wa•h.inqton to be

        2   approved.
        3        And Mr. SChaible also said there a no vay tba~
                                                     1




        4   Mr. Leaaure could have known that ~au•• they d.idn't
        5   notify anybody in the field, it waa juat •omethinq to be
        6   learned on a case by case basis as you tried the old

        7   technique, I suppose , they would tell you what the new
        8   procedure was.

        9        We.ll, not knowing that, we were not prepared to



       11   voiding• had been fa.xed to the GoV9rn.ent in t.M uaual

       12   aanner.     We would have and have aubaequently found a.ll

       13   of the forqotten phone records that ahow wltbo\lt a doubt

       14   that for 24 minutes on the 16th day of March,

       15   Hr. Leaeure faxed from his fax llLOChine in Saluda to the

       16   fax machine of the ATF at their weapona re<;Ji•try 24
       17   mJ..nutea worth of documents that were theae very

       18   tranafera submitted in court.

       19        It wouldn't show up on the phone bill if they had

       20   not ectually been received just lilt• an incOllpl•t• phone

       21   call doean't show up on a phon• bill, ao th4:re'a no

       22   qu.eation that he sent tbea.    Ther•'• no quutioa t .b.at

       23   they 90t th...     We don't know what they cl.id vitb thea

       24   aft•r tb•y 9ot them if they put th•• in t~ ab.redder or
       25   in th• traah can or if the buildi"9 burned down.


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                we don't knov what happeMld but all we do k:nov i•

       2    that when Kr. SChaible showed up here to testify. he

       3    ••id w. h•ve no record of havinq received then.. wh~ch is
       4    not the equivalent of not havino received thea ju•t that

       S    he wa• unable to tell us what had happened.      We

       6    certainly did our part or at least what Mr. LO•eure

       7    thouoht va.a his P.a rt in followino what he then knew to

       8    be the procedure.

       9         The Court's decision turned not only on th• Freed

      10    c aae but al•o on the exhibit& pot 14 evidence by the
      11    Goyenment, these tbing:s in blue baO• vitb the little

      11    ribbon• on thera that said tbat the we•pon. in the

      13    various counts of the ind1ct919.nt we.re not properly

      14    reoi•tered with the KPA.    The court t~ated that ••

      15    true, •• anybody would a government aoent'• teati1a0ny
      16    and e xhibits , obviously, i s goino to be taken aa true

      17    vithout aome ki nd of very powerful evid•nce to t he

       ia   contrary.
       19        But what the ATF also then kne-w and didn't tell
      20    anybody va• that at the time in qu.e•tioo of thi• caae,

      21    which Ja February of '94, the Court will rec&ll that

       22   tbi.• -- th• actual bu$t of Mr. i.euure'• plece ot

       23   l::luain••• and trial were about tvo )19&r• e.pa.rt and in
       24   th•t two-year period, the fireanu re;iatry wu t•k.e n

       25   over by a gentleman by the name ot Thomae Buaey or Busey


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         - l'• not •ur• bov you pronounce hi• n-... - and

     2   Mr. Bu•ey h•ld a briefing in October of '9S ••Yin-; that

     3   when h• took over a year before. which would have .been
     4   <>ctober of '94 and times prior to that, the agency wa1
     S   1ufferi09 !ro~ a SO percent error rate in ita

     6   det•r•ination of wha t firearms were r•oiatered proper ly.

     '        Be aaid on Page 19 o f the tranacript that ve 9ave

     8   the COurt, "When I first came in a year ago, our error
     9   rate vaa betveen 49 and SO percent."      Thia particular
    10   briefinq va• conducted on a ta;i. and the Q•ntl....a.n who

    11   J"ve becOIM acquainted vi.th since the trial thro~ the

    12   Preedo9 of In.foraa.tion Act bas also tried to ~t the

    13   tape, ao far has not been able to do that.      But in any
    14   event, at the very tiiae when these undou.btable documents

    15   were t>.ino produced in February '94, they were aubject
    16   to a 50 percent err or rate.

    17        Now, I don't know when knowledoe like th•t becomes
    18   reaaonable doubt as a mat t er of law, but it aeema to me

    19   that with 50 percent. you've qot an equal chance of the
    2D   Govern.ant being vron.g .   I would th.ink you're the.z-. at

    21   an error rate of 50 percent.

    22        AO&in, ve were not told that.     M a Ntter of fact,

    23   t•• tnfor-.d that the ATF tried to auppreaa th.at
    24   particular briefinq, tried to have the tran..cript a.nd
    25   the tape de•troyed.    It was not until March that they


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            ve.r• produced under the Freedom. of :lnforaation Act.   Of

       2    courae, our trial va.s loog over by the ti.a.e th.&t
       3    1nforaation vou.ld have done us any CJood.

       4         It certain.ly seems to 111e sa.ethiDQ! for th• Court to

       5    con•ider in deciding whether or not thi• c••• need• to

       6    b• retried, that ki nd of what I would coneider dynamite
       1    evidence ahould have been made •vailabl• to ua.
       8    certainly, the ATF knew about it and whether Mi•• Allen
       9    did or not I don't know.
      10         But vben I filed my letter ..... wMft 1 auppl...,nted

      11    •Y pleadino• _in tle new trial part of thi• ca•• on. Karch

      12    the 25t.h, ve ae.nt that to Ki&-& Allen by certified .ail.

      11    She received it on the 26th, and on the 26th ah• filed

       1•   part of the saae transcript by Mr. Buaey bu.t her filing

       15   left off the important pages for &099 reaaon.      Whether
       16   ah• knew that or Whether that's what the ATr oave her, I

       17   don't know but I believe her tranamiaaion quit on Paqe
       18   15 and all of the impor tant $luff ia after that.

       19        And her pleadinqs says that we 're not conceding
       20   that we bod to qive that to us but they did anyway.      So

       21   l'• not 90in; to say there's anythinQ 110n.atroua or

       22   wicked ooing on here but it cert-1.nly eppeara to ae that
       23   t.hi• de!e.ndant wa..a entitled to bettu tre•t.Mnt by hi.a

       24   Govern.ant tb.a.n he has 9otten in tbe prosecution of th.is

       2S   caae.   B11entially, I b4tlieve that cover• it, Your


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          Honor.
      2        THE OJUR'l':   All r1¢t. sir.

      3        KS. ALLEN:     Your Honor, if I can I'd like to go in
                                                                   I
      '   the order that the motions are filed juet for the record
      5   aince I auspect t his will 90 for appeal.       The tirat
      6   MOtion that the defendant filed was a lllOtion for a new

      7   trial, and he filed that moti on rioht after the Court

      8   found hie client gui lty.      I would juat like to arqu.e in

      9   t ,he firat motion, Your Honor, that counael ie cor~t

     10   tbat on the day o f the arraignment, the Jenck • aateria.l
     11   &ftd the discovery aateria1s were provided to the

     12   defendant on DeelfJllber 1st of 1995.    The di•covery

     13   aateriala included Government &xt\ibit• 1- 1. throuqh 7-5 .
     14        How, those are all the certified copiea of

     15   nonr99i1tration.       And the Court wil l recall 7- 1 went to

     16   Count 2 of the indictment; 7-2 went to Count 3 of t he
     17   indictment; 7•3 went to Count 4 of the indictment; 7-4
     18   went to Count 5 of the indictment; 7-5 went to count 6
     19   of the indictJreent.

     20        I wae not pre.s•nt at that arrai9nment.       Bob

     21   Brad•nham was present with ATP ~nt Joe hrkio.a.              The

     22   evidence vu t\II1led over by the Govern.ant.       It i• t .rue

     23   that I did aubaequently receive a pae~ et froa

     2•   Kr. IA...u.re#s attorney reqard.ing docuaent&t1on.

     25        I had previously sp<>ken to Mr. Montaque prior to


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      2   bMo filed by the Grand Jury, Mr . Mont•Q"U• dJ..d t•ll .e:

      3   that he tl&d paperwork that would cauae tbe Governaent to

      4   diall.ia• ita ca.ae .   I told Mr . Montaque that t would not
      5   be preaent at t he December 1$t arrai gnment but that I

      f   would have all of the evidence ther• for h i m.     I asked
      1   him to bring the documentation to the arraiqn.m.ent, th•t
      8   I v11 unfamiliar with the document• that he vaa
      9   deacribinQ to me over the te1ephone but that I would
     10   t.&k:e it and aend it to ay expert in o.c . .net o-t back to

     11   bi.a on. that.




     14   nO\if Defen.e Exhibit 1-8 through Defense Jtxhibit •• I

     1S   mean, Defense Exhibit 1-8 through Def•n.a• Exh.ibit \0-1 8 .
     16   I received those materials probably in mid December
     17   ri9ht before 01.ri&tmas.

     18



     20   and co.pare it vith ell of the certificate• that he had

     21   previously provided as listed in 7· 1 thrOUQh 7- 5 and to
     22   let M lcnov if that chanqed h.is opinion.

     23         It vas in early January ri9bt after Nev Ye•r• that
     24   I spoke v ith Mr. SChaible and ray question io hia vas

     25   aolely, doe• this chanqe your opinion.        Hi• reapon8e to


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            ~   was no.   I said thank you ve ry much, called

        2   Mr . Montague and told Mr. Montague that it did not

        3   change the opinion of our expert and we were nqt

        4   dismissing the indictment, but I did say I was not
        S   trying the case on f i le.   I had no further discu$sion$

        6   with Mr. Schaible regardin9 why it did not cbaJl9e his

        7   opinion.

        8         If we look at -- if t he Court looks at the

        9   defendant 's first· motion for a new trial, I think the

       10   case law that they've cit ed and the case law t hat t he

       11   Government's filed shows that on the first motion a1one,
       12   which t he defendant has t i tled motion for a new t rial,

       13   should be denied .

       14         The Court is well aware that the defendant has to

       15   show that the evidence that he is seeking is f avorable

       16   to him, that it's material, and that the prosecution

       17   failed to disclose that .    Based on the evidence

       18   presented before the Cour t right now, all that the Court

       19   ha# is the fact that docull'Gnts were exchanoed by the

       20   parties and the Gove rnment decided based upon

       21   Mr . schaibl e's opinion that the i ndictment would not be

       22   dismissed .

       23         The case law that the Government is relying upon,

       24   number one, is that the Government f eel s t hat the

       25   defendant can't meet its burden and i s relying on the


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                                                                                15

           fir•t .ation to $bow t..bat ~ .-vtdeoee wa• f avor&ble.

      2    There's been no evidence presented by the defendant tli'at.

      l    abowa there was any discussion by Kt'. SC:h&iblA or_ay•e1f

      4    r941ardinQ any favorable evidence that the defendant had

      S    requeated.
      6         A• I'm profCerinQ to the Court aa en officer ot
      7    this Court, my contact with Mr. Schaible wae ve ry short.
      8    t wanted to know if it cha ngied his opinion.       H•'• "the
      9    •KPtrt.   He s aid no.   I didn't need to know at th.at t 1 -

      10   why it didn't change his opinion.

      11        Additionally, the defendant au.at abow that it•
      12   . . terial, that beinQ" the evidence that h•'• requested .

      13   And the Pourtb Circuit bas defined material u          beiDO a
      14   reasonable probability that had the evidence been
      1S   di•cloaed to t he defense, the result of the proceeding
      16   would~ differ ent.       That 's a Kelly decision, Fourth
      11   Circuit 1994 decision, which is at 35 F.3d 929.
      18        Additionally, Your Honor, the def•ndant not only

      19   ha• to ehow that its material but that it'I related to
      20   qu.ilt or innocence, and I don't thi.n>c: that the defeod.ant

      21   bu done that.     There's three cues that the Government
      22   cited in it• brief &11 of vhlch deal with nc:u.lpatory

      23   . . tter• veraus inculpatory ... tte.ra.
      2•        TO 'be qu.i te candid with you, 1 thou9ht that . the

      2S   doculMnte were a forgery or false.         Mr. SC.haible d.id. not


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                                                                                    16

           tell •     that.       1 asked someone vbo'• been vi th the ATF

       2   for 2S years who's in a high l eaderehip po•ition within

       3   the ATF and very well respected within the bure•u, he

       4   told ,.. it didn' t change his opinion.            Th•t'• all I
       5   nettd-4 to know.        I cited the Adverse caae

       6          THE COURT :      Wel l, t ell me -- 1 don't have the

       7   e xhibit• ri9ht h•re bef ore -. .           What v1a it that

       8   Mr. Montaque produced that you sent to Mr.             S~haibla ,

       9   juet ao I won't be off on the wron9 fork in th• road?

      10          NS. Al.Lltlf:    It was Defense £xhibit 1 -- Defense

      11   l!xhlbit 1-• --

      12          THI <XXJRT:      Young lady, do you have the e.xhibita?
      13          KA.DAN CLERK:      No, sir .    Did they not qo \lf'it.h you to
      14   the file?      I'll get theo.

      15          TH!! COURT:      we didn't have any e.xhibita, did we?
      16          LAW CLBRK:       we did at one point.       I don't know.
      17          THB COURT:       Well , t e ll rae was it Exhibit 18, is
      18   that

      19          HS. ALLEN:       There's a vbole bunch of exhibit.a and
      20   they',.. l.iated Defense Exhibit 1, Defenae ~xhibit 2,
      21   Oefenae bhiblt 3, Defense EXh-lbit 4, Defense bhibit 5,.

      22   Def•n•• EX.bl.bit 6, O.fense Exhibit 7. Defenae Exhibit 8,
      23   and then the additional documents ~ere Defenae ltxbibits
      2•   10 throu.gh 18 .

      25          MADAM CLERIC :     I have the clerk checkinQ on it,

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                                                                                 17



     2               NS. ALLEN:    Solle of those dOC\119entS b.a_ve vo.id

     3    written on th...          SOiie of them. are .. _

     •               THI COURT:    I rea.ember n ow what you.'r• telk iog             '


     s    about.
     6               MS. ALLEN:    Not all of them had void written on

     7    th9111;.     8ome of them had void written on th••· eome of

     8    them AQ•nt -- I mean, Hr. Sc haible testified that --

     9               TH:& OOURT:   The se were a.11 of the trenalera to

     10   Mr.   O'OU.iM t.hen it bee.a.Me unnecessary fo·r Mr. Lea•ure'•

     11   purpoaea and we.re aa.rked vo.id •croas the froat and the



     13   they W'tlre aa.rked void, two, and, thrM, did they ever



     15              HS. ALLEN:    '?bat's eor--r~t. Your Honor.

     16              TH! COURT:    What else?
     17              KS. AL~2N:    That ' s all t hat I forwarded to



     19              THB OJURT:    All right .   Go ahead.
                     MS. ALLD:     And vbat   the cour-t &lao nMda to know
     21   ia that all ot those doewtients dealt with all of the

     22   count• ot.ber than Count 1 of the indictM:at.              Your
     23   Honor, t.be Gove.n.ent•s position is atill tbat a.ll of

     24   tho•• exhibit•, Defens• Exhibits 1 throu;n a and Defense
     25   Exhibit• 10 through 18 are not e xculpatory . . ttera.             I


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             think it was an attempt t o pe rpetr ate a fraud on tb•
         2   Court, to be qui t e candid wi th you .

         3          And in the thre e cases t hat      I cited in my br~ef,

        4    the Adver se case , the .Ignes v       Woshinqton e&se and the

         5   Barker ca se t e lls t he Court that the Government is under

        6    no duty to either disclose all they know about their

         7   c ase or disclose the police investi9ation tha t's been
         8   done on the case o r to disclose anythin9 that's not

         9   exculpatory and that's what we did .

       10           There was one case of Jgnea v         Wa~hinqton     case a

        11   Seventh Ci rcuit case that dealt with firearms and t he

        12   c ite for that i s 15 F.3d, 671.        It was denied at 114
        13   Supr eme Court 2753 and t he Court said that there was no

        14   g r eat violat i on i n fai l ing t o discl ose the fi r earms work

        15   sheet because the evide nce wa sn' t exculp atory.

        16          That'$ one of the only three cases that deal with
        17   f i r earms b u t , agai n, we d i dn' t thi nk the evid e nce that

        18   the defense was providino to us wa$ truthful •videnc•;
        19   we thou9ht it was an attempt to perpetrate a fraud on
        20   the Court.     For t h at r eason on t he f i rst d e f enda nt ' s

        21   t110tion for a new trial, we 'd ask the Cou r t        to deny tha t

        22   fl)Qtion .

        23          The defendant then tiled a zecond moti o n to d ismiss

        24   only Count 6 of the indictment, and i n that c a se, Your

        25   Ho nor , t he d e fendant's all e g i ng bas i cal l y t h at since the


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            word •t1reara• vu oot uS4d in th• count •• oppoa.d to
       2    •ve•pcm• that that count should be disaia-.d .        "n\e

       3    Government'• relying on Federal Rule of CriAinal
       4    Procedure 7-C-1 that tells us what the indiet ...nt shall

       5    a tat•.
       6          The Fourth Circuit law tells u• that you'r• to look

       7    at th• • lements of the offen&-e aa it'• l1et4K1 in the
       8    atatute.   The Court is to look to ••• wheth•r or not the
       9    defendant can prepare a defense to th• charo• and

       10   wbetber or not that defendant u         protected -oa.inst
       11   double jeopardy if, in fact, that . . . . defendant is

       12   aubaequently charged and that's th• O&niela cue. Pourtl

       13   Circuit 1992 c ase.
       1•         If you 100)( at COU.ot 6 ot the indictllilent, it
       15   ch•l'9•• that the defendant knowi ngly and unlawfully
       16   poaaoa1ed a weapon, number one, and, nurab4r two, that it

       17   waa not reoistered .    Ti tle 26 United Stat•• Code Section

       18   5845-8 defines weapon and Title 18 USC Code Section
       19   92183 defines fireara.s .    And if you look at both of

       20   tbo•• definitions, definition number one 1• 11•ted in

       21   Count 6 •nd number t wo very siailar .       In Title 26 United

       22   Stat•• Code 5861-D aakes it unlawful to        Po••••• a
       23   fi.l'ee.na vhich i.s not registered .

       24         It you r;Nlled the e leJDent1 out of Count 6 and if

       2S   you look at t he statute, the penal •tatute not the

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            <Mfinitiona.1 statute but the penal atatute for which

        2   h•'• chuoed. you. will ••• tb&t Count 6 ia in comc:ill&nc:•
        J   with th• penal statute in the Freed c•••· whicb lists
        4   the three elements that the Government haa to prove
        5   beyond a reasonable doubt and, that ia, poa1eaaion, that

        6   they are firearms, and that they were not re9i1tered.
        7        The defendant also says that Count 6        do•• not use
        8   th• word ••t1rearm'" but inste~d usea th• "Word "ve.apon."

        9   11\e Govern.ant's p0sition would be weapon and firear•
       10   are words of aiailar import.         Weapon ia apecific e1110U9h
       11   in the count to allow the ~fand-.nt to know what

       12   apecific fire.ara he was cba.r9ed with      po•••••inQ &Dd not
       13   having properly registered to hi•, that CCu.nt 6 allows

       14   him to contest that charQ• properly, and that count 6

       1S   will prevent him from being charoed with poaaeaainq and
       16   not hevinQ re9istered that same weapon tha t'• char9ed in
       17   Count 6 thereby protecting him fro• double jeopardy.
       18         In Count 6 the Government ref•r• to t ,h e definition
       19   ot both ..weapon"' and "'fir•a.r.. '' Aqain, I a&1d t ,b.e'
      20    definitions   e.r• basieaJ.ly   t~   ..... and theo the

      21    Government COWld SC8e cue lav -- S'upreae Court caae law
      22    and Four-th Circuit case law that saya, plua, if the

      23    defendant raises t~ issue to . di••l•• the count at the
      24    return ot the verdict that thie court •• vell •• the

      25    Fourth Circuit will look a t the chall•J\Q• to the count


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                                                                            21

          under • llOre libera.l standard. and that•• th• rool•

     2    de-c1aion vhich is at 901, P.2d 23, 1990 deci•ion where a
     3    cert v•• denied and the Court found the objection va•
          made at the return ot the verdict.        Any review tor               '
     5    alle9ed defect was to be r eviewed if at all under a
     6    liberal atendard and there's the Sutton c••• and t h•
     7    Hooker caee here .
     8            In conclusion, Your Honor, it's vary clear t hat
     9    count 6 de1crib.cl a very specific weapon whether it's • ·


    11    vorda that are very sia.ilar a.s to iapor-t u       tbe Court

    12    a.td.    'fl\• ve:apon in count. 6 vas se.iz.ed pu.raua.nt to a
    1J    l .a wful a earch varre.nt and chat wa..s Governi:;e_nt Exhibit

    14    6-1 duri nq the tria.1, the actua.l weapon.       GoverNllient

    15    Exhibit 9 - 1 was the actual s•arch warrant.

    16            And Mr. Scha ible testified that the weap<>n vaa not

    17    properly re9istered to the defendant on February 8th,
     18    1995, whlch vas done by the certificate 7 · 4 and then in

     19   Government Exhibit 8-1 which was the ATP report that we

     20    lntrod~c•d   •ayinq that the weapon functioned ••



     22   uk the court to deny the defendant's mtion. to d.ia:a.i.ss
     23   COwit 6 of the indictat.nt fo.r the reason.a l 've ju.t

     24    •tated and the law.

     25           THE OOORT:   Thank you, Miss Al1en. ·


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                 Hr. Hont•que, do yov want to --

        2        KS. ALI.DI:     And then, Your Honor, I'd 1-ike to

        3   addreaa th• Brady isaue bued on --

        4        THE COURT:      .....t?

        5

        6   add.reaa.

        1

        a        MS. ALLEN:      Yea, a ir.    The laat .otion that
        9   Mr . Hiont•9U• filed waa hi• auppleHntal aotion for a nev

       10   trial.      W'hat l'd 11Jt. to do for that, Your Honor, is to

       11   put on evidence r199ardinq that for the record to protect

       12   the record and for that I'll b4 relying on Special Aqent
       13   SC:haible.     And the iaaue will be whether or not the
       14   pt.Cket ot ••t•rial which J aent to the court end sent to

       15   Mr . Hontaou• •• aoon •• our oftice received i t i s; in
       16   fact, Brady material and whether or not --
       17        THE COURT:      Well, that'• a choice for m.e to make .
       18        MS. ALLEN:      That'• 1 choice f or you to make, Your
       19   Honor, but l would like -· J know the Court 's oone

       20   through it b\l.t I don"t think t .be record 1-a clear a.s to

       21   what the doc~menta are and what iq;>act, if •ny, it would
       22   have had on Hr. Schaible'• teatt..ony regarding the

       23   ~a,pon.a    that ~r• befor. the Court.
       24        THE COUltT:     Well, brino h.1a on.
       25        MS. ALLEM:      Okay.     Thank you, Your Honor.


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                                                                        23

               GABY :sruaierg, a Witn•••· called on behalf of the

      2   Govertu1111tnt, bevi"9 be•n firat duly sworn, was •xa.ained
      3   and teatified •• follow•:


      S   BY MS. ALLEN:

      6        Q.    Please atate your full n. . . for the record.
      7        A.    Gary Schaible.

      8        Q.    And are you tM .... Gary Schaible that     ·

      9   testified before J u • KacXenzie duri.nQ Kr. Leasure•s

     10   tria.17

     11        1\.   Yee, I an.

               THE OOURT:     How do you apell Schaible, I don't have

     13   i t rioht h•~• in front' of ...1



     15        THE COURT:     00 ahead.

     16   SY HS. ALLEN:

     17        Q.    And, Kr. SChaible, I'm 9oin9 to ask the court

     18   security officer to 9ive you what I've marked as
     19   GovorntMnt Exhibit 10-1 through 10- 8 and also a copy for
     20   the Court and a copy of th••• documents have already

     21   been provided to Mr. Montague for Kr. Leaaure•s benefit .

     22         Mr. Schaible, if you vould, I'd ••k you to first

     23   look at CovernM:nt Ex.hi.bit l0- 1 and J believe that's

     24   entitled The Role Call Training.       Do you have that

     25   docwnent tMre?


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                                                                                 24

                   A.      Ye•, I do.

                   Q.      Okay.    And are- you familiar vith that document?

        J          A.      Yea, I   &a.


        •          Q,      And b•ve you seen it before?

        5          A.      Yea, I have.

        6          Q.      And have you read it from top to botto~?
        7          A.      Y••• I have .

        8          o.      And if you could now look at Government !:xhibit

        9   10 -2 and I believe that's entitled

       10          THI COURT:        Well, let's label that.    Ia 10-1 the

       11   Busey ......

                   K$. ALLEN:        Th•t's eorrect, th• Role Call Tra.i.ni.oq


       .
       13   ot Mr. Buaey.
                   TRI COURT:        Busey's statement.   All riqbt.   Go



       16          MS. ALLEN:        That was 10-1, Your "onor, the next one
       17   11 Government £x.hibit

       18          TH£ COURT:        All ri9ht.   We've 9ot that.   Next.

       19   BY KS. Al.LEN:

       20          Q.      10-2.    And, Mr. Schaible, I belt.e ve that i•

       21   entit.l ed Ke.ora.ndWI. dated ~r lat, 1995.
       22          A.      10-2 is the statement.

       23

       24   the h.&ndwritten &-worn statement of TOl'll Buaey dated

       25   November 30th, 1995; is that correct?


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                                                                              2S



     2         Q.   Okay.     And 1£ you could look at Goverf'Ul1.4t.nt
     3   ExhJJ>i t 10- 3.
     4         A.   I have it.

     s         Q.   And I believe that you have there a memorandum

     6   dated December 1st, 1995, and a memorandum dated

     7   Oecorober 11th, 1995, and an incident report concerning
     8   the ATF internal investigation of Mr . Busey's statement;

     9   is that correct?

    10
    11         Q. . And if you can look at Government E>Ulibit 10-4 ,

    12   I believ• that tho•• arc minute$ of a moetin9 hold on
    13   November 9 through 10, 1994, to address          fir~arm$   and

    14   explosives date of inte9ration ; is that correct?
    lS         A.   Ye.s.

    16         Q.   And i f you could look at Government Exhibit

    17   10 -5, I believe that's a meDIO dated February 9th, 1996,
    18   and supporting material constituting the report of the

    19   recent audit of the NPA data base; is that correct?

    20         A.   Yes, it is.

    21         Q.   And if you can look at Government Exhibit 10-6,

    22   I believe that's a memo dated April 30th, 1991,

    23   concerning the accuracy of the NFRTR; is that correct?

    24
    25         Q.   And Goverrunent Exhibit 10-1 is a memo -- a


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                                                                          Exhibit A, Pg. 617
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                 correaponde:n.c:e, excu•• ... between Senator• McClure,




            4    accuracy of tM H.P'RTR, correct?

            5           A.    Okay.    The firat letter ia OCtober 15th, 1979,

            6    actua1-ly.

            7           Q.    Okay.

                        A.    And    there'• -- I can't read the date on the
             9   last one, it aaya January 1910 but I can't read the


            ,,          Q.    Okay.    And then Government Exhibit 10-8, the

            12   last exhibit that'• Lhere, it'• a two-pa9e affidavit ot
            13   Gary Schaible dated February 13th, 1996.

            14          A.    Correct, yea.

            15          Q.    And, Hr. SC:haible, ia it fair that you have
            16   familia.rized youraelf with the total contents of
            17   Government Exhibi t • 10 -1 throuoh 10-8?

            18          A.    Yea.

            19          Q.    The firat queation J have for you, air , is this
            20   the tirat time in preparation for this hearing today

            21   that you have reviewed thoae materials that are before
            22   you?

            23          A.    No.

            24          Q.    Wh•n did you firat r•viev th&t packet that's in
            2S   total there before you. wh•t .c:>nth and year?


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                                                                      Exhibit A, Pg. 618
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               A.   It v•• in late February 1996 for the totel

     2    packet.

     3         Q.   And do you know the tacts -.nd circu.•tances ••

     4    to how you got possession of that packet o•n•r•lly?

     s         A.   Ye1, 1 received a copy of what the U.S.

     6    Attorney•'• Office sent out, I mean, Ju•tice ••nt ~ut to
     7    t ho u.s. ~tto~n•y '$ Office.

     8         Q.   Okay.   And is it fair to say that that packet
     9    of inforaation specifically Governa.nt l:&hibit 10- 2
     10   thr0U9h 10·8, vas the re$\llt of an int•rn.1 audit that

     11   waa doM after Mr. Busey aade his etat . . .ntl which are

     12   in Oovernmient 1Xh1b1t 10- 1?

     13

               Q.   Ia it also fair to say, sir, baaed upon your

     15   knowledQ• of the exhibits here that Government £xl\ibit

     16   10·1 throu9h 10-8 once they were compiled by the

     17   internal audit were subs•quently sent by DOJ to the
     18   re1pective U.S. Attorney's Offices acroaa the country?

     19        A. Y••·
     20        o. And 1• it Also fair to say, air, that in late
     21   February or early Karch one• l r.e•ived this packet. I

     22   called you and asked you if you knew about tb• packet?

     23        A.   Ye•. you did.



     25   obviously, the Department of Justice knew about all of


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                                                              Exhibit A, Pg. 619
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           this aa.terial, Kr. Schaible.

      2         THE wtTNESS:      At what ti... eir?

       3        THI CCIORT:     Well, froca -- the letter of the ¥_ole

      4                                                             '
           Call Tr-aini.oo Stat. . .nt va• 10- 2 vaa • atat . . .nt 90tten

       5   from Mr. BUaey oo O.Cearber the lat, 1995, ao they knew

       6   a.bOut it at tbat tlM, the probl- h&d a.rt.en by virtue

       7   of b.is atatea.nt.

                TK£ WITNESS:      Yea.

       9        TU OOORT:       All ri9ht.

      10   BY MS. ALLEN:

      11        Q.    Aqent Schaible, you are a part of this peek.et
      12   that's be.en aent out acroaa the country in Goverrunent
      13   Exhibit 10- 8.     Why were you a1ked to submit that

      14   affidavit and vhat , in eaaence, vae the gist of your

      15   affidavit?

      16        A.    I waa aaked to 1ubmit it because I was
      17   basically the aenior peraon in the NFA Branch, had been
      18   around the lonoeat, and waa more fa•iliar with the

      19   proced:una and op41rationa of the braneh.       The gist of it

      20   was that what Mr. Buaey had aaid waa , you know,

      21   exa99eratinq th• eituation, you know, that the problem..s

      22   that he ••id were there weren't th.ere .
      23        Q.    And who wa• i t that aaked you to review th•••


      2S         A.   our office ol ch~•f counsel.

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                                                                                    29

                      Q.   So would it be your te•tia::iiny th•t that packet

      2     •• bu been provided to the Court and to Hr . Montague

     3     vu not in existence when you testilied durino

     4     Mr. IAaaure'a trial ?

     5                A.   No, it wasn't.

     6                THE COURT:     Say that    a9~in.    Did you aay that this

     7     Jll,lterial wasn't av&i.lable before Mr. Leaaure'• trial
     8     which waa in --
     9                NS. ALLEN:     .January.

    10                THC COURT:     January 18th and 19th bu.t the



    12                THI WITNESS:     Well, yeah.        Th• packet -- the total

     13     packet vaan't in existence.             There "'9re bita and pi.cea.

     14     Y••· but it hadn't been put toqether.               They were atlll

    15      lookino at -- seeing what exactly the imPort of this
    16      ..,,••.

     17     BY MS. ALLl.N:

     18               Q.   NO'tlil', when you testified during the trial, your

     19     teati•ony dealt with Counts 2 through 6 of the


    21                A.   Yea.

    22                Q.   And when you testified rega.rdiDO" Count       2 of tM



     24     IXhJ.bit 7-1 which is the certificate ot nonregiatration

     25     re4;1arding the weapons, is that true?


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          •7-740 91 - 1                                                      Exhibit A, Pg. 621
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                                                                              30

                 A.   Yes.

        2        o.   Is there anythin9 based on your review of the
        3   evidence that's in Government Exhibit 10-1        thr ou9~ 10-8

        4   that would cause you to change your testimony r egarding

        S   the fact that the silencers liste d in Count 2 were not

        6   properly registered to Mr. Leasure?
        7        A.   No, it wouldn't change ray opinion .

        8        Q.   l s there any -- I believe during the t r ial you
                                                    0

        9   also testified rec;ardinq count 3 of the indictmen t in

       10   Government Exhibit 7-2 the certificate that Qoes with
       11   that; i# that correct?
       12        A.   Yes.

       13        o: Is there anything i n your review of Government
       14   Exhibit 10-1 through 10-8 that would cause you to change

       15   enythin9 that you testified to durin9 Mr. Leasure's
       16   trial rieqardinq count 3 in Govel'f'UM;nt Exhibit 7- 2?

       17        A.   No.

       18        Q.   And, lastly, Count 6 of t he i ndictment and the

       19   corr esponding Government Exhibit 7-5, i s the r e anything

       20   i n your review of the exhibit$ in the 10 series that

       21   would ehano• your testimony re9arding Count 6 of
       22   Government Exhibit 7-5?

       23        A.   No .

       24        Q.   Is there anything that you have seen either in

       25   Mr. Busey's statements or in Government Exhibit 10- 1

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                                                                  Exhibit A, Pg. 622
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       2    object.

       3         TKB COURT:     Go on and ask       the queation• prope'r.
       .f   BY MS . ALLEN:

       5         Q.    Mr. Schaible, i .s there anything in the
       6    Government's 10-1 through 10- 8 series that you would
       7    con•ider material, important information that you needed
       8    in order to do your certificates that were in the
       9    Ooverrwent 7 series?

      10         A.    No.

      11         Q.    All right. .   Mr .   Schaible, I'• nov ooinc, to ask

      12    you. to look at Government Exhibit 11-1 which I'• hand.in;

      13    to th• court security officer.

      14         TK! COURT:      What is 11-1 in view of th• !act that I

      15    mu•t have left that packet on my desk?

      16    BY MS. ALL!N:

      17         Q.    I s that entitled telephone records o!

      18    Hr. Leaaure, Sprint Services Account re9arding activity
      19    takin9 place on March 16, 1993 ?

      20          A.   Yes, well, it says OJW Advantage Quality

      21    Account, vhicb I guess is what I think you're saying

      22    tb•t:•·
      23          O.   Okay.    And have you aeen th•t docw:Nnt before?

      24          A.   Yes, I have.

      25          Q.   And I t..lieve that counsel ref•rred to the fact ·


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                                                                             32



        2   there are two faxed t i • • totaliDQ 24 ainutea where
        3   doeu.ent.a were aent to the BATP; ia that correct?

        •        A.    Yea, it ia •

        5        o.    Okay.     And ba.aed on that doc:\ment t.he.re, is

        6   t.here anythiDQ that that doc:\me.nt tells you that would

        7   cause you to chanqe any of your te•ti.mlony reqarding

        a   Count• 2, 3, or 6 of th.ti ind.ict.aent?

        9

       10        o.    Doea that docW111ent there tell you what
       11   dOC\.\91enta were faxed if at all to the BATF?

       12        A.    No, it doe1n't.

       13        MS. ALLEN:       Your Honor, I'd move for the admission
       1C   of Goverrunent Exhibit• 10·1 throu9h 10-8 and Government
       15   Exhibit 11 •1,

       16        THE COURT:       To be received.
       17        HS. ALL&N:       Your Honor, that'• ell the questions I
       1&   have r.gardinQ thia 1aaue.
       19        THE COURT:       Croa1-•x...,.ine.
       20                           CROSS·EXAMINATIOM
       21   BY MR. MONTAGUE:

       22        Q.    l ••id Buaey, hov doea the aaan pronounce his
       23   n&M?      I hate people wbo aiaprooowice naaea.       I've had
       24   aine ai.a pronounced all •Y life, you prot>.bly have too.

       25        A.    Yea.     It~.    BU••Y·


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                                                                      Exhibit A, Pg. 624
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       1       Q.    Buaey with a 10119 O, all r19ht, thank yo~.

      2    Now, at the tt.e of this extraordi.nary Role Call
      3    Stat... nt by M:r. Busey, he was then tbe chief of the NPA

      •    Branch?

       s        A.   Yea, he was.

       6        Q.   He was the t op man i n that part ot your

       7   or;anisation?

       8        A.   Yea.

       9        THE COURT:       Chief of vbat, you aay?

      10        'nlZ WJTtl&SS:     The MFA Branch, Hatio~l Pirearas

      11   Branch.

                Tffg COURT:      The National -- NAY --

                THE WlTKESS:       KPA.
                TRI COURT':      Excuse me, National Fireanaa Branch,

      is   what ia that?

      16        THE WITNESS:        We i r• the ones who maintain Lhe

      17   re9iatration r e cor ds and transfer s.

      18        THE COURT:        tte was the chief of the National

      19   Fireanu

      20        Tim WITHE.SS:       Branch, yes, sir.

      21        THE COURT:        Registration branch.

      22        'ftlZ VlTtfESS:     Yes.

                THB OOORT:        Go ahead.

      24   BY Nit. MONTAGUE:

      25        Q.   And after he aade that state... nt, wha t ha~ned


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                                                                  Exhibit A, Pg. 625
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                                                                            34
            to Kr. Bu.aey'?     Did he 9et fired or tranaferred.?

                 A.    He requested reassiqnment to anot.he.r po•ition

        3   in Jan>Ury.

        •        Q.    w... that a coerced requeat •• tar •• you know,
        5   Mr. Schaible?
        6        A.    No. he w•nt down a .nd '9.aked tor it or I should

        7   ••.Y up.
        8        Q.    Well. there was considerable bullaba.loo arou.:nd
        9   the agency, va.s there not ... •

       10        A.    y._._
       II        Q.    -- h.aviag the chief in cha.roe of t.M

       12   reqiatration of fi..rearas .say1.nq there vu • 50 percent


                 A.    Yes.
       IS        o.    You say that that testimony i• not corr ect ?

       16        A.    Well, the so percent error rate I eaid th~t we

       17   have no idea how it was determi ned.
       18        o.    weren 't you working on it?
       19        A.    No.
       20        Q.    You were the &.enior man in. th• bruc:b &nd you
       2t   weren't workinq on it?



                 Q.    Did you check on how it vu arrived at?         Did

       24   you ta.lk. to the people who were involved?

                 A.    It was done at the requeat of our former

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                                                                    Exhibit A, Pg. 626
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                                                                            35
            division chi ef.       He said that he did not know exactly

       2    what was done to come up with this although he had the

       3    figu~es     himself.

       •           Q.    But whether it was right o r wronq, you

       5    instituted a number of changes in the way you did that

       6    part of your busine ss, d idn't you?

       7           A.    Yes.

       8           Q.    That also appears in your affidavit .

       9           A.    Yes.

      10           Q.    Now, when Ms . All en sent me he r copy of
      11    Mr. Busey's statement , the Role Call transcript, do you
      12    ha~e   any idea why she only sent the first 15 pages

      13    i nstead o f the whole 22 pages?

      14           A.    No, I don't.

      15           Q.    Did you have anything to do with f urnishing her

       16   with that transcript?

       17          A.    No, sir, I d i dn't.
       18          Q.    Do you    know who did?

       19          A.    came out of main Justice, that's my
      20    understanding.
      21           Q.    Came out of the justice department?

      22           A.    Yes.

      23           Q.    I'm not sure about the organic structur.; do

       24   YO\l have people 1n the Jo.S tice oopart-n:.ent assi gned to

       25   the ATF as your l awyers or do you have your own lawyers?


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                                                                             36

                 A. · Ve live our own lawyers.

       2        Q.    But they interact wit.h the Juatice Department?
       3        A.    Ye.a, air.

       •        Q.    Nov, all of these •• when waa Mr. Bu••Y'•



       6        A.    Janua.ry of '96 .

       7        Q.    And he had made this statement aONwher·• around

       8   the end of October of '95, somethin9 like that, middle

       9   of October?
      10        A.    1 believe it was -- I t.h.i.nk,   Oct~r    18th. l'•

      11   not quite au.re of tM uect dat.e , certainly would have
      12   bffn--Octol>ar.



      ..
      13



      15
                Q.

                A.

           ot ATr.
                      Where did he qo?

                      8• is a specialist in the Win• and Beer Branch



      16        TH~ COUR~:       It says that the Role Call Training

      17   Sea11ona were conducted by BU$•Y· Chief ot the National
      18   Pirearlt.8 Act Branch in the period between October 3, '95

      19   to October 10, '95 at BATP headquarter• and recorded and
      20   tra.nanJ.tted throuqb headquarters on cl?a-4 circuit

      21   televiaion.       That letter is correct, ian't it,

      22   Kr. khai.blo?
      23        THE WITN£SS:       That's correct.   There wa• only one

      24   ••••ion.

      25        TH! COURT:      Well. sonet ifl'l4; tatween October 3 and


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                                                                       J7



     2    90 &hood.

     3    BY KR,, MONTAGUE:


     •         Q.     waa any intennodiate administrative •otion
     S    taken with regard to was Mr. Busey put on •dlniniatrative
     6    l•ave or anything like that?

     7         A.     No, •ir, not that I know of.

     8         Q.     And the closed circuit televieion t h• Judqe

     9    referr.cl to, did that result in a V.;R tape of th•
     10   affair, Mr. Buaey's stateaent?

     11        A.     The tape was beinq done 1-r-re;ardl••• of its

     12   tranaaiaa1on t.hrouqhout the build..inq.

     13        o.     That there was a t•pe?

               A.     Yea.

     15        o.     But also a closed circuit tran•miaaion within
     16   your offices?
               A.     Yea.
     18        o.     Okay.    And then were you aware of •• .,.11,
     19   .xcu•• ...     Let .e ask a different question.     After
     20   Mr . eu1ey left, was be replaced?       ls there nov a new
     21   chief of the KPA Division?

               A.     Yea, there is.

               Q.     MFA Branch.

     24         THE COURT:      That's you, isn't 1t?

     25         THE WITNESS:       No .

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              BY Kit. MONl'AGOE:

          2        o.   Who is it?

          3        A.   A lady n&raed Nerid& Levine.

          •        Q.   Ia •h• son.one who ha$ been with the ATF f or a
          s   10119 tiJM?
          6        A.   I bctli•v• 1he started in '85 -- '86 eom.ewhe re

          '
          8
              a.round there.
                   Q.   Okay .     Now, your testimony 1.n re•pon.se to Kiss

          9   Allen ju.st oow wu      that these exhibit• 10·1 throUQh 10-8
         10   didn't u.ist at tbe tiae of tbU tria,l ?

         11        A.   No, i t va.s that the packet -- the utire packet:

         12

         13        Q.   What entire paeket?

         14        MS. ALLEN:      Your Honor, 1 t ,hink couneel ia
         15   miaatatinc;1 the e vidence.    I as ked him whetbe..r or not the
         16   packet of material existed at the time of trial since
         17   there'• been an a l l ega t i on t hat the Government and
         18   Mr. Schaible knew about a l l of this during the trial .

         19        THI CXlURT:     The statement Mr. Busey . .de on
         20   December 1st, 1995, that was cert,a inly in ez.iatenc:e.

         21        MS. ALL£N:       In exis tence,   Your Honor, but 1 think

         22   the! all99ation wu that we knew th&t it wu there duri..Dq

     I   23

         2t
              tbe tri.al and we withheld favorable evic.t.nce and that
              v aa not done.

         25        HR. Jr«>NTAGUE :    I didn't make that ell99etion


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                                                                            39

           bec:auae J have no way of knowinO._

                 TKZ COURT:        You would want me to u•umie that,

      3    wouldn't you, Mr . Montague?

      •          MR. MONTAGUE:        Well, t eertai.nly believe it ' •
      S    within the breast of th• Goverruoent an4 I realize thot's

      6    o very laroe breast but i t ' s the Justice Department and

      7    th•
                 THE COURT:        Well, l et's move on.
                                                                      .,
      8
      9    BY MR. MONT AGUE :

      10         Q.    Nov   in fact. Kr. schaible, there wa• a atrono

      11   effort within the ATP to cover up this whole affair, was

      12   tbere not?

      13         A.    Mo.

                 Q.    There was no effort to cover up thia affair?

      15         A.    Ho.

      16         Q.    When was the statement by Mr . Buaey made

      11   public?

      18         A.    I believe in February .

      19         Q.    ~nd of      February or early March, rioht?

      20         A.    Hot quite sure on that .

      21         Q.    But. five month.$ after the event?

      22         A.    Uh·h.,l>.

      23         Q.    If thet was not the resul.t of a cover up, what

      24   waa it a result of?

      25          A.   Preedom of Information Act requaat.


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                                                                           40
                  Q.   ot..y.   So tbe .-g.acy did ooUUJ:wg t o put this

         2   thJ.09 out voluntarily; it had to be taken away froD. you
         3   by an rot req\lest?

         4        A.   Yea.

         s        o.   And then all of this other atuff, yoi.&r

         6   affidavit, and all of these things about t ,h e cbanqes

         7   that have been ma.de since th•n ware dona after that,
         a   ware they not?


        10        o.   So in a.n.swer to the Judge'• question., did this

        11   stuff u:iat at the t.i.-e of trial, ob..-iCNaly it

        12   potentially all e.x1$ted7
        13        A.   SOCM of it .

                  Q.   But si;;iply va.s not beinq put t09atbar because


        16   out publicly.

        "
        18
                  A.

                  Q.
                       Certainly, some of it exi.atad .

                       What is the policy of the ATP regard.in;

        19   atat..,.nta by the top officials?
        20        KS. AU.IN:      Your Honor, l'• golnv t o object bued
       21    on rele-vanee.     I think the focus of thie bearinq should

       22    be whether or not the.re's any Brady utarial that if

       23    released. during the trial would tend to aat&blisb that

       24    Hr. Leasure is quilty or innocent and nov we'r• puttinq
        25   BATP on trial .


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                  THE COURT:      I think it qoes further than that. not

       2    wbeth•r he wou.1-d be found quilty or ~nnocent but whether

       3    th4U'•'• a.n obligation for that aateriel to have been
       4    evailable to defense counsel to try to convince aie that

       S    BATP were rotten record.keepers; I think that'• the issue
       6    not hie quilt.       Anyway, your ob,ection i• overruled.

       7    Your exception is in the record.        Lot'• move on.
       8    BY MR. HOlftAQJE:

       9          Q.    Let's drop down to the 2xhi.bit that I

       10   •u.t:.itt..S.    I th.ink it 's Government 11 · 1 which ia the

       11   telephone record of Mr. Leasure'• Saluda office.          The

       12   record itself shows that the phone number 1U-ed for b.is

       13   fax~ . .ehina obviously     is the phone nwaber of hie fax

       14   . .chine.       Ia the phone number for your fax raachtne

       1s   correct?
       16         A.    Yea.

       17         Q.    20 2 number?

       18          A.   (Witness nods head.)

       19         o.    Okay.     So would you aor•• with ~ that when a

       20   phone bill i• produced that shows a completed fax

       21   tranaaieeion, that faxes actually have arrived et their

       22   ct.atinat1on?

       23

       24         Q.    So the faxes got to your office and no one

       2S   ~nov•   what happened after that?

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                                                                                  •2
                   A.    J wouldn't say that.      C.rta.i.nly fax•• "9re

      2    ••nt, what they vere I can't kn0\11.

      3            Q.    Well, we can't prove what they wr. either but
      4    it atanda to reason they're what we said they were.              But

      S    whether t hey were or not, they dis~ppeared into the SO

      6    perc•nt error plaque of BATF's record.keepino at that
      7    ti••·        And the SO percent Hr. Busey waa talkino about
      8    would have been in existenc• in February of 1994, would

      9    it not?

      10           A.     I don't know what he based the SO percent on.
      11           o.    Mr. SC.haible, there wa.s a ee.riou.• probl. .,

      12   waan't there, whether it vas SO ~rcut or 35 percent or

      13   80 percent. you-all took substantial action to correct
      14   the ••rioua defect in your reeordkeepinq ay1tem, didn't
      15   you?

      16           A.     I believe that any problem is eerioua , yea.

      17           Q.     Yes,' s i r, part i cularly in a fi•ld like this.

      18           A.     Yea.
      19           Q.     Do you have -- have you ha.d oecaeion• that

      20   you're avare of in the NPA branch of clerk• throwinq
      21   away tran•aission.s beeaU.&e they don't want to fool vit.h

      22   th. .?

                    A.    Yes.
                    Q.    And so that's one of the thin;• th•t could

      25   happen to you?


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                                                                               43



        2        Q.     A bunch of tranaai••ion.a co.. thro'U¢ froa

        3   Saluda, Vir9inia, and th• clerk ••Y•· this i• 001f;o in
        •   Fi.le 13?

        s        A.     Yea.

        6

        1        A.     Ye•.
        8        Q.     AM people have C..n tr4ft.llferred and fired as a

        9   result of that, haven't they?

       10        A.     Ho.

       ,,
       12   be.en transferred out of that work?
       13        A.     Th• only aituation t can re•om.bcr 11, no, that
       14   they weren't tran•ferred.        No, they weren't fired.   They.

       15   eventually quit, yea, but, no, nothing like transferred

       16   or fired.

       17        o.     Did you ever continue anybody in that

       18   particular job ofter you knew they threw something away,

       19   threw an Jmportant tranamiaaion away or destroyed it or
       20   put it in th• ahredder or whatever they did?
       21        A.     And when you say ••you,•• you r.ean, the branch?

       22        Q.     l ....an you the aqency, l'• sorry.

       23        A.     Yea.

                 Q.     You conti nued th. . doi ng that kind of work?

       25         A.    Wi th .onitorin;, Y••·


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       1         o.    ()Uy.

       2         HR. NONTAGU2:       l be1ieve that's all I have, Your

      .3    Honor.

       •         THE COURT:       Anything further, Ka. Allen?

       s         MS. ALLEN:       No thank you. Your Honor.

       6         THE COURT:       All right.     Step down, Hr. Schaible.

       7         HS. ALL!:N:      Your Honor, that'• all th• evidence I

       8    have to that last motion.
       9         THE comtT:       AJ.l right.    Al.l ri9ht.   The evidence

      10    that record has been iaade .        Anything you want to ......

      11         HR. HOffl'AGO'B:    l ju.st have a couple of com.ents

      12    wit.b r99ard to the first part of Ma. Allen'• ~ts.

      13    ln the fir•t place, l don't know what the illplication
      14    we• about fraud on the Court and fraudulent material but
      15    I don't practice that kind of law and the doc:u. . nta were

      16    9enuine as far as I know and I hav• every reaaon to
      17    think they were.        I also think we have every rea •on to

      18    think they were received by the ATP baaed on th•

      19    teati110ny W9've just b-.d.

      20            TH:! COURT:   I don't think there'• any evidence of

      21    that, Mr. Mont.ague, that these particular tbini;• Nrked

      22    void or received are beeau..s. you point out Carl O'Qu.inn
      23    or Kr. L•••ure called t:his telephone number on a certain
      24    date.     But I don't think it's 901-nq to . .k• any
       25   difference in this c.a se.

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                                                                     Exhibit A, Pg. 636
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                                                                                45

                     1'• 90109 to throw out the convict..ion8 that have to

       2     do vitb reQi•t-rations .     I'a qoi.nq to throw out C»\mt 2,

       J     3, and 6 •o that the only count left i• Count 1, tj\at's

       4     the one I want to hear addressed at t~i• time.          That's
       5     9ot nothing to do with r egist rations,      w'r• talki.ng
       6     about •ilencers .
       7             HR. MONTAGUE:    Ye$ , sir.   A11 ri9bt, thank you for

       8
       9     r
             that.
                     Tff% COURT:   T'he motiori fo.r a new tri.al i• denied

      10     le.au•• it was addressed only to Count• 2, 3, and 6.

      11
            T l have thrown out Count 2,. 3, and 6, ao the motion for a
      12     new t.ri&l i .a denied.    We'~ here    for ae..oteocinQ . . to

      13     COu.nt 1.    And now,   it you want to sit down and tal.k to
      1•     your client about how you wa.nt to proceed on Count l and
      15     I'll take a five-minute recess.

       16            MR. MONTAGUE:     Thank you, Your Honor.

       17            THE COURT:    Ms. Allen, t his isn't   to impune
       18     anythi.nq dishonest from you.        I think you sent to them

       19    whatever you've received. but Mr. Schaible ha• testified

       20     that they knew all about Kr. Busey•• •tat..ent in the

       21     National Firearms people.       tt•s on televieion all over
       22     thti bW.ldinq# it was in the files of the Departaent of

       23     Ju.etic.e. and it throws a di.s aqreeable propo•ition on llY

       24     findino somebody guilty on records wh•n their chief aan

       25     ••Y• they were 49 percent wro09.         That'• not your fault.


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                    Five minutea and we'll take up sentencin9 on Count

        2    1.   And J '11 have a01Mt.hJ.nq a.ore to say for the record

        3    so you-all can have it for appellate purposes but ~iqht

        •    now t.bat' 1 where we &r• •

        5                                  CReeeaa.)

        6           THE COURT:     Hold up a ainute.     lAt . . .ake soae

        1    not••-    It . . . . . to •   that the court ha vino thrown out

        8    Counts 2, 3, 4, S and 6 the only thin; left is Count 1

        9    of vhicb I found that• a the 11.-le.ncer1 count which has

       10    notb.iDQ to do vith r90iatration .        In fact, it's
       11    nonreqiatration that'• the e11ence of the case            There '
       12    was no motion, I don't believe, made with reference to
       13    Count 1, Hr. Montaque, but in the wealth o f paper
       14    you-all have provided rae with I raay have overlooked
       15    aomethino .    We' re hare only on aentencino of Count 1 at

       16    thi$ point; ia that correct?
       17           MR. MONTAGUE:      Well, l intended to include -- it ;s

        18   certainly an entirely different animal .
        19

       20    now.     Brino Mr. Lea1ure up to the lectern with you.
       21           KR. MONTAGUE:      All right, 1ir.

        22          THE COURT:     Mr. Lea1ure, the ••tter ended in a
       23    conviction of you on COunt l on. l think it vas January
       24    tb4; 19th. but 10 t~t the record won't have any errors

        25   in it.    let . . be sure.     On January the 19th the aatter


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           vu ta.ken under •dvise.ment.
      2         On February 6th an order vas entered in vhicb I

      3    brou;ht ell parties back t o court and filed a WTitten
      4    order of the Court finding you guilty •• to Count t and

      S    •• to some other counts which are now made iaoot by
      6    virtue of the ru1i ngs of the court.     I at that time


      8    here tor aentencin; for 9:30 on May 2\, which is today.
      9         l have a presentence r eport prepared by my

     10    probation officer Miss Thayer over here and J a•k you
     11    firat, Kr. Moat.ague, have you been over thi• report in

     1Z    deta1} with yo\U' client, Kr. John 1..e. .u.re?

     13         KR.. t«>MTAGOB:   Yes, sir, I have.

     14
     1S    thil report in detail with your attorney,         M~.   Montague?

     16          THB DEFENDANT:    Yes, sir , I hava.

      17         THE COURT:   And we ' re here only on count 1.
      18   Mr. Montaque, is t he r e any evidence you want to present

      19   with reference to this count?

      20         HR. HONTAGUE:    Not witb reference to the count as
      21    such but t'd l~ke to put on some character evidence, if

      22    I INY·

      23         TKI COURT:   All rioht. sir.     Have a aeat.

      2•         I'll be 9lad to bear the first vit~a. if yoU•ll

      25    call your fir1t witness .


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                                                                                <8



     2    Jon••·
     3         THI COURT:        Have a seat.   All right, •ir, go ~ight

     4    ahead.

     5         1,gw1a    JONE~    111, a Wi tness, cal led on behalf of

     6    the Defendant , hev!ng been f i rst dul y sworn, waa

      1   exa~ined   and testified as follows:
      8                            DIREC? EXAMINATION

      9   er HR. MONTAOUE:
     10        Q.    would you state your -- let me let you 99t

     11   seated.    Will you state your full o. . ., plea••·
     12        A.    Levi• Jones, III.

     13        THI <X>URT:       Lewis spellftd L-e- or L-o-?
     ,.        THE WITNESS:        L·e-.

     15        THE COURT:        L-e-w- i - s Jones, III.    00 ahead,

     16   Mr: Hontaoue.
     17   8Y MR. MONTAGUE:

     18        o.    Ho" •re you currently employed, Mr. J'one1?
     19        A.    1'0> the sheriff of Middlesex          County, Virointa.

     20        o.    llow long have you held that office?

     21        A.    l'a in ay ninth year.

               o.    And prior to being --       t~t's ~       elective

     23   office, ia it not?

     24        A.    Yea, sir , it i s.

     25        Q.       Prior to being elected. sheriff of Middlesex ,


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           did you have any otb4tr back9rou:nd in law enforcement?

       z            A.   Yea, air.   J wu • Vir¢.M .a 1ta te trooper f or

      3    ai.x and a half yeara and alao vith tb• City of
      '    Cbarlott••ville, YirqinJ.a Police Oepart. .nt
      5    three- and- a-half yea.re .

      6             Q.   Ouri.n9 you.r time u   a •tat• trooper, we.re you
      1    at.a tioned iD tM Kidd.lesex County area?

      8

      9    1910 .

      10            o.   All riqbt, air.    How, vould it ~ fair to
      11   d••cribe your poaition of sheriff of Middlesex a.& the

      12   chief local lav •~forc. . .nt officer in that area?

      13            A.   Yea, air, tha t '• correct, I aa.
      14            Q.   Would it be f a ir to say tha t aa sher iff -- as
      15   the chief local law enforcement officer , it's important
      16   for you to know - to be blunt - who the qood quys and
      17   the bad quya are that frequent your county?

      18            THE COURT:    Mr. Hontaoua, you've practiced law as

      19   long aa 1 have and v a'r• t alkinq about character



      21   let'• 9et into it ; let'• don't o•t into anything else.

      22            KR. HOtlTAGUE:   All riqht, s i r.

      23   BY KR. HOllTAGUlt:

      24            Q.   But it 1• neceaaary for you to evaluate people

      25   that aay ru.n afoul of the lav?


                             81999 6 rl . .t CO\lrt Reporter•
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                                                                            so
                 A.     Yea, air.

       2         o.     And in your office as sheriff, did you become

       3    acquainted with a qentleman nalllled, John Leaaure?
                 A.     Ye•, &ir, I did.

       5         Q.     And is he in the courtroom today?
       6         A.     Yea, sir, he is.

       7         Q.     Would you point him out?

       8         11.    (Indieating.)

       9         Q.     You're 1ndieatin9 Mr. Lea.sure at the Defenae

      10    table.     And vhat va.s Mr. Leasure'& bu•ineaa in Middle.sex
      I I   County?

      12         A.    My   first eDCOu.nter v ith hia in a buaineN v aa

      13    vith a JN.rt• atore with his brother and then later a.s a

      14    retail oun dealer and then with his curr·e nt buain•••

      15    atatua.
      16         Q.     Did he operate a businesa called John's Gun
      17    Shop in Saluda?
      18         A.     Yea, sir, he did.
      19         Q.    All right.     Did you coi.e to develop a
      20    relaticnahip or friend.ship with Mr. Leaau.r.?
      21

      22         THB COURT:     What we're interested in, Kr. Jones, ia
     23     do you know hi• reputation      tor truth and voracity in the
      24    comnwunity?

      25         THE WITNESS:       Yes. sir, J do.

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               nm CXXJRT:       And what Ls it?

      2        TBS WITNESS:       John enjoys a very 9'0Qd. character and
      3   standinQ in the COSl'UllUnity .

      4        THE COURT:       All right.   That's about a.a far •• you
      5   can ;0 1 Hr. Montaque .

      6        MR. MONTAGUE:       Well, let me try one other atep,
      7   Your Honor.
      8         THI COURT:      I'll be glad to stop you if you'r'e



     10

     11   BY Nit. IClftAOUZ:

     12         Q.    In connection vitb that r·e putation, did you

     13   have occaaion t.o appoint hira a.a anythinQ in your
     14   depart.ant?

     15         A.    Y••· air.    February of 1988 I appointed

     16   Mr. Leaaure a deputy sheriff of Middleaex county
     17   Sheritf 1 1 Office.

     18         Q.    And what were his duties, if any, with your



     20           TH.I COURT:    That's of no importance to • ·   Re aaid

     21   he baa a oood reputation for truth and voracity a.nd I

     22   let you ahow that be appointed bi.a u       deputy abuif f in
     23   1918.      Row long did he act?

     24           THI WITNESS:    Through Ha.l"Ch of 1990.

     25           THE COURT:     For a couple of yeara?


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        2        1111 COURT:     A year and a half?

        3        THI WITNESS:      Yes , s i r .

        4        Tff.! COURT:    All righ t now.

        S   BY MR. MONTAGUE :

        6        Q.   Sher iff Jone $, you' re here by your own
        ?   volition, you're not her• by reason of Q subpoene; is
        8   that correct.?

        9        A.   That is correct.

       10        HR. MONTACOE::     Answer Kiss Allen.

       11        ~    CXXJRT:    Any questions. Ms. All en?
       12        MS. ALU™:       No questions. Your Honor.
       13        THE COURT:      Thank you, Sheriff, a t ep down.   Any

       14   reaaon why Sheriff Jones can't ti. excu•ed7
       IS        MR. HOHTAGUE:      He can return to hie dutiee as far
       16   •• wo'r• concerned wi t h our thanks.
       17        THB COURT:      Call your next wi tneaa.
       18        MR. MONTAGUE :     I'm going to call Mr. Leaaure.
       19

       20        HR. MONTAGUE:      He's not been aworn yet.

       21        TH£ COURT:      Go ahe ad, sir

       22        .JQHM Q LMSURE        the O.feodant, call ed on behalf of
       23   the O.fenae, havi D9 been first duly aworn, vaa e.xaained

       24   and te1tified as follows:

       25                          DI RECT EXAMlNATION


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           BY Mlt. tQl'TAQUE:

      2         Q.    State your name plea.se, air.

      3         A.    John Daniel Leasure.

      4         o.    And you a.re the defendant in tau. caH'l

      5         A.    Ye•.

      6         Q.    Mr. Leasure, during your trial i ,n th,i • caae, I

      1    ahoved one of the Government witnease•, I think it was

      8    Mr. Schaible, • copy of this book.       It'• a red cover

      9    entitled Federal Pirea.ras R~ation 1918-89.            My

     10    queation, air, is, va.s this book provided to you by the

     11    ATP •• your guide to the law a.ffect inq your vork. •• •

     12    fire&ras aanutacture.r7

      13        A.    Yea, it wu .

                 o.   And the e.nswer given to me by whoeiver i t wu
      15   that teatified froa the ATP was that you Ye.r9 told th.at

      16   by followino this book you would atay out of trouble,
      17   thia woa your bible, what you had to do aa a firearms

      18   in relation to federal fireat"laS purchase•?

      19         A.   (Witness nods head. )

      20         Q.   Nov, in connection with that, did you have an
      21   u.nderalandinog a.s to what your obllg&tioa baaed on the

      22   MteriU appeari..ng in tb..1-s -.nu.al -- vba.t yo\lr



      24   aanufacturer'• naaes on silencer.?
      25         A.   Yea, I did.


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                   KS. ALL.Di:    Your Honor. I'• 9oi.nq to object.    W•

       2   ,,.nt throuob - -
       3           THI COURT:     It's alr eady in the record one   t~     a.od

       4   that'• all.

       5           MR . MONTAGUE :    Count 1 involves 19 unaerialized
       6   1ilenc:era .
       7           TH& COURT:     was o ne withdrawn?   Are th•r• 18 or 19?
       8           MS. ALLEN:     Ther e are 19, Your Honor, one was
       9   wi thdrewo fro. Count 2.

      10           THE comtT:     19, all ri9bt.

      11           KR. MONTAGUE::     I think 19 is correct.
      12   8Y ICR.      -.M;UE:
      13           Q.     Of the 19 none had a serial n~r on it nor

      14   the identification of your iaanuf•cturin; n••• which was
      1$   Preciaion ArSLt International or PAI?
      16           A.     That'• cor rect.
      17           Q.     And each of those b91no unmarked , did that
      18   raault from the same misconception of the law by you?
      19           KS. ALLEN:     Your Honor. I have a continuing
      20   objection to this whole - -
      21           ?'HE COURT:    All riQ'ht.   I'll let hia t••t1fy one
      22   ti...        He'• already tes tified to thia.

      23           THE WITNESS:      Yes, it did.

      24   BY MR. MOHTAGU'£:

      25           Q.     Not only based upon the regulation• but was

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                                                                             SS
            th•t .Uaconcept1on also bas.ct upon induatry pr•ct1cea as
       2    you underatood th. .?
       3         A.   Ye•, it 1-s.
                 Q.   And i• it fair to say, sir, that your intention
       'S   •t all t1miea with re9ard to these ailencer• •• well ••
       6    all other armaments and weapons within your shop and

       7    within your control was to attempt t o obey the law?

       8         A.   Yea, it is.
       9         Q.   Hr. Leasure. as based upon the Court'• •ction

      10    thi• morni1U1, you stand convicted of one felony count.



      12    u1de the question ot whether you 90 to ja_1 1 or not ...
      1)    what do you understand the impact of that conviction to
      14    be upon your life u      it'$ bMn livttd ~ to now?

      15         A.   Well, it       from then on I ' l l be treated aa a
      16    aecond claaa citizen I feel like .      lt 1• what I feel
      17    like about the worst thi~q that could happen to me.
      18         But I will state and I don't know whether I can do

      19    thi• now or not but I will say sittino here today right
      20    her• and right now, if I still bad .... if l w1a atill
      21    ulted whether or not I would plead qu.1.lty or not to

      22    Count 1, I would still plead not guilty.        I read and
      23    unde.r•tood the law.     I tried to interpret froa the law
      24    what I understood to be the law, and I've 9iven you the
      25    code section and I still feel it ' • very vaque.       I still


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             feel it 's very vaque .      In one sentence it says by tbe

         2   ATF's own admission that any firearm silencer part is a

         3   silencer, even a rubber di.s k that goes in the end •of i t .

         4        Q.     Even a Coke bottle?

         s        A.     Yeah, absolutely.     So I don' t understand how I

         6   can manufaetur•. own, and I'm the one who assigns the
         7   serial number but under the Code Section 179.102 that I

         8   provided you out of that book that you have, not Out of

         9   the new book that was published in October of 1995 it's

        10   much more explicit, it's very clear, out of the old book

        11   it's not.

        12        Q.     Let me ask you one question about that if we

        13   may, Your Honor .      The new book, which I think has a
        14   yel low cover, came out i n, what, November o f '95?

        15        A.     Yes.
        16        Q.     And wha t is different bearing on this

        17   particular point between that book and the one that you

        18   had to go by?

        19        A.     It says in the yellow book under that code

        20   section that the form has to be done by closinq the next

        21   business day, the Form 2.

        22        Q.     That does not appear in the red book?

        23        A.     Not under that code sect ion marked 179 .1 02

        24   Identification of Firearms .

        25        Q.     So it is your testimony that nowhere in the red


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           book a.re you told Wen you're suppoattd to a.ark theae

      2    a1l~r•7

      3         A.       Not that I could find, no.    onder 179.102 it

      4    atat•• that it is to be ~arked when it is •old,
      S    tranaferred, or othexvise disposed ot and that'• what I

      6    oot from it .
      7         Q.       Th••• particular silencers were never oo~nq to
      8    be sold or tran•ferred, were they?

      9         A.       '11\ey ~• totally separate, separate fro•

     10    eve.rythi.ft9 el.se in a locked cabinet, and at various
     11    tiae• 1 would e-.nniba1ize tbea .nd o•t p&rta oft of
     12    th-.         I had enough parts in IQ' sbop to •••..Ole five

     13    hundred silencers.

     14           Q.      And, a• a matter of fact, you bad hundreds of

     15    parts, tube•, and the like that were intended to b• used

     16    aa parta of eilencer s?

     17           I\.     Hundred and hundreds and hundreds.

     18           Q.      And the way the law is written you could have

     19    been char;ed on all of them, you could have A thousand
     20    counts or a thou.sand i tems und•r tb• count?

     21           A .     I   Q\1886 60.


     22           Q.      And I ques.s they 'd want to electrocute you at

     2)     tb.at point, I don't know .
                  THE COURT:         I'm the only one entitled to humor in

      2~    t .hi• courtroom.


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       1

       2    Your Honor.     There isn't anythi09 funny about thi•

       3    •ituation.

       4    BY MR. HOH'TAGOE:

       5         o.   1$ there anything else you'd like to tell us,

       6    Mr. Leasure ?

       7         A.   Just that I feel l ike I have tri•d to -- it has
        8   b4en my intention to abi de by the law .       I had no

        9   intention of breaking the law .      I -- certai,n ly fro• the

       10   ti. . the ATP caiae into the raid, I bad three days.         They

       11   l•Ct thei r own printout tb-.re .    They'd never even been
       12   in the> bock and se•n mry inventory.      I could ~ve taken
       13   that inventory and ma de sure eve.rythin9 matched and the n

       14   I probably wouldn' t be sitt inq here,     but I wanted -- I
       1~   wanted to get it straight.       I f there w. . a proble.nt, I

       16   wanted it t o be straight .     And, I'm sorry, I atill

       17   wouldn't do i t any differently.
       18        Q.   And you didn't attempt to hide anythinq, you

       19   coope rated fully i n that investigation?

       20        A.   Absolutel y .

       21        Q.   Because you didn't th.ink you'd done anythl.ng
       22   vronq; i s that correct?

       23        A.   No~   I did not.
       24        MR. MONTAGU'B :      Answer Kiss Allen.

       25        TRI COURT:     cross. Ms. All•n?

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              KS. ALLEN:       No quest.ions. Your Honor.

     2         THI: c::cmtT:   Step down.     Tba.nk you. Hr. IAaaure.

     3         Any other witness, Mr. Montaque?

     •         MR. NONTAGU'E.     Yes, sir.       I'd like to call

     s    Nra. Leaaure.
     6         THE COURT:      All riqht.

     7         CHERYL LEASURE. a Witness, called on behalf of the

     8    Defendant, havino been first duly sworn, waa ex&ained
     9    and teatified as follows:

     10                          DIRECT EXNCINA'llON

     11   BY Nit. _,AOOE:

     12

     13        A.   Q\eryl Leasure.

               Q.   WOuld you spell Cheryl for the Court.

     15        A.   C-h-e-r-y- 1 .
     16        THE OOORT:      c ... h-e-r-y-1, 90 a.head.
     17   BY Hll. MONTAGUE:

     18        Q.   And you're married to Mr. Leasure?


     20        Q.   How lon; Mve you-all !>Mn u.r-ried?

     21        A.   we have bee.a aarried alaiost • year.
               Q.   And you're -- actually, your firat anniveraary

     23   ia goinig to be next week; isn't it?

               A.    That'• ri(itht, Monday.
     25        Q.    Ok.ay.    And do you have any children by • prior

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             aarr1a99?

        2         A.   Yes, l do .

        3         Q.   And describe the child.

        •         A.   He's six year& old.      Hi• name i• Drew•

        5         Q.     And has Drew ~n your observation a a hi• iaother
        ti   fonnod a r elationship with Mr . Leasure?

        7         A.     Yes, sir, a very close one.

        8         Q.     Would it be fair t o say that you t~in.k:

        9    Mr. Leaaure has become a father flqur• to your eon?

       10         A.     Very auch &-o, aiore than hi• own father; 1

       11    ahoul4 eay biological father.
       12         Q.     And bow do you reqa.rd your bu.l>and in teraa o f

       13    hard work.1n9f'•••· good citi:e.ns.h.ip, and that aort of


       15         A.     He's very hardworking, he'• very honest .     I've

       16    never •••n anything where he's tried to h ide or do
       17    anything wrong.

        18        o.     And you 're i nvolved -- have b4ien involved in
        19   the buaineaa at t he qu.n shop, have you not?

       20         A.     Ri9ht, I've come up there and helped out •

       ll    little bit there.

       22         o.     Have you helped 1.9')rove the r.cordkeeping?

       23         A.     Yes.

                  MR. MONTAGUE:        I th.ink that's all.

        25        THI COURT:       Any questions?

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                   HS. ALLEN:     No, thank. you. Your Honor.

       2           THE COURT:     Thank you, Ms. Leasure.          Step down.

       3           Ca1 1 your next witness.

       4           MR. MONTAGUE:     That's all, Your Honor.

       5           THE <X>UR1':   All right.        I'll be g l ad t o hear f r om

       6    you, Mr. Montague, and at the proper t i~• I'll ask

       7    Mr. Leasure if there's anythi ng further he wants to say.
       8           MR. MONTAGUE:     All right.         Excuse me one second,

       9    Your Honor.
      10           THE COURT:      surely.
      11                                     (Pauso.)

      12           THB COURT:     Hold up for just a minute .
      ,3           MR. MON'l'AGUE:    Yes,   sir.

      14           THE COURT:     Mr. Montague. there were objections and

      1$     I overlooked these begi nni ng on Page 16, 17, and 16 and
      16     they looked like you objected to paragraph 16.               You
      17    object to the finding made by Mis& Thayer that

      18    Mr. Lea.sure wa.s not entitled to any acceptance of
      19     responsibil ity under the l~w.           Because of his p leas of

      20     not guilty in the defense of t he case , he isn't ent itled
      21     to any so if you. have any objection to hi s not 9ettinq

      22     the three points, that objection i.s overruled.

      23

      24           TH! COURT :     Now, t o Paragraph 19 an objection is
      25     raised.       The probation officer '$ report that defendant


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           failed to ~Y f1ne.s and court costs for • reekl•••

      2    drivinO' conviction and that would have no effect on any

      3    pena lty t ,hat I would be involved with to •tart with, so

      4    t hat obj•ction is i rre levant s o far as 1'• concerned .

                MS. ALLEN:     And, Your Honor, just for th• record.

      6    t he probation officer informed me this morning that upon

      1    further inveati9at1on she found out on February 10th,
      8    1987, that Mr. Leasure had, in fact, paid thole court

      9    coat1, and we would withdraw that and note that for the

      10   record.

      11        TH£ COURT:     The fine has been paid?

      12        MS. A.LLD:     February 10th, 1987, that'• cort"Kt,

      13   Your Konor.

                MR. MONTAGUE :     The only reason I ••d• tha t
      15   objection, Your Honor, is because it crea ted a aort of

      16   scuff or a different t~ of appearance and I di dn't
      17   think t hat was deserving.

      18        'l'HE COURT:   Paragraph 20 reflects the d•t• ot the

      19   a.rre•t.   The probation of ficer relies on a copy ot the

      20   warrant executed J\lne 1, 1993 .    I find that to be of no

      21   con•-cru•nc• to this.

      22        KS. ALLEN:     Just. for the record. Your Honor. we

      23   have a certi fied copy of the p.Aperwork the probation

      24   officer wae relying upon which is marked &I Government's

      25   Exhibit 12· 1 which we'd offer t o the Court.


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                  THB COURT:      All right.   Show it to Mr. Montaque.

       2    Put it with th• papers in the suit.
       3          Paraqrepb 47 an objection ~a raia~ that th•
       4    probation off icer reported the defendant didn't file

       S    r~eral    taxes for the years '90 . '91, '92, and '93

       6    accordino to tho Internal Revenue service'• Taxpayer
       7    Service• Division; they have no record of a return t>.inq
        8   filed tor those four years and, ther•fore, no change was
        9   Mde to that.         Do you have any response to that?

       10         MS. AI.LrN:     Your Honor, we have a cert:ified copy of

       11   the probation officer's request for tb• infonaation as
       12   ~11   •• th• lRS's response that refl.cta that Goverru11ent

       13   lxh1bit 12-2 has also been shown to Mr. MOntaque.

                  TffE COURT :     Mr. Montague, apparently he hadn'T;

       15   filed a return at least accordi119 to the evidence

       16   available to ..e.       I don't know that it'• 9oin; to ~ake a
       17   lot of dilterenco but do you have •nythin9 to tho



       19         MR. MOtfTAGtTE:     The only thin; l have i• that
       20   Mr. lA••ure has assured .e that be h•• filed •ll the
       21   return.a and has paid all of the      tu••·   H• ta constantly
       22   in thi• c••e a victim of Govenment record.a tMt don't
       23   e.xiat.
       24         THE COORT:       Well, wait a •inute.   W•'r• not QOinQ

       25   to •t•rt vith that.        Are you 9oin9 to indict the


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       2   file any tax•• for those years?

       3        MR. MOffTAGtTE:     Ho, Sir-    I'a sure they --


       •        THE COURT;      Turn to your client, I'• not QOiDO to

       5   take that •• a char9a against the Government.           Talk to
       6   your client.    Ask him has he oot any evidence t ,h at he
       7   paid tax•• · tiled returns for those year• when they eay

       8   he did not.

       9        Ml\. t«:>N'TAGOE:   I don't need to aak: hill th.at, Your

      10   Honor, he would have ¢ven it to . . if be had.           Ko, be

      11   doe• not, and l'• sure the IJtS is acti.DQ 1-n qood taJ.c.h.
      12   I don't qu••tion that.
      13        The only thinq I do know and will add thia to ~b•

      14   Court   if l .ay is that after tbe d*'8.lae of h~• CQelP&DY,
      15   Preciaion A.nu: 1nternational, there were aOfllle unpaid
      16   payroll taxea and the IRS procedure in that caae 1• to

      17   impoae a hundred percent penal ty on the peraon in charo•
      18   of the company that's gone belly up.         In th• caae of
      19   Hr. t.eaaure, they imposed that penalty and then after
      20   ... tinQ with tu.a, they va.ived it O.Ca\l.9-e of hia
      21   f'lnan.c:ial condition and the only thi.ng that happened va.s

      22   they did take an assi9nt11ent on all of the quna th.at the
      23   oovenua.ent now holds.      They're supposed to 9et tho••
      24   when t .hey're turned loose.

      25           TH! COURT:   The la.st obj~tion i• the cOlllputations


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      1     ba.aed on the nU!lber of weapons and that'• an aaount t.hat.

      2     we'll have to diSC\llS after your arqwaent, ao now qo on

      3     with th• arvument.

      •            MR. MONTAGUE;         All right. sir.    l'a gettin; a

       5    little diacombobulated here, Your Honor.             I think that

       6    -- let me ••• if I can find the lan9uaoe.             Thia langua9e
       7    ca.me up, the language of the regulation• under 179 of
       8    the reoa. affect ing firearm manufacturere, reqiiatration,

       9    identific•tion of firearms.

      10           Mr. Leasure has testified that the reouJ.ation has

      11    been amended at a t.ioe a.ft.er thi& ca.&• vaa already in

      12    p.roc:••• to require anyone aanufacturinQ ail~•r• aa he
      13    did to .ark then with a serial nuaiber which he aalcea up

      14    and put• on himself and the narae showinQ the
      1S    m.anufacturer'a identification.          It saya that that ~ust

     . 16   be done in accordance with these reQUlationa and the
      17    only positive time that it gives him to do it ii where

      t8    the a i lencer is not an integral part of a complete
      19    fir••r•.         It llNSt be done at the tilne of   •al• or ot

      21

      22    you.     You take that u.p with the Pourth Circuit.
      23           Jr'.R.   HOHTAOU'B:   Well, tM issue today 1 think ia of

      24     th• element of time.          1 think that ia important and
      2S     ahould C. important to the Court.             1 underatand what the

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             Court'• ruli09 was a.nd I think the interpretation

         2   probably iS VTOOQ bQt OD the other hand nowhere in the

         3   r-oulation does it t e ll hi.a vhe.n be i• to do it other

         4   than when he sells i t .

         s        THI COURT:      I've alr eady ruled on that.
         6   Kr. Montaque.      I've found him QUilty.    J don't have any

         7   problem with that.      If you've got anything to add to

         8   that, you'll get your opportunity in Rich.and.

         9        KR. MC>HTAGCE::    I have already tla09ed tor the Court

        to   t!Mt c . .• of Staples aga.in.st t~ United Stat••·     It's
        11   illlportant in this case because it doea involve a Mntal

        12   al..ant in    ""'•t appeared io the lfAY COnore•• drew these
        1)   lava t o be an absolute offense, a atrict liability type

        14   of offense.     These are what have bean called public

        15   welfare crimes .     The y're instru.111entalitiaa that are so

        16   inherently dangerous such as druga, high axploaiva&,

        17   things of t hat nature t hat a peraon would be deemed to

        18   know that there nwst be. so1ne r•guletion whether he says

        19   with all the innocence of • lamb that he did not know,
        20   ther•'• eany reasons he should know whatever it aay be,

        21   • nuclear device or h4nd 9ren.de or ..c:.ethi!)9 ot that

        22   kind.

        23           The Staples opinion v a.s paaaed. after -· looq after
        24   the Freed opinion on which th.I• court relied and decided
        25   in 1994.     Justice Thomas wrote the opinion for the


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           . .jorit.y and be discu.ssed it at great lenotb.      The

       2   tr•dition of Anglo-Saxon courtroom jurisprudence
       3   require• that there be some knowledge of evil in conduct
      4    that a ~r1on elect$ to pursue.         He say• it ia as
       5   universal and persistent in m.ature syatern• of la~ as
       6   belief in t he f reedom of t h e hum.an will and,

       7   conaequently, the abi l ity and dut y ot a normal

       8   individual to choose between good and ovil.
       9        Thia case at l east t he l ast time J looked had not

      10   COIN out of the u.s. Reports but it'• in the 128
      11   Lawyer'• Edition. 2nd, be91nnino at P~• 608.          In that



      13   support for ita position which was b._.ically a no-intent

      14   position from our d ec i sion in p s     y   Pree4, 401, U.S.

      1S   and 10 forth, 1971, A c a se involvino unreoiatered hand

      16   o~•nadee.   T hat's t he case the Court relied on in making

      17   it'• ruling in thie c aee .

      18        That reasonin9 pr ovides little support for

      19   di•P*n1in9 with mens r ea in thi s case.       In thJ.1 ca•e

      20   what I think h$S happened is th• d•f•nd&nt hae made a

      21   concluaive ahOWift9 of a laek of -.nytb.i.nq other tha.n a

      22   law U>idinq spirit.    Be's an honorable aan; hi• record
      23   aupporta that.    Be didn't mean to break the lav, and I

      24   do not think that the instrwrientaliti••· th••• locked up
      2S   ailencere that didn't work properly --

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                  THE COURT:   There was no showing: that t.beH

       2   ailencera didn't work properly.         Be fir.:S every one,

       l   kept a lllJ.nute record of the decibel•.      They -.re
       4   corm;>letely done, Kr. Mont ague, •o don't put anythino
       5   talae in the record.
       6        HR. MONTAGUE:       I'm not puttinq anythinq tel•• in
       7   the r•cord, Your Honor.          That wa• a mi1tek• in
       8   recollection that the Cour-t d.t'ev from t .he te1ti1110ny of
       9   one of the 8A'l'P agents.
      10          THE OXJRT:    I'll live v ic.h it.

      11        Mil. tC»l'TAOO.!:   Well, it va..s the BATT &99Dt tha.t

      12   tir~    the ailencers.     I'• sure Mr. Leuure had fired



      14   decibel reduction va.s done by --

      15        THE COURT:     He testified, Hr. Montaque, that many

      16   of th••• ailencers the reason they wore in the cabinet

      17   waa becau10 they didn't meet -- when he teated them,
      18   they diOn't meet the reduction in decibel• that he would
      1g   r.ciuire of an instX'\llllent.    You can argue with . . but

      20   that •• a fine workaa.n he found SOMthin; vr01'a9 with
      21   th... but be test.cl. thea and found that they didn't suit

      22   what he wanted.     He knev that they would vork.        Don't
      23   tell . . otherwise .

                MR. MONTAGUE:       I'• not telling you otherwiae.        I'a

      25   11yi119 your finding in your order in thia ceae that


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           •     ·t Q ~ fired them and kept a record v u    the Goverwnt



       3           TU COURT:    we can check t.he record but 1 '• Q.Oinq

       4   on vhat he teatif ied.
       5           MR. t«>HTAGUE:   Yes, ther e's no queation that he
       6   knew that they did not meet his standerda, and he was


       8   for pu-ta.
       9           THI COURT:   That's your argument •nd that'• the one



      11   fir.able or couldn't be used, that'• not in the r"ecoro.

      12           MR. MONTAGUE:    I didn't tell you that. and I'• not

      13   tryino to u .a leMS th• COurt in any way.       I think J 'v•

      14   been very open in a..ll aspects of thi~ tMn9.
      15           certai.nly, he isn' t going to thr·ow away the

      16   ailencer but h• wasn' t 9oin9 to market it becauae it

      17   didn't vork right, didn't meet his h 10h•r atondarda and

      18   he aav nothinq wrong in the way he underatood the

      19   regulation and the industry practice• to keep th••
      20   aimply u     a 80\ll'Ce of spare parts .   Th• ... tala involved
      21   in tho•• devices are very e.xp4tnsive and why throw thea

      22   away~


      23           Baaed upon everythi.Dt;J that'• before the Court, l
      24   would aak the court t o taKe into account thia ••n'•
      25       lifelong 9ood record aod the fact that thi• particular

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          case, the incidents that a.rose to bring this case into

      2   this court wore tho product of a completely innocent
      3   mind, a man who is a lif•lono law abiding citi%en ..

      4        THE COURT :   Thank you.    Miss All.e n.

      5        KS. ALLEN:    Your Honor, I believe that the

      6   presentence rGPort shows the base offense level to be 18
      7   plus a 6 for 60 weap¢ns, whi ch the p r obation officer

      8   relies upon Paragraph 11 of the presentence r•pori.       The

      9   probation officer's c alculations are in accordanc~ with

     10   the Fourth circuit law, particularly, t he Bowman case

     11   which was 926 F.2d, 380, 1991 Fourth Circuit decision

     12   approvin9 the court'$ sentence based upon t he convicted
     13   counts ~nd uncha_roed counts .
     14        I think the probation officer has figured 60
     15   firearms based on the guns that were in the indictment

     16   as well as other guns that were seized with the search

     17   warrant.   If her calculations are riqht, the guidelines

     18   would be 51 to 63 months.       If the Court decides not to
     19   consider 60

     20        THE COURT:    I'm not qoing to count any of the guns

     21   that have been thrown out because of the reo1stration
     22   period, so i t will reach nowhere near 20 .      It will be 19
     23   et the most.

     24        MS. ALLEN:    Based on the Court's statement there,

     25   the Government sees the baso level of 18 p lus 4 since


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           th• qun.e in Count 1 a.re 19 and tM 4 point enhanc.M-nt

      :z   ia for 13 to 24 firear&& a.nd if that'• tru., th• tot.a l

      3    for that level will be 22 givi nq th• 00\lrt a 9Uideline
      4    r•no• of 41 to 51 months: .        If that'• what the Court

      S    finda, the Government has no further argwne.nt other than

      6    that.

      7            TH• COURT;   All right .    Mr . Montaque, you have a

      8    rioht to anawer that .      She says that the unlav -ful •

      9    po•••••ion of firearas in Level 18 -· tbia doean't state
     10    vhat 1'• ooing to do but that number of fir-et.raa are

     11    .ore than 12 and less than 25, &dd 4 and you C099 up
      12   v ith 22 a.nd the incarceration period ia 31 to ao.e other

      13   .on~ha    ao you better answer that, and I'll aake ray
      14   find i n9a in the matter.

      1S           MR. MONTAGUE:   My answor to it would be thia, Your

      16   Honor, would be the r etention of tha \lNl'l&rkad ailencers
      17   - the 19 unmarked silencers - r esulted from a ainole ·

      18   m11intarpr-.tation of law and should be treated •• one.

      19   Mr. Le11ure testified it could have been 500 or 1,000

      20   device• under th• st.me eate;ory entirely innocently

      21   ret&ined •• were the hundreds: tbat he wa• not charged

      22   under.     Why h• va,s n't l don't know but th• retention of

      23   the !irearae, of t.hese silencers, the.. . non-properly

      24   workino 1ilencers should be treated aa one ve•pon and




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                   A.nd, of couree, I   t.h1.nk beyond that,   the COurt

       2   a.bould e.x•n:.iae it• discretion.      l auogeeted in one of

       3   -.y pleadinqa that the Court consider a l••••r included.

       4   otfanae which is failure to properly record firaarma,
       5   wh.i ch 11 under 18 USC 912M, which ie a •i1dameanor at

       6   of fanae Level 6 which 1$ much mor• appropriate to thia
       7   caae.     I'• not 9oi1l9 to $ay t .here vaa nothing ~ro~o
       8   bare.     I do think the Government has a ri9ht to regulate

       9   thaae thinga; they are dang~rous.

      10           O.rtaiD.ly, ve associate silencer• with .any
      11   criainal activities, assassinations and thi-DQ'• of that
      12   tind that thia Gove.rnaent cert.a.inly ~· a ri9ht to

     13    control but he.re the appearance of heavy evil 1a ~uat
      14   not the.re.
     15            THE COURT:   I'• not goinq to file a written order
      16   in the matter, so I will record tor the record my

      17   findino1 aa they apply to t his case .       Upon the
     18    conclu•ion of the evidence and th• information aet forth

      19   in the trial ord~r the court doted somethlft9 like

     20    Yebru•ry 6th. the Court found the defenclan.t quilty then
     21    . . to count 1 which vas t!M silencer count, 19 aile.nce.rs

     22    that were not reqistered at ail and not 1,n co.pli•nce

     23    with t ,be atatute vhicb requires th. . to be reioi•tered

     24    vith t ,h e firearms people by the close of bu•in••• of the
     25    aec:ond day after their manufacture.        That'• perfectly


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           clear to me .   And while I understand Mr. Leasure may

       2   have some trouble with that. I don't.      HO'$ found guilty
       3   of a violation of count 1.
       4        I also had some -- as to Counts 2 and 3, the deal

       5   wi th registration and the debat e that surfaced between

       6   Mr. Leasure and the firearms people as to whether or not

       7   he was using a method of cancelling c ertain transfers

       8   that he made to his accountant apparently over some

       9   bankruptcy difficulty that he -- but that's - - they were
      10   transferred to somebody na.~ O'QUinn and when the --

      11   whatever the problem       the m.4tter that had prompted
      12   that transfer s eemed not to have transpire d, then the

      13   effort was made to cancel those transfers by writing

      14   void across the front of the transfe r agreeme.nt t hat had

      15   been acceded to by the firearms people .

      16        And then the same thing would ~pply to Count 3 and

      17   to the re<;iistration of a 22 pen pistol gun which is set

      18   forth in Count 6.    The arqument made in Count 6 that the

      19   pistol was not called a firearm it was called a weapon

      20   is of no importance to me dnd I thi nk that's a facetious

      21   argument and I would overrule i~ on that basis .

      22        But havin9 heard the indictment of the

      23   recordkeeping of the National Firearm services that was

      24   expressed in February of 1993 and having heard something

      25   that was not brought up at trial that the head of the


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           reqoietration division mode a speech to all of hi• people

      2    and aaid that the record>c:ecepi.nQ was 49 to SO percent in

      3    •rror and feeling •• I do that fros the teatiaony....of

      4    Hr. Schaible today that that information waa tully
      S    knowledoeable within the National Firearm• Bureau at the

      6    time it was made - it seems i t was on cloaed circuit
      1    telaviaion and then a t ranscript i on waa made - and

      8    hearinQ from him that at the time, whether it wa• in
      9    October or November 1994, that this raia-4 auch a turor

     10    within the bureau that Hr. Busey if waa not fired but
     11    that he .. vol untarily'" retired from b.1a poaition ao that

     12    atat . . ..nt -- vbich nobody s...u to know Were he qot bis

     13    fiCJUr•• from -- but that was not furniahed to t.he
     14    defendant• in this case.    And they would have had a

     15    rioht to have brouoht that up to me as ahowing the
     16    correctneae of the Cirearms registration tor their beinq
      17   queationod by the top rnan in tho re9istration bureau.

     18         I don#t say this to Hiss Allen.     I've known her for


     20    riecord th•t ahe knew nothing about thi• until ah•
      21   received a p•cket fro• some place froa the Depart. .nt of


      23   then an investigation was ilrnediately ordered, and the
      24   conaeque.ncea of it.   That statement and t.he question of
      25   whether or not Kr. Busey's infol"lllation vaa correct or

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       2    coun••l, and its not being furnished s...,. to . . to have
       3    violat.e d a precept und•r which we proceed.
       4         Por that r eason I;ve thrown out all of those counts

       5    of t .he indictment which deal in any manner upon t h e
       6    active and r egistered nwnbers assigned to weapons and
       7    that leaves us with the silencers.      I have absolutely no
       8    problem with the law in the case that when you make a
       9    ailance.r, you've got t o r eqister it by five o;clock on
       10   th• and of th• day following its nt.anufactur•.    And so
       11   th• Ntter 1• before . . for sentancinq now on only Count
       12   1 of th• indict.ant that aft.ets Kr. Leasure.
       13   Mr. Monta91Je, have Kr .   Lea$u~   step with you to the

       14   l•ctern.
       15        Mr. Leasure, the law r equires that a judoa of this

       16   court 9ive you an opportunity to make any atatcments
       17   you'd like to make before I proceed to sentencing.         It
       18   do•• not r.,quire that you say anything .     You have, in

       19   fact, already test ified both at the trial in chief and
       20   at thi• sentencing hearing, but if there'• anythino



       22   Anythino further?

       23        THB OBF'Em>ANT :   I would like to ••Y •om•thinq, Your

       24   Honor, and not tak• up ~oo •uch of tho court'• time.            I
       25   have it over here .


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                TID COCRT:     Go abe.a d .    I'• DOt tired, Kr. lA•sure .

      2    To 9"1ve you ful.l benefit of the lev, you have e right to

      3    make any atatement you'd like to aa>ce.

      •         TK& D2.PENDAHT:     Thank you. air •

      5         NR. LEASURE:      Your Honor, I had no crJ.lllinal intent.
      6    If I had , •h•n the ATF c&M- to my shop thr·• • daya prior

      7    to the raid and left the National P1reenn.a printout of
      8    the weapon• that we.re sup posed to be in s.y inventory, I

      9    vould have .ade up paperwork or whatever to o•t ay
      10   inventory to match theirs.          BUt I knew that I had
      '1   C011Pl•ted ay paperwork proper 1 y, and J knew in rq heart

      12   t b.-4 comaitted no crime.          1 felt any d.1.crepancie• with

      13   BATF .. cou,ld be worked out .

                 I cooperated fully .         I left everythinQ ju•t the way

      1S   it .,. . even though they bad never atepped foot in the

      16   manufacturing portion of my shop at that point in time.
      17   I contacted thorn on t wo separate occa•iona to find out
      18   what the atatu1 was on the case and on the thinQ& that
      19   they eei ~ed from me.      I was told they were waiti.n q on
      20   vord troa washinQton, and duriN; that ti. . tr..., I

      21   baei c•lly went out of business.
      22         M to Count 1, I truly interpreted the ATP

      23   requletions book - the only book that I had in wry
      24   poasesaion of 1980 and 1989 - to mean a eerial number

      25   wee not requ~red until it was sold,          a~ipped,   or

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           otherwise disposed of.     This was the o~ly regul~tion
      2    boolc: in print a.nd t he only one that I had in my

      3    poS$ession.
      4          I, of c ourse, now know i t crystal clear that that's

      5    not the way that i t is a nd that I ' m suppo s ed to do it by
      6    closinq of the n e xt business day.    The next update that

      7    was printed by ATF was in October of 1995.       I was never

      8    furnished with one of these updates .     I had t o receive

      9    one from someone else; a f r iend of mine gave me one .

      10         The Code section 179 . 102 is what is practiced in
      11   tbo industry , although no one was willing- to testify t o
      12   that fact for fear of ret·a.11ation and prosecution.       In

      13   reqard t o the - - brief ly, just the transfers to Ca rl

      14   O' Quinn .   There we~e t ransfers that were done to earl

      1~   O' Qui.nn, who was m.y accountant at that time and the
      16   person that I transferr ed these things t o that were

      17   voided and approved , that 1 was not indicted on that
      18   were dono in exactly t he same way tho others that I



      20         In closin9, Your Honor, whenever I thought of
      21   someone who was a convicted f e l on, I thought of a person
      22   who committed a terrible crime, certainly not one that I

      23   considered to be paperwork and a misinterpretation of

      24   the law.     I did not and have not knowingly com111itted' a

      25   criro.e and I did not nave any criminal intent, and that's

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                                                                           18

             all l have to say.

       2          TIU COURT:   All right.    1-'bank you, Hr. Lea•u.re.

       3     Horaally. ooinq strictly by the qu..idelin•• in the_ca.s•
       4     we would Co.Ml ~p with the poss•••ion of •ilencera and it
       S     be.ino • violetion of tho $tatute would co~ into the

       6     ouidelin•• with a besic 18 point• under 2K2.1 (a) (5).
       7     Th• unlavtul possession of a firearm ha• a entry level
       8     of 18.

       9          And it 1 took into account t~ wbol• 19 of th•
      10     aileneere, there would be added at leaet •• .,. vould be
      11     bet.,,..n 13 and 24 a.nd you vould add 4 point• and that

      1 ;z   wou.ld cc.e up vi th a total of 22 for vhieh the quideline

      1)     Hntencing table would reach 41 to 51 aiontha.       But I'•

      14     aat1a!i9d in th• case not that there baan't been a

      15     violation, there has been oo far as I'• concerned
      16     clearly 1hovn, but that the impact of the bundle of

      17     silancare which were int roduced as e vi dence in thi•

      18     court reno• from littl• small implement• to •o••thinq of
      19     conaidera.bl• size and the fi.nding of tho•• in a cabinet,
      20     •• Mr. Leaa\ll"e su9gests, in a locked cabinet, and, of
      21     CO\lt'ae, at that point the violation had &lre-.dy

      22     occvrred.
      23          But it &ee~ to .e that thia aatter fall• under 5K2
      24     of the quideli.nes and 1 quote it.       It aaya that the

      25     ju69e may depart from the quidelinea and impose a

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            ••ntence oute.ide of the quideli.nea, "if there exiata an

       2    a99ravatinq or aitiqati.nq circuasta.nce of a ltind or to a
       3    deqr•• not adequat.e ly t .a ken into consideration by .th•

       4    aentenein; colllll.i&&ion in fonaulatinq the quidalinea,

       S    that ahould result in a sentence differe:nt fre11 that
       6    daacribed."   I think that's th• caee hare.
       1         I'd add one thinq further in Mr. Lea•ur•'• tavor,
       a    th• record va1n't written up totally in the caae tiut •s
       9    J recall it, the sales that had bean ••d• by him had

      10    Men aade to other Governments und4r prohibitions

      11    oranted by tbe United St•tu or to the ~DC1•• of the
      12    Unit-4 States so that gene.rally s~akiog there v u        a

      13    oAat deal of scrutiny being applied to ailencera and



      15    certainly an illl)lement that is used in covertneaa of the ,)
      16    moat advanced sort .   I, therefore, will depart down by S
       17   points and come to -- wall , depart by 9 point•, that
      18    COfll4e to 13 which carries und•r the S.ntenci119 Tables o!

      19    Crilll.inal H.iatory Category 1, 1l to 18 .onth.e and

      20    ••nttnce hi• at the bottom of that to 12 nontha, $50 for

       l1   the con•iction of a felony, v &iv• fin•, thr" yea.rs
       22   auperviaed release .



       24    thi• order of the Court, John o..niel i..a.u.re i• hereby

       25    co.nri.itted to the custody of the United State• Bureau of


                           Biggs & Fleet Court Reporter•
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                                                                    Exhibit A, Pg. 671
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                                                                           80
           Pri•o.n to~ by tbe;;;ri incarcerated for a period o f 12

       2   .ont.h.a.   That be $hall. serve a t e ra of euperviaed

       3   r•l•••• of th.r. . yea.rs upon bis r•l•••• froa
       4   incarceration .    That if requested by the probation

       5   people upon hi• release on supervi•ad rel•••• · he would
       6   take euch tests fo r the use of any controlled 1u.batance
       7   within a r•asonable t ime period thereafter that should
       8   be required of hi• -

       9         You hav• a ri9ht of Appeal. Kr. Leaaure.      Jf you

      10   viah to appre.al. you must notify the clerk of this court

      11   in vritinO within t.e.n days.    If you do not bav• the

      12   money to h~re an attorney co prosecute an appeal and if

      13   you !all within the statue.es beinq provided, an attorney
      14   would be •PPointed by the united Stat.ea and paid by the
      15   United States.

      16         If you don't have the money to pay the coat of such
      17   an appeal and if you fall wi thin the 1t•tute they ' ve

      18   provided, thet cost will be paid by the United States .

      19   Where you would be incarcerated for thia period of 12

      20   .ontha would be a aa.tter that \tOuld b•ve to be

      21   dete.rain-4 by the Ma.rsha.llis office, •nd I'll i . .ve you

      22   er.. 00 bond under th4- present order• of th• Court to
      23   report before 2 p.a. on June the 21at .     I don't have a

      24   c•lendar.    ls that not on a Priday, Saturday, or Sundey?
      25        MS. ALLEN:    Tha t's on a Fr iday, Your Honor.


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                                                                                81

                MADAN CLERX:      It. i .s a Friday. Judqe.

      2         THI COURT:      All right.   Tb• 20th. Ttluraday, to the

       l   U.S. M&r•hall at Norfolk by two o'clock. June 20 . 1996.

      4    If a point of designation ha$ be•n indicaled by the
       S   Depart111A1nt of Prisons and. Bureau of Priaona at that
       6   time, you would report to the warden of t h• pri•on 10
       7   dea19f\ated before two o'clock of June 20th , 1996 .

       8        How, J   •••~     if he appeals        I aaaume he ' s QOir\9

       9   to a~al.      What sort of bond 1.$ he presently on,

      io   Kr . Hontaou•?

      11        KR. HOKTAGUI::     It is a aonet.ry ..ou.nt. Your Honor.

      12   I don't   ~all.

      13        TRI COURT:      Well. let . . look .    I'll find i t.
                MR . HOtlTAGUE:    It's not a surety bond.

      15        THB COURT :     Be's on an unsecured appearance bond in

      16   t he aJ110unt of •10,000.    If he appeals, I would require
      17   that he have a secur ed bond for the $10,000, but l would

      18   leave hi• on bond pending that appeal, but I won't leave

      19   hi• on • Sl0, 000 personal recoqnizance bond.          He'll have
      20   to come up with security if be wants to teX• advantage

      21   of th.at.

      22        MR . MONTAGUE:     Understood.

      23         'nm 000Jl1':   All right.    Rave • seat.     Hand this to

      24   th• p~tion officer .         Miss Clerk, l•t . . Qive you

      25   th••• papers.

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               KS. ALLZH:     Your Bonor, ju.st for the record, the
      2   Goverl\Srent needs to object to th• court'• rulinq

      3   regarding the downwar d departure .

      •        THB COURT:     I couldn' t bear you •

      s        MS. ALLEN:     Just for the record, we're going to
      6   object to your downward departure with respect to the
      7        THE COURT:     Be ~y 9uest .
      8        MS. ALLEN:     Thank you .

      9        THE COURT:     Th.is Q08$ back.    All r19bt.    Mi••

     11

     12                           CERflEJC&TIQN

     13        I certify that the foreqoino is a correct

     14   tranacript from the record of proceedin9• in the •bove-
     15   entitled matter .
     16

     17
             <l(lfrt~<gj                                       Date
     18

     19

     20
     21

     22

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     24

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                                                                  Exhibit A, Pg. 674
